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                   EXHIBIT G
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                         The Fellowship Of The King




                                    A Novel




                            Demetrious Polychron



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                                  BOOK I




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                                              Chapter 1




                                     The Night Before A Party




         The late afternoon sunshine filled the meadows of the Hill with a pleasant glow. Bright


  blossoming snap-dragons, sunflowers and nasturtians covered the open fields and climbed the


  green turf walls of Bag End. A gently sloping path led up the Hill to the large round door at the


  main entrance. On one side was a small sitting room with a large round open window. Inside, the


  rich aroma of sweet tea rose from a large black teapot in the center of the low table with white


  napkins, saucers and cups, and gleaming silverware set for three. In one chair sat Rosie Gamgee


  Gardner, as the hobbits of the Four Farthings called her and her kin, on account of all the


  planting her husband the Honorable Mayor of the Shire (HMS) Sam Gamgee Gardner had done.




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         Beside Rosie sat her eldest daughter, Elanor ‘the Fair’ as folks called her, on account of


  her uncommon good looks. Despite these handicaps, Elanor was a kind if proudly outspoken yet


  thoughtful hobbit, mostly given to laughter, pleasant whimsy, and occasional flights of fancy.


         She helped her parents raise their ever growing family and she especially loved to spend


  time in the kitchen with her mother, preparing meals, and serving them up to her expectant and


  appreciative siblings. Then, while the others cleaned and tidied, she and her father would retire to


  his den. There, the two of them alone poured over the pages of the Red Book of the Westmarch,


  which he had been working on since shortly after she’d been born.


         If truth be told, Sam had made sure Elanor and the rest of his children received a far


  superior education than he ever had. As a farmer and a gardener, he’d been fortunate his father’s


  employer Bilbo Baggins had taken it upon himself to teach Sam to read and form his letters. As


  an adult, the tasks of recording the historic events he’d witnessed and making corrections to the


  writings of much more learned hobbits like Bilbo and Frodo Baggins, Bilbo’s heir and his own


  former employer from whom he’d inherited Bag End and the many tracts of land around the Hill,


  proved to be a monumental chore.




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         From very early on, Elanor began supplying small and careful suggestions which Sam


  eagerly adopted and incorporated into the contents he was adding to the manuscripts, though he


  swore Elanor to secrecy so as not to upset the others.


         Their father-daughter time after dinner became a special bond none of his other children


  shared. Elanor was especially proud of this and more than happy to keep their secret.


         But for all of that, she was none-the-less excited at the prospect of her two-and-twentieth


  party. For tween girls in the Shire, nothing short of a wedding was as exciting as the celebrations


  on the night of the twenty-first anniversary of their birth which marked the beginning of their


  two-and-twentieth year. That was when they officially became ‘eligible’ to be properly courted


  by young, and sometimes not so young ardent and hopeful bachelors, of which there suddenly


  seemed an almost endless supply, coming not only from Hobbiton, Bywater, Bucklebury, and


  Tuckborough, and every other corner of the Four Farthings. Some said hobbits were traveling to


  Bag End from as far away as distant Bree.


         All of this undoubtedly on account of the Great Year of 1436, when the High King


  Elessar of the United Kingdoms of Arnor and Gondor, the High Queen Arwen, and the


  Princesses Celendrian, Elerith, and Brindil met HMS Gardner, his wife the inimitable Rosie,

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  their nine children, Thain Peregrin Took, his wife Diamond, their son Faramir, the Master


  Meriadoc Brandybuck of Buckland, his wife Estella, their sons Théoden and Boromir, and


  daughters Priscilla and Esmerelda, and many hobbits of note besides, in a magnificent ceremony


  at the Brandywine Bridge. It was the grandest event any living hobbit could remember.


         The High King affirmed his previous proclamations that all the lands inhabited by


  Hobbits, including the Shire, were Free Lands under the Royal Protection of the Northern


  Scepter. Then HMS Gardner, Thain Peregrin, and the Master were personally appointed by the


  King as Counsellors of the North Kingdoms. Men were forbidden to enter their lands, except by


  explicit permission of the King himself, or his duly appointed Counselors and their Deputies.


         Queen Arwen, a wise and beautiful woman rivaled only by Elanor herself, made Elanor


  one of her honorary Handmaidens, and she became great friends with the royal princesses, but


  especially Princess Celendrian who was closest to her in age.


         But for Elanor, the capstone of the festivities came when the High King fastened her


  father’s old grey and well-traveled Elvish cloak to his left shoulder with a dazzlingly bright,


  rayed-star shaped brooch, called the Star of the Dúnedain.




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          Rumor had it the brooch had been specially crafted for the occasion by the Dwarves of


   Erabor and was made entirely of mithril. If true, that alone made Sam the richest hobbit in the


   Shire, if he hadn’t been already. It was quite the honor for the High King to be recognizing


   Hobbits and their contributions to the free peoples of Middle-earth in the Great War of the Ring.


          Then King Elessar, his family and guests, retainers and a large crew of Gondorians


   traveled a hundred miles north to the source of the Brandywine River, Lake Evendim, bordered


   on the northwest by the Emyn Uial. On the southern shore stood the ruins of the city of


   Annúminas, once the capital of Arnor founded long ago by the Elvish Queen Galadriel and King


   Celebrimbor, which Elessar rebuilt until it stood once more even grander than it had of old.


          News may be slow to get around in these parts, but what’s come around’s been around, if


   you catch my meaning. After that, Tookland, Buckland, and the Four Farthings of the Shire were


   never quite the same sleepy places people remembered from before the Great War.


          It should be expected. After all, when the High King of Middle-earth comes a-calling


   with princely gifts and honors one of your own, people are bound to notice.


          Unfortunately, the Crown Prince Eldarion Telcontar had stayed behind in the Palace of


   Anor in Minas Tirith as Regent, under the Stewardship of Prince Faramir, where he Ruled and

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   learned the subtleties of statecraft, the languages and histories of his subjects from studying


   ancient scrolls of wisdom, and some said being tutored by elves and wizards in the High Arts of


   falconry, riding, hunting, fencing, archery, alchemy, astrology, philosophy and warfare.


          So it was clear to everyone that Elanor was a catch. Besides the fact her family had been


   recognized and celebrated by the High King and she herself had been personally honored by the


   High Queen, Elanor was the most beautiful hobbit tween anyone had ever seen. She lived at the


   top of the Hill in Bag End, who’s endless tunnels were rumored to be stuffed with treasure and


   (some said) ill-gotten gains from three generations of particularly adventuresome hobbits.


          First there was Bilbo Baggins, who went off with a company of dwarves. Rumors persist


   to this day that they fought and killed a dragon, as unlikely as that sounds. Yet in light of later


   events, folks were no longer so quick to discount such outlandish tales. Less credible sources say


   they returned with their backs bent under war trophies, which included the heads of trolls,


   enough magical objects to start an entire school for wizards, and bags of treasure carried by a


   company of more than three hundred dwarves.


          It was once considered queer for a hobbit to leave the Shire and go off adventuring. But


   after both Bilbo and his adopted heir Frodo made their fortunes out in the Big World, and came

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   home rich, it was now the aspiration of every young hobbit to journey beyond the Brandywine,


   have an adventure, and return fabulously wealthy, so they too could one day become the Mayor


   at Michael Delving and live at the top of the Hill.


          The fact that both Bilbo and Frodo mysteriously vanished did not dissuade anyone in the


   slightest. In the aftermath, shortly after the birth of Elanor when she was still the only one of


   their children, Sam had an adventure of his own in which he met more wizards and the ancient


   Kings and Queens of Elves, and Sam and Rosie were left holding the keys to Bag End.


          At the time, this did not sit well with the renewed consternation of many a Baggins kin.


   But none more so than the many Sackville and Bracegirdle cousins of the now extinguished


   Sackville-Baggins branch of the Baggins family tree. The ever-regretful Lobelia and Lotho


   Sackville-Baggins had once acquired the much coveted hole and the surrounding lands in a true


   and legal sale, that dark time when Frodo had fled the Shire pursued by Black Riders.


          But after the Battle of Bywater in 1419, Lobelia learned that Lotho had been murdered


   there in his bed. So she sold it back to Frodo in a ruinously dilapidated state which would have


   cost a medium sized fortune to repair, for just a little more than what she’d paid (plus interest).




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          A plaque on the site of the battle commemorated the names of every hobbit who had


   fought and been killed in the liberation of their homeland except for Lotho, because many


   hobbits thought he had been the one to invite the Ruffians to their lands in the first place.


          It was only thanks to the return of HMS Gardner, Thain Peregrin, and the Master


   Meriadoc, igniting the courage and valor of hobbits and leading the very flower of gallantry and


   formidable steadfast hobbitry against their enemies, that the half-orc Southrons and Ruffians


   were routed and the Shire was freed from the evil wizard Saruman. It was a tale with which to


   astonish children, except that every word of it was true.


          Now it was the dream of every young hobbit to embark upon the road and undertake a


   long and dangerous journey, travel to unknown lands, become part of the histories of kings,


   wizards, elves, dwarves, men, dragons, and a multitude of other nefarious beasts, perform great


   deeds, and return with much treasure, to retire to a life of fame and leisure.


          Except for Elanor. Though honored and genuinely enjoying the friendships of the


   Princesses Celendrian, Elerith, and Brindil, the thought of unseen vistas in distant lands sounded


   unappealing. She already had most everything a young hobbit could wish for: a loving family,


   great friends, and the prospects for a prosperous and happy future. The last thing in the world she

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   wanted was to leave it all behind for foreign places and strange people. She did not even want to


   imagine riding on treacherous roads (though her father had been sure to teach her how to ride),


   much less walking, or worse, running in fear for her life, which not only sounded depressingly


   dangerous, but it would have deprived her of the friendly faces and many comforts of home.


          After King Elessar returned to Gondor six years ago, things had become more hectic. Her


   parents had welcomed three more children into the family and her mother just recently


   announced she was once again pregnant. As happy as Elanor was at her parent’s prospects of


   adding yet another child to their happy family, she wondered if maybe, enough was enough.


          She already had eleven brothers and sister. She didn’t really understand her parent’s need


   to keep adding more. She loved everyone in her family, but the tunnels of Bag End were not as


   endless as outsiders believed.


          When she was little and had only three or four siblings, the Hill had still seemed


   spacious. When her grandfather the Gaffer died, her father added his hole to their own, bought


   the other two, and rechristened the entire Hill the sole property and extended estate of Bag End.


          She had proudly welcomed Queen Arwen and the Royal Princesses to the many newly-


   connected and well-appointed holes of their extensive and now lavish home.

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          But after adding seven more children, and with the prospects of yet another, even with all


   the editions, things were beginning to feel a bit cramped.


          To make matters worse, prospective suitors, anticipating the intense competition that


   would invariably ensue after Elanor’s two-and-twentieth, and opting to forgo the adventuring


   part and skip right to the treasures and Bag End, had decided to get a jump on the competition.


          Many had already come calling, knocking on Bag End’s large round green door


   unannounced, in ill-fitting overly-formal clothes and sweat-stained faces, bearing inappropriate


   and sometimes ridiculously over-expensive gifts.


          None of them pleased her, and she didn’t take any of their offers of courtship very


   seriously. It got so bothersome her father set a permanent guard at the bottom of the path which


   led up the hill. That was fine with Elanor. The truth was, she still felt much too young to begin


   courting the ne’er do wells of the Four Farthings, much less marrying someone and leaving her


   family. There was still a great deal of work to do on the Red Book, and there wasn’t a hill, hole


   or house anywhere in any of the many lands she had visited, nor anywhere beyond she’d heard


   tales of, that held the least attraction to her more than Bag End already did.




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          Though once when she was still quite young, her father had taken the entire family on the


   most wonderful vacation she could remember. They traveled west past the Far Downs, and on


   the way they chanced upon another hobbit family traveling west, the Longcleeves. The head of


   the Longcleeves clan, a respectable old hobbit named Folcred (whom everyone called ‘Ed’)


   impressed her father with his extensive knowledge of ship craft, navigation and the oceans,


   which he was teaching his oldest son, Fastred. Elanor was impressed with Fastred, too. But they


   had been much too young to think of each other as anything other than friends.


          When they reached the Elvish Kingdom of Lindon, it was the Longcleeve’s turn to be


   impressed. The Elvish High King Círdan welcomed them to East Mithlond, the southern harbor


   of the twin Elvish towns known as the Grey Havens, which sat on opposite shores at the mouth


   of the Gulf of Lune. Círdan held a lavish feast in her father’s honor, calling him Ringbearer.


          The next day, Círdan’s chief advisor Galdor give them a tour of the palace, harbor, ships,


   and finally, the tallest and westernmost of the three majestic White Towers, known as Elostirion,


   which looked West out over the sea. They climbed the long winding staircase and were allowed


   to enter the chamber at the very top, lined with display cases filled with heirlooms and treasures.




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          Galdor told them the large roped-off, empty white marble platform which lay in the


   center of the room once held a palantír or ‘Seeing Stone,’ one of seven brought to Middle-earth


   from Númenor by the first of the Númenórean Kings in Exile, the High King Elendil.


          In that very chamber Elendil himself, who was called the ‘The Fair’ just as Elanor was,


   when facing west could look into the palantír and see all the way across the great ocean


   Belegaer, to behold Manwë and Varda themselves, sitting on their elevated thrones in the


   majestic Palace of Ilmarin on the peak of Amon Uilos, the highest mountain in all of Arda.


          Elanor was dazzled.


          By the visions described by Galdor and also by the strange and sudden kinship,


   completely unfounded she knew, she could not help but feel for the great King Elendil. Her little


   brothers and sisters had laughed at her.


          But Fastred said he too felt a kinship with Elendil the Mariner, and this strange but


   beautiful land. Fastred confided that he longed one day to live somewhere as fair as these hills,


   so he could sail upon the oceans just as Elendil had.




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          Of all the fair people Elanor ever met and all the wonderful things she ever did, it was


   that magic summer in childhood with Fastred among the Elves and their high towers, which she


   most fondly remembered and to which secretly, she longed to one-day return.


          “Are you paying attention?” Rosie asked, and Elanor realized her mind had wandered.


          “I’m sorry mum, what did you say?” she asked.


          “Your father’s staying home tomorrow from Michael Delving, and we expect guests to


   start arriving well before sun down tonight,” Rosie answered.


          Another flutter of excitement filled her stomach, “When will the Tooks and the


   Brandybucks arrive?”


          The Thain Peregrine Took and the Master Meriadoc Brandybuck, called in private by her


   family Pippin and Merry, were themselves and their families especially close friends. Together


   with the departed Frodo, those two had traveled with Sam to Mordor and helped him defeat the


   Dark Lord Sauron, who had tried to enslave or destroy all the free peoples of Middle-earth.


          Her father, the HMS Samwise Gamgee Gardner, walked out onto their sun drenched


   sitting room from inside Bag End, “They won’t be here until tomorrow afternoon my darling


   Elanor,” he kissed her cheek. “I’m giving each of them one of the lower tunnels.”

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          “What about the Longcleeves?” Elanor asked.


          “They’re already at your uncle Tom’s farm,” Sam answered. “I expect the Cottons and


   Longcleeves, and that scamp Fastred, will be joining us for dinner.”


          “Miss a free meal?” Fastred asked, walking up the hill with his best friend Théoden


   Brandybuck, who everyone called Theo, and they chimed in together, “Not if we can help it!”


          Theo took after his father with very curly brown hair and he was much larger and


   stronger than most hobbits. He and Fastred were of an age with Elanor. But it had been a year


   since she last saw them and she noticed a number of subtle changes.


          “Young Masters Brandybuck and Longcleeves!” Rosie cried, rising from the table. She


   was always delighted to see any of the Tooks, Brandybucks or Longcleeves. But she had a


   special fondness for Fastred. He was Rosie’s favorite hobbit to whom she wasn’t already related.


          Clop-clop, clop-clop, clop-clop, clop-clop came the sounds of approaching hooves on the


   far side of the hill. Sam knew those sounds. They weren’t made by hobbit ponies, but the larger


   horses usually only ridden by Men.


          “Have you invited some of the Big Folk from Bree?” Rosie asked.




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          “Not that I recall,” Sam answered. “But it wouldn’t surprise me if some of our friends


   heard the news and came for the party,” he said cheerfully. But who it could be, daring to risk


   breaking the King’s Law by coming to the Shire uninvited was puzzling. He racked his brain and


   finally decided, “It must be a surprise from the Thain or Master!”


          A magnificent large gray horse rounded the bottom of the hill, bearing the most unusually


   dressed man Elanor had ever seen. The stranger wore flowing robes of a brilliant deep sea blue,


   similar in form to what she’d seen the High Elves wear. Though weather stained, his robes


   seemed to glint here-and-there, as if run through with strands of silver. The bunching fabric and


   glinting gray-white gleams gave the impression of breaking ocean waves capped with foam.


          Above his shaggy beard and mane of silver-streaked blue-black hair was a similarly


   colored wide brimmed hat. It covered a blue helm and rose high above his head.


          Unlike any of the elves she had seen, his robes were open at the front. Beneath them he


   wore a war-like blue-black leaf mail shirt with studs and strange matching leg covers.


          His horse wore a form-fitting cloth sheath in the same blue and silver colors and set with


   the same leaf-armor, covered with intricate silver runes carved in the long squares which had




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   been sewn in the fabric. The horse’s armored sheath was open at the mouth and eyes, but


   covered everything else, from the tips of his ears down to where his powerful legs met his body.


          The leather bridle and saddle were stained the same color of deep sea blue. Sheathed


   within the saddle was a long blue and silver handled sword. Strapped above them closest to the


   hand of the rider was a long thick and strangely gnarled old brown wooden staff.


          Fastred and Theo shouted in surprise and took a few steps down the path to where they


   had been let through by the young hobbit standing guard named Sandro.


          “Come into the house!” Sam said sharply. His words were tinged with something Elanor


   had never heard in her father’s voice before – fear.


          Fastred and Theo obeyed, coming back and climbing quickly over the edge of the round


   open window. They stood behind Sam but in front of Rosie and Elanor.


          The rider reined his horse before the guard and bent down to speak to the unarmed and


   rather frightened young hobbit, who was as bewildered as everyone else.


          He produced a folded document and handed it to Sandro, who read the cover, touched the


   seal, turned to Sam and waved it frantically back and forth above his head.




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          To Sam’s eyes, the rider didn’t have an evil intent, nor had he the look of any of the


   villainous peoples he’d encountered in his many travels. The horseman’s patient stance and


   Sandro’s desperate waving assured Sam this might be a messenger from an ally of Rohan or the


   United Kingdoms. The wooden staff strapped inconspicuously on the horse’s saddle made Sam


   more than a little curious. With a look back to ensure Rosie and Elanor were safe behind Fastred


   and Theo, Sam motioned for Sandro to allow the rider up the hill.


          The horsemen rode at a brisk walking pace and stopped at a respectful distance. He


   dismounted, unstrapped his staff, used it as a walking stick, and he carried in his other hand the


   sealed document. When he reached a reasonable speaking distance he stopped.


          “Greetings most Honorable Mayor of the Shire Gardner,” the stranger said. “I come from


   King Elessar in Minas Tirith on a most urgent matter.” He held up the folded paper, “This is my


   letter of safe passage, and request of aid, from the King.”


          Theo stepped up even with Sam and caught his eye, as if to say he’d fetch the letter if


   Sam wanted to have a look.


          Sam lifted his hand for Theo to wait, “Who are you?”




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          “I am Alatar the Blue, a Wizard of Aman,” he said and he smiled, “I believe you knew


   and befriended one of my Order, a wizard named Gandalf the White. Did he not mention me?”


          “He never said anything about you,” Sam answered suspiciously.


          “Sam,” Theo said, few hobbits addressed her father the way Pippin and Merry’s children


   did, “I’ve heard my father mention there were other wizards besides Saruman.”


          “He’s right,” Elanor affirmed. “It says so in the Red Book.”


          Sam looked back and forth between Elanor and Alatar, “Let’s see that letter then.”


          Alatar walked to the large open window and passed him the thrice folded fresh parchment


   secured with thick white wax which had been impressed with the seal and insignia of the High


   King Elessar: a crown above a white tree surrounded by seven stars set above the twenty-six


   points of its branches and below the bole it bore thirty-five points on its roots.




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          “That’s from the King,” Rosie said looking up from the unmistakable emblem.


          Sam stared at the seal and swallowed. For a long minute, no one said anything.


          “Well… open it!” Elanor said.


          He still hesitated, knowing whatever the contents, the moment he read them his life


   would be forever changed. Finally, without further prompting he broke the seal with a ‘snap’ and


   unfolded the thick parchment page.


          Rosie, Elanor, Theo and Fastred crowded around to read over his shoulder:




   THE PALACE OF ANOR, MINAS TIRITH, KINGDOM OF ARNOR & GONDOR


   March 15, F.A. 22, Shire Year 1442


   My Dearest Sam,


          Alatar the Blue, a wizard of Gandalf’s order, has come to Gondor out of the East,


   bearing grave and perilous news. I believed the matter of the Rings of Power had been resolved


   by your and Frodo’s heroic efforts in Mordor where you unmade the One, followed by the


   passing of the Three at the Grey Havens with their Keepers on a ship West over the sea.




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          It is a difficult and grievous thing, for a King who wishes only to protect his subjects to


   admit, but Alatar has shown me proofs that I was mistaken.


          I dare not explain more in this letter. But you can trust the words of Alatar. He is wise


   and learned in many things that have been hidden from us in the far east beyond the borders of


   Rhûn, and he has much to share with you.


          As your King, I must request that you aid his efforts, as difficult and unseemly as some of


   them will undoubtedly be for you. Take heart, I will give you any and all the aid I can.


          As your friend, please Sam, we must finish this business we started long ago. Not just for


   ourselves but for our children, and our children’s children, and send away or unmake any Rings


   of Power remaining in the whole of Middle-earth.


          In Eternal Friendship,


          King Elessar Telcontar


          High King of the United Kingdoms of Arnor and Gondor




          Below the firm signature, this time in ink was pressed again the emblem of his Reign: the


   firmly rooted and branching crowned white tree surmounted by seven stars.

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          Sam swallowed again and lowered the letter.


          “Come inside,” he said to Alatar and then to Theo, “See to his horse.”


          Theo made to climb over the round edge of the window again. Suddenly self-conscious,


   Sam tapped his shoulder and motioned for him to use the door. He went behind Theo with his


   family following to welcome Alatar the Wizard to Bag End.




                    *              *              *              *                 *

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                                              Chapter 2




                                     The Shadow Of The Future




          Alatar sat on one of the two spacious couches which faced each other over a low table in


   the Big Room at the center of Bag End. Sam sat across from him in the middle of the other.


          Having claimed the entire Hill, over the years Sam had enlarged many of the existing


   lower and upper holes and connected them with wooden staircases or steps cut from the earth


   and covered in stone. But his proudest achievement was the excavation of three new extra-large


   and well-fortified holes. Two were on opposite ends of the hill and had high ceilings of stout and


   well-crafted timbers supporting packed earthen works. Each one had a huge, ornate, almost two-


   story picture window. One looked east and every morning welcomed the rising Sun. The other


   faced west and every evening watched the Sun’s slow descent as it sank below the horizon.

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          The Big Room they sat in was the largest. On a perfect east-west axis, two long hallways


   connected it to the Morning Room and the Evening Room. Smaller halls extended off the Big


   Room and its hallways, which led to many homely holes for Sam and Rosie’s children. Unlike


   Sam growing up, each of his children had a hole of their own.


          But now the doors were closed and in the other chairs about the room sat Fastred, Theo,


   Elanor and Rosie, who waited to hear what errand had brought the wizard from the East.


          “May I offer you a drink?” Rosie asked rising from her seat. “I have freshly pulled well


   water, spring water, any kind of juice you can think of, beer, ale, wine or spirits. But if you want


   the really good stuff, Sam thinks I don’t know about a case of Gondorian whiskey he’s hidden.”


          “Rosie!” Sam cried, embarrassed.


          “A glass of fresh well water would be most kind, Mistress Rose,” Alatar replied, parched


   from his long ride and surprised at the over-abundant choices.


          She left for the kitchen.


          “We’re preparing for a party,” Sam explained pointing at Elanor, “Tomorrow night we


   celebrate the beginning of Lady Elanor’s two-and-twentieth year.”




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          Alatar watched Rosie return with an earthen-chilled glass pitcher she set on the table and


   a freshly filled glass from which he drank thirstily, “I don’t understand.”


          “For tween girls in the Shire,” Rosie explained, “their twenty-first birthday marks the


   beginning of their two-and-twentieth year and the start of womanhood, when young men come


   courting. Perhaps one of them will ask for her hand in marriage.” She elbowed Fastred and Theo,


   and both their faces along with Elanor’s turned a bright and colorful red.


          “Mother!” she exclaimed standing from her seat as if tempted to run from the room.


   “This isn’t the time.”


          Alatar set his empty glass on the table, rose, doffed his hat and inclined his head, “May I


   be the first to wish you a happy two-and-twentieth, Lady Elanor. I apologize if my arrival comes


   at a bad time, but it cannot be helped.”


          “It’s fine,” she said sitting beside her father on the couch facing Alatar, “Since you’ve


   ridden all this way, you must come. We’re giving presents. Not that hobbit gifts would be fit for


   a wizard. But as a special treat, there will be spring-ripened fruit tarts glazed with heart of


   honeycomb honey, sun made tea, and freshly ground sweet vanilla cream poured over your


   choice of pie, or three different cakes. You can even mix and match. They’re quite good.” She

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   looked conspiratorially and included Fastred and Theo in her charge, “I hate false praise so don’t


   tell anyone, but I made them myself.”


          “She loves to cook, our Elanor,” Rosie said patting her daughter’s hand with pride,


   “She’s going to make some lucky hobbit a fine wife.”


          “But enough about us,” Elanor said turning to Alatar. “Tell us why you’ve come. After


   all, it wouldn’t really be a party without tidings and reports from distant lands.”


          “Is this something maybe you and I should talk about in private?” Sam asked.


          “Samwise!” Rosie said sitting on his other side and taking his hand. “Whatever affects


   you affects our entire family. We’ll hear his story together.”


          “I guess I’m outvoted,” Sam said seeing the determined looks on their faces. “But I’m not


   going to wait for everyone else to come back from Hobbiton,” he said pointing to the hall doors


   leading to his other children’s holes. He turned to Alatar, “Tell us your news.”


          “I came to these shores by ship in the year 1609 in the Second Age, with four companion


   and a crew of elves. We were chosen by the Valar and charged with helping the people of


   Middle-earth end the wars and enslavements of Sauron, servant of Melkor.”


          “You sailed over the ocean Belegaer?” Fastred asked.

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          “I did,” Alatar answered, “with experienced mariners and friends committed to defeating


   our Enemy. Two were sent to the kingdoms of the West, Saruman the White and Gandalf the


   Gray. Two were assigned to the East, myself and my best friend from Aman, Pallando the Blue,


   though his robes are of a color like the sky in the middle of the brightest day in summer while


   mine are more like the blue found in the depths of the sea. Radagast the Brown was given free


   rein to roam wherever he wished, to attend the beasts of the fields and the birds of the air who


   were caught between forces far beyond their ken.”


          “Where did your journeys take you?” Sam asked remembering only desolation the further


   east he had gone in his own travels with Frodo Baggins.


          “Pallando and I traveled to a fertile land called Rhûn and eventually to the many strange


   lands beyond their easternmost borders of which the easternmost is called Hildória. The Men and


   customs there are very different from the West. It was there we discovered the lost Lore of the


   most ancient Rings, and the greatest threat to Middle-earth that ever was or will ever be.”


          A heavy and foreboding silence filled the hole.


          “Greater than the dangers of the Rings of Power?” Sam asked.




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          “Yes and no,” Alatar answered, “for they are one and the same. When King Celebrimbor


   and his craftsmen forged the Rings in the West, all knowledge of them was hidden. In the East,


   Pallando and I learned the true extent of the dangers.”


          “Who’s King Celebrimbor?” Rosie asked.


          “Oh come Mother,” Elanor said. “Don’t you remember in the Red Book where Elrond


   mentioned him at his council in Rivendell?”


          “I don’t,” she answered. “I’m sorry.”


          “Celebrimbor was the Elvish King of the city of Ost-in-Edhil,” Alatar answered. “Called


   Edhilon by its inhabitants, founded in the Second Age by Celebrimbor and then ruled by King


   Celeborn and Queen Galadriel before they went east under the Misty Mountains to rule the


   Elvish Kingdom of Lothlórien. Edhilon was the easternmost city in the Kingdom of Eregion,


   tributary to the great Elvish High King Gil-galad within the southeast of Eriador.


          “Wait a minute,” Sam said. “I know Lord Celeborn and the Lady Galadriel, and they


   never called themselves King or Queen.”


          “At the end of the Second Age,” Alatar responded, “the forging of Rings of Power


   resulted in the War of the Elves and Sauron, and the deaths of the High Kings Gil-galad and

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   Elendil. The corrupting influence of power on Men, Dwarves and even Elves became clear.


   Celeborn and Galadriel in Lothlórien and Elrond and Celebrían in Imladris wearied of endless


   conflicts and so disdained their titles and styled themselves as Lords and Ladies. But ever and


   unchanging, they were Kings and Queens in all but name.”


          “‘Three Rings for the Elven Kings,’” Elanor quoted, “It makes more sense now.”


          Alatar turned to her surprised, “You’ve studied the Lore of the Rings?”


          “Well not exactly,” she answered embarrassed. “I only know what my father, and Bilbo


   and Frodo wrote about in the Red Book of the Westmarch.”


          “I have heard mention of the records you keep here in your Red Book in Minas Tirith,”


   he told her. “I would very much like to have a look at it.”


          “You keep saying ‘Rings,’” Sam said to Alatar. “But Frodo and I destroyed the One Ring


   in Mount Doom and I personally witnessed the last of the Three Great Rings leave the Grey


   Havens for whatever lies West. Has someone brought them back?”


          “No,” he answered. “Those who sailed into the West on the Straight Road have passed


   beyond the confines of Middle-earth forever. But the One you destroyed and the Three which


   sailed West were not the only Rings of Power ever forged.”

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          “I know that!” Sam said testily, surprising Rosie and Elanor. “I was at Elrond’s council


   myself when Gandalf mentioned the others. But he didn’t seem very concerned about them. He


   said they never amounted to much.”


          “Wizards are not so very different from hobbits, men or elves in that we too sometimes


   err, I’m sorry to say. If he spoke such words.” Alatar looked troubled, “But if he did, I’m afraid


   he was very much mistaken.”


          “Elanor,” Sam said sharply, “fetch me the Red Book.”


          Astonishment crossed the faces of every hobbit in the room. The Red Book of the


   Westmarch wasn’t something Sam was in the habit of trotting out before even his oldest and


   closest friends, much less guests however urgent their mission or exalted their status.


          She left and after only a minute returned with the book, her finger set within the partially


   closed pages at the place from which she was sure her father intended to read. She handed it to


   him by setting it in his lap and opening it to the page bookmarked by her finger.


          “These are the notes Frodo Baggins wrote on the same day Gandalf first told him about


   the Rings of Power,” Sam said. “I remember watching Mr. Frodo write them down word-for-


   word when they were still clear and fresh in his mind. They are exactly as Gandalf spoke them.”

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          He glanced at Elanor, “I even helped a bit to jog his memory, here and there.” His eyes


   trailed down the page and he read out loud, “In Eregion long ago many Elven-rings were made,


   magic rings as you call them, and they were, of course, of various kinds; some more potent and


   some less. The lesser rings were only essays in the craft before it was full grown, and to the


   Elven-smiths they were but trifles.” He closed the book solemnly.


          Elanor gave him a strange look. Why didn’t he read the rest?


          “The words Gandalf spoke were fair and true,” Alatar said. “But they were neither the


   beginning nor the end of all the knowledge assembled regarding these or any other Elvish


   creations, including the lesser and greater Rings of Power.”


          “What more can you add?” Elanor asked and Sam looked surprised, as if she’d spoken


   out of turn. He’d never acted this way before. His children usually felt free to speak their minds.


          “A great deal more,” Alatar answered. “Far too much to share today. And even were I to


   share only a small part of what I know, I would confuse your minds and weary your ears with too


   many foreign names, distant lands, and long passed events. But just as you earlier quoted a line


   from a rather well known song about the Rings of Power familiar to you and well known in the


   West, I believe I can make the gravity and urgency of my mission clear with a similar verse of

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   long-forgotten and much older Elvish lore, of which the lines you shared were from a verse


   added much later. Even those were only a small part of a much larger work.”


          “Are you sure we should?” Elanor asked, not wanting to displease her father and having


   second thoughts. “If Gandalf said they didn’t matter shouldn’t it be good enough for us?”


          “Gandalf chose to focus on the business of destroying the One Ring of Sauron which lay


   before him, as he should have,” Alatar answered. “It was a monumental task and there was never


   much hope he could accomplish it. The forces arrayed against him were vast and had been


   growing for millennia before we arrived. Yet to his eternal credit, and with help from your father


   and a few others, accomplish it he did. But the task which lays before us now is perhaps even


   more perilous than one Gandalf faced, and you Sam, back then. So I must share much more than


   you know of the secret and long forgotten Lore of the Rings.”


          “You’re talking about the lesser Rings, right?” Elanor asked.


          “‘Lesser,’ Gandalf called them, and indeed ‘lesser’ most of them were, when compared to


   the One forged by Sauron,” Alatar answered. “But not all were ‘trifflings,’ just as not all the so-


   called ‘Great Rings’ were as great they would have been without the corrupting influence and


   driving power of the One, and there was one other Ring which was far, far greater.”

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          “What do you mean?” Sam asked. “Speak simply. I’m not an Elvish Lord. I’m not even a


   learned Man who wishes to be a Lore Master. I’m just a simple Hobbit!”


          Rosie and Elanor glanced at each other. Sam was usually such a well-disposed and even


   tempered host, even when dealing with Sandymen or Sackville-Bagginses. This sudden


   impatience bordering on rudeness was perplexing, and a little troubling.


          “Very well,” Alatar said settling back against his cushions, “The tale is long. But I shall


   try and be as brief as possible without sacrificing clarity.”


          Sam folded his arms across his chest and sat back too, “Good. See that you are.”


          “In the Second Age of Middle-earth in the region of Eregion which marked the eastern


   border of the Elvish Kingdom of Lindon ruled by the High King Gil-galad, the Dwarves of


   Khazad-dûm were producing much treasure,” Alatar explained. “But the most important was


   ‘true silver’ or mithril as they called it found nowhere else. It can be forged into a metal much


   stronger yet lighter than steel and is more precious than gold. To treat with them Gil-galad sent


   his finest craftsman, a wise and learned Elven Lord named Celebrimbor to establish friendly


   relations and a settlement near the western doors of their mountain kingdom.




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          “This Celebrimbor did and it was he who named it Ost-in-Edhil, which means literally


   ‘Of the Elves’ and Edhilon means ‘Land of Elves.’ Celebrimbor met King Durin II and was


   introduced to the King’s best craftsman, a young and impressionable dwarf named Narvi, who


   led the dwarven craftsmen of Khazad-dûm, pioneering many new uses of mithril. Narvi was


   hailed by all as a prodigy and the two became fast friends.


          “Quite apart from any good wishes or suggestions on the parts of their kings, Narvi and


   Celebrimbor enjoyed working together. In an unprecedented friendship and collaboration


   between Elves and Dwarves, they advanced the arts of their forges and many other professions to


   greater heights than either could have achieved alone.


          “Between Edhilon and Khazad-dûm they built a great Highway called the Elvenway. At


   the West Gate border they installed the Doors of Durin, and they invented ithildin, the art of


   writing invisible letters of mithril which can only be seen in the light of the stars or moon, by


   friends with whom you have shared the correct password, and many other things besides. The


   dwellings, palaces, mansions, treasuries and armories in Edhilon and Khazad-dûm grew grand as


   well, enriched by the trade in goods, mithril, precious ores, gems, and metals between Lindon


   and Khazad-dûm, and their trading partners in many other lands and kingdoms besides.”

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          “As his kingdom grew, Celebrimbor asked Gil-galad to send King Celeborn and Queen


   Galadriel of Annúminas to join him in Edhilon and rule the ever growing number of elves so he


   could focus on advancing the arts of his forges. With the arrival of Celeborn and Galadriel,


   Celebrimbor established the brotherhood of jewel-smiths, known at the time as the Gwaith-i-


   Mírdain which means ‘People of the Jewel Smiths,’ also called Mirdainions. Their order was


   open to anyone who wished to create beautiful things, be they Elves, Dwarves or Men.”


          “What about women?” Elanor asked.


          It was Sam and Rosie’s turn to be surprised.


          “Hush dear,” Rosie said kindly.


          “Hush why?” Elanor asked.


          “Do you wish to be a jewel smith?” Alatar asked.


          “Well… not me personally,” Elanor said, feeling suddenly self-conscious. “But I think if


   a woman wanted to, whether elven, dwarven, hobbit or human, she should be given the


   opportunity to learn, and make a contribution if she wished.”


          Rosie looked first at Sam, then at Elanor, and then at the pitcher of well water sitting on


   the table, “Maybe there’s something in the water.”

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          Alatar refilled his glass and took another long drink before setting it down, “If so


   Mistress Rose, it is quite refreshing.” He smiled kindly at Elanor, “I do not believe a woman who


   wished to learn their arts would have been refused. I cannot imagine over the many centuries


   there were not some women who made contributions. But the achievements of all lesser


   craftspeople have been forgotten save those of Narvi and Celebrimbor himself. And as my tale


   should make clear, even their contributions were known to only a few of all who ever lived. As


   the skill of the Mirdainions grew, their ranks swelled. In time, as all mortals do, Narvi grew old


   as reckoned by the lives of dwarves, while Celebrimbor remained eternally young, as Elves do.


   But Celebrimbor did not wish for their partnership to end. Combining their skill and arts, they


   forged the first of the many Rings of Power, designed to prevent decay, lengthen a person’s


   years, and preserve the life of Narvi.”


          There was another audible swallow and all eyes turned to Sam, “Did they succeed?”


          “I don’t know,” Alatar answered. “No tale records those deeds. Success or failure alike


   could have driven them to create more Rings. But regardless of why, we do know create more


   Rings they did. Carefully and painstakingly, they crafted many original Rings of Power never




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   touched by Sauron or any of his Dark Arts born of Celebrimbor and Narvi’s skills alone, and


   they executed an ambitious, overarching plan.


           “Gandalf was correct inasmuch at first, these Rings were experiments to facilitate later


   refinements and ever greater achievements. Perhaps something did go amiss. In order to ensure


   the safety of the recipients the Thirteen, as the earliest recorded Rings were called, were given to


   the beasts of the fields, the birds of the air and the creatures of the seas, to see what affects they


   would have upon their bearers and to prove they were safe for mortal hands to wear.”


           “I noticed when I wore the One, I could understand different languages,” Sam remarked.


   “Are those Rings the reason we’re still able to talk to some of the animals?”


           “Yes,” Alatar answered. “Although many creatures were given the gift of language by the


   Valar or Melkor, Celebrimbor and Narvi sought to preserve the fading gifts of speech for the


   creatures who had become near and dear to them. Their arts ascended to greater heights with


   every Ring. Once they had proven the Rings were safe with the Thirteen, they crafted more.


           “Next came the Eleven. At Narvi’s request, the first six of the Eleven were forged


   specifically for the hands of dwarves, and the remaining five of the Eleven went to elves. The


   Thirteen, and perhaps even the first six of the Eleven, could easily appear to an Elvish Lord or

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   wizard as ‘trifles that were merely essays in the craft.’ But the second five of the Eleven, crafted


   specifically for the most powerful Elven Kings by Celebrimbor, perhaps aided by one or two of


   the most skilled Mirdainions, were most definitely not.”


          “Do you know how many of these early Rings of Power were made?” Sam asked.


          “Yes,” Alatar answered, clearing his voice. “This is the verse from the song I mentioned


   earlier which records their labors and prophesies a possible end to their efforts.”




                          Thirteen Rings for Enchanted beings that swim, run and fly
                              Eleven for Dwarf and Elven lords wherever they may roam
                          Five for Mortal Warriors destined to die
                              One for the Bright Lord on his Golden Throne
                          In the East of Eregion where the Misty Mountains lie
                              One King will gather them all, one King will unite them
                              One King will lead them against the evil that will smite them
                          In the Land of Mordor, they will triumph… or die




          “That’s just a bad imitation of the Elvish verses about the real Rings of Power!” Sam said


   heatedly. “What do you really want? Why are you making all of this up?”


          Everyone, including Alatar himself, was shocked at Sam’s outburst.


          Rosie clutched his hand tighter, “What’s wrong, dear?”


          “I don’t trust him,” he answered. “That’s as plain as I can be.”

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          “Why not?” Elanor asked.


          “Gandalf had been coming to the Shire for hundreds of years,” Sam answered. “He was


   originally friends with the Bullroarer himself and he helped him stop an invasion of orcs. This so


   called ‘wizard,’” and he hooked his thumb at Alatar and held up King Elessar’s letter, “shows up


   at Bag End not having done anything to earn our trust, and the first thing he does is tell us he’s


   come looking for favors.”


          Rosie turned to the wizard, “He’s right. And you still haven’t told us why you’ve come to


   the Shire.”


          A dark look passed over the wizard’s face and with effort, he composed himself and


   spoke slowly, “I did not wish to alarm you Sam, and immediately bring dark tiding to you and


   your family. At least not before we had the chance to talk. I wanted us to acquire a sense of each


   other, to build trust, and share a drink. But now, since you have asked…”


          Alatar helped himself stand with the aid of his staff which he did not appear to need. “It


   has been said by many Lore Masters that as a servant of Melkor, Sauron was incapable of


   creating new things. His power, though fearsome, was only to defile and corrupt, and to make


   lesser copies of the already existing creations of Ilúvatar, the Valar, and their Children.”

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          “Despite knowing this, our histories mistakenly attribute many acts of creation to him,


   which never were and could never be. It was the fame of Celebrimbor and Narvi’s


   accomplishments and the whispered rumors of even greater secret arts which drew Sauron,


   disguised as Anatar, ‘Brings of Gifts.’ This was merely another of Sauron’s deceptions, for


   which he is now forever known. Sauron brought no gifts other than his flattery, and his obsessive


   dark desires which he veiled as a passion for their arts, with deceitful words and smiles. His only


   goal was to steal the secrets of the Mírdainions.


          “In these arts, Sauron was a master. For a time, even the wise King Celeborn, Queen


   Galadriel, and Lord Celebrimbor were deceived. Sauron began to learn the Mirdainion’s secrets


   but to everything he touched, invariably, he brought a dark corruption.”


          “That sounds like the Sauron described in the Red Book,” Elanor said.


          “But you still haven’t answered my question,” Sam said impatiently.


          Alatar looked at him, peering deeply into Sam’s eyes until Sam felt uncomfortable and


   looked away, “Before the arrival of Sauron, Celebrimbor, Narvi and the Mírdainions forged


   thirty Rings of Power. The majority, the Thirteen for beasts, the Five for Mortal Warriors, and


   six of the Eleven for Dwarves brings the number of these ‘lesser’ Rings to twenty-four.”

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          “As Gandalf said, the majority were indeed ‘lesser.’ But they were lesser only to


   immortal wizards and Elves concerned with finding and destroying the One Ring of Sauron, the


   Ruling Ring which could be used to enslave or butcher the whole of Middle-earth.


          “For mortals, these ‘lesser’ Rings, even the least of these lesser Rings, are objects of


   unique and incalculable power. They lay beyond the price of any king, and in this I include the


   most-worthy High King Elessar himself.


          “But the five of the Eleven fashioned for the hands of Elves were not only as great as the


   later ‘Three Rings for the Elven Kings’ of which you spoke, but in truth, they were far greater.”


          Alatar returned to his seat and Elanor sensed this was going to be the kicker, “But there


   was one final Ring of Power forged. It was inspired by the Ring of Barahir, given to the Chief of


   the Edain by the Elven Lord Finrod Felagund for saving his life. It bore jewels which had been


   forged in Valinor by Aulë and held traces of his fëa. This was the Master-ring of Middle-earth,


   forged in secret, as much as any work like that could have been secret, by Celebrimbor and


   Celebrimbor’s hands alone. It was his crowning achievement; the culmination of everything


   which had come before, and it towered over everything that came after. The Master-ring was the




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   original and true Ruling Ring, of which Sauron’s later One Ring was only a pale and corrupted


   imitation. Celebrimbor crafted the Master-ring to be worn by no other hand save his own.”


          “He did?” Elanor asked bewildered. “Why?


          “Come Lady Elanor,” Alatar told her. “You have said you love to cook. Could you cook,


   day and night, year after year, and never once prepare a meal for yourself, giving everything you


   made exclusively to others, despite how beautiful and delicious your creations?”


          “Well of course not,” she answered. “Who would do that?”


          “Precisely,” Alatar affirmed. “No one would create so many unique and beautiful Rings


   for others, again and again, yet never forge one for himself.”


          “One for the Bright Lord on his Golden Throne,” Elanor quoted.


          “Yes,” Alatar said. “This was the true and original Ruling Ring.”


          “Did Celebrimbor’s Master-ring enslave all the previous Rings which Narvi and the


   Mírdainions had already created?” Elanor asked.


          “No,” Alatar answered. “The thought of forging such a foul and infernal thing would


   have been inconceivable to Celebrimbor, which is one of the reasons he was deceived by Sauron.




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   Celebrimbor’s Master-ring was a thing of true beauty. Some say it outshined even the light of the


   Two Lamps and the Two Trees, which Fëanor had captured within the three Silmarilli.”


          “How can that be?” Sam asked. “I didn’t think anything could be more beautiful than the


   Silmarilli and the Trees.”


          Alatar looked about the room, as if measuring each hobbit long and hard before he


   returned his gaze to Sam and answered, “With the whole of his Elvish might, and passing much


   of his fëa into the Ring, Celebrimbor infused within the Master-ring – the Ainulindalë, the Song


   of Creation, which you know as the melodies, harmonies, and unstained Music of Ilúvatar.”


          Another shocked silence filled the room.


          But then indignation filled Sam’s face and he rose from the couch, “Listen here, you.


   Gandalf may not have been perfect and made mistakes, just like everyone does, but there’s no


   way he could have made a mistake like that, about the most powerful Elven Ring ever created.


   That’s not the learned wizard and Lore Master I knew, and I knew him well!”


          “You speak wisely Sam, and from the heart,” Alatar said. “The number and attributes of


   these original Rings of Power have been the most closely guarded secrets in all of Middle-earth.”


          “What could a Ring do that contained the Music of Ilúvatar?” Elanor asked.

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           Alatar eyed her thoughtfully a moment before answering, “Galadriel once told me she


   was confused by mortals who equated the works of the Valar and Eldar with the works of


   Melkor and Sauron, calling them both ‘magic’ as if they were the same, when to her they could


   not have been more different. The reason for this, the essence of the difference is the works of


   the Valar, the Maier and the Elves which we create with our fëa, some call the Secret Fire by


   which Ilúvatar has breathed us into being, echoes the Music of Ilúvatar. Our ‘magic’ we manifest


   into the world is our own interpretation and expression of this music powered by our fëa, in


   harmony with Ilúvatar’s Music which lives within us. Though only a tiny fraction of all that is,


   the manifestation of our ‘magic’ is an acceptable gift and a cherished part of Ilúvatar’s creation.


           “But the works of Melkor and his servants are the antithesis of this. Their works are a


   harsh dissonance which mar and corrupt Ilúvatar’s Music with jarring Discord. To the many


   senses of Galadriel and the Elves, their own works and the works of Melkor could not be more


   different: different in origin, intent, production, and in all effects. Elvish creations, like their


   Rings, produce a harmonious reflection of the Music of Ilúvatar and bring joy, laughter,


   happiness, beauty, pleasure, and even preserve life.”




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          Alatar raised his staff, “The staffs of wizards created in Aman by the Valar are another


   example of a ‘magical’ work. They allow us to more easily and fully manifest and focus our fëa.


   The works of Melkor, however, mar the fëa within living beings and bring anguish, misery,


   ugliness, pain, and unalterably and unerringly, death.”


          “But I thought death was a good thing,” Elanor said. “Frodo wrote it comes from Ilúvatar


   and was called ‘The Gift of Men.’”


          “You are very learned and most wise Lady Elanor,” Alatar told her. “For indeed the Gift


   of Men is a beautiful thing. It transports the fëa of mortals to a place of wonder beyond the


   confines of Arda which only Ilúvatar himself truly knows. But there are more than one kinds of


   Death. The deaths brought by the Discords of Melkor are none of the things Ilúvatar intended.


          “What the original Rings of Power created by Celebrimbor, Narvi and the Mírdainions


   could do include unique attributes only those specific Rings could do, in addition to doing what


   the staffs of wizards and all Rings do: strengthen, preserve and allow those who wield them to


   more easily and fully manifest and focus their fëa.”


          “Except for the Master-ring of Celebrimbor,” Elanor reminded him.




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          “Correct,” Alatar responded. “The Master-ring not only echoed all the existing Music in


   Arda, it allowed the Ringbearer to create new Music, never heard before, and create new Fëa,


   never before seen, or even imagined.”


          “What happened to the Master-ring?” Sam asked.


          “I have spoken to all the Wise who remain in Middle-earth,” Alatar answered. “None are


   left here who ever knew.”


          “I bet Sauron took it when he killed Celebrimbor,” Sam said.


          “No,” Alatar told him. “He could not. It was so far beyond Sauron, he could not only


   have never triumphed over its Power, he could not have even touched it. To do so would have


   immediately altered his Discord and utterly destroyed him. The least echo of this Power, as


   reflected in the Elvish pronouncement of the name of Varda the Queen of the Valar ‘O Elberith


   Gilthonel’ is what causes such unbearable pain in the servants of Melkor.”


          “Maybe Sauron threw the Master-ring into the Crack of Doom,” Sam offered.


          “I have no doubt he wished to,” Alatar responded. “But the Master-ring was beyond the


   power of anything in Arda to unmake, or even mar. Not even the heat of the fires of Orodruin. I




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   do not believe Sauron nor any of his servants would have been able to touch it, or even bear its


   presence, much less carry it from Eregion to Mordor to try.”


          “If this Ring was so powerful,” Sam asked, “how could Sauron defeat Celebrimbor?”


          “I do not know Sam,” Alatar answered. “But unlike the second set of Rings which were


   tainted and corrupted by Sauron, the other original Rings of Power and the Master-ring did not


   instill a slavish covetousness in the hearts and minds of their Keepers to always need to bear or


   wear them. I believe Sauron’s final deception was to catch Celebrimbor when he was not


   wearing or holding his Master-ring, and this was his undoing.”


          “You still haven’t told us why nobody I’ve ever talked to seemed to know anything about


   these other Rings,” Sam said. “What did they do? Who did Celebrimbor give them to? What


   became of them? Do they still exist? If so, where are they now?”


          “The answers to these question,” Alatar answered, looking at Sam most intently, “is


   precisely what I have come to the Shire tonight to learn.”


          “Where in the Shire could those answers be?” Rosie asked.


          Alatar regarded her in silence a moment, “Upon the finger of the corpse of Saruman.”


          Shocked, Sam told Rosie. “I think he may be right.”

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          “Why?” Theo asked.


          “I just remembered,” Sam answered. “Gandalf mentioned at the Council of Elrond when


   he was a prisoner in the Tower of Orthanc, Saruman bragged he was a Ring-maker and on his


   finger was a golden Ring.”




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                                              Chapter 3




                                  The Sundering Of The Gardners




          In 1419 after the scouring of the Shire, Gríma son of Gálmód, Man of Rohan cut the


   wizard Saruman’s throat outside the door of Bag End. When he turned and ran down the Hill, he


   was shot full of arrows by the hobbit archers who had accompanied the Cottons, Frodo, Sam,


   Merry, Pippin, and two dozen other armed hobbits searching for Lotho Sackville-Baggins.


          Merry and Pippin prepared to have the bodies hauled off and buried in the Battle Pit with


   their henchmen, the Southron and half-orc Ruffian underlings killed at the Battle of Bywater. But


   Frodo stopped them. He told them even though Saruman had Fallen to the temptation of the


   Ring, wrecked the Shire and was responsible for many hobbit deaths, for centuries before he had




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   opposed Sauron, been the leader of the White Council, and had been a noble wizard from Aman


   sent by the Valar to help the peoples of Middle-earth.


          Merry and Pippin didn’t care. He was a scoundrel, a beast, whose orcs had murdered


   Boromir before their eyes at Parth Galen, kidnapped and tortured them, and carried them across


   the plains of Rohan. They would have ended up in Mordor, tortured and killed by Sauron in his


   hunt for Frodo and the Ring, if they hadn’t managed to escape using their own wits.


          Now he was responsible for the killing of a great many hobbits who had been friends, the


   wounding of many more, and the wrecked devastation of the Shire which would take years to


   mend. If Sauron himself had died here he would have deserved no better, and probably worse.


          Back and forth they argued, firmly believing they were right. But Sam had stood apart,


   silent and forlorn, hoping they wouldn’t call on him to pick a side. When not looking down, his


   eyes went slowly between the ransacked interior of Bag End and the ravaged fields of the Hill,


   and far beyond. His mind had already started working on the problems of repairing and restoring


   as much as could be saved, and grieving over how much had already been lost.


          In the end, Frodo would not be dissuaded. Never quite abandoning their good manners,


   but unable to contain their anger, Merry and Pippin left with most of the rest of the hobbits.

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          Pippin and his band headed south to aid the Thain, still fighting the largest group of


   Ruffians in Tookland. Their own annals recorded the epic battle. Merry and his band rode east,


   to fortify Buckland and aid his father the Master Saradoc against the rest.


          So it was left to Sam, Tom Cotton and a few others to carry out Frodo’s wishes. They


   buried Saruman and his murderer in the Baggins’ family plot, which lay half-hidden within a


   grove of willow trees at the foot of the northwest corner of the Hill. It was the least accessible


   and least seen side. They dug the grave beside a tree in the uneven, rocky northeast corner and


   interred the bodies without ceremony, quickly filling in the dirt without setting a marker.


           Now, Sam and Elanor kept a lookout on each end of the grove. Wearing gardening


   gloves and heavy water-soaked rags wrapped tightly around their noses and mouths, Fastred and


   Theo worked hard, digging deep until their heads were well below the uneven ground and their


   shovels finally struck the rotting remains of bones. They dug up just enough to find the hands.


          “Something’s wrong,” Fastred told them.


          “What?” Sam asked.


          “There are two Rings on two different hands,” Theo answered. “And four hands!”


          “Why is another body buried in the same grave as Saruman’s?” Alatar asked, angry.

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          “His servant Gríma the Wormtongue was buried with his Master,” Sam explained a bit


   embarrassed. “Though he’s the one who killed him.”


          Alatar jumped down into the deeply dug graves beside Fastred and Theo and examined


   the hands. The bones of the fingers had fused around the metal and Alatar had to break them to


   free the dirty, grime-covered Rings. They quickly reburied the bodies and returned to Bag End.


          While they performed their grisly task, Sam’s eldest son Frodo returned from Hobbiton


   with his younger brother Merry and the rest of their brothers and sisters. They each drove a


   pony-led wagon laden with a last surprise: the largest load of fireworks they had ever seen.


          Rosie sent Sandro home after extracting a promise he would stop at her brother Tom’s


   farm and tell him she was very sorry, but they were overwhelmed with preparations and she was


   forced to cancel their dinner plans.


          Then she served her children an early dinner and put the youngest seven to bed with the


   excuse she would be in to awaken them before the sun was up so they could help set up for


   Elanor’s birthday and two-and-twentieth at the Party Tree.


          She set Goldilocks to supervising her younger brothers Merry and Pippin helping her to


   clean the kitchen, finish the rest of their chores and they went to bed.

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           Alone in the Big Room, Rosie told Frodo and Rose all that had happened. Hours later as


   midnight fast approached, the three of them were pensively waiting when Sam and the others


   returned from the graves having removed their grimy gloves outside in the garden shed.


           Sam led Alatar to the kitchen where the wizard cleaned the golden Rings.


           Now, Alatar held both Rings up before the lamp light and examined the bands. They


   were simple circles, smooth and featureless, free of any stone, engraving or device, and


   indistinguishable from each other, or so they appeared.


           “I bet I know where the other Ring came from,” Elanor said.


           “Where?” Alatar and Sam asked together.


           “Saruman,” she answered her father. “Don’t you remember? Gandalf said Saruman


   bragged to him in Orthanc he was a Ring-maker too.”


           “Though the evidence in my hands makes it clear he tried,” Alatar said, “I don’t believe


   Saruman attained the skill of Celebrimbor or the Mírdainions. At best, he probably produced a


   trifling, and most likely just this one.”


           “What makes you say that?” Theo asked.




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          “If he’d succeeded in forging potent Rings on even the most modest scale,” Alatar


   answered, “the War of the Ring would have ended much differently.”


          “Is there a way to tell if one of them is one of Celebrimbor’s original Rings of Power?”


   Elanor asked, overawed and at the same time a bit impatient.


          “Aside from putting them on, there’s a test I can perform now that we’ve cleaned them,”


   Alatar answered. “We must bathe the Rings in moonlight.”


          “Easy enough,” Sam said. He signaled Frodo and the two of them went to opposite sides


   of the Big Room. Each pulled down a lever mounted on the wall. The sounds of many weighted


   pulleys rising and falling filled the air and the roof of Bag End began to move.


          Alatar saw the ceiling was covered by thick glass. Above the glass, the earth and grass


   cover was boxed in four wide-square wooden enclosures set within greased wooden runners. The


   weighted pulleys slid the four sections out until almost all of the glass ceiling lay uncovered


   beneath the clear and cloudless star-filled night sky. The moon was at its zenith.


          Rosie, Elanor and Rose covered the lamps and streaming moonlight filled the room.


          Alatar held the golden circlets up, “Ê isil lúsina.”




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          The outer band on one of the Rings began to glow silver-blue, faintly at first, but then


   brighter, until Elvish script flowed to life across the whole of the outer surface of the Ring:




          “If I wasn’t seeing it with my own two eyes,” Theo said, “I wouldn’t believe it.”


          “Is it magic?” Fastred asked.


          “It is an Elvish Quenya script written with ithildin,” Alatar answered. “The invisible


   writing with mithril invented by Narvi and Celebrimbor which can only be seen in the light of


   the moon or stars, after giving the proper command in Elvish or Khuzdul.”


          “Can you read it?” Rosie asked.


          “Leben an fir variar destin na bel,” he read.


          “That means…” Sam said, trying to piece it together.


          “It’s one of the Five for mortals!” Elanor cried.


          “Five for Mortal Warriors destined to die,” Alatar translated darkly.


          “What does it do?” Theo asked.




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          “I don’t know,” Alatar answered, “I’ve found no scrolls or records recounting the specific


   attributes of the works of the Mirdainions. There are rumors Celebrimbor kept detailed journals


   and recorded the development of his arts, from refining the raw materials to mixing the right


   alloys; creating molds, manifesting his fëa and meticulously refining every step and process in


   the final creation of every Ring, which took years. Inspired by his friend and ally the great


   Númenórean King Tar-Aldarion’s own library and archive in the Númenórean city Rómenna,


   Celebrimbor constructed a great library and archive in Eregion, probably somewhere in his


   palace in Edhilon, to preserve the secrets of his greatest achievements. But precisely where his


   library was or what became of it, no tale has ever told, and there are none alive who know.”


          “Has anybody ever searched for his library?” Elanor asked.


          “Not to my knowledge,” Alatar answered. “Though it seems the time has come for


   someone to begin the search.”


          “Why do that?” Fastred asked. “Just put the Ring on and see for yourself what it does.”


          “I cannot,” Alatar told him, putting the lesser Ring in his breast pocket and setting the


   one with the glowing silver-blue Elven lettering on the table.




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          “You said Celebrimbor’s Rings don’t have the terrible covetousness of Sauron’s,” Elanor


   said suddenly afraid and everyone stepped away from the table.


          “So I have been told,” Alatar responded. “But for a wizard of my order, even without a


   corrupting spell or influence, the only magical artifact I should rely on is my staff.” He held his


   palm up in invitation to Sam, “But I would like you Master Samwise Gardner, if you have a


   mind, to place this Ring on your finger and tell me what you see.”


          Sam stared at the gold band, entranced at the thought of once again wearing a Ring of


   Power. But at the same time, he was faintly repulsed. He’d spent so much time and effort trying


   to destroy these things. Yet he stepped forward and his hand rose, almost of its own volition, and


   he reached for the Ring.


          “I’ll have none of that!” Rosie shouted grabbing Sam’s hands and pulling him away from


   the table. “This hobbit has suffered enough for wizards and elves!”


          “She’s right!” Frodo shouted stepping between Alatar and his parents. “Leave him


   alone!” Fastred and Theo jumped up alongside Frodo between Sam and the wizard.


          “I- I am sorry,” Alatar said turning away from them, “I should have thought…


   remembered all you have been through, before I asked.”

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          “Fastred,” Sam ordered, “bring me that shovel. Frodo, fetch me a pouch from my garden


   supplies.” They left to complete their tasks.


          “That won’t do any good Sam,” Alatar told him. “We cannot rebury the Rings. Others


   will come looking for them. There may be some already on the way.”


          “Who?!” Sam shouted, his anger fanned by his fear for the safety of his family.


          Several of the smaller side doors opened and tiny child hobbit heads peered in fearfully.


          “Come little ones,” Rosie said glancing at Elanor and Rose to help her. The three of them


   gathered the children and led them back to bed shutting the doors behind them.


          “I am… such a fool,” Alatar said. He turned to Sam. “I must get you and your family out


   of the Shire.”


          “They’re not going anywhere!” Fastred said hotly as he and Frodo returned with the


   shovel and pouch. Fastred handed Sam the wooden handle but not before he looked at Alatar as


   if he had half a mind to hit him.


          Sam scooped the Ring up with the shovel. Frodo held the pouch open and Sam dropped


   the Ring in, handing the shovel back to Fastred, taking the pouch, pulling the strings shut, and


   handing the bag to Alatar, “It’s time for you to be going.”

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          “Yes,” he agreed. “And you and your family with me.”


          “I believe it’s best if we stay,” Rosie said tartly returning to the room without Rose.


   “Tomorrow is my daughter’s two-and-twentieth party.”


          “All the East is moving,” Alatar said darkly. “I rode to Minas Tirith barely ahead of the


   storm. Before I left, rumors of my mission had already inflamed the city. I arrived in the Shire


   before any of the others, only because my steed Silverfall is one of the Mearas.”


          Alatar turned away from them and looked through the open door past Elanor as she


   walked back to the Big Room through the eastern hallway. But he could not see past the dark


   surface of the east window, “Rangers stopped guarding the Shire long ago. If I leave, when the


   others come, and they are coming, there will be no one here to save you and your children.”


          “Who are these others?” Sam asked, barely able to contain his fury.


          “A new breed of Orc you have not seen before,” Alatar answered. “They are far more evil


   than the orcs you knew. They are called the Orcelven. They are a crossbreed of Elves and Orcs.”


          “I don’t believe you!” Sam shouted. “No Elvish man would impregnate an Orc and no


   Elvish woman would carry an abomination like that to term and give birth to a monster.”




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          Alatar gave Sam a dark look, “You were right, Sam. We should not discuss this in front


   of your wife and daughters.”


          “I’m the youngest girl in the room,” Elanor responded. “But I believe it’s after midnight,


   so now I’m old enough to hear what I obviously know is coming.”


          Alatar hesitated before turning to Sam, “In every war which is fought outside of battles


   by professional soldiers, though few would ever admit and almost no one records these facts,


   both sides often murder, enslave, rape and pillage entire cities and towns, young and old, men


   and women alike. Do you believe orcs would refrain from these acts?”


          “If what you say is true,” Sam asked, “then where do the Orcelven come from?”


          “I do not know for certain,” Alatar told him. “There are rumors of a few Elvish women


   who survived torments at the hands of orcs and delivered living babies.”


          “Oh no…” Elanor said. She sank down onto the couch and put her head in her hands.


          “What is it, dear?” Rosie asked, sitting beside her daughter and putting her arms around


   Elanor’s shoulders as she began to cry.


          Elanor looked up with tears running down her face, “Celendrian told me her grandmother


   Celebrían, Queen Arwen’s mother, had been captured by orcs and tormented. Elrond healed her

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   body but he couldn’t heal her spirit, not even after a year of trying. So she sailed from the Grey


   Havens and passed West. That’s why she wasn’t at Elessar and Arwen’s wedding. I didn’t make


   the connection at the time, but…”


          “That’s impossible,” Sam told Elanor. “If something like that happened I’m sure we


   would have heard about it from Elrond long before now.”


          “Why, Sam?” Alatar asked. “Celebrían was his wife and he loved her. He would have no


   reason to make public such painful events, which would torment his wife even more than she had


   already suffered.”


          Rosie looked up from her daughter, “Are you telling us Celebrían gave birth to – ”


          “No one knows from whence the Orcelven come,” Alatar answered. “But they do exist. I


   have fought and killed far too many in Rhûn. We are the bitterest enemies. It was in Rhûn at war


   with them, where I first learned of the original Rings of Celebrimbor, and the dark desires of the


   nameless Orcelven Prince who wishes to find and possess them, to become the new Lord of the


   Rings. The Orcelven war for conquest of the Kingdom of Rhûn, to depose their rightful king,


   enslave its people, and use them as conscripts in their war against the Gauntlet of Mordor and his


   former Queen. I will say no more tonight, as not to bring evil any sooner to your door.”

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          “I think you’ve already done a good job of that yourself!” Sam said hotly.


          “Orcs and Rings existed long before I came to Middle-earth,” Alatar told him. “And if I


   fail my appointed task, they will exist long after I am gone. Though you and Frodo Baggins


   unmade the One and the Three passed West with their Keepers, three of the Seven were never


   lost, and the Nine worn by the Nazgûl, whom you once faced, were immediately found, strewn


   upon the plains of Mordor at the same time the Eagles were carrying you out, in the immediate


   aftermath of the destruction of the Tower of Barad-dûr.”


          “I know Sauron had three of the Seven,” Sam said. “But we destroyed Sauron when we


   threw his Ring into the fire.”


          “Sauron was destroyed by your efforts,” Alatar said. “But the three of the Seven he wore


   were not. They fell amid the ruins of the Tower. And there, knowing what was waiting to be


   found, those three were recovered by some of his most powerful lieutenants. One of them is a


   Balrog named Lungorthin, called by orcs ‘The Gauntlet of Sauron.’”


          “Having found a Ring of Power, Lungorthin now styles himself the King of Balrogs and


   he abandoned his Queen. They war endlessly with each other, the Orcelven, and many other


   peoples for the conquest of the vast lands to the east of Mordor. They both wish to conquer and

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   rule all of Middle-earth. Pallando and I have spent centuries thwarting their efforts, with very


   little rest. While you in the West believed these conflicts ended a generation ago.”


          “This is terrible news!” Elanor cried.


          “Yes,” Alatar confirmed. “I am sorry to report. But it is the truth.”


          “What about the Nine?” Fastred asked.


          “At the end of the Third Age after the War of the Ring, the Wise made a very foolish


   mistake,” Alatar said. “As foolish as the mistake at the end of the Second Age after the War of


   the Last Alliance of Elves and Men, when they allowed Isildur to leave Mordor with the One


   Ring while Sauron lay broken and defeated at their feet.”


          “What mistake?” Sam asked.


          “Gandalf and King Elessar did not account for each and every Ring of Power after


   Sauron’s final fall,” Alatar answered. “But there were others who did.”


          “Who are these ‘others’?” Theo asked.


          “In addition to Lungorthin,” Alatar answered, “Sauron had a favored concubine. Her


   origins are shrouded in mystery. She wears many faces and forms. But her name is Thüringel.


   She was in Mordor when Barad-dûr fell. How she survived the fall of the Tower, I do not know.

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          “Perhaps she already wore one of the Rings. From those ruins, she built a terrible fortress


   upon the plains of Gorgoroth. She rules all the lands from the Ephel Dúath in the west, all of


   Nurn and the lands around the Sea of Nurnen; Lithlad and all the lands to the east to the borders


   of Khand are hers, where her armies push ever further east. Her endless wars and thirst for blood


   have now extended her borders into Harad and Haradwaith. Dagorlad, Dorwinian, even to the


   Sea of Rhûn, and huge tracks of Wilderland to the shores of the Rivers Celduin and Carnen in


   the north where she wars with the Men of Dale, and the Dwarves of the Iron Hills and Erebor are


   wracked with her in war. At the eves of Mirkwood, for she covetously desires to retake Dol


   Guldur, only the Elvish forces of Lord Celeborn and King Thranduil have checked her conquest.


          “Within her realms grow cities of evil men, trolls, orcs and other creatures and fell beasts.


   And ever she opposes and makes war with Prince Faramir of Ithilien, Queen Imavich of


   Wetwang, King Éomer of Rohan, the Warlord Thû of Dor Daedeloth, Princess Estys of Anórien,


   and King Elessar and the peoples of the United Kingdoms of Arnor and Gondor. It is said she


   performs dark arts and obscene rituals upon an obsidian throne covered in blood. She is


   worshipped slavishly, almost like a god by her subjects and called the Dark Queen of Mordor.”


          “Why haven’t we heard all this before?” Fastred asked.

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          “Because your own borders were secure,” Alatar answered, “It made no difference in


   your lives when others went to war for you and died in distant lands. To the east live your


   neighbors in Bree-land. Six years ago, Elessar restored Annúminas in Evendim and the Men of


   Arnor now protect you in the north. To the south, your friend King Éomer and Queen Lothíriel


   rule Rohan and their horse lords keep you safe. In the west sits Lord Círdan and all his Elves.”


          “If what you say is true,” Frodo asked, “then why should we care?”


          “Because things have changed,” Alatar answered. “If they were ever truly different.


   Perhaps for a time you really could live in blissful ignorance. But that time has passed. Those


   who live in the East are no longer content to war among themselves. They have learned the


   secrets of these original Rings of Power crafted in the West and they want this power for


   themselves, believing once they have it they will live in happy ignorance off the fat of the land,


   as you do. While we sit here arguing among ourselves they are coming. If we do not rise united


   and oppose them, it will not stop them from invading, whether we wish them to or not. Tonight


   is nothing more than the final moments of quiet before the arrival of the storm.”


          “You keep saying people are coming,” Sam said. “Who’s coming?”




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          “We don’t know their names,” Alatar answered. “Some have kept their identities hidden,


   to what end, I cannot guess. Pallando and I are certain several potent figures lurk, hidden powers


   behind dark thrones. The one thing we do know is all of them know about and are coming for


   these Rings. Aside from the three salvaged from the ruins of Barad-dûr by Sauron’s ambitious


   lieutenants, it is rumored a great Elven Lord roamed the plains of Mordor and gathered all of the


   Nine fallen Rings of the Nazgûl.”


          “There wasn’t any Elven Lord in Mordor,” Sam told him. “That was me! The orcs


   thought I was an Elvish Lord when I drew out the light of the Phial of Galadriel and they saw my


   Elvish blade Sting.”


          “I know they did Sam,” Alatar told him. “But there also really was an Elven Lord in


   Mordor, though we have not learned his name. From the clues we have pieced together, this


   Elvish Lord arrived before you did. He was not there hoping to find fallen Rings after the fall of


   the Dark Tower. He was hunting for you and Frodo, hoping to deceive you with false friendship


   and the offer of his assistance, then kill you and take for himself the One Ruling Ring of Sauron,


   become a new Dark Lord, and the Master of Middle-earth. One of my greatest fears is news of


   my coming to Gondor has already reached this unknown Elven Lord’s ears and he has set out for

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   the Shire to correct his earlier failure. This is why we must leave, soon; tonight. Or you and your


   family may be forced to learn the names of these shadowy figures and face them and their


   terrible powers alone.”


          Rosie clutched Sam’s hand, “Where can we take the children where they’ll be safe?”


          “West,” Alatar answered standing. “Your only hope is to flee west this very night to


   Lindon, and hope the power of Círdan can keep the Enemy at bay.”


          Elanor’s first unbidden reaction was a surge of joy, from the part of her mind which had


   always dreamed of returning to Lindon and the Towers. She immediately scolded herself for


   celebrating what could only be a wrenching transition for her and her family, from the only life


   they had ever known. Then and only then, she realized the long planned, much anticipated and


   many splendors of her two-and-twentieth party would never be.


          “Elanor, Frodo, Rose, get everyone up and start packing,” Sam told them. “One change


   of clothes and nothing else. But as much food and water as we can fit in the wagons.”


          “I’m bringing the Red Book,” Elanor told him rising resolutely from the couch.


          “Of course, love,” Sam said standing too. “It’s one of the heirlooms of our house, as


   strange as it sounds to be saying out loud, and to think we even have such things.”

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          “Yes. Good,” Alatar said. “Though you Sam, must travel east with me.”


          “I’ve already told you, no!” Rosie shouted no longer caring what anyone thought and she


   was about to wake the children anyway. “You’ll not take this hobbit from his family!”


          “I must,” Alatar told her. “Sam is the only one of the free peoples of Middle-earth whom


   we know has ever worn a Ring of Power. Because of this, the others will call to him, have been


   calling to him. I must show him how to unstop his ears so he can hear them, and we can find


   them before the hosts of our many enemies find him.”


          “What enemies?” Elanor asked and for the first time she felt truly afraid.


          “It doesn’t matter!” Sam said to Alatar. “I don’t want to hear one more word about it.”


          “This is not like before,” Alatar told him. “When you were only in danger because you


   walked beside the Ringbearer. For those coming, you yourself are the key to untold power. They


   will slaughter your family, whether you agree to help them or not, whether you are there to


   defend them or not, to break your spirit, or give themselves a fleeting moment of amusement.”


          “If those are my choices then I’ll die beside my loved ones, defending them with my last


   breath,” Sam said. He stepped towards Alatar as if to push him towards the door.




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          Alatar’s eyes flashed. He lifted his staff and every glint of silver on his hat, robes and


   armor seemed to sparkle and glow, “I am not Gandalf the Grey! To prod and persuade!”


          His form seemed to grow until he nearly filled the Big Room and the lamps flickered as if


   caught in a sudden wind and were about to go out. “I come from the East! Where men are harder;


   slower to anger, but once ignited, it comes in a storm!”


          Sam shrank back and for the second time, he and Elanor felt truly afraid.


          “But I am not your Enemy Sam,” Alatar said lowering his staff, and the shadow passed.


   “Nor will I deal in their tools or Dark Arts. The fate of all Middle-earth could very well be


   decided here in the Shire tonight. But if you will not help me willingly then give me the Red


   Book of the Westmarch so I may study its pages. Or if not, then perhaps the assistance of your


   daughter Elanor, whom I deem knows the contents better than any other. There may be some


   thread of wisdom from which I may yet fan a slender hope.”


          “I’m not leaving my family!” Elanor shouted grabbing the Red Book off the table and


   clutching it against her chest, “And you can’t have our book!”




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          The wagons were loaded with the family and all they could carry. Sam and his second


   oldest daughter Rose sat up front in the lead wagon. Rosie and their oldest son Frodo drove the


   other. Sam had sent Fastred and Theo ahead to the Cotton’s farm with a letter to fetch Rosie’s


   brother Tom and have him meet them at the main fork of the East Road.


          But Elanor had insisted on going with them to say her goodbyes to Theo and Fastred in


   private, promising she would return with her uncle Tom. Sam had been resolutely against it. But


   Rosie took Elanor’s side and insisted, saying they owed it to her for having had to cancel her


   two-and-twentieth party. With barely a goodbye they left, promising she would soon return.


          When Sam and Rosie and the rest of their children reached the East Road in their


   wagons, Tom was waiting for them on a pony, bewildered, and alone, “What’s going on Sam?”


          “Where’s Elanor?!” Rosie shouted.


          “She woke us up in the middle of the night and scared her aunt Marigold half to death!”


   Tom answered, “She said I had to meet you here right now! And without even so much as a


   ‘please’ or a ‘hallo, how do you do.’”


          “Where has she gone?” Sam asked jumping off the wagon with a knapsack.




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          “She and Theo and Fastred took off on my three best ponies for the Three Farthing Stone


   saying they had no time for explanations,” Tom answered. “Now I’ve got this sinking feeling it’s


   just going to be more of the same from you.”


          “No!” Rosie wailed. “She promised!”


          “Trade me your pony Tom,” Sam said handing him the knapsack.


          “He’s the last one I’ve got!” Tom said. But Sam was family and Tom knew Sam would


   never do anything this queer without good cause. He slid off his pony, handed Sam the reins and


   opened the knapsack. Inside were the keys to Bag End, the Badge of Office and the official


   engraved Seal of the Honorable Mayor of the Shire.


          “What’s happened?” Tom asked looking up surprised.


          “I haven’t got time to explain,” Sam said mounting the pony.


          “I figured,” Tom said taking the Badge out, polishing the surface against his sleeve, and


   pinning it on his rumpled and hastily thrown on shirt, just to try it on for size.


          Before Sam could start the pony Rosie grabbed the bridle, “I’m going with you.”


          “You’ve no idea what you’re saying love,” Sam told her. “It’s too dangerous!”


          “Did you have any idea, when you took off with Frodo Baggins?” Rosie asked.

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          “That’s exactly my point!” Sam shouted.


          “Would it have stopped you if you’d known?” she asked. “Or would you take it all back


   if you could, now that you do, and wish you’d never gone?”


          There was no point in arguing, he knew she was right, and the minutes were slipping


   away from them. He helped her mount up behind him. She put her arms around his waist and it


   was only then he felt her body trembling. But there was nothing to be done about it. He rode to


   his wagon and held his hand out to Rose.


          “Hand me my pack,” he said and when she did he looked inside, “Garned rabbit.”


          “What’s wrong?” Rosie asked.


          “Frodo,” Sam said riding to the other wagon, “I’m putting you in charge of the family.


   Children! You’re to listen to Frodo without argument, and do as he says, the first time.”


          “Yes father,” the chorus of his children’s voices chimed in together obediently.


          Sam turned his eyes to Frodo’s, “You’re to stay on the East Road. Go as fast as the


   ponies allow but don’t exhaust them. And whatever you do, do not stop, day or night; not until


   you’ve crossed the borders of Lindon and met with our friend Lord Círdan. Tell him everything


   that’s happened. Is that clear?”

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          “Yes father,” Frodo said smiling bravely. But Sam could see the fear behind his eyes he


   tried his best to hide, “You can count on me, sir.”


          “I know I can Frodo lad.” Sam shook his son’s hand manfully to put a good face on their


   parting, “I know. There isn’t a hobbit I’d trust more to do right by our family than you son.”


          “Where are you and mommy going?” little Ruby asked. At four she was in the prime of


   her inquisitiveness, a reliable font of endless questions.


          “It’s our pretty Elanor, love,” Sam answered lightly, while Rosie painted a bright happy


   smile on her face. They took turns kissing their children as briefly as possible as not to alarm


   them, or in Rosie’s case break down herself and start crying, “We’ve left her behind.”


          “Oh no!” Primrose cried. At seven she still idealized her older sister, “Not sweet Elanor!”


          “Yes love,” Sam answered. “Our Elanor.”


          “How long will you and mommy be gone?” Ruby asked.


          “Just as long as it takes to fetch her home and not a minute more,” Sam answered kissing


   her forehead and smoothing her hair.


          “And just where,” Tom asked exasperated, “am I to report to everyone in the Four


   Farthings that you and Elanor and the Mrs. have gone, Master Gardner?!”

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          Sam turned the pony around to the east, flicked the reins and shouted over his shoulder as


   he kicked the little pony into a run, “Tell them we’ve gone to Gondor!”




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                                              Chapter 4




                                      On The Road To Gondor




          When Elanor, Fastred and Theo reached the Three Farthing Stone they found Alatar


   waiting for them. Elanor explained she had stopped him at the door of Bag End and offered to go


   with him and help however she could to fulfill his and King Elessar’s Quest.


          “Why did you do that?” Fastred asked.


          “Our life here is over,” she answered. “That much is clear.”


          “So you mean to just throw away what’s left?” he asked.


          “Of course not,” she answered. “It’s just… after I finished helping my father draft his


   letter to my uncle Tom, in a pinch mine was always the swifter hand, I realized this wasn’t about


   cancelling my party or the danger to my family. It’s about everything. All of Middle-earth is in

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   danger. And that means our friends in Rohan and Gondor. Even King Elessar, Queen Arwen, and


   Princess Celendrian. I thought I should dash off a quick note to tell her, Elerith and Brindil


   telling them I was alright and…. running. I don’t know. Maybe I’m being foolish. But if we’re in


   danger here in the Shire, then Celendrian, Elerith, Brindil and Cetelina are too. But Alatar thinks


   there may be something I can do to help. If that’s true, but instead I chose to run, and then


   something happened to them… I- I don’t think I could live with myself.”


          Theo turned to Alatar, “What can she do to help?”


          Alatar withdrew the golden Ring he’d hung on a silver chain and he handed it to Elanor,


   “She can start by taking this talisman and when we have a moment, help me deduce its abilities


   and how they might aid us in finding the other Rings and defeating the monsters in the East.”


          Elanor solemnly slipped the chain over her head and hid the Ring beneath the edge of the


   blouse she wore beneath her coat and the riding vest she’d borrowed from her aunt. She hugged


   Theo and Fastred, “Take care of each other. I’ll write when I can.”


          “Oh no!” Fastred shouted. “If I can’t stop you from going, I’m not going to let you go


   with a stranger in the wilds alone. My father would kill me!”


          “That goes double for me!” Theo cried.

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          She knew it wasn’t true. But in that moment, she felt more love for them than she’d felt


   for anyone outside her family.


          “Come if you wish or leave if you wish,” Alatar told them. “Either is fine. The one thing


   we cannot do is spend more time arguing. Perhaps when the miles have dampened your


   enthusiasms you will change your minds and return home. But until then, we must be off.”


          He turned his horse and rode east as fast as the three hobbit ponies could follow. It wasn’t


   too long into the night before their ponies began to tire. He remedied this by insisting they


   change them out at the first farm they passed for fresh mounts, which they did. Elanor did her


   best to explain things as quickly as she could.


          Fortunately, she was well known and trusted. Folks mostly scratched their heads and


   agreed to help, certain HMS Gardner would put things to right in the morning, perhaps with a


   handsome gratuity included in the bargain for doing a good turn for his daughter.


          Eventually they crossed the Brandywine Bridge and reached the threefold split in the


   King’s Road where the East Road continued to Bree, the High Hay Parkway went south


   following The Hedge marking the border between Buckland and the Old Forest, and the


   Buckland Highway led to Brandy Hall, Crickhollow, Buckleberry and Standelf.

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          “Can we make a short detour and seek the council of my father the Master Meriadoc of


   Buckland?” Theo hollered on his pony to Alatar. “He’ll be a great help and it won’t take long!”


          “You are free to go,” Alatar answered. “But we cannot wait and we will ride on.”


          Theo knew if he left now he would never catch up with them later so, torn and full of


   regrets, he silently said goodbye to his homeland and rode on with Elanor and Fastred.


          Silverfall never seemed to slow or tire but their hobbit ponies did. As soon as they


   slowed, Alatar insisted on trading them for fresh mounts. The rode all night and kept going after


   sunrise, changing mounts at different places four times. At the end, Elanor, Fastred and Theo


   were close to exhaustion but they reached Bree by late morning.




                     *               *              *               *              *




          The minute Sam and Rosie were out of sight of their children, Rosie started crying. She


   tried to hide it as long as she could but once started she couldn’t stop. Sam decided if you can’t


   beat them you may as well join them and he started blabbering like a baby.




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          “You stop your bawling this instant!” Rosie shouted, “You’re acting like you’ll never see


   your children again and I won’t have it!”


          Sam laughed through his tears and felt his spirits lifting, “With you at my heels Mistress


   Rose, I’m sure I’ve no choice in the matter.”


          Rosie laughed too, wiping first his face and then her own, “You had best believe it,


   Master Gardner!” She clutched him tighter and for a long time the miles flew by. “She’s gone off


   with that misbegotten wizard, hasn’t she?”


          “I’m afraid so,” Sam answered.


          “And it’s all my fault!” Rosie cried, her tears starting again. “I shouldn’t have insisted


   she go with Fastred and Theo.”


          Sam laughed and pulled her arms tighter around his waist, “Hush love. You did what you


   thought was right, which is one of the many reasons I love you.”


          She kissed his cheek and stifled her crying, “I love you too, Sam.”


          “She would have left anyway,” he told her, “with or without our consent.”


          “What makes you say that?” she asked.


           “I knew the moment I looked in my pack,” he answered.

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          “What did you see?” she asked.


          “It’s not what I saw,” he answered. “It’s what I didn’t see. There wasn’t time to change at


   home and I didn’t want to be wearing my sword in front of the children before we were out on


   the Road, so I told Elanor to pack Sting, my Barrow-blade, Elven cloak, and mithril coat in my


   bag. But when I looked inside, my Barrow-blade and Elven cloak were gone.”


          “She took your cloak and blade?” Rosie asked shocked.


          “She left the Star of the Dúnedain,” Sam told her. “But I wish she’d taken it, too.”


          “Why?”


          “She could have used it to ransom her way out of trouble if need be,” he answered.


          “If she faces that much trouble,” Rosie told him, “whoever threatens her would just as


   likely take the Star and trouble her some more. But one good thing about wizards, I think they


   would make something like that happening to Elanor unlikely.”


          “I hope so, love,” Sam said. For a long time they rode at a steady pace in silence. Sam


   couldn’t help remembering his long and terrible journey to Mordor with Frodo, attacked by the


   Nazgûl, Wargs, Orcs, Giant Spiders… and that nightmare of shadow and fire in Moria – ”


          “What’s wrong?” Rosie asked feeling him shudder.

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          “Thinking too much,” he answered. “About that Ring. Alatar said it wasn’t evil and


   wouldn’t enslave its Ringbearer. I hope he’s right and she’ll give it up.”


          “No!” Rosie cried. “She knows what you went through better than anyone but me. We’ve


   raised her well. She won’t forget or believe everything he says and put it on. Will she?”


          “She believed enough to leave us,” Sam answered. “I don’t see why she wouldn’t.”


          They reached a farm with the lights on and the old hobbit farmer Maggot framed in the


   light of his barn. He told Sam and Rosie yes, Elanor had indeed ridden through with Theo and


   Fastred and a queer looking Man, and he showed them Tom Cotton’s three tired ponies.


          Sam gave him Tom’s fourth in exchange for a fresh mount, thanked Maggot for his


   kindness to his daughter, and made him promise to talk to Tom in the morning so he could put


   everything right. They rode away happy to have so quickly found news of their daughter and


   carrying a pouch of fresh food which included aromatic mushrooms from Mrs. Maggot.


          At the next large farm they traded out their one pony for a cart and a team of horses and


   they made much better time. Sam took the opportunity to put his mithril coat on beneath his


   clothes. It wasn’t too long after, they passed over the Brandywine bridge.




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          “I’m feeling a bit hungry love,” Sam told Rosie. “I just remembered I skipped dinner.


   Would you pull me a bite of food from Mrs. Maggot’s pouch and my flask from my pack?”


          Rosie grabbed his bag first, opened it, and screamed. She dropped his pack, slid off her


   seat into the back, and fainted. Sam reined the horses and brought the wagon to an abrupt stop.


          He jumped in the back and took her in his arms shaking her gently, “Rosie. Rosie!


   Rose!!” He saw her eyes flutter open, “What is it, love?”


          “In your pack…” she said motioning at the fallen bag. Fresh tears streamed out the sides


   of her eyes but Sam could see they were different from before. These came from fear.


          Rosie sat up trembling and Sam opened his pack. Inside, even sheathed, emanating from


   the sharpened edge of Sting a foreboding glow filled his pack with a cold blue light.


          For one beautiful quiet second; like a requiem for his entire life as he’d known it for the


   last twenty-three years in the Shire, Sam merely gaped at Sting in silence and shocked surprise.


          Thundering hooves shattered the silence, the sounds of a large company of fiercely


   galloping horses and clattering swords echoing from far out of sight down the southern split of


   the Marish Highway – and coming fast.




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          Sam lashed the horses and took off at a gallop as fast as the team could run. The wagon


   banged up and down, Rosie held onto Sam and feared they might lose a wheel but they neither


   stopped nor slowed their headlong flight.


          It was not long before they saw galloping behind them their pursuers, a large band of


   charging orcs. Rosie screamed.


          “Here!” Sam cried handing her the reins, “You drive.”


          Holding the reins forced her to concentrate on the road and their wildly galloping horses


   and calmed her down somewhat.


          Sam grabbed his bag, strapped on Sting, put his pack on his back, unharnessed the horses,


   put a saddle from the back of the wagon on the largest and fastest one, and shorted the stirrups


   until they reached his feet. He put Rosie on the saddle in front. There was plenty of room for two


   on the saddle made for Men. He unhitched the wagon and without the anchor of their team of


   horses, it bounced uncontrollably and shattered into pieces on the road behind them. He scattered


   the other horses sending them running off the road into the woods and he spurred their horse


   forward, charging like a demon riding east. The orcs fell further behind, detoured around the


   wreckage and a few went after the horses but the rest continued in hot pursuit.

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          Their horse was fresh, the hobbits were a light load on his back, and the orc’s horses had


   been riding hard half the night. At first Sam and Rosie pulled away. But as the night wore on


   their mount began to tire, not bred for nor accustomed to long sustained efforts, and the orcs


   began to close the still-wide distance between them.


          Far beyond the fields on the south side of the road, the edge of trees marking the entrance


   of the Old Forest grew thicker and darker. To hobbit eyes it usually appeared foreboding, but to


   Rosie it was a slim hope they could escape their pursuers.


          “Can’t we make for the forest?” she shouted over his shoulder.


          “This horse is too big!” Sam cried. “We’ve had the advantage because the road runs


   straight and flat but in uneven fields it’ll be hard just to stay on his back and we’ll lose too much


   speed. They’d catch us before we could reach the woods for sure!”


          Sam’s mind raced but no solution presented itself as the miles dragged on and the orcs,


   though still distant, came steadily closer. Desperation filled him as they rode to the top of a


   gently upward sloping hill.


          Rosie pointed far ahead in the distance, “Look!”




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          Above the top of the next hill rose clouds of rolling dust, a sure sign another band of


   horsemen lay before them and were riding towards them.


          “We’re saved!” Rosie cried.


          When they crested the hill they saw a low valley below them and coming down the road


   on the far side in the far distance were creatures Sam had never seen before.


          Even on the backs of tall horses, Sam could see they were tall, as tall as men and some as


   tall as Elves but their bodies were more powerfully built than either. Their clothes and mail were


   clean and fair, their long clean hair flowed golden in the wind behind them. Their high cheeks


   and noble foreheads framed large green eyes gleaming brightly but with vicious light.


          Their hands were much larger than those of Orcs or Men, and sharp talons grew from the


   tips of their fingers. Their faces hideously corrupted their Elvish features with polluted and


   pockmarked skin, strange twisted ridges, and unlike Orcs, two sets of long sharp fangs protruded


   from their mouths; one set rose up even with their eyes and the second fell below their chins,


   covered with slather and drool, and the grime of their last kill. They were farther away than the


   orcs coming up the rise behind them but riding harder and closing the distance much faster.


          Sam knew who they had to be, “The Orcelven!”

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           Sam and Rosie followed the road down to the center of the small valley and Sam reined


   his horse to a stop.


           “What are you doing?” Rosie asked, her palpable terror painful for Sam to hear.


           “Do you trust me Rose?” he asked.


           “This is not the time for idle questions when – ”


           “Hand me a knapsack!”


           She handed him one from her pack and he dumped the food, rolled it into a blindfold and


   bound their horse’s eyes. Behind them, the rapidly approaching orcs pulled out their swords and


   spears. Before them, the Orcelven drew their curving and strangely hooked scimitars and much


   longer and cruelly barbed javelins.


           Both forces spurred their galloping horses into deadly wedge shaped charges and


   thundered ever closer. The ground began to shake with the force of their coming and Sam and


   Rosie’s horse, though spooked, was now blind so he could do nothing but wait.


           Rosie stopped crying and gripped Sam’s waist tighter, “I love you, Sam.”


           “And I you, my love,” he told her, drawing Sting and brandishing the brightly glowing


   blade. “Perhaps you should close your eyes. But know as long as I breath, I won’t give up!”

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          The leader of the Orcelven had a princely bearing. He was taller and more powerfully


   built than the rest but his face bore the greatest malice and he laughed, “How now my little


   hobbits! Are you the ones we seek? You must be, but no matter, it is time to meet your deaths!”


          “Do you think he knows us?” Rosie asked.


          “I don’t see how he could,” Sam answered. “He’s probably just assumed because we’re


   chased by orcs!”


          Sam walked the horse in a circle on the road, pausing east, then west, as if attempting to


   decide which band to charge, or more likely, which group to surrender to and make himself a


   prisoner. Seeing this, both gangs charged faster in fear of whatever his choice might be.


          Rosie turned Sam’s face to hers, kissed him on the lips and closed her eyes tightly, “I can


   die happy now, since yours is the last face I’ll ever see!”


          Back and forth, back and forth, Sam turned their pony’s head as if he couldn’t make up


   his mind. The minute before the charging wedges converged, Sam stood in his stirrups, lifted


   Sting high overhead, screamed in defiance, and swung the flat of the blade down as hard as he


   could to deliver a bitter smack against the horse’s rump.




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          The horse shrieked and bolted from the road no more than a sword length from the


   javelins and spears, and the orcs and Orcelven smashed into each other in a terrible crash of


   breaking bones and twisting steel.


          Rosie was crying again but her eyes were tightly closed, “Why aren’t we dead?”


          Sam laughed, “Open your eyes!”


          She did and saw the dark eves of the Old Forest rising like sentinels before them. Behind,


   the orcs and Orcelven slaughtered each other without mercy.


          Rosie grew up on a farm so butchering fowl, pigs, sheep, goats, cows and deer was as


   natural as making her bed, but seeing people rip each other limb from limb, if these creatures


   deserved the name, she wasn’t sure, was horrifying to witness.


          The Orcelven were finer warriors and had the edge in size and speed and strength. But


   the orcs outnumbered them many times over, and despite their disadvantages they threw


   themselves maniacally against their enemies heedless of the danger or their deaths.


          She had no idea which group would win.


          A rear contingent of orcs broke away from the battle and pursed Sam and Rosie as they


   rode ever closer to the woods.

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          The princely leader of the Orcelven saw the Orcs closing in on Sam and Rosie. With a


   vicious cry he cut through his foes before him and rode after them, his horse larger and faster


   than the rest, just as Sam and Rosie passed the line of trees into the woods.


          Inside the Old Forest with the horse still blindfolded, Sam felt their progress slow to a


   crawl. He ripped the blindfold off and gave the horse its head. They galloped on through the ever


   narrowing gaps between trees and rode ever deeper into the forest.


          But the orcs were experienced riders and came closer and closer behind them.


          “Before we reach a clearing I’m going to throw you into some bushes!” Sam told her.


   “Hide until they’ve passed and then sneak off to Buckland or Bree!”


          “They’ll see and catch me!” Rosie shouted, “They’re too close!”


          “Then when I stop the horse, run!” he shouted. “It’s me they want, not you!”


          “They’re orcs! I’ve read the Red Book and heard what Alatar said. They’ll chase me and


   kill me for sport – or worse.” She gripped Sam’s waist tighter, “I won’t suffer the torments of


   Celebrían. Promise if they catch us you’ll show me the mercy of your loving hand and Sting –


   and set me free!”


          “Rosie!” Sam shouted. “I can’t!”

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          “You have to!” she cried. “If you love me Sam, you will.”


          Before he could respond, the leader of the Orcelven reached the rear of the pursuing orcs


   and cut the first one down. A few turned to face him but in the cramped confines of the woods,


   the advantage was his.


          One by one they fell despite their savage efforts. They couldn’t match his skill or stop his


   deadly blade. The main host of orcs were no more than three horse lengths from Sam and Rosie


   but the orcs had no choice, they had to turn and face the Orcelven prince in a united front. It was


   their only hope. They spread their horses out and surrounded the Orcelven, and then they jeered


   and laughed murderously. It was clear against their greater numbers strategically placed, not


   even this most powerful Orcelven Prince would prevail.


          But the Orcelven put his hand inside the collar of his mail shirt and drew out a silver


   chain on which there hung a golden Ring set with a smooth and brilliantly polished bronze


   Imperial Topaz stone. The orcs closed in, he slipped on the Ring – and vanished.


          The orcs howled, growled and barked at the riderless horse, pulling their mounts wildly


   this way and that, searching for a sign to show where the Orcelven had gone. A curse rang out




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   through empty air and the head of the largest orc was severed at the throat by an invisible blade,


   popped off its shoulders and blood geysered up out of the bloody stump.


          The orcs screamed and swung their swords wildly over the empty saddle of the


   Orcelven’s horse. Some struck each other in terrified desperation but the head of another orc was


   cleaved down the center and he fell from his saddle dead.


          One after another, their invisible foe slaughtered them cruelly, laughing manically with


   bloodlust and reveling at the carnage the orcs were helpless to prevent.


          Sam and Rosie rode away deeper into the woods.


          “Sam…” Rosie said, too terrified to finish.


          “I saw the Ring,” Sam told her.


          “I’ve read about you and Frodo using the One Ring so many times,” she said. “But to


   actually see someone disappear…”


          “It wasn’t the same Ring,” he told her. “Ours was smooth and had no stone.”


          Still invisible, the Orcelven murdered the last orc, remounted his horse, and took off after


   Sam and Rosie. Unfortunately, they’d left an easy trail and it wasn’t long before they saw his


   horse coming with a rider they couldn’t see – and quickly closing in.

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          “Blast it!” Sam shouted, “You should have hid like I said. I wish I had the Red Book!”


          “What good would that do?” she asked.


          “We’re in the Old Forest,” he answered. “But I can’t remember the song to summon Tom


   Bombadil!”


          Rosie had a love of song as great as Sam’s, but there were places, as with any married


   couple, where they’re interests did not always overlap. Her high and pure contralto voice rang


   out through the forest eves:




                          Ho! Tom Bombadil, Tom Bombadillo!
                          By water, wood and hill, by the reed and willow,
                          By fire, sun and moon, hearken now and hear us!
                          Come, Tom Bombadil, for our need is near us!




          They rode on and strained their ears. But not even an echo of her song rang through the


   woods and the Orcelven’s horse came closer and closer.


          “Again!” Sam cried.


                          Ho! Tom –




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          An invisible hand grabbed Rosie’s throat and lifted her off the back of the horse holding


   her tightly and cruelly, and she couldn’t breathe to scream.


          The Orcelven removed his Ring, and his wild and slathering face appeared in front of her,


   only inches away.


          “You must be Rose Gardner,” he said, sniffing her hair and licking her face, “A bit longer


   in the tooth than I’m used to. But I’ll still make a pretty toy of you!”


          “STOP!” Sam shouted standing in the stirrups of his horse and pointing with the brightly


   glowing tip of Sting, “Put her down or I’ll run my Elvish blade through you whether it costs me


   my life or not!”


          The Orcelven laughed, lifted Rosie over the jagged point of a dead branch that stretched


   above their heads and jammed her down. The point pierced the back of her dress and came out


   the back of her collar, hanging her on the tree like a coat on a hook.


          Her breath returned when he released her throat and she burst into tears but from her


   cruelly bruised throat she could barely croak, “Sam…”


          Ignoring Sam, the Orcelven looked Rosie up and down, “I’m going to murder your


   husband before your eyes, slowly, and add you to my harem, willing or not. I’d honestly prefer if

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   you struggle. And I have no doubt that’s what I’ll get. Together we’ll produce little Hobbit-Orcs.


   They’ll be small, though strong. And of course, like me – immortal. I think I’ll call them Horcs.


          “You’ll do no such thing!” Sam shouted, prepared to charge as soon as the Orcelven was


   clear of Rosie.


          “Ours will be the first,” the Orcelven sneered ignoring Sam. “But I’ll take many hobbit


   concubines and in just a few generations sire legions of Horcs to conquer and rule in my name


   throughout these hobbit lands.”


          The Orcelven turned to Sam with murder on his face, drew his sword and tensed to leap


   but a great branch on the same tree grabbed him by the throat, choked him breathlessly and held


   him tight. The Orcelven hacked at the tree with his sword but two more branches pinched his


   hands cruelly and his sword fell from his grasp.


          Beside the tree in his bright yellow boots, wrinkled red face, white hair and whiskers,


   bright blue eyes, and blue top coat and high feathered hat stood old Tom Bombadil ignoring the


   Orcelven and holding his arms open wide, “Sam! How good of you to visit me again!”


          “Tom!” Sam cried jumping off the horse, running into his arms and giving him a hug.


   “It’s good to see you too!”

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        “How is it you forgot Tom Bombadil’s song?” he asked.


        Sam was embarrassed, “Well, I’ve had so much to do since I became mayor, I guess it’s


 just that I’ve been that busy, and what with one thing driving out another, your song was one of


 those. It wasn’t on purpose. I’m sorry, Tom.”


        “Never you mind,” Tom said happily. He turned to where the Orcelven writhed in the


 grip of the tree, “Who is this you’ve brought to Tom’s forest?”


        “I didn’t bring him!” Sam shouted. “He came to kill me. You must have old man willow


 snap his neck!”


        “Why would I do that?” Tom asked.


        “He’s a monster!” Sam answered. “He lives to kill and won’t stop ‘til I’m dead.”


        “All things live to kill,” Tom said. “In every field and around every tree, birds are killing


 and gobbling bees, hawks slaughter pheasants, pheasants slaughter fish, fish slaughter other fish


 and bugs, which slaughter other bugs and mites every day on every tree and glade within every


 forest glen. Why should I prize one hive of bees and their Queen? And even if I wished to, how


 would you suggest I go about making a distinction to favor one over another?”


        “It’s not the same!” Sam cried.

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         “It’s no different,” Tom replied. “Three tribes of ants are at war this very second beneath


 this very tree. Here a spider is about to kill a butterfly, a wasp’s about to kill that same spider and


 my head would spin right off my shoulders if I concerned myself with every single war and tried


 to take responsibility for who should die and who should live. The Old Forest would die from me


 trying to control it. No Sam, that’s not how nature works or helps things live.”


         “But we go way back!” Sam said, “You saved us before.”


         “It appears I’ve saved you again,” Tom replied. “But last time the choice was clear. It


 was living creatures versus ghouls and ghosts, a conflict I’ll readily choose sides on every time,


 not living thing against living thing. I thought you knew and believed every living thing deserves


 the right to try and stay alive.”


         “He doesn’t want to stay alive,” Sam told Tom. “He wants to take my wife for a


 broodmare! He wants the wife of every man. To make hybrid offspring of his own, ruled by him.


 I bet – he’d do the same to Goldberry!”


         That gave Tom pause. He turned to where the Orcelven hung. The tree loosened its grip.


 The Orcelven gagged and coughed, but could breathe again.




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        “Is this true?” Tom asked, looking into the Orcelven’s eyes. “If you saw my lovely


 Goldberry swimming in her streams would you try and take her from me and sire orcish


 nymphs?”


        With both hands, the Orcelven held the branches around his throat to keep his weight off.


 He caught his breathe, inhaled deeply and replied, “Never, lord. Your land is yours. You and all


 you have is no business of mine; not the least concern, nor of any interest to me, at all.”


        “He’s lying!” Sam cried.


        “Hush Sam,” Tom said returning his gaze to the Orcelven. “Do you speak the truth?”


        “Yes, my lord,” the Orcelven said, gazing deeply himself into Tom’s sea blue eyes.


        Tom stared at the Orcelven and studied him, “Your eyes say one thing, but the fire in


 your heart says quite another. In fact, I see your half-born plan to return some night invisible, as


 if that’d help, find and kill me in my sleep and take Goldberry for your own. I admire your feral


 savagery. But I can’t abide a liar.”


        A demonic roar exploded from the Orcelven’s throat shaking the trees and all the hairs on


 Sam’s arms and neck and head (and even his toes) stood on end.




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        The Orcelven lashed out with taloned claws cutting empty air and howling. He viciously


 swung his boots to crush Tom’s head but they whistled by his nose, just out of reach.


        “You’re not welcome in my lands,” Tom said. “If you try to come again, the willow trees


 will lock you up for the rest of your immortal life and feed on your endless tears. Or perhaps, I’ll


 just have one of the oaks run you through and leave you hanging for the crows and flies.” Tom


 shook his hand at the Orcelven like the filthy thing he was, “Be gone.”


        The branch swung out with earth-born strength and threw the Orcelven across the glade


 none-too-gently into the branches of another tree, who passed him howling and in pain from one


 tree to the next, bruising his body and sending him hurtling from tree-to-tree until he passed from


 sight and sound – and eventually he landed on the ground outside the edge of the Old Forest.


        The Orcelven rose in terror and ran, limping in pain until the woods lay far behind. He


 reached the East Road, now quiet and strewn with dead bodies of orcs and Orcelven. He turned


 around safely far beyond the Old Forest’s borders, brandished his Ring and bronze Imperial


 Topaz stone and screamed, “I swear by the power of my Ring, one day I’ll return with an army


 and cut down every tree! I’ll slaughter you and your woman! Scorch the earth so nothing will


 ever grow again in these desolate lands that were once your home. Mark – my – words!”

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        “You have my thanks Master Bombadil,” Sam said bowing, then he pointed up at Rosie


 hanging on the tree above their heads, “Can you help me rescue my wife?”


        “Ho ho!” Tom said to Rosie. The branch holding her slowly bent down until her feet


 were planted firmly on the ground and it slid itself out from the back of her dress, “You’ve a


 lovely voice and a fair face, Mistress Gardner. Welcome to Tom’s Old Forest.”


        Though badly shaken, Rosie did her best to curtsy graciously, “Thank you Master


 Bombadil. I’ve heard so much about you. It’s an honor to finally meet.”


        Sam lifted her up and hugged her, “Are you alright?”


        “No,” she answered shaking. “Not really.” She felt the back of her dress and found the


 hole, “But not too much the worse for wear, it seems. I guess we were lucky. Things could have


 gone much worse. But my throat feels raw.”


        Sam turned to Tom, “I wish you would have at least taken away that Ring he had.”


        Tom looked deeply into Sam’s eyes, “Master Samwise, why do you always seem to find


 yourself falling afoul of magic Rings?”

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        That stopped him. He didn’t know how to answer. He shrugged his shoulders and held up


 his hands as if to say, ‘I-don’t-know.’


        Tom shrugged, “Perhaps it’s fate that some folks can’t seem to stop getting mixed up in


 things maybe others wouldn’t let them, if they had a mind to meddle.”


        Sam suddenly found a new appreciation for Tom’s wisdom and decision not to interfere


 in other people’s business, or dictate to any living thing who would live or who would die


 (outside of ghouls), or what would happen to anyone after they’re dead.


        “Here’s your horse,” Tom said. His fat pony Willie Lumpkin led their horse back to the


 glade, “Would you like to come home with me and have a bit of supper?”


        “We would,” Sam answered remembering how famished he was and sure Rosie was too.


        Tom helped them up onto their huge human-sized horse, jumped nimbly onto the back of


 Willie Lumpkin, and led them through the forest. A mist rose up around them. They heard the


 sounds of gurgling streams which grew louder until they came to a low waterfall pouring down


 on close-set flat stones set below the falling water but above the waterline, like a bridge. They


 rode over the stones onto a field of grass grown short as if it had been mowed. The hedges along




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 their upward sloping path grew into themselves as if clipped, led up a gently sloping hill which


 ended at a grassy knoll. At the top stood a large stone three-story ‘A’ framed house.


        Its eves ran down into the earth and on the roof bloomed wonderful gardens filled with


 many kinds of flowers, shrubbery and trees. The house’s windows were bright with twinkling


 lights and the brightest came from the one small window at the top where a warm happy light


 shined out in welcome like a beacon. The front door was open and framed the light within.


        They left their mounts untethered and Tom led them through the door. Inside lay a large


 low ceilinged hall and a long table laden with food. At the far end in a chair sat Goldberry. Her


 face was fair and timeless and Rosie couldn’t venture a guess as to her age. Her large eyes and


 features were very beautiful. Her long yellow hair hung down over her shoulders and shimmered


 in the light from the lamps that hung overhead, and from the many slender candles set about the


 room. Her dress was whitish-blue and bright as a mountain stream fed in the spring by the first of


 the summer thaws. Her feet rested on mats of living earth from which grew the low shorn living


 grass with flower blossoms and gently sloping stalks as if she were sitting in a glade.


        “Welcome back!” she cried to Sam, jumping over the mats and giving him a hug. She


 passed them to close the front door and she turned to Rosie. “Welcome Mistress Rose to the

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 house of Tom Bombadil. Come and refresh yourselves with a meal and be happy knowing


 nothing evil passes the eves of this home.”


        “Thank you Mistress Goldberry,” Rosie said curtsying low.


        “You’re the one I should be thanking,” Goldberry said. “You’ve been a good influence


 on Sam, marriage agrees with him. He looks much happier and far more handsome than the last


 time he was here. I can see his love for you and your children brimming off the top of his head.”


        Rosie watched Sam turn red, “Thank you, Mistress Goldberry. I already miss them and I


 wish I could have brought them to meet you in happier times, when not pursued by orcs. But I’m


 not so sure about marriage agreeing with my Sam, you wouldn’t believe how much of his hair


 has comes brimming off the top of his head every time I put a comb to it.”


        “Rosie!” Sam cried and he tried to smile at her peculiar habit of mentioning embarrassing


 personal details when meeting people.


        Goldberry smiled just as indulgently at Tom and she told Rosie, “I love Tom with all my


 heart but sometimes his head’s in the clouds, quite literally mind you. He should have killed that


 orc. I wish I would have been there. We women folk seem burdened to cut through the high-


 minded philosophy of our men with good old fashioned common-sense.”

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        “In the Shire we call it ‘hobbit-sense,’” Rosie told her.


        Goldberry smiled, “I can see you’re the strength in this marriage and the one who’s made


 it work.”


        “Thank you Mistress Goldberry but that’s not true,” Rosie said taking Sam’s hand in


 hers. “I’d be lost without my Sam.”


        “That’s what’s not true. But your belief is part of the reason what I’ve said is,” Goldberry


 laughed. “You’ve had a frightful scare but do not fear. I believe nothing bad will happen to harm


 you or your baby, or prevent you from having another happy, healthy child. Though I do believe


 this one will be your last.”


        “Oh!” Rosie cried and her eyes shined with tears of relief and happiness. “I don’t know


 how to thank you. I’m even glad to hear this will be our last child.”


        “Why?” Goldberry asked.


        “There’s a bit of nastiness going on in the world outside our land,” Tom told Goldberry.


        “Isn’t there always?” Goldberry asked.


        “Not like this,” Tom answered. “The War of the Ring to End All Wars of the Ring has


 begun. Perhaps we’d both be happier further up or down the winding river.”

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        “I shall be happy to flow up river or down,” she told him. “As long as we flow together.”


        “You’d leave the Old Forest?” Sam asked.


        “We’ve flowed along many rivers and lived in many lands,” Tom answered. “Perhaps it’s


 time to find another. But come, let’s sit, and eat and drink before our meal grows cold.”


        Together they ate and the water in their glasses was clear and cold yet affected them like


 wine. The pain in her throat went away and Rosie and Sam’s terrors passed like some horrible


 half-forgotten dream, and soon all four of them were talking and laughing like children.


        Tom complimented Sam at how green and fair his plantings had made the Shire and he


 envied him the beauty of his mallorn tree. Not even Tom had grown a mallorn.


        Sam asked Tom for more stories and poems and made a show of writing three down,


 Once Upon A Time, Fastitocalum, and one about a curious cat.


        After they ate, Tom told them. “Now come with me and you can have some rest. Perhaps


 in the morning after breakfast you can tell the tale that brought you to my land.”


        Tom and Goldberry led them to their room, hugged them and bid them goodnight.


        After sleeping soundly, they had a magnificent breakfast and told each other many tales


 about their travels taking turns being surprised or touched or incredulous at what the others had

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 experienced. Tom didn’t give a fig about the Ring but he was fascinated when Sam described his


 conversation outside the walls of Orthanc with Treebeard.


        Goldberry was enthralled by Sam’s account of his fight to save his Master against Shelob


 and she made him tell the story twice. Tom insisted right then and there Sam commit his song to


 memory, which he did, and Sam promised one day after they’d sorted out this latest mess he’d


 return to write down all Tom’s songs and share them with his children.


        Goldberry took Rosie aside and handed her a brolly, telling her there was a little


 something inside for her baby shower and besides, they were expecting rain in Bree.


        They said goodbye to Goldberry, remounted their horse and pony, and spent the day


 traveling with Tom singing songs (Sam never again forgot Tom’s Song) until they came to the


 borders of Tom’s land. The sun had long ago set and half the night was gone in Bree-land.


        Rosie cried when she realized they’d missed Elanor’s two-and-twentieth without wishing


 her a happy birthday, “I hope it won’t be long before I see my daughter again.”


        “Don’t worry, Mistress Rose,” Tom said. “And you needn’t cry. You’ll see you daughter


 before you see again the setting sun. Though you’d better hurry, something queer is going on in


 Bree. Fair Elanor needs all the help you and Sam can give.”

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        “Thank you, Tom!” Sam cried and they rode away while Tom sang new songs.


        They’d been riding only a short bit down the road when Rosie turned to give Tom


 another wave goodbye. It was a quirky habit of hers to like to say goodbye many times as if once


 was never enough. She looked around but Tom was nowhere to be found.


        “That’s odd,” she said. “I’d have thought he’d still be there waiting at the top of the hill


 for as long as I wished, to wave and be waved at time and time again.”


        “Nothing is like that Rosie-lass,” Sam said. “All we have for sure is this one time and it’s


 best we make the most of it.”


        “When did you become so old and wise, Master Gardner?” Rosie asked.


        “When I was finally wise enough to marry the only girl I’ve ever loved, Mistress Rose,”


 he said and he kissed her again.


        They rode up a hill, down a hill and after four miles they came at last to the darkened,


 thick and tall, recently built high white walls, and the locked and sentry guarded gates enclosing


 the ever growing and sprawling busy city of Bree.




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                                            Chapter 5




                                   An Unforgettable Entrance




        Elanor, Alatar, Fastred and Theo rode their horses and ponies over the Greenway


 Crossing and came within sight of Bree. Though still called the Greenway, the road had been


 completely repaired and restored. Hardly a pothole, root or weed hindered travelers anymore.


        Bree had once been a village of less than a hundred stone houses for the Big Folk on the


 north side of the East Road set among the slopes of a hill, and an equal number of hobbit holes


 dug in various places. But after the coming of King Elessar, waves of settlers had followed.


 Some went north, farming the rich soils and repopulating the once desolate lands of Eriador.


        The new supplies of goods had brought fresh waves of settlers from as far south as


 Greater Harad and as far north as Forodwaith. Bree became a busy and important center of trade.

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        The once modest village had grown rather quickly. Enterprising Bree-landers realized


 there was quite a bit of money to be made in facilitating the exchange of goods from the rapidly


 growing settlements and farm communities to the north and south, whose only connection was


 the crossroads at the great East Road at the Greenway Crossing. They just so happened to come


 together at the newly and rather ostentatiously built grand West Gate entrance of the ever


 expanding city of Bree: a cleverly designed and irresistible invitation for simple country folk and


 weary travelers, to learn about and partake of the foods, fashions, customs, histories, cultures,


 crafts and arts of many distant lands. It had grown so big so fast, it had swallowed up the other


 towns, which were now adjoining neighborhoods of the ever swelling Bree.


        Archet, once the primary village of Chetwood North had been populated mostly by men.


 It now boasted equal numbers of hobbits and dwarves, who built grand stone houses (some said


 mansions) from the growing wealth of their guilds. Hobbits and dwarves discovered their mutual


 love of living underground and Dwarves helped dig many finely appointed hobbit holes once


 they realized how expertly tiny hobbit hands could execute their most ambitious and intricate


 designs for apparel of all kinds: habiliments for travelers, gear for adventurers, garb for workers,




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 garments for the growing gentry, and regalia for those with growing wealth who imagined


 invented pedigrees, and wished to show them off.


        Hobbits also helped dwarves craft their finest jewelry creations since the lost days of the


 Second Age. Archet became renowned for its shops full of earrings, bracelets, pendants,


 brooches, gemstones, necklaces and an almost endlessly variety of rings set with precious stones


 and gems of so many different sparkling shades and reflecting dazzling colors they put the


 simple mountain rainbows to shame.


        In the Chetwood South, Breelanders raised cattle and sheep, farmed vegetables and fruits


 not always supplied in sufficient varieties or quantities in the far north and south, and built great


 lumber mills for crafting timbers, furniture, and anything else made of wood.


        Combe was a haven for artists and intellectuals with schools, apprentice halls, craft


 communities, forges, smithies, bustling cafes, meditations gardens, and it even boasted a library


 of scrolls and books, the only one known between all the lands of Lindon and Rivendell.


        Staddle was populated primarily by hobbits, dwarves and men who had built the city


 streets in close and it bustled with taverns, shops for pipe-weed, performance spaces, and an


 underground market for goods (and bads) which could not be sold openly in the more respectable

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 parts of Bree, as well as other and even more exotic experiences and vices rarely talked about but


 never absent from any gathering of peoples.


        Even when Bree was a sleepy village, it had been one of the most diverse lands


 welcoming hobbits, men, dwarves and even occasionally elves. Retaining that character made it


 an ideal crossroads, and it passed from village to brightly growing city without actually stopping


 to first become a town. Bree boasted of having thriving communities where people of different


 races lived together in peace, if not actual harmony. Humans rarely ever did that. But Bree-


 landers did their best to tactfully overlook each other’s foibles with good manners, ‘if you don’t


 want it yourself don’t invite it to your kitchen’ was a common sense epithet often heard in Bree.


        The richness of the different cultures served as an inspiration and they borrowed back and


 forth between each other. Their communities grew richer and many ancient arts had been


 rekindled like in few other places, and if truth be told even advanced thanks to the acceptance,


 curiosity and open-mindedness of the Bree-landers, and of course above all else the King’s Law,


 the maintenance of his Roads, and the occasional patrols of troops.




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        Secure in the King’s favor and enriched by his blessings, it was known far and wide


 before he ascended the throne, Elessar had come to Bree many times in his travels bringing


 friends from even the most far and foreign places.


        So Bree-landers proudly embraced strangers and encouraged them to share their own


 cultures and gifts for the betterment of all in the favored neighborhoods, business and inns that


 had often been frequented by the pre-coronation King. It seemed every other business bore a sign


 which boasted, ‘Elessar Slept Here’ or ‘The King Ate Here’ or occasionally, and even though


 they were nothing more than letters painted on canvas, the locals imagined they could see the


 clever sign makers standing before their boards concentrating with their tongues pushing out


 against the sides of their cheeks writing, ‘Aragorn Bought Arwen’s Wedding Ring Here’ even


 though everyone knew none of these businesses existed before the High King Elessar ascended


 the throne and wed Queen Arwen.


        That was the Bree Theo remembered. As they approached the West Portal of the city,


 unaccountably, the gates were closed. Tense, even frightened militiamen stood outside the walls


 armed with swords. Bowmen stood watch on the battlements above the tall stone walls.




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        “Hallo!” Theo cried waving his arms. The guards jumped, drew their swords, and the


 archers notched arrows against their bows but Theo rode on, “It’s Théoden Brandybuck!”


        “Master Théoden!” the Captain of the West Gate exclaimed. His face went from a scowl


 to a look of relief. He sheathed his sword and told his Men. “It’s alright, put up your arms. It’s


 one of the Deputy Counselors of the North.” He turned to Theo, “Welcome back to Bree!”


        Elanor and Theo had been to Bree many times. It was a favorite get away for their


 families. It’s numerous shops and curiosities, tradeshows and marketplaces made it a place with


 something for everyone, regardless of how young or short an attention span.


        Though many new and much finer restaurants, beer halls, hotels and inns now competed


 for the lucrative business of accommodating the many comings and goings of merchants, farmers


 and travelers, Elanor’s favorite place to stay was still the Prancing Pony.


        But as they approached the inn, she noticed even among the accepting Bree-landers,


 Alatar’s strange garb, majestic war horse, sea blue robes tinged with silver, sword and staff were


 attracting a great many stares and looks of fear, if not actual scowls of disapproval.




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        People still politely said ‘hallow’ and doffed their hats or curtsied kindly, but their


 normal curiosity and gregariousness was not displayed. Nobody engaged them in conversation or


 asked if they needed directions, or help with their interests or business in Bree.


        Over the years, the Prancing Pony had grown along with the rest of the city while still


 managing to keep its original character. The third floor, which once consisted of only one or two


 of the most luxurious suites had been completely built up and now had as many rooms as the first


 and second. The open courtyard through which guests once rode their ponies on the way to the


 stables had been completely enclosed. The space was used to expand the common room, create a


 reception hall, and build many more guest rooms, including all the space which had once been


 used for the stabling of horses.


        Now, young hobbits or boys took the reins from arriving guests, gave them vouchsafes,


 and led their ponies to a newly-purchased free-standing stable down the street.


        At the reception desk, Theo ordered three suites of room connected by a master suite


 from a pretty young hobbit named Missy Hornbottle. She’d met Theo before, fancied him and


 clearly enjoyed flirting.




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        But Missy’s eyes darkened when she looked at Theo’s friends and caught sight of Elanor,


 “Who’s your new friend, Théoden?”


        Elanor curtsied demurely, “Elanor Gardner at your service, ma’am.”


        Missy’s hands flew to her mouth and she squealed, “Lady Elanor! Martha! Peggy! Lady


 Elanor’s come back!” A huge commotion erupted from the room behind the front desk and two


 young hobbits, one a hostess, the other a chambermaid came running out and they joined Missy


 behind the desk. “I’m so sorry! I didn’t recognize you, Lady Elanor.”


        Peggy the chambermaid turned to Martha and Missy, “Are you sure? I thought tonight


 they were celebrating Lady Elanor’s two-and-twentieth at the Party Tree in the Shire.”


        “I can’t say,” Martha quipped. “I seem to have misplaced my invitation.”


        “A few were sent out, I’m afraid,” Elanor explained. “But we had to cancel the party,


 which could explain the absence of yours and it’s part of the reason we’ve come.”


        “You cancelled your two-and-twentieth?” Missy asked, as if Elanor had just announced


 summer had been declared illegal.




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        “We’re traveling to Gondor,” Theo said smoothly, “Official business of the King. And


 Elanor feels terrible, but it couldn’t be helped. So let’s hear no more about it, and if you would


 kindly show us to our rooms, we’d best have a bit of breakfast.”


        “Oh!” Missy exclaimed. “That’s dreadful. I’m so sorry! I didn’t know. Here.” She


 grabbed a large ring of keys and led Elanor and the others up the steps of the wide staircase, “I


 have the perfect suite for you, Lady Elanor!”


        As the only handmaiden to the High Queen Arwen in these parts, Elanor was famous and


 much admired by the younger folk of Bree. Though their parents thought children’s idle talk of


 rich Kings and Queens driving fancy carriages and living in lofty palaces in distant lands were a


 waste of time, and best saved for after chores and supper.


        Missy led them to the very top of one of the two tallest steeples in the Prancing Pony and


 the rooms she gave them were the finest left untaken. Elanor knew of one set which were better,


 rarely used, yet strangely unavailable.


        Barliman Butterbur, much older and even fatter than she remembered, knocked on their


 door breathless, all in white with a white apron flanked by three hobbits carrying trays laden with


 food, and the very soul of apology.

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        “I’m so very sorry, Lady Elanor,” Butterbur said. “I know it’s not your usual suite,” he


 explained as he supervised his hobbit staff laying out their meal. “But I have unexpected guests


 I’m not at liberty to discuss who beat you to them and that’s as plain as I can be. I hope you’ll


 forgive me and accept again my apologies and hospitality, on the house!”


        “You’re too kind Mr. Butterbur,” Elanor said, digging into the purse she kept hidden


 behind her pretty waist-belt, “and that’s not necessary. I’m happy to pay.”


        “Nonsense,” Barliman said, making sure his porters had finished their tasks and removed


 the empty trays, “I insist!” And without another word, he left.


        They were all famished and without another word themselves they set about the food.


 Even by Hobbit standards, there was plenty for everyone and soon their plates were empty. After


 their long ride their eyes were closing whether they willed them to or not.


        “Sleep now,” Alatar told them. “These may be the last soft beds you will have for many a


 long night that lies before us. When you have slept and refreshed yourselves, we will gather


 together again and I will ask you to share everything you know about Rings of Power.”


        The hobbits were too sleepy to argue. Gratefully, they went to their rooms and soon were


 fast asleep. They slept all day and awakened in the early evening, sore from the night’s hard

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 riding and hungry again. Elanor rang her bedside bell and as fast as she could wish, the porters


 arrived with a full dinner for everyone and laid it out in the master suite.


        “Something strange is going on,” Theo said after their meal.


        “I noticed that too,” Elanor agreed. “Except for Missy, the people in town didn’t ask us


 about anything.”


        “It’s best if we stay in our rooms tonight and leave before first light in the morning,”


 Alatar told them. “We have many long leagues ahead of us before we reach Minas Tirith.”


        “Even more reason not to waste our last night in civilization,” Theo said, without waiting


 for anyone’s permission he winked at Fastred and together they left.


        Elanor returned to her room to freshen up and found Missy had drawn a hot bath with


 scented oils, and laid out robes and soft towels. But she was shocked and genuinely moved when


 she found a beautiful baby-blue full-length evening gown from one of the finest shops in Bree,


 hung on her door with a happy birthday note curtesy of the Proprietor and Staff.


        She took her time washing her hair, enjoying a long soothing bath, applying scented oils


 to her skin, putting on her new dress, and soon she felt like a new hobbit.




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        After they left the inn, Theo and Fastred went to the stables to check on their ponies, and


 then they wandered a bit about town. But they found no new places as festive as the inn they’d


 left so they returned to the Prancing Pony. They entered the newly renovated and expanded


 Common Room and saw it now had two long bars on each side, luxury booths and boxes set


 along the other two walls, a double fire pit in the center of the room that burned brightly with


 metal grills, a great many more tables than even the last time Theo had visited, and a constant


 stream of servers going to and fro from the kitchens to the bars to the tables.


        At some booths there sat exclusively dwarves, hobbits or men. But at a great many more


 the visitors and locals mixed, energized and excited to find themselves talking to fascinating


 people with unique stories to share, and wondrous and original experiences. Though raucous, the


 conversations were festive and happy, and Theo and Fastred had to speak loudly to hear each


 other over the din though they stood side-by-side.


        “I’ll order us a drink!” Theo shouted heading to the bar. “Find us a seat!”


        Fastred looked around dubiously, not seeing an open table anywhere. Suddenly, the


 mixed group at the table in front of him looked up, drained their glasses, offered Fastred their


 seats and left. Fastred was perplexed. Alatar’s large calloused hand come down on his shoulder.

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        They took their seats at the table and Alatar raised his long arm and held four fingers up


 to Theo. Theo returned in a bit from the bar with his hands full of four large glasses of dark malt,


 foamy headed beer and he set them down.


        “Why four?” Fastred asked the wizard.


        Alatar smiled and pointed at the open double doors of the Common Room.


        A moment later, refreshed from her bath with her cheeks still flushed from the warm


 waters, having expertly styled her shining blond hair and wearing the beautiful baby blue formal


 gown Missy had thoughtfully provided for her two-and-twentieth, Elanor entered the double


 doorway lit by the roaring flames of the double fire pits.


        “Wow,” Theo said.


        Fastred realized, as if for the first time, he had never seen such a vision of loveliness.


        Elanor’s eyes adjusted to the dim firelight and she looked out over the tables to find her


 companions. A hush fell about the length and breadth of the room, and she suddenly realized


 everyone was staring at her.


        “May I be the first to formally wish you a most happy two-and-twentieth, Lady Elanor,”


 Fastred said bowing before her and offering his hand.

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        She curtsied gracefully, almost royally, as she’d seen the princesses Celendrian, Elerith,


 and Brindil do, “Thank you.”


        “You look so beautiful!” Missy cried, stepping out from behind the bar and presenting


 Elanor with a beautifully wrapped present in baby blue paper that matched her dress, and silver


 bows and ribbons. She turned and announced, “We are honored to welcome Lady Elanor


 Gardner of the Shire to the Prancing Pony on the night of her two-and-twentieth!”


        The crowd cheered enthusiastically while Fastred led Elanor to their table and the entire


 room rose to their feet clapping as she walked by amid cries of ‘Long life to Lady Elanor!’ and


 ‘Happy two-and-twentieth!’ among a great many other praises and good wishes.


        Hours passed and their mugs were kept full by a seemingly endless number of happy


 celebrants who were eager to stop and pay their respects, and wish Lady Elanor a happy night.


        But in one darkened booth, a grim young man in a long grey cloak sat drinking with a


 group of black skinned traders from Greater Harad. Their leader was Manus Tarqus son of


 Oduduwa. Though just a few years older than the young man or any of his own companions,


 Manus was much larger and more powerfully built. Exotically and colorfully dressed with pearl


 earrings in his black as night ears, his happy and bombastic personality matched his clothes, and

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 contrasted starkly with the forlorn young man, and the quiet and reserved men and women who


 were his mostly silent, steely eyed companions. Beside Manus sat the beautiful Princess Malvia


 Merkaba, daughter of Queen Akamba of South Harad, traveling incognito. But she clearly was


 not happy at the way Manus looked at many of the other ladies in the room, including Elanor.


        The young man found the grim and ever watchful faces on the woman he did not know


 was a warrior princess and her companions peculiar, yet at the same time comfortingly familiar.


        For themselves, they were content to observe the hustle and bustle of the room ever


 vigilant, enjoying their beers, and listening to Manus conduct his business.


        “I know why you want to go to Lindon,” Manus said to the young man.


        “You do?” he asked.


        “You want to meet the Elves!” Manus cried.


        “I’ve met the Elves, my friend,” the young man said, a smile tugging at his lips.


        “Let him enjoy his beer,” Malvia told Manus.


        “You have not met the Elves,” Manus said ignoring Malvia. “You only think you’ve met


 the Elves!”


        “I haven’t?” the young man asked.

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        “If you think the Elves of the Northern Kingdoms are impressive,” Manus told him, “you


 must wait until you see the Elves of North and Greater Harad. But the elves of the vast jungles of


 South Harad,” Manus said taking another drink, “now those my friend are really Elves!”


        The young man and Malvia laughed, “Thank you, Manus. You’ve made me laugh. And I


 had started to fear I might die before I ever laughed again.”


        “He is right about the Elves of South Harad,” Malvia told him. “I have been among them,


 as well as the Elves of the North Kingdoms.”


        “Very well,” the young man said lifting his glass, “I shall reserve my judgement as to


 whether or not I have met the Elves until I meet your legendary Elves of South Harad.” They


 clinked their glasses and drank. The young man waved Missy over, “Another round.”


        “You’ve been kind and generous,” Manus said, waving Missy away, “But I’m sorry,


 tomorrow we have much work to do. We must retire for the night, and I cannot take you west.”


        “It wouldn’t be immediately,” the young man said. “I’ll be in Bree a few days, waiting


 for my friends. We’ll be traveling just the three of us with little luggage. But I anticipate we may


 have great need for armed companions on the roads that lie ahead. I can pay you and the men and


 women of your party handsomely for your escort and assistance.”

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        “I’ve got plenty of room,” Manus told him. “It isn’t that. We’ve been heading home to


 Harad from Rivendell, but I’ve received word Greater Harad has been attacked by a new and


 infernal breed of evil from the East called the Orcelven. They’re raiding our lands and killing our


 people, spreading like an infection. Queen Merkaba has ordered me and my caravan to travel to


 Minas Tirith and seek the council of King Elessar and I hope to negotiate terms for whatever aid


 he can provide to help us resist this new evil.”


        This news seemed to greatly trouble the young man, more than anyone else’s bad tidings


 should, “It is not my place to council you against the wishes of your Queen. But I must warn


 you, the roads between Bree and Minas Tirith have already been crossed by armed bands of


 Orcelven. You must stay vigilant and never relax your guard.”


        “That’s unhappy news,” Manus said.


        “But thank you for the warning,” Malvia told him with an eye to her people.


        They all rose from the table and shook hands, and the young man bowed to Malvia.


        He resumed his seat and took another drink of his beer, “I very much enjoyed our


 conversation. Perhaps one day we’ll meet again, and I’ll have the opportunity to travel with you




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 and hear more tales. May the miles pass swiftly and you safely reach the city of Minas Tirith, a


 fair city in which I know you will find yourself and your companions welcomed.”


        “Thank you!” Manus cried with a great smile. He drained his glass and the remainder of


 the beer in all his companion’s glasses too, “It’s been a pleasure!”


        The young man continued to drink alone but his eyes were drawn to the three hobbits


 celebrating Elanor’s two-and-twentieth sitting beside a wizard.


        Alatar became aware of him, rose, and went to the booth, “Are you from Minas Tirith?”


        “It is no business of yours where I am from,” the young man said uncomfortably. But he


 tried as politely as he could to manage the less-than-friendly words.


        Butterbur rushed over, “Don’t you be talking to him!”


        Alatar’s eyes darkened and he drew himself up, “I will speak to whomever I wish. I


 advise you not to meddle in affairs that are not your own.”


        “It is all right Barliman,” the young man said. “I did wish to speak with him.”


        “You’ll be knowing your business better than me your… I- I mean, sir,” Butterbur said,


 “It’s not my place to be telling you who you may or may not speak to. But if anything were to


 happen to you at my inn, I could never forgive myself. And your father would have my head!”

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        Alatar recognized the silver and black worn by the guards of the Palace of Anor beneath


 his grey Elven cloak, “You’re from the Palace.”


        Clearly afraid, Butterbur none the less interposed himself between them, “Hush!” They


 immediately began attracting stares and the conversations around them died. Heedless of the


 danger, Butterbur pushed Alatar towards the door trying to smile through his terror, “I’m happy


 to announce – I’ve upgraded you to my finest suite!”


        Alatar raised his staff to smite the innkeeper but Elanor stepped between them and gently


 took the wizard’s hand between hers, “Would you do me the honor, sir, of the first dance on the


 night of my two-and-twentieth?”


        Without waiting for a reply, she led him to an open section where Fastred and Theo had


 cleared the tables and the people sang ‘The Maiden’s Song Of May’:



                                      In summer when the flower blooms
                                      To dance a young man longs
                                      The woods then fill with ardent grooms
                                      Who sing the summer songs

                                      He saw a maid draw to the dale
                                      And leave her Hill behind
                                      Her skin was soft, and smooth and pale
                                      Her eyes were large and kind




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                                     The fairest maid he’d ever seen
                                     Or ever would, he knew
                                     Her eyes appeared the fairest green
                                     Her dress the fairest blue

                                     Into the woods they danced and danced
                                     They danced throughout the night
                                     As all around them creatures pranced
                                     Within the soft moonlight

                                     Pick up thy heart from off the floor
                                     My dearest Master sings
                                     For I must take you to the door
                                     And face what morning brings

                                     I do not know our final fate
                                     Before the end this day
                                     But I will wait outside her gate
                                     On a fair morning of May



        When they finished singing, the people cheered and applauded. Alatar saw the young


 man standing outside the door of the Common Room, beckoning.


        Fastred took Elanor’s hand but addressed Alatar, “May I?”


        “Please,” Alatar said, handing Fastred her hand and bowing to Elanor. “Thank you for the


 dance Lady Elanor, and your grace.” But she only had eyes for Fastred. Alatar turned and


 followed the young man into the hallway.




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                                              Chapter 6




                                      An Unexpected Meeting




        Fastred could never remember how many times he and Elanor danced that night. But


 there was nothing else about that night he would ever forget. There were others who wanted to


 dance with Lady Elanor and Theo demanded every third dance. Between Fastred, Theo and the


 others, Elanor had never known such radiant praise and attention.


        It got late, the crowds thinned, but Elanor didn’t feel the least bit tired. Far too soon for


 her tastes, Butterbur came and fetched the three of them and her present from the Common


 Room and he led them to the finest suite in the Prancing Pony. Alatar and the tall young man


 were waiting for them. Without making introductions, Butterbur left.




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        The young man smiled mischievously, cupped Elanor’s fingers, bowed graciously, lifted


 her hand to his lips and kissed the smooth skin above her knuckles, “Lady Elanor, I have heard


 so very much about you. But my sister’s praises do not do your extraordinary beauty justice. It is


 an honor and a privilege to finally meet. I am the Crown Prince Telcontar of Gondor.”


        “Y- your Highness!” Elanor cried more shocked than she’d ever been. She curtsied low


 and bowed her head.


        The Prince’s laugh sounded much younger than his twenty-two years. He lifted her, set


 his finger under her chin and raised her eyes up even with his own, “Since fate has seen fit to


 throw us together while we are hunted by the Enemy, we will dispense with formalities. Please,”


 he said, and with his eyes he included Fastred and Theo in his earnest request, “I am Eldarion.”


        Fastred stood frozen and stared, “I… I… am…”


        “Théoden Brandybuck, son of the Master Meriadoc of Buckland, duly appointed Deputy


 Counselor of the North Kingdoms at your service Eldarion,” Theo said, bowing informally by


 way of courtesy and he winked, “But my friends call me Theo.”




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        Eldarion laughed and shook his hand, “Very good, Theo. Thank you. My father holds you


 and your family in the highest regard. The highest. If things were not so grim, he would laugh at


 our meeting here like this, if I am ever able to share this with him.”


        Elanor pulled Fastred forward, “This is – ”


        “Longcleeves. Oh... sorry. Sir? Uh… no. I’m – Fastred.” He looked at Elanor and Theo,


 “Right?”


        “Eldarion, a pleasure Fastred.” Eldarion shook his hand and held his eye, “Any friend of


 the Gardners and Brandybucks is a friend of Gondor’s, and I hope, a friend of mine.”


        “Eldarion has been telling me the roads east of Bree are full of orcs and worse than orcs,”


 Alatar told them. “Who pause from hunting him only long enough to slaughter each other.”


        “What’s worse than orcs?” Theo asked. “Oh wait. Do you mean – ”


        “Please, have a seat,” Eldarion said taking a seat without distinction from the eight set


 apart from the fireplace in a circle around refreshments on a low table. “It will be simpler if I


 start at the beginning of the tale which led me to the Prancing Pony.”




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        During the Ages before the War of the Ring, the high-towered city of Minas Tirith had


 been built to resist Sauron. For many years, it more resembled a walled fortress at the base of


 Mount Mindolluin, the easternmost peak of the White Mountains than a city. Carved from


 impenetrable rock and consisting of seven levels, each one was isolated from the others by its


 own great white wall. The walls rose more than a hundred feet and the individual gates stood at


 opposite ends from the one at the level above. One shoulder of the mountain rose through the


 midst of the city to form a great cliff which flattened out and peaked in the center of the sixth


 level, dividing every level except the seventh, and the black outer walls of the first level, like the


 prow of a ship pointing East. Our white walls faced East and the eyes of our people looked


 always upon the distant lands of Mordor and her allies in Rhûn, Khand, and elsewhere.


        A seventh level was built on top of the high cliff. Its tall white walls were the only ones


 not divided in the center by the cliff or by the rising mountain on its sides so they were perfectly


 round. Within the circle of this seventh level, seven high towers rose behind the battlements and


 in the center, rising more than three hundred feet stood the great White Tower of Echthilion. It


 was the symbol of our duty and our pride: to guard the west from our Enemy, and keep the


 peoples of Middle-earth safe from the evils of Mordor.

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        Before the main entrance of the Tower stood the fountain and garden of the White Tree.


 After my parents married, my mother Queen Arwen removed the single royal throne which had


 towered over everyone’s head in the first level, opened the false ceiling of the highest level, and


 had two tall royal thrones built side-by-side in the newly expanded throne room for the King and


 Queen at the very top of the tower. The flag of Elendil, bearing a crowned white tree surmounted


 by seven stars embroidered with mithril by my mother before the war rose even higher, more


 than a thousand feet above the plains, waving proudly in the mountain winds.


        Beyond the Old City walls for miles in every direction stood the Pelennor Fields. Once


 kept green by the diverted waters of the River Anduin and enriched by mountain soils, we grew


 the greatest variety of crops, fruits and vegetables in the whole of Middle-earth. Centuries of


 conflict had forced us to enclose these fields within a marvel of civil engineering: the walls of


 the Rammas Echor which protected our people and the wealth and bounty of our kingdom.


        During the War of the Ring, the city watched helplessly from the white walls as orcs and


 Easterlings overran the Rammas Echor. They burned, pillaged, razed, and polluted the Pelennor


 Fields destroying our greatest source of wealth in which we had labored for centuries.




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        After the war, within the Pelennor Fields no crops could now be grown. So we cultivated


 the fallow fields beyond the walls. Enriched by tribute and trade, and populated by our returning


 exiled peoples and many more refugees from distant lands, within those walls grew great houses,


 town halls, marketplaces, guild halls, craft halls, merchant halls, manufacturing hubs, trade halls,


 centers of entertainment, and many beautiful open air parks and gardens, enriched by many


 cultures, which filled the miles which had once been the open Pelennor Fields. Over the years,


 the city of Minas Tirith has grown all the way to the walls of the Rammas Echor and far beyond.


        All that originally lay within the black outer wall of the lowest level, built not from


 mountain rock but of the same impenetrable Númenórean stone as the walls of the Tower of


 Orthanc, was now exclusively the administrative center of the United Kingdoms of Arnor and


 Gondor, and was rechristened by my mother, the Royal Palace of Anor.


        The sixth level was the personal residence for me and my family. It was the only home I


 had ever known and I was proud and honored to serve equally the peoples of Middle-earth and


 the descendants of Númenor.


        The morning that changed my life forever began as any other. The throne room was filled


 with the usual envoys from tributary provinces, and a few others I did not recognize.

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        Those who were granted audiences with my father and mother, the High King Elessar


 and Queen Arwen spent months being vetted, their cases heard by a slew of counselors and


 carefully distinguished from the throngs that were easily decided by lower authorities and lesser


 officials. Few found their way to the top of the White Tower, invariably thanks to long standing


 family connections, the pledge of great wealth for the undertaking of public service to the city,


 the most extraordinary service to the United Kingdoms, or the gravest and most urgent need.


        That made the delegation from Hildória somewhat unusual.


        Hildória had been a mystery to us for years. Our histories and legends say in the West of


 Hildória, the first Elves and Men awoke at the foot of the red cliffs of the Orocarni mountains,


 whose red earth had provided the Sands of the Great Sleep. A waterfall fell from a high cliff into


 a lake called the Sea of Helcar which fed the Waters of Awakening, washing away the Sands of


 Sleep from the eyes of the first Elves and Men, and they awoke.


        Eventually they migrated to the north, south and west, spreading across the whole of the


 world. From these people, my mother Queen Arwen was born almost three-thousand years ago,


 the daughter of Elrond and Celebrían who were once the Elven King and Queen of Imladris,


 known as Rivendell among men, before passing West from East Mithlond in the Grey Havens.

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        But my mother made the choice of Lúthien to marry a man, become mortal, bear mortal


 children, receive the ‘Gift of Men,’ and one-day die.


        Aside from my sisters and my mother’s Elven twin brothers, my uncles Elladan and


 Elrohir, my closest friends are Prince Elboron and his sister the Princess Niphredil of Ithilien,


 and Prince Ælfwine Éadig of Rohan and his sisters the Princesses Éodyn, Idris, Liathwyn, and


 Minwyn, the son and daughters of King Éomer and Queen Lothíriel.


        I know and am friends with a great many others from the short sallow Men of the


 northern ice fields of Forodwaith to the dark swarthy Easterners, to the large, dark skinned Men


 in Northern, Greater, and South Harad.


        But the people of Hildória were new to me. Their kingdom rose in the aftermath of the


 last War of the Ring from the ruins of Hildórien, Orcami, and East Rhûn, united by their fabled


 warrior leader Guan Qubing the Great.


        Their skin seemed fairer, their hair, like most Elves was darker, and their eyes seemed


 Elven wise. Their speech and bearing like the Elves was more quiet and reserved.


        This is only a guess, but I believe at the beginning of Middle-earth there was an


 interbreeding of Elves and Men far beyond the few recorded instances in the West, like my

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 mother and father. For the people of Hildória, though mortal, I daresay, look more like Elves


 than Elves. They certainly look more like Elves than me.


        One particular warrior of Hildória had been brought to my father’s attention for having


 provided great service to Prince Faramir and Princess Éowyn during their efforts to cleans the


 Morgul Vale, defeat the orcs still roaming the wilds of Ithilien, and beat back the ever


 threatening forces of the armies of Khan, Rhûn and Mordor.


        During Faramir’s last campaign against the armies of Rhûn, the armies of Ithilien and


 Hildória had come together, united by a common cause. During the fighting, a warrior of


 Hildória was badly burned personally defending Faramir who had been injured. But he fought on


 alone and defeated a company of orcs, saving Faramir’s life, and he was hailed a hero. Faramir


 proclaimed him the finest warrior he had ever seen. High praise indeed.


        But his injuries left him horribly disfigured and he was only kept alive by doctors who


 wrapped him in layers of bandages which covered his skin, though they festered and bled


 through, and had to be changed daily. During their journey from Rhûn to Minas Tirith, this


 warrior was joined by his own King and Royal Family and they brought gifts to the communities


 they passed through in Ithilien and Gondor, and of course they were searched.

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        The bandages of the disfigured hero were removed and his identity confirmed at every


 security check point along the way, including that morning outside the doors of the Tower of


 Echthilion. He had been brought to personally receive the thanks of my father for his service to


 the Kingdoms and for saving his much loved and personal friend, Prince Faramir. This warrior’s


 reward was to be a large and rich grant of land in Ithilien in perpetuity, in exchange for the Oath


 of Allies, the Oath of Cirion and Eorl, and of Peace.


        When they arrived led by Prince Faramir and Princess Éowyn, I stood at the back of the


 throne room with Elboron, Niphredil, and my sisters, as I often did, observing. Their delegation


 was of medium size. The ruler of Hildória distained the noble title ‘King’ and styled himself with


 the curiously more local and queerly tribal sounding honorific ‘Emperor.’


        Emperor Guan Qubing brought his son the Crown Prince Xiang Qubing, a company of


 ambassadors, diplomats and advisors, doctors, and of course their patient who was to be honored,


 the badly burned and bandaged warrior.


        It was a momentous occasion and many hoped it would herald a new beginning of trade


 and friendly relations, possibly an alliance with a distant though powerful kingdom against our


 mutual enemies in Khan, Rhûn and Mordor.

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        When the burned warrior approached the base of the throne, I saw Emperor Guan tap the


 hand of his son discreetly. Prince Xiang did not overtly react other than, as unobtrusively as


 possible, he detached himself from his party and made his way around the back to where our


 group had been sharing our impressions of the meeting and talking unobtrusively.


        In whispered tones, his clamorous emotions incredibly restrained, Xiang implored me to


 step outside so we could speak in private about an urgent matter of life and death.


        I knew the Prince had been searched and he was not carrying a weapon, and my uncles


 Elladan and Elrohir were always watching me as their special charge. I excused myself from my


 sisters Celendrian and Elerith, and my friends, telling them I would return momentarily.


        We stepped into the outer hall just outside the open, heavy-stone throne room door.


 Beyond anyone’s easy hearing, I asked Prince Xiang to share his news and speak freely. But


 before he could, within the throne room the burned warrior addressed my father.


        “Greetings High King Elessar and High Queen Arwen,” the bandaged warrior said.


 Normally my father and mother would return the greeting. But breaking protocol, the bandaged


 warrior continued speaking, “Until this moment, I had not truly believed that you, Queen Arwen




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 had indeed forsaken your immortality for this mortal man. But seeing how cruel the years have


 been upon your terribly ravaged face – it must be true.”


        Throughout the room came gasps of horror, sharp intakes of breath, and cries of outrage


 which began from Prince Faramir himself.


        My father raised his hand and silenced them, “Who are you to speak thus to my Queen?”


        Ignoring him, the warrior addressed my mother, “I know it has been centuries and my


 face is bandaged, but how can you fail to recognize your kin?”


        “Who are you?” my mother asked.


        From the bandaged face came a mocking laugh, empty of mirth, “Memory has indeed


 failed you since becoming mortal my dear, sweet sister.”


        Shock filled my mother’s face. Her hand went to her mouth, “No. You… it can’t be – ”


 she turned to my father, “ – him.”


        “Allow me to set your mind at ease Queen Arwen,” the warrior said and he unraveled the


 bandages – to reveal the hideous face of a strange yet noble looking orc.


        On the floor beside the throne, Faramir drew his sword, “Beware the Orc!”




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        “I am not an Orc!” the warrior cried drawing himself up, indignant. “I am the son of


 Celebrían, and the adopted son of Elrond Peredhel, named by him, Prince Estel!”


        “What?!” my father cried in disbelief. He turned to my mother, “Is this true?”


        My father’ father, my grandfather Arathorn was killed by an orc when my father was a


 baby. In order to protect him from our enemies, my father’s true identity was hidden from


 everyone, including himself. He was adopted by my grandfather Elrond, as Elrond had adopted


 many of the heirs of Isildur, as he himself had been adopted by the High Elven King Gil-galad.


        Elrond named my father Estel, which means ‘hope’ in Sindarin Elvish. It was the only


 name my father knew until he reached the age of twenty. I cannot imagine being told by my


 father at the age of twenty that he was not really my father and my name was not my own. I


 understand when my father left Rivendell after Elrond declared him an unfit match to marry his


 Elvish daughter Arwen, my father wandered the wilds alone.


        He took it upon himself to learn about the problems in the world he must solve to become


 worthy of Arwen and the throne. Ever bearing his great sadness and bereft, in the many foreign


 lands through which he traveled and often stayed, he learned their tongues and cultures as if he


 were a native born in each new adopted home.

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        Elrond had raised many of the heirs of Isildur, watched them grow, marry, bear children,


 die, again and again, shepherding the line of Kings of old. But in all those years, he had never


 taken a name previously given to one adopted son and given that same name to another. My


 father knew Elrond, Elven-wise would not have done so without a vision or an over-arching


 purpose, and his uncertainty at his worst fears of what Elrond’s motives might have been were as


 large a shock as any my father had ever known.


        But my mother was not accustomed to such shocks, and this one had staggering


 implications. It is the only time I have ever seen her at a loss, and I hope to never again.


        “Estel…” my mother said, a look of pure and undiluted horror on her face.


        “Yes, your brother Estel,” the monster said. “Whom you and all the other haughty Elves


 deemed unfit for Imladris. I was sent out bereft, to die alone in the wilds.”


        “That’s not true!” my mother cried. “No one made you leave, or even bade you go. You


 left on your own, without an unkind word from anyone.”


        “You think because you did not say the words, they did not scream at me to go every


 time you saw my slowly changing face?” he said with hatred. “The moment I no longer




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 embodied the Elven vision of perfection, the moment you could see the nature of my true father,


 ‘go’ was all I heard from you and every other stinking Elf in that whole Kingdom.”


        “Why have you come?” my father asked.


        “Why?” Estel sneered. “Elrond and Arwen lied when they called me son and brother, and


 promised me a happy life among the Elves. They robbed me of that dream with all the things


 they refused to face about themselves and their own hatreds and tore my heart every time they


 looked at me and grimaced. Tell me Arwen, if someone steals your only reason to live, are you


 not right to hold them accountable for your death?”


        “Those injuries exist only in your mind Estel,” my mother told him. “Driven by your


 hatred for what you saw growing every day in your own mirror.”


        “I may have hated myself when I fled,” Estel told her. “Filled with the certainty I was not


 wanted or welcome, your gasps of horror reverberating through my head. But in the wilds, I


 learned to hate the trick you and your family had played on me. It would have been better if


 you’d left me as an infant to die alone in the woods.”


        “What do you want?” my father demanded standing and his eyes were dark.




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        “Vengeance,” Estel answered with a look of undiluted malice on his hideously twisted


 face, “Revenge for all the years I spent alone, hunted by savage beasts, when all I had ever


 thought I’d loved was lost, and they laughed behind their walls and celebrated their belief I was


 forever gone. Now I shall take from you Arwen, the lives of your daughters, and your husband,


 and yours last. But first, the life of the one you love the most – your only son.”


        He must have come unknown into the Palace before that day and marked my face, for he


 turned and saw me standing just outside the chamber beside Prince Xiang.


        His eyes found mine and he cried, “Eldarion!”


        He cast off his robes, pulled a sword and dagger from his belt that had laid hidden


 underneath, and announced for the benefit of everyone in the room, “Behold the horror on your


 mother’s face while she watches helplessly, for by my sword today you die!”


        Prince Xiang’s hands flashed out, three knife-edged and cruelly barbed blades, like silver


 snowflakes shot across the space between us and cut deep into Estel’s chest.


        He did not scream, but with the most hideously monstrous howl I have ever heard, Estel


 roared like a demon thing. My blood ran cold. He ripped the bloody blades out, flung them away




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 and lunged with feral speed across the throne room floor. Palace guards stepped between us but


 Estel was so barbarically vicious, fast and strong he cut them down with ease.


        Elladan and Elrohir drew their swords and advanced on Estel, and in that moment, he


 drew from off a chain around his neck a golden Ring, placed it on his finger, and vanished.


        “MORGOTH!!!” my father screamed and Prince Xiang slammed shut the throne room


 door. Together, we dragged the tables and heavy chairs of the outer chamber and piled them high


 against the thick stone to barricade the passage shut.


        I was not in the room to see, but my uncles told me later that even though Estel was now


 invisible to mortal eyes, half-in, half-out of the shadowy wraith world, they could still see him


 and they swung their swords, one-high one-low to cut him down.


        But lithe as a cat, he leaped between their swinging blades, rolled to his feet without


 breaking stride and ran for one of the many open windows whistling as he ran.


        Removing the Ring so he could again be seen, he leaped without hesitation out of the


 very top of the Tower of Echthilion into the bright morning sunlight three hundred feet above the


 Fountain and Court of the White Tree to what should have been his certain death.




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        But a shadow darkened the sun and instead of falling, those within the chamber saw


 Estel’s legs rise and pass behind the Tower walls, and they were lost from sight.


        ‘Morgoth’ is part of a code my father created which he’d only ever shared with my


 mother, my sisters, and I. By saying it, he did not intend for me to react as if the dark god


 Morgoth was in the room. He intended for me to feel Morgoth had slain Manwë, Varda, and


 Ilúvatar himself, and none were left alive to aid or save me, and I must flee.




                   *               *               *              *               *




        Eldarion stood from his chair and turned away from Elanor and the others, reflecting on


 whether he should express his thoughts before deciding and turning back around. His face was


 set with the most determined look Elanor had ever seen, “I have learned philosophy and


 composed poetry of which I am proud. But surrounded by enemies, by necessity, we in Gondor


 are a warrior people. I learned to find my balance on the back of a pony before I could stand. I


 learned how to handle a sword and dagger before a knife and fork, and I have spent far more


 time with weapons in my hands. The first time there was the potential for me to die on a

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 battlefield, I was fourteen years old. I was not truly in danger. Our foes were not trained fighters,


 but farmers, who had been duped by evil men to leave their fields and oppose us. It was at that


 battle, whose name I do not recall, that I first killed a man. And I killed more than one. Fighting


 skill, like a sword against a stone must be sharpened again and again to maintain its edge. But for


 all that, it was not until the moment my father cried ‘MORGOTH’ that I ever truly felt blind,


 mortal terror.”


        Elanor put her hand on Eldarion’s which he had set on the back of his chair, “I’m sorry.”


        He set his other hand on top of hers a moment and smiled, “Thank you.”


        They removed their hands and he went on, “I do not enjoy violence and death. They are


 tools I must employ for the attainment of peace. But on that day I swore the only oath I have ever


 sworn: I shall not rest until I have driven my sword through the heart of this abomination and


 hung his severed head from the battlements of the Tower of Echthilion for all to see, a warning


 to anyone who would dare come to my city and threaten those I love.”


        A heavy silence filled the room until the fire cracked and the logs within burst open.


        “What happened Emperor Guan and Prince Xiang of Hildória?” Theo asked.




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        “Emperor Guan told my father his wife and daughters had been captured and held


 hostage,” Eldarion answered. “Kept alive only to ensure he and the Prince went along with


 Estel’s plans. But when they realized he intended to kill me, they knew it would mean war


 between our kingdoms. They also reasoned Estel would kill them in any event and his Orcelven


 troops would conquer Hildória and use its people as fodder to invade and conquer Gondor. They


 decided it was their duty to save me even at the cost of their own lives, to spare our peoples the


 devastation of all-out war.


        “We found the dead body of the bandaged warrior on the third level of the Tower of


 Echthilion. Estel must have entered the Tower dressed as him while still invisible and armed,


 killed him, and infiltrated their delegation. The Emperor knew nothing of the Ring and until that


 moment, he could not imagine any way Estel’s plan to kill me would succeed. He intended to


 warn my father in the throne room, where Estel could not hinder or stop him. But when he


 detected Estel had employed some trick and taken the place of the bandaged warrior, he


 dispatched Xiang to lead me from the throne room and save me.


        “Despite the Emperor and Xiang having acted as they did and most likely having saved


 my life, many of my father’s councilors demanded their deaths for facilitating Estel’s access to

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 the throne room and endangering the High King and his family. Even Prince Faramir and


 Princess Éowyn, who were usually the strongest advocates for mercy.”


        Eldarion drew from his breast pocket two small items: a sealed slender vial which


 contained a clear liquid and a tiny hourglass filled with red dust, “In response, the Emperor Guan


 privately offered my father a ransom for his life and that of his son, and proof of his fealty:


 priceless treasures and heirlooms of the House of Qubing.”


        “What are they?” Elanor asked.


        “This is the only remnant of the red dust of the Sands of the Great Sleep from the


 Mountains of Orocarni,” Eldarion answered, holding up the tiny hourglass. He lowered it and


 lifted the sealed flask, “And this, the only vial of the Waters of Awakening that still exists. After


 the fall of the Lamp Illuin, where its roots had been there grew an inland sea. Its eastern shore


 was known as the bay of Cuiviénen, where Elves and Men awoke from the dust. But after the


 Valar remade the world, the lands were changed and the bay of Cuiviénen, the Sea of Helcar, the


 Waters of Awakening, and the red mountains of the Orocarni from which the Sands of the Great


 Sleep came were removed from Middle-earth.




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        “I do not know why my father insisted I bring these with me when we fled from Minas


 Tirith. There are many secrets my mother and father carry which are still hidden from me. But by


 sharing these secrets and this tale with you, which before now was only known by the Emperor


 Guan, his son Prince Xiang and daughter Princess Pingyang, and my family, you are now


 inextricably and forever bound in the Fellowship of the King.”


        Another long silence filled the room.


        “I… don’t know what to say your – Eldarion,” Elanor said.


        “As your friend,” Eldarion told her, “I would advise you not to be too grateful. You will


 undoubtedly discover this is a much greater burden than an honor.”


        “That may be true,” Theo said. “But I for one am honored you’ve chosen us to share even


 the smallest of your burdens. Thank you, my friend.”


        “You’re welcome,” Eldarion responded simply and let it go at that.


        “What about the Queen of Hildória and her daughters?” Fastred asked.


        Eldarion looked uncomfortable, “A company of our finest troops were dispatched to the


 river and they boarded the ship where they were being held – but it was too late. Everyone was


 dead except the Princess Pingyang, Prince Xiang’s younger sister. She stood over the bodies of

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 her mother and sisters silently mourning, still as stone, blaming herself for failing to prevent their


 murders. Throughout the ship lay the butchered bodies of the Orcelven by which Pingyang


 herself had avenged their deaths. We began great preparations for the invasion of Rhûn to free it


 from the tyranny of Estel and avenge the fallen Queen and royal daughters of Hildória.”


        “Are Celendrian, Elerith, Brindil, and Cetelina all right?” Elanor asked.


        “Yes,” Eldarion answered. “Though shaken and protesting, for their own safety, my


 father sent them and my mother to the courts of two of our closest allies.”


        “Which one’s?” Elanor asked thinking she would write them a quick letter.


        “I think you may agree, the less we say of these things,” Eldarion replied, “the less


 chance there is that something may befall them.”


        “I wasn’t thinking,” Elanor said. “Of course. I’m sorry. Go on.”


        “I know your heart is in the right place,” Eldarion told her and his eyes were kind. “My


 father insisted I go too, though somewhere else, but I refused. He set my uncles to guard me


 night and day, bared the doors and windows of my quarters and created elaborate procedures for


 anything and anyone who entered or left, designed to prevent the entry of an invisible foe. Nor


 was I allowed to leave. I felt like a prisoner in my own home. As the days wore on, even with his

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 elaborate precautions, I had never seen my father so distraught. Day after day, the tension took


 its toll. For his sake, I at last relented and agreed to go. In the dead of night in secret, my uncles


 and I rode out the Great Gate of the Palace of Anor, through the gates of the Rammas Echor and


 we have journeyed on little used roads ever since, heading west towards Lindon. In the wilds,


 thanks to Elladan and Elrohir’s unmatched experience and skill, we managed to avoid the roving


 bands of orcs and Orcelven hunting us, and we came in secret only yesterday to Bree.”


         “Now I understand why your father would not speak of Queen Arwen, you or your sisters


 when I came from the East,” Alatar said. “I regret I did not arrive before Estel. I could have


 saved you and your family from all this needless grief.”


         “Thank you Alatar,” Eldarion said, and he bowed to show how deeply he was moved.


 “But I believe the five of us have met here to serve a higher purpose, which you and I cannot yet


 perceive but time itself will reveal to us before much longer.”


         “Where are your uncles?” Fastred asked.


         “When we arrived, the Mayor Mugwort of Bree was holding a message for them, relayed


 from Rivendell and purporting to be from my father,” Eldarion answered. “Though for safety’s


 sake, we had agreed not even he would know where we were going or by which roads we would

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 travel. How anyone else could know was an ominous portent. We distrusted too the message


 itself, which asked them to detour to Rivendell. It did not sound like something my father had


 written. It bore no seal and contained subtle ambiguities. Elladan and Elrohir reasoned if the


 message reached us here, doubtless now there were more dangers on the Road ahead than the


 bands of orcs and Orcelven we had already avoided, and I would be safer staying anonymously


 at the Prancing Pony. They asked me to wait here until their return, unknown by anyone save


 Butterbur, who is a personal friend of my father’s. But before they left, by the authority of the


 King, the militia of Bree was called up to patrol the city walls, keep strangers out, and lock and


 bar the Gates.”


        “That’s why they stopped us!” Theo said.


        “Yes,” Eldarion answered. “By order of the King.”


        “That’s quite a story,” Fastred said.


        “Yes,” Eldarion agreed. “The years of my youth were not peaceful, but they now seem


 like happier days long past. Dark days have come, and darker lay ahead. But now, by your leave,


 I would like to hear the tale of how the four of you came to Bree.”


        “I believe,” Alatar said, “that the one who can tell it best is the Lady Elanor.”

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                                             Chapter 7




                                     Betrayal At The Havens




        When Elanor was done telling their story Eldarion smiled, “Happy twenty-first birthday


 and two-and-twentieth.”


        “Thank you,” she said.


        “Today was my twenty-second birthday as well,” he told her.


        “Oh!” Elanor cried, looking at her own unopened present and feeling guilty, “Happy


 Birthday!”


        “Happy Birthday!” Alatar said and the hobbits echoed it and shook Eldarion’s hand.


        “I feel bad we didn’t bring a present!” she said.




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        “Your friendship has been the best gift I could asked,” he told her, “I wonder what


 Celendrian, Elerith, and Brindil would say to hear how they inspired your courage.”


        “They’ll think me foolish,” she said with a worried look, “I’ve thought the same, too


 many times myself the last two days.”


        “You know my sisters better than most,” Eldarion said, “But I respectfully disagree. Like


 you, they wish to help in any way they can, and they will applaud your bravery in the face of


 such overwhelming danger.”


        “Thank you,” Elanor said. “But if the Orcelven are already on the road to Gondor ahead,


 which is where we were planning on going, and worse awaits us on the road to Lindon, as


 Elladan and Elrohir seemed to think, where should we go or what should we do?”


        “What can we do?” Theo asked.


        “There are many roads to Gondor,” Eldarion answered. “Shown to me by my father, who


 knows them all. So I know more than most. But before we consider our options, the contents of


 my father’s letter to Sam confirming the existence of these many more Rings of Power that were


 only rumored to exist, whose history Alatar has now shared with me before Butterbur brought


 you from the common room, make it clear the key to our predicament and the way in which we

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 can be of the greatest service to the Kingdoms is to gather the Rings of Power, but most


 especially the Master-ring of Middle-earth, and use them to defeat Estel before he gathers them


 himself, as he has clearly already successfully began to do.”


        “How?” Elanor asked. “We don’t know where any of them are or how they work.”


        “Do you have the Ring that Alatar gave you?” Eldarion asked catching the wizard’s eye.


        “Yes,” Elanor responded, pulling the chain off her neck and removing the golden Ring.


        “May I try it on?” Eldarion asked.


        “To my knowledge,” Alatar told them, “people have never shared Rings of Power.”


        “That isn’t a good reason for us not to,” Elanor said handing Eldarion the Ring.


        “Why do you want to try it on?” Fastred asked.


        “To see if I can access its power,” Eldarion answered.


        “What if it’s an evil Ring?” Elanor asked.


        “The Rings corrupted by Sauron were adorned with precious stones,” Alatar reminded


 her, “Except the One which your father unmade in the fires of Mount Doom.”




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        Eldarion felt the weight of the Ring in his hand and he examined it closely, looking for


 the runes and considering the dangers. He looked around at his companions apprehensively, went


 over the arguments in his head, decided, put it on the third finger of his left hand, and vanished.


        Elanor’s mind struggled to accept where one second ago there stood before her eyes a


 man, there now appeared to be nothing but empty air. Without thinking, she reached out to where


 he had been standing. Her fingers made contact with something she couldn’t see and she pulled


 her hand away as if she’d been stung, “Oh!”


        “Ah!” Eldarion gasped reappearing bent over, his eyes closed tight, the Ring clutched


 within his fist and his body rigid as he fought to catch his breath.


        “Are you alright?” Alatar asked putting one hand on Eldarion’s back and with the other


 he grabbed his arm and lowered him to sit in the nearest chair.


        “What happened?” Elanor asked.


        Eldarion sat still, took a deep breath, lifted his head, straightened his back, set his arms on


 the armrests and forced himself to relax. His breathing slowed and the tension in his body


 lessened. He opened his eyes and looked at Elanor, “I could still see you, the shock on your face.


 And I could hear you, perhaps I could even hear an echo of your thoughts. But I was half-in,

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 half-out of the bright world of Valinor and… I… felt suffused with light, and my memories and


 those of Valinor began to open before me like a scroll.” He opened his fist and looked at the


 Ring. “I saw all the events of my past more clearly than when I first experienced them. And with


 this Ring induced ability to ‘see’ I saw things that in the past had been invisible to me: Rings of


 Power on my father’s hand, my mother’s hand, both Elladan and Elrohir’s hands, my great-


 grandfather Celeborn’s hand, and even Prince Elboron’s hand.”


        “For rare and mysterious relics,” Theo remarked to Fastred, “these Rings seem suddenly


 strangely common.”


        “I… agree,” Eldarion said, confused. “I… do not understand, why my – oh… no.”


        “What is it?” Alatar asked, coming closer. “What do you see?”


        “In my memories of my stay in Ithilien while visiting Elboron, upon the hand of


 Glorfindel I saw, I mean I see… another Ring,” he answered gravely.


        “So…?” Fastred asked. “How is this one different from the others?”


        “Most of the others were smooth bands unadorned by any stone, but within them all I


 could see the light of Valinor glowing from the Elvish script written in ithildin on the outer




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 bands,” Eldarion answered. “But Glorfindel’s bore a black Star Sapphire stone and glowed with


 a harsh red light. The runes used Quenya script but were written in Barzhûrk.”


        “What’s Barzhûrk?” Theo asked.


        “It is the name in its own tongue for the Black Speech of Mordor,” Eldarion answered.


        “What does that mean?” Fastred asked.


        “It means,” Alatar answered, “the powerful and immortal Elven Lord Glorfindel wears


 upon his hand one of the Rings of Power forged by Sauron, and has doubtless Fallen into


 treachery and darkness.”


        Eldarion stood, “I must go at once.”


        “Where?” Theo asked jumping up and everyone else did too.


        “Elladan and Elrohir are riding to Rivendell to meet Glorfindel!” Eldarion cried.


        “We’re going with you!” Theo said.


        “No,” Eldarion told them. “It is too dangerous. We dare not send another Ring of Power


 anywhere near one of the Fallen, whose heart now dwells within the Shadow of Mordor.”


        “He’s right,” Alatar said. “Glorfindel wears one of Sauron’s Rings. He could probably


 even sense the approach of Lady Elanor’s.”

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        “If so,” Eldarion told him, “he would be ready for us and he would try to kill us and lay


 claim to it to corrupt its light and enslave its power, adding to the power of the one he wears


 before we even arrived in Rivendell.”


        “I thought Rivendell was full of Elves,” Elanor said. “Isn’t there anyone there who can


 stop him?”


        “I doubt anyone knows he is a threat,” Eldarion answered. “I have just discovered it, only


 because of the unique abilities of your Ring. My grandfather Elrond ruled Rivendell and was the


 most powerful but he departed West to reunite with my grandmother. Of his stature, only Círdan


 in Lindon and my grandfather Celeborn in Lothlórien remain. Gildor Inglorion and Erestor, my


 grandfather’s Counsellor dwelled there but not even they were more powerful than Glorfindel.”


        “Eldarion and I must ride to Rivendell and aid Elladan and Elrohir,” Alatar told them,


 “But I fear Glorfindel may learn we have been carrying Rings, if he doesn’t already know. The


 three of you must leave at once for Minas Tirith.”


        “He already knows,” Eldarion said.


        “He does?” Fastred asked.




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        “Yes,” Eldarion answered. “Now I understand the riddle of how an Enemy could know


 our paths or whereabouts.”


        “How?” Theo asked.


        “Glorfindel has in his possession a palantír,” Eldarion answered. “One of the Seven


 Seeing Stones of Númenor.”


        “Where did he get one of those?” Theo asked.


        “There is a final tale that I must relate quickly before we leave,” Eldarion said.




                   *              *               *              *               *




        Legolas, Gimli, and Glorfindel rode their horses to the docks of East Mithlond where the


 great Silver Ship was being loaded for its crossing of the ocean Belegaer. It was scheduled to set


 sail along the Straight Road to Valinor from the Grey Havens once the final passengers arrived.


        “How are the Palaces of the Glittering Caves?” Glorfindel asked Gimli.


        “Magnificent,” Gimli answered smiling. “You must come and see how quickly we have


 progressed. The renown of our halls and bejeweled chambers does not do their beauty justice.”

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        “And the plantings in Ithilien?” Glorfindel asked Legolas.


        “The countryside as well as the personal gardens of Prince Faramir and Princess Éowyn


 blossom with color and vitality,” Legolas answered. “And the nursery garden of Prince Elboron.”


        “It has been a good year for babies,” Glorfindel laughed.


        “Babies are the blessing of peace at the end of every war,” Legolas replied. “In addition


 to Elboron, the first so blessed were Elessar and Arwen with Eldarion. Sam and Rosie had


 Elanor, Éomer and Lothíriel bore Ælfwine, and Merry and Estella had Théoden.”


        “It will be good to see Frodo and Sam, and Merry and Pippin again,” Gimli said.


        “When do they arrive?” Glorfindel asked.


        “Within a week,” Legolas answered. “After Elrond, Gandalf and the Lady Galadriel.”


        “Ah, the Lady,” Gimli said. “Most of all I look forward to seeing again the Lady of the


 Golden Wood. Though it should not be so, more than any other, she will be the one I will miss


 the most.”


        “There is no ‘should’ when it comes to where the heart is happiest,” Legolas told him.


 “Nor any shame in feeling the love you feel for the one you love.”




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        “So you say, my friend!” Gimli laughed. “But many are the curses and black looks I have


 received from my own people for not marrying and having sons, and for my unending and


 unrequited devotion to the Lady.”


        “Your devotion is not unrequited,” Legolas said. “She is most devoted to you. As much


 as any woman can be to a dwarf who is not her husband.”


        “Perhaps when she is gone West,” Glorfindel told Gimli, “it will free your eyes to see


 again the beauty of the women of your people.”


        “I envy you,” Legolas said to Glorfindel. “My heart now longs ceaselessly to travel West


 as you will, but my duties here in Middle-earth are not done.”


        “Each in his own time,” Glorfindel said. “Valinor will be there to welcome you whenever


 you finally come.”


        “And I have the greater envy of you both,” Gimli told them. “For both of you will one


 day dwell forever in the Timeless Land with the Golden Lady.”


        “None can say with certainty what the future will hold,” Glorfindel said, “But come now


 and let me show you the ship that will bear us away.”




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        He gave them a tour and Gimli was amazed when Glorfindel pointed out the crate that


 contained the Elostirion-stone, one of the seven Seeing Stones known as the Palantíri, loaded


 safely within the hold for the journey.


        “Why do they send the Stone to the West?” Gimli asked. “It cannot be of any use in


 Valinor. The Palantír of Elostirion only looks West.”


        “I do not know,” Glorfindel answered. “But I agree. Middle-earth would be better served


 if the Stone remained and some power bent it to look on other things. But the King has decreed


 the Stone must go.”


        “I will have words with Aragorn when next we meet,” Gimli laughed. “For sending away


 a priceless treasure I could have used to gaze upon the face of the Lady Galadriel.”


        Legolas smiled, “He is Elessar now, my forgetful friend.”


        “I know,” Gimli said. “That’s what we’re supposed to call him. But to me he’ll always be


 Aragorn. Even Sam slips up sometimes and still calls him Strider.”


        “It has been a long time since I heard Sam call Elessar that,” Legolas said. “As for the


 Stone traveling with Elrond, Arwen will be able to see her father, and his intention is to bend it


 to his will so he can see her and they can share the lives of the baby Prince Eldarion, and any

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 other children Elessar and Arwen may one day have. This has been the greatest comfort to them


 and it eased their grief at their final parting in Minas Tirith. It has also eased Elrond’s fears for


 Arwen’s parting from Arda alone, when she finally embraces the Gift of Men.”


         Early the next morning, Legolas and Gimli went riding in the woods. On their return to


 East Mithlond, they passed Glorfindel driving a covered cart out of the city.


         “Where are you going?’ Legolas asked.


         “I am on a secret mission for the King,” Glorfindel answered. “I shall return shortly. But


 please, do not mention this to anyone until then, in the name of King Elessar.”


         “Very well,” Gimli agreed. “Neither myself nor Legolas will speak of this.”


         That evening, Círdan hosted a feast in honor for all those who had come to sail West,


 before the arrival of the final scheduled passenger Bilbo Baggins, a Hobbit of the Shire.


         Afterwards, as the night grew dark and their preparations continued, they loaded most of


 their belongings onto the ship.


         From deep within the hold the voice of Elrond cried, “It’s gone!”


         Everyone went running. Elrond was not given to outbursts of surprise.




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        They found him staring at the empty space where the crate which had held the Elostirion-


 stone had lain and Legolas and Gimli feared what they had seen and been told was not the truth.


        They told everyone what they had witnessed.


        Elrond was enraged. More furious than anyone could remember seeing him. He


 announced he was leaving the Company of the Ringbearers. He armed himself and rode out in


 pursuit of Glorfindel to punish his treachery and learn the reasons for his theft and deceits, and


 Galadriel, Galdor, Legolas and Gimli rode after him.


        For two days, they could not catch him until he entered the Shire and came within sight


 of Gildor, Bilbo, and several other companies of Elves from the Greenwood, Lothlórien and


 Rivendell, and Galadriel was able to calm him down. She and Galdor tried to persuade him to


 return to the Havens, but Elrond refused until Glorfindel was found and brought to justice.


        Galdor and Gildor apologized to Elrond, telling him they felt responsible as the only


 other two Elves to have returned to Middle-earth after having passed West. They swore an Oath


 to remain behind, find Glorfindel and bring him to justice for his theft of the Elostirion-stone.


        Their Oath convinced Elrond to leave as planned, not the least of reasons was his much


 loved and long missed wife Celebrían who expected him and waited.

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        With these two Exiles added to their power, Círdan, Celeborn, and King Elessar were


 more than capable of learning whatever strange fortunes had led to Glorfindel taking the Stone.


 Perhaps there really was a secret plan and purpose Glorfindel served for the High King Elessar.


        Though stayed, Elrond was still enraged, and not wholly convinced. He insisted Legolas


 and Gimli atone for their part in failing to inform the Wise of these events by departing at once


 for Minas Tirith to inform the King, whose name Glorfindel had invoked.


        They protested to Galadriel. Leaving now would make no difference and if they did, they


 would miss Merry and Pippin, who they knew Gandalf had sent for and were only a day behind,


 and lose their last chance to participate in a final gathering of all but one of the surviving


 members of the Fellowship of the Ring. But Elrond would not be swayed, and she would not


 overrule his commands.


        Much aggrieved and yet ashamed and confused by the part they’d been duped to play,


 Legolas and Gimli rode away.


        Elrond, Galadriel and the rest of their company turned back and headed west and saw


 approaching in the distance, Frodo and Sam. They agreed to keep the theft a secret to avoid


 upsetting or discouraging the hobbits.

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        Weeks later after hard riding and little rest, apprehensive as to what awaited them in


 Minas Tirith and what they would learn, they arrived in the throne room at the Palace of Anor,


 before my mother and father.


        By all accounts, my mother was nothing short of apoplectic.


        “How could anyone be so stupid!” she shouted, standing from her throne that towered


 above their heads. “If Mithrandir and Elessar had not been present on the Quest during the War


 of the Ring, would you have stood by while orcs kidnapped Frodo and Sam? Or perhaps that is


 precisely what happened when Merry and Pippin were kidnapped!” She looked down at Gimli.


 “I confess, I began to believe there might be good in races other than Elves and Men but now I


 see I was deceived!”


        “Arwen – ” Elessar said, trying to calm her down but she would not be stopped.


        “And you ‘Prince of Elves,’” she said scornfully turning on Legolas, “From you I


 expected far, far more! But anyone who disdains his own people to spend all his time with a


 dwarf… well, there is little I can say that gossips haven’t said. Unless – would you care to learn


 the truth of how your mother died?”


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        “I can’t imagine how she must have felt,” Elanor said. “In a way, it was a kind of death.


 It breaks my heart Glorfindel took the Stone and robbed Arwen’s only chance to share your


 growing up with her parents, and you from ever knowing them.”


        “I just realized,” Fastred said. “Other people mentioned the Elostirion-stone was carried


 West on the White Ship with the Ringbearers, but Galdor didn’t actually say that. He only said


 the top of the White Tower once held the Stone.”


        Eldarion looked surprised, “You have been to the top of the Tower of Elostirion?”


        “We both have,” Elanor answered. “But I can’t stop thinking about how bad your mother


 must have felt after this. Every one of your milestones, every birthday would have just been


 another painful reminder of what Glorfindel did.”


        “You are right about the depths of my mother’s grief,” Eldarion told her. “They knew no


 bounds. She forbade Legolas and Gimli from setting foot within the city of Minas Tirith ever


 again. In private, my father tried to ease her sorrows. But in this, she would not budge. My father


 has a special love for the members of the Company of the Fellowship of the Ring. I can hear it in


 his voice whenever he mentions Frodo or Sam, Mithrandir, Merry, or Pippin. But of Legolas and


 Gimli, until he told me this tale, I had never heard their names. I spoke of this only with Elladan

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 and Elrohir who confirmed the story was true but said nothing more. I do not believe Celendrian


 has heard this story and I am certain Elerith, Brindil, and Cetelina have not.”


        “Are there no other palantíri that can be used to look West?” Alatar asked.


        “My father possesses one,” Eldarion answered. “The Stone of Anor which the Steward


 Denethor kept in the long demolished secret chamber once hidden at the top of the Tower of


 Echthilion. But it is not as powerful as the Elostirion-stone, nor the Osgiliath-stone which was


 lost. It cannot see across the ocean. It was on the same night, the night of my eighteenth birthday


 I learned many secrets from my father he had withheld until my coming of age. It was also the


 night he first had me look into the Anor-stone and I saw Denethor’s hands withering in flames.”


        Fastred told Theo, “This makes that awkward conversation I had with my father on my


 eighteenth birthday seem remarkably tame.”


        “Did you learn why Glorfindel took the Elostirion-stone?” Alatar asked.


        “If my father knows he did not say,” Eldarion answered. “We never spoke of Glorfindel


 again. I only saw him that one time visiting Elboron and Niphredil. We entered the audience


 chamber unannounced while Glorfindel spoke to his father and Éowyn. When they realized I was


 there they became alarmed. I did not address Glorfindel and he did not speak to me. At a sign

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 from his father the three of us left. It was years later my father told me the tale of Glorfindel and


 the Stone and only then did I understand everyone’s strange reactions. But until I put this Ring


 on, I knew nothing else of Glorfindel other than he lived in Rivendell with an ever dwindling


 number of Elves. I would never have imagined anything as pernicious as him Falling to the


 Shadow. In the history of the Elves, only Maeglin ever knowingly served Sauron. But the Dark


 Lord is gone so I cannot conceive of anything that could turn one of the highest and brightest


 Elven Lords to darkness.”


        “Did you ever hear any more about the missing Stone?” Elanor asked.


        “No,” Eldarion answered. “Nor did I dwell on it. There are always too many weighty


 concerns and immediate dangers demanding our attention across the United Kingdoms, more


 than we have time for. We cannot account for every unexplained or potential threat ever posed in


 the history of Arnor and Gondor. Until tonight, nothing distinguished this one from the rest.”


        “These questions must be put to your father when next we meet,” Alatar said.


        “How did Legolas’s mother die?” Elanor asked.


        “My father would not say,” Eldarion answered. “I believe he withheld this in deference to


 my mother. I have heard the names of Legolas and Gimli once or twice over the years from

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 others, but said with such flatness, the tone itself communicated they were not worth discussing.


 I never connected them to the Fellowship of the Ring until my father told me this story. It was


 only then I realized the tale of ‘Frodo of the Nine Fingers & The Ring of Doom’ sung in Gondor


 and taught in schools names seven of the nine members of the Company of the Ring, and tells


 their individual stories quite extensively, especially the tales of Aragorn and Boromir. The song


 also includes a great deal about Faramir, Éomer, and Éowyn, who were not members of the


 Company. But the focus of the tale is your father and Frodo’s journey to Mordor. Theo’s father


 Meriadoc, called in the tale ‘Merry’ and his best friend Peregrin called ‘Pippin’ play significant


 roles and are sung about with honor. Mithrandir, of course, is central, especially at the Battle of


 the Pelennor Fields. The tale also speaks volumes about my Grandfather Elrond, my great-


 grandmother Galadriel, and of course my mother. Yet it mentions without naming them, that one


 of the Elves and a Dwarf were in the Company as representatives of their peoples. Their deeds, if


 any, are not recorded. The one time after this I was brave enough to ask my mother, she refused


 to speak of Legolas and Gimli, and she made it clear I was never to mention their names again.


 Half my family are Elves. But until I came to Bree, I’ve rarely seen much less met a Dwarf, and


 never a female Dwarf. They have always seemed a very private people. Whatever dealings we

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 may have had with the seven Dwarven Kingdoms in the past grew less and less. For most of my


 life, I thought it was simply because their numbers have steadily declined since the War of the


 Ring. But then I heard this story from my father and realized there was much more to it. ‘Beware


 a woman scorned’ is as true a wisdom as any I’ve heard. I hope I die before I fall so far afoul of


 such a powerful woman.”


        “If Glorfindel has the Stone and has bent it to his will,” Alatar said darkly, “he could be


 watching us this very moment.”


        “Uh… I don’t think you need to worry about that,” Fastred said.


        “What?” Elanor asked.


        “What makes you say that, my friend?” Eldarion asked.


        “Well…” Fastred looked down and started twisting his napkin, “I’m not supposed to say


 anything. But after everyone’s been sharing their secrets… I guess it would stupid for me not to.”




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        Galdor led Sam, Rosie, Elanor, the rest of the Gardners, and the Longcleeves out of the


 topmost chamber in the Tower of Elostirion and back down the long winding staircase.


        But Fasted tarried in the room and stared out the window looking West, straining to see


 the line of the horizon on the edge of the ocean, and whatever lay beyond.


        “Seeing is not as difficult as some believe,” a voice said from the shadows at the far side


 of the chamber. “Often to truly see, all one must do is have the courage to open their eyes.”


        Fastred turned, embarrassed he’d been caught. Before him stood Círdan.


        “I- I’m sorry my Lord,” Fastred stammered. “I- I just wanted…” but Círdan merely gazed


 at him and said nothing. He turned to go, “I… I guess I should get going.”


        “Many things can be seen by those with the courage to look,” Círdan said pointing at the


 display cases lining the chamber walls.


        “What are they?” Fastred asked stepping closer.


        “Heirlooms of the House of the Ñoldor,” Círdan answered. “Where some put value in


 gold and jewels, in Lindon we give value to other things.”


        “What’s this one?” Fastred asked looking into a glass case and seeing a curiously broken


 spear of white wood attached to a spearhead of black metal.

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        “This is galvorn,” Círdan answered. “A spearhead crafted by Eöl the Dark Elf wielded by


 the Lady Galadriel when she rode at the head of the Sindar and saved Lindon from the orcs.”


        Fastred didn’t really understand but he liked looking at all the things hidden behind the


 glass. He moved to the next, “And this one?”


        “This is one of the two stones left after Aulë forged the Shroud of Túrin Turambar on the


 island of Tol Morwen which lies a hundred miles off the coast of Forlindon,” Círdan answered.


        “I’ve dreamed of sailing over the line of the horizon,” Fastred said staring at the stone.


        “Perhaps someday you shall,” Círdan said opening the case and lifting the flat black


 stone, “This Valarin stone keeps hidden the bones of Túrin upon the brink of the Cabed


 Naeramarth above the shores of the Teiglin. It has been foretold one day the Valar will raise


 Túrin from his grave to lead the final war against Melkor. If his grave was not kept hidden by the


 most powerful enchantment in Arda, Melkor’s servants would have long ago dug up his remains,


 crushed and burned his bones, and scattered the ashes to prevent him from rising to destroy their


 dreaded Lord. The fabled black stone of Númenor used to build Orthanc and the walls of Minas


 Tirith are lesser copies of this Valarin stone”


        “What about the palantír?” Fastred asked.

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        “This will keep you and your companions safe from scrying eyes, whether crystal,


 mirrored, water or smoke,” Círdan said holding the Túrin-stone before Fastred. “Even the eyes of


 the palantíri you so vividly imagined a moment ago cannot pierce the shadows protecting anyone


 who bears a stone from the Shroud of Túrin. But long before you visit those shores, I deem you


 will have pressing needs. This should have gone to Frodo Baggins and a great aid it would have


 been to him. But alas, we did not meet until after he had already completed his own Quest.”


        “You said there are two?” Fastred asked.


        “Yes,” Círdan answered. “One was given to Nimrodel by King Eärnur of Gondor to hide


 her from the Mad Valar Ulbandi, so great is the power forged by Aulë in the Túrin-stone. Would


 you like a keepsake of your visit so you will never forget the Elves?”


        Not really understanding, or quite believing, Fastred could only nod his head and reach


 for the Túrin-stone.


        But Círdan pulled it back, “This is not an idle trinket. If you accept this gift from Lord


 Círdan you must keep it safe and always with you, and never tell anyone what you possess. This


 I demand in return. Do you agree to this upon your Honor with your Word?”




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        Fastred felt like running but he couldn’t take his eyes off the flat black Túrin-stone. He


 solemnly bowed his head and folded his hands, “I do.”


        “Very good, my son. Well done,” Círdan said smiling. He lifted a small silver locket on a


 strong silver chain, placed the Túrin-stone inside, closed it, draped the chain over Fastred’s head,


 and hid the locket beneath his shirt. “May it serve you in good stead when days are dark and only


 darkness is your friend.”


        Fastred pulled the locket out from beneath his shirt, opened it, and touched the smooth


 black Túrin-stone, “Thank you, Lord.”


        “Join your family before you are missed.” Círdan closed the locket and hid it beneath his


 shirt again. “Remember, you must keep this with you always and a secret of the Elves.”


        “Yes sir,” Fastred said strangely happy. He ran to join his family.




                   *               *              *               *              *




        “You never told me this,” Elanor said looking at Fastred as if she’d never seen him


 before and even more surprised than when she’d met Eldarion earlier.

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        “I’ve never told anybody,” Fastred said. “And I wouldn’t have. Except, now that Eldarion


 made me a member of the Fellowship of the King… well, I didn’t think it would be right not to.”


        “Well done Fastred,” Eldarion said. “Do you have the Túrin-stone with you?”


        Fastred nodded and pulled out the chain and silver locket from beneath his shirt.


        Eldarion touched the chain, “This is mithril.”


        “So is the locket,” Alatar observed.


        “What does that mean?” Fastred asked.


        “It means,” Elanor said, “since our trip to Lindon you’ve been the second richest hobbit


 in the Shire and you didn’t know it.”


        “What?” Fastred shouted staring at the locket the way Elanor and Theo had stared at him.


        “Open it,” Alatar told him.


        Fastred did, rather uncomfortably, revealing a small black flat stone.


        “Hold still,” Alatar said. He held his hand up turned towards Fastred and closed his eyes.


 The light from the lamps in the room dimmed and the silver in Alatar’s hat and robes glowed.


        “Yes. In his memories, I see this was given to him by Círdan, but only because he is


 willingly sharing them with me. Otherwise, this Stone would thwart my strongest

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 enchantments.” He turned to Elanor, “If you stay with Fastred and his Túrin-stone, the Enemy’s


 eyes will be shrouded, blind to where you are and all you do, as I deem they have been to us.”


        “Perhaps,” Eldarion said to Alatar, “it would be best for Fastred to come with us.”


        “What?” Elanor and Fastred said together, looking at Eldarion and then each other.


        “Wait a minute,” Theo said. “With all due respects Eldarion, you are not splitting the


 three of us up!”


        “Perhaps it would be best if all the hobbits came with us,” Alatar told Eldarion.


        “Good,” Elanor said. “I’d rather we go to Rivendell together.”


        “I would welcome you on the road with me,” Eldarion told her. “It is not often I meet


 people and genuinely enjoy their company. I was not thinking a moment ago. I am sorry, Theo. I


 should not have suggested splitting you up. If you agree to aid my Quest and join me on the road


 to find my uncles and the other Rings of Power, especially the Master-ring, I give you my Word


 I will not allow anyone to split the three of you up.”


        “Apology accepted, Eldarion,” Theo said standing. “With that settled, let’s get going. The


 longer we stay where half the town knows where we are, the longer we’re in danger.”




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        “Theo is correct,” Eldarion said rising. “I go to pack and will be ready shortly. Elanor?”


 He held out his hand, “Your Ring.”


        “You’re just full of surprises!” Theo said slapping Fastred’s back as they rose from their


 chairs and headed for the door.


        Elanor reached for her Ring.


        “Wait!” Eldarion shouted pulling the Ring back.


        “What’s wrong?” Alatar asked.


        Eldarion stepped back clutching the Ring tightly and staring straight ahead as if his eyes


 were looking at something in the distance, “We can’t leave yet.”


        “But you just said – ” Theo started.


        “Why not?” Alatar asked cutting Theo off and stepping closer to Eldarion as if to catch a


 glimpse of whatever he was looking at, “What do you see?”


        Eldarion opened his hand and looked at the Ring, “In the last of my memories before we


 came to this suite, which I just saw while remembering the effects of her Ring, someone here at


 the Prancing Pony is wearing another Ring of Power!”




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                                             Chapter 8




                                 The Fall Of The Prancing Pony




        Theo and Fastred ran down to the common room and confirmed the man Eldarion


 described was still there drinking beer. Theo stood watch and Fastred reported back to Alatar and


 Eldarion. Then he grabbed his and Theo’s packs, and Alatar brought his own bags while


 Eldarion folded a hastily written note. He sealed the seam with hot wax from his desktop candle,


 blew to harden the surface, and pressed the ring he wore on the third finger of his right hand into


 the cooling wax impressing it with the Seal of the Crown Prince of the United Kingdoms of


 Arnor and Gondor. He rang the large hand bell beside his quill and inkpot.


        After little more than a minute, a knock on his door was followed by Missy Hornbottle,


 “Lady Elanor!”

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        “Missy!” Elanor cried and they hugged. “Thank you so much for the dress. It’s lovely.


 How do I look?”


        Missy watched Elanor spin in a circle and she also caught sight of the unopened gift on


 the table, “Enchanting! And speaking of enchantments, you should open your present.”


        With no time for delays, Elanor tore the wrapping and revealed a beautiful and intricately


 woven pendent and chain of the finest gold, “It’s beautiful.”


        Missy unclasped the lock and draped the chain around Elanor’s neck, “It was made by


 my maiden aunt Iris Hornbottle. She calls it, ‘The Endless Knot & Armor of the Heart.’”


        “What does it do?” Elanor asked and examined the intricate interlocking pieces of the


 pendent which moved but would not come apart.


        “She’s an astromancer,” Missy answered. “She has the Gift. This will tell you if courtly


 gentlemen are sincere, no matter what an ardent hobbit says,” she eyed Fastred. “It won’t come


 apart until your true love pledges his heart.”


        Elanor was touched, “Thank you.”


        “Mistress Hornbottle,” Eldarion said standing. “I am deeply grateful for your kindness to


 Lady Elanor and we will thank you properly someday when we return. However,” he handed her

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 the letter, “we must make haste. Please deliver this at once to Manus Tarqus whom I believe is


 also a guest at the inn and have someone fetch our bags.”


        “Yes sir,” Missy said taking the letter. She curtsied and on the way out she asked Elanor,


 “Who’s your handsome friend?”


        “Oh, we just met,” Elanor replied. “But our fathers go way back.”


        Eldarion bowed, “Thyrion, son of the warrior Thorongil, who served proudly in the


 armies of both Rohan and Gondor, at your service.”


        “Enchanted,” Missy said batting her eyes but she was immediately overwhelmed by


 Eldarion’s dazzling smile and unflinching gaze. She turned beet red and left.


        They joined Theo in the common room and most of the tables were empty. A few crowds


 of revelers gathered around a couple tables including several militiamen, but it wasn’t clear if


 they were on or off duty. Butterbur had let most of his staff leave and he was busy serving the


 diehard drinkers. Theo eyed a table littered with empty beer mugs where a mail clad, cloaked and


 hooded stranger drank with the last of his grim friends, who seldom spoke and did not smile.




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        Elanor looked closely at the mail-clad gloves but she could not see the Ring Eldarion had


 insisted was there, or any other jewelry or device. The stranger’s cloaked and hooded face was


 lost in shadow and she could not perceive a single distinguishing feature of his person.


        Alatar told Eldarion to wait with the hobbits near the door and he approached the table.


        While the stranger and Alatar spoke, Butterbur arrived with another tray loaded with


 foaming glasses full of beer. Even in the subdued ruckus of the Common Room, Elanor could


 not hear their words but she would never forget the first time she experienced a magical attack.


        It was like she had been talking with Fastred and Theo, and suddenly realized she’d lost


 her train of thought. Her mind had wandered. She couldn’t remember the last thing she’d been


 thinking about. Then she realized she couldn’t remember what she had been doing or where she


 was. A choking fear gripped her by the throat that something terribly important was happening


 but she had no idea what it was or how she should respond. The heat from the fire in the pits had


 become alarmingly hot and was forcing the air from her lungs. She started seeing spots and knew


 she was going to faint but the moment was shattered by breaking glass.


        Butterbur had fallen forward and his tray of frothing beer mugs crashed against the


 cloaked and mail-clad head of the stranger.

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        “Back!” Alatar shouted now that the spell had been broken. He pulled Butterbur up and


 pushed him towards the door standing between them and the hooded figure.


        When the stranger lifted his hands, Elanor saw a flash of gold beneath the mail on the


 third finger of his left hand. He spoke in a rough, guttural tongue and the very air before her face


 thickened and shrieked.


        To Elanor, air had always been something completely safe, ‘vanish into thin air’ was a


 phrase which contrasted some great unknown to the utter banality of air. But now she saw there


 were many forms and faces air could take and what was once familiar and commonplace seemed


 dangerous and strange. The air itself grew hot again, grew fingers, and dragged itself from her


 lungs and out of her mouth.


        But the silver in Alatar’s robes gleamed brightly, he lifted his staff, spoke stern


 commands and the sounds of a great wind rose outside the walls of the inn. Freezing blasts shot


 down the chimney, froze the hot fingers of air to stillness, drew them away and carried them


 back up the chimney in powerful gusts, and Elanor could breathe again.


        “Surrender,” Alatar commanded. “You cannot win.”




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        “You have no idea what I can do!” the stranger hissed. He lifted a metal rod and spoke in


 a strange and guttural tongue. Black smoke billowed from the fire pits like demons grabbing


 their throats and filling their lungs with smoke.


        Alatar raised his staff and shouted commands in a stirring tongue, the sounds of the winds


 outside trebled, the windows shattered and great and terrible gusts like battering rams attacked


 the demon smoke blasting them apart and sucking the pieces out the broken windows.


        Flames leaped from the fire pits and roared against the screens. Cold wet tongues of wind


 blew through the shattered windows and battered the screens down pushing soaking wet rains


 sideways through the room and flaring to steam against the burning logs.


        But the fire and smoke roared back hotter and thicker and the winds and rains shrieked


 louder and harder, and it seemed to Elanor as if the wind and smoke and fire and water were at


 war with her life and those of her friends hanging in the balance.


        “Get out!” Theo screamed pushing the other two hobbits out the door.


        “Go, quickly!” Alatar commanded and Eldarion ran out grabbing their bags at the front


 desk and joining the hobbits in the street beyond the sign of the Prancing Pony.




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        Outside, a great storm rose and the eye was centered on the inn. The winds blew hard and


 hit like stones growing thicker and darker forming a terrible whirlpool of furiously screaming air


 which banged and battered, and pulled at the walls of the inn.


        Theo pushed them down the street far from the Prancing Pony, far from any houses on


 the hill, and Eldarion followed.


        Fire shot up out of the chimneys, smoke and people poured out the doors or climbed out


 the broken windows, and Alatar came running out.


        “Get down!” he shouted.


        The winds circling the inn grew louder and darker battering them so hard they threw


 themselves to the ground while tongues of smoke and fire snaked out the windows up and down


 and along the walls searching for them but the winds beat them back. The winds howled


 impossibly louder and the whirlpool of wind grew larger fighting the forces behind the fire and


 smoke until with a frightening groan, the sounds of shattering glass, the screams of guests, the


 cracking and splintering timbers of the entire long-standing three-story structure of the Prancing


 Pony were pulled apart by the winds, collapsing in sections that came crashing down the hill.




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        For several minutes, Elanor kept her arms over her head, afraid to look until the


 cacophony ended and the shrieking winds faded.


        When she looked up, the winds were dispersing and Alatar stood still while his


 windblown robes whipped about at the edge of the settling wreckage. A great mass of timbers


 fell to one side revealing the broken and bleeding body of Butterbur pinned beneath a broken


 chimney stone. Butterbur’s arms flailed helplessly and his eyes glassed over.


        Alatar slammed the end of his staff down in the center of the slab and a spoke string of


 harsh commands. For a moment nothing happened. Then, as if a tiny ant had bitten into the


 stone, a barely audible snap produced a tiny crack.


        Immediately came another, then two more, then four, then eight until cracks and breaks


 spread across the entire surface. Faster and farther and deeper they went until what looked like


 centuries of crushing wear occurred in seconds.


        The slab broke in two, then four, then more so quickly in moments there was nothing but


 a mound of crumbling stones falling to the floor revealing the broken body of the inn keeper.


        Alatar knelt beside Butterbur, “Thrice noble Barlimen, can you hear me?”


        Butterbur’s eyes fluttered open but then shut against the pain, “The Prince?”

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        “I am well my friend,” Eldarion said kneeling beside Alatar and taking Butterbur’s hand,


 “Saved by you throwing your beers against our foe.”


        “A waste of good beer I’m afraid,” Butterbur said and then grimaced in pain. “But if it


 helped save you, then good is best.” The tension left his face but his eyes stayed closed, “If


 anything had happened to you, uhn…” a wave of pain washed over him, “…your father would


 have had… my…” his body shook and lay still. His dead eyes opened and stared at nothing.


        Eldarion slid his fingers down Butterbur’s face and closed his eyes, “Rest easy my friend.


 Tonight you shall be waited on, drinking deep in the Timeless Halls of Ilúvatar.”


        “Alatar,” Theo called. He stood beside a lifeless form crushed beneath a wooden beam. A


 mail covered hand protruded from beneath the wood and lay on the ground, unmoving.


        Alatar kneeled beside Theo and removed the glove. There, lay a featureless golden Ring


 of Power on the third finger of the human hand. He pulled it off and put it in his breast pocket.


        The Bree militia arrived and began digging out survivors who hadn’t managed to


 evacuate before the walls came crashing down, including several militiamen. Alatar, Eldarion


 and the hobbits helped as best they could. By the time they got to the stables, the sun was rising.




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        There they had another nasty shock: when the Prancing Pony fell the horses and ponies


 had been stolen, except for Silverfall, who no man or hobbit could approach.


        Alarm bells rang from towers throughout Bree and the streets filled with militiamen


 running frantically east and west in the early morning light of the rising Sun.


        Alatar stopped one, “What’s happening?”


        “Mayor Mugwort has ordered the militia to the Gates,” the militiaman answered. “We’re


 preparing for battle!”


        “Battle with whom?” Eldarion asked.


        “Orcs are attacking the West Gate,” he answered. “And an unknown Elvish Lord leading


 a battalion of Easterlings is pounding on the East Gate doors!”


        “It can’t be Elladan or Elrohir,” Eldarion told them. “The Bree-landers know them and


 would let them in.”


        “I must go to my post!” the militiaman cried and ran off.


        “Even if we were to find a way out,” Theo asked, “how can just the five of us get through


 hordes of orcs and Easterlings on foot?”




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        “Last night I met a trader from Harad named Manus Tarqus with a large caravan,”


 Eldarion answered. “I sent him a letter. I believe he will aid us if we get permission from Mayor


 Mugwort to open the Gates. If we can find him, we can ride out with Manus’ caravan.”


        “Good,” Alatar said. “You four go to the Mayor’s. He can employ his militia to find this


 Manus far more efficiently than we could on our own. Get his permission to leave through


 whichever Gate is clear. But I know the men of the East. And they know me. They will not dare


 attack Bree if they see my face and know I am here. I must stop them before anyone else dies. I


 will follow you to the Mayor’s, or out whichever Gate you’ve gone. But we cannot delay. I fear


 those at the West Gate are not orcs but Orcelven. Estel may pass the Gates invisible. Go now!”




                   *              *              *              *              *




        Eldarion stood before the hobbits in the Mayor’s office, facing Mayor Richard Mugwort.


 He sat behind his desk trying to look more important than he felt, which at the moment was


 pretty powerless with so many enemies at his Gates and little enough with which to fight them.




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        Mugwort was a rather large-ish hobbit with a curiously long and thin face. His family had


 been one of the first to settle in Bree and was very well regarded. But few who knew Mugwort


 personally had much good to say about him.


        “You must locate Manus Tarqus, a trader from Harad immediately,” Eldarion told him.


 “And give leave for us and his caravan to exit the North Gate.”


        “Why would I do that?” the Mayor asked. “We’re preparing for battle and you’re wearing


 a long and short sword. Is that also a dagger I see? Everyone who can wield a sword must fight.”


        “I am a companion of Elladan and Elrohir of Gondor,” Eldarion told him. “Who you met


 two days ago, kin to the High King on whose order you barred the Gates before they left. I fear


 they are riding into a trap. We must go at once to aid them.”


        He spoke to Eldarion but allowed himself to be distracted by Elanor, looking her up and


 down, “How would I know all that?”


        Theo stepped forward, “You know me Dick, and you should remember the Lady Elanor,


 and our fathers, the Councilors of the North. I’m sure now you’ll recall I’m the Master


 Meriadoc’s duly appointed Deputy. It is on my authority you’ll find this Manus Tarqus, the


 North Gate will open, and we will ride out with his caravan!”

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        “I’m always happy to cooperate with the Councilors,” Mugwort said, though he clearly


 wasn’t. “Whatever you need. Robert!”


        A young hobbit ran in, “Sir?”


        “Find a Manus Tarqus, he’s a trader from Harad, and bring him here,” Mugwort ordered.


 “And have someone write up a writ giving safe passage to these hobbits and whoever goes with


 them out whichever Gate they want. I’ll authorize and sign it, and stamp it with my seal.”


        “Yes sir!” the hobbit cried and ran out.


        Mugwort walked around his desk eyeing Elanor still wearing the beautiful gown, “I


 always cooperate with the Counselors of the North and personally, I’m always happy to do a


 favor for Lady Elanor, one proud city Mayor looking out for the beautiful daughter of another.


 One good turn always deserves another. Don’t you agree, Lady Elanor?” He put his arm around


 her shoulder and winked with too large and lascivious a smile on his overly narrow face.


        (GROSS) Elanor thought but she smiled primly, aware her smile did not reach her eyes


 and not caring: this lecherous Mugwort wasn’t looking at her face.




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        “I’ve just realized,” she said. “My only change of clothes was lost in the wreckage of the


 Prancing Pony. If we’re riding on a caravan I’ll need more than this, including a certain


 ‘unmentionable’ article of feminine attire… is there a shop nearby?”


        Flustered, Mugwort removed his arm and stepped away, “Out the back door of my office


 to the alley and turn left. But there won’t be a window or sign for anything like that.”


        “How will she find it?” Fastred asked fuming.


        “The third door down is plain grey, the only one,” Mugwort answered, embarrassed to be


 talking about it. “Knock four times forcefully and wait. Someone will let you in, discretely.”


        “You’re not walking through an alley alone,” Fastred said following her out the back,


 “I’m going with you.”


        “Sorry about before,” Mugwort said to Theo, “I didn’t see you standing behind this Man.


 You aught to teach him manners. Who does he think he is? Coming to my office barking orders.”


        Before Theo could answer, Sam and Rosie came hurrying in the front door.


        “Mayor Gardner!” Mugwort cried, embarrassed seeing Elanor’s father.


        “Théoden!” Sam shouted.


        “Oh Theo,” Rosie said hugging him, “What’s become of Elanor and Fastred?”

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        “They just stepped out,” Theo answered. He let go of Rosie, though Sam stood apart.


 “But they should be right back.”


        Sam turned to Mugwort, “There’s worse than orcs at the West Gate, and what’s this I’ve


 heard about Elves?”


        “I don’t know myself,” Mugwort answered wondering how his day could get any worse,


 “I’m still waiting for my Captains to report.”


        Sam pointed a finger at Theo, “I’m very cross with you, young Master Théoden!”


        “I’m sorry Sam,” Theo said. “Would you have preferred I let Elanor ride off into the


 wilds with a stranger by herself?”


        “You should have stopped her!” Sam shouted crossly.


        Scolding other people’s grown children was rarely dared in private among hobbits and


 even then was very distasteful, at best.


        “Excuse me,” Eldarion said to Sam.


        Sam looked up at the tall young man towering over them gaping oddly down at him and


 he said just as crossly, “Mind your manners and don’t interrupt. And stop staring!”




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        “Sam!” Theo shouted looking back and forth, afraid with everyone flustered, if he didn’t


 let Sam know in some way who Eldarion was, things could get out of hand, “Let me explain!”


        Unaccustomed to being addressed in that manner, Eldarion none-the-less pressed on,


 “Are you by chance Samwise Gamgee Gardner, the Honorable Mayor of the Shire?”


        “I am,” Sam answered crossly. “How is it any business of yours?”


        “I am sorry,” Eldarion answered, “I do not usually respond like this. In the space of a


 heartbeat I have gone from being overwhelmed and intimidated to crushed and disappointed at


 finally meeting my childhood idol.”


        “You’re what?” Theo asked.


        “Sam is celebrated as one of the Three Nobles,” Eldarion explained. “They are our


 honored paragons of virtue, held up to every child in Gondor and expected to be emulated.”


        “Who are the Three Nobles?” Rosie asked.


        “The people who came into contact with the One Ring of Sauron and were tempted,”


 Eldarion answered. “But who were so spiritually pure, they rose above temptation where others


 failed. Their names are immortalized in catechisms and sung by children; my great-grandmother


 the Lady Galadriel of Lothlórien, Prince Faramir of Ithilien, and, well, you Sam. I am Eldarion.”

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        Sam’s eyes grew round, “Elessar’s son, Eldarion?”


        “I’m not feeling very well,” Mugwort said sinking into his chair behind his desk and


 wiping his suddenly sweat stained face.


        Rosie curtsied low and bowed her head, “Your Highness, a pleasure.”


        Eldarion bowed and kissed her hand, “The pleasure is mine, Mistress Rose.”


        “Thank you,” Rosie said, enchanted by his courtly gesture. “The Princess Celendrian


 takes after your father. But you are the spitting image of your mother. So very handsome.”


        Eldarion blushed crimson and bowed again, “Thank you.”


        “Now fair Prince, I apologize for my Samwise,” Rosie said. “He’s a good man and he


 didn’t know who you were, your Highness. So please don’t be cross with him. I love him dearly,


 but as a favor to me, would you mind not putting strange notions in his head, like this talk of the


 Three Nobles? It’s hard enough just to get him to take out the trash sometimes.”


        “Rosie!” Sam cried.


        “I am sorry, Mistress Rose. But it is not just that he resisted temptation,” Eldarion


 explained. “Others resisted the temptation to put on the Ring, including most of the members of


 the Fellowship. But in Mordor Sam had the Ring on his finger where the corrupting power of the

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 evil spell Sauron wove was at its peak, and he transcended even that. Our histories teach he


 displayed this selflessness long before, and consistently. When you consider Sam was heir to the


 largest tract of arable land in the Shire, yet abandoned it to help his childhood friend Frodo


 Baggins on his dangerous and most likely fatal journey to complete the Quest… well. There is


 really nothing else like it in all the annals of Gondor.”


        “Wait a minute,” Sam said.


        “Wait?” Eldarion asked.


        “I didn’t inherit anything before Frodo. I inherited Frodo’s lands when he passed West,”


 Sam answered. “And sure, we were childhood friends. But I was also his manservant.”


        For a moment, Eldarion gaped at him again, then asked with more than hint of distaste,


 “You were paid to go on the Quest?”


        “Don’t say it like that!” Sam shouted.


        “I am sorry,” Eldarion said shifting his posture, “I am not certain how you would suggest


 I go about saying it.”


        “Wait right there!” Sam scolded, slighted. “How much are you paid to be a prince?”




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        For a moment, everyone in the room held their breath, shocked at how their exchange,


 having started with a chance misunderstanding, had fallen to such depths.


        “Ah. Yes. That is correct,” Eldarion said, angry now himself, chastised but not cowed. “I


 apologize. Please, forgive me. I spoke out of turn. Really, you must agree, it is quite a lot,


 meeting your childhood idol and immediately tripping repeatedly, all over his feet of clay.”


        “Hairy feet of clay,” Rosie said kissing Sam on the cheek.


        “Mother!” Elanor cried returning with Fastred. “Father!”


        “Elanor!” they shouted. The three of them ran together and enveloped each other in hugs


 and tears and kisses.


        “I’m so glad you’re safe!” Rosie cried.


        But Sam became cross again, “What were you thinking running off like that?”


        “I’m sorry,” Elanor said, unaccustomed to being scolded. “But Alatar was desperate and


 there was so much at stake. I just wanted to help. You won’t believe what’s – ”


        “That’s enough!” Sam said. “Maybe I was wrong and someone should have gone with


 Alatar. But it shouldn’t have been you. Wars and battlefields are monstrous. No place for a


 maiden hobbit. But since I’m here now, I’ll take over. I’ve been a Ringbearer before. Not just

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 any Ring. I bore the One in Mordor, as Eldarion just pointed out. It was a terrible thing. I don’t


 want you mixed up with anything that evil.” He held out his hand, “Give me the Ring.”


        Elanor stared at her father’s hand. Everything he said was true. She knew he was saying


 these things out of his love for her. She withdrew the chain Alatar had given her and the Ring.


        But it felt so wrong.


        She was the one who’d realized hobbits mustn’t dishonor their history of helping the


 peoples of Middle-earth. She was the one who left her family and accepted this burden, against


 all advice, even though it was the right thing to do. She was the one who had survived magical


 attacks from Warlocks and been invited by Eldarion into the Fellowship of the King. Not her


 father. She was a good daughter. Yet at this moment, she hated what her father was demanding


 of her, not even having the decency to talk it out like he usually did. Instead, he was lording over


 her and using his past accomplishments as he never had before, as if she would or could forget,


 and making her feel small, and weak, and unworthy.


        Someday, when she had a family of her own and was the Mistress of her own hole, she


 would show him. She would prove he’d been wrong to take the Ring away from her and deny


 what she’d come to feel was her destined role to play in this War of the Ring to end all Wars of

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 the Rings. Someday, when she was in a better place, a place of power, she would show him. And


 then, on that far distant and fateful day, he would at last be sorry.


        She looked down at the Ring. She looked up at her father’s stern, and if truth be told,


 rebuking face, and her own anger sprang to life.


        He had no right to be so mad at her!


        If not for her, Alatar would have ridden past Bree and never met Eldarion, and Fastred


 and his Turin-stone would never have come to their attention. Nor would they have found


 another Ring of Power at the Prancing Pony. She’d done more to further the King and Eldarion’s


 Quest than anyone except Alatar and Eldarion himself. But she knew her father well. In his


 present mood, even if she did explain, he wouldn’t care. But she wasn’t a child anymore!


        The time had come: she refused to be treated like one.


        She’d been carrying a fear, a terror of what she might see or experience, what strange and


 terrible things she might learn if she put on the Ring, which was why she hadn’t.


        Not even after Eldarion demonstrated it wasn’t evil, but a beautiful thing that transported


 the wearer, not to the infernal half-in, half-out wraith purgatory world she’d read about in the


 Red Book, but to the very threshold of the almost mythic Valinor.

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        But here Sam was, determined to deny her that knowledge, whether he realized it or not.


 And now she wanted to know what role she could play, before this opportunity slipped away and


 history passed her by. Except for maybe as a footnote in someone else’s story. No. The time had


 come. She was not going to stand for that. She slipped the Ring on her finger and vanished.


        “Elanor!” Sam shouted.


        “No!” Rosie cried bursting into tears. “Please don’t go again! Elanor!”


        “Come back!” Sam cried rushing forward to where she’d been standing but his hands


 found empty air. He ran around in circles and tears apologizing, “I’m sorry, Elanor! You can


 keep the Ring! Just come back!”


        After a moment’s hesitation, she took off the Ring and reappeared beside Eldarion.


        “Oh Elanor!” Rosie cried and she rushed forward but Sam held her back.


        “Don’t do that again!” he scolded. “Can’t you see how much you’ve upset your mother?”


        “I’m sorry,” she said feeling terrible. “But you didn’t give me a chance to – ”


        “I’d always thought you a good and obedient daughter!” Sam cried. “Perhaps I’ve


 misjudged you. Or maybe I’ve favored and indulged you too much.” He looked around,




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 embarrassed at the scene they’d made. “We’ll talk about this in private. But until I’ve made my


 decision,” he held out his hand again, “give me that Ring.”


        “But you just said – ”


        “Forget all that!” he scolded. “I’m your father. I know what’s best!”


        Elanor was a good and obedient daughter. And she saw the look of horror and on her


 mother’s face. And the uncomfortable, awkward and painful expressions on everyone else’s, as


 she and her parents aired their dirty laundry in public for all to see.


        No doubt in years to come, this scene would be a favorite tale for gossips from Bree to


 the far West Downs, and probably far beyond, of how the haughty daughter of HMS Gardner had


 thought too much of herself and embarrassed him with queer and willful notions, after a single


 conversation with the Crown Prince Telcontar, who had done nothing more than display his


 impeccable good manners. She had misinterpreted them, and him, and been confused as to her


 proper place, when in truth, he was only being polite, and it had gone to her head, which had


 clearly swelled to twice, at least, its normal size. Embarrassment reddened her face.


        She lifted the Ring to give to Sam.




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        “Actually,” Eldarion said to Sam, “once we reach Rivendell and we can spare an armed


 escort for you and Mistress Rose to ensure your safe passage, we wish to send you back to the


 Shire. You must coordinate the efforts of Thain Peregrin and the Master Meriadoc for the raising


 of a Hobbit Homeland Protection Force before you’re overwhelmed in all-out war.”


        “I’m sorry Eldarion,” Sam said. “But this is a private family matter, and I’d prefer – ”


        “Your Majesty,” Eldarion corrected.


        Everybody stopped and stared at Sam reproachfully. He dared to speak with disrespect to


 the Crown Prince. Seeing their looks, Sam’s face reddened.


        “We would also prefer,” Eldarion continued, “the Lady Elanor join us, our royal sisters,


 and our mother the High Queen Arwen, who knows her well and holds her in the highest esteem,


 to bear this burden she has taken on herself and bravely carried through terrible trials and great


 hardships, so she may be honored by my father for her heroic deeds and extraordinary


 accomplishments, and present to him herself, this Ring of Power to the King.”


        Sam looked from Elanor to Rosie to Eldarion, “Your Highness – ”




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        “Father,” Elanor said, “I want to go. I want to help. I think it’s time for women who can


 contribute to be allowed to if we wish, and I do. I already have. I have so much to tell you. But it


 must wait. It’s what I want. The time has come.”


        “Sam,” Rosie said, “I love you. But Elanor is right. The fear something terrible may


 happen to her breaks my heart. But the same could happen to our sons. We wouldn’t think of


 denying them this opportunity. Which is why it would be wrong for us to deny her.”


        “Well,” Sam said looking around at everybody’s faces and seeing they were in


 agreement. He put his hands in his pockets and looked down, “I guess I’m outvoted.”


        Before Eldarion could speak, Manus Tarqus entered escorted by Robert fully armed with


 two scabbarded scimitars crossed over his back and waving Eldarion’s letter.


        “Eldarion!” Manus shouted and Robert eyed Eldarion, stunned. “I’ve been looking all


 over for you! Why didn’t you tell me who you were when we met at the Prancing Pony?”


        “I am supposed to be traveling incognito,” Eldarion told him, eyeing Robert. “But if this


 continues, it will not be long before everyone in Bree knows I am here.”


        “What can we do about these Orcelven invading our lands?” Manus asked.




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        “Their leader is known to me,” Eldarion said. “He calls himself Prince Estel and wishes


 to be a King. I am pledged to deny him this and I have personally sworn to end his life. Your


 help could be decisive if you can take me, the wizard Alatar and my hobbit friends to Rivendell.”


        “You know him!” Manus cried. “An excellent beginning. Me and the women and men of


 my fighting teams can guarantee you safe passage, and fight through the Orcelven if we must,


 but for a price: an alliance between the allied Kingdoms of Greater and South Harad, and the


 United Kingdoms of Gondor and Arnor, against our common enemies the Orcelven of Rhûn,


 Northern Harad, the Easterlings of Khand, Palisor and that infernal Queen of Mordor.”


        “The final decision is my father’s,” Eldarion said. “But if you help us reach Rivendell, I


 will do everything in my power to ensure you receive everything you ask. And if some necessity


 of my father’s prevents him from granting this, then I, the Crown Prince Eldarion Telcontar,


 personally pledge on the day I ascend the throne, you will receive all you have earned, and much


 more.” Eldarion held out his hand, “You have my Word.”


        Manus grabbed his hand with both of his crumpling Eldarion’s letter and he shook hands


 enthusiastically, “I accept!”




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        The seven of them quickly departed the Mayor’s office much to Mugwort’s relief and


 they went to Manus’ overly large and carefully guarded tents and pavilions which screened his


 caravan from the Bree folk set midway in the city inside the northern walls.


        “Two more little people to join our caravan is fine,” Manus said eyeing Sam and Rosie as


 he led Eldarion and the hobbits to the entrance of his large tent where Malvia waited.


        “Caravan?” Sam asked. “We’re going to have to ride on the pointy rocky backs of camels


 all the way to Rivendell?”


        “I am sorry to disappoint you Sam,” Eldarion told him lifting the flap of the great tent


 which screened Manus’ pavilions, “I know what that is like.”


        Sam walked into the massive tent and felt a powerful surge of conflicting emotions. His


 fear of facing the deadly Orcelven mixed with hope, and happiness. He understood at the very


 least, there was a more than better chance Manus could break them out of the city and help them


 fight their way to Rivendell: before him stood a fiercely armed and powerful gathering of the


 warriors of Harad loading their belongings onto the backs of gigantic Oliphants.




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                                            Chapter 9




                                            Corruption




        Alatar arrived at the East Gate of Bree and dismounted. On the walkway atop the double


 Gates and all around them, the cries of hobbits and men grew to a clamorous din. A great glow


 rose from the other side of the heavily barred iron and wooden double gateway.


        “Run!” he shouted charging back away from the gates, and everyone who was near the


 gates ran too. He sent Silverfall galloping away to safety and he ducked behind the recess of a


 stone doorway, sensing what was about to happen.


        The East Gate exploded in a brilliant shower of broken stones, twisted metal, smoke, fire,


 splintering and burning wood, and the screams of burning and dying militiamen.




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         When the smoke cleared, he saw the shattered remains and smoldering ruins in the street


 with a dozen dead gate guards who had been caught in the blast. They’d had no time to flee or


 they’d refused to desert their posts. The rest were running away far down the street.


        From his uniform, he recognized the Captain of the Gate and grabbed him before he cold


 run past him. He stared into the terrified man’s eyes, “Listen to me! Take heart. I am pledged to


 aid you. I will not allow your enemies to enter. Gather your men and follow me to bear witness


 to my repelling these invaders, and report my actions faithfully to Mayor Mugwort.”


        “You think too highly of yourself, even for a wizard, to think that you can stand alone


 against me,” an Elvish voice said. A shadowy figure stood in the gateway, “Few can slow and


 none can stop me save my foe who lives among the gnawing Nameless Things in the depths of


 Khazad-dûm. Even he will fall once I remove the Rings which sing to me from your pockets and


 add them to the power of the ones I possess.” He lifted his hands and raised his long fingers


 displaying Nine Rings of Power set with polished black gemstones.


        “Who are you?” Alatar asked, marveling at seeing so many Rings of Power together.


        “I am your death,” he said. “Prepare to fall before the unmatchable might of Glorfindel.”




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        “Glorfindel!” Alatar said. “I have heard much of you. You left the Halls of Mandos after


 I had already departed Aman. You were praised and held in the highest honor as a great warrior,


 slayer of Balrogs, and one of the Elven-wise. But I sense a terrible darkness and the Shadow of


 Evil about you. A black cloud hangs over you like a corruption and a sickness of the mind.”


        “I was a Prince of the First Born of the House of the Golden Flower,” Glorfindel told


 him. “But now I am the King of Gondolin, refounded at the feet of the Misty Mountains, once


 known as Imladris. Where Rivendell once sat, there now stands proudly the city of Glorfindell. I


 annex and buy these lands by Right of Power, and commence the expansion of my Empire.”


        “I have a caveat for the Emperor,” Alatar said raising his staff. “Let the buyer beware.”


        Glorfindel laughed and the golden Rings on his fingers glowed, “Which of the Istari is


 about to die at my hands?”


        Alatar’s staff and all the silver in his robes glowed, “I am Alatar the Blue.”


        “Alatar!” Glorfindel laughed. “I feared you were Pallando. But you are the weakest sent


 to Middle-earth, save for lowly Radagast. It was said you had fallen into folly, creating false


 cults, and gathering men to worship you.”




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        “It will pain you to learn the truth,” he told him. “The stories of my falling into folly,


 creating cults, and gathering men to worship me have been somewhat exaggerated. Only


 Saruman failed his appointed task.”


        “You deem Radagast a resounding success?” Glorfindel asked.


        “Radagast has not yet been tested,” he answered. “His test is coming. Pallando and I had


 the greater burden: stopping Sauron from conquering the vast lands of the East and using the


 men, dragons and other fell beasts for his conquests of the West. You may note, we succeeded.”


        “Then why did you not returned to Aman with the others?” Glorfindel asked.


        “We have been charged with a new task,” he answered. “The one Saruman failed: the


 destruction and unmaking of all the Rings of Power, including the ones you wear.”


        “You may have my Rings,” Glorfindel laughed. “When you are able to pull them from


 my cold dead fingers.”


        “I did not imagine you would willingly give them up,” he told him. “However pleasantly


 I framed the request. But before we come to blows I must know: how have you Fallen to the


 Shadow? You were the greatest of those who dwelled in the Halls of Mandos. I would not have


 believed even the gaze of Melkor could twist your bright light to the Dark Paths.”

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        “Is that what you think?” he asked. “Melkor did not bend me to his will! I serve only the


 bright desires of Glorfindel.”


        “When did the desires of Glorfindel eclipse the will of Ilúvatar?” he asked.


        “You truly wish to know?” he asked. “My secrets will not save you. Yet, I delight in the


 thought of telling you. Knowing my secrets will torment you, the moment before you die.”




                   *              *              *              *              *




        Of all the living beings in Middle-earth, Sauron hated and feared Glorfindel the most.


 During the Fall of Gondolin, Glorfindel had destroyed one of his most powerful servants, his


 greatest Balrog Lord.


        They both died from their wounds, and his fëa went to Valinor where he was reincarnated


 in the Halls of Mandos. But unlike any before, Glorfindel departed Mandos, and the Valar sent


 him on a ship back over the ocean with two other Elven Lords, Gildor and Galdor of the Havens.


        Sauron was certain it was not a coincidence. Exactly then, he had begun forging his own


 Ring of Power with the secrets he’d stolen from Celebrimbor and the Mirdainions.

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        For seven years, Sauron’s Eye studied the Last Alliance of Elves and Men besieging his


 Fortress at Barad-dûr. Of all the Lords who stood among the great hosts, Sauron was convinced


 Glorfindel was the key by which he would conquer or be conquered. Glorfindel’s power was the


 most formidable, bathed and so recently renewed in the light of the Valar. The fires of his fëa


 were too strong and burned too brightly. But where power would not serve, guile and deceit had


 ever been Sauron’s closest allies.


        He sent a request to parlay and offered a generous exchange of prisoners. But only to


 Glorfindel. On his way to free his captured friends, he was caught despite inflicting ruinous loses


 on Mordor’s forces. Overcome by numbers alone, he was taken prisoner.


        But once he had him, he faced another quandary. If he slew Glorfindel, nothing would


 stop the Valar from simply resurrecting him more powerful than before, baptized ever more


 brightly in the burning light of Valinor to return enraged by his personal treachery to destroy him


 and all his works, including his Ruling Ring of Power.


        He ordered his balrogs to tortured Glorfindel relentlessly. They did so wantonly and


 cruelly, tormenting his body with devastating agonies, but stopping short of killing him.




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        They broke his bones, rent his flesh with their cruel and burning whips, and slaughtered


 the prisoners he’d come to save in front of him. The balrogs blamed him for their deaths, and the


 deaths of all who died on the siege fields that Glorfindel had failed to protect. The only reason


 Sauron hadn’t already surrendered was because he had been waiting to ensnare Glorfindel.


        Now they had. The balrogs laughed at his shock and reminded him day after day through


 their torments of everything balrogs had suffered at his hands.


        Day after day, month after month, Sauron personally supervised many of his tortures and


 he subtly sought to pull from Glorfindel’s mind the strengths and weaknesses of Gil-galad,


 Círdan, Celeborn, Elrond, Elendil, Anárion, Isildur, and all their men.


        He weakened daily but he swore he would release his fëa and die before he broke. In his


 cell, his body crushed but not conquered, with death once again so very close, and Glorfindel


 ready to welcome his end, Sauron chained him down with his hands and individual fingers tied


 to the arms of an iron chair, except for the third finger of his left hand.


        He propped a monstrous ax above Glorfindel’s wrist, prevented from falling by a slender


 stick tied to a rope he held. He dismissed his balrogs, locked and barred the door, and removed




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 the One Ring, the Ruling Ring of Power from his own hand and placed it on the third finger of


 Glorfindel’s left hand, keeping his fingers around the outside of the band.


        What little remained of Glorfindel’s depleted strength rose ever so slightly at the sense of


 potency. He could not help but try to master the vitality and harness the power of the One. But he


 was too weak. Sauron lent him a tiny fraction of his own might and he unthinkingly accepted,


 and all of the doings of Sauron’s Rings of Power were revealed to him: the Nine had enslaved


 the mortal Kings of the North and East, Rhûn, Khand, East Harad, Nurn, Hildórien, and others.


 He knew all the lands and which peoples were doing the bidding of Sauron, some openly, others


 in secret; three of the Seven were destroyed, and two others were right here, on Sauron’s other


 hand; only one of the Seven was missing, carried and guarded by an unknown Dwarf.


        Celebrimbor’s original Rings of Power and the Three Sauron had tried to have a hand in


 making and all their works, most especially Celebrimbor’s Master-ring were as they had ever


 been: outside Sauron and the One’s knowledge and corruption. He obscenely lusted after those


 Rings; their power, the identities of their Ringbearers, all their works and creations, but the


 Master-ring of Middle-earth above all others, if only to destroy it.




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         With this ever so slight, Sauron-assisted surge in his strength, Glorfindel’s will grew and


 he tried to bend what little of the power of the One he could master to his will. Sensing this,


 Sauron removed the One. Suddenly, Glorfindel burned with a longing like no other desire he had


 ever known or dared imagine: to again feel the darkness of the One which had sustained him,


 filled him with power, knowledge, purpose, and dark desire, once more upon his hand.


         Sauron laughed and put the One back on his own finger. What little was left of


 Glorfindel’s mind was finally revealed to Sauron, secrets that had not been revealed to him, but


 he had learned unavoidably by chance on his own: Elendil wielded Narsil, forged by Telchar,


 who had forged Angrist, used to cut the Silmaril from his master Morgoth’s Iron Crown. Gil-


 galad carried the enchanted Spear Aeglos, forged by Celebrimbor, and used after the War of


 Wrath to kill the thousands of fleeing orcs who ever attacked Lindon, but who now would not


 stand and hold the line before Gil-galad and the icy death of Aeglos no matter what Sauron did.


         In the wake of Glorfindel’s lust for the One, the will of Ulbandi which she had


 impregnated within Melkor was at last achieved: one of the Eldar, a spirit as bright and pure as


 any Valar or Maier was at last corrupted and now desired the One and earthly power above all


 else, including the will of Ilúvatar.

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        Thanks to his treachery and Glorfindel’s failure of resolve, many of the strengths and


 weaknesses of his enemies at his gates were revealed. Knowing the nature of the threats gave


 him ideas to counter them. Perhaps he really could surprise Gil-galad and Elendil in combat, his


 only hope to defeat them. But Sauron wanted to know more. He left and his balrogs returned, not


 with their whips, but with fell meats and drinks. Day after day, in addition to torments, they


 begrudgingly fed these to Glorfindel but not before fouling them with filth.


        He began to recover a little strength, and Sauron returned. He again sent his servants


 away, removed the One from his own hand and placed it on Glorfindel’s finger. But this time,


 Glorfindel welcomed the feel of the One upon his hand and embraced its corrupted power.


        This allowed Sauron to dive deeper into his mind and he learned much more than before:


 Gil-galad wore one of the five for Elven Lords of the Elven forged by Celebrimbor. He had


 passed Sauron’s precious Three to other Keepers. Elendil wore one of the Five for Mortal


 Warriors and Isildur another. Surprisingly, Anárion had been killed. Not in combat, crushed by


 some random stone hurled by an onager. His Ring had been stolen. By whom? No one knew.




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        For months, again and again, Glorfindel and Sauron strove, one against another, and


 secrets were revealed to Sauron which Glorfindel did not even know he carried, or did not realize


 were secrets, but had been unknown to Sauron and proved invaluable.


        He learned his later Rings of Power were far less potent than Celebrimbor’s originals. He


 wanted the names of the Ringbearers, the abilities and locations of every Ring, and as always,


 most especially the Master-ring. For months as their wills fought, Glorfindel began to understand


 the enormity and subtlety of the dark enchantments Sauron had used to corrupt Celebrimbor’s


 second set of Rings, and most ingeniously forged this One, until his mastery rivaled Sauron’s.


        He had been tortured, starved, beaten, wounded, poisoned, but his strength and skill had


 grown. He knew by dint of ingenuity, he had secretly found a way to exceed his Enemy. The


 moment he felt the One on his finger again, Sauron would be vanquished.


        He watched the Necromancer approach and remove the Ring from his own hand. He


 readied himself to lash out with all his Ring enhanced Elven power the moment he wore the One,


 even though it might cause the destruction of his body and cost him his life, he would wrench the


 mastery of the One away from Sauron and become the new Lord of the Rings.




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        The Necromancer laughed and returned the One to his own hand, commanding his


 balrogs to stop torturing and feed him better meats and drinks, and allow his body to heal.


        They set his broken bones, salved his open wounds, and gave him antidotes to their


 poisons. His began to heal and his own Elvish strength slowly returned.


        Sometimes, though now less often, Sauron came late at night, dismissed his servants,


 barred the door and placed the One on the feeding table just out of Glorfindel’s chained reach,


 and watched him writhe, squirm, pant, reveal his own dark desires, completely overcome and


 humbled. A terrible understanding burst in Glorfindel: he learned the meaning of lust.


        Stronger than anything he had ever known, the longing never left him to feel the One and


 he knew he would do anything, anything, to again experience that feeling.


        Day by day, as the cruel balrogs continued to feed him and his strength grew, so too grew


 his lust, higher and stronger, darker and deeper than even his returning power.


        One day Sauron told him it was over. He no longer had any use for him. The Captains of


 the West had refused his terms for Glorfindel’s release, and Gil-galad and Elendil had rebuked


 Mordor’s ambassador. Ashamed and angry, he had lowered his demands to almost nothing.




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        They laughed at his emissary, catching him out in his lies and refused to parlay for


 Glorfindel’s release anymore, abandoning him to endless torments and whatever grisly end his


 balrogs could devise. They would mourn him after Sauron’s fall. They were sure, they said,


 Glorfindel would do the same in their place, and so of course he would understand.


        Mordor’s ambassador asked why they were refusing even the least of prisoners in


 exchange for one of the most powerful of Elven Lords.


        They hesitated and at first refused to answer. But after much prodding, flattering, and idle


 chattering, cautiously, swearing the ambassador to secrecy, they said they feared if Glorfindel


 returned he would be tainted, somehow corrupted, by the Dark Lord and his Dark Arts.


        ‘How?’ Mordor’s emissary had asked.


        They did not know. But if, by some mischance or unanticipated fortune of war, he did


 return, they would never again be able to share their trust with him. They even let it ‘slip’ in


 private, of course, that in truth, secretly, they would prefer if Sauron executed Glorfindel, and


 removed the burden of what they would do if somehow, against all hope, he actually returned.




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        Glorfindel’s final hope was crushed by his own allies and friends. He hung his head in


 shame because it was true: he had been corrupted, and in their place, he would have done the


 same to Gil-galad and Elendil if they had been captured and somehow returned.


        The Necromancer commanded his balrogs to bind Glorfindel in chains, carry him to


 Orodruin and throw him in, to destroy not just his body but his fëa in the dark enchantments of


 the Crack of Doom to prevent him from being reincarnated in Aman and one-day return, again.


        The balrogs led a great company of orcs and goblins and trolls with Glorfindel chained,


 across the plains of Gorgoroth, up the sides of Orodruin, and with every step, his terror grew:


 once they threw him in and he died, his fëa would return to Valinor horribly disfigured and


 corrupted by his ravenous and all-consuming lust for the One.


        Fouled and festering, Mandos would deny his fëa entry to his halls. He would never be


 reincarnated. Perhaps not allowed to return from Middle-earth at all. Rejected by the Valar, he


 would wander, a footless spirit, lamenting his outcast state, alone, forever.


        But the Valar could do worse: throw him into the Void. They might even lock him in the


 same dungeon with Melkor’s head and thrashing body, screaming in endless agony, whose fëa




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 Glorfindel’s own now more closely resembled than the Valar’s. There, Melkor would torture him


 relentlessly, pouring his own anguish and agony into Glorfindel for all eternity.


         The balrogs strode into the dark lightless tunnel bored in the side of Orodruin. But it


 began to erupt. Poison gases choked their lungs, searing heat blistered their skin and the balrogs


 stumbled, overcome by the smoke, dropping him violently to the hard stone floor.


        Sauron had made a mistake having his balrogs feed Glorfindel in anticipation of trading


 him to the Captains of the West. He had recovered just enough of his seriously depleted power


 and now he could act.


        He grabbed the ring of keys off the belt of the Captain of the Balrogs, who knelt beside


 him trying to stand, coughing, asphyxiating, drowning, and only succeeding in breathing deeper


 the noxious and poisonous fumes.


        But Glorfindel lay flat on the ground where the air was clear. He unlocked his chains,


 breathed deep and rose, a terrible Elven Lord at last revealed in all his wrath. The balrogs could


 only vomit with bulging eyes and strangled cries, their blistering red skin turned blue and they


 collapsed at his feet. Before they could recover their strength in the cleaner air, he threw them




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 over the edge, one after another, into the Crack of Doom to the hellish fires below, and he


 watched gleefully as his tormentors struck the surface of the fire and flashed out of existence.


        He turned and saw the hordes of orcs, goblins and trolls that had accompanied his


 executioners, who had been waiting outside, now pouring into the tunnel, furious at Glorfindel’s


 treachery, and terrified at what Sauron would do if they did not kill this rouge Elven Lord.


        There was no hope. He was too weak to fight, much less conquer so many foes. He could


 barely stand. He’d only bested the balrogs by a mischance of the volcano. But a stroke of genius


 struck: he called on the corrupted darkness Sauron had injected into his fëa with the One at the


 very spot it had been forged and infused into the Ring with the Enemy’s own dark power.


        He felt this dark corrupted power grow to ghastly heights he had never imagined. He


 became one with the heat, fires, deadly fumes and smokes of Orodruin. They rose at his


 command and swept away his enemies, burning, rending, casting, and crashing them down the


 sides of the mountain to fiery, horribly painful deaths.


        He summoned a storm of dark clouds and smokes that turned the daytime skies to night


 and blanketed the lands, and Orodruin erupted.




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        An inferno vomited from the Sammath Nauer destroying everything in its path. The


 armies of Mordor fled, but even across the plains they could not escape their fiery deaths.


        Cloaked in smoke and darkness, Glorfindel stole over the land on foot and began his


 journey to return to Gil-galad and Elendil, who were still laying siege outside Barad-dûr. He


 treaded over desolate pits and thorny brambles, drank polluted waters when he could find them


 and when he couldn’t, drinking putrid, sometimes stale and half congealed blood. He fed on


 rotting corpses, grew in strength and made his way back to the Alliance.


        Shock and surprise could not begin to describe Gil-galad and Elendil’s faces when


 Glorfindel was brought before them, a tortured remnant of the Elven Lord they remembered.


        They did their best to heal him with all their crafts and arts, fed him and told him to rest,


 while Glorfindel, with halting speech and faltering strength, told them everything that had


 happened to him while a prisoner, except that Sauron had forced him to wear the One and he had


 Fallen to its remorseless and relentless Lust, and the Enemy had learned all their secrets.


        At last, the Necromancer left Barad-dûr and assaulted the Alliance, and no one could stop


 him. Every death was even sweeter because this would not have been possible if Glorfindel had


 shared all he knew with his allies.

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        They could have changed the depositions of their forces and modified the enchantments


 on their weapons. More than the deaths, Sauron reveled in his success corrupting Glorfindel, one


 dark conquest breeding another, and another, and another.


        When Sauron encountered Aeglos, he broke it and slew Gil-galad, but he was struck a


 mortal blow by Elendil before he could kill him. Dying, he searched their fingers for the Rings of


 Power that would save him, their clothes and everyone and everywhere around them, but he


 could not find them though he had seen them worn so clearly in Glorfindel’s mind.


        Because Glorfindel had told them the Enemy had learned his thoughts, though not how.


 Before facing the Necromancer, powerless to alter the enchantments on their weapons, they used


 their deaths as a trap and passed their Rings to new Keepers.


        Glorfindel had spent most of his time with Isildur, the youngest and weakest of the


 mighty, whispering to him alone the most precious secret: which of his fingers Sauron wore


 invisible to mortal and immortal eyes, the One. Somehow, inexplicably known by Glorfindel.


        He told Isildur he chose him because his was the brightest and most uncorruptible fëa.


 Only Isildur could be trusted to remove and claim the One, not his father Elendil, nor even the


 great High Elven King Gil-galad, and Isildur believed The Lie: he had a Right to the One.

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        After the mortally wounded Necromancer shattered Narsil and slew his father, Isildur


 was ready. Thanks to Glorfindel, he knew his own sword would break but the already broken


 pieces of Narsil would be immune to further damage and he could use the broken blade above


 the pommel to cut off the third finger of Sauron’s left hand. Just as promised, Isildur found the


 One and a mortal succeeded in doing what the immortal Elves, Valar and Maier had failed to do:


 he claimed the Ruling Ring of Sauron as his own.


        Glorfindel had carefully woven upon his heart deceits and lies, prepared him to resist the


 entreaties of any of the surviving Captains of the West. Though Elrond and Círdan put forth all


 their skill and power to convince Isildur, or bend him to their will in sight of Orodruin where


 they could destroy the One, the deceits of Glorfindel mouthed by Isildur convinced them he had


 immediately intuited everything he needed to master to defeat them if they opposed him.


        But the Alliance was not wholly defeated. The moment the One burned Isildur’s hand


 and he removed the Ruling Ring, Celeborn, Amroth, Nimrodel, Galdor and Celebrían put on


 Celebrimbor’s Elvish Rings, and Elrond, Galadriel, and Círdan put on the Three. They and their


 Elvish forces routed Mordor’s armies and saved legions of Elves and Men.




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        The Captains of the West never knew what had happened to Glorfindel. But their fears


 were more than equal to the task of imagining the worst and he was forever shunned.


        The One had shrank and cooled, and months later Isildur wore it to escape the marauding


 orcs driven towards him by Glorfindel himself. He dove into the waters of the Anduin invisible


 wearing one of the Five for Mortal Warriors, Oialëhén the Ring of Light, and the Elendilmir on


 his brow but throwing off his armor and other arms except his short sword Eket.


        Unknown to either of them, Elrond had followed Isildur and he used Nenya to deceive


 the malevolent spirit in the One. It believed another darker fëa was near, one resembling


 Sauron’s or what Glorfindel might have become if he had Fallen to the Shadow. He needn’t have


 bothered. Glorfindel waited nearby to kill Isildur and claim his Rings. Elrond reversed the


 surface currents to keep Isildur swimming in place and other waves to push the orcs back,


 ironically, towards Glorfindel, who slew most of them and turned the rest back on Isildur still


 swimming feebly in place. Glorfindel saw him half-in, half-out of the shadowing wraith world,


 touched the minds of the orcs, and most brightly through the Elendilmir revealed Isildur to them


 as a being of terrible light. The One sensed Glorfindel and Elrond’s illusion, betrayed Isildur, and


 slipped off his finger as orcs shot him full of arrows.

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        Glorfindel sensed Elrond nearby using Nenya and wove cunning spells of concealment


 learned from the One coupled with his own Elvish might and cunning mind, shrouding himself


 and his spells from the eyes and mind of any and all who lived, but most especially Elrond.


        Glorfindel killed the last of the orcs and extended his senses, calling to the One,


 searching for the Ruling Ring, while Elrond used his power and Nenya to sift the waters to find


 the One and return it to Mordor to be unmade in the Crack of Doom.


        Back and forth they strove, Elrond versus Glorfindel, though Elrond knew him not, one


 against another, one of the most subtle yet intense duels ever fought went unrecorded, while the


 punctured and drowned body of Isildur floated downstream invisible still wearing Oialëhén.


        A third player in this game, the One itself sensed the deadly dueling Elven Lords and


 used its own dark sorcery to conceal itself and sink to the bottom of the river where it would be


 safe from the destructive intentions of Elrond and all Elvish kind.


        Sensing he was going to lose, Glorfindel wove another spell: no Elven kind or Men other


 than himself could perceive or rescue the body of Isildur or the One from the swiftly flowing


 waters, defeating Elrond’s attempts to find and unmake the Ring. But Elrond denied Glorfindel


 and the One the reunion they both desperately desired.

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        The being Elrond did not recognize as Glorfindel vanished from his senses. He searched


 for many more days, sifting the waters of the Anduin, but he found nothing. Elrond despaired,


 believing Isildur and the One had been swept out to sea despite him holding the waters in place.


 Exhausted after many days of fighting this unknown power he imagined was a balrog, Elrond


 abandoned his search, released the surface waters of the Anduin and warily and wearily departed.


        When he was gone, Glorfindel waded into the river and desperately swam the length and


 breadth and depths for days without count, searching, endlessly searching. Exhausting himself to


 the point of collapse, he never found the Ruling Ring nor Isildur’s body. The Ruling Ring passed


 from the Lore of Men and Elves, and for a time was lost to history.


        Oialëhén, like the Rings, had the power to preserve and prevent decay. Isildur’s body did


 not wither or decompose. It lay invisible among the reeds and marshes of the Gladden Fields for


 centuries. Thousands of years later, it was not a Men or Elves who found Isildur’s invisible


 remains but the wizard Saruman using his Maier power and senses, searching for any trace of


 Isildur or the One.


        Stripping Isildur’s long dead body of everything, Saruman found the Elendilmir on his


 forehead, the golden chain around his neck on which he’d worn the Ruling Ring, and Oialëhén

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 which Isildur still wore on the third finger of his right hand. He rejoiced believing he had found


 the Ruling Ring. He carried the Ring and his servants carried Isildur’s body and things back to


 Isengard. He hid his treasures in a secret room and burned the body in his furnaces to remove all


 traces of guilt. He wore and tried to learn the secrets of this Ring. But his joy began to fade with


 the realization this was not the One. It was some other Ring, most likely one of the lesser Rings


 forged by Celebrimbor or the Mirdainions, a Ring for mortals whose power he could not access.


        Furious, his efforts thwarted, Saruman tried to break this Ring to discover whatever


 secrets he imagined it contained, hoping to learn how it had been forged or what it did. But it


 was beyond his power to break, unmake, destroy or mar, even in his hottest forges.


        Over many ages, Saruman eventually gleaned just enough from Oialëhén to deceive


 himself into believing he had learned enough to forge his own Rings of Power. After many more


 years of trying, painful years floundering full of blunders and frustration, it became clear he had


 been wasting his time. All those years of trial and error came to naught. His great scholarship,


 wisdom, and prodigious industry had been consumed in vain pursuits, producing nothing.


        But his pride would not let him stop. He had to craft a Ring. So he created Ómataina, the


 Ring of Voices, Deceptions, Corruptions and Control. But this was indeed one of the lesser

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 Rings. Even in the moment of his accomplishment, awash in his pride, he could not deceive


 himself into believing Ómataina was not in fact the very least of Rings, the least of all the Rings


 of Power ever forged by Dwarves, Elven Lords, Man or Woman, Maier or Valar.


        Contemptuously, but dressed as if he bestowed a princely gift, he gave Ómataina to


 Gríma son of Gálmód, Man of Rohan, chief counselor to his enemy King Théoden. Gríma gained


 the sorcerous power of Saruman’s voice and corrupted Théoden, King of Rohan and his kingdom


 Fell under the dark spells of the wiles of the Wizard.


        During the War of the Ring, Saruman captured Gandalf the Grey and held him captive in


 the Tower of Orthanc. It was Oialëhén he flaunted before Gandalf, pretending he had forged this


 more potent Ring himself. He never knew if Gandalf believed him. In death, he didn’t care.


        Glorfindel returned to Imladris. He shrouded the darkness of his corrupted fëa with the


 spells of concealment he’d learned and modified from the One, masking his twisted malevolence


 from the Elves, the senses of Elrond, his sons, and even his brother Exile Gildor.


        Years passed. Almost another entire Age. He waited, always listening for news of Sauron


 or the One Ring, or any of the others. After centuries of tediousness, Elrond told him the Nazgûl




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 had been seen riding through Eriador hunting Aragorn, who was returning to Imladris bearing a


 great burden. He asked if Glorfindel would help find Aragorn and aid him to return safely.


        Glorfindel agreed and hoped Aragorn’s burden was some rumor, some secret knowledge,


 or in his wildest imaginings, perhaps even a map or key disclosing the long hidden location or


 opened a door to the One Ring of Power, the Ruling Ring of Sauron, which every fiber of his


 being had never stopped longing for.


        He rode through the wilds upon the back of his Elven horse Asfaloth, one of the Mearas,


 tirelessly searching for Aragorn and his burden, more fervently than even Elladan and Elrohir,


 who were especially close to Aragorn having helped their father raise him.


        After many days of endless hunting, Glorfindel found Aragorn in late October, on the


 East Road in the company of four halflings. One had received a terrible wound from a Morgul


 blade wielded by the King of the Nazgûl. Aragorn explained this hobbit named Frodo Baggins


 was the one who bore the burden. But Glorfindel couldn’t think of a way to ask Frodo what his


 burden was. Nor could he find a private moment to search him and his things for a map if his


 wildest imaginings were true. He felt the power of Sauron hanging about Frodo like a shroud.




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        But he believed it was the splinter of the Morgul blade in Frodo’s shoulder, forged by


 Sauron in Orodruin. Even just this smallest brush with the Dark Lord’s power made Glorfindel


 exult in the thrill of the touch. He did his best to heal Frodo to prolong his contact with the


 malefic forces he sensed the hobbit carried.


        After days of traveling together, the Nazgûl found them. Glorfindel sent Frodo away


 across the Ford of Bruinen on the back of Asfaloth commanding him to flee and not drop Frodo.


        But that stupid hobbit stopped on the far side of the Ford, barely in Imladris, not fully


 protected by the power of Elrond, and far too close to the Ringwraiths. He stood in Asfaloth’s


 stirrups and shouted in some misguided, feeble display of defiance.


        The Nazgûl cried in unison and Glorfindel heard for the last time the sound of Sauron


 calling through their voices from Mordor. The scheming secrecy of Elrond and the depths of


 Glorfindel’s own stupendous folly were revealed, “‘The Ring! The Ring! they cried.’”


        The realization struck him dumb: the One, the Ruling Ring, the Ring of Sauron he had


 searched for, long for, dreamed of and imagined on his finger for over three thousand years had


 been hidden right in front of him for the last three days, carried by the hobbit Frodo Baggins who


 Glorfindel had literally held helpless in his hands.

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        Three of the Nazgûl entered the Ford to claim the Ruling Ring but Elrond unleashed the


 waters in a massive flood arrayed in the form of White Riders by the power of Gandalf the Grey.


 They were caught in the floodwaters amid boulders, crushed, and swept away.


        Glorfindel threw off his hröar stripping away all semblance of human shape and form,


 manifesting his wrath at the deception of Elrond - driving it into the Nazgûl like a burning spike.


        Against an Elvish Lord, the Nine together might have stood and even won. But against


 this Elven Lord whose power had been amplified by the corrupting influence of Sauron, not even


 the Nine united could withstand. He drove five of the remaining Ringwraiths into the magical


 floodwaters while that stupid Dúnedain and his pathetic little hobbit friends jumped up and down


 yelling pointlessly, waving burning matchsticks in their hands.


        Though only eight Nazgûl rode into the waters on their horses, all Nine were unmade and


 their horses perished, the last who tarried on the shore by Glorfindel’s hand and fury alone.


        He prepared to launch himself over the surface of the flood, catch Frodo Baggins and


 seize the Ruling Ring but Frodo fell from Asfaloth’s back and he was picked up by Elladan and


 Elrohir, the sons of Elrond. Within them the power of their father burned.




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        They carried Frodo the rest of the way to Imladris. There, Elrond healed him, secured the


 Ruling Ring on a golden chain around the wounded hobbit’s throat, and he or one of his sons


 stood vigil over Frodo, until Gandalf returned. The twins departed to search the land for any


 vestige of the Nazgûl while Gandalf or Elrond stood vigil over Frodo.


        It was Elladan and Elrohir who found the eight other dead horses of the Ringwraiths and


 the tattered remains of one of the Nazgûl’s cloaks.


        Now Glorfindel knew exactly where Sauron’s Ruling Ring of Power was. But with


 Gandalf and Elrond there, it would be folly to seize the Ring. They would instantly know. Any


 attempt to defeat two of the most powerful beings in Middle-earth without the opportunity to


 learn how to use the abilities of the Ruling Ring against Elves and Maier was destined to fail.


        The agony that gripped him by the throat the next few months as Frodo Baggins and his


 kin gaily laughed and sang and danced and skipped about the halls of the House of Elrond like


 the imbeciles they were was almost impossible to endure.


        It came closer to breaking him than anything else he had suffered. It was as terrible a


 torture as any he had ever known, as painful in its own way if not more so than the torments of


 Sauron and his balrogs in the Tower of Barad-dûr.

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        When Elrond called a Council and spoke of destroying the One, Glorfindel hid his alarm,


 his anguish, his horror, by speaking up and affirming it had to be done.


        Privately, he told Elrond he would do anything to defeat Sauron and avenge the torments


 he had suffered, even at the cost of his life, which he would gladly sacrifice, he confided, to aid


 the Ringbearer in any way to carry Sauron’s Ruling Ring to Mordor where it could be unmade.


        Did Elrond suspect him? He would never know. In his heart, he believed Elrond must


 have. Always, those who survived the tortures and imprisonments of the Enemy and returned had


 been mistrusted and subtly shunned, just as Glorfindel had. He could think of no other reason


 Elrond did not make him one of the Nine companions of the Company of the Ring, to


 accompany Frodo to Mordor. There, he could have waited until the perfect opportunity, killed


 the hobbit, and claimed the Ruling Ring as his own.


        Even though he already felt certain Elrond would never name him one of the Companions


 of the Ring, on the day Elrond announced it was not Erestor, not Gildor, nor Galdor, nor Elladan,


 Elrohir, nor Glorfindel, but the young Prince Legolas, an uncultured, unlearned, and almost


 helpless child-prince of a woodland Elf who would represent the Elves, Glorfindel could barely




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 contain his fury. His body burned for days with the greatest hatred for Elrond he had ever


 known, greater in that moment than his hatred for orcs or balrogs, or even Sauron had been.


        On the evening the Company of the Ring set out on foot (on foot!?), Glorfindel hid and


 watched in secret as they departed Imladris on roads unknown for Mordor.


        For weeks, he argued with himself. What could he say, what excuse could he give? In an


 agony of uncertainty, he could not decide how best to leave Imladris without arousing Elrond’s


 suspicions, which might have resulted in being followed by Elladan or Elrohir. Their watchful


 presence was a veiled threat. They seldom spoke, always seemed about, but were rarely seen.


        Glorfindel despaired. Even if he left in secret, by now his doubts had produced too large a


 delay. He could never find the path the Fellowship of the Ring had taken. He should have left


 immediately and waylaid them in the woods, risking the wrath of Gandalf, pitting his own power


 against the wizard’s.


        Weeks turned to months and he often imagined if he had one of the legendary palantíri,


 as he knew Saruman and Círdan had, he could have watched from the safety of his own room,


 seen the paths the Fellowship had chosen, and followed while secretly observing them in a


 Seeing Stone of his own.

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        Now with the Ring beyond his reach, many paths seemed clear which had failed to come


 to mind before. His self-immolation was so sever, it was worse than sitting before the Valar in


 Máhanaxar, called the Ring of Doom where he had watched in terror while they exiled Fëanor,


 and later condemned Melkor, beheaded him, and cast the pieces of his body into the Void. But


 beside his own merciless self-condemnation, even the Judgement of the Valar would have paled.


        Finally, one day he gave Elrond a casual excuse to leave, nothing at all profound, the


 simplest, most meaningless thing. It was enough. Elrond had many weightier concerns than the


 doings of every idle Elven Lord within the halls of Imladris. Glorfindel rode off and finally


 accepted the bitter truth: he had been nothing more than a self-sabotaging fool.


        In the wilds he rode east, ever east. If he encountered elves, men or beasts, in his wrath he


 slew them all. Crossing north over the Misty and Grey Mountains in the heart of winter, he did


 not feel the cold. The fires burning in his heart melted the snows wherever he went.


        Past Erebor and the Iron Hills, fording the delta of the Rivers Celduin and Carnen


 recalled to him the Gladden Fields where he’d stood within a hair’s breadth of the One and


 failed, and he remembered it had been Elrond who had kept him from the Ring.




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        Elrond! He cursed his name and swore an Oath: if there was ever a way he could


 conceive once he finally held the Ring, or if by some mischance, design or wile he found a way


 to hurt Elrond before and make him pay for his humiliations and defeats, then he would make


 Elrond and all his kin suffer.


        He had ridden through the Northern Wastes and across the whole of the Wilderlands on


 Asfaloth into Rhûn. Then south to the borders of Khand. He turned west over the plains and


 entered the unguarded borders of Mordor easily from the east, unopposed.


        Passing the forts along the roads into Mordor between Rhûn and Khand, Glorfindel


 learned one of Sauron’s greatest secrets, discovering hoarded sources of wealth and power.


        Many were the orcs, Easterlings, trolls and other foul beasts he slew. Never before had he


 felt such wantonness to kill and destroy. He exulted in his freedom and savagery.


        The armies of Mordor had been emptied from the lands and he rode where he willed,


 searching, ever searching for the essence of Frodo Baggins corrupted by the Ring, which he now


 had firmly imprinted in his mind. One morning when the sun never rose and the skies stayed


 black as night he felt it: the faintest tug, the pull, the draw of that dark and wonderful corruption


 of noble hobbit and Shadow Arts which told him he was approaching Frodo and the Ring.

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        In the distance were the slopes of Orodruin he remembered well. Upon his mount he


 flew, driving his horse as he never had and he didn’t care at any moment he might burst


 Asfaloth’s heart because he sensed on those slopes carried by Frodo Baggins, the Ruling Ring of


 Sauron ascended towards the Crack of Doom.


        Before he could reach the mountain, a terrible cry rang out high above his head and far


 faster than any wind ever blew the Nazgûl flew on Fell Beasts with wide-webbed bat-like wings.


        They passed screeching so high overhead they were out of sight but a monstrous scream


 erupted from their streaking forms and they flared brightly flickering and went out.


        The ground shook and fractured, the lands heaved buckled and broke, and in the distance


 the Tower of Barad-dûr, which rose like a scar on the sky shuddered, shook and with the rending


 of stone and steel, the Dark Tower of Mordor shattered and the pieces came crashing down.


        Glorfindel knew the terror he felt in his heart which his mind had tried to deny was true,


 the One, the Ruling Ring of Sauron, the Ring of Power he had lusted for and perhaps even loved


 as only a dark and corrupted thing can love had been unmade and was no more.


        He reined his horse, fell to the ground and wept the bitterest tears he had ever known.


 The Ring was gone. Gone. His Ring!

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        He realized he had nothing else to live for. Why wait for some mischance to bring his


 end? He rose and sprang upon Asfaloth’s heaving back.


        Seeing Orodruin vomiting fire straight up into the sky and bleeding flames down her


 sundered slopes, the time had come to throw himself into the Crack of Doom and join his love in


 death. The moment before he spurred Asfaloth forward to be lost in the wake of his own passing,


 from the sky fell a golden Ring set with a black Cat’s Eye Scapolite stone. It struck the ground


 with a ‘ting’ not far off, bounced twice, rolled down a ravine, and came to a stop behind a rock.


        Not daring to believe the impossibility of the chain of events which had led him to this


 exact spot at that very moment, Glorfindel rode to the rock, dismounted, picked up the Ring and


 knew what he held in his hand: one of the Nine Rings of the Nazgûl.


        He put it on the third finger of his left hand and felt what he had not felt in over three


 thousand years: the hot and dark touch of the power of Sauron flowing through him and giving


 lust and purpose to his light.


        It was not the One. No, never again did he hope to know such sweet and dark delight. But


 this Ring of Power corrupted by Sauron, this Ring of the Nazgûl, though lesser, it would do.




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        He also knew where there was one, doubtless, there were two, and maybe more, perhaps


 eight more Rings of Power waiting to be found on the plains between him and Barad-dûr, and


 within the ruins of the Tower there would be three more of the Seven.


        With a new purpose and a plan, he extended his senses across the plain, his mind attuned


 to the essences of these Rings thanks to the one he now wore. Their fading power called to him,


 yearned for him to come and claim them so his power could preserve whatever remained of the


 dark desires and fading power of Sauron.


        Glorfindel heard a call and saw overhead in the far distance but coming fast, Gwahir, the


 King of Eagles, Windlord, and his brother Landroval, and Meneldor, young and swift flying


 faster than the winds over the plains of Mordor to Mount Doom. On Gwahir’s back rode Gandalf


 though his robes and essence were no longer grey but white, bright white, Valarin white so bright


 it hurt the dark corrupted spirit in his eyes to look upon.


        Gandalf’s senses and the Eagle’s eyes were focused on Mount Doom. Glorfindel hid


 himself and Asfaloth within the same ravine from which he’d picked up the Ring and he


 shrouded his presence and power and the essence and power of all the other Rings of Power


 laying fallen on the plain as the One had taught him to do.

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        Gandalf passed insensate, deceived into believing the power of the Nine had not just been


 diminished and were fading, but had gone out.


        When in truth, coupled with the Elven power of Glorfindel, the Rings of Power of Sauron


 lived on. They gave purpose to his life and his life and power gave voice to the evil of their


 Master who had forged them, and his hate echoed within the dark corrupted bands of gold.


        In the event, it was easy. The Nazgûl had flown over the Gates of Mordor together.


 Almost in formation they had flown back towards Orodruin at Sauron’s call.


        Even if the sun had not risen in the east, Glorfindel would have almost effortlessly found


 the Rings by thought alone. He laughed madly at the irony. For thousands of years he had


 brooded and plotted to find a way by overwhelming power or intricate planning and cunning to


 procure a single Ring of Power. Now they had literally fallen out of the sky all around him.


        Quickly, he gathered seven more of the Nine and extended his senses, but he could not


 find where or what had become of the Ninth. But it had to wait.


        On the plain before him rode a horror of a female shape on a terror of a horse. Her name


 was Thüringel and her skin was grey, as if she was already dead.




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        Worms, lice, ticks and maggots writhed through her hair leaving dark trails of infection


 on her hideously twisted face. She rode forward but her eyes and senses were on the ground,


 searching, ever searching for fallen Rings. Yet her forehead strained in concentration, for she


 wore a golden Ring and its amber gem glowed brightly pouring power into a spell.


        It was one of the Seven, which originally had gone to a great Dwarf king, Malda the Ring


 of Gold, and imprisoned within the amber, a small but ancient dead thing. Having reclaimed it,


 Malda was given to her by Sauron as a bridesprice to keep for her own so he could ever know


 her thoughts as they practiced dark perversions and lusts in Barad-dûr.


        But with the start of the War of the Ring, Sauron had become neglectful of her dark


 desires, and though he guarded her jealousy from his Captains, unlike the other women he often


 ravished and discarded, Thüringel was not in Barad-dûr when the Dark Tower fell.


        When she reached Glorfindel, he smiled and held up his hands displaying the eight


 golden Rings of Power set with different black gems, which he now wore and ruled. Thüringel


 laughed wickedly. Her body shimmered and shifted. She changed into a maidenly beautiful yet


 foully voluptuous form. Her hard eyes burned with fire and her soft skin dripped with desire, as


 lovely and lustful a creature as any a corrupted Elven Lord could ever hope for, or imagine.

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        There, as armies fell or fled, and Eagles passed by high overhead flying west once more,


 Glorfindel and Thüringel wildly coupled upon the sundering plains of Mordor as all around them


 cities burned, the earth erupted fire, and goblins, orcs, trolls, men, and fell beasts died.


        Afterwards, they lay together naked on the plain and whispered bitter somethings in each


 other’s ears, hatching plans and plots for the conquest of the East and the downfall of the West,


 Lungorthin the Balrog, the Captain of the Tower of Barad-dûr, called by his men the Gauntlet of


 Sauron strode upon the plains alone. On the third finger of his left hand he wore a band of mithril


 set with a glowing silver Moonstone, one of the Seven, Telperin the Ring of Mithril, forged by


 Celebrimbor and given directly to Durin the Deathless, First and Ever Lord of the Dwarves. In


 this same hand, he carried the Palantír of Minas Ithil which glowed with a dim grey light. But the


 Rings, and Glorfindel and Thüringel lay hidden beneath Glorfindel’s spells.


        Lungorthin’s eyes were on the ground searching for the fallen Rings and for Thüringel,


 for whom he had long lusted and yet hated, for she always strove to drive a wedge between him


 and his Master Sauron. In addition to the fallen Rings, he would find and take her by force, and


 her Ring, and ruined and ravaged, he would end her life.




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        Glorfindel rose before Lungorthin, threw off his human form and stood naked and


 revealed for what he now truly was: a powerfully dark corrupted Elven Lord with four black


 twisted horns of lust growing from his head, bright copper skin, and incandescent golden hair of


 living fire, “Bow to me! I am your Master Lungorthin, the undisputable Lord of the Rings.”


        Seeing the Rings of Power on Glorfindel’s hands, Lungorthin laughed bitterly and


 contemptuously mocking him, “No, my ‘lord’ you are nothing! Except perhaps, a thrice cozened


 and deceived fool. The hag at your feet has filled your golden hair with lice and your head with


 lies. Do you truly believe wearing eight of the lesser Rings, mere trifles, the least of all the Rings


 Sauron ever corrupted makes you Lord of anything?”


        Glorfindel’s sweet taste of victory turned bitter in his mouth.


        “He lies!” Thüringel screeched. “He would say anything to distract you so he can kill


 you, take your Rings, and me for himself. For ever I scorned him and ever he lusts for me!”


        Glorfindel knew it was true. He picked up his sword and strode forward to slay


 Lungorthin, who stood before him laughing. Lungorthin was not one of the lesser, wingless


 balrogs, but a great Balrog Lord. He spread his wings of shadow and flame and rose into the sky.




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        As he flew away he called, “Ask the harlot Thüringel about Celebrimbor’s original Rings


 of Power. They wait for the one who has the cunning and skill to discover who wields them, the


 savagery to slay their Keepers and claim them one-by-one, gathering them together to become


 the Master of them all, and all that is. This I go to do. The day one of us succeeds, the other shall


 fall and before his death proclaim the first, the last and the only true Lord of the Rings.”


        When Lungorthin had gone, Glorfindel and Thüringel armed themselves and rode to


 Barad-dûr where the Tower and walls had fallen. Great hosts strode about the plain plundering,


 looting and murdering, striving for command of the remnants of Sauron’s armies and his hoarded


 treasures. Every one of them imagined himself the new Dark Lord of Mordor.


        In maniac fury at his humiliation before Lungorthin and enflamed with his newly


 acquired power of eight Rings, Glorfindel challenged them all and he slew more balrogs, trolls,


 orcs and men than anyone ever had in any of the wars of the Lamps, or the Jewels, or the Rings.


        Long after the armies surrendered, Glorfindel never seemed to tire or stopped delighting


 in gutting and beheading and dismembering but he was finally stopped by Thüringel beseeching


 him to spare the soldier’s lives and make them willing subjects or unwilling slaves.




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        In the ensuing days, as his newly conscripted armies began to order the wreckage and


 ruin of Mordor, he learned all he could about the original Rings of Power forged by Celebrimbor


 and never touched by Sauron. The thought of all these other Rings filled him with a new lust


 which rivaled what he had previously only felt for the One.


        But his desire for the Master-ring of Middle-earth, which would have ruled the Ruling


 Ring, of which it was only a pale imitation of the one that was truly the One; this eclipsed


 anything and everything he had felt before. He still greatly desired Thüringel, but he desired ever


 more power, to leave and search out and find the Master-ring not even Sauron could have borne


 or conquered. But unlike Thüringel or Lungorthin, Glorfindel knew he could.


        He also knew a palantír such as Lungorthin now had would serve his needs best, for his


 searches must be done in secret, and alone.




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                                            Chapter 10




                                            Absolution




        Before their departure from the fallen gates of Barad-dûr, Glorfindel proclaimed to his


 armies that Thüringel was his concubine. She would rule Mordor in his stead, the first Kingdom


 in his growing Empire of Gondolin Refounded, and he christened her the Queen of Mordor.


        This was exactly what Thüringel had always wanted, which Sauron had always refused to


 give. So great was her dark delight, she joined Glorfindel subduing rival factions which still


 roamed the plains and valleys, and they reveled in savagely torturing, defiling, disemboweling,


 murdering, corrupting and enslaving everywhere they went.




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        With their new subjects properly subdued and obedient, they removed from the ruins of


 Barad-dûr all which had been built, their subjects transporting the fallen walls, halls, gates and


 stones across the plains to Orodruin, whose flames still burned hot but had stopped flowing.


        There, Glorfindel became Thüringel’s pupil in Dark Arts just as he had been her pupil on


 the plains of Gorgoroth in dark desires. She taught him why the fires of Middle-earth burned


 hotter here than anywhere else and why Sauron had chosen Mordor instead of rebuilding the


 fortress of Angmar in the North, the favored land of Sauron’s former Master, Morgoth.


        Obsessed with power but having too quickly been seduced by Ulbandi to leave the Valar,


 Morgoth never knew this was the only place Sauron could have forged the One. Here, the fires


 burned the hottest, not just in Middle-earth but here the fires burned the hottest on Every-earth,


 every magical land ever created by the Ainur, Valar, and any and every other choir led by Eru


 Ilúvatar or any other. The center of the cone of Orodruin was the Nexus of All Realities, the


 Crossroads of All the Worlds that ever were or would ever be.


        Sauron’s desires had grown and the servant had eclipsed his Master. His plans had not


 been confined to the conquest of Middle-earth. That was just the beginning. With his Ruling


 Ring, once he had subdued the West he would create a passageway on this very spot and with

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 Mordor as his base begin his conquests of all the other Earths, every magiced and unmagiced


 reality spreading his immortal tyranny and terror to more lands on more worlds than stars created


 by Elbereth Gilthoniel with which she’d populated the Heavens.


        This was the Master Plan of Sauron, hidden from everyone. Not even that pompous ass


 Lungorthin knew. But Sauron had loved Thüringel as much as any twisted creature whose heart


 is full of malice, hatred, and dark desires could love. She had not only shared her Master’s bed,


 she had also shared her Master’s heart’s darkest desires, and now Thüringel shared Sauron’s


 darkest secrets with Glorfindel while their slaves trembled. For often before coupling, she would


 take a wandering orc or goblin from the plain and drink its blood, returning covered and dripping


 with desire, and they would couple madly before the eyes of any who dared to watch, and many


 did, and all became their slaves and did the bidding of Glorfindel, who wore upon his hands


 eight corrupted Rings of Power, and Thüringel who was the Mistress-Master of his Dark Desires,


 and wore upon her own one of the Seven.


        After the walls had risen atop the four foundation stones of the new Fortress of Mordor,


 which had been laid out in a great square upon the plain, encompassing the round flattened




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 caldera which had once contained the Crack of Doom, whose flames roiled and belched great


 tongues of fire, deadly vapors and black smoke, they joined their many powers and began a spell.


        Not just any spell. Glorfindel and Thüringel wove the greatest and most powerful spell


 Middle-earth had ever known. Using the power of his eight Rings, the one of the Seven worn by


 Thüringel, the entirety of their fëa, their lusts and passions for each other, and tapping the power


 of the Crossroads itself just as Sauron had when he forged the One, from out of the depths they


 lifted the melted and sundered remnants of the One Ruling Ring of Sauron which Thüringel had


 held together with a dark spell of her own using the power of the Dwarven Ring upon her finger


 which had been forged attuned to gold. The pieces of the broken Ring of Sauron rose to the


 surface entombed within a great translucent sphere of volcanic black obsidian.


        They stopped it where their senses told them lay the center of the Nexus of the


 Crossroads of the Worlds and All Realities; the point where every Road to every realm to every


 world converged and they christened it the Master-Stone of Middle-earth.


        When they were done and lay exhausted in their fortress beneath the Master-Stone,


 Glorfindel looked up. In the depths of the smoky volcanic glass he saw the sundered and melted


 dead remnants of the One he had once loved more than life itself.

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        They rested and slept. When they regained their strength and woke, they celebrated with


 the death of many orcs and goblins and trolls, performing dark perversions on top of the Master-


 Stone and they baptized it with their servant’s fouled and polluted blood.


        Then Glorfindel bid Thüringel farewell and rode Asfaloth away in haste. He knew he


 must arrive in Minas Tirith in time for the next step of his plan. Riding through the fallen gates


 of Mordor, he bathed in the Anduin and crossing over, perfumed himself with elanor, brushed


 out his long luxurious, golden hair which secretly had always been his greatest vanity, donned


 his Elven clothes, and masterfully cloaked his Rings and new found power and dark corruptions.


        Outside the Rammas Echor, Glorfindel found and joined the hosts of Elrond and Arwen,


 arriving together before the sundered Gates of Minas Tirith. The people were celebrating their


 great victory and the coming coronation and nuptials of the King.


        After the coronation of Elessar and his wedding to Arwen, as the citizens and guests


 drank and celebrated once more, the King and Queen retired to the secret room atop the Tower of


 Echthilion and conceived the Crown Prince Eldarion that very night.


        Glorfindel cloaked himself in shadow, silent and invisible, and left through the sundered


 iron Gate. He stole upon the mound where the Fell Beast had been burned and its remnants lay

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 entombed. He removed the outer stones, dug up and sifted through the charred and burnt


 remains. Amid the maggots and worm infested rotting gore, he found the deadly once burning


 sword of the Witch King of Angmar, within which dread and horror emanated like smoke. But


 he kept searching and after hours of more digging and sifting, he found the final and most


 powerful of the Nine, Arien, the Ring of the Eclipsed Black Sun, called in secret by Sauron in


 Barzhûrk, Morgul, the Ring of Black Magic. Possessing it at last made him the Master of the


 Nine. Now, anyone who wore one of the others would be his slave. He placed the golden band


 with its glowing black Star Sapphire stone in honor on the third finger of his left hand.


        No one had been able to approach, much less move these things or even touch them.


 Terror, despair and the fear of death had been woven into their essence and rose from them like a


 foul and deadly vapor. Where they had fallen they had lain, unapproachable.


        The body of the Fell Beast had been burned and the remains entombed beneath the


 mound which had been built around them.


        The next day, Glorfindel celebrated the achievements of the great High King Elessar with


 Elrond, Celeborn, Galadriel, Gandalf, and many, many others.




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        Even those stupid hobbits, who had tormented him in Imladris and maimed and murdered


 each other in Mordor while destroying Sauron’s Ruling Ring of Power which Glorfindel still


 thought of as his own. But not even they could stop him from finding a new, bigger and better


 dream, and a better way to conquer and succeed. He joked with them and laughed with them and


 he even danced with them, and he seemed to them as happy as any of them, and if truth be told


 he was much happier. But for entirely different reasons.


        Returning to Imladris with Elrond, he found preparations underway as many elves put


 their affairs in order to leave Middle-earth, sailing West on ships Círdan and the Elves of Lindon


 had been building for centuries.


        Yet no one, not even Elrond, spoke to Glorfindel about his plans. No one asked if he


 intended to stay or go, and if so, when.


        The day Elrond departed to journey to the Havens with a great company of Elves, he was


 joined by Galadriel and many others. Glorfindel joined them too, without invitation or


 explanation, and no one welcomed him, bid him stay, or asked him to leave.




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        In Lindon, after giving Legolas (Legolas!) and Gimli a tour of the White Ship on which


 Elrond and the others would be sailing, Glorfindel made sure to cross their paths the next


 morning as he escaped with the Elostirion-stone knowing he had the power to bend it to his will.


        Almost as much as the thought of finding the Master-ring, he gleefully anticipated the


 hideous anguish this act would cause Elrond and his daughter, the corrosive discords it would


 sow between the High King Elessar and Queen Arwen, and among the remaining members of the


 Fellowship of the Ring, whose membership within the Company he’d been denied by Elrond.


        Out of sight of Legolas and Gimli, he cloaked himself once more in impenetrable


 shadows hiding his essence from even the senses of wizards or High Elves, whether they


 possessed Rings, staffs or Stones, and he waited. But he did not have long to wait.


        From Lindon rode Elrond, a storm of righteous indignation, rage and intended retribution,


 screaming Glorfindel’s name and swearing vengeance.


        Only the Rings prevented Glorfindel’s laughter from revealing he was there right next to


 Elrond, under Elrond’s very nose. Just as the One had been hidden by the wiles of Elrond outside


 Imladris upon the body of Frodo Baggins, right under Glorfindel’s nose.




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        Galadriel, Galdor, Gimli, Legolas and a host of Elves rode hard after Elrond but they did


 not catch him until they entered the Shire and encountered Gildor, Bilbo Baggins and another of


 the seemingly endless hosts of Elves riding West, and Elrond finally stopped.


        Gildor and Galdor convinced him to turn back after they swore an Oath to bring


 Glorfindel to justice but Elrond still insisted Legolas and Gimli ride to Minas Tirith, which


 reluctantly they did. Elrond and the others joined Frodo and Sam, who Glorfindel had once hated


 passionately but to whom now he was indifferent, who were just ahead on the Road.


        Together, they returned to Lindon to board the White Ship with Gandalf and without the


 Elostirion-stone, sail the Straight Road after sundown, and pass West to reunite with Celebrían.


        Still cloaked in darkness and invisible to everyone and everything, Glorfindel returned to


 Lindon beside them, though his senses warned him to be wary of Círdan. He stayed far away


 from anywhere near the eyes or ears or mind of the oldest of the Ñoldor.


        That night, Glorfindel lay hidden on the shore and watched the White Ship sail out from


 East Mithlond, leave the harbor and travel across the ocean growing smaller and smaller. The


 twinkling light from the Phial of Galadriel grew dim. Hours later, it went out.




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        Now there were none left alive in Middle-earth who were mighty enough to stop him and


 he returned to Imladris. Expecting accusations, no one there had heard anything about his theft of


 the Elostirion-stone and he said nothing about it. When inquiries in the form of messengers


 arrived from Círdan, and much later but far more frantically from King Elessar and Queen


 Arwen, Glorfindel sent back he had no idea what Legolas and Gimli were talking about.


        Surely the delusions of two queerly outcast and wandering reprobates who could not find


 peace among the people in their own lands would not be heeded above the well-known service of


 the faithful and ever highly regarded and tirelessly self-sacrificing Elven Lord Glorfindel.


        The steadily dwindling population of Elves saw Glorfindel had no palantír, not the large


 bulky Elostirion-stone, nor any other. Nothing about him had changed. He was the same noble


 Elven Lord they had always known. They had no reason and less concern to involve themselves


 in confusion, and anyway, they were leaving for the Havens themselves. A few asked why


 Círdan and Arwen were making strange and false accusations at the new Lord of Imladris.


        Publicly, he said he could not fathom their behavior. Privately, he let out Arwen was


 jealous it was not her kin, not Celeborn, Elladan, nor Elrohir who now ruled her childhood home,




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 but Glorfindel, whose beauty she wished was borne by the mortal Elessar. She now regretted


 having married him and forsaken her immortality, for as he aged, his form no longer pleased her.


        Too easily was this lie swallowed by the remaining Elves but none more readily than


 Erestor, who had often disagreed with the decisions and policies of Elrond.


        Erestor resented the pride and place given to Elrond’s kin, which none of them had


 earned, while he slaved away in the House of Imladris (formerly the House of Elrond) and


 received no thanks for all he did running the Kingdom, while Elrond had received all the credit.


        Very late one night after a great feast, much drinking and more laughter, while everyone


 else went to bed, Glorfindel invited Erestor to play a game.


        “A game, my Lord?” Erestor asked, smiling. Erestor had always felt neglected and any


 invitation and inclusion was his secret pride and vanity, “What game would you like to play?”


        “It is called,” Glorfindel answered with a smile of his own Erestor did not understand but


 was delighted to see on the bright features of the so very handsome face of Lord Glorfindel,


 “‘What Do I Have On My Finger?’”


        Erestor laughed and took another drink of wine, “How is this game played?”




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        Glorfindel smiled even brighter, “I shall bind your eyes and place on object on your


 finger, and you must guess what it is – without looking.”


        “And if I win, my Lord?” Erestor asked finishing the last of the wine in his glass.


        “Then you may keep whatever it is I give you,” Glorfindel answered.


        “And if I lose, my Lord?” Erestor asked setting down his glass.


        “You must not concern yourself with that,” Glorfindel told him, then quickly added,


 “What makes you think I would ever allow you to lose, fair and noble Erestor?”


        Erestor submitted himself to this game. Glorfindel bound his eyes and lifted the golden


 Ring with a black Cat’s Eye Scapolite stone, which Sauron had told the Elves and Dwarves of


 Edhilon was named Tilion, the Ring of the Moon and so named he gave it to King Khamûl of


 Rhûn. But secretly in Barzhûrk, he named it Harma, the Ring of Possession, and Lunacy, Scars,


 Confusion and Madness. Glorfindel slid this Ring on the third finger of Erestor’s left hand and


 Erestor Fell to Darkness and the Shadow, and he became the helpless thrall of Glorfindel.




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        “It pains me to hear like Maeglin, you have Fallen into folly and the Shadow,” Alatar told


 Glorfindel. “And now you follow, whether you know it or not, willingly or all unwilling, the


 dark paths of Morgoth.”


        Glorfindel laughed and the air about him shimmered, his features shifted and flowed like


 hot wax. His skin darkened to the color of copper, four great twisted black horns grew out of the


 sides of his head, his incisors grew long like tusks, long dagger like talons grew from the ends of


 his fingers and his golden hair burst into incandescent fire.


        “Behold!” he shouted exulting in the freedom to at last reveal his true form, “It shall be


 the last thing you ever see – the beauty and power of Glorfindel!”


        Alatar raised his staff, “Akašân šebeth delgûmâ ibri mâchan.”


        Black clouds filled the sky, obscured the sun, cast the ground in shadow, and icy winds


 whistled through the streets, “Since Shadow you now follow, I will use shadow to defeat you.”


        Glorfindel laughed madly and gestured, and there appeared on his long fingers Nine


 golden Rings set with different black jewels. They glowed with Fire and Shadow, hotter than a


 dragon’s breath and darker than the Void.




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         “Have you ever loved something with such an overwhelming passion the thrill of it


 vibrated through your body with such intensity that was so extreme you knew nothing else would


 ever be as thrilling or as sweet?” Glorfindel asked. “Have you?!”


         “We are different, you and I,” Alatar answered. “I was made in a different world, for a


 different purpose. I do not seek nor exult in pleasure, nor in power.”


         “Then you are a fool!” Glorfindel cried. Great waves of heat and fire radiated off his


 body burning the air between them, coalescing in a column and shooting like a geyser sideways


 across the street at Alatar.


         “Axan arômêz ulban ošošai šebeth!” Alatar cried and he swung his staff across his body.


 From the dark clouds along the winds he’d already summoned came a freezing cold which


 knocked everyone in the street down, snuffed the flames and carried the terrible heat away.


         The Rings on Glorfindel’s fingers glowed brighter, his copper skin grew red as blood and


 hotter, the wooden carts and gate posts lying shattered in the street burst into flame and stronger


 fires no wind could stop shot from his hands at Alatar.




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        “Dušaman rušur ulban ullu ulubôz!” Alatar cried and freezing rains drenched the streets


 like a flood extinguishing the flames before they could reach him, and covering Glorfindel in


 ever growing layers of hard packed freezing ice.


        “No!” Glorfindel screamed falling to his knees beneath the growing weight of ice.


 Gripping his sword, it burst into flames and a great fireball enveloped him flashing the ice and


 freezing rains to steam which hissed and whistled but could not penetrate his sphere of fire.


        Glorfindel rose, furious at how quickly Alatar had nearly beaten him. His sword burned,


 pointed at Alatar and his hair glowed brighter passing from gold to yellow to white too bright to


 look upon and Alatar realized too late – he was blind. He closed his eyes and opened them,


 looked left, right, up, down but it made no difference: all he could see was white.


        Never had he faced such a powerful foe and so quickly feared he might fall, lose the


 contest and his life, and fail in his mission, his fëa sent back to Aman, bodiless and formless, to


 face the Judgement of the Valar in the Ring of Doom in Máhanaxar.


        He drove his staff into the earth kneeling behind it and he called out a string of powerful


 commands, “Athâraigas ašata tulukha Mâchananaškad!”




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        From everywhere above them lancing down from the clouds, great bolts of lightning


 struck the sphere of burning fire, broke it and slammed Glorfindel to the ground.


        Glorfindel rose screaming, pinioned in the lightning. His bright hair stood straight out


 from his head in every direction. His red skin smoked and turned darker, the blinding white


 strands blackened and withered, and the terrible blinding brilliance pouring from his head faded.


        With the last of his strength, Glorfindel threw his burning sword up and lifted his hands.


 His Rings shimmered and his sword hung in the air above him deflecting the lightning and


 driving it into the ground, tearing great rents within the earth and throwing clouds of dirt up


 which fell back down on Glorfindel, but the lighting strikes increased in speed and intensity; the


 sword glowed brighter, burned hotter; the pommel burst into flames and the blade began to melt.


        “I’LL BE BACK FOR YOU!!!” Glorfindel screamed.


        The most powerful bolt yet shattered the sword in a brilliant flash more blinding than the


 light that had blinded Alatar and the terrible heat and flashing lights from Glorfindel went out.


        For a minute more, the lightning tore great holes in the earth up and down the street.


        “Athâra!” Alatar cried raising one hand, and the catastrophic bolts and the deafening


 blasts of thunder finally stopped.

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        Freezing rains drenched his kneeling form and face but the terror gripped him: he may


 have failed to push Glorfindel past his breaking point and not driven him away. Glorfindel may


 have used the power of his Rings to vanish from all perception as he’d just described and be


 approaching to stab or strike him down. If so, there was nothing Alatar could do to stop him.


        He extended his senses which told him, he hoped correctly, Glorfindel had fled. But his


 uncertainty, the pain in his eyes, his blindness and utter helplessness became a mortal fear he’d


 never known. He huddled behind his staff, the freezing rains soaked his clothes and chilled him


 to the bone. It was so much like the mortal terror Eldarion described when he’d faced Estel.


        “Are you all right sir?” an unknown voice asked fearfully kneeling beside him.


        “I don’t know,” Alatar answered, not daring to move. “I can’t see. Where is Glorfindel?”


        “If you mean the demon thing that was burning up the street,” the voice answered, “I


 think you’ve driven him away, sir. The Easterlings outside the Gate are gone.”


        Alatar lifted his head but he was still blind. He thought he saw vague spots coalescing in


 the whiteness and he felt the burning pain in the back of his eyes bite sharper.


        He tried to stand but his robes were pinned beneath his feet. If not for his hands on his


 staff, he would have fallen face down in the freezing mud.

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        “Let me help you,” the voice said. A hand lifted one of Alatar’s boots and pulled the


 folds of his robes clear from beneath one foot, and then the other. Another hand cupped Alatar’s


 shivering elbow and lifted him, helping him stand.


        “What’s your name?” Alatar asked pulling his staff out of the ground and raising it high


 over his head, “Mâchanumâz Amanaišal!”


        The freezing rains stopped falling and Alatar felt the warmth of the sun on his face.


        “Tom,” the voice answered in the sudden silence.


        “How old are you, Tom?” Alatar asked.


        “I’m nearly thirteen sir,” the child said.


        “What are you doing here Tom?” Alatar asked.


        “My father was a militiaman killed at the fall of the Prancing Pony,” Tom answered. “So


 it fell to me to defend the East Gate in his place.”


        “What if the Easterners had killed you?” Alatar asked.


        “Then I should be dead sir,” Tom answered. “But I will have died doing my duty.”




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         “Listen Tom,” Alatar said placing his hand on the boy’s head. “I don’t want you to die. I


 want you to live, to report to everybody all you have witnessed so someday, someone will


 remember. Will you do that for me, Tom?”


         Tom answered solemnly, “It would be an honor to serve the wishes of the man who saved


 the city.”


         “Very good,” Alatar said lifting his hand and silently completing the spell of protection


 he’d woven, “Now hurry home, Tom. And don’t forget.”


         “I shall ride with haste and not forget,” the boy named Tom said, and he was gone.


         The sounds of dripping water droplets pinged and plopped off surfaces all around.


         Alatar inhaled deeply, taking a moment to give thanks and savor his victory. Then he


 whistled and from not far off Silverfall answered and came running, his hoofs clattering over the


 cobbled streets. When he arrived, he nuzzled his nose against his master’s chest.


         “Come my friend,” Alatar said mounting Silverfall’s back. “We must find the Prince and


 see him safely home before the fall of Gondor.”




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                                             Chapter 11




                                     The Wizard’s Apprentice




        “The walls have been breached!” Manus cried shortly after Alatar had ridden away,


 “Orcs and Easterlings are pouring through the North Gate! Everyone to their baskets!”


        Malvia and her lieutenants climbed into their own baskets and Manus led Eldarion and


 the hobbits to his at the head of the caravan. Five little people and a man did not account for


 much of an addition to his two warrior companions in the large space enclosed within his basket


 atop the back of his personal Oliphaunt, Dzombo.


        He blew a great silver horn and Dzombo roared a great and terrible blast from his own


 long horn like trumpet snout in answer and took off, trampling the screens that had hidden them

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 from the eyes of the town folk of Bree, lumbering through the streets while the other five


 Oliphants fell in line behind him and Malvia brought up the rear.


         With his hands on the Oliphaunt’s reins, Manus steered Dzombo towards the greatest


 concentration of clamoring horns, cries of alarm, and sounds of combat.


         “What are you doing?” Eldarion asked. “We are marching towards our foes!”


         “Of course we are!” Manus answered. “Where else should a herd of marauding


 Oliphaunts go in battle if not to destroy our enemies? Nothing that lives can stand against us and


 it’s better to face our troubles head on than run. It’s better for us and it’s better for Bree!”


         “Well said my friend,” Eldarion agreed. “In this, I am your pupil.”


         They reached the breached and broken walls where the militiamen of Bree were in the


 midst of battling and being overwhelmed by an attacking battalion of Orcelven.


         “I hate orcs!” Manus screamed. He blew another blast on his horn and screamed to the


 hobbits, men and dwarves of Bree, “Clear the roads! Get out of our way!!”


         The militiamen of Bree managed to comply (a few of them just barely) and Dzombo and


 the other five Oliphaunts went crashing through the ranks of the Orcelven crushing most of them


 flat beneath their stampeding feet, easily cutting scores apart with a single swing of their thick

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 and sharpened quadratusks. Each one was twenty feet long, stout as a tree and weighed over


 four-hundred pounds. Nothing the Orcelven could do could withstand a single slice or thrust.


        The Oliphaunts’ skin was not scaled, but thick and tough, like the bark of a tree, and it


 seemed to Elanor the Orcelven had as much chance of piercing this skin as they would have had


 piercing the hide of a dragon.


        The stampeding Oliphaunts decimated the ranks of the Orcelven and the militiamen


 retook the shattered wall, drove the last of the battling Orcelven out and slew the horseless


 injured that remained. Manus steered Dzombo and led the herd of Oliphaunts away towards the


 woodlands in the north of Bree. At the Oliphaunt’s trumpet blasts, the last of the Orcelven bands


 fled in terror from their slicing tusks and crushing feet.


        “Nothing can stop us now!” Theo cried.


        “Many things can stop an Oliphaunt, Master Théoden,” Manus said. “But their only


 natural foes are dragons, drakes, grootslangs, and of course their mortal enemies the rikedons.”


        “What’s a rikedon?” Elanor asked.


        “Forget the rikedons,” Sam said. “What about him?”




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        He pointed at a dozen armored Orcelven horsemen dashing out from the eves of a glade


 where they’d laid hidden and now came galloping madly, led by a noble yet queerly disfigured


 warrior whose twisted face burned with malice.


        “Estel!” Eldarion cried as the riders spread out to attack all six Oliphaunts.


        Estel leaped onto Dzombo’s tail and from the rear there was nothing the Oliphaunt could


 do to dislodge him. Agile as a fox, Estel climbed to the edge of the basket slashing and stabbing


 Manus’ two warriors with his sword and thrusting dagger. They fought back savagely and


 skillfully but Estel was the better fighter and he killed the first and took on the second.


        “Here!” Manus said handing Dzombo’s reins to Sam, “You drive.”


        Manus stepped between his passengers and Estel.


        Estel glimpsed the hobbits standing fearfully behind Manus and he regarded Elanor


 especially with a wicked grin, greatly anticipating the moment his opponents fell and she became


 one of his spoils of war.


        “These Men fall like wheat before my scythe!” Estel cried killing the second warrior. He


 jumped into the basket and threw his head back laughing, “Aren’t there any Elves among you to


 give at least a moment’s diversion from all this easy slaughter?”

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        Wordlessly, Manus withdrew the curving blades of his scimitars from their scabbards on


 his back and he stepped forward, challenging Estel.


        “My friend?” Eldarion said placing his hand firmly on Manus’ shoulder and pointing at


 Estel with his eyes, “If you would not mind too terribly much, may I?”


        He wasn’t sure what to make of Eldarion’s polite but odd request in the heat of battle. Yet


 he appeared so confident and certain, without thinking, Manus politely stepped aside.


        Eldarion faced Estel and drew his long and short swords, “My mother’s parents were


 Elvish so you could suppose I am half-Elven if you wish. But whether you would or would not, I


 am the closest we’ve got so I am afraid I will simply have to do.”


        “What tremendous good fortune I am having today!” Estel cried laughing and his delight


 was as terrible as his malice, “The Crown Prince Eldarion Telcontar. You escaped me in the


 palace, prince. But there’s no one here to protect you and nowhere to run. Any last words I can


 convey when next I see my dear, sweet sister?”


        “That will not be necessary,” Eldarion answered stepping forward to attack. “I shall tell


 her myself as she would have wished, I made your death quick. For once, we were kin.”




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        Their swords clashed and for a moment Estel was surprised at the bravery, no, the


 temerity of this reckless and foolhardy soon-to-be dead prince. But the moment passed. With


 every stroke of their swords, his blood lust rose and he savagely pressed his own attack.


        Estel’s sudden ferocity drove Eldarion back towards Manus, Theo, Fastred and Sam, who


 had dropped the Oliphaunt’s reins and stood before Rosie and Elanor brandishing Sting. Sam’s


 Elven blade glowed so brightly it seemed at any moment it might burst into blue flame.


        Estel was much larger than Eldarion and certainly much stronger, perhaps even faster,


 and unquestionably more vicious in his attacks. His heavy blows of ringing steel, sword on


 sword, drove Eldarion back and Elanor felt the ice cold hand of terror on her heart.


        But despite Estel’s onslaught, Eldarion blocked each blow and his backward progress


 slowed, then finally stopped. Blow after blow rang out and for a moment the two warriors


 seemed evenly matched. But Elanor realized on Eldarion’s face there was no fear, only a single-


 minded focus and determination. Inexplicably, she felt a small but stirring hope.


        “I marvel at how you lunge with every thrust,” Eldarion told Estel. “If nothing else, I


 admire your commitment.”


        And that is when Eldarion went to war.

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        He pressed a series of attacks with hammering force, each blow was deft, sure, precisely


 at the center of percussion displaying dazzling skill, driving Estel backwards with surgical


 precision and a fluid grace, like a deadly dance without a single wasted motion.


        Estel stepped back, surprised. Eldarion hammered on. Estel was forced to take another


 step back, a third, and it became clear Eldarion had been merely taking Estel’s full measure


 before ruthlessly commencing and relentlessly pressing his true attack.


        But though pressed, Estel was not beaten. He screamed and redoubled his efforts. But


 every vicious stroke of ringing steel was blocked with ringing steel and he began to sweat and


 grunt breathing heavily while Eldarion, though exerting his maximum effort, was barely winded.


        “Well you use the ricasso on your bastard sword,” Eldarion taunted. “It suits you. Clearly


 the weapon you were born to wield.”


        Estel screamed and leaped at Eldarion, who stepped aside and followed a clever feint


 with a perfectly pitched and surprisingly powerful stroke, one and then another, ripping the


 bastard sword and thrusting dagger from Estel’s hands and flinging them out of the basket.




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        For one shocked moment, Dzombo continued to plod along and the basket rocked


 backwards and forwards, and from side to side, as Eldarion maintained his legs with grace and


 Estel fell back against the edge of the basket and hugged the sides. Their eyes met.


        Estel knew he was beaten. His disbelief flashed to fury and he grabbed at the Ring which


 hung upon a chain around his neck so he could vanish from sight, hamstring this whelp, blind


 and kill the Oliphaunt, and when it fell, his Orcelven troops would hold Eldarion down as he


 tortured, killed, and raped his friends before the Prince’s helpless eyes. Then he would carry him


 off to tortures demanding a King’s Ransom from Elessar, which Estel had no doubt Elessar


 would pay, and he also had no doubt Eldarion would never leave his prisons alive.


        Eldarion knew what would happen if Estel became invisible: not only would he kill them,


 he would also secure another Ring of Power, one of Celebrimbor’s originals, which could give


 him the deciding and deadly edge during his next attack on Minas Tirith, and his family.


        Eldarion’s sword flashed across Estel’s chest, dark blood spurted out, Estel screamed a


 horrible cry of elemental yet helpless fury, the clinging sound of metal on metal rang out, the


 golden Ring flipped up into the air but the mithril chain on which it hung withstood the stroke.




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        From deep within Estel’s chest, came a monstrous roar of hatred and malice which shook


 the basket. He whistled a piercing cry as Eldarion swung his sword to sever Estel’s head but the


 Orcelven Prince leaped backwards out of the basket in a suicidal jump which would bring him


 down to be trampled by Malvia’s stampeding Oliphant coming up behind them.


        But an answering screech sounded, a shadow passed overhead, and the hooked claws and


 bat-like wings of a Fell Beast plucked Estel at the peak of his jump and carried him up at a sharp


 and accelerating angle high into the sky, and his Orcelven cavalry rode away after him.


        “A bow!” Eldarion screamed, “Someone! Anyone!! Give me a BOW!!”


        It took less than a minute for Manus to put a quiver and bow in Eldarion’s hands but by


 then it was too late. The Orcelven riders were lost in the forest and Estel and the Fell Beast had


 flown away with the speed of an attacking hawk. Though still in sight, they were out of range.


        “I’m afraid I’ve made a mistake,” Manus told Eldarion, clasping his shoulder.


        “What mistake is that, my friend?” Eldarion asked, fighting his frustration.


        “It seems you have already met an Elf, or maybe even two!” Manus cried.




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        “If you promise not call them ‘Elf’s,’” Eldarion laughed, “for they would find it most


 offensive, I will introduce you to two more, my uncles Elladan and Elrohir, who will be very


 grateful to you for having saved their wayward charge.”


        “Saved you?” Manus laughed. “That’s not what happened. You saved all of us!”


        Eldarion clapped Manus’ back and they laughed. Then Manus showed Eldarion how to


 help him strap and secure the hobbits in the seats lining the inside of the basket. The hobbits


 were thrilled by Eldarion’s skill but shaken by the deaths they’d witnessed.


        The skies suddenly filled with low dark clouds. Rosie open her brolly from Goldberry, a


 small book fell out, and she shielded herself, Sam and Elanor from freezing rains. Manus


 grabbed a tarp, Eldarion, and huddled over Fastred and Theo, shielding them from the ice.


        Explosive bolts of lightning shattered the heavens and struck the distant gates of Bree.


 The Oliphaunts screamed and bolted in terror and not even Manus could stop them. But soon the


 lightning stopped, then the freezing rains stopped, and as suddenly as they’d appeared, the dark


 clouds vanished. The sun warmed their shivering bodies and Manus, Malvia and her lieutenants


 were finally able to slow and calm the terrified and shivering stampeding Oliphaunts.




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        “What do you think that was about?” Theo asked Sam, who had remained at the front


 with Manus, who now handed him the reins again and allowed him to drive.


        “That was the doings of a Wizard or I’m a Dwarf,” Sam said.


        “Alatar,” Eleanor told them looking back worried at the now distant walls of Bree.


        “Alatar?” Manus asked. “Who or what is Alatar?”


        As Eldarion explained, the Oliphaunts trod on through the woods at a steady pace. The


 walls and hills of Bree, the horrors of battle, of Estel and the Orcelven faded in the distance.


        Sam guided Dzombo north towards the Midgewater Marshes. He dreaded the thought of


 the stinging flies he remembered only too well but it was the shortest path to Rivendell.


        Sam was also worried and anxious about Rosie and Elanor heading into danger. They


 would have been killed by Estel, or worse, who was hunting for him, if not for Eldarion.


        But when Eldarion approached him, all he could remember was how badly he’d


 embarrassed himself in Mugwort’s office and the offensive words he’d spoken to the Crown


 Prince. Eldarion knelt on one knee beside him and looked to the north towards Rivendell.




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        “I spoke out of turn and was disrespectful your Highness,” Sam said. “There’s no excuse.


 And here you saved our lives. My Rosie, and my darling Elanor, I… thank you. I’m sorry, your


 Majesty, for what I said in Bree. I accept any penance you see fit to lay on me.”


        “Sam,” Eldarion told him, “while we are on our Quest, I have asked Elanor and the others


 in our party to call me Eldarion. I would like very much for you and Rosie to do the same. I will


 try to avoid asserting the privilege of my birth though for our survival, there may be decisive


 moments when I will simply have no choice. But right now, I am going to assume this privilege


 and command you as your Prince to set aside your fears for the rest of the day, and do absolutely


 nothing, but enjoy the ride from atop the back of this magnificent Oliphaunt.”


        Sam was never certain why, but for the rest of the day that’s precisely what he did.




                   *              *               *              *                *




        Dzombo and the Oliphaunts which followed him made their way through the forests with


 their massive legs lumbering along and they traveled at a steady pace. Two hours before sunset,


 unpursued and unchallenged, they stopped beside a stream and made camp.

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        Manus, Malvia and her lieutenants climbed down their tall ladders and helped the others


 down. Elanor and the other hobbits thanked them for getting everybody safely out of Bree.


        Manus glanced at Malvia, bowed and kissed Elanor’s hand, “A pleasure, Lady Elanor.”


        Elanor was rarely affected by the attentions of Men, but this Manus Tarqus, son of


 Oduduwa from Harad was something different. Somehow he intrigued her, to the overwhelming


 dismay and consternation of Theo and Fastred. Malvia looked at least as wroth as both hobbits.


        Rosie called to Elanor and they went to the stream to fill their bottles.


        “We owe you our lives and I’m grateful,” Theo told Manus alone. “If ever there is


 anything I can do to repay you, just ask. But there is one thing...”


        “What is that, most honorable Théoden?” Manus asked knowing what he would say.


        “Elanor is mine,” Theo answered planting his thumb in the center of his chest.


        “Oh come now!” Manus laughed. “I’m sure Fastred would disagree and besides, I don’t


 see a ring on either of the Lady’s hands.”


        “There will be!” Theo said.




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        “Théoden! Manus!” Eldarion called putting one arm around Manus’ broad shoulder and


 one hand on Théoden’s back, “This has been a great day in the history of Gondor! If any of us


 lives to tell our tale, and I feel honored to have shared it with two such extraordinary friends.”


        When Rosie and Elanor returned from the stream, Malvia and her crew had pulled the


 baskets off the Oliphaunts and used the hides and poles to erect ingeniously designed tents.


        “In Harad we call these gomondwanes,” she told them. “Malvia and those who travel


 with her go gamping in style.”


        Each gomondwane was round and the size of an Oliphaunt basket, with four large square


 entrances through which two women could walk abreast. Each entrance was adorned with


 Oliphaunt tusks, the honored remains of cherished and well-remembered companions who had


 served faithfully and were sorely missed. War spears framed the entrances and rose through the


 roofs. At the ends of their long tips above the top of each gomondwane, the spears suspended


 hide-sided tower-platforms on which Malvia’s guards stood watch scanning the forest and skies.


        Just as the sun was setting, one of the guards cried out. Eldarion, Manus and Malvia


 leaped up into the watchtower baskets above their gomondwanes and saw Silverfall riding warily


 towards them through the glens with Alatar on his back.

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        “Hallo!” Theo cried. “You found us!”


        “I was nearly blinded by Glorfindel,” Alatar told them once he’d dismounted, “But even


 half-blind, it’s hard to miss the trail of a herd of Oliphaunts.”


        “Glorfindel was the Elf at the East Gate?” Eldarion asked, not the least bit surprised.


        “He was,” Alatar confirmed.


        Though badly shaken by his encounter, he shared all he’d experienced and everything


 he’d learned of Glorfindel’s Fall, not just what Glorfindel told him, but truths he’d sensed hiding


 between Glorfindel’s words, and using his own powers, he’d pulled images, thoughts and


 memories unbidden from Glorfindel’s mind, despite his best attempts to deceive or hide them.


        From them, Alatar heard of their escape from Bree atop Manus’ Oliphaunts, the crushing


 of the Orcelven, and Eldarion’s battle with Estel.


        “How is it you can see after Glorfindel blinded you?” Elanor asked.


        “There wouldn’t be much value in wielding power if there weren’t at least a few


 enchantments a wizard could use to help or heal himself,” Alatar responded. “But even so, I


 could have been killed. It was a very near thing. The intensity of the dark powers granted to


 Glorfindel by his Rings coupled with his own Elven might are astonishing. His sublime mastery,

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 no doubt aided by twenty years of exploration and instruction under the tutelage of Thüringel,


 who attained and mastered esoteric arts and transcendent secrets from witnessing ten thousand


 years of inspired virtuosity during the many defeats and triumphs of Morgoth and Sauron make


 either one of them incalculably dangerous. The two together are a devastating pair.”


        “With foes like these,” Eldarion said, “I cannot afford to squander a single opportunity to


 dispatch one of our enemies. With Estel, I was too focused on his Ring. I should have aimed


 higher. I could have cut his throat. I had the perfect opportunity – and I failed.”


        “You distinguished yourself in combat and should be proud,” Alatar told him. “You


 bested a terrible enemy who got the better of both your Elvish uncles in Minas Tirith.”


        “They fought for less than a minute and Estel fled,” Eldarion said knowing Alatar knew


 this and uncertain of his intent. “Alatar, do I correctly perceive you are coddling me?”


        “Manwë forbid,” Alatar said. “I am merely suggesting, perhaps you should be kinder to


 yourself, most worthy prince.”


        “No,” Eldarion said, frustrated at his inability to communicate his emotions, “I cannot


 afford to let these chances slip through my fingers. I can be – I must be better.” He looked at


 Alatar and saw only acceptance, “You do not understand.”

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        “I understand you hold yourself to an impossibly high standard,” Alatar told him, “And


 perhaps you would be better served if you learned the lessons of mercy and forgiveness, not for


 others, those you already possess, but for yourself.”


        “What do you intend to do with the Ring of Power you won in combat at the Prancing


 Pony?” Eldarion asked, intentionally changing the subject.


        “I rely exclusively on my sword and staff,” Alatar answered. “I have no use for it. But I


 hope to find an ally whom I can train to use it to help us find the others and defeat our enemies.”


        “Is there a good reason this ally should not be me?” Eldarion asked.


        “There is no one else I’d rather train to use this Ring,” Alatar answered. He removed it


 from his pocket. “But learning to harness a Ring of Power is tedious, perhaps better suited for a


 soldier than a prince.”


        “First and foremost, I am a soldier,” Eldarion told him. “At the direction of my father, I


 was trained without distinction of birth as a knight banneret. Yet expected to lead my people at


 the forefront of every charge. I doubt your tutelage, if you agree to provide it, can be more


 exacting or demanding than those I have endured since my fourth year, learning to master the


 seven points of agilities while wearing armor.”

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        “Since I’m carrying this Ring,” Elanor said holding hers up, “and you’ll already be


 training Eldarion, would it be too much to ask if you would teach me too?”


        “If this is what you both want,” the wizard answered, “which I see you do, not only do I


 have no objection, I would not wish to do anything different.”


        “Thank you my friend,” Eldarion told him. “The free peoples of Middle-earth will be


 better protected thanks to your wisdom.”


        “I wish my wisdom were to thank,” he said handing Eldarion the Ring. “When would you


 like to begin?”


        Eldarion accepted the Ring and laughed, holding it up as the last of the fading sunlight


 vanished in the west while the moon shared the sky and rose in the east, bathing the Ring in


 moonlight, “Why now, of course. Do you not agree, Lady Elanor?”


        “I do!” she answered, thrilled at the thought of studying with Alatar beside Eldarion,


 proving to her father she and her mother were right: the time was now for a woman who wanted


 to and could, to contribute and help defeat their enemies.


        “I expected nothing less,” Alatar said with a smile. “Do you speak Quenya?”




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        “As well as I know Rohirric,” Eldarion answered, “Not as well as Sindarin or Westron,


 but better than most.”


        The wizard told him, “Hold up your Ring and say, ‘Behold, the moon glows.’”


        “Alae!” Eldarion said holding up the Ring, “Ê síli erin a isil lúsina.”


        Elvish runes flared to life with a bright blue light around both the outside and the inside


 of the golden band.


        “That’s more than I asked,” Alatar said meaning both Eldarion’s words and the runes


 glowing on both surfaces of his Ring.


        “What does it say?” Elanor asked, her eyes round and opened wide.


        “This is Lámya,” Eldarion answered. “One of the Five for Mortal Warriors. It is the Ring


 of Sound, the Ring of Language, Hearing, Listening, Discerning Truth. The Ring of Music,


 Instruments, Spheres or Voices, whether Men, Elves, Maier or Valar.”


        “It says all that?” Elanor asked.


        “No,” Eldarion laughed lowering the Ring. “Our tutors have taught me and my sisters


 much of the Lore of the Rings since we were little.”


        “Can you do that with my Ring?” she asked handing it to him.

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        He held it up in the moon and starlight and repeated the phrase. Two sets of runes sprang


 along both sides of the Ring and he told her, “This is also one of the Five, Oialëhén, the Ring of


 Light, Truth, Seeing, things as they truly are, whether far away, hidden, large, or very small.”


        “That’s perfect for me!” Elanor said. Delighted, she accepted the Ring from Eldarion.


        Alatar stepped to one side of his gomondwane and invited Elanor and Eldarion to enter,


 “Let us continue inside.”




                   *               *              *               *               *




        Elanor sat in the center of the gomondwane facing Eldarion with her eyes closed but she


 sneaked glimpses to confirm she was doing everything right. Their wrists rested against their


 knees with their empty palms face up and their fingers slightly extended, concentrating.


        “The staff of a wizard,” Alatar said, “to you is just a piece of wood. But to a wizard, it is


 far more. A wizard’s staff has been grown from a seed created by Yavanna from his fëa he


 himself must plant and tend in the Garden of Lórien in Aman. The tree is watered by the


 fountains of Irmo and Estë, and bathed in the tears of Nienna, Lady of Mercy. As it grows, it can

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 take many forms, depending on how many and which of the Ainur and Valar attend and bless the


 sapling with their gifts, making it a unique blending of their blessings and the wizard’s fëa.


        “It is more important to him than his legs or hands or feet, and just as they are, it is part


 of him, the most important and useful of his tools. A wizard uses his staff to focus and channel


 his fëa, and manifest his will for a multitude of effects depending on his skill, training and native


 gifts, and those who have had a hand in the growth of his staff. The staff of a wizard is more


 powerful than any sword, stave, arrow, or club. It can do things none of them alone, nor an army


 of them together can. It is a precision tool and a bludgeon. It can slice a diamond, fell a


 mountain, or drain the lowest seas. The staff of a wizard is rightly feared for it is truly an


 amazing thing. But never forget, it is not the staff that makes the magic but the wizard who


 wields it. For you, this is what these Rings of Power you possess will be.”


        “Are,” Eldarion said.


        “When you add its power to your Secret Fire,” Alatar continued, “its music harmonizes


 with your fëa. But before you can use them, you must feel the difference, the subtle alteration of


 your essence affected by the power of this Ring.”




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         He slipped their Rings on and off their fingers, “On-off-on-off-on-off-on-off-on-off-on-


 off-on-off-on-off-on-off-on-off-on...”


         Neither of them responded. Their breathing remained even and calm. He decreased the


 speed, “On off on off on off on off on off on off on off on off.” He moved them from their ring


 fingers to their little fingers so the gold did not touch their skin, “On, off, on, off, on, off, on, off,


 on, off, on, off, on, off, on, off.” It was like soft, soothing music. He went slower, “On. Off. On.


 Off. On. Off. On. Off. On. Off. On. Off. On. Off. On. Off. On. Off.”


         Eldarion’s eyelids occasionally fluttered. Whenever Elanor peaked and saw him


 disappearing and reappearing with his eyelids fluttering, she feared he was falling asleep. But his


 back remained straight and his posture and bearing, though relaxed, never faltered, just as hers


 never did. She wondered what he was thinking about because to her it was beginning to get a


 little boring, “… on... off... on… off... on... off... on… off... on...” somewhat monotonous “off...


 on… off... on... off... on… off... on... off... on… off...” She wished he would move on to the next


 lesson. She had sensed the Ring over her finger almost right from the beginning.


         Alatar seemed to be expending much effort for what had already been gained. Her


 thoughts began to wander and she realized how tired she was. A lot had happened, traveling to

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 strange lands and experiencing terrifying events, completely foreign to anything she had ever


 known. She was exhausted and feared she might fall asleep. “…. on.... off.... on.… off.... on....


 off.... on.… off.... on.... off.... on…. off...” As her thoughts began to drift, she realized her desire


 to prove to her father she was worthy to take on any challenge, even those normally reserved for


 men, was almost a compulsion, driving her beyond what she had thought of as her limits.


         When they first met, Eldarion had seemed almost homely and hobbit-like in his want for


 true companionship and his desire to be liked. But as they went deeper into Alatar’s tutelage, the


 more remote and foreign he became. With an entire kingdom at his disposal and the freedom to


 do anything he wished, he was willfully subjecting himself to Alatar’s desire to expose him to


 this apparently inexhaustible tedium, whose only reward was the promise of more danger and


 endless conflict. She knew she now occupied one of the most privileged positions she could


 imagine: receiving private and personal training from one of the five Istari, a powerful Wizard,


 beside the Crown Prince and future King of the United Kingdoms of Arnor and Gondor. But she


 did not share Eldarion’s fascination for all things magical.


         As good as she might one day become at wielding the power of this Ring (she still hadn’t


 quite gotten used to calling it ‘hers’), she only did so out of need, nothing at all like Eldarion’s

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 boundless enthusiasms. She almost regretted not having given it to her father the first time he


 asked. She might have, and done so happily, if he hadn’t been so uncharacteristically antagonist.


        She knew part of it was she was growing up, and her father was in the position of every


 father suddenly faced with the realization his daughter had grown into a woman.


        But these ‘normal’ conflicts had been blown up out of all conceivable proportion by this


 second and more terrible War of the Rings.


        “Elanor?” Alatar asked.


        “Oh, sorry.” She shut these thoughts out and focused on the task at hand, accepting the


 fact she’d made her bed and now she had to lay in it, as her mother often said. But still. She


 envied Fastred, Theo and her parents, already asleep in their own gomondwane. She longed for


 Eldarion to tire, or more likely, for Alatar to sense she needed sleep.


        At first, she’d been delighted watching Eldarion disappearing and reappearing as Alatar


 pulled his Ring on and off his finger. She’d had to stifle laughter. But it had started to wear.


        “Elanor,” Alatar said.


        Her mind had wondered again, “Yes?”


        “Look at your Ring,” he said.

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        “It’s right here!” she said, afraid she might have dropped it, but there it was, right where


 it was supposed to be, on her finger. “My nails are a bit too long. I forgot to cut them. But at least


 they’re clean. Before you came to the Shire, I had an appointment for the morning of my two-


 and-twentieth party, which I obviously didn’t keep. But I’m not blaming anybody. I really should


 have gotten them done in Bree. But what with fighting Warlocks, lecherous Mayors and invading


 Orcelven, I hardly had a chance to catch my breath, much less get my nails done.”


        Eldarion and Alatar simply stared at her, so she went on.


        “I’ve heard stories claiming the Kings of Númenor invented the practice of painting nails,


 when one of the first Númenórean Kings painted his purple. There are legends of a certain rich


 and opulent Númenórean Queen named Tar-Ancalimë who insisted she would not be outdone by


 a man and she had hers done with precious gems. For plain old silliness’s sake, in Bree I once


 heard a story that Queen Berúthiel manicured her cats, white polish on the black cats and black


 polish on the one white cat. Oh! But Celendrian’s story is the best. She says, a certain Prince of


 Rohan insists on a perennial pedicure, in red – for his horse!” and she laughed.


        They didn’t.


        “We can see your hand,” Eldarion said. “Even though you’re wearing your Ring.”

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        “Well,” she said, embarrassed at having gone on so long about her nails, “That’s what the


 point of this whole exercise was… wasn’t it?”


        “Yes, Lady Elanor,” Alatar said. “That was precisely the point of this exercise.”


        Thankfully, they weren’t mad, and Alatar allowed her to go to sleep, while he continued


 to work with Eldarion.


        “You know what?” she told them, “I bet it’s easier with my Ring. Here, you try.”


        She handed him Oialëhén, went around to the far side of the fire, pulled her sleeping mat


 close to flames and rolled herself up in a blanket.


        “It worked!” Eldarion cried.


        As she drifted off, she wondered why he didn’t stop and go to sleep. He had to be as tired


 as she was. He’d been up two days, as long as she had. Plus he’d fought Estel, and worked with


 Alatar as long as she had, but he had taken fewer and shorter breaks. She found his zeal and


 devotion inspiring, but also confusing.


        As much as she enjoyed his company and shared as best she could his passions, try as she


 might, she couldn’t figure out what drove him to take on even more burdens than he already had.


 He really didn’t need to keep doing this. He was the Crown Prince and there were thousands of

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 people he could appoint to learn the rest of these lessons, while she was just a young hobbit


 trying to prove herself and find her place in the world.


        Their situations could not have been more different. Try as she might, and she tried again


 and again, she would never understand why anyone who could avoid them would accept these


 tedious labors. These thoughts often troubled her on their journeys, but she did not understand at


 the outset and she did not understand at the end: why would anybody want to be a wizard?




                   *               *               *              *               *




        When she awoke the next morning, she realized she’d slept a lot later than her usual hour


 before dawn, learned from a lifetime of rising to prepare the family meal beside her mother.


        The thought of hiring servants had never crossed their minds. She loved cooking. Loved


 learning new recipes, smelling the rich hearty scents filling the Hill, hearing the anticipation of


 her father and brothers and sisters as they laid out the morning meal.


        No doubt with her and her mother gone, Goldilocks now took her place as the apprentice


 Mistress to her sister Mistress Rose of the Gardner Clan in Lindon. Good for Goldilocks. At least

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 that’s what she hoped. The pangs hit her again. She hoped they were safe and she felt again how


 much she missed her brothers and sisters. She envied their safety and unspoiled homely joys.


        Well, mostly unspoiled. At least less spoiled than being attacked by Warlocks and half-


 Orc abominations. She wondered what would have happened if she hadn’t felt compelled to


 accompany Alatar on this mad, dangerous Quest. But she also knew in the same circumstance,


 she would do it all again. So since her father often said there was no use crying over spilt milk,


 she put these unwelcome thoughts away and opened her eyes.


        Eldarion was laying on the other side of the fire on his own sleeping mat wrapped up in


 his blanket, fully awake, and watching her.


        “You really are quite lovely, even in sleep,” he said without guile or intent. “There is


 clearly something Elvish about you.”


        She blushed. It was one thing for boys in the Shire to fawn, quite another for the Crown


 Prince to give her such a wonderful compliment.


        They both knew she would marry a proper hobbit and he a princess born and raised to the


 habit of rule, which made his unselfconscious and unselfserving complement more endearing.




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        “The year before I was born,” she told him, “Theo’s father and my father, with the help


 of a few others, raised the Shire and freed us from the subjugation of Saruman, who had all but


 enslaved and destroyed our lands, felling trees and corrupting the soil, similar to what the orcs


 and Easterlings did to the Pelennor Fields. My father worked hard to restore our fields and


 forests and he was helped by a box of soil from Lothlórien, a gift from your great-grandmother


 the Lady Galadriel. He fed a grain to favored seedlings and tossed what was left to the winds.”


        Eldarion smiled, “That explains it. Everyone still talks about Galadriel’s wisdom and


 beauty. My mother and father speak of her often with a love and fondness that borders on


 reverence. One of my great regrets is she sailed to Valinor with my grandfather Elrond year after


 I was born and I never knew them. I am grateful my great-grandfather Celeborn stayed behind in


 Lothlórien, but I am not certain why. He is loving and kind, and wise. As fine a great-


 grandparent as a child could wish, though it is obvious he dotes on Elerith, who many say in face


 and form takes after her great-grandmother Galadriel.”


        “The year your great-grandparents left was the year I was born,” she said. “I was lucky. I


 knew all my grandparents. But my grandfather Tolman died last year. We were very close.”


        “I am so sorry,” Eldarion said.

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        “Thank you,” she responded. “People tell me all my grandparents doted on me, but only


 my grandmother Lily is left. She lives with my uncle Tom on his farm in a small cottage behind


 his house. But my father talks about his best friend Frodo Baggins the way your parents talk


 about Galadriel. Frodo set sail with her, and his uncle Bilbo, Gandalf – I mean Mithrandir – and


 your grandfather Elrond on the same ship.”


        “Yes, so I have been told,” Eldarion said a little sadly. “I learned all about the War of the


 Ring and the aftermath from the tale of ‘Frodo of the Nine Finger and The Ring of Doom.’ Their


 arrival in Valinor was a joyous event for them, but a terrible loss for Gondor and Arnor.”


        “‘Frodo of the Nine Fingers and The Ring of Doom,’” Elanor laughed. “I’ve heard the


 tale, and I like it, but I’ve always been struck by the terrible title. Whoever thought of it should


 have a look at my family’s Red Book.”


        “You’ve mentioned the Red Book before,” Eldarion said. “What is it about?”


        “Really?” she sat up surprised. “I thought everyone knew about the Red Book of the


 Westmarch. It started with Bilbo’s first adventure to the Lonely Mountain. That’s where he


 found the Ruling Ring. They slew the dragon Smaug and won the Battle of the Five Armies.”




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        “A brief outline of the battle was included in my history and strategy lessons,” Eldarion


 told her, stretching. “And they always bring up the Ring. But I do not believe any of my tutors


 ever mentioned the Red Book.”


        “’Brief outline’?” she asked. “If they barely mention the Quest of Erebor, what do they


 teach you about history in the Palace of Anor?”


        Eldarion laughed and sat up, “Ilúvatar’s creation of Eä and Arda. The Treason of Melkor.


 The awakening of Dwarves and Elves and Men. The establishment of Valinor, Tol Eressëa, and


 Endor. Aulë’s creation of the Lamps, Yavanna’ creation of the Two Trees, Varda’s creation of


 the stars, and Aulë’s addition of the Sun and Moon. The Wars of the Jewels, and Wrath, the Kin


 Slayings, the fates of the children of Hurin, Beren and Lúthien, the falls of Gondolin, Beleriand


 and Númenor, the establishment of the Kingdoms in Exile, and the many Wars of the Ring.”


        She stared at him, “I’ve never heard of any of those things. What about Sauron?”


        He looked thoughtful, “There is really no reason you should have. The many tales are


 long and often very sad. These things happened long ago. The world was of a different shape


 back then, and Sauron was nothing more than a lesser servant of Melkor.”




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         “That sounds complicated,” Elanor said. “Even if I had the time to learn it all, which I


 don’t, I don’t think I’d retain much of it.”


         “I don’t recommend you try,” he told her. “Most of the scrolls and books of the histories


 of Arda have been lost. The few which remain are fragmented, and full of mistakes and


 contradictions. They call my mother’s people the Elves, the ‘First Children’ when in fact,


 Dwarves were First, Elves came second. They always get the Elven Rings wrong. My


 grandfather Elrond wore the blue sapphire stoned Nenya, which the history books record as the


 Ring of Adamant. But Nenya means ‘water’ not ‘adamant.’ He often and consistently used water


 to incredible effects. My great-grandmother Galadriel wore the mithril and white diamond Vilya,


 the Ring of Air, but it was the true Ring of Adamant, and she used Sun and starlight in powerful


 ways, but at least they got the definition right. I have tried to correct their errors, repeatedly, but I


 have been most sternly rebuked – despite my Princely status.”


         She laughed, “I’ve never heard you acknowledge it.”


         He looked pensive, “I grew up in a palace surrounded by courtiers who all wanted


 something, and they saw me as the easiest and naivest way to get it. It was impossible for me to




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 be unaware of my position. But as for the errors in our scrolls and records, perhaps when I am


 King, I will finally have them all corrected.”


        “‘When I am King,’” she repeated. “It must be grand knowing such an amazing destiny is


 there, just waiting for you.”


        “I do not see it quite like that,” he told her sitting back. “It is actually rather boring. Most


 of what my father does is listen to land owners and merchants argue, and settle their disputes. He


 should establish a Council of Magistrates to adjudicate those matters and reserve his time


 exclusively for things more befitting a King.” He paused and looked rather troubled, “Or at least


 it was boring, until Estel came and ignited this new War of the Rings.”


        “Good morning,” Alatar said entering their gomondwane followed by Fastred carrying


 wood, and Theo carrying a freshly killed rabbit.


        “You slept a long time,” Fastred said stacking the wood beside their low fire.


        “I’m not used to traveling. Or fighting. Or magic,” she said.


        “You do not like it, do you?” Eldarion asked.


        “I’ve always wanted to travel more and meet other Elves,” she answered. “See Rivendell


 and Lothlórien, Arnor, Gondor, Rohan, Ithilien, and Dol Amroth, and meet King Éomer and

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 Queen Lothíriel, Prince Faramir and Princess Éowyn, and their children. But I wish I’d never


 seen a man killed. And magic is an acquired taste, I only now seem to be acquiring.”


        “Speaking of magic,” Eldarion said handing her his Ring, and she put it on, never


 vanishing. “Perhaps you would like to see what you can do with my magic ring.”


        “The Lady Elanor is far too modest,” Alatar told Eldarion. “Not only is she keeping up


 with you, something I doubted few could do, in some skills she has surpassed you.”


        “I will redouble my efforts,” Eldarion said smiling, and he inclined his head to Elanor, “I


 would feel foolish being bested in my passion by a hobbyist.”


        “What’s wrong with a hobbit being good at magic?” Fastred asked.


        “Fastred,” Elanor laughed. “That’s not what he said.”


        “Oh,” Fastred said feeling foolish. “Sorry.”


        “Can we continue this after breakfast?” she asked, standing up and stretching, “I’m


 hungry and my hands are itching to skin and stew that rabbit.”


        Without waiting for an answer, she took the rabbit from Theo, borrowed his knife and


 went out to the chopping block at the edge of camp where her father was on his third rabbit.




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        “Theo found a warren,” Sam said making room, “Merry’s done an excellent job. He’s as


 good a hunter and leader as a father could wish. He’ll make some maiden hobbit a fine husband.”


        “I like Theo,” Elanor said chopping the head off her rabbit.


        “Fastred is a fine young hobbit too,” Sam said. “Ed’s done just as good a job with Fastred


 as Merry’s done with Theo.”


        “I feel the same way about my father,” Elanor said chopping off the extremities and


 gutting the entrails. “Here I am, hobnobbing with Wizards and future Kings, as unselfconscious


 as a barmaid in a tavern!”


        “Your mother was a barmaid,” Sam said looking sad. “There’s nothing wrong with that.”


        “Father,” she said. “You know what I meant.”


        “I’m sorry Elanor,” he said. “You’re right.”


        She peeled back the skin, “We have to get past this whole ‘Ring’ thing. All this angst and


 ill feeling isn’t doing any of us any good.”


        “I want to,” Sam said. “No, that’s not right. I will. This will be the last time I let myself


 act like this. Alright? I just want you to know the reason this affects me so is because you’re the


 apple of my eye my love, and that’s as plain as I can be.”

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        That stopped her. She looked at him and tears filled her eyes.


        He looked down at the block and started on another rabbit, “This whole ‘Ring’ thing, as


 you call it, puts you in danger. I know you know all this and I’ve accepted your decision, but the


 thought of you in jeopardy will always be hard for me.”


        “That’s why I love you,” she said keeping her bloody hands clear of her father’s clothes,


 putting her arms around his waist and giving him a strong and heartfull hug.


        They finished cleaning the rest of the rabbits and she took them to her mother at the main


 camp fire. Malvia and her people had dug up potatoes and brought wild vegetables. The three of


 them sautéed and cooked them, and served a rustic but hearty breakfast.


        Afterwards, Manus, Malvia and their companions started breaking up the camp,


 dismantling the gomondwanes, rebuilding the baskets on the rested and refreshed Oliphaunts,


 and Rosie and Elanor and a few others went to the stream to clean the pans and dishes.


        Eldarion offered Fastred and Theo lessons in swordplay and dagger craft. Fastred had no


 weapons training and politely declined, joining Sam feeding and watering the Oliphaunts. But


 Theo was excited to add new lessons to his admittedly modest training, and an enthusiastic pupil.


        He spent the morning sweating and grunting under Eldarion’s expert and patient tutelage.

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        Eldarion was showing Theo how to best use unfamiliar swords when they came back


 from the stream, “When you pick up a blade set it on your fingers, like this, to find the Point of


 Balance. It is called the ‘sweet spot’ which is best for delivering the most devastating blows.”


        Theo did and adjusted his grip, which helped him rotate the pommel easily in his hand,


 from which he now could smoothly thrust in any direction. To Elanor’s eyes, Theo seemed an


 exemplary pupil and she noticed how brave and fine he looked wielding a sword.


        When they were through, she asked Eldarion, “When Estel attacked us in the basket, he


 looked much bigger and stronger than you but you faced him with such confidence. What made


 you so sure you were the better swordsman?”


        “Sometimes it takes a great deal to distinguish one swordsman from another,” he


 answered. “But sometime it takes very little: the way he drew his swords at the palace, carried


 them across the throne room, and presented them atop the Oliphaunt. It may not seem like much,


 but to the trained eye, the glaring deficiency in skill was obvious.”


        As they prepared to climb the ladders up to their baskets, Sam asked if he could speak to


 Alatar privately. They stepped away from the others.




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        “When you came to Bag End, you said you wanted to teach me how to ‘hear’ all the


 Rings of Power that have been calling to me,” Sam reminded him.


        “Yes Sam,” Alatar affirmed smiling. “I’ve never taken a single apprentice and now I have


 three. Its an embarrassment of riches. When would you like to start?”




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                                            Chapter 12




                                    The Silence That Devours




        The trees of the Chetwood forest grew too close for the Oliphaunts to pass between and


 they were forced to skirt the edges. Outside the woods lay barren fields and in the distance, the


 Weather Hills rose. It was harder to find game, good pastures and water for their Oliphaunts.


        But Eldarion seemed to know these lands as if born here. They never went too far before


 he led them to green pastures and running streams.


        In the middle of their third day out one of the lookouts shouted, “Vultures!”


        Eldarion, Alatar, Manus and the hobbits went to the front of the basket where Sam was


 driving Dzombo.


        “Which of our enemies use vultures?” Sam asked.

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        “No!” Manus cried. “They’re not your enemies, they’re mine!”


        “Yours?” Eldarion asked.


        Manus collapsed in his seat at the front, “I knew I shouldn’t have gotten up out of my


 gomondwane this morning.”


        Deep in the forest, trees crashed to the ground and the ridged backs of marauding


 monsters rose above the tops, breaking into a clearing and charging towards them. About the


 same size as their Oliphaunts, there all similarities ended. These creatures moved like lumbering


 battering rams with stout conical bodies and short powerful legs. But their backs were bowed in


 high arches, hairy and ridged, like boars. Their eyes were small, evil and strangely bone white,


 like dead fish, and their expressions were grim. But their strangest parts came from the center of


 their narrow noses in the middle of their angry faces: two thick hairy spiked horns rose higher


 and sharper than any lance or pike.


        “What are they?” Elanor asked.


        “They look like drawings I’ve seen of the fell beasts Sauron used to pull the battering ram


 Grond during the Battle of the Pelennor Fields when they broke the Great Gate,” Eldarion said.




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        “They’re known by many names,” Manus told them. “Elasmotherons, Emela-ntouka,


 Chipekwe, Irizima, and Asekamoks. They’re the wickedest and powerfulest servants of the


 greatest evil our world has ever known. In Harad we call them Rikedons!”


        Manus opened a low compartment at the front of the basket, withdrew a great silver horn


 and blew three powerful blasts. He took the reins from Sam and pulled Dzombo hard to the left,


 turning him around and the other Oliphaunts followed.


        “You’ve turned us back towards Bree!” Eldarion said.


        “Of course I have!” Manus cried.


        “Are they Servants of Morgoth?” Alatar asked.


        “There are other evils, older than Morgoth,” he answered. “Rikedons serve the Evil One


 opposed by Incánus the Gold, a Wizard of Aman who wanders the lands of Northern, Greater,


 and South Harad.”


        “I know Incánus,” Alatar said. “We are of the same Order.”


        “Incánus has marshalled the Pygmies, Black Elves and Men of Harad against the Evil


 One for centuries, of which you in the North have never heard. It’s deadlier than Morgoth.”


        “How can that be?” Eldarion asked. “Morgoth is the source of evil.”

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        “What does this evil in Harad come from?” Alatar asked.




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        Though a citizen of Harad, I was born on the caravan trail, the son and Heir of Oduduwa


 and Oromiyia daughter of Tihisis of Tarqus while riding atop an Oliphaunt. I learned from them


 our family business and many other things, including those which began before anything else.


 Though I did not know it at the time, they would come to define my life.


        Growing up with Oduduwa, the greatest merchant trader in the history of Harad, life on


 the caravan was often very dangerous. But from infancy, he tutored me in all the warrior arts and


 I have witnessed wonders of which others have not dreamed. Bringing riches and tales of distant


 lands, my family and I were welcomed in every court by every King and Queen in all Harad.


        As a child, I remember well when the beautiful and majestic Queen Merkaba ascended


 the throne of Harad, later married King Dacoron and bore the Crown Princess Malvia. As she


 grew, the tragic death of Dacoron marred their happiness and Merkaba ruled alone thereafter.




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        Sent by my father with my uncle Kekorum, I commenced the Great Journey, a Right of


 Passage as Oduduwa’s Heir. We traveled from the bottom of South Harad to the edges of the


 untraversable ice in the Northern Wastes. Above Dor Daidelos, the ice mountains of the Regions


 of Everlasting Cold where not only were the stars strange, the Sun and Moon were strangers.


        I learned your maps in the North are mistaken. The lands of Harad are much larger than


 your charts show. Five North Kingdoms could fit in Harad and we would have room for more.


        But our lands are small compared to those in the East: Rhûn, Hildória, Dor Daedeloth


 ruled by the Warlord Thû stretching across the north from the frozen shores of the Cape of


 Forochel in the West, through the Wild Woods and Orocarni Mountains to the beaches of Ekkaia


 and the East Sea; to the Hither and Dark Lands to the far south.


        It was there my uncle died defending our caravan, and his responsibilities became mine.


 Fortunately, he was the best teacher and I had learned his lessons well. From one end to the


 other, I traveled the width and length and breadth of all these lands and many more you have not


 heard. You will never meet a Man who has traveled farther and wider than Manus Tarqus.




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        I have met Kings and Queens, Emperors and Empresses, wizards, witches and warlords,


 pygmies, dwarves, giants, trolls, collocoll, elves both light and dark and dragons good and evil,


 and many other creatures besides. But the only ones I ever hated were orcs.


        After many years, I returned full grown bearing treasures and much wealth. Joyous was


 my homecoming, for in addition to my return, Greater Harad had narrowly avoided a ruinous


 war with Swahillogûz, the Regent of Northern Harad. Swahillogûz was born among the Black


 Elves as an Albino Abomination and he became known as the White Elf of Harad. In Northern


 Harad there was a mountain more full of gems than the Silvertine, twice as high as the Lonely


 Mountain and ten times hotter than Orodruin: Orajkilim which is where Swahillogûz was born


 and some said the glittering white slopes had crept into his mother.


        The Black Elves of Northern Harad tried to be kind to Swahillogûz but he was too


 strange and ever an outcast among his own people. Rejected by all who’d known him, he went


 knowingly and willfully into the Great Desert to meet his death before the Silence That Devours.


        But years later, Swahillogûz mysteriously returned, not as an unliving dead slave of the


 Silence, the only things that had ever returned from the Great Desert, Swahillogûz returned as a


 living breathing servant, though others have called him a slave.

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        It was then he tamed the untamable warring tribes of Wildmen in Northern Harad and he


 made them his fierce and terrible armies. Ever they sought to conquer Greater and South Harad


 and always through our long histories we have held the line, united against him.


        So mostly Swahillogûz and his Wildmen turned to the north for conquest. In the Second


 Age after a great defeat at the River Gwathló by the united forces of Northern Elves and


 Númenóreans, the forces of Mordor were annihilated, utterly destroyed.


        Sauron, the servant of Morgoth barely escaped with his life, but only because


 Swahillogûz rescued him from Gil-galad and Tar-Ciryatan, and delivered him safely to Mordor.


        It was then the Great Alliance was forged between Mordor and Northern Harad and the


 immortal Albino Abomination, Swahillogûz the White Elf of Northern Harad and his armies


 waged war against Northern Kingdoms of Belfalas, Pelegir, and Gondor.


        In 2272 when the Númenórean King Ar-Pharazôn invaded Middle-earth, the combined


 might of the vast armies of Mordor and Northern Harad were more than a match for the


 shipboard forces of the Númenóreans. But Sauron asked Swahillogûz to retreat. He wanted to


 trick Ar-Pharazôn and get a free ride to Númenor. Whatever Sauron did there, it was very bad,


 and Númenor sank below the seas forever.

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        Swahillogûz turned his attention to Greater Harad and our people have been at war ever


 since. In another effort to bring peace, when the Crown Princess Malvia the daughter of Queen


 Merkaba was born, the Queen promised her daughter’s hand in marriage to Swahillogûz.


        When Malvia turned eighteen, Queen Merkaba hired me to transport the Crown Princess


 to her groom Swahillogûz for her wedding in Northern Harad.


        Rumors of the legendary beauty of the Crown Princess were true and I was instantly


 smitten. Malvia was not. When she saw my eyes lingering on her face she told me scornfully I


 was not fit to look on the future Queen of the United Kingdoms of Northern and Greater Harad.


        I was furious but I’m a professional so I did my job.


        But when I delivered Malvia to Swahillogûz in his capital city of Kakasmegga, though


 she graciously maintained her composure and smiled through their meeting, secretly she was


 horrified by the presence of the Albino Abomination, the White Elf of Northern Harad.


        I had collected my fees and returned to my camp, preparing to leave Northern Harad at


 first light, but Malvia came to my tent in secret and begged me to smuggle her out of Northern


 Harad and take her home.


        Well.

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        I wasn’t I could break the signed contract I had with Queen Merkaba. She had entrusted


 me with her daughter, to deliver her as promised and I had never failed to make a delivery. I was


 afraid defying the wishes of my Queen would destroy my reputation. There was also the matter


 of Merkaba declaring me a traitor and having me executed.


        But Malvia had discovered a terrible secret: the source of Swahillogûz’s power. Before


 the beginning of Time there were two spirits moving in the great nothingness which existed


 before the world. There had to be two. If one moved but had nothing by which to measure its


 movement, it would have been the same as standing still. To this day, some think of one as


 movement, and one as stillness. Others divide them as thought and emotion, or being and anti-


 being, fire and ice. In the far east of Hildória before the East Sea and the shores of Kalórmë,


 where I have also been, the people there call these spirits Yin and Yang.


        Some think of them as forces in opposition: God and Devil. Osiris and Set. Others see


 them as siblings, or brothers. Cain and Abel. Many people think they are masculine and


 feminine, male and female, man and woman, brother and sister, wife and husband. Whatever you


 wish to call them, it’s clear they once were close: close in origin, embodiment, original cause and




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 effect, and close in their creation. But it is also clear they were not equal, and they are actually


 very different. In Harad we know the truth: they could not be more different.


        But whatever the length, breadth, scope and nature of the one or many or infinite number


 of differences between them, one came first, the other second; and they began in Harad, as


 everything did. Some mistakenly have called them Elves and Men, Ilúvatar and Melkor, but


 these beliefs are false. Men and Elves, the Valar and Ainur, and Melkor too, were all creations of


 Ilúvatar’s, not brothers, sisters or anyone remotely near His equal. Ilúvatar’s thoughts became the


 Ainur, and He bade them sing. This song was called the Ainulindalë by which the Ainur and


 Valar created Arda. It was within the Ainulindalë that Melkor created Discord.


        But before Discord, before the Ainulindalë, before the thoughts of Ilúvatar, two spirits


 flew over Harad in the form of spirit birds. The First we name Benu, the Second, Ban Ban.


        Benu opened his beak and created sound, from which Ilúvatar would one day create


 Music. Maybe in the north, Ilúvatar is just another name for Benu.


        But Ban Ban did not move, did not think, did not open its beak; and from its unmoving,


 unthinking stillness came the Silence That Devours.




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        The later creations of the Ainur came from the sounds of Benu. They became the


 Ainulindalë and were imbued by Ilúvatar with the Secret Fire which in the North you call Fëa,


 and in Harad we call Life.


        But the Silence That Devours existed ever and apart from Ilúvatar and His creations,


 outside Eä, maybe even outside beyond the Void that some call Other, outside the realms


 inhabited by motion, thought, music, time and fire.


        In the center of Harad, so long ago that memory has forgotten the number of years, there


 grew the most beautiful gardens our world has ever known. The flowers never withered and


 provided endless beauty and endless pollen for bees, who produced endless honey. The trees


 were always laden with the sweetest fruits at the peak of ripeness, and the fields bore the greatest


 variety of crops, always fresh and ready to be picked without the need for tilling or planting and


 sowing, and they never spoiled or withered. All the vast lands of the many Kingdoms of Harad,


 from the mouth of the fertile Anduin to the shores of the Encircling Sea at the bottom tip of


 South Harad were all once fertile and green. It was the Midsummer of the World.


        There was no lack of anything. Every creature be they fishes, birds, elves, dwarves,


 pygmies, collocoll, changelings, men or beasts lived in friendship, harmony and perfect peace.

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         Within the endless bounty there was no sickness, aging, jealously, or greed, nor the


 thought of violence or war. There was more than enough of everything for everyone.


         The peoples of Harad were of all races and Harad was the heart of the greatest beauty.


         At the height of the greatest heat on Midsummers Day of this first golden endless


 Summer when the sun burned at its zenith, on this too bright too hot day the heat was so great,


 even Eru Ilúvatar and the Valar slept, waiting for the heat to go down. All was still and quiet.


         The Silence That Devours came in secret, in hushed noiselessness while the thoughts and


 dreams of the Valar tarried in the north. It crept in a silence far more dangerous and deadly than


 Melkor’s Discords. It is not coldness, darkness or a black shadow, as the Men in the North so


 often paint their fear. It is a hot, arid, bright and blistering silence that devours rivers and lakes,


 cooks the mountains and dissolves and grinds them into dust and knife like grains of sand, which


 rise from nowhere and flay entire cities like an avalanche of daggers driven sideways by the


 winds, laying waste to peoples and whole populations.


         If it has a name other than the Silence That Devours, we do not know it.


         The fields began to wither, the fruits overripened and fell rotten from the trees. The first


 lack was felt. The first fears and jealousies were kindled in hot lustfulness and covetous strife.

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        The first blow was struck in the first violent act, and the first murder led to the first war.


 The friendships and harmony of the races and beasts shattered. The races scattered and left Harad


 and the world knew the first Autumn and Winter, ending the Great Peace.


        In Harad, we mourn the loss of the friendships between the sundered races and we work


 to find a way to restore the world to the peace and harmony before the Great Migration.


        Where the Silence That Devours first appeared in the gardens of Harad, there now exists


 a vast and terrible Wasteland, an almost endless desert, unlike any that existed before, and it is


 growing. It seeks to destroy the little bounty left to Men and Beasts, who fight in endless


 violence and wars over the meager leavings of what was once a boundless feast.


        In the vast and uncharted loneliness and emptiness of Harad, the Silence That Devours


 grows unheard, unseen, unthought, unfelt, and unacknowledged. If truth be told, when the Men


 of the North, East and West have heard the rumors of the Silence That Devours they have ever


 been consumed by so great a fear and terror of what they do not understand, in willful ignorance


 and madness they lie to themselves and deny the Silence That Devours exists. They convince


 themselves of this lie and demand everyone else deny the Silence That Devours.




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        They proclaim our dreaded truths are myths instead of the greatest evil, the greatest


 danger our world has ever known. This is how they spread their lies, their terror, willful


 ignorance and madness. That which fuels the growth of evil is evil.


        But to help us face the Silence, the Black Elves came from the South and brought Fire.


 But unlike the Valar in the North, they did not keep it a secret, but shared it with everyone. The


 Elves spread across our lands and met the Pygmies, the tiny jungle builders who showed the


 Elves how to make arrowheads and bows from Yew trees, beginning the friendship between


 Pygmies and Elves that has never waned. Working together, the Elves and Pygmies built the


 greatest city the world has ever known, Zerzura, filled with gold and silver and jewels.


        When the Silence came they slid the city onto a cloud and floated it up into the sky and


 away to Hither in the South where it was safe.


        But in Northern Harad there grew a mountain as full of gems as the Silvertine, twice as


 high as the Lonely Mountain and ten times hotter than Orodruin. This is Orajkilim which I


 mentioned before where the albino White Elf was born named Swahillogûz who I also


 mentioned before and he was rejected by the other Elves.




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        So Swahillogûz went knowingly and willfully into the desert to meet the Silence That


 Devours and he returned as the first slave. He created the first bident blade and began spreading


 the Silence That Devours to other people and creatures by creating the first bident blade for the


 Silence That Devours to enslave the free peoples of Middle-earth.


        All bidents are descended from this first blade made of tikal, galvorn and mithril, the only


 mix off the three ever known, like the weapons of the Sisterhood of the Black Elves of South


 Harad. The black gnomes of Northern Harad which you call Dwarves and we call Pygmies began


 mass producing bident blades for profit under Swahillogûz establishing his great wealth and


 spreading the domination of the Silence That Devours across kingdoms all over Harad.


        Swahillogûz showed up at Manus’ camp accusing him of having kidnapped Malvia.


 When she vanished from the palace, her guards had told him all about the bad blood between


 them. Swahillogûz knew Manus was the only person base and depraved enough to steal her.


        If he didn’t turn her over, Swahillogûz promised his death would be the slowest and most


 painful anyone had ever suffered.


        If there is one thing you should never do to Manus Tarqus, son of Oduduwa of Greater


 Harad, do not ever threaten him.

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        Unfortunately, Swahillogûz’s army had surrounded Manus’ camp.


        Malvia screamed from his tent and they found her tied up, though she’d managed to


 remove the gag and call for help. She thanked Swahillogûz for saving her from the lecherous and


 evil Manus Tarqus. Swahillogûz would have killed Manus on the spot and made him an unliving


 undead servant of the Silence That Devours but Malvia insisted as a wedding gift he deliver on


 his promise to make Manus’ death as slow and painful as possible.


        It wasn’t looking good for Manus back at the Palace. He was imprisoned in the lowest


 dungeon, his guards had been quintupled and in the morning Swahillogûz was coming to begin


 the years of relentless torture he had promised Malvia he would inflict.


        But Malvia was not a warrior princess for nothing. She and the Sisters of Harad broke


 Manus out of the dungeon, released his captured Oliphaunts and they escaped Kakasmegga.


        Many were the battles and legendary the exploits and heroism of the wizard Incánus the


 Gold, the Pygmie Prince Pyushum, Manus Tarqus and Malvia Merkaba fighting their way back


 to her home in the Palace of Harambee.


        But when they got there, Queen Merkaba was furious. Not because Manus has rescued


 Malvia: she was in love with Manus herself. She had planned to make him one of her Consorts

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 when he returned. She accepted Malvia but stripped Manus of his property and Oliphaunts and


 she banished him from the kingdom.


        On his way to eternal exile, Manus stopped at his childhood home to say goodbye to his


 family, but Swahillogûz had sent assassins ahead of his invasion. Manus arrived too late to save


 them. They had all been turned into the unliving undead servants of the Silence That Devours.


        Manus would have died too and welcomed his death, but Malvia had escaped Harambee


 with the help of Incánus and prince Pyushum and her own faithful Sisters of Harad. On Manus’


 own former Oliphaunts, they rescued him from Swahillogûz’s assassins and killed the Cryptids.


        With proof of the coming invasion, they returned to Harambee, convinced and warned


 the Queen and saved the Kingdom.


        Merkaba agreed to spare Manus’ life and allow him to travel north with Incánus, and


 Malvia as part of her caravan on a diplomatic mission to the North Kingdoms, provided the two


 of them swore they would stay true to the wishes of the Queen and be only Princess and servant.


        They agreed and the Queens sent her own most trusted servants with them, just to make


 sure they’d be safe (and kept their promise).




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        “How can someone give the Silence someone else’s fëa?” Alatar asked.


        Manus went to his personal locker at the front of the basket and took out a scabbard. It


 was straight but thicker than any they’d seen, as if it held a pack of blades. He held the thick


 black pommel that bore a black hand guard affixed with two black spikes. He withdrew a long


 black blade, which tapered abruptly at the tip to a fine point.


        The metal was black, but not matte black like Númenórean stone, nor shiny like most


 metals, gems, or glass, but black as a shadow that casts no light, like a mirror that does not


 reflect, or a thought or feeling that cannot be expressed, remembered or never was. He turned the


 blade and they saw it was not one blade, but two blades, set side-by-side, two inches apart.


        “This is a bident,” Manus told them. “The double blade that extinguishes the Secret Fire,


 devours fëa, and silences the Music of Ilúvatar. Any living thing that is dealt a mortal blow from


 these blades, or is pierced by both tips, dies. But in death, their bodies live on, giving form and


 function to the will of the one who killed them in the service of the Silence That Devours.”


        He passed the blade to Eldarion and the others crowded around and looked closely.

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        Manus pulled one of the rabbits he’d kept alive to breed more rabbits out of its cage,


 “The Black Elves say bidents don’t destroy hröar. The bodies die and the dead remains are


 empty of anything except the will of whoever drove the bident and devoured the fëa for the


 Silence. That person become the Master of the lifeless hröar. In Harad, we call these animate but


 unliving hröar, Cryptids. You can recognize a Cryptid by their eyes. As soon as their Secret Fire


 goes out, their Music is silenced, and their fëa devoured, the terrible heat and dryness of the


 Silence turns their pupils white.”


        He took the bident back from Eldarion and stabbed the rabbit with both tips. The rabbit


 opened its mouth and screamed but as it screamed its black eyes turned grey, lighter and lighter.


        Though the rabbit’s mouth stayed open, the sound of its scream grew softer until its eyes


 were white and its scream continued but had faded into Silence.


        For a moment, this Silence seemed to fill their minds and they couldn’t think.


        Manus withdrew the tips of the bident but no blood flowed from the holes. The rabbit had


 already stopped breathing and its body lay still. Its large white eyes didn’t move.


        Manus set the rabbit on the floor of the basket and said, “Hop!”


        The unliving rabbit hopped.

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        “Hop hop!” he cried.


        The unliving rabbit hopped twice.


        From his locker, Manus removed a richly bejeweled scabbard and drew a long curved


 thick single black blade. The air around the edges misted with cold, producing tiny black crystals


 of black ice, “This is Apocope, the most treasured Morwan Szlachta in Greater Harad. In your


 Westron tongue, it is called a Dark Sabre.”


        “The blade is thick as a cleaver,” Eldarion noted. “As much an axe as a sword. To wield


 this effectively would require great strength, and it would inflict massive injuries.”


        “Yes!” Manus cried. “It can cut a man in half and rip through armor if swung with


 enough force, especially from the back of an Oliphaunt, or even just a horse.”


        “Why do you not wear it instead of your scimitars?” Eldarion asked.


        “Apocope was not forged for killing living things,” Manus told them. “Though it can be


 used for that. But usually we don’t, because Black Sabres are the only weapons that can destroy


 the Cryptids produced by bidents, or any other weapon or servant of the Silence That Devours.”




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        He slashed the unliving white-eyed rabbit that still hopped up and down in beats of two.


 Where the Dark Sabre cut, the unliving hair and flesh crumbled to crystalline gravel. In two


 unliving pieces, the legs of the severed Cryptid kicked, trying to hop in beats of two.


        Enraged by the sight of the unliving kicking legs, Manus hacked and slashed the


 quivering Cryptid, chopping the pieces up until all that remained was a pile of crystal gravel


 which he hammered and ground into powder with the blunt end of his Dark Saber.


        “Manus,” Alatar said.


        He stopped. Suddenly aware of their worried looks, he sheathed his Dark Saber and sat


 down, wiping his brow, “If you knew what Cryptids have done to my people, my family…”


        “I’m sorry,” Elanor said.


        The pile of gravel slowly spread across the basket floor with every movement of Dzombo


 lumbering stride, and every errant breeze scattered the mound more. Manus opened the door in


 the side of the basket and swept the gravel out.


        “This is the Darkness That Devours,” Manus said, holding up the Dark Sabre. “Created


 by the legendary Black Elves of South Harad. It is the only thing that can destroy the unliving


 Cryptids enslaved by the Silence That Devours. Melkor, as Morgoth is known in Harad, or any

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 of his servants, are not the greatest threat. The Valar sang along with Ilúvatar and though Melkor


 sang discordantly, he still contributed to the Music, even if his contributions were unwelcome.


 But there was a greater One, greater than the Valar, the Ainur, some say as great as Ilúvatar


 himself… some say even greater, and this One would not sing. It refused. The Silence That


 Devours seeks to choke the life out, not just of Arda, but out of all the realms eternal, that ever


 were or waiting still to be created, or exist in Eä.”


        “This One, who is not of the Valar has come to Middle-earth and lives in the Great Desert


 between North and Greater Harad. Any living thing that goes into that Silence does not return.


 That is the foe that has sent the vultures and the Rikedons that come for us now.”


        “This,” Manus said drawing a third scabbard which appeared to be a long dagger, “Is a


 biger.” He drew the blades. They looked like needles with sharpened edges and long points.


 “There is no living thing the tips of these points will not pierce, and transform into a Cryptid.”


        “Cryptids do not form slowly after sicken, as from a poisoned wound, or “fade” as from a


 Morgul blade, they drop dead just like you saw because these double blades extinguished the Fëa


 and silenced the Music, but left the Hröar, the body still in motion, still moving, a nameless


 silent Thing forever enslaved by the maker and Master of all bidents, the Silence That Devours.”

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        “This is the Evil of our Enemy the people of Harad have fought since the Birth of Men.


 This is the Evil that seeks to take the place, not only of people, Elves or Men, or of Sauron or


 Melkor, or ‘Morgoth’ as you call him in the North, but this Evil seeks to extinguish the Fëa and


 Music and Thoughts and Being of Ilúvatar Himself, and return everything to the Great Void as it


 was before Hröar, Fëa or Eä or Music or thought first existed or ever was. So insidious is the


 nature of this Evil, that as of yet, we in Harad believe Ilúvatar himself is not yet aware of His


 own danger, and the danger to everything He has ever thought, or sung, or imbued with Secret


 Fire, in all the uncounted time in the Eä of his Creations.”


        “What,” Eldarion asked, “would happen if the Ring of Celebrimbor, the true Ruling Ring,


 the Master-ring of Middle-earth, were to travel to the Great Desert and Sing or Play the Music of


 Ilúvatar in the heart of the Silence That Devours?”


        “We hope and pray it will destroy the Silence,” Manus answered. “But even if we’re


 wrong, the Black Elves and Incánus believe at the very least, it would drive the Silence out of


 Arda and Eä, and into the nothingness beyond the Void, forever.”


        “Are these Rikedons in the service of the Silence?” Alatar asked.




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        “Yes,” Mansu answered. “They’ve been hunting us since we passed the Great Desert,


 even though we sailed as far beyond their coasts as we dared. Their long snouts are rumored to


 sniff the desires of those who oppose them, which I guess they did. They’ve been hunting us ever


 since. At first they attacked us and our ships at sea, riding the waves like ships, instead of beasts


 that swim. All our other ships were destroyed and only me, my crew and these six Oliphaunts


 survived and made landfall. We plunged into the jungles of North Harad and we have not seen


 them since, until today so it’s clear they’ve been hunting us ever since.”


        “How many Dark Sabre’s do you have?” Alatar asked.


        “Just this one,” Manus answered. “And there are six Rikedons.”


        “How did you escape them in the jungle?” Eldarion asked.


        “I imprisoned the King of Beasts,” Manus answered. “The Lion of Harad. I ordered him


 to have the beasts at his command to slay the Rikedons. Only he can save us now.”


        Manus stopped their Oliphaunts, they dismounted and he signaled Malvia. She lowered a


 big cage holding a great lion who had been carried concealed within the basket atop her


 Oliphaunt. Manus prepared to open the cage.




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        “My Lord and King of all the Beasts,” Manus said. “I know you only agreed to help me


 once but our mutual mortal enemies are coming. If I release you now you must destroy them.


 Please?”


        “Wait,” Eldarion said, and he addressed the King, “Do I understand correctly that you’re


 looking for the Ring of Celebrimbor to break the Silence That Devours in the Great Desert


 between North Harad and Greater Harad with the Music of Ilúvatar?”


        “Yes,” the King growled. “It threatens beasts, just as it threatens everyone else.”


        “If you agree to help me in the future,” Eldarion said, and Elanor thought not even his


 father, not the King of Beasts before her, appeared so regal, “I pledge that when we find the Ring


 of Celebrimbor, I will travel to the Great Desert and use it to destroy the Silence That Devours.”


        “Why would you do that?” the lion growled.


        “The Silence That Devours threatens my people too,” Eldarion answered. “In this we


 would do well to work together to preserve all living things.”


        “If you pledge to destroy the Silence,” the King of Beasts said, “I will help you.”


        “So be it,” Eldarion said. “I give you my pledge to find the Ring of Celebrimbor, the


 Master-ring of Middle-earth and destroy the Silence That Devours. You have my Word.”

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        “Agreed,” the Lion said. He turned to Manus, “Release me. All within the range of my


 call will destroy the Rikedons.”


        Manus ordered Malvia to open the cage.


        She nodded to her lieutenants and they lifted the iron bars on one side.


        The King gave a mighty roar, leaped off the Oliphaunt, and ran towards the Rikedons.


        “He certainly appears to be one of the most fearsome creatures,” Eldarion said to Manus,


 “But I don’t see how he can survive, much less prevail against such overwhelming odds. We


 must help him!”


        “No, no,” Manus said, holding Eldarion back, “We’d only get in his way. The last thing


 the King of Beasts needs is any help from us.”


        “Eldarion,” Elanor said, holding out her Ring.


        He slipped it on and understood: the King wore on the third finger of his left paw,


 glinting against his golden fur, a golden Ring of Power.


        The Lion roared and from the forest came the answering calls of birds and beasts and


 other things, everything that crawled or ran or flew within the forest and skies, even things that


 tunneled through the earth beneath their feet answered the call of the King of Beasts.

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        Throughout the woods bears, badgers, hawks, foxes, wolves, coyotes, cougars, panthers;


 every living killing thing converged on the Rikedons, overwhelmingly them with beak, fang,


 horn, tooth, and claw.


        The Rikedons screamed high pitched piercing screams and used their spear-like double


 horns to stab as many of their foes as they could. Every time they did, the creatures screamed a


 horrible cry that quickly faded, their eyes grew white, and they turned on their companions,


 becoming the servants and allies of the Rikedons.


        But far faster than the Rikedons could stab, more wolves, bears, buffalo, foxes and hawks


 descended on them at the command of the King of Beasts but the vultures had fled the minute the


 Lion had roared. The Lions subjects vastly outnumbered the Rikedons, which were quickly


 overwhelmed far faster than they could stab and create more Cryptids. Together, the armies of


 the King of Beasts cut and rent the flesh of the Rikedons and their Cryptids, and tore them to


 pieces, until there was nothing left.


        The King returned, “My part in our bargain is fulfilled. I leave for my Kingdom in Harad.


 On my way, I will destroy any and all Rikedons in all the lands between us, and you will be free


 to complete your journey and achieve our Quest.”

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        “Thank you, your Majesty,” Eldarion said, bowing. “Until we meet again.”


        The Lion roared and leaped off the back of the Oliphaunt. He ran through the woods


 roaring. The great assemblage of birds rose into the skies and neither predators nor prey harmed


 each other as they peacefully dispersed. The borrowing things burrowed back down into the


 ground. The squirrels returned to the trees, the badgers and beavers returned to the rivers and the


 deer, bears and other beasts went running away through the wood.


        Manus and his companions returned to their Oliphaunts and they found the path they had


 been following since Bree and they traveled north towards Rivendell for days. But once they


 started slogging through the midge infested marshes, there were nights they never left their net


 covered baskets.


        They slept inside of them protected atop their sleeping Oliphaunts.




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                                BOOK II




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                                             Chapter 1




                                     The Daughters Of Rohan




        Appearing neither young nor old, the tall and regal silver-white haired Elven Lord


 Celeborn, ruler of Lothlórien stood between the Elven Lords Haldir, his brother Rúmil, and their


 band of Elvish warriors waiting by their horses. Before him stood his great-granddaughter the


 High Queen Arwen, her daughters the Princesses Celendrian, Elerith, Brindil who was ten and


 Cetelina just six years old, the princesses Niphredil and Pingyang, their brothers the princes


 Elboron and Xiang, and their escorts from Ithilien, Hildória, and Gondor.


        Though Arwen was Celeborn’s granddaughter, she appeared much older and this


 knowledge haunted her eyes and never left her mind.


        “You’ll be safe in Lothlórien,” Arwen told Brindil and Cetelina.

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        They kissed their mother dutifully, hugged their sisters, and said goodbye to their friends.


 Brindil mounted an Elvish horse but Celeborn lifted Cetelina, put her on his own saddle,


 mounted behind her, led Brindil north, and Haldir, Rúmil and their Elvish warriors followed.


        The Queen and her daughters; the tall, powerfully built, blond haired blue eyed Crown


 Prince Elboron of Ithilien, his sister the willowy blond fifteen-year-old Princess Niphredil, their


 guests the Crown Prince Xiang and his sister the Princess Pingyang were each escorted by a


 squad of twelve personal guards and various attendants.


        Around them, the countryside of Rohan spread for miles in gently sloping pastures and


 lush tall seas of grasslands. They waved in the harsh winds and stretched as far as the eye could


 see. Northwestward rose the distant trees of the forests of Fangorn. Its dimly glimpsed rising


 slopes faded beyond their sight in the golden morning sunshine.


        From beneath the eves of the trees, the Entwash flowed out across the plains swift and


 narrow, digging deep into the fertile soil and cutting steep high banks, which looked down on the


 churning waters far below. Even more distant rose the snowy white peak of Methedras, the


 southernmost tip of the Misty Mountains.




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        Arwen, Celendrian and the rest mounted their horses and rode west, making for the Gap


 of Rohan. They rode for a full day and made camp at night, keeping an ever vigilant watch. Their


 guards sat in separate camps. But the princes gathered together around a single fire as they ate.


        The Prince Xiang and Princess Pingyang shared all that had befallen them since their


 family had been kidnapped by Estel and his Orcelven troops.


        Pingyang knew if Estel had not needed them alive and unharmed to ensure her father the


 Emperor Guan Qubing and her brother’s cooperation, her sisters and their mother would have


 died, and worse, long before the tragic events on their ship in the harbor of Minas Tirith.


        “How did you kill all those Orcelven?” Elerith asked.


        Pingyang looked to her older brother. Xiang nodded ever so slightly.


        Pingyang lifted the tassel from which her folded black hand fan dangled about her wrist.


 From her pack, she produced a heavy metal ball which Elerith had seen and thought a toy, a long


 thick many corded string attached to a heavy, long sharp blade that looked like a throwing knife.


 Pingyang pulled a long pin from the base of her fan and inserted it into a hole in the metal ball


 and it locked in place. She tied the end of her fan to one end of the string, unfolded and opened


 the metal blades, used them to scoop up burning coals from the fire, closed them up within the

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 blades of her fan around the metal ball, and fastening the blades together around the coals, she


 formed a metal, burning bigger ball.


         She stood in the darkness away from the fire, twirling the heavy throwing knife on one


 end of the long thick string with one hand and the burning metal ball with the other, producing


 an audible whirr and a bright circle of fire from which flames and burning sparks of wood shot


 out into the night.


         “In Hildória,” Pingyang told Elerith over the whine of the twirling blade and the roar of


 the burning ball, “some call this the Dragon Fist, others, the Meteor Hammer.”


         The blade shot out and dug deep into a cloven flat piece of wood that lay in the pile


 beside the fire. Pingyang yanked it back towards her and set it spinning in a wide slanting arc


 high over her head and then she sent it rocketing straight up. With her other hand she released


 the burning ball from where it spun beside her, it shot up and she yanked the wood back down.


         The two collided, the burning ball shattered the wood and set the many splinters ablaze as


 they fell in fiery fragments that burned out in a bright circle beyond their fire. Pingyang stopped


 her twirling, pressed a release on the handle of the ball, the blades opened, and the burning coals


 fell back down into their fire. She put the heavy knife blade away, and when the metal fan had

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 cooled, she untied the ball, locked the slats into the flat shape of her hand fan, closed them,


 secured it upon its clasp and let it drop, to dangle on its tassel demurely from her wrist.


        “Why did it take us so long to meet you?” Elerith asked, delighted by Pingyang’s


 extraordinary display of lethal prowess.


        For the first time since her mother and sisters died, Pingyang laughed along with Elerith.


 Xiang looked at Celendrian, their eyes met, and they smiled.


        On their third day out after Brindil and Cetelina had departed for Lothlórien, with the


 northern peaks of the Misty Mountains and the westward peaks of the White Mountains


 converging ever closer before them, the ground began to tremble and they heard a shriek in the


 far distance coming down from the north.


        “What is it?” Celendrian asked.


        “A marauding drake,” Arwen replied calmly, pointing at a distant shape they felt more


 than heard, as if sharing the menu of what they would serve for lunch. “We must ride faster.”


        “We can’t outrun a drake!” Elboron shouted. “We need to stop and make a stand!”


        “We will lose any contest with a dragon,” Xiang told them. “We must split up. The worm


 can only move in one direction. All but one of us, whomever the dragon chooses, will survive.”

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        “Elboron,” Arwen commanded. “You will lead the Princesses Celendrian and Elerith to


 safety, with our royal guests and their escorts.” She turned to the knights of Gondor, “The rest of


 you will come with me.”


        “Mother!” Celendrian cried. “What are you doing?”


        “Neither drakes nor dragons are usually found on the plains of Rohan,” Arwen told her,


 handing her a large black iron key from her belt. “This is not a coincidence. This creature has our


 scent and is coming for you. We will distract the monster and you will seek refuge in Orthanc.


 Once you are there, use the Orthanc-stone and tell your father what has happened.”


        Without waiting for anyone to agree, Arwen galloped north and her knights followed,


 closing the distance with the advancing drake.


        “Look!” Pingyang cried.


        From the west rode a cavalry of the Riders of Rohan, their regalia were the traditional


 green of the Éothéod and bore white horses, and they charged madly to intercept the dragon.


        Celendrian turned her party north against Arwen’s orders and over Elboron’s protests and


 led them away from the westward path and the drake, but towards the Riders, who were north of


 them and closing the distance between Arwen and her knights, and the dragon.

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        One red horse, swifter than the rest, charged ahead of the Éothéod bearing a red mailed,


 red armored, and red helmeted knight carrying a long and deadly red lance before him.


        “One knight cannot best a dragon,” Xiang told them.


        “That’s not any knight,” Celendrian said.


        “It’s our friend Prince Ælfwine!” Elboron shouted. “The Red Arrow!”


        Unlike the other knights, Ælfwine’s armor alone was the brightest copper red, and


 outlined in white, his shield and helm bore the emblem of a red arrow in flight.


        The rest of the Éothéod tried to catch him, but his horse Scilflyng was too fast and


 Ælfwine “The Fair” Éadig closed with the drake.


        It turned away from Arwen and her knights, and at his advance, advanced on him instead.


        They closed, Ælfwine checked his gallop and slowed, the dragon sensed fear and


 charged, roaring fiercely. Ælfwine spurred his horse, Scilflyng shot forward, and he drove his red


 lance down the monster’s throat.


        The drake screamed and reared on its hind legs to relieve the biting pain in the back of its


 throat, and Ælfwine kicked Scilflyng into a hard charge, shoving the lance in deeper and tipping


 the dragon over. It fell on its back roaring, Ælfwine drove the lance completely through the

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 monster’s throat, out the back, and down into the ground, pinning it in place. The dragon


 screamed, writhing painfully around the lance implanted through its neck deep in the earth.


        Ælfwine released the end of his implanted lance and galloped forward. He leaped off


 Scilflyng with his sword Herugrim held two handed over his head, came down on top of the


 dragon and drove the legendary blade into its heart.


        “Ælfwine!” Elboron shouted.


        Arwen’s knights, the Éothéod, and everyone with the other princes wildly shouted and


 cheered, and the knights slammed their swords against their shields in thunderous applause.


        The dragon spasmed, Ælfwine curled his body around the hilt of his sword, and the


 beast’s arms and legs and tail shot out from its body, held rigid, and the entire monster collapsed.


        By the time Celendrian reached them, Ælfwine had removed, cleaned and sheathed


 Herugrim, and Arwen had directed her knights to scale the dead drake and collect its teeth,


 venom, claws and fangs.


        “What about its heart?” Celendrian asked.


        “The hearts of drakes do not confer the same benefits as those of dragons,” Arwen


 answered.

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         “That was amazing!” Elboron told Ælfwine, slapping his armored back. “Where did you


 learn that trick?”


         Ælfwine removed his helmet. His red hair glinted in the sunlight and he laughed,


 “Practice, practice, practice! You don’t think the Erolingas leave all the fun to you Ithiliens?”


         “You have to teach me how to do that!” Elboron told him.


         “Well,” Ælfwine said, regarding the dead dragon thoughtfully, “you know I don’t mind


 Elboron. But it’s going to take a lot of work. It’s not as easy as it looks.”


         “Easy?!” Elboron sputtered and everyone laughed.


         “Ælfwine!” one of the Riders shouted, reining the horse and dismounting. The Rider


 removed her helmet and her own long golden hair unfurled in the wind, “Are you crazy?!”


         “Relax Éodyn,” Ælfwine told her. “The dragon was attacking the Queen! Besides, it


 wasn’t that big of a drake. I had everything under control.”


         “Éodyn!” Celendrian, Elerith and Niphredil cried, running over and hugging her.


         Ælfwine called two of the green clad knights over, they removed their helmets and he


 introduced them, “Éodyn you’ve met. These are two of my other sisters, Idris and Liathwyn.”




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         Xiang bowed with his arms at his sides, “How is it that the Rohirrim are blessed with so


 many strong and beautiful warrior women?”


         “To honor the accomplishments of the Shield Maiden of Rohan during the War of the


 Ring, when she killed the King of the Nazgûl,” Ælfwine answered, “our aunt, the Princes Éowyn


 of Ithilien – ”


         “That’s my mom!” Elboron called.


         “ – my father King Éomer sponsored the creation of an all-volunteer Éored of women


 warriors, the Daughters of Rohan, which they lead.”


         Pingyang bowed to them, “I am heartened to learn that in Hildória, we are not alone in


 training women to fight.”


         “In large numbers?” Idris asked.


         “Yes,” Pingyang answered. “This is why I was allowed to learn the skills of a warrior.


 My father has a military unit of 180 women led by my aunt, Jianü, the Lady of the Sword.”


         Everyone was briefly introduced and told as much as necessary, but Arwen insisted they


 mount their horses and set out for the feet of the Misty Mountains at once.


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        They arrived at the southern tip of the Mountains an hour before sunset. Away in the


 distance and far, far above them rose Methedras wreathed in snow. Two great groups of lesser


 peaks and hills spread southwards like welcoming arms around a great valley with gently sloping


 rises and fields fed by many springs and streams, which came down from the rain washed hills. It


 was fertile and green, with a great many forests.


        “This is the valley of Nan Curunír,” Celendrian told Pingyang. “Called by some the


 Wizard’s Vale.”


        They rode down into the valley and after several miles more the dirt highway became a


 wide street paved with flat square stones set so skillfully, no weeds great between them. Deep


 gutters on each side were almost filled with mud and steady streams of water ran over the tops.


        On their left, a tall pillar of black stone rose and on top of the pillar lay a black hand


 clenched in a first, with one finger pointing north. Flecks of paint and dried blood were left here


 and there between the stone lines of the stone fingers and under the stone fingernails.


        They rode on and soon came to a great open arch of black stone at the mouth of a long


 echoing tunnel with very thick stone walls. The walls extended into the valley and ended at


 another arch open arch.

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        But there were no other structures, and the open arches and enclosed tunnel connected


 one open grove of trees to another. In a great circle from the edge of the arch, a flat plain like a


 mammoth shallow bowl held open fields, pleasant meticulously tended gardens, glades, many


 woods and several dense forests from one end of the flat plain to the other, but with no visible


 evidence of anyone within many a day’s ride to tend the gardens.


        “In the center lies the Treegarth of Orthanc,” Arwen told them.


        Against the setting sun they saw a black shape rising from the center of a dark lake, like a


 sharp tooth. When they rode closer, Pingyang saw it was a tower, topped with four pillars of


 many sided, smooth black stone. Each one ended in a jagged spire and it appeared to her there


 must be an opening on top, or a flat roof between the peaks.


        “That is our destination,” Arwen told them. “The Tower of Orthanc.”


        “How high is it?” Xiang asked.


        “Over five hundred feet,” Celendrian answered.


        “How are we to get in?” Pingyang asked.




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        Just then, one of the many old and venerable trees turned and walked towards them. If


 Pingyang and Xiang had not had a lifetime of training and their own share of extraordinary


 adventures, they would have shouted in surprise.


        “Well, hoom!” Treebeard the Ent said, bowing, “Welcome back to Orthanc, my Queen.”


        Hidden behind a strand of willow trees in the water at the edge of the lake lay many small


 boats. They tethered their horses, filled the boats, and rowed out towards the Tower. They came


 to a pier and tied the boats. There they found lanterns. Arwen bade them light a dozen and she


 led them to a wide staircase of smooth black steps that rose up into darkness. At the top of the


 stairs, Celendrian took the key Arwen had given her, unlocked the door with a loud clang, and


 she pressed her fingertips against the large thick black stone door. It swung open almost


 noiselessly with just a touch.


        Inside, the Tower was as large as a castle, but unlike any Pingyang or Xiang had ever


 seen, carved from four blocks of black stone joined together in the center. Pingyang noted that


 outside it had appeared a single stone.


        “Who built this?” Xiang asked.




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        “It was built by Númenóreans,” Arwen answered. “People of Middle-earth that had


 returned from having lived on an island across the ocean in the west.”


        Pingyang touched the smooth cold walls, “For what purpose?”


        “To protect the Gap of Rohan between the Misty Mountains in the north and the White


 Mountains in the south,” Arwen answered. “The kingdoms of Men and Elves in the West had


 traditionally been threatened by invaders from the East.”


        “It was not our people,” Xiang told her. “Until this moment, the lands of the West have


 been shrouded in mystery. We are the first to travel this far.”


        Arwen had Celendrian house the knights in the large windowless rooms at the base of the


 Tower. It was equipped with kitchens and barracks and it looked like there had once been a


 smithy and forges, and the fires had burned hot. Celendrian directed them to prepare food for


 themselves and their royal guests, and she took their guests to windowed rooms above the Great


 Room in the center of the Tower. Then she joined Arwen and Elerith in their private quarters.


        “Why does Estel hate you so much?” Celendrian asked.


        “When we were children,” Arwen answered, “Elladan and Elrohir would have nothing to


 do with him. Your grandfather made him my special charge. I was to ensure he received a

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 princely education, but no training in arms or strategy. It was ultimately irrelevant. Estel did not


 enjoy learning. He was not a good student. When the changes began in his twenty-second year,


 still a child in Elvish terms, but for orcs a full grown adult, I not only saw the changes happening


 on his face, angry red blotches, sores and ulcers, I could feel them in his fëa, slowly corrupting


 with darkness and evil. I heard the change in his Eä one afternoon, which happened dramatically,


 like breaking glass and screams of agony. Something burst within Estel like a cancerous bloat of


 infection, spreading sickness throughout his hröar. I unconsciously reacted with the horror it was.


 That is what Estel saw on my face, that drove him from Imladris.”


        “Why didn’t grandpa Elrond kill him?” Celendrian asked.


        “I do not know,” Arwen answered. “He was my brother. It did not occur to me to ask.”


        Arwen said good night to Elerith and led Celendrian to a chamber at the top of the Tower.


 A long sloping hall followed the outer walls and turned in on itself twice, like a maze, creating a


 trap that imprisoned darkness and silence within, and prevented light and wayward sounds from


 entering the center of the windowless and insulated Chamber of the Palantír of Orthanc.


        Inside, it was as silent and as dark as a tomb.




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        In the middle of the room set atop a black marble pillar lost in the darkness, so dark it


 seemed to float above the floor, a sable cloth completely covered and shrouded the Palantír.


        Arwen covered her lantern with another shroud. The total quiet of the room plunged into


 total darkness. She pulled the shroud off the medium sized Orthanc-stone and within its grey


 smoky depths, a grey glow slowly grew brighter. Arwen concentrated and the images of roads


 and distant lands unspooled as if through the clear glass of a moving horse-drawn carriage.


        Up hills and down valleys, past waterfalls and guarded gates the Eye of the Stone passed


 effortlessly and unseen, past the cliffs and falls of Rivendell until she saw the face of Glorfindel


 sitting beside Thüringel in the private chamber that had once belonged to her father Elrond.


        Glorfindel sat at Elrond’s desk with Thüringel beside him. In the center of the room


 glowing dimly on a marble pillar sat the much larger, stolen grey Elostirion-stone.


        “Should you not keep it covered?” Thüringel asked.


        “If anyone uses the other Stones I wish to know immediately,” Glorfindel answered. “If


 anyone were looking at us, we would see them. That’s how the Stones work.”




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        “I know how the Stones work,” Thüringel snapped. “I’ve gazed too many times to count


 in the Ithil-stone, when it was in the Tower of Barad-dûr. I have watched the doings of every


 Queen and King in every land, before Lungorthin stole it.”


        “Speaking of the Ithil-stone,” Glorfindel asked, “where is it?”


        “Lungorthin has taken it with him in his conquest of Khazad-dûm,” Thüringel answered.


        “I imagine we will be hearing from Lungorthin and his minions,” Glorfindel said. “He


 can’t be pleased with all the shipments of mithril we’ve waylaid.”


        “We should focus on the United Kingdoms,” Thüringel said. “They’re much larger and


 more dangerous. They’re resources and allies grow faster than Lungorthin’s, or our own.”


        “Speaking of them,” Glorfindel said, gesturing towards the overly large Elostirion-stone.


 “Where have Elladan, Elrohir, and the Crown Prince Eldarion gone?”


        Until this moment, Glorfindel had jealously kept anyone else from using the palantír,


 though Thüringel had wanted to use it for a very long time.


        She went to the Stone, peered into the smoky glass, touched the surface and concentrated.


 The Ring on her finger glowed, and only because Glorfindel had already broken it to his will, she


 was able to tear the Eye away from the West, and look out across the lands around them.

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        For hours she looked hither and thither, walking around the Stone and stopping on the


 opposite side from the direction she wished to look, guided by experience, her intuition, and the


 power of her Ring, until at last her efforts were rewarded.


        “They are leaving the Forsaken Inn and riding west,” she told Glorfindel. “Who would


 have thought two elves and the Crown Prince would stay in such a place?”


        “Really!” Glorfindel cried. He rose and stood beside her, looking at Elladan, Elrohir and


 Eldarion riding west through the surface of the palantír, “I wonder what they were doing there.”


        “It doesn’t matter,” Thüringel said. “By tonight, they’ll be in Bree.”


        “In that case,” Glorfindel said, sitting at his desk, dipping his quill in his pot of ink and


 beginning a letter on a fresh page of parchment, “we must prepare a surprise for them.”




                   *               *               *               *               *




        Arwen replaced the sable shroud atop the Orthanc-stone, plunging the chamber into


 darkness. She removed the cover from the lantern and led Celendrian out.




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        Safely past the maze-like turns where they could speak freely, Arwen turned to


 Celendrian, “Since Glorfindel and Thüringel are preparing a surprise for your brother and uncles,


 it is only fitting we prepare a surprise for them.”




                    *              *               *             *               *




        Celendrian wished again, her parent’s paranoid need for secrecy did not so often require


 her to be up this late into the night, as her mother had required again tonight. But she also knew


 their caution had saved her life too many times to count.


        It was the third hour past midnight and they were alone on the roof of Orthanc, standing


 on glowing runes of power engraved in the black stone floor, in the middle of a warm breezeless


 night, beneath the large full moon and brightly burning stars on the twenty-fourth of March.


        “After Celebrimbor made another Ring of Power for your great-grandmother Galadriel,”


 Arwen told her, “she passed the first one to your grandmother Celebrían in a ceremony very


 much like this one.”


        “How do you know?” Celendrian asked.

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        “Because your grandmother told me when she passed that Ring to me,” Arwen answered,


 holding up her right hand. On her first finger there appeared a golden Ring which Celendrian had


 never seen there before, “This is Anqaúrë, the Ring of Feeling.”


        “But the Rings were crafted for different races,” Celendrian said, alarmed. “Someone of


 one race can’t use the power of the Ring of another without being driven mad.”


        “This is not a Ring forged for Elves,” Arwen said, removing the Ring from her finger and


 holding it up in the moonlight for Celendrian to see. She spoke a command in Elvish and blue


 light lit the Elvish runes inscribed across the surfaces in ithildin, “This is one of the Five the


 Mirdainions forged for Men. It is the Ring of sensing, intuiting, knowing, a very powerful Ring.


 Perhaps the most powerful of the Rings made for mortal hands, of which there were fourteen.”


        “I remember,” Celendrian said, reaching for the Ring. But her mother did not offer it,


 “Do you want me to wait to hear about it, or can I just put it on?”


        “Before your brother’s eighteenth birthday, your father broke the seal on the tomb of


 Denethor and retrieved the Palantír of Anor,” Arwen told her. “It was a long and painful process,


 but he broke the hold of Denethor’s dying fëa on the Stone. Time finally moved forward in the




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 smoky grey crystal. He saw Denethor die, his flesh withering in the flames, and there appeared


 on his finger, a golden Ring set with a bright red gemstone.”


        “Why are you telling me this?” Celendrian asked. “The identities of Ringbearers and their


 Rings are never shared, except when passed from one to the next.”


        “You will soon know the answers to all your questions,” Arwen responded. “I am merely


 taking a moment to prepare you for what is coming. Once the Palantír of Anor had been broken


 to your father’s will, he discovered Denethor had spent much of his life using it to find the Five,


 though he did not find them all. Of those he did, one went to his son.”


        “Which son?” Celendrian asked.


        “Boromir,” Arwen answered. “But the orcs that slew him in Parth Galon did not search


 his body. Saruman had ordered them to kidnap and search the halflings. When your father and


 his companions arrived, Boromir was covered in blood, so they too missed the Ring which


 appeared on his finger the moment he died.”


        “After laying him in a boat and sending it over the falls of Rauros, he was cleansed in the


 waters of the Anduin, and far below the falls, his body continued its journey downriver for days.


 Late one night while wading the shallows, Boromir’s body lay half submerged within his boat

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 and floated by his brother Faramir, like a vision. Faramir immediately noticed the Ring. In the


 light of the moon which filled the sky that night, the ithildin letters glowed brightly and Faramir


 claimed it as his own. This is how he knew so much about Frodo, and why he was not tempted


 by Sauron’s Ring. The one he already wore informed him of all Boromir knew, and warned him


 away with an almost violent reaction to the corrupted fëa within the One.”


        “So all this talk about the Three Nobles – ” Celendrian began.


        “Faramir is a good man,” Arwen interrupted. “Which is why he is a good friend, and a


 great Prince, far better than most. But still a man, far from perfect.”


        “Does Faramir still wear that Ring?” Celendrian asked.


        “No,” Arwen answered. “It was the wedding Ring he slipped on Éowyn’s hand the day


 they married.”


        “Wow,” Celendrian said. “Three cheers for Faramir.”


        “He is a good man,” Arwen said. “Éowyn is a great woman and a loving mother. When


 Elboron reached his Majority, it was her gift to her son, to strengthen him in his struggles against


 the enemies of our kingdoms.”


        “Good for Elboron,” Celendrian said, surprised. “That sneaky dastard!”

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        “Elboron is a very good man,” Arwen said. “He has the best of both his parents. If he


 ascends the throne of Ithilien, he will be a truly great prince, and a great friend and ally to you,


 your sisters, and your brother.”


        “Alright, you win,” Celendrian said. “Which Ring is Elboron wearing?”


        “Elboron wears Oromë, the Hunter’s Ring,” Arwen answered, smiling. “It is unusual,


 only two of the original Rings of Power bear gems. Your father’s bears a red beryl and Elboron’s


 bears a polished beige thomsonite stone on a metal band of blue osmium.”


        “This is esoterica,” Celendrian said. “I’m well versed in alchemy and gemology and I’ve


 never heard of either.”


        “They are very rare,” Arwen said, smiling. “Osmium has only been found in the same


 veins as mithril, and it was only forged in Khazad-dûm before it fell to the Balrog. Thomsonite


 came from different ores in those same mines.”


        “Why did Éowyn give Elboron her Ring, but you didn’t give yours to Eldarion?”


 Celendrian asked.


        Arwen’s smile faded and her expression grew grim, “When Celebrimbor and the


 Mirdainions forged the Five, he gave them to the Númenórean Crown Prince and mariner Tar-

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 Aldarion, who had been sailing to Lindon since the early 700’s of the Second Age. He had


 forged an alliance with Gil-galad to oppose Sauron. Tar-Aldarion took them back to Númenor,


 and gave them to members of his family, including his father King Tar-Meneldur and his


 daughter and future heir Tar-Ancalimë, the first Queen of Númenor. At the end of Tar-


 Meneldur’s reign, one of the Valar came to him in a dream and told him it was time to pass the


 throne to Tar-Aldarion. He passed the Scepter openly, and in secret, his Ring of Power, and then


 aged rapidly and died, as usually happens when Ringbearers wear them beyond the span of years


 normally allotted to their kind.”


        “That didn’t happen to Gollum,” Celendrian said.


        “Usually,” Arwen responded. “Don’t be impertinent.”


        Celendrian rolled her eyes, “Mother – ”


        “When Númenor fell,” Arwen continued, “the Rings and a great many other treasures,


 which many believed lost or forgotten, were secretly saved and brought to Middle-earth by


 Elendil, including the Rings of Power, which he passed to his sons Isildur and Anárion, and their


 heirs, who passed them to their children, mostly, and eventually one found its way to Denethor.”


        “That’s not like you,” Celendrian said. “What does ‘mostly’ mean?”

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        “After Estel came to the throne room and tried to murder your brother, that night I had a


 vision,” Arwen confessed. “The Vala Irmo Lórien, Master of Dreams came to me in my sleep


 and told me the time had come for me to pass Anqaúrë to Eldarion. But the next day, your


 brother refused to come with us, and I was uncertain as to whether or not it was truly time. The


 next night, the Vala Námo Mandos, the Judge of the Dead and Master of Doom appeared to me


 in a dream and told me that I must not delay, Eldarion would be facing terrible trials and great


 hardships in the world, and the time had come for me to pass him my Ring.”


        “But you didn’t,” Celendrian noted.


        “I did not,” Arwen said.


        “Why not?” Celendrian asked, tersely.


        Rarely, if ever, had she demanded an accounting from her mother.


        Arwen couldn’t help but notice that already the scales were shifting, had shifted, tipped


 out of her favor and into the hands of her daughter, who would certainly be aware of this and


 perhaps she imagined she would henceforth be her mother’s keeper. But she knew her daughter


 was in for many surprises, “When your father found Formáitë, the Ring of Right Decision on


 Denethor’s blackened bones, he put it on and set out to discover the others. The search had

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 occupied much of Denethor’s life, and by watching Denethor watching the palantír, he was


 spared much effort. He discovered, just as Faramir later did with Éowyn, when Denethor married


 Finduilas, the Ring he slipped on her finger was Anqaúrë.”


        “But Denethor was much older than Finduilas when they married and she died young,”


 Celendrian said. “I thought the Rings gave extended lifespans.”


        “Finduilas’ death was not natural,” Arwen told her. “She was poisoned, and before her


 death, she did not pass her Ring to anyone. Her sons were too young. Nor did Denethor later. It


 was buried with her and remained on her finger in the House of Queens in Rath Dinen. Your


 father broke the seal on her tomb and found it on her unwithered body, for one of the powers of


 the Rings is to preserve. Her flesh was not consumed by fire as Denethor’s had been, and so


 remained unspoiled. Removing it, her flesh withered, and he came and gave me her Ring.”


        “It’s too bad he didn’t discover this before your marriage,” Celendrian said. “It could


 have been your wedding Ring too, and you wouldn’t have appeared to age.”


        “See?” Arwen said bitterly. “It is all anyone cares about.”


        “No, mother,” Celendrian said, a flat denouncement in a derisive tone she had never used


 with her before. “It’s all you care about.”

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        “Your father also discovered that Lámya, the Ring of Sound was in the possession of a


 Warlock of Khand in the service of Lungorthin, who has also been hunting Celebrimbor’s


 original Rings. Lungorthin wears one of Sauron’s corrupted Seven, Telpërin, the Ring of Mithril,


 that bears a polished silver Moonstone. At Lungorthin’s command, believing either I or your


 father had passed one of our Rings to your brother, this Warlock has been hunting Eldarion since


 he left Minas Tirith. Last night, Lórien and Mandos appeared to me together as the Fëanturi,


 Masters of Spirits, but not in a dream. In what was clearly a powerful waking vision, they told


 me the time to give Anqaúrë to Eldarion had passed. It was too late. The Warlock will find him


 tonight, without the Ring, in Bree.”


        “Elladan and Elrohir won’t let anything happen to Eldarion,” Celendrian said.


        “The scene I showed you in the Orthanc-stone was from three days ago,” Arwen told her.


 “This morning, your uncles received Glorfindel’s forged summons and rode for Imladris, leaving


 your brother alone. Armed with demonic spells and strengthened by his Ring of Power, I cannot


 imagine any way your brother will survive their encounter.”


        “We have to ride to Bree!” Celendrian shouted, furious with her mother.




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        Misleading and withholding was so much like her, but playing games with the life of her


 brother while genuine threats to the Kingdoms were popping up all around them was proof


 enough she had gone too far, even by her own secretive and manipulative standards.


        “I agree,” Arwen said. “Though it may already be too late. But I was also instructed, most


 harshly, the time has come for me to pass Anqaúrë to you. You have already ventured out in the


 world amid great dangers, and you too will need every strength and advantage we can muster in


 order for you just to survive, and yet you will still be sorely tested.”


        Celendrian knew her mother too well. To an outsider, she would appear no different. But


 she could see the pain of her mother’s mistakes and bad decisions tearing her apart with an


 agony and a suffering she had never seen in her before.


        Arwen held up the Ring, “Anqaúrë is very powerful. Perhaps the most powerful of all


 those made for mortal hands to bear, of which there were fourteen.”


        “I remember,” Celendrian said, frowning. “You’re repeating yourself.”


        “The most important thing to remember when wearing this Ring,” Arwen told her, “is


 that you must not attempt to access all its powers at once. If you do, you will be overwhelmed.”


        “I can remember that too,” she said. “I think you need some sleep.”

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        “The most subtle, yet most useful ability conferred by this Ring,” Arwen told her, “is


 when you touch someone, if you focus your fëa and concentrate, you can learn all there is to


 know, everything they remember, from whomever you are touching.”


        “Wow,” Celendrian said, startled. “That’s quite the double edged sword.”


        “I knew you would immediately grasp the significance,” Arwen told her. “You are so


 much like your father.”


        “Yes,” Celendrian responded, “and Eldarion is very much like you.”


        “Since I have used this Ring when touching every member of our family,” Arwen said,


 “including my mother when she passed Anqaúrë to me, I have no doubt you will immediately


 sense and have no difficulty mastering whether you wish to remain visible or become invisible.


 But it will still take you more than a minute to grasp the true ramifications of all that I have said


 to prepare you, despite your extraordinary grasp of things.”


        Arwen held Anqaúrë out for her daughter.


        Having read about Rings of Power her entire life, and shared whispered rumors with her


 brother and sisters about the possibility of one day actually finding and wearing one of the




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 ‘lesser’ Rings, which they knew in reality were much more powerful than the corrupted Rings of


 Sauron, Celendrian actually hesitated.


        But then she chided herself and was glad her brother and sisters had not been there to


 witness her momentary lapse of brashness. She took Anqaúrë from her mother’s fingers and read


 the softly glowing runes written on the outside of the golden band in Quenya script, ‘Five For


 Mortal Warriors Destined To Die.’


        Suddenly, she remembered one of her lessons in Minas Tirith. She held Anqaúrë up in


 the moonlight and spoke a string of Elvish commands. On the inside of the golden Ring, blue


 flame flared to life and there appeared a second set of runes.


        Her mother gasped, “How did you know those were there?”


        “I have you to thank,” Celendrian said, elated to have had another one of those rare


 victories, where she had managed to one-up her over-protective, over-controlling, and over-


 prepared mother. “It was your hand-picked progression of extraordinary tutors.”


        They examined the runes and read, ‘Anqaúrë The Ring Of Feeling’.


        Celendrian stared into her mother’s eyes and slipped Anqaúrë on the third finger of her


 left hand, never vanishing from sight, “Thank you for this. I know it was very difficult for you.”

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        “That was not what was difficult,” Arwen told her.


        “Really?” Celendrian asked. “What was it then?”


        Arwen held her arms out to give her daughter a hug.


        That alarmed Celendrian. Her mother was not prone to gratuitous displays of affection.


 The realization of the true meaning of her mother’s words of preparation, and what was coming,


 finally dawned on her, just as her mother said it would, and quite uncharacteristically, Celendrian


 began to tremble. She took a deep centering breath and asserted her control, calming her


 tumultuous emotions.


        She hesitated far more than before and with much greater trepidation, but the die had


 already been cast, and she knew it. Finally, she hugged her mother.


        On the third finger of her left hand, for the first time she felt the power of Anqaúrë and


 the Ring ever so slightly glowed.


        Celendrian sobbed and shuddered while her mother rocked their bodies back and forth.


 She stroked Celendrian’s long dark hair that was so much like her own. Celendrian could not


 recall her mother having done that since she was a child.




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        She cried for hours, for all the distances between them, her and her mother, and her and


 the girl she had been, before putting on Anqaúrë, hugging her mother and absorbing Arwen’s


 memories, and the memories of all the people her mother had ever absorbed, while standing on


 the roof of Orthanc beneath the moon and stars, and her mother’s loving arms never faltered.




                   *              *               *              *              *




        The next morning in bed, Celendrian tried to analyze and process what had happened.


 Absorbing the memories of all those people was not a violation of her privacy, nor of Arwen’s


 privacy, nor Celebrían’s, Galadriel’s, or any of the other people from whom any of them had


 absorbed memories, it was a violation of the sanctity of her individuality.


        Before, she had been completely Celendrian, no more, no less. Confident in her ability to


 decide for herself who she was or who she would grow up to be. Now, so many other people’s


 memories, fears, hopes, desires and dreams clamored for her attention.


        She never forgot who she was, and neither thinking nor focusing was a problem, but


 whenever she didn’t focus, it was easy to get lost in the oceans of foreign experiences and

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 memories that she and the previous Ringbearers had absorbed from others, particularly other


 women. Not all of them were enrichening, or even pleasant. Some were the complete opposite.


        Especially Celebrían’s.


        She pushed these unwelcome memories to the back of her mind, stood, stretched,


 refreshed herself, dressed, and joined Elboron, Ælfwine and the others, though her mother and


 Elerith were somewhere else in another of the many subbasements.


        It was immediately obvious to them she had been crying.


        “You’ve been looking in the Orthanc-stone,” Elboron said.


        “Yes,” Celendrian affirmed and her voice and manner were alarmingly subdued.


        “Is everything all right?” Ælfwine asked.


        “No,” she answered. “Not really.”


        “I’m sorry,” Niphredil said, always sensitive to other people’s feelings. She came and


 gave Celendrian a hug.


        Celendrian held her a moment longer than she usually did, excused herself, quickly


 returned to the staircase and silently descended the steps to the basement where she’d slept.




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        When Arwen and Elerith joined the others, Arwen immediately understood what had


 happened. But they did not have the luxury of time. There was already very little chance of


 saving Eldarion, but they had to try.


        She went down and fetched her daughter, “People are rarely exactly as they appear to be,


 and often there is much more to them than what they show the world.”


        “You knew?” Celendrian asked.


        “I know her mother well, and I listen as well as feel things,” Arwen answered. “I told the


 others upstairs that you have seen disturbing visions in the palantír. I have asked them to stay


 away from you, and most especially for no one to touch or approach you, until you request for


 them to do so.”


        “Who else knows?” Celendrian asked.


        “I discussed it with your father,” Arwen answered. “But I can’t imagine Elrohir and


 Elladan don’t know. They’re much too aware of things to have something this significant escape


 their notice. Eldarion was still just a child, but he has spent much time in Ithilien.”


        “I’ve looked into your memories,” Celendrian told her. “But I want to ask, about


 Niphredil… are you sure your brothers know?”

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        Arwen regarded her, “What have you seen in Niphredil’s memories?”


        For one long moment they’re eyes locked, and the torch was passed. The Guardian of the


 Ring of Power, the responsibilities, the burdens, the secrets, were now Celendrian’s. These could


 not be shared, and they both knew it.


        “What have you and Elerith been doing?” Celendrian asked.


        Her mother turned away and gathered her things for her, “I have been training her to


 produce and use the Fires of Orthanc, which you can do by looking into my memories.”


        Celendrian told herself she was fortunate Anqaúrë had not had many Ringbearers. Those


 memories were the strongest, and the ones she experienced most vividly.


        The others, though just as vivid, seemed less real, like watching a play through a window


 and not hearing the words. They seldom intruded, or came to mind unbidden.


        “I know you know I know how difficult this is for you,” Arwen told her, helping her


 dress in her riding clothes. “But you must adapt as quickly as possible. You cannot barricade


 yourself and never touch anyone. Though unknown by most people, but well known to midwives


 and wet-nurses, touch is essential to human survival. Without it, a baby will die as surely as if




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 their head were crushed beneath a stone. And it is not just babies. Adults as well. People need to


 touch other people, to survive. If you barricade yourself away, it will be a form of suicide.”


         “Is that how you planned to do it, mother?” Celendrian asked, this bitterness had never


 been in her voice before. It sounded like the bitterness which had grown in Arwen’s since she


 said goodbye to Elrond, which Celendrian now remembered clearly, experiencing every aspect


 of their painful parting just as her mother had. It had grown in leaps and bounds since Glorfindel


 stole the Elostirion-stone. “Why ask you anything? All I have to do is look into your memories.”


         “I do not recommend that,” Arwen told her. “It would only serve to lead you further


 along down this same path to an early death, despite the long life normally given to those of your


 father’s line, which for you will be much longer as a child of mine.”


         “Well, at least now I have a plan,” Celendrian said. “You’ve already demonstrated how


 easy it is.”


         “Bitterness does not become you,” Arwen said.


         “Maybe not, but we become bitter.” The sound of her own voice shocked her. She stood


 still a moment. “If I gave you back this Ring, it would go to Elerith. Wouldn’t it?”


         “Yes,” Arwen answered.

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        “What about Eldarion?” she asked. “Isn’t he going to get one of those other Rings? Oh,


 wait… when he stayed behind, father may have given him his Ring.”


        “All a Ringbearer ever knows…” Arwen told her, “… usually, is the nature of the Ring


 they themselves wear and the identity of whomever gave them their Ring, or from whomever


 they have taken it. But now you know many things, from many people.”


        “Then I guess I’m just going to have to make the best of it,” Celendrian said.


        They went up the long winding staircase and when Celendrian saw her friends she


 laughed and told them she’d had a frightful scare, but she refused to burden them with her


 troubles. She hugged them and never once used Anqaúrë. It was only then she began to hope her


 strength might be a match for her burdens.




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                                             Chapter 2




                                     I Dreamed Of Númenor




        As they cleared the Gap of Rohan, Arwen and Celendrian kept the Misty Mountains on


 their right. When night approached, they stopped and made camp an hour before sunset.


        Celendrian laughed and joked with her friends as she always had, and when she went to


 her tent and slept, she began to dream, dreams of Númenor, just after crossing into Eregion.


        During the days, they passed landmarks she’s seen on earlier trips, but now she saw them


 with different eyes, and with different memories, and they meant entirely different things to her.


        Every night before bed, Arwen called her daughters to her tent and sealed the flaps,


 plunging them into darkness. Using their own unique form of Iglishmêk, the secret language of


 silent gestures of the Dwarves, she unshrouded and taught Elerith how to use the Orthanc-stone.

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         She also shared with her daughters the discoveries made while everyone else had been


 busy setting up camp and fulfilling their responsibilities to their men-at-arms; giving orders to


 subordinates, easing burdens, showing appreciation, training lieutenants, enforcing discipline,


 meting punishments; sharing observations and impressions with their royal friends who did the


 same, eating together and partaking in the camaraderie of this unique gathering of princely


 comrades which was unprecedented, and perhaps would never be repeated, which they treasured.


         Celendrian and Elerith regretfully excused themselves from the others to join Arwen


 alone in her tent.


         But beyond the light of the fire and the hearing of the others, Elboron had followed them


 and he stopped Celendrian while Elerith continued on, disappearing into the darkness.


         “Cel,” he said softly, touching her hand, “I miss you.”


         She took his hand in hers and pulled him close, “I’ve missed you too.”


         “We haven’t talked since before Orthanc,” he said. “I’m worried.”


         “I know,” she said. “A lot’s been happening.”


         “Come on,” he told her. “This is me…”




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        “El…” The nearness of him, the tenderness of his strong touch, the intensity of his bright


 blue eyes that always looked deeply into hers. His so very handsome face. Rugged, yet somehow


 almost beautiful, framed in his golden hair; the sound, the timbre of his voice, the way he


 laughed, and the enormity of what she felt were all just as she remembered them. The same as


 they had always been. Despite the memories of others in her mind sharing similar, if different


 things. This immediacy was unaffected. “I just need a little time, to process a few things.”


        “You know you can share anything with me,” he told her and she felt the truth, the


 sincerity of his words with just this most limited use of her Ring, as well as his insecurity and


 fear that she was pulling away from him, and their headlong flight into the greatest joy either of


 them had ever known, “anything. I won’t judge. I want to help you.”


        “You will,” she told him. “You are. We’ll talk. Just give me a day, or two.”


        “Of course,” he said. “I just wanted you to know. I’m here for you.”


        “Celendrian,” Arwen called from somewhere in the darkness beyond the screening backs


 of the darkened tents in which their escorts slept.


        “I have to go,” she said, kissing him quickly but intensely, and they felt the surge.




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        From some far distant fire among their men-at-arms, Celendrian heard her name and


 then, “and I was just this close to her and when she asked the Queen, ‘What about its heart?’ I


 thought to myself, ‘Don’t her own daughter know? The Queen ain’t got no heart!’”


        Arwen was waiting for her at the unsealed and open flaps of her tent. Celendrian entered


 and Arwen sealed the tent flaps shut.


        While her daughters had eaten with their friends, Arwen had remained alone, eating


 alone, working alone, and now alone in her tent, she showed her daughters the fruits of her


 labors, focused on their survival and that of their kingdoms. She showed them things that were


 happening right now close by, things happening far away, and things that had happened long ago


 and far away in the distant past, and sometimes the not-so-distant past.


        “What happened to Eldarion?” Elerith asked.


        “This was two days ago,” Arwen said. She concentrated and in the palantír they saw


 Eldarion watching their uncles riding away from the Prancing Pony. Outside the walls, a mail-


 clad, hooded and cloaked figure with his ear always cocked, like a bloodhound following a scent,


 rode with a group of hard men, outlaws, and they came to the East Gate of Bree.




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        He showed his papers to the Captain of the Gate, who scrutinized them, knowing


 something was wrong, but not able to put his finger on what, and find fault to prevent their entry.


        “This is a Warlock,” Arwen told them. “But he is very sly, very cunning. Remaining ever


 hidden. I have not had time to go back far enough to discover his true identity. It takes time.”


        She pulled the Eye of the Stone in close to the middle finger of the Warlock’s right hand.


 Beneath his mail-clad glove they saw glinting against the fabric, a golden Ring.


        “Is that a Ring of Power?” Elerith gasped. It was the first she’d ever seen.


        “Yes,” Arwen answered. “It is one of Celebrimbor’s original Rings, Lámya, the Ring of


 Sound, and Language, Hearing, and Music.”


        “But you said he’s a servant of Lungorthin’s,” Elerith reminded her.


        “Yes,” Arwen acknowledged. “But he is human. Nothing prevents him from wearing


 Lámya and accessing its power. It will be very difficult to defeat him. I am not sure we can.


        In the palantír, the Captain handed back their papers, scowling and uncertain. He ordered


 his militiamen to open the gate, and the Warlock and his bandits galloped quickly through.


        They rode to the Prancing Pony. But the Warlock often stopped, cocking his head, and


 listening, always listening, for what, they could not say. They rented rooms.

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        The palantír went dark.


        “What happened?” Elerith asked.


        “There is a way to thwart the Eye of a palantír magically. It is also called ‘shrouding,’”


 Arwen answered.


        “How is it done?” Elerith asked, aware of having taken over the lead in their questions,


 which Celendrian had inexplicably abandoned. Then Elerith remembered she was depressed.


        “I do not know,” Arwen answered. “The secret was lost before I was born. We had no


 palantír. I had no occasion to ask, and my family never discussed it.”


        “Can’t we ask father?” Elerith asked.


        “We cannot use the Orthanc-stone for anything but observation, or it will alert our


 enemies of our presence,” Arwen explained. “This is why your father never used the Anor-stone


 before Eldarion’s eighteenth birthday. He loves you so very much. He wanted to preserve his


 sense of safety for his family, for as long as he dared.”


        “You think when father used the Anor-stone, Estel saw your and Eldarion’s faces in


 another Stone, and that’s what drew him to the Palace,” Celendrian said. It was not a question.




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        Elerith thought it very strange, and not the way Celendrian usually spoke to their mother,


 as if Celendrian was reading their mother’s mind.


        Even more surprising, their mother did not object, which Elerith was certain she would


 normally do, if anyone tried to tell her what she thought or felt, wrong or right, which few, if


 any, had dared; not to their mother the Queen; most especially not one of her own daughters.


        “Maybe great-grandpa Celeborn knows how to shroud a palantír,” Elerith offered.


        “Perhaps he does,” Arwen said. “We have no way to contact him. This was today.”


        In the palantír, they saw where the Prancing Pony had stood: nothing remained but


 shattered wreckage, slowly being cleared by the Bree militia.


        “What happened?” Celendrian asked.


        “I do not know,” Arwen answered. “The palantír remains shrouded until after the fall of


 the Prancing Pony, and I cannot find Eldarion anywhere.”


        “That can’t be good,” Elerith said.


        As they were leaving, Arwen asked Celendrian to wait.


        “Mother asked what was taking you,” Elerith told her in front of their mother, “I told her


 you were talking to Elboron.”

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        Celendrian nodded. Elerith left and Arwen sealed the tent flaps shut.


        “Elboron and I thought we were being rather clever,” Celendrian told her mother. “As


 you know, even though none of us have ever really believed we could keep a secret from you,


 though only now I appreciate why. But not knowing, this time we thought we really had.”


        “Elboron is a good man,” Arwen said. “If he ascends the throne, he’ll be a great prince.”


        “Mother,” Celendrian said, much more gently than before, “you’re repeating yourself,


 again. I’ve never known you to do it once, and now you’ve done it three times.”


        “I know the ways of mortals…” Arwen said. “I am a mortal woman, and have been for


 twenty-three years. But for almost three thousand years, I lived as one of the immortal Elves. It is


 impossible for me to speak as if I did not have all those experiences. I know the ways of mortals


 are different from the ways of Elves. Unlike Elves, for humans, for Men, from generation to


 generation, things often change very quickly. I confess I do not understand the patterns which


 effect those changes. You are a princess and you have become a woman. And now you are much


 more. You bear heavy burdens. It is not my place to judge or dictate to such a woman, a princess


 who will one day be a Queen. We live in a New Age. The Fourth. Many believe this will be the




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 last for Middle-earth. The challenges are unlike any before… and, you are my daughter. A


 treasure. I love you. You are very precious to me.”


        “Thank you,” Celendrian said, surprised at this rare expression of emotion from her


 mother. She hugged her, “I love you too.”


         They held each other a moment, Arwen pulled away and went on, “You have grown


 strong and wise, despite your youth. And if I have not said this before, I will say now, I am proud


 of you. From this day forward, you are the only one who can tell you if you do right or wrong.


 You have my experiences to guide you, and those of your grandmothers, and many others. You


 can see the effects of our decisions, good and bad, and where they have led us.”


         “But seeing all those memories isn’t the same as considering them,” Celendrian told her,


 “and seeing the considerations without the memories, is even worse.”


        “There are challenges,” Arwen said. “But you have the strength to overcome them.”


        She caressed her daughter’s brow, smoothed back her hair, unconsciously traced the back


 of her hand softly down Celendrian’s cheek and cupped her chin, “I would not trade any of it. I


 know many think I made a mistake marrying your father, and they believe if I could go back, I


 would do things differently, never accept the Gift of Men and become mortal, and instead have

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 remained of the immortal Elves, to sail West with my father and grandmother to reunite with my


 mother, and to live eternally happy in Valinor. But what they do not know, is I would not truly


 have been happy. I would not have even been aware of how empty my eternal life was. But when


 I look at you, I am humbled by the depth and breadth of the love I feel for you. And for your


 father, and brother and sisters. I would not take back a single hardship. Not one. Nor change


 anything, for everything anyone could offer, if it might prevent the miracle of you.”


        Tears, that were strangely free of bitterness stung Celendrian’s eyes.


        “If your path with Elboron is different from the one I trod with your father,” Arwen said,


 “we live in different times, with different hardships, and different challenges. Some say much


 less than your father and I faced. But others say greater, in ways I cannot appreciate, despite


 having your memories. If they are right, I will never understand. So be it. My day is past.”


        “Mother, no…” Celendrian said.


        “Yes,” Arwen responded, smiling gently. “My greatest contribution to the world is my


 family. Circumstances may still demand much of me. I will do what I must to protect you, our


 family, and our kingdom. I will rise to every challenge with the best I have left. But I do not wish


 any other contribution I make to be greater than my gift to the world that is you. You have been

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 the greatest gift the world has given me in return. All I want, is to see you grow strong, and


 happy. I hope one day to see in your arms your child, and in your eyes, a reflection of the love


 for your child that is a fuller realization of the love your father and I share, and feel for you.”


         She hugged Celendrian, as pure and heartfelt an act as any, and they cried without


 bitterness. Arwen at last felt she was able to give voice to the most profound emotions in her


 heart. Somehow, she knew she only now could, because she had passed Anqaúrë to Celendrian,


 who knew the truth of her mother’s words from her mother’s own memories.


         Celendrian stepped away, dried her eyes, composed herself, kissed her mother goodnight,


 went to her own tent, and despite the heady mix of tumultuous emotions, the pressures from


 without and her many turbulent private lives within. Despite all her misgivings and the dark


 tidings, she lay down and slept, and sleeping, she dreamed, dreams of Númenor.


         Her memories and remembrances were full of Númenóreans, and she saw them and their


 lands through the memories of Galadriel, whose memories were particularly strong.


         Galadriel and Celeborn led a great host of mostly Sindarin Elves from Beleriand after the


 Fall. They were refugees who had survived the War of Wrath and they came down the northwest


 coast beside the great woods of the Blue Mountains on the east, from whose northern-most peaks

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 flowed the mighty river Lhûn. It emptied into the Gulf of Lhun, and from there went through a


 narrow channel to the open ocean Belegaer. They were still miles away from the Gulf, but


 through the woods they heard the distant sounds of battle.


        Their scouts returned reporting the High Elvish King Ereinan, his lieutenants the Lords


 Círdan, Celebrimbor, Elrond, and Elros, and the hosts of their Men and Elves were sorely


 pressed, holding a crumbling line against an overwhelming invasion of Orcs, who themselves


 had barely survived and fled the ruins of the plains of the War of Wrath, just as they had.


        Celeborn vacillated as to which course they should take. But Galadriel donned her mail


 and armor, took her great war spear, that she alone of all the Elves had charmed Eöl to forge of


 galvorn for her. She threw off her helm allowing her long golden-white hair to trail shining


 radiant in the sun, and she led her people charging into the thick of the attacking orcs.


        The orcs were blindsided, literally. The surprise attack of Elves seemed to the suddenly


 terrified Orcs to be led by the Vala Arien, free of her earthly flesh and burning blindingly bright


 and hot, carrying her long white spear tipped with deadly black fire.


        The orcs could not even look at her, the light was too bright and burned their eyes, much


 less stand against the bite of her spear and the force of her attacking Sindarin forces.

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        Ereinan and the Ñoldorin Elves, Elros and the Men of the Edain, rallied and together with


 Galadriel, Celeborn, and the Sindar, they crushed the orcish armies and scattered the survivors


 east across the Blue Mountains.


        There, their allies the Dwarves of Belegost had been alerted by swiftly galloping Elvish


 messengers, and battalions of hardened dwarven warriors were waiting to destroy them.


        Galadriel herself impaled the Goblin King Guguthmar, though the wooden shaft of her


 spear broke beneath the onslaught of his thrashing death throes and heavy war mace.


        Momentarily without a weapon, a great Orc Chieftain charged to impale her on his own


 spear. Though badly positioned, Lord Círdan leaped off his horse and tackled the Orc, toppling


 him to the ground and throttling him with his bare hands.


        Afterwards, Ereinan thanked Galadriel, Celeborn, and their refugee Elves. Galadriel


 thanked Círdan for his timely and dramatic rescue, and she nicknamed him, ‘The Griffon.’


        “What is a ‘Griffon’?” Ereinan asked.


        “Once in Valinor,” she told them, “At the fountains of Irmo and Estë in the Gardens of


 Lorien, I met one of the many creatures the Ainur had sung into being by blending the themes of


 their Music. This one had the eyes, head, wings, and forefront of an eagle, but the heart, claws,

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 body and tail of a lion. It did not fit Ilúvatar’s plan for Middle-earth. But it was beautiful, and


 fearsome. They kept them in their Gardens, with many other unusual creatures. In the battle,


 Círdan saw my broken spear, leaped from his horse, tackled and slew the great Orc Chieftain,


 and seemed the very embodiment of the Griffin: eagle eyed, far sighted, perhaps a bit remote and


 aloof, but beneath that detached air, the heart and ferocity of a lion.”


        “Such golden-tongued Elves are rare in Middle-earth,” Círdan said, bowing to Galadriel


 graciously. He turned to Ereinan. “You should invite them to stay.”


        The battle had cemented Elrond’s half-elven brother Elros’ decision to forsake his


 immortality and marry his love, the beautiful Princess Karewyn of Nevrast. Together, they


 accepted the invitation of the Valar to leave Middle-earth, and sail to the newly raised continent


 called Númenor; a tranquil island paradise with trees and flowers found nowhere else, far beyond


 these shores in the middle of Belegaer. They called it the Land of Gift.


        It was given to the Men of the Edain by the Valar for helping destroy the armies of


 Morgoth. In this new land, they would be the first ruling King and Queen of the Númenóreans.




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        Galadriel and Celeborn accepted Ereinan’s invitation to stay with him and his peoples.


 Together, the Sindar, Laiquendi, and Ñoldor began building a great new Elvish Kingdom along


 the new west shores of Middle-earth around the Gulf of Lhun, and they named it Lindon.


        A natural sea wall sheltered the beaches from storms, and the river and gulf divided the


 lands naturally into what became three fiefdoms, Forlindon on the north, Mithlindon in the


 middle, and Harlindon in the south, the united Kingdoms of greater Lindon.


        In Mithlindon inside the Gulf, tall cliffs circled and protected the harbors, whose clear


 waters sparkled like gems at the mouth of the sea. There, they built the fair Elvish towns of West


 Mithlond and East Mithlond, twin harbors on the north and south shores, called the Grey Havens.


        Ereinan offered Galadriel and Celeborn the thrones of Harlindon in the newly built


 Palace of East Mithlond, where Círdan and Galdor were building a great fleet of ships to take


 King Elros, Queen Karewyn and the surviving peoples of Estolad, Dorthonion, and Hithlum, the


 Beornings and Hadorians, across the great ocean. King Celebrimbor had held the post


 temporarily and begrudgingly, eager to return to his workshops.


        Though Celebrimbor was the grandson of Lord Fëanor and born to rule, he did not relish


 the burdens. He preferred the solitude and creativity of his forges, smithies, and jewel-shops.

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        Galadriel and Celeborn accepted the thrones and Ereinan christened them Queen


 Galadriel and King Celeborn, equals, very unusual in those days. But Galadriel had been born in


 Valinor and was of the High Elves, and Celeborn in Middle-earth, a Sylvan woodland prince. He


 had never seen the Golden Lands. They rarely spoke of the differences others projected onto


 them regarding their lineages, but Celeborn never forgot them.


        They and the Sindar settled the lands south of the Gulf and their people and animal


 servants prospered under their joint rule. Harlindon and East Mithlond grew ever more green and


 beautiful, and the cities, harbors, and lands ever more mighty and fair.


        Celebrimbor was overjoyed to be freed by Galadriel from his unwelcome burdens. In


 return, she extended great attention and every courtesy to Ereinan’s Master-craftsman, and


 Celebrimbor devoted himself to his forges, and secretly, he fell in love with her.


        As the grandson of the greatest Elvish smith in history, Lord Fëanor, Celebrimbor had


 long been praised for the unmatched artistry of his creations. Free of his burdens, he crafted a


 new helm, shield, armor and mail-coat for Ereinan based on Fingolfin’s.




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         But this one was forged with mithril and white diamonds mined in Khazad-dûm. He


 painstakingly cut and arranged the gems in a dazzling tapestry. So great and skillful was his art,


 if the gems were lit by firelight, moonlight, or daylight, regardless, they glittered like stars.


         Galadriel forsook Ereinan’s name and rechristened him – Gil-galad, ‘Star of Radiance.’


         It was a complement to all three of them.


         In response, Celebrimbor forged a new Elessar-stone to replace the one Eärendil had


 returned to Valinor. It was a green gem in which he captured the light and heat of the Sun. He


 gave this new Elessar-stone to Galadriel, and there was no doubt he had fallen in love with her.


         In later years, the arrival of Galadriel and Celeborn, and their refugee Elves would be that


 time all of them remembered most fondly and looked back on most often. They thought of it ever


 after as the Spring of Lindon.


         Before Círdan and his Elvish shipwrights ferried the Men across the seas, Elros allowed


 Celebrimbor to study the Ring of Barahir, which he wore on the third finger of his right hand. It


 was a gift to his ancestor for saving the life of the Elvish King Finrod Felagund. Wrought of


 gold, at the top, two silver serpents met beneath a crown of golden flowers that one upheld and


 one devoured. The green gems in the serpent’s eyes had been cut and crafted by Aulë and set in

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 the band of exquisitely crafted gold by Fëanor. Rare were artifacts forged by Fëanor and the


 Valar, and Celebrimbor prized the opportunity to study them.


        His trained eye saw the effects Fëanor could only have mastered in collaboration with


 Aulë and his Maier servants. Together, they had produced a far superior gem and ring than he


 could have forged alone. Celebrimbor felt the spark of someone’s fëa within the ring, though


 whose, he wasn’t sure. But he was amazed at the audacity. This birthed a longing for


 companions to share the joys of creation, to inspire and be inspired by, just as Fëanor had.


        But though he toiled alone, Celebrimbor began crafting Rings of Power based on Elros’


 Ring of Barahir. They were a testament to a Master-craftsman in the ascension of his skill and


 power. Each one was a Masterpiece, requiring decades of patient toil in which he refined and


 mixed precious metals into new alloys, cut, sculpted and discarded gems, and depending on the


 effects he sought, poured different aspects of his fëa into the uncorruptible bands of gold.


        Patiently, through a long practice of trial and error, eventually his efforts were rewarded,


 and he crafted the first of Thirteen golden Rings of Power.


        Gil-galad had requested Thirteen for their animal friends and servants: Great Eagles,


 Mearas, Bears, Narwhales, Kine, Hounds, Cats and many others.

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        The Gift of Speech given by the Valar was fading and Gil-galad could not bear to lose


 their friendship, and their invaluable service and assistance in so many areas of labor, travel,


 food production, commerce, and war.


        But Celebrimbor’s Rings were truly Masterworks. He added many custom touches to


 every one. Not only did they preserve Valarin Gifts, they made the animals who received them


 the Kings and Queens of Beasts, Birds, and Fishes. They and all they ruled grew stronger,


 braver, wiser, swifter, larger, more cunning, and ever more grateful to the Elves.


        For the next fifty years, Círdan and Galdor built a vast fleet of over three-hundred ships,


 and ferried the Edain over the ocean, transporting tens of thousands of settlers, until all the west


 lands of Middle-earth were empty of Men, and only Elves and Dwarves remained.


        Among those were Gil-galad, Galadriel and Celeborn, Círdan, Galdor, Elrond, and


 Celebrimbor. King Thranduil and Queen Emisillë had returned with their people to the East


 beyond the Misty Mountains, where many Avari and Telperi still dwelled. Some had not arrived


 in time for the Great Battle, or been involved in the Wars. A few had refused the summons.




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        Galdor built the first of the West Towers in a small separate fiefdom shared by all three


 kingdoms. He christened it the Tower of Elostirion, named in honor of the great Elvish warrior


 who had saved their people during the Fall of Gondolin.


        He and Círdan began assembling a great store of heirlooms and placed them in a treasury


 in the top. They immodestly added the broken shaft and galvorn head of Galadriel’s spear.


        In response, Celebrimbor forged the hardest, strongest, and sharpest war spear ever


 forged, Aeglos, and he laced the carbon steel with powerful and deadly enchantments.


        But Galadriel heard what he was doing and went to him, saying she wished to be done


 with war and killing. This great gift was too large and heavy for her hand. It would better serve


 the hand of Gil-galad, and it did, any time they were attacked by orcs.


        Celebrimbor had passed a tiny spark of his fëa into Aeglos. Whenever Gil-galad held it,


 he felt inspired and he greatly desired to kill as many Orcs as he could. He wielded Aeglos so


 viciously and relentlessly in battle, forever after refusing quarter, parlays or surrenders. Very few


 Orcs survived to flee. Those that did spread tales of horror at the wonton slaughter, how their


 brethren screamed when stabbed by Aeglos. Pain and death was the Orcs bread and butter, but


 they had never heard screams like these before and they swore they never would again.

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        Legends of Aeglos grew, and if in battle they saw Gil-galad brandish Aeglos, most Orcs


 fled. The few who didn’t died. The fear of Gil-galad and his spear Aeglos spread east.


        When Gil-galad confirmed Celebrimbor’s Rings had saved their animal friends, and not


 only did no harm, but fortified them, and their native Valarin gifts as intended, Celebrimbor


 continued forging more of the Thirteen. But long before he finished, he began forging Rings of


 Power for their other allies, the race of Dwarves.


        But even before them, the first of his new Rings was made for Elves, and the first of


 Celebrimbor’s Elven Rings was the most powerful. It went where everybody knew it would: to


 Galadriel. He named it Elentári, the Ring of the Heavens, for so did he esteem Galadriel, her


 wisdom, her grace, her beauty, and the beauty of her long golden-white hair, which like the


 Lamps and the Two Trees, and the stars alone, glowed with the light of the Valar.


        Just as Aulë and the Valar had done, infusing their works with parts of their own fëa,


 which is why they could not endlessly recreate Lamps, or Trees, or Jewels, Celebrimbor infused


 his Rings with pieces of his own fëa. But none more so than the Ring he created for Galadriel,


 who’s beauty, power and regality he likened to the stars forged by Varda, giving her power and


 majesty access to the secrets of the stars.

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        To say she had been touched, most profoundly moved, and elated by Celebrimbor’s


 unprecedented generosity, the power, the munificence and the beauty of her Ring, would vastly


 understate the degree to which Galadriel had been surprised and delighted.


        She was dazzled.


        Some said the enchantress herself had been enchanted.


        But all agreed that henceforth and forevermore, Galadriel was enamored by Celebrimbor.




                   *              *              *              *              *




        It was nothing anyone said that alerted Celeborn. It was just one of those off hand


 remarks Galadriel made which meant nothing to anyone else. To him, it was as if a bell had rung,


 and he immediately realized Galadriel and Celebrimbor were having an affair.


        It hurt him so deeply, he spoke to Gil-galad privately and obtained his permission to


 leave Harlindon and travel over the mountains to the forests around Lake Evendim. He began to


 gather a large contingent of woodland elves. They liked the sea, but they loved the sounds,


 smells and feels of the primeval forests they had known before the Fall of Beleriand.

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        As their preparations to leave commenced, Galadriel learned Celeborn was leaving just as


 innocuously as he had learned of her affair. One day, in this same innocuous manner, she


 mentioned she was leaving Harlindon and going with him.


        Celeborn sensed what she had done. He confirmed it by casually and innocuously


 mentioning to Celebrimbor, he and Galadriel were leaving. His heart swelled in renewed love


 when genuine shock and hurt filled Celebrimbor’s face.


        Celebrimbor and Galadriel had a tearful and very private farewell.


        Then Celeborn led the Sindarin Elves and Galadriel east over the hills of the Emyn


 Beraid, past the White Towers and the Far Downs, to the shores of Lake Evendim, which lay at


 the feet of the Emyn Uial, the Twilight Hills of Eriador.


        There, Galadriel and Celeborn rediscovered their passion for each other. They felt so


 happy, so free, like when they had first met. Galadriel became pregnant, and she bore them a son


 they named Amroth. In celebration with the great craft of their kin and kindred, they built on the


 southern shore a wondrous city they named Annúminas, the Sunset Tower. Every night, its high


 stone walls caught the fading light of the Sun and turned gold.




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        In East Mithlond, Gil-galad once again appointed Celebrimbor Lord of Harlindon, but he


 forsook the title King. He apprenticed Elrond to help him rule the remaining Sindar and run the


 Kingdom. Often, he was in his smithies and workshops, and he forged more of the Thirteen.


         It had been six hundred years since King Elros, Queen Karewyn and the Edain departed


 for Númenor. No one had heard from them or their descendants.


        One day a ship greater than any ever built, greater even than those of the master


 shipwright Lord Círdan, with a higher draft and mightier sails that were not white, but woven


 from threads of gold, with taller masts than any ever seen, appeared on the horizon out of the


 West. Everyone imagined the tiny figures who wound ropes and raised the golden sails must


 surely be their kin, High Elves at last returning from out of the West, from far off Valinor.


        When this ship sailed into Gil-galad’s harbor in West Mithlond and docked, they saw it


 was not manned by Elves, but rather the distant descendants of the long dead King Elros and


 Queen Karewyn. The many years missing and long lost Númenóreans.


        The young commander of the Númenórean King’s Ship, the NKS Entulessë, which meant


 ‘Return’ in Elvish, was the young Captain Vëantur, a fourth generation descendent of King Tar-


 Elros and Queen Karewyn. He spoke Quenya natively and was the Lord of the port of Andúnië

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 in Andustar. It was the capital of the province on the western-most shore, closest to the Undying


 Lands. Vëantur was the brother of the Númenórean King, Tar-Elendil Parmaitë, Wise in Lore.


        Often the Eldar sailed from Valinor and docked in Andúnië, and Lord Vëantur welcomed


 them and was their friend.


        Many generations of Men had passed since Elros and Karewyn sailed away, which to the


 Elves had seemed a heartbeat. They were reminded how fleeting the lives of mortals were. Gil-


 galad welcomed Vëantur as kin, much to his surprise.


        There was no point in telling him how well he had known his many-times-over great


 grandfathers and mothers, and most especially King Elros and Queen Karewyn. He knew from


 long experience it would only serve to unnerve and disquiet the mortals, and make them uneasy.


        But Gil-galad, Celebrimbor, Elrond and the rest were eager to hear of Númenor. When


 the Elves had transported them six hundred years before, they had not gone ashore. The Valar


 had decreed the Land of Gift was reserved exclusively for the Men of Middle-earth.


        Vëantur told them of the hills and valleys, mountains and shores and wonders: the vast


 virgin forests of Hyarnustar with new kinds of trees with silver bark and golden leaves; the great


 capital city of Armenelos and its citadel with a colossal tower of solid gold that rose a thousand

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 feet above the cliffs and caught the first and last light of the sun every morning and every night;


 the beautiful sheltered ports of Rómenna, Eldalondë, and Andunië, where they received in


 friendship, the Eldar of Valinor bearing gifts from the Valar; and Meneltarma, the fourteen-


 thousand-foot snow peaked mountain on which the Vala Manwë (and some even said Eru


 Ilúvatar Himself) spoke directly to their King.


        Vëantur saw the wonder, even envy on the faces of many Elves and he began giving the


 gifts he’d brought himself and those from King Tar-Elendil; priceless treasures, gems, silver,


 gold, jewels and fabled mithril. Elves had thought it was only found in Khazad-dûm.


        But Celebrimbor valued most their maps and star charts, their arts and sciences of ship-


 craft, metallurgy, weather, and navigation, their lore of the Sun, the stars, the Moon, and the


 planets that circled beyond; and the strange meteors, comets, and other things that lived within


 the hallowed realms of Vaiya, Ilmen, Vista, and Olórë Mallë, the Path of Dreams.


        By necessity their crafts and sciences had grown. Only now did they have the confidence


 to dare the crossing of the great ocean Belegaer and return to Lindon. A crossing which, until


 that day, had only been dared and successfully completed by Elves.




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         After two years of explorations far to the north and south along the coasts, and even deep


 inland through the Gulf and up the River Lhûn, Vëantur and his men returned to Númenor.


         Seasons passed and the seven hundredth anniversary of the Second Age approached.


 Plans for a great celebration spread through Lindon, and Gil-galad asked Celebrimbor to forge a


 Ring of Power for Men, in anticipation of the day the Númenóreans returned.


         Celebrimbor worked for years on the first of the Five Rings for Mortal Warriors, for


 Vëantur would never be a king. As soon as it was done, Gil-galad, Elrond, Círdan and Galdor


 began imploring him to consider one of their own favorite allied Kings of Men living beyond the


 Misty Mountains as an alternative recipient of this new Ring of Power.


         For the first time, Celebrimbor appreciated what an incredible series of treasures, and


 problems, he was in the midst of creating.


         He knew it was a weighty decision and wanted time to consider. Though it was winter, he


 received permission from Gil-galad to travel to the Misty Mountains as an emissary to King


 Durin III in Khazad-dûm. Leaving Lindon, he traveled the great dwarven East Road, passing


 Celeborn and Galadriel clamoring for his attention in Annúminas to the north, and he was


 delighted to find a mild and fertile series of gently rolling hills and valleys.

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        He took the Greenway to the Great South Road, crossed the convergence of the Rivers


 Glanduin and Mitheithel, saw the snow white peaks of the Misty Mountains rising in the far


 distance, and found himself in an enchanted delta where streams and rivers ran together, reversed


 their courses, and the lines between the lands and waters were hard to distinguish. The turbulent


 flows slowed and then stilled to mirror finishes.


        On the lakes, fleets of graceful swans sailed majestically atop the glass-like mirrored


 surfaces. For fifty miles he was enchanted. When he came to the end of the fleet of swans, he


 found a land full of trees that had not shed their leaves in the midst of the winter like those in


 Lindon. Instead, they were full of winter ripened delightfully bright red berries.


        His spirits rose and he felt sure somewhere in this land he would find his new home. At a


 second delta, he found a jewel of a valley between the rivers Glanduin and Sirannon, and along


 their shores the broken uneven road leading to Khazad-dûm. There he stopped.


        Before him rose a great hill. From the top, he could see the fleets of swans gliding over


 the mirrored lakes behind, the frosty Misty Mountain peaks ahead, the rivers running together


 below, and forests of green trees all around in the heart of winter with bright with red berries. He


 named the trees Holly and the land Eregion, Hollin in Westron. This was his new home.

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        He followed the Road to Khazad-dûm where messengers had announced his arrival and


 King Durin received him graciously, with honor. He introduced Celebrimbor to his beautiful


 Queen Myrkinamid, his own master craftsman Narvi, and Narvi’s lovely wife Dagnall.


        After feasts and fetes, Narvi asked, “Which of our gems or metals have you come for?”


        Celebrimbor laughed, “I esteem you greatly, but not for your jewels or precious ores,


 your beautiful wives, or even the fair jewelry you create that surpasses those of Elves, as the


 Nauglamír made clear. What I have come for is the cunning of your minds, the ingenuity of your


 cavern palaces and great halls, and the loyalty you bear each other, keeping always and forever


 your greatest secrets, secret. Though your kind have been in Middle-earth longer than Elves, and


 though we laugh and tread lightly in the forests and over seas, Men have surpassed our ship and


 star-craft, while you in your caves have surpassed our gem and jewel-craft, while Elves seem


 frozen in time, unable to learn or grow. But impressive to me, you have kept the secrets of your


 language, and how you build your magnificent mountain homes. I do not ask you to share your


 secrets. I have come for your help, and I will pay you handsomely. So highly do I esteem your


 crafts and skills, unknown among elves. I want a cavern home and a palace here, in this fair land




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 of holly trees, near your guarded tunnels, far from the Elven King and Elvish kind, and close to


 the unwavering steadfastness of Dwarves, that I now value higher than my own people.”


        Durin and Narvi were shocked, and complimented, and abashed.


        As the night of the great and lucky Seventh Millennium approached and they prepared


 their celebrations for the greatest Durin’s Day ever; Celebrimbor had not asked, and no Elven


 kind had ever been allowed to enter one of the Great Halls of the Dwarves, but they welcomed


 him to Khazad-dûm, and ushered him through the heavily guarded entrance.


        Though everyone (it seemed) had bragged to Celebrimbor of seeing the outside wonders


 of Khazad-dûm: the Dimrill Dale, Durin’s Stone, the Mirrormere, and far above their heads,


 Durin’s Tower. Celebrimbor was the first of Elves to discover and experience the wonders deep


 within: the monumentally mammoth First and Second Halls; Durin’s Bridge; the seemingly


 endless records of the Dwarves spanning more than two Ages of Middle-earth in many corridors


 and branching rooms of the libraries and archives of the Chambers of Mazarbul; the rich


 lodestones and veins of precious ores and gems threading through the three mountains Caradhras


 (the Redhorn), Fanuidhol (Cloudyhead), and Celebdil (the Silvertine) like strands of trees,


 bubbling streams, and fields of bright flowers threading over the earth.

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        He was the first of Elven kind to climb the Endless Stair. It rose from more than 14,000


 feet beneath the earth to over 14,000 feet above. There, from the very top of Durin’s Tower, he


 looked out. Their creations did not rival Elves, Celebrimbor told them, they surpassed them.


        To hear such praise from the legendary master craftsman Celebrimbor, left Durin and


 Narvi speechless. Never had they felt so gifted by the praise of another, nor so highly esteemed


 for the things they most highly esteemed about themselves. To their eyes Celebrimbor, with his


 intensity and quiet study of stones, stairs and doors, looked more and more like a Dwarf.


        Celebrimbor invited Narvi and Dagnall to work with him and design a palace of the


 strongest stone atop that hill above the delta of the rivers Glanduin and Sirannon, and he


 commissioned them to build far beneath it, an impregnable and hidden secret library, archive and


 armory, such as they possessed in the Chambers of Mazarbul.


        For a season, unnumbered Dwarven craftspeople strove with earth and stone and water,


 until at last there rose a palace and a fortress like none other: conceived and built in an


 unprecedented alliance between the greatest Elvish and Dwarven craftspeople of their Age, an


 alliance like no other.




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         Celebrimbor was so delighted with what together they had wrought, he offered in return


 to lend whatever humble skills he possessed to add one or two modest ornamentations to the


 magnificent palaces and mansions of King Durin and the Dwarves of Khazad-dûm, if, in the


 spirit of the generosity they had shown him, they would afford him such an honor.


        Never before had one of the Elves offered freely to do for Dwarves, what everyone else


 demanded Dwarves do for them.


        Plans were made, entrances and exits designed, and the sculpting commenced for a great


 and magical set of doors known as the Doors of Durin to secure the West Gate of Khazad-dûm; a


 stair and pathway between Celebrimbor’s palace and the West Gate called the Elven-way; and


 they created a new form of writing with smelted liquid mithril they named ithildin.


        Celebrimbor returned from Khazad-dûm to his new home he named Ost-in-Edhil which


 in Sindarin meant ‘Of-the-Elves’ and in the strongest and deepest vault, he locked Anqaúrë, the


 Ring of Feeling, Sensing, Touching, Intuiting which had aided him mightily in his dealings with


 his new friends King Durin, Queen Myrkinamid, Narvi, Dagnall, and the Dwarves.


        With his own great treasure safely stored, Celebrimbor returned to Lindon.




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        He told many tales of the beautiful, winding, grand and magnificent halls and palaces of


 the Dwarves, the beauty and abundant wealth of gems, jewels, and precious metals; the majesty


 of the view from inside Durin’s Tower looking out, the wonder of the Endless Stair, their


 magnificent creations in mithril adorning caves and chambers throughout their mountain lands,


 and the hidden secret treasures of the stunning beauty of their wives and daughters.


        But above all else, Celebrimbor praised the Majesty and kindness of King Durin and


 Queen Myrkinamid and the comradery between his master-craftscouple Narvi and his equally


 skillful but undeniably far more beautiful wife Dagnall, and the combined expertise of their


 thriving community of craftspeople.


        But most surprisingly, the Dwarves had delighted in Celebrimbor’s company. In addition


 to the natural and unnatural wonders of their realms, they had shared the marvels of their crafts


 and the arts of their jewelers, smithies, and forges.


        It was a testament to the reserve and discipline of Celebrimbor and the Dwarves: no


 Elves ever learned on his first visit he had built anything, much less stored his most precious,


 personal and private things, his Rings of Power, not even his High King Gil-galad ever knew.




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        Gil-galad was impressed by the wonders Celebrimbor did describe. In private, he and


 Círdan agreed the economic and military advantages of Celebrimbor’s new-found and forged-in-


 stone friendship with the Dwarves could not be ignored. They asked Celebrimbor to found a new


 colony of Elves for craftspeople, a haven for those who delighted in the arts, a tie to further bind


 the unlooked for burgeoning friendship of Elves and Dwarves.


        Celebrimbor was delighted and he had a vision of his dream coming true: he would found


 in his new Kingdom of Eregion, not just a new home but a new city dedicated to those who


 adventured in the creation of precision tools, precious metals, gems, jewelry and beautiful things.


        It had been 125 years since the Númenóreans had left, and again, many generations and


 lives of mortals had passed which to Elves seemed the merest blink of an eye, when the Crown


 Prince Aldarion, a proud, young, adventurous, willful and noble Númenórean sailed to Lindon


 with his mother’s now very old father Lord Vëantur, in 725 of the Second Age, and Gil-galad,


 Círdan and Celebrimbor welcomed their return. Círdan advised Gil-galad that Aldarion himself,


 and through him the Númenóreans, if properly courted, could become powerful allies and play a


 decisive role in defending Lindon, and in fact all Elvish-kind, against Morgoth’s servants,


 already growing in powers and numbers in the East of the Misty Mountains.

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        For two years Aldarion and Vëantur explored the coasts and deep inland, just as before.


 Gil-galad, Círdan, and Celebrimbor renewed their friendship and gave them many gifts, and then


 they returned to Númenor. But just three years later, Aldarion returned without Vëantur, who had


 reached the end of his hardiness which only the long lived descendants of Elros the half-Elven


 enjoyed, and retired. The Elves were delighted Aldarion’s passion had brought him back so


 quickly and after feasts and fetes the Mariner continued his explorations up the coasts with his


 two other ships to see for himself Forodwaith and its great ice fields and glaciers that stood like


 mountains even at the height of Summer, and to extend the navigation charts and track the stars.


        Celebrimbor was particularly fascinated at how much Aldarion’s father, the Númenórean


 King Tar-Meneldur had advanced star-craft by himself in the short 125 years since Lord


 Vëantur’s first visit, and Aldarion promised to bring copies of all the notebooks, scrolls and


 records assembled by his father when he returned, which he did, just three years later.


        Celebrimbor was truly impressed by the accomplishments of these Men, and no less so


 than their King, and so delighted to find himself indebted and grateful to the race of Men despite


 their fleeting years, and so impressed with their sciences and arts, while Aldarion prepared to


 return to Númenor. But he promised he’d dare the seas and return as soon again.

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        While the Elves feasted their intrepid and courageous new mortal friend, in addition to


 many other gifts, Celebrimbor went to Ost-in-Edhil, retrieved the first Ring of Power for Men,


 Anqaúrë, and gave it as a gift from the Elves to their closest mortal ally, Aldarion himself.


        Gil-galad used these celebrations to announce Celebrimbor was looking for colonists to


 found a new Kingdom of Elves (a fiefdom of Lindon, of course) for any creative craftspeople


 who wished to create beautiful things in a land of evergreen trees which like Elves, never


 withered, never died, but under the harshest conditions in midwinter produced the happiest


 brightest berries – the response was overwhelming. So many Elves wanted to go, Gil-galad was


 forced to cap their numbers in fear of depopulating his already established kingdoms.


        Upon his return, Aldarion offered his ships to transport the newly crowned King


 Celebrimbor of Eregion (he felt worthy and wanted the title again) and he ferried their King and


 his Elvish colonists down the coast of Harlindon and up the River Gwathlo, called by the Men of


 Middle-earth the Greyflood, which Númenóreans called Gwathir, the River of Shadow because


 the forest canopies were so dense, Aldarion could not see any sunlight reaching the forest floor.


        He told Celebrimbor with all the trees beside the ocean, the mouth of the river was


 perfect for a harbor and repair yard to maintain his own ships that often suffered greatly during

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 the perilous journey across the ocean, and Círdan’s crumbling fleet that had been neglected and


 was falling into ruin, to avoid denuding the forests of Lindon. What better place to build one than


 in support of a friend and his new Kingdom of Eregion? For whom he would happily provide


 vital shipping and repair services to the enrichment of all. So it was that Aldarion founded the


 first Númenórean port in Middle-earth, Vinyalondë, called Lond Daer Enedh, the New Haven, in


 support of Gil-galad and Círdan in Lindon and Celebrimbor in Eregion.


        In his new capital, Celebrimbor immediately established his library and archive based on


 the Chambers of Mazarbul, above his smithies, forges and workshops which he called the


 Gwaith-i-Mírdain, the Guildhouse of the Jewel-smiths, patterned after the guilds of the Dwarves,


 and Narvi and Dagnall were founding members.


        Rarely were new Elvish Kingdoms established. Never had one been established in league


 with Dwarves. Add the mystique of talented artists, musicians, blacksmiths, whitesmiths, and


 jewelers, and then marvel at the artistry, the beauty, and the wealth in mithril tools, jewelry and


 gems that came flowing from Eregion, and Celebrimbor and the Mirdainions became the marvel


 of the Modern World. Stories of their treasures and wonders spread throughout the lands.




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        With one majestic stroke, Gil-galad cemented strong alliances with the Dwarves in the


 East and the Númenóreans in the West against the rumors of the certainty of the still unnamed


 but growing evil in the South-East, and the friendship between Edain and Ñoldor was renewed.


        Narvi and Celebrimbor were joined by other Dwarven smiths and jewelers and other


 Elven smiths and jewelers too, and they discovered their differences enhanced their arts


 prodigiously rather than marred them, as some in both houses had feared.


        In the years between, Celebrimbor had secretly crafted many more Rings of Power,


 completing for his Liege Lord the High King Gil-galad the original Thirteen he’d promised,


 three of the Eleven for the Dwarves of Khazad-dûm which went to Durin, Narvi, and Dagnall


 (not in that order) and now he finished his second of the six of the Eleven for Elven Lords. But it


 went not to Gil-galad, as everyone had expected, but surprisingly, to Celeborn.


        No one had been more surprised or flattered than Celeborn himself. With the ever


 growing trade in mithril, Ost-in-Edhil (as Celeborn had provincially first named it) had quickly


 grown from a small town to a bustling city. Along with the Ring, Celebrimbor had sent an


 invitation for Celeborn to rule Eregion at the new and magnificent Palace of Edhilon, the


 grandest Citadel ever built above ground, thanks to the alliance of Elves and Dwarves.

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        The sheer opulence had jealous Elves in Lindon calling his new capital, Ost-en-Tatious.


        The Palace had been built atop natural hot springs and Narvi and Dagnall built two great


 arched aqueducts from the River Sirannon. The grounds were full of fountains, hot and cold


 public and private baths, and mountain water springs. Flowering beds of perennials, large


 bushes, and tall Holly trees had been transplanted onto the palace rooftop gardens from which a


 fall of water cascaded to fountains, pools, and gardens far below, with the singing waters of the


 Gate Stream from the Silvertine sparkling effervescent in the sun.


        Inside the palace walls, there everywhere hung bright tapestries with threads of silver,


 gold and mithril, inlaid with precious stones and spun into majestic landscapes of the Misty


 Mountains or the coastlines, that some mistook for open windows. Out the three story picture


 windows on the river, majestic white watermills provided all the grinding for the great stores of


 many grains grown in the surrounding countryside that went into Khazad-dûm for Dwarves, as


 well as the mixing for many flavored and spiced cheeses and sweetened creams, that also filled


 the Palace of Edhilon’s many granaries, bakeries, pie and cake shops, and of course the Royal


 Kitchens, Dining Rooms, and Banquet Halls, with the best and freshest of everything.


        Celeborn could not think of a good reason to say no.

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        So Galadriel and Celebrimbor left the city of Annúminas beside Lake Evendim, and


 Celebrimbor welcomed them as the new King and Queen of Edhilon in Eregion, vassals of the


 great High King Gil-galad as before. The Ring Celebrimbor had given Celeborn was Anor, the


 Ring of the Sun, and truly, after he (and Galadriel) arrived with Anor on his hand, his own long


 flowing silver hair now shown and glowed almost as bright and beautiful as Galadriel’s own.


        It was as if the Sun had come to live in Edhilon, as Galadriel had immediately and


 sensibly rechristened the city on arrival. The land flowed with honey from tended beehives, milk


 from pastured cattle and sheep, treasured gems, music, beautiful white swans swimming


 mirrored lakes in the distance, cherished jewels and a wealth of precious metals, silver, gold, and


 mithril, and thus began the Summer of the Elves.


        The one blot on their perfect happiness was when Amroth demurred Celebrimbor’s


 invitation and with a band of followers, went north around the Misty Mountains to a land called


 Lórinand, East of the East Doors of Khazad-dûm, to escape (he said) the Dwarfish influence.


        Edhilon was the unmatched Wonder of the Modern World, and Celebrimbor’s legendary


 status as creator of miracles was assured, enshrined among the greatest smiths in history.




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        Whatever transpired between Galadriel, Celeborn and Celebrimbor, no one else ever


 knew, but all was tranquil and Edhilon grew ever more wealthy, more powerful and more


 beautiful. Its many palaces, towers, great houses and stone streets grew grander and more full of


 fountains, trees and gardens, just as Celebrimbor’s private palace had.


        Its entries and exits, its very existence were his most precious and closely guarded secrets


 that he only shared with Narvi and Dagnall. There they recorded their discoveries and how they


 used them to fashion Ring of Power. For the whole of the history of Middle-earth, these secrets


 and their location had remained hidden and inviolate. Not even Celeborn or Galadriel ever knew.


        When Aldarion returned to Númenor in the Autumn of that same year, inspired by


 Celebrimbor, he established his own Guild. But rather than on land in a fixed location, his


 professional society of merchants, sailors and Captains was on his ship Eämbar anchored off Tol


 Uinen, an island in the large bay of Rómenna which Númenórean tradition said was set there by


 the Vala Uinen, the Lady of the Seas. Númenórean sailors held her in special reverence for she


 protected them from storms when their ships were far from friendly shores.


        Aldarion called his new lodge the Order of the Guildhouse of the Venturers, named for


 his grandfather Vëantur, and it became the most famous guild in Númenor. The hardiest and

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 most eager mariners were invited to become members, and young Númenóreans sought


 admission from all the inland regions, and they called Aldarion the Great Captain.


        On Eämbar, Aldarion collected the records of his voyages just as Celebrimbor collected


 his own Library and Archives in his secret treasury and armory in his palace in Edhilon.


        In 850 of the Second Age, at the one-hundred-year anniversary of the founding of the


 Guildhouse of the Venturers, Valandil the Lord of Andúnië held a great feast, and he honored the


 beautiful Lady Erendis beloved by Aldarion, by naming her Uinéniel, Daughter of Uinen.


        But Erendis, who sat beside his wife, saw Uinen as a rival for Aldarion’s time and


 affections, “Call me by no such name! I am no daughter of Uinen: rather is she my foe.”


        Aldarion had given Anqaúrë, the Ring of Feeling to his fiancé and future wife Erendis,


 but little did he know and much he would have grieved Erendis’ discovery of the power of this


 Ring to absorb people’s memories. The terrible truths it revealed in the hearts and minds of


 people she thought she knew and loved were so sever they made her bitter.


        In return for the Rings of Power Aldarion passed to his father the King and Erendis, he


 received their most solemnly sworn oath: henceforth when the time came for them to pass their


 Rings to their Heirs or whomever they felt, or believed (or if in dreams, as the Valar instructed),

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 the time and place and identity of the recipient would never be known to anyone except the


 person who had passed them their Ring. When Erendis became Queen and she and Eldarion had


 their daughter Ancalimë, Erendis passed Anqaúrë to their daughter and future Queen. Like most


 who possessed Anqaúrë, the bitter knowledge it invariably passed to its owners made her as


 bitter a woman as her mother and as bitter a Queen as anyone who had ever ruled.




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                                            Chapter 3




                                         Before The Fall




        The greater Gil-galad’s wealth grew, the more frantic he became. The threat of war


 loomed larger: great rumblings from evil Men, petty Dwarves and the surviving creations of


 Morgoth living in the South-East beyond the Misty Mountains that heard rumors of the


 impenetrable strength of Lindon and the great wealth and magical creations of Edhilon.


        To address these concerns, in 880 of the Second Age while Aldarion was exploring the


 inland seas, Galadriel invited Gil-galad, Círdan, Galdor, Elrond, Gildor, Erestor and many others


 to the first Council of the Wise and they saw for themselves the wonders of Edhilon.




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        Before the Elves of Lindon arrived, Galadriel learned Celebrimbor, Narvi, Dagnall and


 the Mirdainions had forged three more Rings for Elves that were supposed to be a secret. But she


 was Celebrimbor’s Queen, and if truth be told, his better in most things.


        He had almost wrecked her life before, but she had once again grown fond of the talented


 and charming master-craftsperson Celebrimbor, almost as fond as Celeborn.


        It wasn’t hard to guess those other Rings were in Lindon, undoubtedly Gil-galad kept


 one, but with so many Elven princes trolling for power, it was anybody’s guess who wore the


 others. Probably Celebrimbor himself kept one. Círdan or Elrond almost certainly the last, the


 latter being like a son to Celebrimbor. He had raised Elrond after his own great-uncles Maedhros


 and Maglor, the sons of Fëanor, were lost with the last two Silmarilli.


        She also knew the Mirdainions were forging many more Rings of Power for Dwarves.


 She reasoned King Durin and Narvi had each received one, but she had no idea where any of the


 others had gone and it bothered her.


        Celebrimbor had gotten much better at keeping secrets since his alliance with Dwarves,


 and so had she. She had come to rather like Dwarves too, though Celeborn never did.




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        After opening the Council on the third story gardens and courtyards of the Royal Palace


 of Edhilon, Galadriel thanked everyone for coming and relinquished the floor to Gil-galad.


        He told them how grateful he was to the King of Númenor, Tar-Meneldur for having


 allowed his son the Crown Prince and Heir to the Throne, their good friend and ally Anardil


 Aldarion to come so often and stay so long, which of all of them surprisingly, Galadriel alone


 had never met. Before he left Lindon again to return to Númenor, Gil-galad was going to give


 Aldarion a sealed letter for his father, the Númenórean King.


        Long ago Gil-galad and Aldarion had agreed, Númenor was so peaceful, prosperous and


 untroubled, a Regent could easily rule if he invited the King of the Númenóreans to visit the


 Wonders of the Elves and Dwarves. Few problems existed on that idyllic island Continent.


        If Gil-galad’s letter got the response he hoped, when next they saw Aldarion’s sails, he


 would come with his wife, the future Queen Erendis, their daughter the little Princess Ancalimë


 (just four years old), and perhaps hope-against-hope, the reigning King Tar-Meneldur himself.


        Their objective: hold a Council of the Western Powers similar to this one and create an


 Alliance, in writing, to prevent their Kingdoms from falling to the great Evils in the world. If all


 went well, after ratifying a formal Alliance with Men, they’d invite the Dwarves.

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        “The Dwarves?” Celeborn asked.


        For the first and last time, in this private, secret Council, Gil-galad spoke openly of the


 Rings of Power: the Thirteen for enchanted Beasts were done and had been gifted to their animal


 allies, the six of the Elven for Dwarf and Elven Lords specifically for Dwarves were done and in


 secret had been gifted and in secret would remain, the five of the Eleven for Dwarf and Elven


 Lords specifically for Elves were done and in secret they protected three Kingdoms of Elves.


        Gil-galad perceived their passionate Master-craftsman Celebrimbor had consciously or


 unconsciously wove enchantments connecting his Rings and their Bearers to the Music of the


 Spheres in beautiful patterns that transcended the division between the Children of Ilúvatar and


 the Valar. There were thirty major and minor keys in music, and each of Celebrimbor’s Rings of


 Power represented one of them and their harmonic equivalents. The Valar were surprised and


 delighted when new chords and harmonies rose from Celebrimbor’s Rings and filled Middle-


 earth which only they could hear. If the reports of the Ringbearers who he could not name were


 correct, these Rings and their Bearers were being praised by the Valar for the beauty of their


 Harmonies and this new Music was being incorporated into the Ainulindalë.




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        Now Celebrimbor was working on the last two of the Five for Mortal Warriors. Part of


 being a Master-craftsman was seeing patterns and significances no one else could see. He had


 discovered these Master patterns in the stars thanks in large part to the star-craft and lore of the


 Númenóreans and he used this knowledge as the foundations for the powers in his Rings.


        When finished, the Enchantments in his thirty Rings of Power would be in perfect


 harmony with the Music of Ilúvatar, and Celebrimbor’s crowning achievement, the Masterpiece


 of his Great Ring Cycle.


        In addition to the letter, Aldarion would receive these last two Rings as gifts, one for the


 King and one for Aldarion’s wife Erendis who, according to Aldarion’s men (Aldarion never


 bragged or spoke of her beauty) she was far more fair than even the women of the Eldar they


 welcomed from Valinor. At this, Galadriel had bristled, but only Celeborn had caught it.


        Gil-galad felt sure when King Tar-Meneldur put on Formáitë, the Ring of Right Decision,


 one of the last two Rings, it would almost guarantee the King, Erendis and Ancalimë would be


 sailing to Middle-earth with Aldarion on the next ship.


        After the Council, Celebrimbor had gone right back to his workshop. Curiosity overcame


 her, and Galadriel visited Celebrimbor there alone, which she had never done before.

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        Having been lauded by everyone at the Council and having only recently resumed his


 affair with Galadriel, Celebrimbor was jubilant to welcome her and show off his workshop, but


 in the midst of showing her his new Rings of Power, in walked Lord Círdan.


        “My Queen,” Círdan said to Galadriel, bowing.


        “My Lord,” Galadriel replied, smiling.


        “My good Lord Círdan!” Celebrimbor exclaimed. “What an embarrassment of riches I


 am having today. In my humble little blacksmitherie, first rose the Sun, and now comes the


 Moon. My sky could not be more full. But what are you doing here? You’ve never graced my


 workshop with your august presence before.”


        Before Círdan could answer, Celebrimbor breathlessly and quite happily went on, “No,


 no matter. Welcome! But beware your fine leather sandals, Lord. You might get a bit of


 blacksmitherie on them. Ha ha ha!”


        “Now is not the time for jest my good Lord Celebrimbor,” Círdan said smiling, amused at


 their reaction at him catching the two of them alone together, “I have come from the King.”


        “Ho ho!” Celebrimbor cried. “Now I am Lord Celebrimbor. This must be very important.


 However, which king? Rather than a dearth, we have a wealth of Kings and Queens in Middle-

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 earth. In fact, there are so many, among them I myself seem to have lost my crown more than


 once, yet amid the throng, no one even noticed!”


        Círdan and Galadriel laughed, and he told him, “You seem mayhap to have lost more


 than just your crown this afternoon, my good Lord Celebrimbor.”


        “Do I seem delighted to you, Lord Círdan?” Celebrimbor asked. “To see you in my


 humble workshop, my humble jewelsmitherie, my humble shop of crafts? But look at what I


 have wrought,” he stepped aside and presented upon his anvil, the last of his Great Rings.


        It was forged of the purest gold, but uniquely and quite unlike any of the others, this one


 bore an exquisitely cut and flashingly bright red precious gem.


        Círdan and Galadriel examined the gold band and the jewel closely.


        “You have acquired a few new skills studying the ancient scroll of the learned Elven


 Master-craftsmen Mahtan, teacher of your grandfather Fëanor,” Círdan said. “I think… there are


 a few touches from the Dwarven Master-craftsman Telchar and his tutor, Gamil Zirak the Old.”


        “My good Lord Círdan,” Celebrimbor remarked. “You have impressed me in my own


 shop with my own craft. Such discernments I had thought beyond anyone’s eyes save my own. I


 will never again doubt the discernments of the eyes of Lord Círdan.”

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        As they were speaking, the Elven blacksmith Marcidelén and the Dwarven whitesmith


 Moldar entered, bowed to their Queen and Lords, and began working at their stations.


        “Before I forget,” Círdan said. “I have come at the request of our King. I know you are


 busy crafting Rings to complete your Great Ring Cycle, but he wishes you to set all that


 momentarily aside.”


        “What?” Celebrimbor cried. “Do you know how close I am to completing my Ring Cycle


 and how much work has gone into the crafting of every one of these Rings? Each of them has


 been for different races and different beasts to do different things. Creating the complex and


 original enchantments alone can take an Age before being wedded to the highly purified and


 uncorruptible bands of gold.”


        “This is precisely why Gil-galad sent me,” Círdan told him. “It is for one of our mortal


 friends so we cannot wait an Age. You know how swiftly their lives pass. If you do not set


 everything else aside, our mortal friend might be dead before you completed it and Gil-galad will


 simply not allow that to happen.”


        “For which mortal must I set aside my work?” Celebrimbor asked.


        “The Crown Prince Aldarion of Númenor,” Círdan replied.

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        “Why didn’t you say it was for Aldarion when you first came in?” Celebrimbor asked. “It


 would have saved much time. Perhaps an Age, for so it seemed before you told me. I am happy


 to set everything aside for Aldarion. In fact, it would be perfect to give him a gift from you and


 Gil-galad,” he turned to Galadriel, “King Gil-galad, when I present him another gift from me.


 But you have not told me what it is Gil-galad, or I think it is you who wants a gift for Aldarion.”


        “Ah, yes. Most observant,” Círdan said. “The Númenóreans do not build ships as I do,


 crafted elegantly in the shape of swans.”


        “Yes, about that – “


        “Aldarion builds ships that look like kegs of beer – “


        “As well he should, do you know what it is like being at sea so long – ”


        “The least we can do is put something on the prow to delight his eyes. If not a swan, then


 perhaps a familiar carved from stone. Elrond suggested the likeness of one of the Valar, one of


 the Uinéniel, Daughter of Uinen, who would take it as a compliment and mayhap increase her


 blessings on Aldarion and his ships. I thought whatever it was, it should have been sculpted by


 your grandmother Nerdanel, whose unliving marble sculptures seem to the untrained eye, alive.”


        “How do we to obtain my grandmother’s services in far off Valinor?” Celebrimbor asked.

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        “Yes, I know,” Círdan said. “It is just – I so highly esteem her work. You have seen my


 collection in East Mithlond.”


        “The best in Middle-earth,” Celeborn told him. “What about my ravishing red haired


 cousin, Nerdanel’s own granddaughter, the princess Drendelen?”


        “An excellent suggestion,” Galadriel said. “She is second only to your grandmother. We


 could have Drendelen carve the features of one of Nerdanel’s daughters. That would surely catch


 any sailors eye, even this friend of yours Aldarion.”


        “I very much like this idea of a daughter,” Celebrimbor said to Galadriel.


        “No, no,” Círdan said. “I did not say a daughter.”


        “You did, I heard you.” He turned to Galadriel and the other Mirdainions, “Did he not


 say a daughter?”


        Marcidelén and Moldar laughed.


        “Yes,” agreed Marcidelén.


        “He did,” Moldar affirmed.


        “You are dismissed,” Círdan said smiling.




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        They smiled and looked to their Lord, and Celebrimbor smiled and nodded. They left, but


 Galadriel stayed.


        “I want an effigy of an Eagle, with a beak and talons of gold, to set upon the prow of his


 ship. You know our friends the Eagles well, having given King Thorondor one of your Rings of


 Power. Yes, I know. Do not look so surprised. Drendelen must carve an Eagle King and you will


 set above its golden beak, two green eyes. Emerald eyes like the eyes in the Ring of Barahir.


 Dazzling bejeweled enchanted eyes, they will see far and wide, all this Eagle sees.


        “Why Lord Círdan,” Celebrimbor said. “That is genius, and devious. I would say it is


 both far above and far beneath you. Being both, it suits you perfectly. This was not Gil-galad’s


 idea. This stroke of genius has come from you and your mind alone.”


        Círdan smiled, bowed, and laughed, helpless before the truth.


        “Since you have surprised and delighted me Círdan,” Celebrimbor told him removing the


 drop cloth from another anvil, “perhaps I may surprise you.”


        “Another Ring of Power,” Círdan said, looking closely at the anvil. He looked at back


 and forth between Galadriel and Celebrimbor, “You have gotten better at keeping secrets.”




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        “This truly is my day,” Celebrimbor said, smiling to Galadriel. “It is not every day I


 surprise and delight the dour countenance of the far-sighted Círdan.”


        “It is an amazing thing,” Círdan said, returning his gaze to the anvil. “A Ring of exquisite


 simplicity.”


        “It may not look like much to the untrained eye…”


        “Do not forget to whom you speak,” Círdan said, though he knew Celebrimbor was


 having fun and he played along. Galadriel and Celebrimbor were two of the few besides Gil-


 galad and Elrond with whom he felt truly at ease. “This is a thing of beauty. Will you not include


 a stone as with your other Ring? The Ring of Barahir had two.”


        “A stone would be a corruption of the beauty of this particular Ring,” Celebrimbor


 answered. “The greatest beauty is in simplicity. The quality of the craftsmanship alone shall


 distinguish this Ring. The purity of the gold, and one or two custom touches that perhaps only


 your eyes can see. But to most, the greatest effort and greatest care has gone into the foundations


 of this Ring which casual eyes will never see. To add a gem, even a precious gem, even the finest


 diamond, would be a corruption of this particular Ring. For this is Oialëhén, the Ring of Seeing


 Clearly, the Ring of Light. I have forged and crafted it for Aldarion himself. He has told me his

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 mother the Queen Almarian supports him completely whenever he wishes to sail to the shores of


 Middle-earth and visit us, but his father King Meneldur, not always.”


        “The Ring of Seeing,” Círdan said, impressed with Celebrimbor and pondering the


 significance and the future of this particular Ring.


        “Aldarion told me on the oceans in the middle of restless and lightless stormy nights, he


 sometimes secretly despairs he will ever safely reach another shore, and in his darkest moments


 he feels the only light guiding him is his friendship with the Elves. This Ring will take that light


 that lives in his heart and put it on his hand, to guide him on his lightless travels when nights are


 dark and he wonders who he knows are truly friends. Oialëhén, the Ring of Light will be


 unfailing proof he can see, the Elves will always be his friend.”


        “A kingly gift for our friend who will one day be the Númenórean King,” Círdan


 observed. “But unlike Formáitë, it could use one more thing.”


        “What do you mean?” Celebrimbor asked.


        “I noticed,” Círdan observed, “that just as Aulë did within the Ring of Barahir, you have


 infused each of the Thirteen with part of your fëa.”




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        “It was just a spark,” Celebrimbor defended. “Even thirteen times, so small a part I will


 never miss, nor ever feel the lack.”


        “You misunderstand,” Círdan said. “I applaud your actions. But I could not fail to notice,


 despite several Master enchantments, there is none in this Ring.”


        Celebrimbor laughed, “I doubt there is any danger of Aldarion forgetting how to speak.”


        “I agree,” Círdan told him. “But it still could use something.”


        “Another thing?” Celebrimbor laughed. “Have we grown so accustomed and expectant of


 perfection, that when faced with the monumental and unmatched impossibility of achieving the


 ideal, we fail to appreciate an artist who has overcome impossible odds to create and present so


 complex yet so simple and flawless a thing?”


        “Have you not thought of perhaps adding a green stone?” Círdan asked, smiling.


        “No, no green stone for this Ring,” Celebrimbor answered. “It comes from me


 personally, not just the Elves, and the simpler the better. It is a mark of my true friendship and


 devotion to the young prince who ages before my eyes. He will grow old and pass, and I fear it


 may happen without my ever having known.”


        “Such things are to be expected when ships put out to sea,” Círdan told him.

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        “Of course,” Celebrimbor agreed. “So this will mark the friendship we shared while he


 was still alive and it will remain as you see it: unvarnished, unalloyed, and unadorned, for


 simplicity is complexity in its rarest form.”


        “I agree,” Círdan said. “They say thrice pays for all. There is one more boon I will grant,


 though it is unasked. To simplify the complexity within this Ring one step further, may I add one


 more thing? I think it needs a bit of fëa. If I may make a gift to you, my foresight is telling me a


 bit of foresight would be foresightful for this particular Ring.”


        Celebrimbor bowed in a true humility he rarely felt, “My Lord Círdan. I would be


 honored to accept a gift from the oldest of the Ñoldor.”




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        When Gil-galad, Círdan and Celebrimbor returned to West Mithlond, Celebrimbor gave


 him Oialëhén and Aldarion could easily see the beauty in the simplicity. Círdan gave him the


 Eagle with the golden beak and talons, and emerald eyes, and Gil-galad gave him a sealed letter


 for Tar-Meneldur, and asked him to bring his wife Erendis on his next trip.

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        But Aldarion explained, “Erendis loves only Númenor and she does not like me sailing to


 Middle-earth. But I will give my father your letter, and perhaps when she learns what I have


 been doing here all these years, and sees this magnificent Eagle, she’ll see things differently and


 come with me on my next trip.”


        “Good!” Gil-galad told him. “Bring her and your daughter and meet me next time in the


 wonder of the Modern World, the Palace of Edhilon in Eregion.”


        “There’s really not much there for Erendis to see,” Aldarion told him.


        Gil-galad laughed, “You have not seen Edhilon in over a hundred years. It has grown far


 beyond Celebrimbor’s lone palace. He has created a jewel of a city. You will not believe what he


 and the Dwarves have built on those hills since you ferried him up the river.”


        “What have they built?” Aldarion asked.


        “It has baths and fountains, waterfalls and gardens, and the finest food anywhere. Jeweled


 tapestries hang from the ceilings that will astound Erendis,” Gil-galad told him. “She will love


 Middle-earth after traveling up the Swanfleet escorted by a fleet of real swans, staying in the


 Palace of Edhilon pampered by Elves in the hot springs, meeting the Dwarves, seeing the


 glowing ithildin engravings on the Doors of Durin by moonlight, touring the magnificent halls of

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 Khazad-dûm with King Durin, ascending the Endless Stair, and looking out Durin’s Tower upon


 the bright stars living deep within the Mirromere.”


        “If anything could make Erendis love Middle-earth,” Aldarion said, “it would be all that.”


        “And to seal the deal,” Gil-galad said, lifting a beautiful golden Ring of Power with a


 dazzling red gemstone, “Give her this.”


        “Thank you,” Aldarion said, astounded by the beauty of the Ring and its brilliant red


 gem, “What is this magnificently cut and dazzling stone?”


        “A red beryl,” Gil-galad answered. “Rarer than diamonds. There is no gemstone known


 to exist more precious than the red beryl you are holding in your hands.”




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        A decade had passed since Gil-galad had given Aldarion the Eagle, Letter, and Rings of


 Power, but Aldarion had not returned. He was very worried and more than a little concerned.




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        When the Elvish lookouts stationed in the tower at the tip of the peninsula of Belfalas


 reported a fleet of white sailed ships sailing for the mouth of the Greyflood River, undoubtedly


 from Númenor and heading for Edhilon, Gil-galad sent frantic messengers to Galadriel.


        He was hoping to arrive before Aldarion, his wife, and King Tar-Meneldur, but in his


 absence, Galadriel must be her most charming and enchanting self, show the Númenóreans the


 splendors of Edhilon and make them feel at home.


        Celeborn had gone to supervise the sounding and dredging of the Swanfleet River to


 accommodate Aldarion’s ships. As Galadriel watched, their great white sails majestically glided


 into view in sight of the Palace. The first was the largest vessel she had ever seen, though made


 of wood, it was larger than a tower. Its masts were so tall, the white billowing cloth filling the


 three story picture windows seemed more like clouds filling the skies than anything crafted by


 the hands of Men. But Galadriel did not want to meet the Númenóreans. Human’s died so


 quickly, often before she’d learned their names. Celeborn had gently chided her, saying if he


 could learn to accept Dwarves, she must get used to humans and he too insisted she meet people


 she had no desire to meet. She had never thought much of Men. Their lives passed without time


 to grow, or grow wise, their lives full of the foolish mistakes of Elvish children.

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        Yet Gil-galad and Celeborn were so insistent she make a good impression, particularly on


 Aldarion, she was nervous, and hesitant, and foreboding their arrival. She begged excuse, to


 delay, or have them choose another. But Gil-galad and Celebrimbor insisted, it must be her.


        They had done all they could and Aldarion had done much for them, more than any


 mortal ever had, more than even most Elven Kings, Queens, and Princes, but they needed more,


 and Galadriel, for the first time, doubted her ability to charm this powerful, albeit human,


 Númenórean King, and his son, who were none-the-less much older and far mightier than


 humans ever were. Only the heirs of Eros, related to the High Elves themselves, lived to such an


 advanced age yet stayed so strong and fair of form so long.


        In the early morning, her handmaidens had brushed out her long beautiful golden-silvered


 hair until it gleamed as brightly as it ever had. She waited dressed in white, but disdained any


 other ornamentation except the Ring of Power she only wore openly in Edhilon, the unparalleled


 Ring of Power given by Celebrimbor.


        Messengers came from the docks reporting the King had indeed come as Gil-galad had


 hoped, but it was not Tar-Meneldur: Aldarion was the new crowned King of Númenor, and he


 had come alone. But Gil-galad, Celebrimbor, Elrond and Círdan had not yet arrived, so she was

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 alone when Aldarion, the tall bearded Númenórean King walked into the magnificent and great


 windowed reception hall alone wearing the legendary sword of the Númenórean Kings Aranruth


 which she had seen in the hands of Elros before he and Queen Karewyn sailed from Lindon, and


 even before that in the hands of the High King of the Sindar Thingol during the First Age, the


 King of Beleriand, father of Lúthien and a good friend to her own former High King Finwë,


 King of the Noldor. Just as Thingol had towered over lesser Elves, Aldarion towered over her,


 she who had ever towered over lesser Men, and Galadriel felt nervous in a way she could not


 remember having been before.


        He barely glanced at her, “Where are Gil-galad, Celeborn and Celebrimbor?”


        “King Celeborn will not be joining us,” Galadriel answered. “He went to the Swanfleet to


 ensure your safe passage and then on to East Mithlond. The others are late. Where is your


 daughter Ancalimë and Queen Erendis?”


        “I…” Aldarion looked out the grand three story picture windows beside the still life


 hanging tapestries wrought from threads of precious ores, utterly lost.


        “You are dismissed,” she told her servants.


        They left them alone.

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        “I’m sorry,” Aldarion said. “We…” the long suppressed emotions cracked his voice. He


 sank into a chair by the window and fought the storm of grief engulfing his heart, “It’s… over.”


        Looking at the swans in the distance and remembering how hopeful he had been talking


 to Gil-galad, accepting for Erendis that magnificent red beryl Ring and planning all the festivities


 and things they would do together when he brought her here: touring Edhilon, Lindon, Eregion,


 and Khazad-dûm with King Durin, Queen Melkenidid, Narvi and Dagnall. It would be the


 second honeymoon they’d always wanted… his grief broke the dam of his heart and swept him


 up in the storms of long suppressed and violent emotion.


        Galadriel went to the window, “My Lord…”


        Just like that, the floodgates of Aldarion’s grief opened. She took his head in her hands


 and cradled his head and the powerful King of Númenor cried like a child before the open


 windows of the Palace of Edhilon in the arms of the Elvish Queen Galadriel.




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        Such a shocking, and many would say inappropriate, beginning to their knowing each


 other could easily have led to an uncomfortable estrangement.


        It didn’t.


        When his great grief was spent and he composed himself, he noticed her beauty, men


 always did. But he was also removed, more often talking about the beauty of the stars and sea


 than her beauty. That was rare. Galadriel found herself listening and attracted to this tall and fair


 Númenórean King, who had such a passion for adventuring and exploring, and discovery.


        With his bearded, weathered, handsome, and commanding face, which happened to


 belong to a distant cousin, though that could not possibly have had anything to do with it. Once


 he’d recovered himself, come from the ocean with all his hungers for life, and her, vividly etched


 in his eyes, he did not think to try and hide. He was so very different from the beardless Elves,


 and their reserved, coy, detached, almost feminine beauty to which she had grown insensate, just


 as she had grown insensate to her own, except when reflected in Aldarion’s hungry eyes, and she


 remembered how beautiful she had been, and if she saw the truth in his desires, she still was.


        Galadriel told him many things of the history of Valinor and the Elves she had personally


 witnessed and in which she’d participated. Aldarion could not help but be impressed by this

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 valiant and mighty warrior Queen, born in the Undying Lands, tutored by the Valar, fighting


 Fëanor during the Kin Slayings, in the Battle of Wrath, and orcs on the shores of Lindon.


        They talked of the future, of the nameless evil that had arisen in the East beyond the


 Misty Mountains, and how she and Gil-galad and Círdan knew it would one day be a threat to


 Khazad-dûm, Eregion, Lindon and Númenor, for ever had the wars of one land spread to the


 others, even the shores of Valinor, requiring the Valar to Decree the Ban of Elves.


        When it grew late, the others arrived but Galadriel and Aldarion barely noticed. They


 may as well have still been alone. Gil-galad, Elrond and even Círdan were surprised.


        Celebrimbor wasn’t.


        Not just because he knew, if anyone could inspire greater devotion from their already


 devoted ally it was Galadriel, but because he saw how genuinely moved the two of them were,


 what a precious moment in time this was they would carry forward for the rest of their lives,


 which for Aldarion would be short.


        Galadriel and Aldarion began to meet frequently, urged on by Gil-galad and his need for


 more from the bustling war economy of Númenor. But in truth, after their first meeting they




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 needed very little encouragement to meet beyond their own, and they were happy for the excuse


 of Gil-galad’s urgent planning and preparations for a still far-off and distant war.


        Aldarion remained married to Erendis and missed much of his daughter Ancalimë’s life.


 Galadriel was married too, with a son of her own, and their situations, though different, were in


 many ways the same. For her part, she said nothing about her husband, though Aldarion had met


 Celeborn before. But he never asked about or mentioned him, nor did she.


        If she must make peace with whatever lay between him and his Queen Erendis, then he


 must be accepting of whatever lay between her and King Celeborn.


        Celeborn was in fact not far away, except that he may as well have been, had been, for


 many centuries since the birth of Amroth, and in many ways he still was and always would be,


 though she still loved him more than she had ever loved anyone, or ever would.


        But when Aldarion was in the room, he brought one-hundred percent of himself, all his


 focus and attention, all his hunger and appreciation, and suddenly, Galadriel was there too, alive


 in ways she had not felt and been in far too many years, more than a hundred. In fact, almost a


 thousand, not since the Spring of Lindon. A thousand years is a very long time to live, and only


 then realize you have not been living at all. Now she was. That’s all she knew.

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        In truth, that’s all she needed to know. It was enough. It would do. Nothing better would


 come along. They both knew it.


        As for the war, though sorely pressed, and uncertain of what he could faithfully promise,


 Aldarion agreed to teach Círdan and Celebrimbor all he had learned of ship craft, so they could


 build greater ships such as the one he sailed, called the NKS Hirilondë, that had so impressed


 her, and bore upon it’s prow the life sized figure of an eagle with a bright yellow beak of the


 purest gold and bright green emerald eyes, a gift from Lord Círdan.


        But Gil-galad wanted more. He wanted Aldarion to rebuild the crumbling harbor of


 Vinyalondë that he himself had established and built almost two hundred years ago at the mouth


 of the river Gwathlo, which was now falling into ruin.


        Gil-galad was convinced it was essential to the defense of Eregion, Eriador and Lindon


 against threats from the south and east. Someday, they would build a city or a fortress in the


 undefended gap between the Misty and White Mountains. But between now and then, the best


 thing was to rebuild Vinyalondë. Galadriel also asked Aldarion to recruit the Men of Eriador that


 sometimes traveled to Lake Evendim, in which she herself had once lived past the North


 Farthing and the North Downs, near the Weather Hills around the foreboding Weathertop.

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        These Men were of the same line as Beor and Hador, and therefor distant kinsmen of the


 Númenóreans. But they were fearful of the Elves that towered over them so high, and wore


 strange clothes, and seldom spoke, and then in incomprehensible and almost musical tongues,


 more like singing than speech. Strange indeed were the ways of Elves to Men.


        They feared they would be bewitched.


        They would only come and stay at the behest of other Men, and they perceived Aldarion


 for the powerful Númenórean King he was, without his ever having said so, though doubtless his


 sailors and the Eriadoreans talked among themselves.


        Without discussing it, or thinking about it, or worrying what it meant, or what it didn’t,


 Galadriel and Aldarion began an affair, as he worked with Celebrimbor, with whom he’d long


 been friends and much esteem they shared.


        He gathered the Men who lived east of the Brandywine, taught them, and they began


 felling trees to build ships, and Celebrimbor praised the learnings of this Númenórean King, and


 he was flattered to learn Aldarion had copied his Guildhouse of the Jewel-smiths with an Order


 of captains, shipwrights, sailors and explorers he called the Guildhouse of the Venturers. He too




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 established a great library and archive, in the province of Rómenna, recording all his learnings,


 knowledge and discoveries.


        For many more years, Aldarion sailed between Númenor, Lindon, and Edhilon, though to


 Galadriel their affair seemed like a too sweet moment in time she knew would be over before she


 had fully appreciated how sweet was its beginning. It had come unlooked for and would far too


 swiftly pass with the life of this mortal human King.


        Somehow, in a way Galadriel did not understand, knowing their time would be so short


 made it impossibly more precious, and more sweet. She wondered if perhaps this was what


 Ilúvatar had meant by the Gift of Men, which the Elves had been denied, unless one of them fell


 in love with a mortal, as Galadriel suddenly realized was happening to her.


        She did not need to try and keep Celeborn at arm’s length. In that way that Celeborn had


 always seemed to know, he had other duties and other interests that took him to lands far abroad.


        But Celebrimbor looked on this mortal King and his affair with his Queen in a different


 light. Aldarion had been his friend for almost two hundred years, but now he had intruded on his


 own affair with Galadriel and he felt jealousy, and possessiveness, and he realized belatedly that


 this was what he had done to Celeborn.

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        Feeling powerless and not sure what else to do, Celebrimbor began fashioning another


 Ring of Power, a Ring that would exceed all other Rings. A Ring that not only equaled all the


 gifts and sciences, crafts and arts of the Númenóreans which Aldarion was gifting to Galadriel


 and Gil-galad, but a Ring that would exceed all the arts and crafts that had ever existed or ever


 would. Out of his longing, and jealously, and pride, and if truth be told, his still passionate love


 for Galadriel, was born the Master-ring of Middle-earth.


        Having an affair with both of them, Galadriel knew she had gone too far. She was gilding


 the lily, as Celebrimbor’s own Mirdainions often said, admonishing each other against over-


 ornamentation or excess. But somehow, she could not help herself, nor did she wish to.


        Two of the fairest, wisest, most brilliant, most virile men she had ever known were vying


 constantly in competition for her attention, while in the throes of rigorous and grand creation,


 and constantly plying her with their discoveries, accomplishments, gifts and treasures worthy of


 the Valar, in a moment in time she knew would not last, and she refused to allow this never-


 come-before, never-to-be repeated moment and opportunity to slip away.




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        They knew Galadriel was having an affair with both of them, but she did so without guile


 or deception, and they accepted this as the price of their passion, just as they accepted the


 inevitable continuation of her marriage to Celeborn.




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        When Galadriel became pregnant, neither of them was sure which one was the father.


        At Gil-galad’s request, Galadriel traveled with Aldarion to Númenor, before she began to


 show. Aldarion’s daughter, the Crown Princess Ancalimë was now one-hundred-and-two years


 old, and ruled as Regent in Aldarion’s absence. But because of Anqaúrë, the Ring of Feeling, she


 had not aged, but she mistakenly believed it was because she was of the Line of Elros.


        Ancalimë was certain something was happening to her father, and with her Ring, she had


 unconsciously instilled in her mother, the not banished but broken Queen Erendis, an unbearable


 longing to see once more her long estranged husband.


        When the news swept through Rómenna that a ship had been spotted on the horizon and


 was the return of King Aldarion, Queen Erendis had come to feel that she had erred in scorning

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 and abandoning him all those years ago. She’d heard the rumor of the priceless red beryl Ring of


 Power worn by one of Aldarion’s captain’s wives, and she was certain it had been meant for her,


 and she had foolishly cast it, and her husband, now the King, aside.


        Unannounced and unknown to anyone, she traveled to Rómenna and was waiting on the


 pier with a branch of the orolairë tree, the Bough of Return, which she had often brought to


 Aldarion when they were both young, and the NKS Hirilondë, the Haven-finder, arrived in the


 port and made anchor.


        When Aldarion descended the gangway from the forecastle bearing the hand of what


 could only be a regal and ravishingly beautiful Elven Queen, who not only had magical other


 worldly glowing golden hair, but her skin, her face, everything about her seemed to glow with


 such a light and delight, Galadriel’s radiant smiles put the very Sun to shame, and Erendis


 immediately knew what had happened. Aldarion had indeed found another Haven.


        It was her own fault. She had abandoned her husband more than a hundred years ago, and


 she had grown very old, and looked it. But she wouldn’t have, at last she understood, if she had


 accepted that Ring of Power Aldarion had brought back for her, instead of scorning him.




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        This Queen of Elves looked so young. If human, a woman who looked that young would


 have been younger than their daughter, though Ancalimë didn’t look a day over twenty.


        Aldarion was just as radiant, as happy as Erendis had ever seen him, and if truth be told,


 he was happier, displaying this powerful and wise and otherworldly beauty which is what


 Erendis had been afraid she would never be. She realized, too late, what a fool she had been. To


 strive to be the wife of one so high above her head. The worst thing that could have happened


 would have been to have succeeded in getting him, which is precisely what had happened.


        But what was worse than worst was that she had given her heart to this man who was,


 she’d always known, a King of Men, who had been in love with her, but she had allowed her


 own insecurities, her foolish pride, and her small, petty, winner-take-all attitude, to drive him


 away. Now she had nothing. He had everything. It was clear to Erendis, Aldarion had been the


 one who’d made a mistake marrying her, as she had always feared, not the other way around.


        Consumed with grief so dire it broke her heart and shattered her last hope of any joy,


 after the happy couple boarded a carriage and departed for the palace, Erendis ran to the end of


 the pier, leaped into the harbor waters far below the docks and shouted, “He is yours Uinen!”




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        News of Aldarion and the Elvish Queen’s arrival, and her mother’s suicide, reached


 Armenelos and Ancalimë’s ears before Aldarion’s or Galadriel reached the palace. They arrived


 not knowing, laughing, crowded by throngs of admirers, amazed to see one of the Eldar from


 Valinor by way of Middle-earth once more visiting the lands of Númenor.


        Just as it had been clear to her mother’s eyes, it was overwhelmingly obvious to


 Ancalimë, Galadriel was Aldarion’s mistress. Now she understood why her mother had


 committed suicide, while her father did not even know it had happened. Seeing him so happy,


 Ancalimë feared if she told him, he wouldn’t care.


        The happy couple laughed in happy ignorance and made surreptitious glances at each


 other an eight-year-old could figure out.


        Ancalimë was horrified, “How dare you bring your mistress here, to our Kingdom, our


 home! How did you think you would get away with this deception?”


        The silence filling the palace was deafening.


        Ancalimë went on, “Why even try? I care not that she is Elvish, or a Queen! She is


 nothing but a – ”




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        “Tread carefully Ancalimë,” Aldarion interrupted, his hand raised, and all were silent.


 “You will not slander our Royal Guest. I have had the inheritance laws changed to accommodate


 your future rule. I can have them changed again. Or disown you. Cast you from the Royal


 Family, forever. If this is what you want, say the first hateful, spiteful thought you have in that


 overly precious head. Such thoughts are unbecoming to a Queen. The moment I hear one, just


 one, pass your lips, a future Queen you will not be.”


        Enraged, Ancalimë swept wordless from the chamber, but her anger was clear. She left


 the palace and rode her horse to her private palace at Hyarastorni in Emerië.


        Never again did she speak of the lands that lay to the East, of traveling there, or


 supporting anyone in Middle-earth. Some believed the resentments of the Eldar and Valar in


 Númenor began with Ancalimë’s antipathy towards Galadriel.


        For months Galadriel was Aldarion’s guest at the Royal Palace of Armenelos, where she


 bloomed, and four months later, in secret she gave birth to a daughter they named Celebrían. In


 Númenor their daughter grew, and not even Ancalimë ever learned where she lived.




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        Before Galadriel, Ancalimë had been genuinely curious to see herself what had drawn her


 father East and the wonders he described that lay on the shores, in the hills and valleys and


 towering snow covered mountaintops that towered much higher than the mountains of Númenor.


        But now she had no need to go. Aldarion had shown her what had drawn him East: her


 father had gone to see his mistress. She was certain they had been together for years. They may


 have even started before her parents wed. Galadriel was immortal, and much older than she


 looked, and Elvish women were rumored to esteem strong age in Men, rarer than a rarity,


 unheard of among Elves who barely aged. Maybe her father had been something of a novelty to


 the harlot Queen of Edhilon in Eregion. It no longer mattered to Ancalimë. The fact that


 Galadriel was an Elvish Queen only made things worse.


        She heard people say, ‘Of course he took an Elvish Queen to wife, and one so beautiful to


 boot, who wouldn’t? No man could refuse the charms of such a woman.’


        In her Palace staffed exclusively by women, Ancalimë raged, “This is exactly what my


 mother warned me about Men and why he so often returned to Middle-earth and overstayed and


 tarried as often as he did. But I do not blame my father, as the entire court now gossips, any man




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 would. It is her, and her elven charms and enchantments that have destroyed my family. If ever I


 had a mind a mind to marry and bear children, I have such mind no more.”


        Ancalimë went in secret to the Council and told them she feared for her life. A great evil


 had come and been born in Númenor from the East. But she dared not speak of it lest the King


 learn of her words and disown or destroy her for attempting to save Númenor. For he was


 bewitched, enchanted by Dark Magic that had been woven on the shores of Middle-earth.


        The Council demanded she say all she knew.


        She refused.


        She was too terrified, she said, of what the King would do. So they wrote a letter of


 Amnesty and swore themselves to secrecy and put in writing they would never reveal by any


 means, explicit or implicit to the King or anyone else, that they had spoken with Ancalimë.


        As proof of their fealty, they wrote whatever the King might do or say in the future, upon


 his death, Ancalimë would receive the Scepter and the White Crown, regardless of anything that


 transpired henceforth, between now and the death of King Tar-Aldarion.


        This was exactly what Ancalimë had been waiting for. Once the documents were written


 and signed in secret and sworn upon by Manwë, Varda, and Ilúvatar himself, she revealed her

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 father had been bewitched and seduced by a Queen of the Elves. This Queen had arrived in


 Númenor, pregnant with the King’s own child, and on Númenórean soil, she had delivered a


 half-breed abomination claimant to the Crown of Númenor.


        Her father, the good and ever kind King Tar-Aldarion, felt pity for this strange and


 wonton creature who was outcast from her own people. So he had brought her in desperation to


 Númenor for sanctuary. She herself was married (gossips around the court said) with a family of


 her own, and so great was her shame, none in Middle-earth would bear her or her bastard child


 Celebrían to live, just as none should have in Númenor.


        But it was already too late, on Númenórean soil this witch had borne the Rightful King an


 Elvish heir, by which the scheming enchantress meant to usurp the throne in a bloodless coup,


 using her wiles and false devotion to conquer the lands of Númenor, robbing Men of their


 Rightful and Eru given Right to this island Kingdom and the prosperity and tranquility of Men,


 that Elves were clearly incapable of, forever embroiled in endless wars.


        This vile enchantress would surely displace, banish, enslave or destroy the Men of


 Númenor. Had not the races ever done these things between their divisions, one kind to the


 other? This was not new, or news. These were the dark designs of the evil Queen of Elves,

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 Galadriel, who herself had forsaken her lawful husband and forced Aldarion to forsake his lawful


 wife, for upon her arrival, Galadriel had bewitched Erendis, and forced her by dark enchantments


 to take her own life. Ancalimë had fled the palace for if she hadn’t, she would have been next.


        The Elves were terrified of their Enemies in the East, nameless powers that were rumored


 to be the sons and daughters of Morgoth himself, and Númenóreans had sacrificed so many of


 their own lives to defeat him in Middle-earth, and after having won, departed deservedly at the


 direction of the Valar, to the idyllic and tranquil shores of Númenor, the Land of Gift, to be free


 of that self-same strife and those very same wars against those same opponents that Galadriel


 was trying to drag Aldarion and the Númenóreans back into.


        Did not the council possess in their archives the words of the letter written by the Elvish


 High King Gil-galad himself, which attested to the truth of her words? Indeed, the arrival of this


 Queen, who did not deserve the title for she was no more than a harlot Elf, a whore, who


 wagered her beauty and her spells against the lives of all who lived in Númenor, was nothing


 more and nothing less than the beachhead of an invasion, fought with her treacherous loins, as


 only the vile and deceptive Dark Elves of Middle-earth could fight.


        The Council was shaken.

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        They called for the letter to be found in the archives and brought to them.


        It had been written by the High Elvish King Gil-galad.


 A new shadow arises in the East. It is no tyranny of evil Men, as your son believes; but a servant
 of Morgoth is stirring, and evil things wake again. Each year it gains in strength, for most Men
 are ripe to its purpose.

 Not far off is the day, I judge, when it will become too great for the Eldar unaided to withstand.

 Behold! The darkness that is to come is filled with hatred for us, but it hates you no less. The
 Great Sea will not be too wide for its wings, if it is suffered to come to full growth.



        “See!” Ancalimë screamed to the Council. “The Great Sea has not been wide enough!


 The Darkness has already come to Númenor. Its road to full growth began when Galadriel gave


 birth to a rival half-Elven abomination contender for the Throne named Celebrían. I know my


 father intends to make this whore a Queen, for in coupling with Galadriel, has he not already


 made a Queen a whore?”


        For days in secret, with doors closed and never leaving their halls, the Council held long,


 rancorous, angry, sometimes violent and desperate meetings to determine what they would do to


 prevent the loss of their ancestral homes, given by the Valar and Ilúvatar, the One.


        After long and exhaustive debate, never in unity, finally a majority was achieved. They


 wrote their declarations down and urgently summoned the King. They feigned servants of his



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 palace had come anonymously, in fear for their own lives and the lives of their kinsmen and all


 Númenóreans, from the dark deceptive wiles of the treacherous Elvish Queen.


        They confronted King Tar-Aldarion with a decree that affirmed Númenor was for Men


 and Men alone, and only Númenóreans of all the races of Men, not for Elves or Dwarves.


        Therefore, this Elvish Queen and her child Celebrían, regardless from whence they had


 come, who the father was, or where they intended to go – they could not remain in Númenor. If


 they did, the Council would have no choice but to interpret the acts of this Elvish Queen as Acts


 of War. If Tar-Aldarion defended her, he would be a traitor to Númenor and all Númenóreans,


 and they would have no choice but to Depose him as an unlawful traitorous King.


        Aldarion was stupefied.


        He thought he had been so careful. Only his most trusted lieutenants and their families


 knew Galadriel had given birth. It must have been one of the wives. But he understood. He could


 see how his and Galadriel had gone too far. Things could easily be misinterpreted by anyone


 fearful of the great unknowns, and the very threats he himself had labored to make the


 Númenóreans believe were terrible, relentless, inevitable and deadly.


        Now they believed him. He could not fault them their belief. He had created it.

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        After leaving the Council, Ancalimë returned to her palace and sent a letter to Aldarion as


 if she’d never left. He never knew it was from her lips these lies had spread. But he saw how


 grievously and sore afraid his subjects were, even terrified of Galadriel, and the dark wars of evil


 that ever threatened to consume Middle-earth now threatened to reach across the ocean and


 spread upon the shores of Númenor, until their wars and conflicts covered the whole of their


 beautiful, placid and peaceful island kingdom. Already he saw the fearful looks and desperate


 rumors of invading armies and coming wars that neither he nor the Council could stop.


        So he withheld rebuke.


        But Galadriel had troubles of her own. She had Aldarion’s child without becoming


 mortal. This had never been done. She had broken too many of the Laws of the Valar to count.


        There was no way she would ever be allowed to return to Valinor. None.


        She had traveled so far beyond the line, no one in Valinor could ever accept her return.


 She had made it effectively impossible for them to forgive her, almost as if she had wanted to be


 banished to the Void beyond the Doors of Night, alone with the only other immortal to ever have


 been banished – Melkor.




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        Love had drawn Galadriel to become one of the two most reviled immortals to ever exist.


 It was unthinkable. Yet it had happened. Such were the Laws of the Valar, and she had no


 excuse. She could not plead ignorance. She had known the Laws better than almost any other.


        She had been tutored by the Valar themselves in their own Halls in Valinor.


        But the worst part was, she had fallen in love with Aldarion, and though she knew he had


 fallen in love with her, the pull of his duty to his people and his kinsmen and Kingdom was


 pulling him away from her, in a way it never had with Celeborn or Celebrimbor.


        She wanted to tell him she had decided to become mortal, and stay in Númenor with their


 daughter, not as Queen and Princess, but as private guests of the King, to live out the end of their


 days together in Númenor, grow old together, and see which one would be taken by Death first.


        She waited for the perfect day to tell him.


        Before she could, Aldarion returned from the Council and told her the three of them must


 sail back to Eregion immediately. The situation in Númenor had become dangerous. Rival


 factions were forming. He feared for their lives. He feared for his own life. He feared for the first


 time in its history, Númenor would experience war. Not just war, a bloody Civil War, which


 would make no difference who won, Númenor would lose.

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        That he could not permit. If he left, when he returned, he may have already been


 Deposed, and he could find himself arrested and executed. But even with this uncertainty


 hanging over his head, he sailed from Armenelos to the far side of the island to ready his ships


 for another crossing with Galadriel and Celebrían, refusing to entrust their safety to anyone else,


 even at the cost of his throne, and on his return, his own life.


        He was in love with her.


        While there, he gave her the silver walnut seed of a mallorn tree, the one thing that had


 impressed her more than all the other wonders of Númenor, the thing she talked most incessantly


 about and said she would miss more than any of the other wonders of Númenor.




                    *               *              *                *            *




        Aldarion sailed away from Middle-earth for the last time in 998 of the Second Age, and


 though neither of them had spoken of exactly when he would restore order in Númenor and


 return to see her and Celebrían again, she assumed it would be in time for them to celebrate the


 arrival of the Millennium together.

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        For Aldarion had traveled back and forth between Númenor, Eregion and Lindon too


 many times to count. She had not imagined he would not make the ocean crossing many times


 again. It was only after his ship pulled away from the harbor when she allowed herself to


 recognize the fear which had been whispering in the back of her mind. Before he left, Aldarion


 had given her a small gift wrapped present and a letter. She opened the letter first:


        Dearest,


        Since there are no words, remember how it felt whenever our eyes met, the stirrings in


 our hearts when we touched; the sounds of soft repose lying together in the silence of the world,


 hearing only each other, the rustling of our bodies stirring, the rhythms of our heartbeats and


 breathing; remember the sweet fragrances in our hair, our clothes; I will carry forever the taste


 of your kiss, and you will always be this close.


        My love is named Celebrían and Galadriel,


        Anardil



                        It is something to laugh where others weep
                                And build the things we need as we have done
                        It is something to love while others sleep
                                And see the stars that never see the sun




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                        It is something to smell the mystic rose
                                Though withering, it leaves its thorny rods
                        It is something to imagine worlds as those
                                Who dare imagine with the dreams of Gods


                        To know the things which from the weak are furled
                                These mighty ancient passions, strange and high
                        It is something to go running through the world
                                Not like the ones who watch the world run by


                        They cannot stop our works nor mar our arts
                                Nor overwhelm our pity with their lies
                        Nor silence music playing in our hearts
                                Its harmonies are older than the skies


                        Those quick to complement you cannot trust
                               Deceptive lips will from their sweetness tire
                        In a world of dimming love and fading lust
                               It is something to be certain of desire


                        Harkin your ears and you will glories hear
                               Open your eyes and we will beauty see
                        For in Heaven wait the answers bright and clear
                               And our love which can never die will be



        Tears filled her eyes and dropped from the lower lip of her lids. Never, in all the


 millennia she had lived since she had been a child had anyone made her cry.


        She unwrapped the present, opened the small delicate box and was dazzled by a glinting


 golden Ring set with a glittering ruby beryl.




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        Until that moment, she would never have believed he wouldn’t be back to see her and


 Celebrían again, and before that moment, she had assumed he would remove those who opposed


 him in the Numenorean Council consolidate his rule and return.


        When he did and saw again her and their daughter, he would not be able to refuse taking


 them back to Númenor. Now she realized she had indeed been right. But Aldarion would never


 return, or see her or their daughter, the sweet and oh so beautiful Celebrían, ever again.


        Her return to Lindon, which she had imagined would be her last look and final goodbye


 to Celebrimbor and Celeborn, had become a permanent homecoming.


        Turning her back on the West, she felt from somewhere deep inside of her the cracking


 cutting, rending feeling she had never known but instantly recognized: her heart was breaking.


        She never spoke of these feelings to anyone. But when alone, she feared the unthinkable


 had happened and she forced herself to frame it in the baldest and most unflattering terms:


 Galadriel, the Queen of Elves, the most beautiful woman in three worlds had been jilted.


        Worse, the father of her daughter had left and never returned to see their child growing


 up into a beautiful woman and she realized the same thing had happened to Ancalimë.




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        Now she regretted what she had done. Not that she had loved Aldarion or bore their


 beautiful daughter, but that she had hoarded his time so selfishly without a thought of


 Ancalimë’s needs and what their time together was costing his other daughter.


        As for Erendis, Galadriel felt contempt. Erendis had made her harbor, let her sink to the


 bottom of it. It was better than she deserved. She rejected her own magnificent husband and


 King. Galadriel was certain Erendis deserved much, much worse than what she got.


        Galadriel returned to her palace in Edhilon with Celebrían, clutching the seed of the


 mallorn. It reminded her so poignantly and painfully of her undying love for Aldarion, and her


 foolish mistake, having been the only Elvish woman to ever defy and break the Laws of the


 Valar. She knew now she could never return to the Undying Lands.


        Her life would be very, very, long in Middle-earth. Over thousands and thousands, and


 tens of thousands of years she would age, her face would begin to wrinkle, her beautiful golden


 white hair and its iridescent golden bright starlight like light would turn grey, dim, until the


 Dagor Dagorath, which she would face as a withered, wrinkled, ugly crone.


        Celeborn agreed to raise Celebrían as his own and they never said a thing to her about her


 true father, even though Celebrían was half-Elven, just as Elrond was.

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        When Celebrían was grown, she and Elrond fell in love. Everyone was surprised except


 Galadriel. Only she knew Celebrían was just like him, half-Elvish, and if truth be told because


 Aldarion was her father a much closer cousin than if she had been Celeborn’s daughter.


        When Elrond and Celebrían were married they had three children, Elladan, Elrohir, and


 Arwen. Celebrian, and eventually who twin sons learned they were Númenórean in turn when


 each of them put on Elentári in different Ages of the world. But before Elessar gave her


 Anqaúrë, Arwen herself had never known. When she herself put on Anqaúrë and absorbed the


 memories preserved within the uncorruptible bands of gold, she never spoke of them and they


 had never been recorded, forgotten by the few who ever knew them. They remained unknown to


 anyone else until Celendrian put on Anqaúrë, touched her mother, and dreamed of Númenor.




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                                              Chapter 4




                                     The Forging Of The Ring




        The next night while looking in the Orthanc-stone, Arwen and her daughters saw


 Glorfindel and an army of Easterners ride out of Rivendell heading west on the Great East Rode.


        The only place they could be going was Bree.


        Arwen rose, “You must continue north to Annúminas, as your father ordered.”


        “You’re going alone against Glorfindel and his Easterners?” Celendrian asked knowing


 too well her intentions. “This is just like you taking off alone against the dragon.”


        “You read too much into my actions before you had more of a mind to think,” Arwen


 said. “I have no wish to martyr myself. Look closely and you will better understand.”


        Elerith had no idea what her mother and Celendrian were talking about.

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         Celendrian looked into Arwen’s memories and saw many ways to slay a drake, less


 flashy than Ælfwine’s heroic but dangerous style, but equally effective.


        While Arwen packed, Elerith took control of the Orthanc-stone as her mother had taught


 her and pushed the Eye to Weathertop.


        There she found Nine bowmen in grey leading Nine battalions of the armies of the East.


 The bowmen were dressed in grey mail, with grey skin, grey eyes and grey faces. Their swords


 and daggers were grey and they had grey bows and arrows, with grey mithril arrowheads. They


 were the Nine deadly silent Hunters In Grey, Glorfindel’s new Nazgûl. Before they died a


 generation ago, they had been the Kings of these tribes of Easterner.


        Before she left, Arwen took control of the Stone and pushed it to the top and there they


 saw Erestor, who she’d never liked, inside the broken ring of stones setting up a tall black marble


 pillar with another band of Easterners, traditional enemies of Gondor and Arnor, preparing to put


 a very large Palantír atop a custom made black marble column.


        “They moved the Elostirion-stone?” Celendrian asked.


        “No!” Arwen shrieked. “I saw it earlier in Imladris. They have used the stolen Elostirion-


 stone to find the long lost Stone of Osgiliath!”

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        Celendrian and Elerith stared silently through the Palantír of Orthanc at the Osgiliath-


 stone. They had never heard their mother scream before.


        “My Queen!” one of her knights ripped the sealed tent flaps open, “Your Majesty… we


 heard you scream. Are you and the… royal princesses – ” the Palantír of Orthanc glowed.


        “Thank you, Captain,” Arwen said. “I thought I saw a snake. I was mistaken. I appreciate


 you looking in on us.” She sealed the tent flaps shut.


        “We should have realized, if Glorfindel has Fallen, Erestor wouldn’t be far behind,”


 Celendrian said, pretending her mother had not just screamed and she didn’t know why.


        Even without the benefit of her mother’s memories, Elerith knew too. She took the


 opportunity to put her mother’s training to good use and she pulled the Eye of the Stone in close


 upon the third finger of Erestor’s left hand, “Look!”


        He wore a golden Ring, set with a black Cat’s Eye Scapolite stone.


        “Is it one of Celebrimbor’s?” Elerith asked.


        “No,” Arwen and Celendrian said together. They looked at each other.


        “That’s weird,” Elerith said, looking back and forth between them. “You’ve never done


 that before.”

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        “It is one of Sauron’s corrupted Nine,” Arwen answered. “It is Tilion, the Ring of the


 Moon. Or at least, that is what Sauron named it and how he presented it to the Easterling King


 Khamûl, when he made a gift of it and seduced him. But in truth it is Harma, the Ring of


 Possession, Madness, Lunacy, Scars, Maiming. It bound Khamûl to Sauron forever as his slave.”


        “He became one of the Nazgûl,” Celendrian noted to Elerith.


        “That’s comforting,” Elerith said. The news was strange, but not as strange as her mother


 and sister sounding and acting like her uncles Elladan and Elrohir. “How can we defeat them?”


        Neither of them knew.


        “You must leave at once for Annúminas,” Arwen said standing.


        Elerith left to pack and Celendrian told Arwen, “There was no reason for you to tell me


 all those things the night you gave me Anqaúrë. You just didn’t want to squander your last


 opportunity to lord over me with your superior knowledge.”


        “There is no point in responding. You know I gave up my immortality and am now as


 human as you,” Arwen said. “Bitterness I bequeath you, but this pettishness does not become a


 future Queen. It is time for you to begin bearing the responsibilities.”


        “I’m certain I already have,” Celendrian told her.

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        Arwen handed her the Palantír of Orthanc, “You will have no problem using this. Learn


 all you can of Erestor and these new Nazgûl. It is our only hope to defeat them. I must leave at


 once for Bree to find Eldarion before Glorfindel.”


        Arwen told her knights they would not be stopping or resting that night. They packed


 their things very quickly and they and the Queen rode north, heading for the Old South Road in


 the darkness only occasionally broken by moonlight between clouds. Her hope no longer lay in


 secrecy, but speed.


        Celendrian fetched Elerith, and they took the palantír to her own tent, sealed the flaps,


 and followed Erestor and the Nazgûl, not in their slow riding across the Weather Plains, but


 backwards in time, the most strenuous use of a palantír, trying to discover where these new


 Nazgûl had come from. They worked far into the night, taking turns pushing themselves and the


 palantír ever farther backwards in time for every one of them.


        One rested and made observations and suggestions while the other concentrated, pushed


 harder, farther, faster, calling on the discipline ruthlessly bred into them by their mother using


 reserves of strength and endurance available only to the very young. Half the night had burned


 away and they were almost exhausted, both despairing and close to breaking, when Elerith found

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 the moment Glorfindel and Thüringel murdered the Kings he had given the Nine by drinking


 their blood and creating the Undead Ringwraiths.


        “Glorfindel assembled the armies of the Nine kings he gave the Rings!” Elerith shouted,


 shaking Celendrian awake. “I know who they are. I’ve counted their squadrons and assessed


 their arms. They’re marching to Weathertop to ambush Elladan and Elrohir in four days!”


        Celendrian sat up startled, half awake and her mind seethed with the experiences of the


 strong women warriors who had worn Anqaúrë.


        “We must assemble every garrison, auxiliary and cavalry within four day’s march or hard


 riding in the entire Kingdom,” Celendrian said.


        Elerith waited. There was no more. It was monumental. It had never been done before.


 Yet Celendrian had said it so simply, almost casually.


        “There is a problem with this plan,” Elerith told her.


        “The minor Kings and Queens won’t act on our orders until they receive confirmation


 from father,” Celendrian said.


        “Yes,” Elerith affirmed.




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        “We know most of them,” Celendrian told her thinking out loud, “and they know us. But


 you’re right, they’re still wait. If only to give themselves more time to worry. Blast. Their Heirs,


 the Crown Prince and Princesses who are our friends wouldn’t. Princess Dinella, Prince


 Rondeled, Princess Gianamin, Unahil. Every one of them have trained to rule from birth and they


 are as decisive as we are. If they were on the thrones…”


        A long silence.


        “What?” Elerith asked.


        “They know, just like they themselves, we will one day rule,” Celendrian said.


        “That’s true,” Elerith agreed.


        “They have more to lose by disobeying a command from us than their own parents,”


 Celendrian told her.


        “You would order them to disobey their parents?” Elerith asked.


        “No,” Celendrian told her. “That would be foolish, an invitation to failure. I will order


 them to act without consulting their parents.”


        “You don’t mean going behind the backs of their own lawful Kings and Queens,” Elerith


 almost asked.

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        “Correct,” Celendrian said. “I will tell our friends I am going over their heads.”


        “But can we be sure they will?” Elerith asked.


        “Yes,” Celendrian answered. “We have spent so much time together. Too many hours too


 many times to count in the back of Councils watching our parents, knowing and having agreed


 what the outcome would be but seeing days and sometimes months and the lives of our subjects


 squandered in indecision or petty bickering. I will remind them of this and ask…” Celendrian


 rose. “No. I will command them. They will come.”


        “But, even if they agree and do, how will they fight?” Elerith asked. “They’re not as well


 fortified as we are in Minas Tirith. We’ve been to their territories and tracts. Most don’t have


 enough spears, or bows and arrows. Some don’t even have swords.”


        “We therefore authorize for the duration of this emergency,” Celendrian said pushing two


 trunks together for a writing desk and gathering their parchment, quills and inkpots. She and


 Elerith began recording her thoughts, “within the immense timberlands of the Kings Forests and


 animal preserves the claiming of any oxen, hounds, war wolves and horses for mounted troops.”


        “Magnificent!” Elerith cried, caught up in the inspiration.




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        “We also authorize the felling of trees for fashioning clubs, spears, arrows, bows or


 lances for the arming of troops, and the hunting of any animal for the provisioning of forces in


 support of the Crown, for any Prince or people who rise at the Command of their Lawful High


 King and his Heirs.”


        “It’s brilliant,” Elerith told, putting her quill back in its inkpot and stopping a moment


 from writing. “Epic. If I wasn’t so terrified – I’d be excited.”


        Celendrian laughed and hugged her, grateful they had each other, “Back to work.”


        The hour before dawn, as the Royal Garrisons roused themselves and the other princes


 and guests emerged from their tents to have their morning meal, Elerith and Celendrian unsealed


 their tent flaps and came to the fire among the still sleepy princes carrying two stacks of letters


 that would either save or doom the lives of their brother the Crown Prince, their Elven uncles,


 and perhaps the future of their kingdoms.




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        “The Dunlendings were our enemies during the War of the Ring!” Elboron protested


 before the now awake and fully alert assembled princes. “They’ve never answered a call from


 their High King, much less any of his Heirs.”


        “It does not matter,” Celendrian told him. “They have taken the Oath of Allies and sworn


 allegiance to the High King of Anor and Gondor and the entire Royal Family. They are our


 subjects. The time has come to put their newly minted loyalty to the test.”


        “I wish we had time for a practice test,” Elerith said.


        “Celendrian, this is wrong,” Elboron told her while the others observed what could only


 be the first of many power struggles about to be repeated throughout the West of Kingdoms of


 Arnor and Gondor. “You can’t bypass the normal channels of authority like this. Loyal or not,


 we must wait for their Kings and Queens to decide!”


        Celendrian drew herself up and spoke with great authority, “One does not say ‘must’ to a


 Prince.”


        Elboron stared at a bearing he had never seen in the young woman he loved whom he


 thought he knew, who was now revealed having hidden depths he’d never guessed. Shocked,


 after a moment’s hesitation he bowed, “Your Majesty, forgive me.”

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        “Ælfwine,” Celendrian asked, “who are your fastest Riders?”


        “My sisters and the Daughters of Rohan,” he answered without hesitation. “My father has


 given them the best horses in the Kingdom, Mearas like my own mount Scilflyng, the best


 training, and they are half the weight of men. No one will ride farther or faster than Éodyn, Idris,


 and Liathwyn and their cavalries, the Daughters of Rohan.”


        She handed Ælfwine the stack of Royal Summons, she and Elerith had stayed up the rest


 of the night writing, signing, addressing to specific Princes they felt certain they could count on


 before any others, and affixing them in wax with the Royal Seal of the United Kingdoms of


 Arnor and Gondor, “Give these to them and have them ride. At once, this very minute. As soon


 as they’re off, the rest of us must hurry to Weathertop.”




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          They rode for four days, pushing their escorts and mounts. Celendrian had offered


 prince Xiang and Pingyang the opportunity to continue North on the Greenway and avoid the




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 coming conflict, but they and their escorts had welcomed the opportunity to prove their loyalty


 and show them what warriors of the East were truly capable of.


        Xiang remarked he did not wish his previous efforts to save Eldarion’s life to have come


 to naught and Pingyang was eager to meet the Crown Prince her brother and father the Emperor


 Guan Qubing had been willing to sacrifice so much for and who they held in such high regard.


        Throughout their preparations, Elboron kept his distance and it was just as well, she was


 exhausted attending to too many details, even with Elerith’s help. Every night, she went to her


 tent, ate with Elerith and tried to follow the Daughters of Rohan and their receptions at the many


 courts their summons were received in by the Crown Prince and Princesses, and sometimes even


 the Royal Cadets. But most nights when she reached her tent she conferred with Elerith, the other


 princes and their returning post riders and she forced herself to eat before falling into an


 exhausted sleep. She had to keep her strength up for the battle waiting for them at the end of their


 long hard riding. On the nights she could not keep her eyes open, Elerith left with the palantír


 and Celendrian lay down to sleep, and sleeping, she dreamed. But now she dreamed of Rings.




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        In 1205 of the Second Age, a deceptively attractive being calling itself Annatar, Bringer


 of Gifts claiming to be a Maier servant of Aulë had gone to Lindon in the hopes of finding and


 stealing one of the legendary Ring of Power.


        Outside the Gates of East Mithlond he requested an audience with the High King Gil-


 galad, but he was refused an audience and entry to the kingdom.


        Círdan’s vision had been clouded around the stranger.


        “Maier essence was there,” he told Gil-galad. “But there was more.”


        “What more?” Gil-galad had asked.


        “I… do not know,” Círdan answered. “It was as if a shroud was laid upon my eyes.”


        That had been alarming, and more than enough for Gil-galad to deny the stranger entry.


        But in Edhilon things had gone differently. Annatar arrived with two High Elves he


 introduced as the Avari crafts-couple Malison and Peterman. He also gave Celebrimbor a


 monumental sledgehammer, “I am the Bringer of Gifts, Master-craftsman. This will provide


 great service in the fashioning of gems and magic rings.”


        “What did Gil-galad say when you made him this offer?” Celebrimbor asked, hefting the


 heavy weight of the massive hammer.

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         “A mighty King is Gil-galad, and wise in lore is Master Elrond, and yet they will not aid


 me in my labors,” Annatar said in a queerly archaic accent. “Can it be they do not desire to see


 other lands become as blissful as their own? But wherefore should Middle-earth remain for ever


 desolate and dark, whereas the Elves could make it as fair as Eressëa, nay even as Valinor?”


        “I do not know,” Celebrimbor answered. “I must speak with my Queen of this.”


        Galadriel immediately realized he was a servant of Morgoth just as Celebrimbor had. She


 assembled the Council of the Wise in an emergency session and demanded authorization to


 assassinate him, though he was a guest under their roof, a grievous thing in those days, and


 avoided at all costs. A great debate ensued.


        Celebrimbor was still smarting over her affair with Aldarion and the birth of their


 daughter Celebrían, who she’d brought back from Númenor. Celebrían wasn’t his or Celeborn’s,


 though Celeborn loved her and raised her as his own and few of any ever knew otherwise.


        But in the Council Celebrimbor opposed her, “I have sifted every iota of his fëa. He


 hangs upon a precipice, half given to darkness and half to light. He has had poor role models and


 gross injustices heaped unasked and uninvited on his head. It is true, he has made a few bad


 decisions. Some very bad. One or two very, very, very bad. But he can be saved. Did he not

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 absent himself from opposing the Valar in the War of Wrath and did they not spare him and


 request his return to Valinor?”


        “You are a fool, Celebrimbor,” Galadriel said scornfully. They had never heard her speak


 like this to anyone, much less her once beloved Master-craftsman. It was the end of much that


 had been beautiful between them, “He will betray you no matter what you do.”


        Gil-galad, Círdan and Elrond were still in Lindon and the Council was evenly split, half


 siding with Celebrimbor and half with Galadriel.


        It was left to Celeborn to decide, “The number in this council was not foresighted. It has


 failed its purpose, evenly divided. As your King, in recompense for the services you have done


 for Eregion, and indeed, for all Elvish Kingdoms and Elvish kind, if you take responsibility and


 hold yourself accountable for success or failure, as you have always done, I will gainsay


 Galadriel and allow you the opportunity to do what you do best, forge miracles – and craft


 redemption for this former servant of Melkor.”


        Galadriel was furious.


        The worst of it was, she was partly to blame. She had brought much of this on herself.


 Celeborn and borne much. An accounting was owed, and due him. It could not be avoided. But it

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 could not possibly have come in a worse way or time. Her daughter was now a ravishingly


 beautiful young woman and their most villainous Enemy was living in her own Kingdom.


        This, Galadriel realized belatedly, was how Ancalimë must have felt in Númenor when


 she arrived pregnant and gave birth to a half-Elvish heir to the Númenórean throne.


        Celebrimbor was delighted with Celeborn’s decision and he invited Annatar to his shop.


 In the center displayed in honor, the great sledgehammer had been set on an elevated and ornate


 anvil of gold. He had Annatar begin his apprenticeship with no less a luminary than Dagnall.


        “I believe you have great gifts,” Dagnall said handing him tools so small and fine they


 appeared no larger than pins. “It is my duty to help you share them with the world.”


        Celebrimbor showed Annatar Dagnall’s newest creation, golden runs on metal,


 “Gilthildin, writing in gold that can only be seen in the light of the sun.”


        “Interesting,” Annatar said staring overly engrossed at the lettering.


        “Listen to Dagnall’s lessons with a mind to for an invention of your own,” Celebrimbor


 told him. “Perhaps a new and unique form of writing in some other language.”


        When Celebrimbor returned to his palace, Galadriel was waiting for him.




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        “You are so much like the mortals you disparage,” she told him. “You juggle your


 understandable desire to hurt me as I hurt you, with the safety of our subjects and the Kingdom.”


        “Always the hypocrite,” Celebrimbor told her. “You couldn’t come and apologize for


 what you did to me and Celeborn, or simply talk about your concerns for our people, you had to


 conflate the two while accusing me of doing exactly what you’re doing.”


        He was right, which only made things worse, “However right your arguments, by


 dragging Celeborn into this you’ve made it clear your only real desire has been to hurt me. But I


 have ever been and shall ever be a Queen. I will not stay here and endanger my daughter,


 regardless of how safe you or Celeborn wish to believe we are.”


        “Ever a Queen, Galadriel?” Celebrimbor asked.


        “If this is some sort of threat,” she told him, “I advise against it. You poured your fëa into


 my Ring. Combined with my own, I am mightier than you. Think twice, Celebrimbor. Whatever


 threats you might have thought to make, my deeds will silence them.”


        “You say no threats and issue threats. Do whatever you will. I’ll meet your deeds with


 deeds,” he said departing. “Your behavior has not been worthy of a Queen!”




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        He was right and in that moment, she no longer wished to be a Queen. She also no longer


 wished to wear Elentári, a painful reminder of all they had shared in happier days, now lost. She


 returned to Lindon, passed her Ring to Celebrían, and though she would never reveal where it


 had gone, she secretly communicated to Celebrimbor she no longer wore or ruled the greatest


 Ring of Power he had ever forged.


        For 150 years Celebrimbor strove to rehabilitate Annatar. From the beginning, Malison


 and Peterman confided in him, saying they did not wholly trust Annatar and perhaps he should


 not either. He began to confide more and more in them as his estrangement with Galadriel grew


 and she and Celebrían lived exclusively in Lindon and Annúminas. But Annatar asked about


 Celebrían as much as he begged to be taught the secrets of forging magic Rings.


        Celebrimbor made sure Annatar understood Celebrían was forever beyond his reach in


 Lindon and he was not ready to make magic Rings. Apprenticeships among Elves lasted many


 lifetimes and Annatar had just begun. Over three centuries, he went from apprentice to


 apprentice and slowly learned the arts of the forges and jewel-smiths.


        Amidst these and many other distractions, in his private workshop Celebrimbor began


 forging the last of his Rings of Power, including his Masterpiece. They took him 150 years.

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        When they were done, he summoned from Annúminas the only person he cared about


 impressing. Galadriel met him in her old throne room.


        “I have created the Ring of Power to Rule all Rings of Power,” he boasted. “All that have


 ever been forged, or ever will be. Including Elentári, whom you discarded.”


        “How is that possible?” she asked.


        “I embedded most of my fëa in my Ring,” he answered feeling the enormity of what he


 had just done. “For the first time, finally, I have designed and created a Ring of Power for


 myself, the Master-ring of Middle-earth.”


        “Where is it?” she asked.


        “On my anvil, still hot from the forges, too hot to touch. But it is such a thing of beauty!”


 he told her. “So simple. Yet capable of the greatest complexity, and perhaps complexities not yet


 conceived. Once I master the Master-ring, my slightest whims will become instant realities.”


        “Have you lost your mind?”


        He stared at her confused, “What – are you asking?”


         “Say those words again,” she told him. “But listen to yourself saying them. The power of


 your Master-ring, the power to do anything, includes dominating the will of every living thing!

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 This is villainy. On an unprecedented scale. This is far more monstrous than anything Sauron or


 even Melkor ever dreamt. You have made yourself the greatest threat that has ever been.”


        “I’m not a threat to anyone!” he protested.


        “You aren’t?” she asked. “Infused with the Ainulindalë, your Master-ring can do


 anything. Not just for you, whom you doubtless trust although as this lunatic accomplishment


 has proven, you shouldn’t. Whoever wears your Master-ring will be able to do anything. Think of


 the wars fought over land or gold. Imagine the conflicts once news of your Master-ring is known.


 Our lands will devolve to chaos. The desire for your Ring will sunder parent and child, subject


 and King, craftsman and Master. No one who wore such a thing would sleep one hour safe in


 their own bed. Whoever murders you and steals your Ring, and everyone will try, but the most


 villainous who succeeds will be able to challenge Ilúvatar himself. I imagine that will go over


 well in Valinor. Farewell, Celebrimbor.” She turned to go.


        “No!” he shouted stopping her. “I don’t want to control anyone!”


        “Then you missed your mark,” she told him. “Who would be free of your control?”


        Thinking about it honestly for the first time, he could not answer.




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        “Your silence condemns you,” she said. “When you said your ‘slightest whim’ would


 become reality, did you not realize I would suddenly find myself in love with you, and you


 alone? Is this why you have been creating all these Rings?”


        “That’s not true!” he cried. “I accepted when we first began that Celeborn would ever be


 your husband, and you his Queen.”


        “Then what is this?” From behind her throne she produced a small but exquisitely crafted


 mithril coat, “You had Dagnall make this for an Elvish child-prince. Why?”


        He stared as if he had never designed or watch the forging of its mithril links, shocked at


 his own audacity, revealed to himself as if done by someone else.


        “You forged your Master-ring and envisioned our baby which you imagined I would be


 happy to bear you, like the one I bore Aldarion,” she said. “Gathering this much mithril could not


 escape the attention of the Queen of Eregion, even in absentia. Only you, who stands at the


 crossroads of the mithril trade in the heart of the exchange could afford this, and I suspect only


 because Durin discounted the ore.”


        He could only hang his head in silence.




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        “You disgust me Celebrimbor,” she said. “You are not the Elven Lord I remember. You


 thought you were immune from Sauron’s wiles but here you are, corrupted in the most subtle and


 insidious ways. I scoffed when he appeared, his ‘masterful’ charade transparently obvious. But I


 will scoff no more. While Celeborn gave you the opportunity to reform him but he was engaged


 in a masterful act. He appeared pathetically incompetent on purpose to lull you into complacency


 and overconfidence.”


        “How does this benefit him?” he asked.


        “I do not believe it has,” she answered. “But his flattery distorted your reality and


 destroyed your relationships. Narvi and Dagnall rarely leave Khazad-dûm, Celebrían and I live


 in Lindon, and you are a shadow of your former self. But the worst part is he has done this


 reflexively, in never ending mindless plotting, casting schemes this way and that hoping for any


 gain, regardless of how little or ephemeral, or what it might cost. Nothing personal. He has not


 done these things out of any great antipathy for you, specifically. The irony is you are correct; he


 won’t achieve any use from you. He will simply cast you aside as the inconsequential play thing


 you have been. You have been used by the one you swore would never have any power over you


 and he has prevailed where it matters most: he has corrupted what remained of your heart.”

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         Hearing her say it, he burned with more hatred than he had ever thought existed much


 less imagined feeling and he realized she was right. He drew his sword, “I will kill him!”


         “You can’t,” she said. “He is Maier. You can destroy his body of fair flesh, but his spirit


 will live on, creating another fair body with which to deceive whoever next crosses his path, or


 whomever strikes his fancy and he seeks out, as he sought out you.”


         “There must be something we can do,” he said, his thoughts spinning.


         “Share everything you’ve done with Sauron,” she advised. “Just as he schemes. Let ‘slip’


 all your secrets.”


         “Why should I do that?” he asked.


         “Sauron has debased your love with lust which cannot be foresworn,” she answered. “If


 you do not share your secrets he will continue to torment the world, endlessly making and


 unmaking himself and laying waste to kingdoms. But if he continues to copy you, he will make


 the same mistakes. When he forges his own Master-ring and transfers his power into it, one of us


 will be able to destroy him, and he will forever lose his fair form… or maybe… he will make


 such a poor imitation, we will be able to unmake it and destroy him along with it.”


         “You may be right,” he said, considering her proposal.

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        But she laughed, “No, that was foolish. You’ve perfected the template and written out


 step-by-step instructions. Not even Sauron could be that stupid.”


        “Or,” Celebrimbor said, “when the Master-ring cools, I will put it on and destroy him!”


        “That’s what he wants you to do, what he would do in your place,” she told him. “The


 corruption of your spirit would be complete. A Dark Lord would rule Middle-earth and through


 Sauron, Morgoth and Ulbandi will have succeeded. Power corrupts and absolute power corrupts


 absolutely. Your only hope is to never touch your Ring. Or you will find yourself sharing a cell


 with the headless and legless screaming pieces of Melkor, similarly dismembered.”


        “But the Master-ring cannot be unmade,” he said.


        “Then it must be sent away,” she told him. “Outside of your own self-knowledge, you


 have always been brilliant. You will find the perfect place. Task someone who does not know


 what it is and have them carry it far from here. But do not record with whom or where.”


        Confronted with a problem, Celebrimbor’s mind engaged and he already had the


 glimmering of an idea he thought might work, “Where will I find you?”


        “Celeborn has been very patient, encouraging my mad infatuations with the sea in


 Harlindon, East Mithlond, and of course my stay in Númenor, which none of you have ever

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 seen,” she laughed again, once more the mistress of her own destiny. “But I’ve grown weary of


 gulls. We’re going to Lórinand. Celebrían, Amroth, Celeborn and I really need to spend more


 time as a family.” She turned to go, but stopped, “Oh, and Celebrimbor? Don’t acquiesce to


 Annatar’s request to begin learning how to make Rings of Power too quickly after we’ve gone. If


 he suspects a connection, he’ll distrust anything he learns. You must wait.”


        “Wait?” he asked, having lingered at the table. “How long do you expect me to wait?”


        “Oh,” she mused, “I believe another 150 years would be perfect.”


        “I cannot wait 150 years!” he cried.


        “You have spent as much time in the past forging a single Ring. If you cannot, then you


 are truly less than a shadow of your former self,” she told him. “Grossly stretched at dawn or


 dusk, or compressed at noon, even a shadow displays a semblance of its original shape. The


 former creator of miracles who stands before me does not. What is your name?”


        Ashamed, he turned and left.


        She was ashamed of what she had felt compelled to do to her former lover. She turned to


 go but something glinted on the table where Celebrimbor had been standing.




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        It was there she saw the semblance of the shape of the proud and brilliant Elven King and


 Master-craftsman she had known and loved. In an open gift box glittered Vilya, the mithril Ring


 of Air and Adamant, corrupted by a brilliant white diamond selected and ensorcelled by Sauron.


        She laughed. Celebrimbor had anticipated her response and prepared his own revenge,


 and exceeded her secret hopes that Sauron had been less effective than her fears had warned. His


 final gift was a vindication and absolution for them both. If she wore Vilya, she would admit to


 herself and him that for all her boasting, she too was weak. Because she knew if Sauron’s


 greatest snare, the trap of his Ruling Ring they had now set him on the path to creating ever came


 before her, Vilya the Ring of Adamant would be her shield against her own dark desires to


 become a fearsome and even more powerful Dark Elvish Queen, nothing more than a lesser


 Morgoth. No, less than even that. If she put on the Ruling Ring or sought out and somehow


 found the Master-ring, she would never again cast the shape of her own shadow, becoming less


 than a shadow of her own former glorious self, transformed into a shadow of someone else.


        She would never admit to him, but this gambit of Celebrimbor’s was brilliant. Not water,


 like Nenya, nor fire, like Narya, but Vilya, Adamant.




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        Only they would ever know how pointed, how driven by the youthful love they had


 shared in the Spring of Lindon were the attributes of this Ring. Not even Celeborn, Elrond or


 Círdan (well, maybe Círdan, but maybe not) would ever understand what had passed between


 Galadriel and Celebrimbor: the truth of the Three Ring for the Elven Kings was they were


 shields, weapons forged to remind their Ringbearers that weapons should never be used.


        The Elves of Valinor lived in Middle-earth where they could die in the hopes a day would


 come many tens and hundreds of centuries from now when they conquered their inner demons


 and personal enemies, whatever drove them to stay and live in these accursed lands full of actual


 demons, exorcising the phantoms in their minds, their longing for control, passion, revenge,


 power; and purified, return to Valinor where there was no need for weapons of war.


        In the meantime, the last Gift of Celebrimbor would keep the dark corruptions of Ulbandi


 and Melkor, channeled through their servant Sauron and uncountable lesser evils, at bay.


        She was more than happy to wear Vilya, it reminded her of the vengeance she would one


 day exact from the flesh of Sauron. She put Vilya on the middle finger of her right hand.


        Sauron and his minions ever lusted for Celebrían, but for two Ages she stayed two steps


 ahead of him and all his plotting and subterfuges.

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        As Galadriel had advised, Celebrimbor sent the Master-ring away. But the secret of with


 whom and to where he would not share, not even with Galadriel.




                   *              *              *              *              *




        Galadriel and Celebrían reached the open Doors of Durin at the West Entrance to


 Khazad-dûm to once again travel through the magnificent halls, as they had done many times as


 the Queen and Princess of Eregion, but never with a large contingent of armed Elven warriors,


 which was not allowed.


        They were met by King Durin, who graciously admitted them and gave them a personal


 tour of many secret mansions and treasuries he was certain they had not seen. At the end, he held


 one of the largest feasts the Dwarves had ever thrown, in honor of the Queen, King, and Crown


 Princess of Harlindon, East Mithlond, Eriador, Eregion, and probably one day, Lórinand.


        When they reached Dimrill Dale at the end of their grand Progress, Galadriel asked how


 she could repay him for such kindness allowing them to pass through his halls and escape Sauron


 despite so many of his own people opposing so great an armed host of Elves in their lands.

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        Despite knowing the Dwarf Fathers opposing him would create many problems for him


 when the Elves were gone, Durin knew she had troubles enough of her own, “If by chance in


 some future time you come across a band of Dwarves fleeing enemies, whether Men, other


 Dwarves or even Elves, remember the kindness and generosity of Durin the Deathless, and repay


 this kindness I give you now with no thought of recompense, with equal kindness then, equally


 with no thought of recompense.”


        “This is a great day,” Galadriel said curtsying low. “Greater than the any my foresight


 foretold. I never saw or would have believed a Queen of the Ñoldor would be humbled and


 undone, utterly defeated, not by captains of war, but by the kindness and unflinching generosity


 of the Dwarves, which I deem is the true source of your wealth. Henceforth, I am a Queen no


 longer. I am now and forever a vassal servant of King Durin the Deathless, the once and future


 King of the Dwarves. Now and forevermore, I am nothing more or less than what I should have


 been had I not been so blind to my own arrogance. I am simply Galadriel.”


        “Since Galadriel you are, do not esteem yourself lower than the King of Dwarves esteems


 you,” Durin said. “You are a pearl beyond price. It would go well for our enemies if we did not


 value ourselves and our allies. In the purity of your humility, you have humbled a King.”

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        “Thank you,” she said simply, yet deeply moved.


        “Regardless of lands, position or place of birth, by your grace alone you are now and will


 forever be a Lady,” he told her holding out his hand. “A Lady by Grace, the Lady Galadriel.”


        “Galadriel still possesses a glimmer of pride and a sliver of her former wisdom,” she said


 smiling. “And recognizes the wisdom of the High King Durin. She will not refuse his pardon and


 the title.” She took his hand and rose. “Thank you my King, the Lady Galadriel accepts.”


        The Lady Galadriel and the Princess Celebrían passed the Dimrill Dale and went to live


 in Lórinand where Celeborn and Amroth were waiting and for many years they lived as a happy


 family. Quiet events, though happiest, are the fewest recorded by scribes, so common they deem


 them, when in truth they are the rarest and most precious.


        Galadriel was never again tempted by the sea or other men until she left Middle-earth


 forever. Celeborn, for his own reasons stayed behind. Just as he had never questioned her,


 wisely, she did not question him. In between these events so much time passed unrecorded, many


 historical records omitted Galadriel and her kin entirely. Others sometimes remembered one, or


 the other, but seldom the two together. Many gave entirely separate and often contradictory




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 accounts of their histories, rules, and wanderings. This was perfectly acceptable to Galadriel. She


 preferred it. She enjoyed maintaining an air of mystery.


        The mallorn seeds she had brought back from Númenor thrived in Lórinand. Aldarion


 had wanted her to use them to make her and Celebrían’s home as fair as Númenor with seeds of


 other plants besides, including the fair elanor, niphredil, and lissuin flowers.


        Conscious of Sauron’s power and wishing to thwart it, she did not use her Ring so long as


 the One was on his hand. During the Third Age when the One Ring was lost, she put Vilya to


 good use transforming Lórinand with whole forests of mallorns and it became Lothlórien, Land


 of Dreams, a dream-like refuge for the Nandor and any other Elves wishing to escape the threat


 of Sauron. In the years after the departure and loss of Amroth and Nimrodel, Galadriel and


 Celeborn became the rulers and maintained their constant vigilance against Mordor.


        Celebrimbor hid his virulent hatred for Annatar far more effectively than Annatar had


 ever masked anything, including his identity as Sauron. Celebrimbor waited the longest 150


 years he had ever known. By then Annatar, had all but forgotten Galadriel and Celeborn. But he


 ever asked for the doings and whereabouts of Celebrían.




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        Celebrimbor allowed Annatar to ‘teach’ him how to fashion new gems and Rings of


 Power, and Annatar thought it quite a victory of deceit when he stole a few of Celebrimbor’s


 most closely guarded secrets.


        But one of the Mirdainions let slip a secret they did not want Annatar to learn: 500 years


 before, Rings of Power had been given to the Númenórean King Tar-Aldarion, and taken to


 Númenor. Sauron imagined this was the perfect place for Celebrimbor to hide the Master-ring.


        Sauron returned to Mordor and there, at the Crossroads of the Worlds, tapping the power


 of the Nexus of All Realities and infusing the Ruling Ring with most of his fëa just as


 Celebrimbor had done with his Master-ring, Sauron forged the Ruling Ring of Middle-earth.


        After it had cooled enough to put on, yet still so hot it would have incinerated the hands


 of Dwarves, Elves or Men, Sauron wore his Ruling Ring and exulted in its power.


        But he could not escape the slowly dawning fear he had fought long and hard to deny: the


 One, his Ruling Ring was in truth, a pale and corrupted imitation of the Master-ring. It was the


 best he was capable of, which wasn’t much. Though he could subjugate hosts of mortals, the


 Power to enslave the immortal Valar and Ilúvatar himself forever lay beyond his abilities. It was


 only then he realized Celebrimbor had only shared the most superficial aspects of creating Rings

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 of Power. Sauron the Deceiver had been deceived. His fury, his hatred, knew no bounds and he


 prepared the greatest army he had ever raised to exact his revenge.




                   *              *              *              *              *




        When Annatar left Edhilon, Celebrimbor abandoned gems, jewelry, and the pursuit of


 ephemeral beauty. He rededicated himself to making useful things. Narvi, Dagnall, Gimli, Killi,


 and Brownie returned from Khazad-dûm and renewed their fruitful partnership creating modern


 miracles. In this as in everything else, Celebrimbor transcended people’s expectations.


        After learning whole new fields of knowledge, he made every mistake a novice could


 make and many more most people would have thought impossible to make. Few have


 acknowledged and fewer accepted this as part of the burden of achieving great accomplishments.


        Celebrimbor’s native talents, the wisdom and experience of his prodigious and uncounted


 failures drove him to create his few and much celebrated successes. As centuries passed, his


 stubborn refusal to quite bore fruit. He proudly showed Narvi and Dagnall his newest creations.




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        A large mechanical device of uncounted gears and levers held imbedded within the


 intricacies of its innumerable pieces.


        “Thousands of years of records on the passing of the planets overhead, the seasons,


 sunshine and rainfall, eclipses, frosts, droughts, floods, and much more are embedded within this


 device,” he told them. “Based on all that has gone before, this device can predict the future.”


        “What have you seen of the future?” Dagnall asked.


        “I haven’t!” Celebrimbor laughed. “So highly do I esteem your contributions, I have


 waited for today to unveil our creations and behold together what tomorrow will bring.”


        He took them to another corner of his workshop where he had removed the bottoms and


 welded two tea pots with their spouts in opposite directions mounted on a wagon axle suspended


 over a fire pit. The water inside boiled, whistling steam spun it around with blinding speed like a


 wheel on the swiftest charging chariot.


        “What is it for?” Narvi asked.


        “I am not certain,” Celebrimbor laughed. “But I am sure I will find an application. I have


 this feeling this invention will revolutionize… everything.”




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        “I know!” Dagnall cried. “We can add more spouts of different sizes for different tones


 and create a steam powered music machine!”


        “My friend,” Narvi laughed. “I believe this is one of our necessary failures that may lay


 the groundwork for some future accomplishment.”


        “I like it,” Dagnall insisted. “If nothing else, you have made an amusing toy.”


        “You may right,” Celebrimbor laughed staring at the spinning pots. “Wait… look at how


 the axle spins, I’ve just had the inspiration for the greatest practical application!”


        The wall shattered, a great onager stone crushed the prototype steam engine and the


 booming force of the collision threw the three of them to the ground.


        They picked each other up and ran to the tower at the top of the Guildhouse. In the


 countryside of Eregion far beyond the walls of Edhilon coming from the east at the head of


 Legions of marauding Orcs rode Annatar wielding a Great Sword and wearing his Ruling Ring.


 He discarded his fair form and he stood hideously revealed as the monstrously evil Sauron.


        His armies were destroying the aqueducts from the Gate Stream, polluting, burning and


 razing the fertile fields and Holly trees across the entire countryside.




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        Celebrimbor and Narvi knew the city would fall. That was not the point. They had to save


 as many lives as they could. They sent as much of the population as quickly as possible down the


 west and northward aqueducts. Narvi and Dagnall ran home to retrieve their children and meet


 him at his personal palace. This was exactly the type of assault the Doors of Khazad-dûm and the


 Armory of Celebrimbor’s Library and Archives had been designed to withstand and repel.


        Sauron’s forces reached the fortress walls of Edhilon and after repeated attempts, their


 relentless assaults and massive battering rams broke through. Entering the city, they ruthlessly


 slaughtered the Elves and Dwarves just as they had ruthlessly slaughtered their animal servants


 in the fields beyond the city.


        Celebrimbor waited in a panic outside his palace. As soon as his friends arrived, he


 would seal them all in and they would drop down into the earth to become a well provisioned


 and unassailable fortress. They, all their records and inventions would be safe from Sauron.


        Celebrimbor saw Narvi, Dagnall and their family running towards him down the street,


 less than a block away. But Sauron and his balrogs stormed through a side street, caught Narvi,


 Dagnall and slaughtered them, their three sons and only daughter.




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        “What need do I have of Rings?” Sauron laughed at Celebrimbor tearing out their entrails


 and beheading Narvi and Dagnall’s screaming bodies and their children before his horrified eyes.


        Celebrimbor slammed shut the doors of his palace and dropped his private library,


 archives and armory into the earth and they were lost to history. He ran down the street and


 reentered the Guildhouse of the Mirdainions.


        When Sauron reached the Guildhouse wearing his Ruling Ring and brandishing his Great


 Sword, before the doors stood Celebrimbor in dazzlingly bright enchanted mithril armor flanked


 by Malison and Peterman. In his hands he held no sword or spear, but rather the great


 Sledgehammer ‘Annatar’ had given him over 350 years before.


        “Come Annatar!” Celebrimbor cried. “Come ‘Lord of Gifts.’ You have come for Rings


 of Power! Your objectives await you behind this door. But for every Gift, there is a price. Some


 believe the greater the price, the greater the treasure. Come Annatar! Come see how costly the


 price of these treasures and how well Lord Celebrimbor has learned your lessons!”


        Balrogs, Giants, Trolls and innumerable Orcs surged towards Celebrimbor but he crushed


 them beneath the monstrous weight of his enchanted Sledgehammer. He wielded it as lightly as a




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 stick but struck with the force of a falling mountain. Every impact rocked Eregion and what little


 remained of the walls of the few standing but broken buildings crumbled to the ground.


        One blow from the enchanted hammer crushed anyone or anything flat; everyone who


 came anywhere near the Elvish Master-craftsman Lord Celebrimbor and the Guildhouse of the


 Mirdainions stood inviolate.


        Sauron and his armies shot burning arrows, spears, onager stones and Sauron himself


 slung fires and flames, great heat and burning acids, and fueled by the power of his Ruling Ring,


 the deadliest necrotic enchantments: they deflected harmlessly off Celebrimbor’s gleaming


 enchanted mithril armor.


        Celebrimbor leaped off the steps followed by Malison and Peterman. He raised his


 magical weapon to destroy Sauron. So great were the enchantments he had woven into this


 hammer in anticipation of the day he might have to use it on the Necromancer, perhaps in its


 own way the Sledgehammer of Celebrimbor was as great as his Master-ring: anyone or anything


 crushed beneath its weight stayed crushed and not even Sauron would ever rise again.


        Behind him, the skin of Peterman and Malison shimmered, flowed, and revealed them as


 Changelings, the children of Sauron and Thüringel before he murdered and resurrected her.

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        They kept their own faces but could transform their bodies into whatever race they


 wished and now they chose great winged Balrog Lords. Surprising Celebrimbor from behind at


 the peak of his deadly swing, they wrenched the enchanted Sledgehammer from his hands and


 wrestled him to the ground pinning him beneath the weight of the giant bodies though they could


 not hurt him encased within his armor.


        With Celebrimbor subdued, Sauron and his armies slaughtered everyone left alive in


 Edhilon and across the whole of Eregion, uprooting gardens, leveling the palaces, shattering the


 last aqueducts, and burning and polluted the fertile fields across the whole of the countryside.


        So great was the slaughter, blood ran down the Guildhouse steps as if it sprang from one


 of the crushed and ruined fountains, and the sparkling blue waters of the Sirannon ran red with


 the blood of animals, Elves and Dwarves. In the Nin-in-Eilph, the dismembered and slaughtered


 fleets of once white swans turned the lakes into red cauldrons of rotting body parts.


        It took all the force of their great battering rams, but they broke the doors of the


 Guildhouse of the Mirdainions and Sauron found the Nine along with notes that revealed the


 locations of the corrupted Seven. But he never found the real records of any of Celebrimbor’s


 own Rings of Power and he never knew how to make a true copy of the Master-ring.

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        Celebrimbor’s Rings of Power and all his records were lost. They passed from history


 with the deaths of the few who had fled down the aqueducts and held in their memories the


 recollections they had ever existed. It was one of them, some nameless and forgotten balladeer


 who wrote the breathtakingly beautiful Lays of Eregion. But those too were lost with the passing


 of many Ages. Only one or two forgotten verses of ancient Lore were preserved, passed down to


 future generations and remembered by very few.


        Ever after, Sauron said he took Celebrimbor back to Mordor and wracked, tormented and


 tortured him long and painfully to eventually, after many years of hopeless agony, extract the


 whereabouts of the hidden Nine and Seven.


        Those were lies.


        Peterman and Malison lifted Celebrimbor off the bloody steps, tore off his mithril helm


 with tools from his own plundered workshop, the only things that could have affected his


 enchanted armor and revealed Sauron was too late: Celebrimbor had released his fëa to the


 mercies of Eru, for good or ill. They had conquered the empty shell of the body left behind.




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        In his fury at Celebrimbor’s escape, Sauron leveled the Kingdom, torturing and


 murdering the last of the Mirdainions, who told him nothing. There was nothing they knew


 Sauron did not already know. But he’d enjoyed the sport.


        No tale records how many died, for none survived to tell the tale. His armies killed


 everyone except the exquisitely beautiful wives and daughters of the Dwarves and he turned his


 attentions to Khazad-dûm and the Rings he knew they had, both his own corrupted Seven and six


 of Celebrimbor’s Eleven.


        But Durin had already slammed shut the Doors. Sauron and his Balrog Lords and their


 great armies and monstrous battering rams hammered at the Doors of Durin for many months


 and all the wondrous palaces, gardens, fountains and courtyards outside the West Gates of


 Khazad-dûm were destroyed. No tales records their once great beauty.


        But no force, no Dark Enchantments, not even Sauron’s Ruling Ring could destroy or


 even mar the Doors of Durin, forged in friendship by Narvi, Dagnall and Celebrimbor.


        After many more months of trying and fruitless efforts after smashing to pieces every one


 of his battering rams, the Necromancer realized it was useless. He and his forces departed


 Eregion forever leaving behind a smoking and polluted wasteland.

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        Eight and a half months later, the first of the surviving female dwarven prisoners


 appeared outside Khazad-dûm before the Doors of Durin. Every one of them was pregnant.


        They were taken in, but it was never learned what became of them or their babies. Few if


 any ever again saw the beautiful women of Durin’s line, and they forgot how truly beautiful the


 maids, Ladies and Queens of the Dwarves had been. Some misremembered derisively and said


 they had looked exactly like their men. Others began to wonder, and told tales of Dwarves


 springing to life already full grown from the living stone.


        Sauron searched far and wide but could not find Celebrimbor’s Master-ring anywhere he


 looked. There were many places and much territory to search. After centuries in desperation, he


 concluded the only place it could have gone was Númenor. Sauron’s most powerful spells and


 enchantments had revealed (he thought) it was nowhere to be found in Middle-earth.


        It had to be in Númenor. There was nowhere else it could be.


        When the Númenórean King Ar-Pharazôn sailed to Belfalas, he brought the largest army


 the world had ever seen. Gil-galad, Círdan, Elrond, Glorfindel, Gildor and Galdor lay to the


 north. The Kingdoms of Men in the many leagues between fled from their fields and homes and




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 hid themselves in the deep forests and hills. Ar-Pharazôn and the great and deadly Númenórean


 army passed unopposed through rich lands, which appeared empty and desolate.


        They marched unchallenged through the open and deserted great and terrible gates of


 Mordor across the empty plains of Gorgoroth to the silent walls of Barad-dûr without so much as


 a single sword drawn or an arrow shot from a bow.


        Sauron surrendered to Ar-Pharazôn and his first deception was by far his best: he said he


 was overcome by his own personal dread of the mortal Ar-Pharazôn and the sheer majesty of the


 Númenórean army of mortal warriors. Ar-Pharazôn swallowed the lie hook, line and sinker.


        Who could resist? It made no difference, Ar-Pharazôn’s heart was already as corrupted as


 any Sauron had ever known. He was not the rightful King but a usurper. He had forced the


 daughter of his brother, Tar Míriel, the rightful Heir known as the Númenórean Queen Ar-


 Zimraphel to marry him against her will. He took her unwilling on their wedding night, locked


 her up and ruled alone. Though he impregnated her repeatedly, she never bore him a living child.


        In Barad-dûr, Ar-Pharazôn demanded Sauron surrender and return with him to Númenor,


 and Sauron went, apparently unwilling, a captive in chains. It was a great victory for Ar-


 Pharazôn (he thought) achieved without the loss of a single life on either side.

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        On Ar-Pharazôn’s ship, secretly as eager as child approaching presents on his birthday,


 Sauron sailed to Númenor, giddy with delight, confident he would find the Master-ring of


 Middle-earth there, and add its incalculable power to the corrupted lesser copy he’d left behind


 secure in his own hidden armory and treasury in Barad-dûr.


        He spent the entire journey dreaming, hoping, planning everything he would do and


 create, once he truly could create, after finding, claiming and mastering the Ainulindalë: Middle-


 earth, Valinor, he would even Master the great Eru Ilúvatar.


        While Sauron dreamed, idly he tried to seduced the hearts and minds of these evil


 Númenóreans. But despite his best, most flattering, ruthless, villainous and devious efforts, he


 couldn’t corrupt them. Ar-Pharazôn and his people were corruption incarnate. He ruled a


 ruinously divided and bitter kingdom through fear and violence.


        At last upon the shores of Númenor, Sauron searched the Kingdom high and low, from


 the Library and Archives of the Guildhouse of the Venturers in Rómenna; through the tombs of


 Kings and Queens in the valley of Noirinan, where he especially sought out and desecrated the


 tombs of Tar-Aldarion and Queen Erendis; to the top of their most sacred mountain Meneltarma,


 whose flat summit was wide enough to hold great hosts, the Pillar of the Heavens.

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        Sauron himself tried to approach the top where no one but the rightful King or Queen had


 ever spoke with the Valar but great Eagles, much larger than any he had ever seen, screeched and


 cawed and drove their talons down at him, and despite his own prodigious power he had no


 choice but to flee in mortal terror, swearing unholy vengeance and eternal enmity against the


 Eagles, as if that hadn’t already and always been sworn foes.


        Sauron had others desecrate the mountaintop. They searched it top to bottom, striking the


 surface and pockmarking the hallowed ground with holes, looking for hidden compartments,


 secret doors or rooms but nothing was ever found. He had a statue of himself placed in the center


 of indestructible black Númenórean stone, holding the enchanted Sledgehammer of Celebrimbor


 that none could wield and only mechanical cranes could lift.


        The men who set the statue there died shortly after from a mysterious illness and the


 fearsome black statue, though it could not be damaged or unmade, was buried under mounds of


 guano left by hordes of Eagles who came from far and wide especially for this purpose.


        No one ever again set foot on the flat summit of Meneltarma, and none of the first few


 who were foolish enough to try survived the rending claws and beaks of the deadly Eagles.




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        Convinced Celebrimbor’s Ruling Ring was not in Númenor, Sauron persuaded Ar-


 Pharazôn to challenge the Valar and set foot uninvited in Valinor. Ilúvatar responded as Sauron


 knew he would: Númenor sank below the waves in a terrible catastrophe and was utterly


 destroyed. Just like they did after the War of the Lamps and the War of Wrath. If anything,


 Ilúvatar and the Valar were predictable. This was how Sauron had evaded them time after time.


        To this day, there are many who believe the peak of Meneltarma rose again from the


 bottom of the sea and formed a small island.


        Galadriel and Celebrimbor’s plan succeeded: Sauron’s fair form was unmade in the


 destruction and Fall of Númenor. Though he was again able to take shape and create a terrible


 visage, he was never able to craft another pleasingly deceptive and beautiful form.


        From this time forward and forevermore, if anyone ever found the Master-ring of Middle-


 earth, not only would Sauron be unable to wield it, its bright beauty and perfect harmony would


 utterly destroy him. Celebrimbor’s only clue to where he’d sent the Master-ring was a riddle,


 “The shortest distance between any two points is where you may one day discover my Ring.”


        In the ages that followed, the wisest of the Wise exhausted themselves trying to reason,


 deduce, calculate likely starting and end points, everywhere the aqueducts had gone, or where

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 Celebrimbor’s Archive, Library and Archive might have stood, trying to determine where he


 could have started from when he began his journey with his Ring, where he might have been


 when he finished, and what could possibly be the shortest distance between any of these or any


 of the other myriad starting and ending point possibilities.


        But one and all, the Wisest of the Wise have failed.




                   *               *              *             *              *




        Celendrian woke late, much later than she usually did. Her mind was awash in her


 memories of the destruction of Eregion and Númenor, which she now remembered from the


 memories absorbed from a dwarven Ringbearer who had fled invisible down the aqueducts.


        After a day’s travel, at night Celendrian and Elerith searched the lands with the Orthanc-


 stone working together, unlike their mother. Together they found Arwen and her knights riding


 on the East Road towards Bree where a legion of Easterlings attacked them. Through the


 Orthanc-stone they watched helpless as Arwen’s Knights and Handmaidens were murdered.




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        Everyone was killed except Arwen herself. The only reason she had survived was the


 Easterlings had been ordered to take her alive. In chains, Arwen stood before the vicious and


 deadly Queen of Mordor Thüringel, bound and helpless but not humbled. She scorned Thüringel


 contemptuously as her daughter’s knew only Arwen could.


        “You dare assault the Royal House of Telcontar,” Arwen scoffed. “We thought you knew


 how many of the Great Rings of Power are in service to our House. Any injury received by me or


 any member of my household shall by paid for by you and yours a thousand fold. Count those of


 my staff you have slain. Since you have employed trolls and orcs not renowned for their ability


 to count, I will tell you the number is twenty-four. Pray you have twenty-four-thousand troops


 ready to die. Or you and your rotting undead flesh will suffer the agonies of twenty-four-


 thousand rending deaths. We will see how much disfigurement and pain you can endure having


 your face ripped off, your eyes gouged out, your ears punctured by red hot tongs, and your body


 dismembered and yet still to boast and continue to believe we believe you call it pleasure.”


        Enraged hearing threats from her prisoner and in true fear at Arwen’s fearless and


 vengeful anger, Thüringel ordered Arwen bound like a common prisoner, put in an iron cage and


 set atop an open cart. Watching through the Palantír, Celendrian was furious.

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        “Wait,” Elerith told her, “Paraded atop a cart in an iron cage, Mother goaded Thüringel


 into doing the only thing that could prevent her from being tormented as Celebrían was.”


        Thüringel and her party transporting Arwen atop her cart in her iron cage rode north


 towards Glorfindell, the capital of Gondolin. They followed Thüringel and Arwen’s progress in


 the palantír and saw them pass Weathertop. Atop the butte, Elladan hung shackled to a broken


 section of wall four feet off the ground. But following Elladan’s pointed gaze, as if he laid out


 before their eyes a trail to be followed, through the Palantír of Orthanc they gazed into the


 Palantír of Osgiliath and at long last discovered Elrohir riding northwest around the edges of the


 Midgewater Marshes, the long way around to Bree. Elerith girded herself and did what she had


 never heard anyone do before, pushing one Eye of a palantír through the Eye of Another. The


 Eye flew over the Midgewater Marshes, discovered the mysterious path of vegetation being


 crushed flat by invisible forces, and in the distance, blue and silver robed Istari riding a Mearas


 towards the invisible marauding thing(s) on track for Weathertop.


        “There are an infinite number of possibilities to explain these mysteries,” Celendrian told


 Elerith and the princes of her party. “But there are very limited number of probabilities: Eldarion




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 is heading for the same trap that has ensnared Elladan.” She commanded the Stone to again


 display again these events to her assemblage.


        “This is grievous,” Elboron said. “But our duty is clear. They are the orders of the Queen


 herself. To split our forces is to accept defeat. We must ride as one to rescue Eldarion.”


        “I don’t like it,” Celendrian said. “But I agree.”


        “We shouldn’t worry too much about mother,” Elerith told them. “If she maintains even a


 fraction of her normal intimidation, her captors will be too frightened to harm her.”


        “You don’t honestly believe that,” Celendrian said.


        “I don’t,” Elerith responded. “But I wish I did.”


        They traveled before Sun up the next day and well after sunset. As the princes sat


 exhausted from their long hard ride around their fire as they usually did, Elboron tried to lift their


 spirits by insisting everybody play his favorite game, ‘Ribbles’ a modern and irreverent (some


 said scandalous) take on the ancient and respected game (some said boring) of Riddles.


        “What would you get if I picked up the Princess Elerith and tossed her into a random


 chair?” Elboron looked around the fire expectantly. No one hazarded a guess.


        “A Royal Thrown!”

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        ‘Ugh,’ Celendrian told herself, ‘At least he’s pretty.’ But she was trying to fool herself


 into believing she hadn’t missed him. She did. Terribly.


        When Elboron left the fire and entered his tent, she was inside waiting for him.


        “My Lord,” she said, curtsying formally.


        He sealed his tent flaps and whispered, “Cel.”


        But as he had never done before, he kept his distance. They stood and watched each other


 silently without moving, two studies of powerful forces in opposition, pushing and pulling their


 bodies, their reasoning, and their wildly fluctuation emotions on what they knew was their final


 night before a terrible battle in which many people they had known their entire lives would die.


        They stared at each other wondering what, if anything, they could say to each other to


 repair the breach. They had gone too far to go back. He struggled for something to say that


 would allow them to move forward.


        She crossed his tent and gently set her finger on his lips, “No. No words. Please. They’ll


 only get in the way. Just us. Just you and me. Not what duty demands and what happened before,


 and not what we face tomorrow. Just this. Just our simple touch. Just our feelings. Just here, right


 now. Let’s make it ours. Just for us.”

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        He held stock still and stared at her, then ever so gently, he kissed her finger. She lifted


 her finger away and put her lips on his. His arms went around her back, tentatively at first, but


 when he touched her, his emotions rose in response to hers, desire igniting desire, and the love


 they were still too frightened and uncertain to name welled up meeting everywhere skin touched


 skin. He groaned, overwhelmed by these too new and powerful feelings and they were swept up


 in something that transcended reason, danger, fear, position, power or uncertainty, certain


 whatever they faced and whatever happened, sharing this made everything worth it. Rather than


 be dismayed, they welcomed the moment leaping headlong into it, devouring each other’s skin,


 their mouths, engulfed in passions they knew were more momentous than anything they had


 experienced in the past or would do in the future.




                   *               *              *               *               *




        Celendrian had left her golden Ring of Power behind, hidden in her tent. She had wanted


 this reunion to be pure and clean. Her own individual unblemished youthful passion meeting his.


 And that’s exactly what it was. Their oh so very new loves meeting and growing together. Their

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 bodies joined as one, their emotions sang, and her thoughts were untroubled by any worries on


 whether or not to use Anqaúrë. She was engulfed in the totality of their sharing, this mad


 reckless, beautiful transcendent passion neither of them would dare deny, if even they could.


        As they made love and their hands locked together, fingers entwined in the unconscious


 desire to touch each other’s skin everywhere they could, their bodies as interlocked as their


 feelings; as interlocked as they felt their souls interlock, wiggling every one of her fingers and


 pressing the webs of their skin together as they’d done before, she touched the osmium metal


 band she could not see on the first finger of his right hand, her awareness focused on what she


 did and what was there and for one distracted moment Elboron who wore Oromë the Hunter’s


 Ring was aware he had been hunted and she’d found his Ring.




                   *               *               *              *               *




        Afterwards, they lay together on his cot spooning, her back against his chest, their arms


 and legs wrapped up in each other. Their heartbeats slowing and their ragged breathing evened




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 out and became soft and gentle, their grip on each other’s hands relaxed. He kissed her


 shoulders, her neck, and pulled her around and kissed her lovingly on the lips.


        A stillness settled over them and they stared into each other’s eyes, inches apart.


        “Don’t you have something to tell me?” she asked.


        “You were looking for it,” he responded. “You knew it was there.”


        He waited. In that way that infuriated her. Nobody else except her parents could make her


 wait for anything, except Elboron (Eldarion could, but he was too polite to actually do so).


        “I’m not supposed to talk about it,” she said.


        “Neither am I.”


        “My grandparents never spoke of it,” she told him.


        “My parents did,” he said.


        “Well of course yours did,” she told him. “They had to in order to – ” she cut herself off,


 realizing she had gone too far.


        “How do you know?” he asked. “Nobody was there except me and mother.”


        “This is very hard for me,” she said.


        “Then don’t,” he said simply. “It’s not as important to me as holding you.”

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        Somehow, that opened the floodgates long sealed inside her and she told him everything.


 Trust meeting trust, he told her everything she already knew was true.




                        *              *               *              *               *




        It was midnight in Osgiliath on Midsummer’s Night and they were alone. Éowyn sat in


 one of the two double thrones sitting side by side at the back of the elevated top of the Palace of


 Stars and Elboron kneeled before her. Outside the windows, the full Moon poured light through


 the multifaceted multicolored gems in the blue-black ceiling glimmering, glinting, twinkling and


 forming constellations embedded in the Dome above their heads.


        Éowyn was a traditionalist. She required in the design of the round Palace of Stars a


 classic stone henge with a single entrance. Far below them, it formed a perfect circle along the


 outer wall with a smooth hollowed ditch carved in the stone and a ring of large Guardian Stones


 facing the seats of the large amphitheater spreading out below them.




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        The night before, the Fëanturi had come to Éowyn in a dream and told her it was time to


 pass Oromë to Elboron. He was going out into the world and would face great trials, and even


 with the Ring and all his training, skill at arms and preparation, he would be sorely tested.


        “This is Oromë,” she told him and for the first time he saw the silver-blue Ring of Power


 with a bright beige gem on the third finger of her left hand. “It is the Hunters Ring, forged by the


 Elvish Master-craftsman Celebrimbor in Edhilon, one of the Five for Mortal Warriors. Tonight,


 you will become one of the Five.”


        “Did you wear Oromë on the Pelennor Fields?” he asked. Rarely did she allow anyone to


 speak of her confrontation with the Witch King.


        “No,” she answered. “I was forced to face the dwimmerlaik alone.”


        Elboron was even more overawed of her accomplishment than he’d been before.


        “Your father is one of the greatest warriors in the Kingdom,” she said. “As well as one of


 the best scholars. He has taught you well and you have been an apt pupil. But these lessons are


 different and you have to stay just as focused.”


        “Yes mother,” he affirmed. “I’m ready.”




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         “With this Ring you will be sense how people around you feel,” she told him. “Happy,


 sad, healthy, or ill, and you will learn to distinguish different illnesses. If they are not with you,


 things they have worn or often even just touched will do. All your senses will be heightened, but


 most especially your sense of smell. It will be keener than a bloodhound, akin to a hunting wolf.”


         “Hence the name,” he smiled.


         “Your memory will be extraordinary,” she said. “There is nothing you will ever forget.


 You will look at a room and know everything in it with a glance. Forever after, a part of you will


 always be standing in this room. You will be able to recall every detail as if you were still here.”


         “But you will lose these extraordinary abilities,” he said.


         “Yes,” she confirmed. “They’ve served me well for many years but the time has come to


 pass them to you. You will recall every word you have ever heard and your impressions of what


 people said, why they said them, what they weren’t saying, and on reflection you will be able to


 discern different things as you live and your wisdom grows. But the images will never fade and


 will always be as vivid as this moment, if you wish.” A tear slid down her face.


         “Mother,” Elboron said. “What…”




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        “I treasure tonight,” she told him rising from her seat, “The privilege of passing Oromë to


 you. The even greater privilege of having raised a fine and honorable man who will one day be


 the Prince of Ithilien, to whom it is an honor and a joy to pass this Ring. But… I will not be able


 to recall the details of this night, perhaps the most precious night of my life, the way I have


 effortlessly recalled my entire life since the moment your father put Oromë on my finger the day


 we wed. I can see the moment I met your father as clearly now as I did then. I can hear


 everything he said, and feel how happy he was when he saw me again.”


        She removed Oromë from her finger and held it up to him, “There is one thing I want you


 to know. After the Fëanturi told me to pass Oromë to you I went to your father and asked him


 when they had come to him and told him to pass the Ring to me.”


        “What did he say?” he asked.


        For a moment she was overcome by the memory even though she no longer wore Oromë


 and a tear of gratitude slid down her face, “They never did.”


        At her direction, Elboron kneeled before her, “In the name of Oromë by whose guidance,


 not just this Ring, but the greatest things in Middle-earth were forged, In the name of Manwë and


 Yavanna, who rule over us and the stars of Heaven, in the name of Eru Ilúvatar, the One above

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 all who looks upon us, His children, I knight you a Ringbearer of Ithilien and the United


 Kingdoms of Arnor and Gondor, under the great High King Elessar and High Queen Arwen and


 their Heirs. Rise, join the Company of the Ringbearers, and accept from the Princess Éowyn,


 your mother who loves you, this Ring of Power from Oromë, the Hunters Ring.”


        She lifted his right hand and slid the Ring on the third finger. He vanished from sight but


 with one hand on his and the other on his shoulder, she lifted his invisible form and he stood.


        “Close your eyes, relax, and take a deep breath,” she told him. “Feel how calm, how


 centered, how at ease I am. Mirror this feeling, relax, and reappear before me.”


        He did as she instructed and on his second breath, he reappeared and saw his hand she


 held had become visible and for the first time he saw on his finger Oromë, the Hunter’s Ring.


        Though amazed, he did not tremble, enveloped by his mother’s love and his pride in all


 his father and people had accomplished. If he felt fear, it was from the words of the Fëanturi,


 prophesying terrible deeds in his future and that he would be sorely tested. He hoped he would


 distinguish himself as worthy of his mother and father, a King and Queen in all but name.


        “This is the only metal osmium known to exist,” she told him. “It was smelted from the


 same ores as mithril. When the mithril melted, the osmium ores stood weathering the heat.

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 Nothing can hurt the metal of this Ring. It is the hardest thing known to exist. The beige stone is


 called thomsonite. Like your osmium band, it also has extraordinary abilities. If you are


 surrounded by smoke, the stone can absorb it, but not hear or fire, only things that exist in the air,


 poison fumes, noxious gases, blinding smokes, fog. Now, no one can hunt you or your


 companions. You will leave no traces, unless you chose to.”


        “That’s why I never won any of our games of hide and seek!” he laughed.


        “Yes sorry,” she blushed. “I cheated a little.”


        “What about focusing my fëa, or hearing the Music of Ilúvatar?” he asked.


        “I do not know of those things, nor does your father,” she told him. “We are not wizards,


 nor the pupils of wizards. Everything you father knows, he learned from Boromir’s memories


 embedded in osmium band, or through trial and error over many years. Memories are a double


 edged sword. You will be amazed at what people say, having forgotten what they said in the


 past. It is not always dishonesty. Some people simply make these kinds of mistakes. And people


 change. But what I have found troubling, it is common for people to reconstruct their own


 memories differently from how things happened.”


        “Do I do that?” he asked.

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        She smiled, “No, my son. You are a gem. A Prince among men, even without the title.”


 She sat on the throne and motioned for him to sit on the one beside her, “You know, right now I


 can still remember every moment facing the dwimmoraik before the broken gates of Minas


 Tirith. Those memories were once nightmares I couldn’t escape. But then, amidst constant praise


 they became trophies I am often embarrassed to recall, though now I do with joy for the outcome


 was sweet. Even the pain of my arm splintering. Just as I remember the pain of giving birth to


 you just as happily for the outcome was the greatest joy I have ever known.”


        Mother,” Elboron said. Mother…”


        “You will never lose anything,” she told him. “And once you have touched something,


 you will be able to feel which direction it is from your body. You will always know which way is


 North, South, East and West, and where you are and where your home lies.”


        “My home is with you,” he told her.


        “Once you have the scent of something, even if you have not touched it, even if you do


 not know who or what it is, you can follow it, hunt it, and it can never escape you, not over


 rivers, amid the throngs of a great host of others, not even after the passing of time. You are now




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 the Great Hunter who wears Oromë, the Hunter’s Ring. Once you have a scent, you will be able


 to track and find anyone or anything, and those you hunt will never escape you.”


        “It would have been so easy for you to have become feared wearing Oromë,” he realized.


 “You wouldn’t even have to try. But you never did. You’ve always been so kind. So loved.”


        “Wearing a sword does not require you to hew your enemies,” she told him. “Remember,


 if you can befriend a former adversary, all those they command, their kin and descendants; it is


 only in this way that their identities as your foes are truly destroyed.”


        “Thank you,” he said, and he smiled. “I’ll remember that. I don’t fear our enemies and I


 won’t shirk from battle, but you and father have instilled in me the thirst for peace.”


        She smiled and for a moment held his hand, “You will recognize by scent male or female,


 young or old, healthy or infirm, wounded or diseased, which race, animal, or creature, when they


 left their traces, rested or weary, anxious, happy or sad.” They rose from the thrones. “I have a


 great deal more to teach you. There is much to learn. But for now, let’s go to the seats below us


 and I want you to tell me everything you can of whoever last sat in them.”




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        “I wish your mom had taught me how to use my Ring,” Celendrian told Elboron.


        “I like your mom,” he said. “She impresses me as much as my own parents. I can count


 on one hand the number of people I think that highly of.”


        “I better be one of them,” she told him.


        “You’re not,” he laughed kissing her. “You are in a class by yourself.”


        “I hope that’s not true,” she said. “I want us to be together in the same class.”


        “I accept the nomination,” he smiled and pulled her close. “But actually, already were.


 There are only five mortal Ringbearers in the Kingdom.”


        She held him in silence a few minutes and allowed herself to feel the joy of being this


 close. “We shouldn’t have argued before the other princes. That was really my fault. I should


 have taken you aside and told you what Elerith and were planning. But there wasn’t time. Yet


 you handled yourself, and that very difficult situation very well. Thank you.”




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                                             Chapter 5




                                            Weathertop




        Having left the forests and trees surrounding the Midgewater Marshes, the Oliphaunts


 lumbered over the moorlands. It was the rainy season so even though many of the hills were bare


 due to the poor soil, there were still patches of grass and bushes to be found. The Oliphaunts


 continued to graze during rest stops and in the mornings and evenings, and Manus and Malvia


 were able to conserve the special food they carried.


        Sam and Fastred had enthusiastically learned to drive Dzombo and Manus now trusted


 them to steer the Oliphaunt as much as they wished.


        Alatar spent most of his time both on and off the Oliphaunts tutoring Eldarion and Elanor


 in their ever growing knowledge of their Rings.

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        But he spent a good amount of time with Sam. He could now hear the Music coming


 from Elanor and Eldarion’s Rings. He could even hear the screeching nails-on-blackboard


 sounds coming from Saruman’s Ring in Alatar’s pocket.


        No one had the least desire to do anything with that Ring, except anticipate the chance to


 unmake it. But Alatar told them the Crack of Doom was now completely enclosed in an


 impregnable citadel, the Fortress of Mordor, protected by armies of Orcs, Trolls and Balrogs.


        Sam was grateful to learn sending him or any other hobbit to Mordor to unmake Rings of


 Power was now a practical impossibility. Not that if it wasn’t, he would have volunteered. He


 realized he was probably not young enough anymore to survive anything remotely like the


 hardships he and Frodo had endured before. He was also no longer naïve nor optimistic enough


 to try. Fortunately, no one would ask him to, nor had anyone asked Elanor.


        This left the problem of how they were going to deal with all these magic Rings.


 Everyone seemed to be neglecting discussing this but Sam couldn’t help wonder where they


 could be unmade or where they would be sent away.


        West over the sea? That seemed the only answer. Sam missed his children terribly and he


 hoped he would have the opportunity to travel to Lindon soon and see them again.

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        As Sam held the Dzombo’s reins pondering the imponderables, one of the lookouts called


 out in Haradrim. Most of Malvia’s company did not speak Westron. They grabbed their bows


 and arrows, went to the edges of their baskets, and aimed at the galloping sounds rising from the


 far side of the gently sloping hill rising before them. A rider crested the hill and the markspeople


 pulled their arrows back tight against their bowstrings.


        “Wait!” Eldarion shouted. “He’s one of us! It’s my uncle. Elrohir!”


        Sam reined Dzombo to a stop. Eldarion leaped out of the basket, sliding down a thick


 rope to the ground. Elrohir jumped off his horse at Dzombo’s feet and they embraced.


        “I was so worried!” Eldarion cried. He looked around, “Where’s Elladan?”


        “He has been taken prisoner,” Elrohir answered.


        “How?” Eldarion asked.




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        Elladan and Elrohir rode warily along the East Road approaching Weathertop. They both


 felt it: a gathering darkness closing in on them from all sides.

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        Elladan slipped his unadorned golden Ring off his finger and handed it to Elrohir, who


 slipped it on. Instantly, it was as invisible as the other Ring Elrohir wore. It was Elladan’s turn to


 be the bait and Elrohir would be the switch to spring their trap.


        Because they were twins, Elladan and Elrohir shared many things Elves who were not


 twins did not share, including a private language. But their Private Language passed between


 them instantaneously in their thoughts, which no one else could hear. Their Private Language


 communicated more than words: ideas and feelings; everything they saw, heard, smelled, tasted,


 touched, felt, experienced, imagined and perceived.


        For other High Elves and Wizards, even the Valar had to concentrate or make a conscious


 decision to connect their minds. For Elladan and Elrohir it happened automatically. They had to


 concentrate and make a decision not to communicate, and it took significant effort to ‘turn it off.’


        This they rarely did, unless ill or injured. It was normal for them to experience the entire


 sensorium, thoughts and feelings, of two people at the same time, themselves and that of their


 twin. It was one of their greatest assets and strengths, and their greatest secret.


        Combined with their natural Elvish abilities and coupled with their Rings of Power, they


 could do far more than hide their Rings or turn invisible, and there was little they feared.

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        In the midst of great battles such as on the Pelennor Fields during the War of the Ring,


 though everyone knew they were powerful Elven Lords, there were no records of their deeds.


 Few had ever thought or even wondered what role they had played, if any, even though they


 exceeded the accomplishments of anyone else except perhaps Éowyn and Merry, and only


 because those two had gotten lucky and were at just the right place at the right time.


        The twins wished it would have been them. But if it had, the deed would have gone


 unrecorded, just as their other great deeds had gone unrecorded. No one would have known it


 was them, unless someone close to them, Aragorn, Arwen, or Elrond had uncharacteristically


 asked if they knew anything about the fall of the High King of the Nazgûl.


        The Witch King would simply have vanished. Or his remains and those of his Fell Beast


 would have been found dead and defeated, inexplicably lying on the ground.


        In combat, the twins used their Rings to turn themselves and their horses invisible.


 Invisibly, they slaughtered their enemies with impunity, their shared four eyes literally watching


 each other’s backs for threats hurled by catapults, bows, slings, darts or arrows. Visible fighters


 had no way to match them. No one had yet conceived a way to match or stop the Sons of Elrond.


        Their foes did not even know the twins were there and needed to be matched.

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        This was the greatest aspect of their greatest weapon. Only their parents Elrond and


 Celebrían had known they fought invisibly and they had passed West.


        During the War of the Ring at the Battle of the Pelennor Fields, they had stayed close to


 the leaders of the Free Peoples, Éomer, Imrahil, Alphros, and the Dúnedain, protecting them


 from the worst of their most lethal enemies by slaughtering them first. Oliphaunts had tried to


 charge the leaders of the Free Peoples. Inexplicably, they had fallen. Their eyes were somehow


 gouged and blinded, the tender pads on the soles of their feet punctured, and they had fallen.


        It had quickly become apparent to Oliphaunters steering their mounts it was foolish to try


 and approach the Captains of the West. Some madly whispered there were invisible savage war


 spirits slaughtering them and bringing death. They avoided those foes and crushed as many of


 the outlying troops of Minas Tirith, Dol Amroth and Rohan as they could.


        But always and most especially, the twins protected Aragorn, as Elessar then was known.


 In addition to having the formal responsibility of safeguarding the Heirs of Elendil, they loved


 him with something akin to the love a parent feels for their child crossed with what a sibling


 feels for another. Perhaps their love for Elessar, Arwen, and their children was part of that same


 special love they felt for themselves and each other.

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        Lesser Elves and Men (and women) sought praise and acclaim. The twins did not. They


 had a higher purpose: an Oath to fulfill before they would ever allow themselves to sail to the


 Undying Lands: they had to kill every orc or orc-hybrid, including and most especially the


 Orcelven and their leader and purported brother, the half-Orc abomination called Estel. For him,


 they felt the greatest hatred they had ever known.


        Not even Eldarion understood the depth of their antipathy for Orcs and Orcelven. They


 never mentioned it, until the day he stumbled on it.


        Returning from Ithilien, they found a pack of orcs who had accidently and unknowingly


 fallen asleep in one of the secret outpost caverns Gondorian’s maintained since before the War of


 the Ring. Eldarion wasn’t sure it was right or acceptable to kill sleeping enemies, not even orcs.


        Elladan and Elrohir disagreed. Eldarion had been surprised at their willingness to break


 what he perceived as ‘honorable’ rules of engagement. He tried to pretend he wasn’t upset as he


 stood aside and his uncles mercilessly slaughtered the sleeping orcs. They burned the bodies and


 rode away in an uncharacteristic and uncomfortable silence.


        “I do not disapprove and I would have helped,” Eldarion told them. “But I feared my


 father would learn of it, and think less of me.”

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        “We are much older than we appear and we do not always share all we have experienced


 in the past or perceive in the present,” Elladan told him. “Perhaps sometimes we err on the side


 of caution. But we are not insensate. You are upset with us.”


        “My father is not the same with you as he is with me,” Eldarion told their blank faces,


 “You do not understand.”


        “Perhaps we don’t,” Elrohir told him. “Perhaps there are things about us you do not


 understand, which we have neglected to share.”


        “What things?” Eldarion asked.


         “The reason we did not sail with our father from East Mithlond,” Elladan said. “Though


 we greatly wished to reunite with our mother. But we were too ashamed.”


        “Ashamed?” Eldarion asked. “Ashamed of what?”


        “We could not face her having failed to avenge her against the monsters who tormented


 her,” Elrohir answered.


        “We have pledged an Oath more terrible than Fëanor’s,” Elladan confessed. “We shall


 not leave these shores in either of our immortal lives until we have killed every Orc and


 Orcelven in the whole of Middle-earth.”

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         “If by some mischance one of us is slain,” Elrohir explained, “the other will travel to


 Valinor to beseech the Valar as Tinúviel did, to free and return with our brother until we have


 fulfilled this Oath.”


         “We were present at your birth,” Elladan told him. “We have watched you closely ever


 since. We were also present at your father’s birth, and we watched him as closely for most of his


 life until he charged us with watching you.”


         “We were also present at your grandfather Arathorn’s birth,” Elrohir added. “Your great-


 grandfather Aravorn’s birth, your great-great-grandfather Arahad’s birth, your great-great-great-


 grandfather Arassuil’s birth, your great-great-great-great-grandfather Arathorn’s birth, and many


 others, and unfortunately, many of their deaths.”


         “But we have sworn never to take a wife or have a family of our own until this task is


 done,” Elladan said. “Eldarion, we do not know if one day we will have a wives or children, but


 if we do, it is not possible for us to love them more than we love you and your sisters. It is within


 the heart of this love that we say, please, do not ever tell us we do not understand.”




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        The twins rode towards Rivendell on the Great East Road approaching Weathertop warily


 but not fearfully, spreading their horses wider apart and extending their many senses. They


 hunted the hunters who thought they were hunting the twins. They sensed these hunted hunters


 gathered around Weathertop so they detoured from the Road and rode around the base of the


 large hill to the northwest corner where the foot of the path which led to the top.


        Elrohir slowed his horse and fell behind Elladan as they approached the top of the last


 low hill. Using the powers of their Rings with his own twin-augmented Elvish might, as they


 often did, and he and his horse vanished. They turned a bend and Erestor stood beside the mouth


 of a dell at the base of the path in long grey robes.


        “Erestor!” Elladan called reining his horse. “What are you doing here?”


        Erestor smiled, “I am here to play a game with you, thrice noble Prince.”


        “I have no time for games,” Elladan said.


        “You are already playing this game,” Erestor told him.


        “What is this game you believe I am playing?” Elladan asked.


        “‘What Don’t I Have On My Finger?’” Erestor answered.




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        Through their shared senses, the twins were shocked. Only Elrond, who gave Elladan


 Gaearyn – the Ring of Oceans, Tides, Currents, Storms, Clouds, Rivers, Lakes and Rain; one of


 the original five for Elves of the Eleven and one of the six most powerful Rings ever forged; only


 their father knew he wore a Ring of Power. Or so before this moment, they had both believed.


        Evenly spread out around the lip of the dell, Nine Hunters in Grey rode up on large grey


 horses. Their armor and helms were grey, their mail, breeches, and boots were grey, their hair


 and eyes were grey, as if already dead. Even their skin, lips and fingernails were unnaturally


 grey. On grey belts hung grey scabbards with grey pommeled swords forged of a dull grey metal


 with bright, glinting razor sharp edges, grey daggers, and on their backs, grey quivers filled with


 grey feather-tipped grey arrows, gray shields, and grey longbows strung with grey string.


        They were Glorfindel’s Ringwraiths, the new Nazgûl – deadly bowmen, the Hunters in


 Grey. Their armaments alone made them far more deadly than any previous incarnation of the


 Nazgûl. They did not cry out, but greater fear emanated from them than had come from the ones


 before. Not even the Witch King of Angmar had inspired such deadly terror as these Hunters in


 Grey ignited with their deathly grey stares from their dead grey eyes.




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        Silently, they strung their bows with arrows and aimed their glinting razor sharp grey


 arrowheads at Elladan.


        Elladan held up his hands, slid off his horse and kneeled before Erestor. The silent, dead


 grey Hunters tied him with grey hithlain rope and with their dead, ice-cold grey fingers, they


 searched his saddlebags, clothes, skin; everything and everywhere. But they found no Ring.


        Elrohir kept his thoughts as one with Elladan as he galloped south to return to Eldarion in


 Bree to warn him and Elessar of the treachery and Fall of Erestor, and the return of the Nazgûl,


 who walked the earth as bowmen, deadly Hunters in Grey.


        The miles flew by, Elrohir allowed himself and his horse to become visible to conserve


 his strength and lend as much as he could to Elladan. The distance between them grew but it


 made no difference to their Private Language and Elrohir experienced everything Elladan did.


        Erestor mounted the horse the Nazgûl had brought and led them to the path which wound


 up Weathertop. They rode as far as they could, dismounted and walked the rest of the way up the


 treacherous path. On the flat top of the hill there had once stood an ancient tower. But it had long


 been destroyed except for a ring of stones, once part of its foundations. Several arches and


 broken sections of wall still stood no more than a single story high at only one or two places.

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        On one of these, they chained Elladan’s wrists over his head five feet apart, straining his


 long Elvish arms. He hung helpless four feet off the ground.


        In the center where once a cairn of old burnt stones had been piled, there now stood a


 newly raised thick, fine crafted pillar of grey marble which rose to eye level. Atop the marble


 column sat the uncovered grey Osgiliath-stone.


        Even in the sun, it glowed with grey light. Looking into its depths, Elladan could see it


 was communicating to several distant viewers to whom it gave a commanding view of


 everything around for miles. Elladan watched Erestor peer into the Stone.


        Miles away as he rode through the moorlands, Elrohir looked out of Elladan’s eyes and


 saw Erestor standing before the Palantíri of Osgiliath gazing into its smoky grey depths where he


 found Elrohir riding across the moorlands looking through Elladan’s eyes at Erestor looking at


 Elrohir watching him through Elladan’s eyes watching Erestor watching Elrohir…


        For the first time, the twins felt their Private Language invaded, their thoughts, feelings


 and memories exposed to a much greater power. Everything they were or had ever been lay


 naked to other minds. Savagely they fought, combining their power and that of their Rings. It


 was a brutal, merciless struggle they were only capable of waging because of their shared might,

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 working together and using their Private Language through the bond they’d shared since the


 moment of their conception. Only because of their far superior experience and unmatched skill,


 they overcame and drove out the minds and powers of Erestor, his Sauron tainted Ring


 connected to the mind of Glorfindel and his own eight other Ring of Power coupled with the


 undead wills of the Nazgûl.


        Momentarily beaten, Glorfindel was not defeated. He focused the power of Nine Rings,


 eleven wills and minds into a lance of power thrust from the Elostirion-stone, through the


 Osgiliath-stone and into Elrohir’s mind. Before it could strike, Elladan shattered the link.


        The Hunters in Grey, the Ringwraiths, the deadly Nazgûl that stood spread out evenly


 around the stone edge of Weathertop looking out over the moorlands fell to their hands and


 knees reeling under the feedback of power shooting out of the Osgiliath and Elostirion-stones


 through the minds of Elladan, Erestor, and Glorfindel, and all twelve screamed.


        Erestor fell too, but Elladan could only hang his head where his body hung upon the


 broken wall. The Ringwraiths were the first to rise on unsteady legs. They looked around


 uncertain, confused, shaking their heads, trying to remember what they were or who they had


 been. Far away in Gondolin, the will of Glorfindel recovered and reasserted his control.

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        What little thought might have been left in the undead minds of the Ringwraiths was


 crushed beneath the onslaught of Glorfindel’s monstrous will and power.


        Erestor rose. Unlike the others, he was not a mindless slave. Glorfindel had done nothing


 more than give Erestor the freedom to express his contempt and loathing for the children of


 Elrond he’d always felt. He was subject to no one’s will but Erestor’s, which he happily allied


 with Glorfindel. He looked once more into the Osgiliath-stone but Elrohir could not be found. He


 looked into Elladan’s mind. It was closed, locked tight.


        None of his own extraordinary efforts, not even the recombined might of Glorfindel and


 the Nine Rings of Power and the wills and minds of the enslaved Nine Nazgûl could break the


 barrier between Elladan’s mind and theirs.


        “We have ways of discovering your thoughts,” Erestor told him. “You would tremble in


 fear if you knew. If we use them, they will fill you with more torment than you can imagine.”


        “Do what you must,” Elladan said. He had no doubt Erestor spoke the truth. “I will die


 before I betray my brother.”




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        That was the problem. If Erestor pushed too hard, just as Celebrimbor had done, Elladan


 would release his fëa to return to Aman before he would allow them to taint his brother, or


 anyone else in his family, if his death would in any way serve to protect them.


        They had to be careful. Glorfindel had only been ensnared at the end of long tortures


 because of his arrogance, believing he could or should endure them.


        Erestor regarded Elladan thoughtfully and returned to the Osgiliath-stone. He cast the


 Eye of the Stone far ahead, farther and faster and it came to the heavily patrolled and guarded


 walls of Bree. Where the Prancing Pony once stood, there were now broken ruins.


        “What has become of Eldarion?” Erestor asked.


        “You have known us for thousands of years,” Elladan responded. “Break my body, crush


 my spirit, destroy my mind. You can make me suffer. You cannot make me betray anyone in my


 family, and neither of us will betray our duty and the trust of our King.”


         “Of that I have no doubt,” Erestor said turning his eyes to the Stone, “I will enjoy your


 suffering as you watch us kill your twin, Eldarion and all your kin, and yes, even King Elessar.


 The United Kingdoms of Arnor and Gondor will fall. Rohan, Harad and Hildória will fall. The




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 lands from Forodwaith to the East Sea and many more, far more lands and realms than any of


 you have dreamed of in all your philosophy. All will soon be ruled by the Emperor Glorfindel.”


         Elladan hung silently and when Erestor turned away, he hooded his eyes and looked into


 the Stone. Much more warily now, and constantly on guard for the threat of another’s thoughts


 seeking their own, he and Elrohir barricaded their minds and hid their powers, more skillfully


 than anyone else traveling the paths between minds could.


         When Erestor stepped away from the Osgiliath-stone and left the ring of broken stones,


 they pooled their power and that of their Rings, and so great and subtle was their skill, they bent


 the Osgiliath-stone to their will secretly.


         From the ruins of the Prancing Pony, they pushed the Eye of the Palantír and scanned the


 streets and walls of Bree, found the breach, followed the trail of crushed bodies, broken trees and


 flattened shrubs and grass. Strangely, though the trail reached an end, it did not end. It continued


 to grow. Try as they might, they could not see what was creating the trail, as if a herd of


 monstrous creatures marauded through the countryside wearing golden Rings of Power hiding


 them invisibly. The advancing trail emerged from the Marshes on course for Imladris.




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        Riding towards Bree invisibly, Elrohir changed his course and rode for the ever


 advancing trail growing by means in which the palantír they could not see.


        At the head of the advancing trail, Elrohir found Eldarion riding in a basket on an


 Oliphaunts with a warrior of Harad, Elanor, Theo, Sam and Rosie, and an unknown hobbit.




                   *              *               *              *              *




        As Eldarion and Elrohir tried to catch each other up at Dzombo’s feet surrounded by


 Manus, Malvia, Alatar and the hobbits, Elrohir’s face went white.


        “What’s wrong?” Eldarion asked.


        “Something has come between us,” he answered. “A blindness has fallen over Elladan’s


 senses. I was so excited to find you I did not realize I had vanished from his mind.”


        “It’s got to be that evil Erestor!” Manus cried.


        “No,” Elrohir said. “It is something else. I sense… a shadow that does not hold darkness.


 As if Elladan’s senses were somehow smothered beneath a sable shroud.”


        “A shroud…?” Alatar asked, turning to Fastred.

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        “What is it?” Sam asked.


        “It’s me,” Fastred answered. “I have to get away from Elrohir.”


        “Why?” Rosie asked.


        “We haven’t time to explain,” Alatar answered. He lifted Fastred, placed him on


 Silverfall’s back and withdrew a silver horn from his saddle, “Ride northwest. Those lands


 should be empty and you’ll be safe. When you’ve gone far enough I’ll blow my horn. When the


 time comes for your return, I’ll blow three more. If you never hear from me, assume the worst


 and ride to Minas Tirith. Silverfall knows the way. Tell Elessar everything that has befallen us.”


        “Wait a minute,” Theo said. “Why do we want Erestor to see us through the Osgiliath-


 stone and lose the advantage of surprise?”


        “Hiding from the palantír will do us no good,” Elrohir answered. “Erestor cannot fail to


 see with his own eyes a herd of Oliphaunts marching towards him over the Weather Hills.”


        “It would only serve to needlessly reveal we are capable of hiding,” Eldarion told Theo.


 “This is a secret we would be better served keeping secret.”


        “How can we beat the Nazgûl?” Sam asked fearfully, remembering the last time he faced


 Ringwraiths within a dell below Weathertop.

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        “Whatever our skill at arms, we are no match for these newer and far more deadly Nazgûl


 if they are gathered together and united in our destruction,” Elrohir told him. “But through the


 palantír, the Oliphaunts will be the bait to draw the Ringwraiths apart and I,” Elrohir announced


 drawing his sword, “will be the switch.”


        “What does that mean?” Fastred asked.


        “Two can play Erestor’s game and we should,” Elrohir answered. “If we spread the


 Oliphaunts out, encircle Weathertop and approach from all sides, Erestor will be forced to


 separate the Nazgûl before the Oliphaunts get too close. But through the Osgiliath-stone, I will


 see which Hunter is closest to which Oliphaunt. A single Ringwraith is no match for me.”


        “I believe I can help,” Alatar said raising his staff.


        “No,” Elrohir told him. “Unless you have the Elven skill to hide from his senses, Erestor


 will see you through the palantír. The bows of the Hunters In Grey would sing long before you


 saw them and their arrowheads will find your heart. Stay on the backs of your Oliphaunts. I will


 hunt these Hunters. You must accept my Word, they will never see me coming. Keep our secrets.


 I will dispatch them one by one before they come close enough to harm you.”


        “I can help,” Eldarion said holding up his hand. His Ring appeared on his finger.

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        “It is forbidden to reveal these things!” Elrohir shouted.


        Eldarion had never heard his uncle shout at him, “I am sorry, atarinya. I apologize for my


 breach. My companions know I wear a Ring. Alatar fought a deadly and very public duel with a


 Warlock, won this Ring, and gave it to me in front of them. But I have sworn my friends to


 silence and bound them in the Fellowship of the King.” He looked at Sam, Rosie and Manus.


 “Most of them. It seems… I have spoken out of turn. Again, I must apologize for my lapses.”


        “No need, Eldarion,” Elrohir said, putting his hand on his shoulder. “After only days, you


 have found strange companions and stranger tales await. But know, the only way these things


 have been kept from our enemies is through our great secrecy. It is I who must apologize for my


 outburst. Rings of Power have ever been the most closely guarded secrets of the Elves.”


        “Thank you,” Eldarion said. “Let us now attend to the Ringwraiths.”


        “I cannot explain,” Alatar told Elrohir. “But Fastred and I can help.” He jumped up


 behind Fastred on Silverfall’s back and rode away towards Weathertop.


        “Back to your Oliphaunts!” Elrohir ordered jumping on his horse and riding after Alatar.




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         Eldarion and the others climbed up their ladders and Manus signaled his companions to


 spread the Oliphaunt out as they plodded along towards Weathertop, approaching from different


 directions. Alatar and Fastred were closer to the hill and would be first to face a Nazgûl.


         Erestor saw the six Oliphaunts spreading out and he sent the Ringwraiths riding out, just


 as they had before, one or two for each Oliphaunt but the ninth guarded him and Elladan.


         Elrohir caught up to Alatar standing beside his horse with Fastred still on Silverfall’s


 back. His staff was planted in the ground on the west side of a hill, hidden from Weathertop.


         “Erestor can still see you through the Stone!” Elrohir cried drawing his sword and turning


 to the crest of the hill.


         A Hunter galloped over the top and bore down on them silently with his grey sword


 drawn. Horror and terror greater and more terrible than any they had ever known blinded their


 minds – but it was too late: the ground around the Nazgûl opened and he and his horse dropped


 straight down into a sinkhole buried beneath the collapsing earth.


         A firework rocket shot up from Weathertop and exploded high in the sky, visible even in


 the bright light of the Sun. Distant trumpets sounded and a great roar arose.




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        In the passes and lowlands between the Weather Hills, armed battalions from nine


 kingdoms, Nurn, Rhûn, Lithlad, Udûn, Umbar and others appeared marching towards them.


        “It was a trap!” Elrohir cried. “We’ve been ambushed!”


        Mounted enemy cavalry rode streaming past the army foot soldiers. No matter what


 Elrohir’s skill or power, there were far too many of them. He could never protect Eldarion and


 his friends atop their Oliphaunt from such an overwhelming press of enemies and on these open


 plains there was nowhere to hide, except for those who could hide invisibly.


        The rest would fall. Erestor had sprung a foolproof trap. The death of their friends was a


 certainty. Only a few of them, if any, would survive. Elrohir, Alatar and Fastred rode back to


 Dzombo, and Elrohir climbed the rope which hung dangling over the side of the basket.


        “We must save the few we can,” he told Eldarion at the top.


        “I am not leaving my friends,” Eldarion responded.


        “We do not have time to argue!” Elrohir cried.


        Whatever he was planning, he never had time to act. Though farther off, a great host of


 trumpets and bugles filled the air with the war cry of Gondor echoing off the Weather Hills.




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        At the top of the farthest ones coming behind the invading battalions of the Nazgûl’s


 armies, in her bright mithril armor and brandishing her sword rode Celendrian at the head of the


 brigades of Arnor and Gondor led by many princes.


        In every direction, many, many more times the forces of the armies of the Nazgûl Kings


 rode over the tops of the Weather Hills or marching relentlessly on foot, led by princes who had


 received Elerith and Celendrian’s summons and answered their call with deeds.


        From the South came the princes of Dunland, Tharbad, Gwathlo, and the Greenway, from


 the West the Princes of Uial, Nenuial, Evendim and Fornost, led by the Crown Princess (and her


 great friend) Ulios of Annúminas; From the East, the princes of Hoardale, Coldfells, Rhudahur


 and Bruinen, leading a great host of Angles; but from the North, princeless, and though they had


 no flags or symbols of their lands or cultures, in the vastly greatest numbers completely filling


 the hills marching slowly but steadfastly came the Thains and farmers of Eriador.


        Here and there a few had swords and spears, and many more wielded axes or picks, but


 most carried hoes and rakes, the only ironworks they had, humble, but here.


        They had come, the lowest and the mightiest to defend their kingdom, save the Crown


 Prince Eldarion, led not by their fathers or mothers, Kings and Queens who must pause,

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 consider, debate; they had come led by their Princes or Thains, some men and some young


 women, and all had come at the call of the Princes Elerith and Celendrian, Princes who rode at


 the heads of their own Brigades of Minas Tirith and attacked the armies of the Nazgûl.


        “It’s Celendrian and Elerith!” Elanor shouted, tears streaming down her face. She and


 Rosie held each other and cried at the beauty of the sight of them charging into battle.


        “Here,” Elanor said to Sam offering her Ring.


        “No,” Rosie said gently taking her daughters hands in hers. “Please. Your father has


 given enough.”


        She turned to Fastred and held out her Ring.


        He looked down, “I don’t think I’d be much good in a fight, other than defending you.


 Invisible or not.”


        “Who would have ever thought I could have this much trouble getting rid of a magic


 Ring?” she asked no one in particular.


        “What about ME?!?” Manus cried holding out his hands. “I want a Ring of POWER!!”


        “Which is precisely why you are never going to get one,” Elrohir told him.


        “Théoden?” Elanor asked.

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        His face brightened, “I’d be delighted!”


        She handed him her Ring. He looked at it amazed, at their expectant faces, then once


 more at the Ring, more than a little scared. He looked at Eldarion and the rest of his friends, out


 at their attacking enemies and he drew his sword but Sam stopped him.


        “Here,” Sam said handing him his scabbarded Sting, “You’ll get better use out of this out


 there than I will stuck up here.”


        “Thank you,” Theo said, more incredulous than before. Drawing the enchanted Elven


 blade which in the Shire was a legend, he balanced Sting on his fingers as Eldarion had taught


 him, found the point of balance, rotated the pommel skillfully and his confidence surged. He


 sheathed Sting and strapped the scabbard through his belt.


        He bowed to Sam and Rosie, hugged Fastred, kissed Elanor on the lips, “For luck” he


 said, put on her Ring and vanished.


        “Come Theo!” Eldarion cried, slapping his own shoulders, crouching and leaning


 forward. A soft thud and Eldarion bent under the force of Theo’s jump. He confirmed the


 hobbit’s invisible hands were clasped firmly around his neck, sprang over the side of the basket,


 and slid down the rope to Elrohir’s horse.

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        Invisibly, he, Theo and Elrohir dispatched the first enemy rider they came to and Eldarion


 took his mount. After a hurried fëa and Ring assisted tutelage from Elrohir, Eldarion’s horse


 vanished and he and Theo rode invisibly into their enemies.


        On the plains Celendrian, her Princes Brigades and their many armies she had summoned


 joined Manus, Malvia and their stampeding Oliphaunts and they decimated the armies of the


 Nazgûl Kings. Invisibly, Eldarion, Theo and Elrohir fought their way through to Celendrian.


        Elrohir remained invisible and dispatched the worst of the threats who approached.


        Eldarion and his horse appeared as if from nothing beside her.


        Startled at the sight of him, she laughed, “It’s about time you got one of those!”


        More trumpets filled the air and the returning cavalries of Ælfwine and Daughters of


 Rohan protected the Eriadorians from mounted attacks allowing them to overwhelm the enemy


 foot-soldiers.


        “This reminds me of the time the Corsairs of Umbar rowed up the Anduin under cover of


 darkness and attacked Osgiliath from the North!” Elboron shouted.


        “It’s not like that at all!” Celendrian yelled back, “It’s more like the time Linhir, Tarnost


 and Lamedon attacked Edhellond from the East!”

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        “It’s nothing like either of those,” Ælfwine announced, “It’s most like that one time


 Lungorthin, Thû and Thüringel accidentally attacked Ithilien simultaneously and their armies


 decimated each other!”


        “He’s right!” Elboron and Eldarion laughed.


        Hours later, most of Glorfindel’s armies lay dead on the fields. The rest had fled between


 the Hills riding or running east, utterly defeated. The Princes Brigades came together at the foot


 of the path that led up, winding its way precariously to the crown of Weathertop.


        “My People!” Celendrian called joyfully, standing in her stirrups before the hosts of their


 victorious armies. “The Princes of Arnor and Gondor thanks you for answering our call. The


 Master of the Rolls will record your names and the forests of the King will welcome you!”


        A great cheer rose from the assembled hosts and the Knights of the Palace of Anor began


 accounting the names of those who had ridden at Celendrian’s call and saved Eldarion.


        Eldarion took Elerith and Celendrian aside, “That was very clever of you.”


        “I’d like to take the credit,” Elerith told him hooking her thumb at Celendrian. “But in all


 honesty, it was her idea.”




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        “As usual, our little Elerith is being far too modest,” Celendrian told her brother, “We


 would never have known you were in danger if Elerith hadn’t made herself a Master of the


 Palantír and discovered the armies of Glorfindel new Ringwraiths were coming to waylay you.”


        Manus, Malvia and the hobbits climbed down their ladders from their Oliphaunts.


        “Elanor!” Celendrian cried, and she and Elerith hugged her and they welcomed Sam,


 Rosie, and Fastred.


        Eldarion introduced Manus and Malvia to his sisters and his other friends. The princes


 bowed and the princesses curtsied.


        “Where’s Alatar?” Elanor asked.


        “He’s digging up the body of a Nazgûl,” Theo told them. “I think he dropped something


 in the pit with the Ringwraith.”


        “Elladan is at the top with Erestor, the palantír and the rest of the Hunters In Grey,”


 Elrohir told them. “Or he was. But he has done something to shroud my senses.”


        “We can’t take our horses,” Eldarion said. “The path is too steep and the footing is


 treacherous. Only one can walk abreast.”




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        “I don’t care how well armed everybody is,” Sam told Elanor, stopping her and Rosie.


 “I’m putting my foot down. You are not going up and facing Ringwraiths.”


        “This is a sheltered dell,” Eldarion said showing them a bowl shaped hollow protected


 from the winds of the plain populated by a few trees beside the path. “Wait here with Elerith and


 Niphredil. It should be safe. We’ll leave our packs and armor with you.”


        Despite the danger, everybody else wanted to go with Eldarion. They doffed their heavy


 war armor and packs while the rolls were being taken far below. The great hosts of Arnor and


 Gondor cleared the plains, burying the dead and claiming the spoils of war from their fallen foes.


        With just their swords, helms, and most trusted guards and men-at-arms, the princes


 started up the path but the second they turned away from the hobbits Elrohir shouted, “Bilbo!”


        He, Eldarion, and Celendrian vanished. Behind them, Elerith dove to the ground dragging


 Elanor and Niphredil down with her. A moment later Theo vanished and invisible, he dragged


 Rosie, Sam and Fastred down, who had been close at hand.


        Invisible arms dragged Manus and Malvia, Elboron and Ælfwine, Xiang and Pingyang


 down, then again Éodyn, Idris and Liathwyn to the ground.




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        Grey arrows whistled by and struck their escorts but the princes sprang up drawing their


 swords and launching themselves at the seven Ringwraiths restringing grey arrows to their bows


 above the lip of the dell. The Nazgûl were forced to drop their bows and draw their swords.


        Elboron was the first to strike but the Hunter did not turn the flat of its blade to block his


 stroke and met him edge on edge. Elboron’s sword clove in two pieces and his arm fell numb


 and useless at his side. The Ringwraith swung his sword again and Elboron raised his shield but


 the glittering edge sliced through the stainless steel and sheared off the top, just missing his head.


        “They’re blades are enchanted!” he shouted jumping back, both arms useless.


        Manus and Malvia converged on a Nazgûl and stabbed it, their blades crossing and their


 bodies converging, pinning the Ringwraith between them. It screamed, their blades shattered and


 they fell with their defeated foe, overcome by the Grey Breath.


        Though she shook with the terror emanating from the Ringwraiths, Celendrian appeared


 between a Nazgûl and Elerith, Sam, Rosie and Fastred.


        She switched her sword to her distaff hand and the Hunter split her blade in two, but she


 had released the pommel the moment before their blades struck each other. Her sword shattered


 but her arms were unaffected.

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        The Ringwraith raised its glittering blade but she threw her arms forward and locked her


 elbows. Two small crossbow arms sprang out above her wrists, she flexed and they shot two


 spiked bludgeon darts into the Hunter’s head driving deep and knocking the Nazgûl back. It


 screamed and struck the ground. Celendrian scooped up the pommel of her broken sword, leaped


 and landed on top of it driving the hilt through the Hunter’s pierced and shrieking head,


 shattering the ghoul’s undead bones while the thing grappled and clawed at her but she hacked


 the broken knife blade through the monster’s shoulders, hands, and neck until she’d


 dismembered it. Its frenzied struggles stopped. She groaned and fell across the body of her foe.


        Ælfwine, Éodyn, Idris and Liathwyn had gathered back-to-back in the middle of the dell,


 determined to protect each other from the Ringwraith attacking them. Ælfwine had sheathed


 Herugrim but his sister’s swords had been broken, and they had fallen to the Grey Breath until


 only Ælfwine remained. He struck at the Nazgûl’s sword but his shortsword splintered numbing


 his sword arm. He removed his helm and used it as a shield but the Ringwraith cleaved his helm


 and it fell sundered from his hands.


        With both his arms hanging uselessly, the Hunter raised its sword to kill him.




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        Eldarion appeared between them swinging his sword with all his strength severing the


 Hunter’s head and he leaped back clear of the Grey Breath but his sword shattered like broken


 glass and his arm went numb.


        Another Ringwraith screeched a horrific cry leaping at Eldarion. His blood ran cold, the


 hairs on his head stood on end but a heavy throwing knife on a long sturdy rope swung out and


 wrapped itself around the Nazgûl’s shoulders pinning its arms to its sides.


        “Get back!” Pingyang shouted.


        Eldarion and Ælfwine leaped aside and Pingyang’s red-hot burning Meteor Hammer shot


 forward and struck the Ringwraith in the center of its chest. Its grey robes ignited and the deadly


 Hunter In Grey screamed as it’s undead flesh was consumed in flames.


        Xiang brandished his staff and stepped between Elboron and the Hunter who had


 shattered his short sword and numbed his other arm, poised to kill the Prince of Ithilien. The


 Nazgûl swung his sword but Xiang’s staff broke apart on its own before making contact into


 three separate pieces linked by chains. He spun one end about his own body and wrapped the


 other two ends around the Ringwraith’s blade clear of the cutting edges. He pulled the sword


 away and slung the other end of his Sānjiégùn whipping out to crush the deadly Hunter’s head.

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        But the Ringwraith leaped soundless as it died screaming tackling Xiang and he and


 Elboron fell in a heap.


        “Xiang!” Pingyang shouted running to her brother.


        Elrohir was still invisible and imperceptibly he came behind the last Hunter with his


 sword in his distaff hand and he drove it through the back and out the Nazgûl’s chest. His sword


 shattered, the Nazgûl screamed, fell to the ground and the body lay still and unmoving.


        Elrohir reappeared on his knees, his left arm hanging useless at his side. Erestor appeared


 before him with his sword raised high over his head.


        “At last your Rings will be mine!” Erestor cried.


        He swung his sword but Pingyang had been near and she swung her own sword and met


 Erestor’s. Erestor’s mithril blade clove her blade in half but she deflected the stroke and Elrohir


 vanished again. Erestor turned and fled up the hill vanishing himself.


        At last, all was still in the dell at the base of Weathertop.


        Eldarion, Elanor and the few of their friends left standing gathered together.


        “How do we know Erestor really fled back up the hill?” Elerith asked fearfully.




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        “I’ve got my eye on him,” Elanor said standing apart from the others. “I’m watching his


 progress. He’s running as fast as his legs will carry him up.”


        “How can you see him?” Elerith asked.


        “Elerith,” Eldarion told her. “Help me see to Celendrian, Elrohir and the others.”


        Elrohir appeared on his knees before them.


        “Are you alright?” Eldarion asked.


        “My arm has gone numb,” he answered.


        “I have athelas,” Eldarion said. “Let me bring my pack.”


        “I see it,” Elanor said. “Erestor is gone and I’m the closest.”


        She hurried back along the grassy grey-green bank to fetch Eldarion’s pack but the hairs


 on the back of Sam’s neck rose and he looked up. High above over the crown of Weathertop, the


 final Hunter leaned out with his long grey bow and glittering grey arrowhead sighted on Elanor


 who had been tracking Erestor but now walked through the middle of the bowl shaped dell alone.


        “Watch out!” Sam shouted sprinting towards her but he only succeeding in drawing her


 eyes to him. “Elanor! Get down!”




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        It was too late. The string on the Nazgûl bow sang, the deadly silver arrow shot down and


 Sam leaped between the silver singing death and his daughter. The arrow struck him in the center


 of his chest and Rosie and Elanor screamed.


        ‘No wait, he’s alright,’ Elanor thought, ‘He’s must be. He’s wearing his mithril coat.’


        A horrific shriek rose above them and the head of the Hunter that had shot Sam was split


 by a glittering grey feathered arrow and grey arrowhead. The Ringwraith plunged over the edge


 tumbling to the ground far below. Its bones shattered and the undead body lay still.


        Elerith stood with a scavenged grey Nazgûl bow in her hands at the edge of the dell


 having loosed the glittering arrow, “In Gondor, we teach Princesses to shoot.”


        Elanor and Rosie rushed to Sam. They knew his mithril coat had withstood a powerful


 spear thrust by a Troll when Frodo wore it in Khazad-dûm. What had struck him was a slender


 arrow loosed from a mere bow, not even a cross or longbow. It couldn’t pierce his mithril coat.


        But the arrow protruded from Sam’s chest, embedded deep in his body. Blood soaked his


 clothes and spilled to the green grass beneath him.


        “Sam!” Rosie screamed, as she joined Elanor kneeling beside him.




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        She and Elanor turned him over and saw it all: the blood spurting from the wound, Sam’s


 grey skin, his eyes closing and the arrow embedded far too deep in his chest.


        Elrohir and Eldarion kneeled beside them and Elrohir ripped the arrow out with his one


 good arm. Rosie and Elanor screamed but Sam was already unconscious.


        “Eldarion!” Elanor cried clutching her father’s body. “I know you’re not a King yet but


 my father always said the hands of a King are the hands of healer! There must be something you


 can do. Please!”


        Eldarion knew the secret to his father’s ability to heal was the Elessar-gem he wore.


 Eldarion had no Elessar-stone and the wound in Sam’s chest was mortal, “Elerith, Niphredil,


 remove Lady Elanor and Mistress Rose from the dell.”


        Unquestioningly they obeyed, gently but with unyielding insistence and speed. The


 hobbits were the lightest of loads and they easily carried them away.


        Eldarion pulled off Sam’s mithril coat and saw how deep the mortal wound went. Not


 that he’d had any doubt. He withdrew the vial of the Waters of Awakening.




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        “Are you sure?” Elrohir asked kneeling beside him. “This is a Valarin gift. Though most


 beloved and honored of mortals, Samwise is a hobbit. Should you not reserve this for these fallen


 princes and the future needs of the royal family?”


        “If I had harbored any doubts,” Eldarion said, “your words would have removed them.”


        He broke the seal and let fall a drop. It struck the center of the bloody mess that was


 Sam’s chest and a miraculous thing occurred: the bleeding wound began to heal.


        But far too quickly, the effects were exhausted. Much of the wound remained open and


 bleeding profusely.


        Eldarion let fall another precious drop. Where the drop landed another incredible healing


 occurred. But it was not enough. Again and again, Eldarion loosed drop after drop, attempting to


 conserve as much as he could while saving Sam’s life. His face remained a study of focus and


 concentration, testing and taxing the very best of his abilities and skills.


        When he finished healing Sam, more than half the Waters of Awakening were gone.


        “My prince,” Elrohir said darkly and he pointed at Sam’s face.


        Eldarion’s careful and deliberate use of the Waters had taken too long. Sam lay beneath


 him cold and gray, his mouth gaped open, and his eyes stared at nothing with the look of death.

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         “You did your best,” Elrohir said. “But the wound was too great. You must husband what


 is left. Challenges aplenty lay before us. We cannot predict what our needs will be. After today,


 we should report you used the entire vial and reserve the remains in secret.”


         Eldarion lifted the vail to pour the rest into Sam’s open mouth.


         “Eldarion!” Elrohir cried grabbing his hand, “This is not your father’s intention!”


         A single drop had fallen from the vail where Eldarion had been holding it to pour into


 Sam’s mouth before Elrohir grabbed his hand, and it fell into Sam’s dead open mouth.


         “Elrohir – ,” Eldarion began, angry and unaccustomed to being gainsaid so forcefully.


         “I know you acted from the heart, but that was foolish!” Elrohir admonished. “The fëa in


 Sam’s body has already fled.”


         Eldarion looked at Sam’s lifeless face, having spent yet another precious drop to no avail.


 The shame of having made another costly error burned his face. He stood and turned away,


 calculating the cost in future lives.


         Sam coughed, his body shook, his dead eyes closed, he breathed, the color returned to his


 cheeks and he opened his living eyes.


         “Elanor!” Sam shouted. He sat up, “Where is she?!”

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        “Wha-wot-what?” Elrohir said incredulous.


        “Father!” Elanor shouted running back into the dell with Rosie running beside her and


 Elerith and Niphredil following cautiously.


        “Wait!” Eldarion shouted and they stopped. He examined Sam’s chest but could not find


 any bleeding or a blemish, “Sam! Are you alright?”


        “Let me go!” Sam shouted. Eldarion’s strange reactions didn’t remove his fear for


 Elanor’s safety. “Is she alright?”


        “Yes Sam,” Eldarion answered, motioning her and Rosie over. “She is fine.”


        Rosie kneeled beside Eldarion crying and she hugged Sam tight, “Oh, Sam…”


        Elanor reached them and hugged her parents.


        “You’re safe!” Sam laughed through his own tears, “When I saw that Nazgûl pointing his


 bow at you – ”


        “You don’t remember…?” Rosie asked.


        They let go of Sam and held him at arm’s length, examining his shirtless hairy chest and


 healed skin. They pressed their hands against his heart and felt the strong and steady beat.


        Sam looked down at their hands and back up, “Remember what?”

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        Rosie pointed tentatively at his torn and bloody shirt on the ground and his blood soaked


 breeches below his belt.


        “But… how?” Sam asked.


        Elanor turned to Eldarion, bowed her head and curtsied all the way to the ground. Fresh


 tears sprang from her eyes, “The hands of a King are truly the hands of healer.”


        “Nothing would please me more than to take credit for this,” Eldarion said. “I wish I had


 such power. But the wound was mortal. Beyond anyone’s ability to heal.”


        “Oh no,” Elanor said. “You used it, didn’t you?”


        “Yes,” he answered.


        “Used what?” Rosie asked.


        “How much?” Elanor asked.


        “There is no point in keeping a secret that no longer exists,” Eldarion said. He held up the


 half-empty vail. “The injury was so severe I used half of all I had and now I fear there is not


 enough left to save even half our fallen friends.”




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        Elanor held Eldarion at arm’s length, pulled him into her arms, hugged him tight, and


 cried, her joy tempered by the knowledge that his gift would one day be paid for with the life of


 someone else, perhaps even today with the lives of these fallen princes, “Thank you.”


        Eldarion went to where Celendrian had fallen, but Pingyang kneeled beside him.


        “May I, fair prince?” she asked with her hand out.


        “Please,” Eldarion said handing her the flask.


        “However sever the injury,” she told him holding the vial over Celendrian’s mouth and


 gingerly letting fall a single drop, “It takes no more than one.”


        A moment passed. Then two.


        Celendrian breathed deeply as if awakening from deep sleep, opened her eyes, and sat up,


 “Pingyang, Eldarion, good to see you. What happened?”


        Sam at last understood.


        Pingyang went to her brother and let fall another drop. When she had roused him she


 went around the dell administering a single drop to all who had been wounded or fallen to the


 Grey Breath. But Eldarion had used so much on Sam, before Pingyang had healed Idris there was


 none left and she lay silent and unresponsive on the ground.

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         “Keep her warm,” Eldarion told Éodyn and Liathwyn who hovered over their sister as he


 covered her in a blanket. “I will attend her as soon as we return.”


         Elrohir handed Sam his torn and bloody mithril coat, “Your questions must wait. My


 brother’s life is at stake.”


         A pang struck Eldarion. If something happened to Elladan that could have been healed by


 the Waters, which he had used incorrectly and were gone, it would be his fault.


         “Nothing is going to happen to Elladan,” Eldarion said. “It is time to go to work.”


         He vanished.


         Sam put his finger through the hole in his mithril coat but stayed silent. He pulled it on


 over his head.


         “Theo!” Elanor cried and he appeared beside her with her Ring in his hand. He gave it


 back, she put it on and vanished.




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        On the flat top, Erestor stood beside Elladan’s hooded head holding a grey sword in one


 hand and a grey dagger in the other with the glinting sharpened edges crossed and pressed


 against Elladan’s throat. Elrohir appeared before him.


        “There they are,” Erestor said looking at the Rings Elrohir wore invisibly, “Let us play a


 game prince Elrohir.”


        “I do not play games with murderers for my brother’s life!” Elrohir shouted.


        “This game will be fun,” Erestor said and he smiled. “It is called, ‘Will He Trade His


 Rings For His Brother’s Life And Mine?’”


        Still invisible, Elanor drew her father’s Barrow-sword, blade of Westernesse she’d been


 wearing since she rode away from her uncle Tom’s farm. She realized she should have split her


 time between Alatar and Eldarion and learned how to handle a sword like a sword, not a knife.


        Her best bet was to stab Erestor in the leg and give Elrohir a chance to disarm him.


        “No, no little hobbit wench,” Erestor said and he threw his dagger at her.


        Eldarion appeared between them with his shield raised blocking the dagger which pierced


 the metal but stuck, held fast.




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        “Glorfindel!” Alatar called standing in the center of the entry arch staring into the


 Osgiliath-stone, “By the authority of Mandos invoked within this ring of broken stones, I


 pronounce your Doom, unworthy to use the Palantír or assault the faithful servants of the Valar.


 Axan delgûmâ Mâchananaškad dâhan-igwiš-telgûn ulubôz phanaikelûth!”


        The Osgiliath-stone glowed grey, purple, red, orange, gold, yellow, white too bright too


 look upon enveloping Erestor within the overwhelming radiance and blinding him.


        Having been warned by Alatar through the link he shared with Elrohir, Elladan had


 closed his eyes and looked away. Now, guided by Elrohir’s eyes, he kicked Erestor in the head


 and he fell backwards.


        Elrohir leaped forward. Erestor rose and blindly began reciting a necrotic death spell but


 before the last word, Elrohir drove his short sword through Erestor’s throat.


        Erestor gurgled, blood poured down the fuller of Elrohir’s sword and down Erestor’s


 pierced insides filling his lungs. His hands clutched the sword in his throat and he cut himself


 deeply trying to pull it out. More of Erestor’s blood stained the arms of his robes.


        Elrohir pulled the sword out and Erestor fell to his knees, stared at them, and fell dead.




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        “I hope Glorfindel got a taste of his own medicine through the Elostirion-stone before he


 died,” Alatar said searching Erestor’s body. He removed the golden ring from the third finger of


 Erestor’s left hand, pocketed it, and took the keys which hung from Erestor’s belt.


        Celendrian appeared beside him, “He got a double dose. One through Erestor’s mind and


 another through the Elostirion-stone he has been keeping in Rivendell. Because what you see


 before you isn’t the Elostirion-stone, it’s the Osgiliath-stone. Hello,” Celendrian curtsied, “I am


 the Princess Celendrian Telcontar.”


        “Your Highness,” Alatar bowed. “It is an honor to finally meet. I am Alatar the Blue, a


 Wizard of Aman.”


        Elrohir put a crate that had held a section of the marble pillar beneath Elladan’s feet to


 relieve his weight off his hands while Alatar unlocked his shackles.


        “Thank you Alatar,” Elladan said massaging the red welts on his bruised wrists.


        “Prince Elladan,” Alatar said. “It is an honor to meet.”


        “Elen síla lúmenn' omentielvo,” Elladan said bowing deeply, “The honor is mine, mighty


 Morinehtar.”




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        Eldarion hugged Elladan, Celendrian hugged them both and Elrohir hugged all three of


 them. Elerith went around the circle hugging each of them in turn.


        Alatar went to the ledge where the Nazgûl had stood, looked over the edge, found the rest


 of their companions waiting in the dell five-hundred feet below, and signaled them to come up.


        He returned to Eldarion, Elanor, Celendrian and the twins and told them, “I searched the


 other Nazgûl but there were no Rings on them or any of their undead fingers.”


        “Once a Ringwraith is created, their Rings are no longer required to keep them enslaved,”


 Elladan told him.


        “When I fought Glorfindel in Bree,” Alatar said, “he wore all Nine.”


        “Elerith discovered Glorfindel stopped here and returned Erestor’s Ring to him after your


 battle,” Celendrian told him. “Before returning to Rivendell.”


        “Which means we must go to Rivendell to get the rest,” Eldarion said.


        “We have the recovered the Elostirion-stone, lost a generation ago, the Prince and Royal


 Uncles are safe, and we have won another Rings of Power,” Alatar said. “We must take these


 things to Minas Tirith and present them to the King. It is for King Elessar to decide when and


 who shall attack Glorfindel.”

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        “Who calls my name?” Eldarion asked.


        Everyone looked around but not even the twins with their Elvish hearing could hear.


 Eldarion’s eyes settled on the Osgiliath-stone. He approached the pillar, put his hands on the


 surface and looked deeply into the grey depths.


        “Eldarion!” a faint voice cried growing louder from deep within, “Can you hear me?”


        Everyone could now hear the voice they and saw the grey mists parting in the Osgiliath-


 stone revealing the worried face of King Elessar.


        “Father!” Eldarion cried. “I can see and hear you, and so can everyone else.”


        “I was helpless to aid you,” Elessar said. “But I could not look away from the Anor-stone


 while you fought Erestor and the Nazgûl… I am so proud of you. All of you. As a King, in the


 name of Gondor and Arnor, you have my thanks. As a father, I thank you too. All of you.”


        Eldarion bowed, and everyone else curtsied or bowed too, “As your loyal subjects, we are


 honored to serve our King. As your son, I am grateful my actions have met with your approval.”


        “Celendrian!” Elessar called. “Elerith, step forth.”


        Dutifully, they rose and stepped up to the Osgiliath-stone beside Eldarion.




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        “Though you disobeyed my commands,” Elessar said. “By failing to go to Annúminas


 and creating the Prince’s Brigade with my other disloyal subjects, you defeated Erestor and the


 Nazgûl, routed their armies, saved many of our most trusted subjects and princes, including the


 Crown Prince and Heir, and your uncles. You have our thanks.”


        They curtsied and Celendrian said, “We are grateful for your forgiveness, and pleased our


 actions have met with your approval, your Majesty.”


        “Where is the Queen?” Elessar asked.


        Eldarion looked at Celendrian and Elerith, “I thought she was with you.”


        Elessar’s face vanished and Thüringel appeared within the face of the Osgiliath-stone in a


 dark dungeon lit by low burning smoky torches. Beside her, Arwen stood on her own feet with


 her hands chained to a wall over her head, as Elladan had been chained.


        “Mother!” Elerith cried.


        “Yes,” Thüringel cackled wickedly. “I have your mother, princess. You snot-nosed brat!”


        “If you so much as harm a single hair on her head,” Eldarion said, “you will answer to


 me, and I swear your death will be slower and more painful than any you can imagine.”




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        “Ho ho!” Thüringel cried, delighted by the thought. She struck Arwen’s face so hard she


 drew blood. “Come little princeling. I want it!”


        Alatar stepped up to the stone and raised his staff, “Akašân axan! Athâra axan!


 Amanaišal axan!”


        Thüringel screamed, her form shimmered and for a moment they saw her as she truly


 was: a grey, blood-bloated vile dead thing with fangs, black lips, a bloated belly, obscenely


 bloated breasts, and worms, maggots and lice eating away more and more of her decayed,


 disfigured, half-rotted face, and they writhed through her filth-caked, grey-white hair.


        “Orro!” she cried. “Atto, úcarnet nin. Ánin apsenë, ani lerya… ván.”


        Some on Weathertop gasped, many turned away from the palantír, sickened or disgusted.


        “Súrë túla cendeletyallo,” Alatar said. “Áva quetë.”


        She shimmered again and he fair form returned, “Do as you like. Her brother Estel will


 soon be my guest here in Glorfindell, and I have no control over him. I understand he has been


 looking forward to being alone with his sister for quite some time. You know what they say


 about… no, never mind. We should keep that in the family.”


        “Lúmë mana?” Elladan asked.

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        “Lá istan quet' Eldarin,” Thüringel snapped.


        “I want to speak to Glorfindel,” Alatar commanded.


        “He’s a bit indisposed,” Thüringel said. “But don’t think your nasty trick had anything to


 do with it!”


        Alatar smiled, “I wouldn’t dream of it.”


        “Do not dream of coming to Glorfindell either,” Thüringel told him. “Arwen is


 unharmed, relatively. And untormented. But she will suffer her mother’s fate, and much, much


 worse, if any one of you steps one foot anywhere near Gondolin. I will sense it, I will know. But


 the High Queen Arwen is the one who will pay the price.”


        The palantír went dark.


        “She is completely insane,” Elrohir told Alatar.


        Elessar’s face returned to the surface and he stared at them through the palantír.


        “How did the Queen become a prisoner?” he asked looking back and forth between


 Elerith and Celendrian.


        “We saw Glorfindel and his band of Easterners leave Rivendell to waylay Eldarion in


 Bree, and Erestor setting a trap for Elladan and Elrohir at Weathertop, so we split up,”

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 Celendrian answered. “It was only much later when Elerith and I saw there were traps within


 traps. But we failed to see how many. We were able to rally your loyal subjects and defeat this


 trap, but the Queen rode into another we failed to see.”


        “Her company was waylaid by Thüringel leading a large regiment of Trolls, Orcs and


 Goblins,” Elerith told him. “The Queen’s Royal Guards and Handmaidens were killed.”


        “Where is she being held?” Elessar asked.


        “In the dungeons of Rivendell,” she answered.


        “There are no dungeons in Rivendell,” Elrohir told her.


        “There are now uncle Elrohir,” she told him.


        “We cannot sit idly.” Elessar told them. “But Glorfindel is gathering many new allies.


 Not even the united armies of Arnor, Gondor, Ithilien, Dol Amroth and Rohan will stop them.”


        “What do you propose?” Eldarion asked.


        “The time has come to open the Treasury of Aman Sûl,” Elessar answered. “To claim the


 heirlooms of the House of Elendil long hidden, set aside for a day as grievous as this.”




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                                             Chapter 5




                                    The Treasury Of Aman Sûl




        The Royal Guards of the Palace of Anor packed and removed the marble pillar and the


 Palantír of Osgiliath from Weathertop, carrying it down the winding slippery path to be loaded


 on the carts and horses waiting a thousand feet below.


        Elladan and Elrohir knelt before the edge of the square stone at the center of what had


 once been the first floor of the now fallen tower and they searched for runes or inscriptions.


        “We do not have time to wait for the moon,” Alatar said raising his glowing staff.


        “Wait!” the twins shouted.


        It was too late. Alatar drove his staff down and struck the stone.




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        A blinding flash and thunderous clap blasted the wizard across Weathertop and threw


 everyone backwards away from the center of the ring of stones. Only Alatar’s own windward


 enchantments prevented him from flying off the edge.


        A powerful gust pushed him back from where his body teetered over the lip. He fell to


 the ground disheveled, breathless and bruised.


        Eldarion and the twins ran over to him and picked him up, “Are you alright?!”


        The wizard grasped the twin’s extended hands and with their help he pulled himself up,


 “More surprised than hurt. I think. I am so very sorry. Are you all alright?”


        “You bore the brunt of it,” Eldarion said picking up the wizard’s staff from where it had


 fallen and handing it to him, “We barely felt it.”


        “Speak for yourself!” Fastred said alarmed, picking himself and Elanor up off the floor,


 while Sam helped Rosie up. He rubbed his bruised forehead. “That knocked the wind out of us.”


        “The door to the Treasury of Aman Sûl cannot be broken by magic,” Elrohir told him.


 “Unless you break the hill itself. But then the treasures would be lost.”


        “How will we gain access?” Alatar asked.


        “Lady Elanor,” Elladan beckoned with his hand, “Where will wanes, wile will win.”

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        She took his hand surprised. The others cleared a path for her and he escorted her to the


 center. They kneeled, joined by as many others as could fit along the four sides of the stone. All


 who could extended their senses, trying to help find the inscriptions on the weathered rocks.


        “I’m sorry,” Elanor told him. “But I don’t see anything.”


        “Are you sure it hasn’t worn away?” Celendrian asked.


        “Yes,” Elrohir answered. “Some writings do not wear.”


        “Different from the ithildin letters you have seen elsewhere,” Elrohir said. “Or the


 lachtêw not even Sam has seen, though he carried them invisibly on the golden band when he


 wore the Ruling Ring in Mordor.”


        “What are lachtêw?” Elboron asked.


        “Letters of leaping flame,” Elladan answered, “used by Sauron to write Barzhûrk in


 Tengwar script on the surface of his Ring.”


        “That sounds evil,” Sam said shuddering at the memory of his journey through Mordor.


        Elladan turned to Elanor, “Within your Ring there is a power I would like to aid you to


 access, so we may find the gwâthteitha hidden on this stone.”


        “Of course,” she said removing her Ring and offering it to him.

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        “Your control grows quickly,” Elrohir said refusing the Ring, but noting he had not seen


 a Ring on her hand and she had remained visible.


        “Not quickly enough,” she responded, dismayed she hadn’t contributed to the battle.


        “One of the abilities conferred by your Ring is a heightened ability ‘see,’” Elladan told


 her. “But it can also take that power away. Not only from yourself, but from everyone around


 you by enveloping all about in shadow.”


        “How do I do that?” she asked putting the Ring back on and remaining visible while


 reflexively she unconsciously made Oialëhén invisible.


        “Close your eyes, concentrate, and become one with your Ring and the power within,”


 Elrohir answered. “Imagine everything is enveloped by shadow, and everyone here is blind.”


        “I hope this works,” she said closing her eyes and concentrating, focusing on her Ring. A


 minute passed. Nothing happened. Then another. Only Elrohir knew Elladan was feeding her fëa.


        Eldarion was the first to notice the light was fading, slowly at first, then darker and faster


 until everything quickly turned black.




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         Then they saw an unexpected and even stranger thing: everything that had been shrouded


 in shadow before the light faded grew bright and everything that had been illuminated by the


 bright daylight stayed dark and impossible to see.


         The twins looked at the stone square with everything enveloped in the bizarre reverse


 negative light they had never imagined existed. Across the dusty surface, cold dark grey letters


 extinguished the orange brightness growing on what had once been a dark grey granite surface.


         “This is not Tengwar,” Eldarion observed.


         “Correct,” Elrohir affirmed. “It is Gongwar.”


         The twins pressed their palms against the stone and pushed. First down, then left, then


 right, then right again.


         “You can stop,” Elladan told her.


         She opened her eyes, the strange darkness full of stranger light vanished, daylight


 returned and everything appeared as it had before. Beneath them, the stone the twins had pushed


 sank slowly into the floor. Everyone jumped up and stepped away. A second stone descended


 following the first, then a third, then a fourth, and another, and another and many more. They


 retreated beyond the ruined stone foundation of the fallen tower and watched.

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         Within the center of the floor, the entrance to a wide stone staircase opened and the steps


 descended into the dark and hidden depths beneath the ruins of Aman Sûl.


         “Normally,” Alatar interjected, “I would feel compelled to lead. But after my last attempt


 at leading, I feel a bit like following.”


         “Would either of you like to go first?” Eldarion asked Elladan and Elrohir.


         “If there’s one thing a hobbit’s good for,” Theo said, “it’s exploring holes.”


         He led Fastred and Elanor down the steps into darkness, and Sam and Rosie followed


 hand-in-hand, followed by the twins, Alatar and Eldarion, Celendrian and Elboron, Elerith,


 Niphredil and the others tentatively, sometimes fearfully, and a few very reluctantly.


         “I have no doubt Lady Elanor has added seeing in the dark to her growing talents,”


 Eldarion told Elboron half way down, “But the rest of us need torches.”


         “Allow me,” Alatar said. He lifted his staff and it began to glow with a pale blue light,


 dimly at first, but as he walked down and their eyes adjusted, the light grew brighter.


         At the bottom they found a large stone chamber whose walls extended to the sides of the


 hill. In a wide circle beyond the staircase lay a stone henge, and within the henge in a circle




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 stood twelve large oval Guardian Stones, twelve feet tall, six feet wide, with four distinguishable


 sides, and each one had three distinctive triangular faces set at slightly different angles.


        “These Guardian Stones call for aid,” Elrohir said.


        “What kind of aid?” Eldarion asked. “I hear them too but cannot distinguish their voices.”


        “Freedom from their prison,” Elladan answered.


        Alatar lifted his staff but before he could extend it forward Elrohir stopped him, “Wait.”


        “I’m waiting,” Alatar said freezing in place and holding his staff immobile.


        “They are calling… Fastred?” Elladan said surprised.


        Everyone turned to Fastred.


        “Me?” he asked, more surprised than any of them.


        The twins nodded and stepped aside for him.


        Before him loomed the largest Guardian Stone facing the platform at the bottom of the


 steps. He looked around but no one knew any more than he did, which helped him feel less self-


 conscious. He walked up to the stone and knocked on the surface three times, “Hallo?”


        There was no response. But with every step he’d felt the weight of the Turin-stone around


 his neck grow heavier. He withdrew the mithril locket and opened it.

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        Since the day Círdan gave him the Stone, it had remained the deepest darkest black. But


 now in the center, the impression of a star glowed faintly, bluish-white at first, then brighter with


 a white multicolored light, as a living star. Twelve beams of radiance shot out and struck the


 twelve Guardian Stones arrayed in a circle around him.


        The rocks seemed to drink the light, which crackled and glowed along the edges of the


 four sides and twelve distinctive faces. It fizzled and faded, then waxed and grew brighter and a


 line of brightness divided each Stone in even halves. Two more lines appeared along the beveled


 edges, then four, then more until all thirty-six edges on the twelve angular faces were


 illuminated. With a grinding and a snap, they began to move opening like the shells of crabs,


 though not warm-blooded mammals or cold-blooded reptiles, but moving things of living stone.


        Two of the twelve surfaces on each stone fell slowly forward, touched the ground and lay


 flat like the soles of the Stone-men’s feet and each one bore three stone toes, two forward and


 one facing backwards from the center of their heels. Two more flat surfaces opened outward and


 become the Stone-men’s hands, and each unfolded with two stone fingers and a large stone


 thumb. Two more sections unfolded from themselves and became the Stone-men’s legs, two the




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 upper and two the lower arms, and two the sides of the Stone-men’s backs, and last unfolding


 and protected from the center of the stone came the Stone-men’s heads.


        When the Stone-men finished unfolding they stood tall, opened their stone eyes and


 looked around with their grey stone faces. They towered over everyone’s heads, and with their


 arms extended were almost as wide. The triangular plains on the flat backs of their stone arms,


 legs, and shoulders gave their movements a powerful air.


        The Stone-man in front of Fastred stepped forward, his large heavy stone feet struck the


 ground and shook the chamber. Every step raised dust. His movements were sweeping,


 somewhat rigid, not limber, but neither lacking grace.


        He thudded to a stop before Fastred, went down on one knee, bowed his head, the other


 Stone-men kneeled, and he said, “Who has freed the Stone-men of Zirakzigil from our prison?”


        Fastred looked around at Eldarion and the twins, and Alatar nodded to him.


        “I’m – Fastred. Uh… oh, son of Folcred, of Longcleeves, in the Shire,” he answered.


        “Fastred son of Folcred, of the Shire,” the Stone-man said. “I am Mytikas, son of Genesis


 the Protolith, King of Stones, the Peak of Petradons, and Apex of Pinnacles. I am the Prince of


 the Metamorphs of Archany, in Lithos and Rhodium, and the leader of the Cementation of the

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 Dodecahedrons, formed from among the Dodecatetrapetroandri, called by Dwarves the Zirik-


 zigal, the People of the Living Stone.”


        Fastred stared at Mytikas’ bowed head, speechless. Eldarion tapped him and motioned to


 Mytikas with his eyes, lifting his chin.


        “Oh! Rise mighty… Mytikas?” Fastred said.


        Mytikas rose, a broad smile on his grey stone face and a twinkling in his grey stone eyes,


 and the other Stone-men rose too.


        “How were you imprisoned in the Treasury of Aman Sûl?” Alatar asked.


        “We were born in the light of the stars before the stars and witnessed the Ainur enter Eä,”


 Mytikas answered. “Our ears heard the Valar sing the Ainulindalë and our eyes watched the rest


 of the world come into existence. But Melkor cast down the Lamps so Manwë created the Order


 of the Guardian-stones to protect the Valar. Guardian-stones do many tasks for them and protect


 many realms, from Valinor to Under-earth. My father appointed me and my Dodecs the


 Guardians of the Trees, Telperion and Laurelin, that grew in Aman. But Oromë, Tulkas and we


 Dodecs were bound by Ungoliant’s Unlight. Many Stones were broken and the Two Trees fell to


 her ravenous hunger. The Cementation rallied and we freed the Valar and drove her away in time

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 to save enough for Aulë to create the Chariots of the Sun and Moon. No longer needed above the


 Earth, we returned to the War of the Three Kingdoms.”


        “What is the War of the Three Kingdoms?” Eldarion asked.


        “The Three Kingdoms of rocks have warred since the Beginning,” Mytikas answered.


 “Long before Collocoll, Gnomes or Nameless Things sank below the earth, or Dwarves, Elves,


 Ents, Ink, or Men rose above.”


        “Why?” Fastred asked.


        Mytikas looked down, “We do not know. This war has always been. It is written in the


 Annals of the Stones, ‘No vestige of a beginning, and no prospect of an end.’”


        “But you are Metamorphs,” Elrohir said, “the mightiest rocks. Who could defeat you?”


        “If our war was confined to those cluskshlum Igneous and pfouthmryscuk Sediments, we


 would have long ago been victorious,” Mytikas told him. “But it has not. Inaequalis the Xenolith


 swore allegiance and servitude, and now worships the Mad Valar – Ulbandi. They set in stone


 her road to conquest in Under-earth. The treachery and Dark Valarin Arts of Ulbandi gave


 Inaequalis the power to take the throne of Tantalum and conquer the Igneous in the many realms


 of Mohoro. But that was not enough to sate Inaequalis’ porous thirst for power. He made war on

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 my father King Genesis and has laid waste to much of Mesos. Now, he has done the unthinkable:


 destroyed the Gardens of Asthenḗs, our Stoneries where new Stones are formed and born. It was


 there protecting them the treachery of Inaequalis allowed Ulbandi to defeat the Guardian Stones,


 the Cementation of the Dodecahedrons, the oldest and most powerful of the


 Dodecatetrapetroandri. Bound by dark enchantments, she cast us out of Gaiaspheria and


 imprisoned us here. Inaequalis conquered the rest of Asthenḗs, usurped the crown of the King of


 the Igneous, and now rules in Perfidy.”


        “Who’s Ulbandi?” Fastred asked.


        “Ulbandi was one of the Valar,” Alatar answered. “The intended bride of the Vala Draëd,


 King of Earth. But when Ilúvatar chose all male Vala to spearhead Creation, she objected,


 demanding an equal number of female Vala act as guides. Her demands were met with Silence.


 Some say the Silence That Devours which grows in Harad was the Silence of Ilúvatar,


 transformed into a murderous weapon to destroy Creation by the Mad Vala Ulbandi. When


 Draëd tried to stop her, she murdered him and seduced Melkor, who had been the betrothed of


 Nienna. It was Ulbandi who turned Melkor to the Dark Side.”


        “Is this why Nienna is the Queen of Tears?” Celendrian asked.

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        “It was not always so,” Alatar said sadly. “Before Ulbandi’s treachery, Nienna was the


 Queen of Poetry, delicate and beautifully fragile things: faeries, saplings, crystals, babies,


 laughter, love, reflection, memories, wings. Tragedy was born when Ulbandi betrayed Nienna.”


        “We witnessed the Kinslaying of the Valar,” Mytikas told them. “Ulbandi may have been


 the first to Fall, but Draëd paid the price. He was first to pass the Doors of Night to whatever lies


 Beyond. It was the birth of Evil in Eä. A sad and dark time in Arda before the Lamps, and


 Ulbandi and Melkor have birthed countless Evils since. But we must return to the Kingdom of


 Archany. In our absence, the war against the Sediments and Igneous has gone badly for the


 Metamorphs. But the Dodecs are forever indebted. If you need us, call. We will come at


 Fastred’s summons in the Turin-stone.”


        Mytikas turned and before him a red line glowed in the center of the wall of the staircase,


 two more red lines appeared parallel to it, then three lines crossed the first three diagonally, then


 six more, then twelve, then many more. They formed hexagonal patterns and one-by-one


 hexagonal stone blocks of descending heights slid out from the wall, threaded side by side to


 form a hexagonal stepped staircase leading up to the hexagonal opening.




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        Beyond the wall, unfolding before them was the rising, descending, moving, twisting,


 turning, expanding, contracting, reversing, growing, shrinking Escherscape of Archany


 appearing and disappearing in every direction.


        “Until all is lost in ice or fire,” Mytikas said waving his arm and all three fingers.


        He ascended the stairs with heavy plodding and powerful steps that shook the floor,


 stepped into the Escherscape onto a large twelve sided stone platform from which twelve stone


 staircases rose or descended, connecting to countless others disappearing and appearing in the


 endless distances of stone, and the lumbering but gracefully mighty Dodecs followed.


        When the last passed beyond the plain of the surface of the wall, the hexagonal steps rose


 one by one returning to the Escherscape, filling the wall and the surfaces closed. The bright


 white lines slowly dimmed to a dull red, shrank, and dwindled from the outermost 736 to 368 to


 184 to 92 to 48 to 24 to 12 to 6 to 3 until the last one faded and went out.


        Alatar lifted his staff, a bright blue light shone from the top and they saw along the outer


 edges of the Treasury of Aman Sûl, the floor rose in two concentric circles to the outer walls.


 Each circle formed a wide shelf where metal mesh girdles displayed armored suits of sturdy leaf


 and ring mail ingeniously designed, some galvorn dark and black as night, some bright reflective

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 silver-white of mithril, wrought like fish’s mail shining like glittering river-water under


 moonlight. Within their sheaths, long and short swords, black and silver bows and quivers full of


 arrows, daggers, shields, axes, and helms; and hanging in metal chains from metal arms mounted


 on the walls were many covered lamps.


        Alatar strode to one, “These are Fëanorian lamps.”


        “What do they do?” Elanor asked.


        He removed the cover and a beautiful blue light lit the entire chamber with soft blue but


 heatless fire that had been captured in the smoky white multifaceted crystals.


        The ithildin letters on the invisible Rings of Power that Elanor, Eldarion, Elladan,


 Elrohir, Celendrian and Elboron wore glittered brilliantly with blue light.


        Almost as one, their brows furrowed and the ithildin litters which seemed to hover over


 their fingers in midair vanished. They regarded each other gravely yet with wonder, but said


 nothing and no one questioned them.


        “These were crafted in Valinor,” Alatar told them picking a bright lamp up from off the


 wall by its chain. “By Fëanor, the greatest Elvish smith. This chain is mithril and the crystal is


 silma. The same he used to capture the light of the Two Trees and create the Silmarilli.”

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        “What is the source of the light?” Elanor asked peering into the smoky crystal but not


 even her Ring enhanced senses could penetrate its depths.


        “I do not know,” Alatar answered. “It is said these lamps cannot be extinguished by wind


 or water. Though lesser known now, in Valinor, Fëanor was almost as famous for his lamps as he


 was for the Silmarilli. But he kept no records and when he died, the craft was lost. I think this


 convinced Celebrimbor to create his library and archive that we must find: he did not want the


 skills he’d discovered to pass unremembered, or die with him if he should die, as Fëanor did.”


        “Elboron, Ælfwine,” Eldarion commanded. “Before we leave, count and gather all of


 these. We are taking them with us.”


        “We will not leave any of these treasures behind,” Elladan said stepping up to one of the


 chain mail suits. “Half are mithril. I did not know so much mithril had been mined, much less


 gathered in one place outside of the Palace of Anor.”


        “The mining of mithril began in the first age, tens of thousands of years before you born,”


 Alatar informed him, “And continued until the middle of the Third Age.”


        “Then where has all the mithril gone?” Celendrian asked.




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        “It was plundered and hoarded by Sauron,” Alatar answered, “But what became of his


 hoarded wealth, I do not know.”


        “The black metal is galvorn,” Elrohir told them. “Harder than mithril, though heavier, an


 alloy forged by Eöl, the Dark Elf. Mithril has grown so precious it has passed beyond price, but


 galvorn never had a price. It was believed all Eöl’s works were lost in the Fall of Gondolin.”


        “There’s some galvorn in Lindon,” Fastred told him.


        “And apparently,” Celendrian added, “Tuor saved more than a few things.”


        A dais rose on the top tier of the Treasury and at the far end there lay three large


 intricately patterned solid black galvorn metal boxes.


        “These are the loksboks of Eöl,” Elrohir said. “Our histories say they were only used to


 safeguard the most precious treasures.”


        “Can you open them?” Eldarion asked.


        “Yes,” Elladan laughed. “It is absurd.”


        The twins carried the largest loksboks together to the base of the steps which led back up


 to the surface and the others carried the rest. They put them in the sunlight and within the black




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 metal grew letters in shoots of green, like Spring saplings, forming ancient runes. The twins


 spoke the rune written commands and the loksboks unlocked with clicks and clacks.


        Lifting the heavy galvorn lid of the first, Elladan revealed the beige interior, a soft,


 lustrous, smooth, flax and nettle fabric which lined the form fitting compartments housing a


 scabbarded sword, spear and helm. Above each one on a mithril label plate were green runes.


        “This is Aranrúth,” Elrohir told them, lifting the scabbarded sword. “Named ‘The King’s


 Ire.’ It was the sword of Elu Thingol, ambassador of Elves in Valinor, companion to the Valar


 Oromë, Ruler of Doriath, father of Lúthien, wife of Melian in ancient Beleriand before it Fell


 beneath the seas. Aranrúth was taken to Númenor by Elros and was ever the Sword of Kings.”


        He picked it up and carried it to where Eldarion stood in the center of the group, flanked


 by Elboron, Ælfwine, Xiang, their sisters, Manus, Malvia and the hobbits. But instead of handing


 it to him as everyone expected, he gave it to Celendrian, “This is yours.”


        “Thank you,” she said shocked. She clutched the sword to her chest and through her


 sudden tears she cried, “I… remember my sword. My sword! I remember!”


        Elboron held her trembling in his arms against his chest and he quieted her tears.




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        “May it serve you in good stead,” Elrohir said. “I fear your needs will be as great as any,


 if not greater than the deeds you may do with this blade.”


        From the same loksboks, Elladan removed the large mithril helm adorned with gold and


 engraved with runes of victory. It had a visor and on its crest, an intricate and beautifully crafted


 golden dragon, “This is the Dragon-helm of Dor-lómin, which bears the image of Glaurung. It is


 said anyone who wears it is protected from earthly weapons or wounds, even death. A sword that


 hews it breaks. Darts and arrows spring aside and the hearts of the hosts of the one who wears it


 are lifted high in battle. It was once written in Beleriand, the hosts of Hador cried, ‘Of more


 worth is the Dragon of Dor-lómin than the gold-worm of Angband!’”


        As his brother had before him, Elladan approached the group and Eldarion felt sure this


 was why Elrohir had not given him Aranrúth, to underscore the enormity of what in his mind had


 to be the greatest armament he could think of ever wielded in Middle-earth.


        But Elladan put the Dragon-helm of Dor-lómin on Ælfwine’s head, “You are our Dragon


 Slayer. Just as Azaghâl, Lord of Belegost gave this Helm to Maedhros for saving his life, I give


 this to you for saving the life of the Queen.”




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        “I told you I wanted to learn how to do that!” Elboron shouted slapping Ælfwine’s helm


 covered head. “Let’s hear it for Ælfwine!”


        In their amazement and overjoyed at this sudden turn of good fortune, enthusiastic cheers


 broke out from everyone and they clapped and congratulated Ælfwine, who removed the large


 helm and simply stared at it. He looked up at the happy faces of his friends, not quite believing


 what was happening, but filled with an elation and delight he’d never known.


        Elrohir lifted the nine-foot long, curved black galvorn spear and they saw it was broken


 in two pieces. The tip ended in a sharp two-foot blade etched with brass filigree and it bore the


 runes of a Ñoldorin Elvish inscription:




        “What does it say?” Elanor asked.


        Elladan read the runes out loud, “Gil-galad ech vae vaegannen matha/Aith heleg nín i


 orch gostatha/Nin cíniel na nguruthos/Hon ess nín istatha.”


        “What does that mean?” Fastred asked.

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        Eldarion knew the verse by heart, “Gil-galad wields a mighty spear/Orcs well fear my


 point of ice/Seeing me, they face their fears/Fighting me, they earn their deaths: Aeglos.”


        “With your permission, Prince Eldarion,” Elladan said. “This is an Elvish glaive forged


 for the hands of Elves.”


        “Of course,” Eldarion said agreeably, silently wondering if he was going to get a sword,


 knowing if he did, it couldn’t possibly be as legendary a weapon as the ones he’d already seen


 distributed to others. But no matter, he would make do with even a common blade. His skill was


 such it was all he needed. He had before. The fortunes of war made certain he would again.


        Elladan gave the broken spear to Elrohir, “When we retake the smithies of Imladris, this


 will be reforged, as Narsil was. The two blades that mortally wounded Sauron and broke outside


 the walls of Barad-dûr will be fitting companions when you wield this beside Elessar, for even in


 defeat, the victory went to Gil-galad and Elendil. You will wield this spear against Orcs and


 Orcelven. They will see in its glittering blade their deaths, and we will at last fulfill our Oath.”


        Elrohir accepted the Spear gratefully and bowed. He set them aside, opened the second


 loksboks, and lifted a black iron sword in a leather scabbard, “This is Anguirel, Iron of Eternity,


 forged of baenpet, called the ‘Metal of Heaven’ that fell as a flaming star, one of two made by

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 Eöl, but the other was lost. There is no hide or skin it cannot pierce, no creatures blood it cannot


 drink and kills with its thirst for blood alone. It can cleave all earth-delved metals, even mithril.”


        He approached the group but clearly wasn’t heading to Eldarion, giving Anguirel instead


 to Elboron, “This is yours.”


        “Way to go, Elboron!” Ælfwine shouted slapping him on the back, “So now you don’t


 have to be mad at me. But you do have to be very careful not to cut my helm!”


        Elboron blushed, unused to being the center of attention in this particular group, and he


 bowed gratefully to Elrohir, “Thank you. I am humbled by your generosity.”


        Again, great cheers of wonder and delight broke out, everyone applauded, and he got a


 kiss from Celendrian who brightened and laughed happily at their good fortune.


        Elladan lifted a second sword from the loksboks but even in the dim lamp light, this one


 glowed the lightest brightest gold they had ever seen, “This is Illuin, the Sword of the Sun,


 forged not in Middle-earth by human hands, but in Valinor by the Valar Aulë, with the same


 metal he used to make the Chariot of the Sun. It is one of only two swords successfully alloyed


 with mithril. Illuin is an alloy called milectrum, mithril and gold, of which it is the only one. It




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 cannot be broken, not even by Morgoth, nor melted or bent. It will not chip, tarnish or rust, it can


 absorb or deflect heat or flames, even dragon fire and it will never lose its edge.”


         Elrohir lifted the last sword from the second loksboks, a silver-black blade and scabbard,


 “This is its twin Ormal, the Sword of the Moon, made of githril, the same metal created to forge


 the Chariot of the Moon by Aulë, the second mithril alloy, galvorn and mithril, the only one of


 its kind. It is the lightest, hardest, strongest, sharpest blade ever forged in Arda.”


         Elladan and Elrohir gave these scabbarded swords to Xiang and Pingyang, “You have


 given the House of Telcontar priceless heirlooms and proven your fealty in combat. The servants


 of the King thank you and beg you to accept these gifts in honor of our friendship, as our


 heartfelt thanks for your sacrifices in sparring our kingdoms from the horrors of war, and as a


 token of our appreciation and gratitude for saving the lives of the royal family and our friends.”


         Xiang and Pingyang accepted the swords humbly and bowed, and each of them quietly


 thanked the twins separately saying, “Thank you. Thank you.”


         The other princes tried their best to muffle their cheers out of respect for their losses and


 in response to the solemn carriage of their Eastern guests and newly minted friends, but while


 applauding loudly a few couldn’t stop from cheering too.

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        Elladan opened the third and last loksboks and lifted a heavy double headed war axe,


 “This is Dramborleg, the great war axe wielded by Tuor during the fall of Gondor. No armor or


 helm can stop its blades, no foe can survive its bite. Wielding Dramborleg, Tuor slew five great


 winged Balrog Lords, and saved his people. It has been treasured for ten thousand years and


 survived the Falls of Gondolin, Beleriand and Númenor, yet always found a way. It is one of the


 most precious heirlooms of the Heirs of Númenor and the House of Elendil.”


        Elladan approached the faces of the expectant princes, each one wondering who was


 going to get the fabled weapon, each one envisioning themselves cleaving Balrog Lords and


 dragons. Elladan stood before them silently looking past them. They stepped aside and he gave


 the great war axe of Tuor to Manus Tarqus, son of Oduduwa, trader from Greater Harad.


        “Me?!” Manus asked hefting the heavy war axe, surprised but delighted.


        “Congratulations my friend!” Eldarion cried, clasping Manus about the shoulders as he


 was wont to do, applauding, and the others joined in cheering, and they congratulated him, “We


 would not be here if not for your aid, and I hope we live to see our journeys through to their ends


 together. I esteem your good cheer and great strength, and prize your skill at arms.”




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        “No one here is better suited to this weapon, nor more deserving,” Elladan said. “Many


 are the untold tales of the battles and journeys of Manus Tarqus, son of Oduduwa, fought in


 every corner of the world. Yet greater are the deeds and battles that lie before you, still to be


 done and won, if you persevere. Dramborleg will serve you well, and you will wield it with your


 great strength and aid its bite better than any other in the service of the free peoples of Middle-


 earth, before this gathering of evils we face in this last great War of the Rings.”


        Elrohir drew out a black scabbarded black blade, “This is Dagmor, the Slayer of


 Darkness, the only galvorn blade forged by Eöl for mortal hands to bear, given to Beren son of


 Barahir, lover of Lúthien, who took from Morgoth’s iron crown the Silmaril so they could wed.


 Their descendants founded the House of Númenor. No evil thing, shadow or dark enchantment


 can withstand the stroke of Dagmor.”


        Eldarion was certain this sword was intended for him, but Elrohir gave it to Alatar.


        “Thank you,” Alatar said, surprised to receive the last of the loksboks blades.


        Everyone cheered and applauded, amazed by the myriad wonders they had witnessed and


 pondering the adventures which lay before them, and if truth be told, more than a little afraid of


 the trails awaiting the bearers of these legendary weapons.

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        They were not trophies, nor given to the unworthy, and too often they had been paid for


 with the lives of those who wielded them, which their bearers knew and accepted as the


 responsibilities they had been born with, shouldered or long ago accepted.


        The loksboks were empty and there were no more ornately decorated or rune engraved


 scabbards or swords left anywhere in the Treasury. The group began to break up and they started


 the ordering, packing and carrying out of the treasures.


        “Uncles,” Eldarion said, smiling politely but feeling somehow forgotten. He had no


 sword to replace the ones cloven by the Nazgûl, “Please excuse me. I go to find a fallen sword


 on the plains of the Weather Hills.”


        “We have not forgotten you,” Elladan said, “our most worthy and beloved Prince.”


        The others in the room fell silent and everybody stopped and gave the Elven twins their


 attention, wondering what sword or weapon could match the ones already given.


        Elladan and Elrohir went to the top of the third and highest level and pressed two hidden


 panels. The outline of a secret door appeared, faint at first, and then darker and clearer.




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        Outside the edges of the door at shoulder level, the outlines of two ten inch squares


 appeared, the squares pivoted on metal rods, and so well-crafted was each hollowed stone and


 axis, they swiveled noiselessly revealing metallic figures within the hollow of the other sides.


        Eight-inch mechanical figures, akin to living dolls of men yet not men: they were made


 of bronze with curiously riveted stripped bands of iron and copper around their foreheads,


 throats, arms, waists, and legs, and heavy boots of banded metal and heavy lead soles beneath


 their feet. The figures moved with highly specific motions, as if they were puppets suspended on


 many strings. But there were no strings. In their hands they held small bugles they set against


 their copper lips as if they blew. From deep within came the notes of a rousing song.


        “What are they?” Elanor asked.


        “These are Autono-men!” Manus cried. “I have seen them many times, in the south of


 Hither on the southern tip of South Harad and in the East of Kalormë, that lies East of Hildória


 beyond the eastern edge of the East Sea.”


        “We have them in Hildor and Oronto, in Murmenalda,” Pingyang said. “In the royal


 palaces of Qubing. I received one as a gift from my grandfather when I was a child. So delightful




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 are their melodies, I have faithfully replaced broken parts and kept it repaired and fair, polished


 and burnished bright, such a delight to the eye and ear they are to me.”


        The little Autono-men opened and from the center of the eight-inch figures beneath their


 gears, springs, and levers stepped another six-inch Autono-man. They blew their horns and they


 too opened; from their gear clad breasts stepped four-inch Autono-men blowing their horns, and


 these opened and issued two-inch Autono-men completing the ever higher and happier song.


        The smallest Autono-men were then swallowed successively by the larger ones from


 which they’d come and the rejoined eight-inch Autono-men completed their march around the


 rounded edge within the hollow center of the swinging block of black Númenórean stone. The


 block swung shut and the lines of the swinging blocks vanished within the walls.


        The lines of two more doors appeared on each side of the central door just as big, ten-feet


 tall. These doors swung open inward on perfectly balanced and greased soundless hinges.


        Through the open left door marched a larger-than-life eight-foot tall Autono-man who


 wore the golden crown of a King. He pressed against his copper lips, a golden horn from which


 the refrain of the triumphal song of the tiny Autono-men blew but in a lower key, loud and full


 and deep, the Song of Kings. He marched proudly in a half circle around the outline of the

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 central door, just as the tiny Autono-men had within their tiny hollowed stones, from one door to


 the other, and as it passed Elanor who’s gift was Sight, she thought she saw the lifeless yet


 calculating mechanical eyes of the Autono-man King upon her and her Ring, and also upon


 Elboron, Celendrian, Eldarion, Alatar, Elladan, and Elrohir. She second guessed herself as to


 why those calculating lifeless eyes would single them out, or even whether she had actually seen


 them do it, so swiftly had it happened. The Autono-man King passed through the second door,


 marched down the steps which wound into the depths finishing his song, and with heavy


 mechanical steps he passed out of sight in the depths. The doors closed as soundlessly as they


 had opened, and the lines vanished within the seamless black Númenórean wall of stone.


        The center door soundlessly swung inward revealing a Fëanorian lamp hanging from


 small room’s ceiling on a mithril chain and it glowed with a golden light, the only one.


        Beneath it, a metal stand displayed a mirror-bright reflective silver-white mithril helm


 and ring mail embedded with dazzling white gems which gleamed and glittered as bright as stars


 on Midsummer’s Night. Below the mail lay a blue-white shield set with silima crystals which


 glittered with pale blue light. On a golden baldric in a silima sheath, the hilt of a githral sword


 glittered like ice. Eldarion’s eyes grew wide.

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        “This is the mail of Gil-galad and the sword of Fingolfin, called Ringil,” Elrohir said,


 lifting the baldric and bringing the scabbarded sword to Eldarion while Elrohir brought the blue-


 white shield, “They were recovered before the walls of Angband. The Dark Lord and his


 servants could not touch them. The shield, helm and armor were forged by Fëanor for the great


 Elven High King Fingolfin, who wore and wielded them during the Wars with Morgoth. Ringil


 was a gift to Fingolfin forged by Eöl and filled with great enchantments by the Valar to absorb,


 deflect, or cleave any enchantment in Arda, save Ilúvatar’s own. Fingolfin carried Ringil and


 rode to Angband slaying petty-dwarves, evil men, orcs, goblins, trolls, balrogs and great Balrog


 Lords. None could stand against his wrath and the power of his sword. He brandished Ringil


 before the gates and challenged Morgoth to personal combat. But Morgoth trembled before


 Fingolfin and his sword and the Dark Lord, Master of Tortures, creator of horrors, seduced,


 cuckolded and scorned lover of Ulbandi, and aspiring conqueror of Middle-earth, was revealed a


 spineless coward and he hid behind his walls refusing to come out. His Balrog captains and army


 hosts prepared to surrender to Fingolfin and proclaim him their new King but before they could,


 engulfed in shame and shame inspired rage, his blackened armor ringed in flame and wielding a


 great spiked cudgel as cold as ice and black as death, Morgoth stormed out, attacking Fingolfin.

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        “Long they battled and greater was their rage than in any combat ever seen before or


 since in Middle-earth. Seven times Fingolfin’s skill was true and Ringil smote Morgoth, cleaving


 the flaming enchanted armor and cutting or stabbing deep, wounding Morgoth seven times.


        “Morgoth weakened and he knew he was beaten but at the final moment in mad and


 hopeless desperation, he leaped high overhead and brought his cudgel down which missed


 Fingolfin as he ever had, but the Dark Lord crushed the Elvish King beneath his boots.


        “With his last breath, Fingolfin stabbed Morgoth’s foot and smote him a wound which


 would not heal, and thus Fingolfin son of Finwë perished, and Morgoth was forever lame.”


        Elladan kneeled before Eldarion, “This is yours, my future King.”


        For a moment, Eldarion’s normally unshakable composure left him and he simply gaped


 at Elladan and Ringil. But his self-possession returned. He lifted the golden baldric and silima


 covered sword and drew the blade.


        The air in the room grew colder, Eldarion’s breath misted before him and the blade


 glittered like ice with the light of winter midnight stars.




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        “Ringil means ‘Cold-Star’ in Sindarin, a fitting name if ever there was one,” Eldarion


 said, sheathing Ringil and hugging his uncles, unmindful of protocol before other princes.


 “Thank you. But having made such kingly gifts, you cannot refuse to arm yourselves.”


        The twins smiled and went behind them to the back of the Treasury where, hidden behind


 the staircase, were suits of larger Elven armor forged by Elves for Elves, and many Elven bows


 and arrows, blades and swords, and helms.


        “These are Elvish Lhang swords,” Elladan said, taking one and giving one to Elrohir.


        They were big, fast swords inlaid with gold and slightly curved. Expertly balanced for


 effortless energy to stab, or sweep or stroke or slash with long handles for their big hands and


 long fingers. They could wield them with one or both hands and swing in any direction.


        “These are the kinds of the swords we were raised wielding,” Elrohir told them. “The


 Galadhrim and High Elves esteem these best.”


        They also took Elven Lord Sabers and strapped them on their backs diagonally over their


 Lhang swords. Both pommels rose over opposite shoulders, within easy reach.


        “These Sabers have shorter hilts and are easier to use while riding horses,” Elladan told


 them. “The style of fighting we favored in Rivendell. Elrond, Arwen, and we prefer these.”

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         On the top tier, directly opposite from where they’d found Fingolfin’s sword Ringil were


 two matching suits of Elvish mithril armor and two scabbarded blades.


        They fastened them to their sword belts and Elrohir told them, “These are the identical


 twin Elven Lord Sabers forged for Thranduil, the Elvish King of Mirkwood. They share a single


 name: Hadhafang, and were forged from a single piece of mithril steel, hollowed out and


 engraved with runes of ithildin and gold. These are the blades we were destined to wield in the


 coming battles of the Great War of the Ring.”


        Lastly, they unfastened from the wall four double-bladed polearms, crafted from


 greenwood shafts that bore matching curved Elven blades on both ends, forged of bronzed steel.


        They spun them on their center handles parallel with their bodies, displaying their skill,


 the best armed Elven warriors to ever take up arms against the enemies of Middle-earth.


        As the men-at-arms were recalled by Eldarion and the others, they began boxing up the


 rest of the treasures. Fastred found on the second level an intricate and beautiful silver fillet


 designed to be worn across the forehead, set with a dazzlingly beautiful diamond.


        He took Eldarion aside privately, “Can I have this? Not for me. Well… this is a


 ‘Fellowship of the King’ secret, alright?”

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        Eldarion smiled, “Yes Fastred, agreed. Go on.”


        “Well… there’s a certain maiden hobbit I might one day ask to marry me,” he told


 Eldarion in hushed tones, looking around. “Not today. But maybe when the time is right. If she


 says yes,” and his face brightened at the thought, “it would be perfect for her betrothal gift.”


        “It is a magnificent idea,” Eldarion told him. “It is yours.”


        “Thank you!” Fastred cried, then ducked his head for having spoken too loud. He folded


 the delicate silver filigree and diamond up, and put it in a pouch under his shirt beside his locket.


        The twins approached them holding a long dagger that to a hobbit would be as long as a


 long sword and Elrohir presented it to Fastred, “You alone of our company do not carry a sword.


 If we would be allowed to make a gift of this one, we would be grateful if you would accept it.”


        “Sure,” Fastred said accepting weapon, but then he looked at Eldarion. “It is alright?”


        “Of course,” Eldarion smiled. He asked Elrohir, “Does this blade have a name?”


        “It is called Eket,” he answered.


        “A good short name for a good short hobbit,” Fastred laughed and he said to Eldarion, “I


 hope you won’t mind teaching me sword and dagger craft along with Theo.”




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        “I would be delighted Fastred,” Eldarion told him. “And just so you know, this is the only


 blade Isildur still wore after he cut the Ruling Ring off Sauron’s hand in Mordor. Months later he


 carried it invisibly and swam into the River Anduin to escape marauding orcs.”


        “Are you sure this is for me?” Fastred asked, suddenly a bit awestruck, looking back and


 forth between Eldarion, Elladan and Elrohir.


        “I am certain,” Elrohir answered. “I stored this here myself. We found it with Elessar and


 Gimli the Dwarf while exploring the Tower of Orthanc after the last War of the Ring.”


        Fastred bowed with most courtly gesture anyone had ever seen from him, “Thank you,


 Prince.”


        Elrohir, Eldarion and Elladan laughed, “You are most certainly welcome.”


        “And richly deserving,” Eldarion added.


        “Thank you!” Fastred cried happily. “Now if you’ll excuse me.” He ran back to the other


 hobbits, “Look what Elrohir gave me!”


        “Tell us again,” Elladan said. “Who is Fastred son of Folcred, and where did you meet?”




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                                              Chapter 6




                                   The Coming Of The Collocoll




        “Rivendell is full of Easterlings,” Eldarion told his friends and all the princes in the


 brigades standing together inside the ring of stones that had once bounded the fallen tower. “Our


 only hope to save the Queen is to send a small strike force beneath Glorfindel’s detection.”


        “Who will be in this strike force?” Ælfwine asked.


        “Obviously, my uncles,” Eldarion answered. “No one here is better suited to assist them


 than Alatar. For reasons I cannot explain, at least one – ”


        Theo cleared his throat.


        “ – three of our five intrepid hobbits will accompany them.”




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        “Three hobbits, two elves, and a Maier,” Elboron observed. “It seems there’s one element


 missing from this group.”


        “Of course,” Eldarion said, “I will go with them.”


        “What about the rest of us and our men-at-arms?” Xiang asked.


        “Celendrian will lead you and your Brigades at night under cover of darkness,” Elladan


 answered. “When you see our signal, attack the forces outside the valley.”


        “What will your signal be?” Pingyang asked.


        “We dare not explain,” Elrohir said smiling, “But you will know when you see it.”




                   *              *              *              *               *




        Far from the firelight and the easy hearing of the other princes, Elboron, Niphredil,


 Celendrian and Elerith stood fanned out around Eldarion as he strapped Ringil to his horse’s


 saddle on the edge of their camp at the base of Weathertop.


        “I must confess,” Eldarion told them, “I find the Princess Pingyang rather intriguing.”


        Elboron laughed, “She’s the mostest!”

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         “Mostest isn’t a word,” Celendrian said, rolling her eyes.


         “Yes it is,” Elboron responded. “I just made it up.”


         “You can’t just ‘make up’ words,” she told him.


         “Of course I can,” he said. “You do it all the time.”


         “When have I ever made up a word?” she asked.


         “Oh Elboron,” he said in a terrible high pitched imitation of her voice, “How about


 tomorrow night? I’m just the tiredest I’ve ever been. Oh, and would you be a dear and take my


 scraps to the feeding pens on the way to your tent?”


         Aldarion tried the hardest (the mostest of all four of them) not to laugh, but after Elerith


 joined Elboron and Niphredil guffawing, he couldn’t keep it in and he burst out laughing.


         Celendrian stormed off.


         “That’s not like her,” Elboron said, recovering himself. “She usually laughs at my jokes


 harder than anyone else.”


         “She hasn’t quite been herself since Orthanc,” Niphredil reminded him.


         Elboron moved to follow her but Eldarion put his hand on the prince’s arm, “My friend, I


 think this time it might be best if I speak with her first.”

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        Elboron realized he was right. He nodded and Eldarion went after his sister.




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        She hadn’t gone far. He didn’t think she would. She sat on an outcropping of rock


 looking up at the stars.


        “That’s Eärendil’s Star,” he told her, sitting down beside her and pointing it out.


 “Remember?”


        “I remember Eärendil,” she said. “He wasn’t the sort one could easily forget.”


        He waited.


        “A lot’s happened since we left home,” she told him.


        “To both of us,” he responded.


        “You and your new friends seem quite comfortable talking about Rings of Power,” she


 said holding up her left hand and displaying Anqaúrë.




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         “The tone for that was established between Alatar and the hobbits before we met,”


 Eldarion said holding up his own hand and displaying Lámya, “I felt at the time it would be


 inappropriate to lecture an Istari and a Ringbearer on mother’s policies for discussing Rings.”


         “That was probably the right thing to do,” she affirmed. “Sometimes, the less of mother


 the better.”


         “In the event, it proved incalculably advantageous,” he told her. “Many secrets were


 shared which were immeasurably beneficial, most notably that Círdan had given Fastred a stone


 from the Shroud of Turin.”


         “I wondered what that was he used to free the Dodecs,” she said. “I didn’t know there


 were any loose stones from the Shroud. But it explains rather handily how you’ve been hiding


 from our palantír the whole ride out here.”


         “‘Our palantír,’” he said. “Do I get one of these or have you already distributed the rest to


 Elboron, Niphredil, and Elerith?”


         She laughed, “I wish. We took the Orthanc-stone,” she saw his shocked expression “and


 it’s a good a thing we did. Otherwise we wouldn’t have been here to save you.”


         “Well then,” he said. “I most heartily approve.”

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        “I wish I could take credit for it,” she told him. “But it was mother’s idea.”


        “You have taken the Palantír of Orthanc?” he asked, surprised.


        “One of mother’s better ideas,” she answered. “Like your Rings and the Turin-stone, it


 saved our lives, not to mention yours.”


        “Thank you,” he told her, putting his arm around her shoulders and kissing her forehead,


 “Have I told you how very much I have always loved your sense of timing?”


        She hugged him back and held onto his waist, “You’re quite fond of your new friends.”


        “Indeed I am,” he said. “And I believe you will find them as worthy and delightful a


 group as I have. But you are my sister. The place you hold in my heart compares to no other.” He


 wrapped them both up in his cloak.


        “Remember when we used to dream one day we’d grow up and find Rings of Power and


 use them to defeat dreaded foes?” she asked.


        “If memory serves me,” he told her, “I believe Elboron and Elerith were most often the


 sources of those more romantic ideas of conflict.”


        “True,” she said. “There didn’t seem any point at the time in doing more of mother’s


 work and killing their fun.”

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        “But now the reality is upon us,” Eldarion said.


        “And it’s not fun at all,” Celendrian said.


        “Something has happened,” he noted, “and upset you profoundly.”


        “I know we’re not supposed to say anything…” she started.


        “Rubbish,” he said. “Between you and I, we can say whatever we wish. I trust our bond


 as much as Elladan and Elrohir trust theirs.”


        “There’s much more to their bond than there appears to be,” she told him.


        “I’ve always assumed there is,” he said.


        Then, against the explicit instructions of their mother, reinforced repeatedly since they


 were children, Celendrian unburdened herself to Eldarion. He listened patiently, holding her


 when she cried. He never tried to fix the problems she described. He simply listened, sitting with


 his arm around her, paying close attention, occasionally asking questions. But above all, he made


 it clear he loved her and he would always be there for her, her steadfast rock of support.




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        Glorfindel entered Arwen’s cell alone and the door clanged shut behind him. The Queen


 remained impassive.


        “Yes,” he told her, “that’s precisely how you used to do it when we all lived here


 together.”


        “It does not matter what you have come for,” Arwen told him. “I shall tell you nothing.”


        “You are quite mistaken,” he told her. “On all counts.”


        When the guards standing at attention on each side of the door outside the Queen’s cell


 heard her scream, they dared not disobey Glorfindel’s instructions not to look inside.




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        Elladan and Elrohir led Eldarion, Alatar and the three hobbits to the mouth of a cave


 hidden from view at the foot of the northern slopes of mount Andrath. Though now run dry, a


 depression at the entrance had just recently been a flowing stream. Following this path, they


 passed into the darkness and removed the covers from their Fëanorian lamps.




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        “How long will it take to get through?” Theo asked. Though hobbits preferred to live in


 holes, they disliked being too far underground.


        “Less than a day,” Elrohir answered.


        “The walls of the gorge which protect the valley of Imladris are high and steep,” Elladan


 said. “But far less wide than any of the Misty Mountains.”


        The dry streambed was uneven and winding but flat and they made good progress. After


 a little more than two hours they came to a bend. Around the corner stood the figure of a man in


 the center of the largest cavern they’d yet encountered facing them silently and alone.


        He was curiously dressed in smooth grayish-green, sleek form-fitting clothes that did not


 appear much bulkier than if he’d been wearing little more than his own skin. The light from their


 lamps glinted and glittered off the surfaces which were covered with small scales, like a fish.


        Closer in they saw he was tall and fair. His high cheekbones, square chin, and long thick


 black hair recalled the bearing and likeness of figures carved in stone that could still be found in


 the cities of Gondor and Arnor, of Númenóreans. They could see he was breathing, his chest rose


 and fell but his skin was marble white. Below his forehead and above his nose, the white skin


 was smooth and seamless – he had no eyes.

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        “Long has it been since surface dwellers used the Road that winds through Euthyria,” he


 said. “There must be great news and greater need if you dare the paths of the collocoll.”


        “Hail, my friend,” Elladan said. “I am Elladan of the Elves and this is my brother Elrohir.


 We are the sons of Elrond Peredhur, who was once the Lord of Imladris, the lands that lay on the


 other side of your cavern halls. We came among your people many years ago, but I deem that


 was long before any who now live in the towns and cavity streets of your kingdoms were born.”


        “Hopefully,” Elrohir added, “Some history endures which records when last we met, we


 met as friends.”


        “You are Elladan and Elrohir, the Elvish twins of legend?” the stranger asked.


        “We are,” Elrohir answered stepping forward, “our friend King Spelen was kind when


 first we came, but his people have doubtless sent him on the Great Voyage long ago, in your


 waters of eternal rest whose fathomless depths have no bottom.”


        The stranger raised his empty hands and held them straight out from his sides to show he


 was unarmed, “I am Calcarin, a translator, son of Hydrochous, a collocoll of Ferrumequinum.


 We serve King Helvum and Queen Mederma. What brings you to the Kingdom of Collocolly?”




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        “Our father Elrond departed on his own Great Voyage and shall not return,” Elladan


 answered. “But our ancestral lands are now held against us by a usurper. We request permission


 to cross your borders so we can reclaim our home.”


        Another tall, black haired, white skinned, similarly dressed and eyeless collocal making


 curious clacking sounds ran up to Calcarin from beyond their lamplight, “They cannot enter!”


        “What’s wrong?” Calcarin asked, but the other refused to answer. “This is Stygobromus,


 Son of Parnel, Warden of the Northern Abyss of Collocolly. Only by his leave may you pass our


 borders.” He turned to Stygobromus, “These are the Elven twins Elladan and Elrohir, returned at


 last, as foretold by our forefathers. The hour has come!”


        “If this is true, I will not gainsay you,” Stygobromus said. “The Twins and their friends


 may enter, except for him.” Without looking he pointed a finger like an accusation at Alatar.


        “What?” Eldarion asked, surprised.


        “What do you know of me?” the wizard asked. “I am Alatar the Blue, a wizard of Aman.


 I come in peace to aid collocoll, hobbits, dwarves, men and elves of Middle-earth, alike.”




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        “You are not in Middle-earth,” Stygobromus said scornfully. “This is Under-earth! The


 oceans and lands of Euthyria are many times more vast than surface dwellers imagine. But we


 have no room for an abomination like you!” He turned to Calcarin, “Can you not hear?!”


        “I do,” Calcarin answered. “But listen closer. Beneath the pain. Do you not hear the


 beauty?” He made the same sort of clacking noises in his throat and pointed without looking just


 as Stygobromus had, one after another at Elladan, Elrohir, Eldarion and Elanor.


        “What do you hear, my friends?” Eldarion asked, stepping forward until he stood even


 with the twins.


        “From his twisted heart,” Stygobromus shouted pointing at Alatar, “the Song of Pain!”


        “Ahhh,” Alatar said. “I understand.” He withdrew from his breast pocket a golden Ring


 that bore a black Star Diopside stone, “You mean this.”


        “Cast it out!” Stygobromus cried covering his ears with his hands. “You bring evil to


 Euthyria! Cast it from the cave before you drive our people mad!”


        From deep within the cavern came a cacophony of clacking followed by two companies


 of collocoll soldiers dressed for combat in turtle shell helms, shields and armor, and they carried




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 ingeniously designed spears and swords of finely crafted and razor sharp edged stone forming


 two lines behind Stygobromus and Calcarin with their swords and spears held at the ready.


        “I am sorry. I did not know,” Alatar said. His robes glinted silver-blue and glowed. He


 gestured, spoke a series of commands, his staff glowed bright and all went dark.


        The imperishable blue light within the Fëanorian lamps sputtered back to life as if they’d


 never went out. The collocoll made a torrent of clacks, lowered their hands, and their faces filled


 with wonder.


        “I heard the music,” Stygobromus said to Calcarin, astonished. “But the Song of Pain was


 too loud. But now, all these melodies…” a drop of water clear and bright dripped from his nose,


 first one, then another, then many more, “They are so beautiful,” Stygobromus said. He and the


 collocoll soldiers cried and their tears poured from their noses and ran down their chins.


        Alatar lifted his staff and spoke more commands. Another moment of darkness came and


 went, and the soldiers stilled their tears and wiped their noses.


        “Come,” Stygobromus said. “I will lead you to King Helvum and Queen Mederma. For I


 deem perhaps, as Calcarin hopes, the hour may have come and your arrival is the beginning of


 the fulfillment of the prophesy.”

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        The collocoll clacks sounded like a cross between someone clearing their throat and the


 chirps of exceptionally large crickets, and the soldiers formed two companies. One led


 Stygobromus, Calcarin, Eldarion, Alatar, the twins and hobbits and the second came behind.


        They walked on winding paths through many side caverns and very quickly Elanor


 realized if she became separated from her companions and lost, she could never retrace her steps


 and find her way back out. She was grateful for the collocoll escorts coming behind them.


        They passed through a cavern whose walls were covered with colored gems. In their


 Fëanorian lamps they shone dazzlingly bright with different bands of color within a single stone


 with every color they had ever seen and many more they could not name nor had ever imagined.


 The colors changed and seem to flow and grow with every step they took or movement of their


 lamps and their iridescent beauty was bright as fire.


        “What are those?” Elanor asked, amazed. But no one knew.


        “I bet if we sold them in Bree,” Fastred said, “We’d be richer than dwarves!”


        “You cannot take the stones of Euthyria,” Stygobromus told him sternly. “We cast


 thieves into the pits that have no bottom.”


        “Oh my!” Elanor exclaimed.

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        “What is it?” Theo asked, puzzled by her oddly timed outburst.


        “I’ve just realized,” she answered. “I’m going to have to start writing everything we’ve


 been experiencing down and add it to the Red Book!”


        “With all that’s happened,” Theo said, “it’s going to end up being a very thick book.”


        “There is doubtless more to come,” Eldarion noted.


        “Then we just might have to make it two books!” Elanor told them.


        They passed into another cavern filled with tablet shaped crystals with yellow-green


 scales that seemed to drink the light from their lamps and when she looked back she saw them


 glowing green, like apples beckoning to return to the garden of green stones that now lay in their


 past beyond the light of their lamps. The green fire seemed to live within the gems.


        In another cave the majestically faceted crystals weren’t imbedded in the walls but were


 the walls themselves, and the roofs and floors and columns and paths that led up and down to


 levels above and below and chambers beyond the light of their lamps. Some were as large as


 buildings and they glowed with a pale yellow light.


        “How is it even possible for there to be crystals this big?” Elanor asked.




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        “I do not know,” Alatar answered. “It seems almost as if we have descended through


 strange roads into strange lands, stranger even than the wonders of Aman.”


        “I have imagined what it might be like to live not having been born a prince,” Eldarion


 told them. “There have been great dangers, terrible trials and many burdens. But experiencing


 wonders like this makes me certain if I had been born into a conventional life, I would leave it.


 And now I am certain I would not trade my life, even with all its burdens for any other.”


        In another cave, crystals big as buildings filled the passages and rose in columns between


 them as clear as glass but hard as stone. Elanor thought they might be ice, but when she touched


 one it felt warm. Fastred went around to see each other through the clear rock but when she


 looked she saw two Fastreds, even though the crystal wasn’t faceted or cut and had no cracks.


        She watched the two Fastreds walking and the light from his lamp splitting, leaving tails


 and spots trailing lights that went shooting in every direction around him like stars flinging traces


 of the sun in bright birefringence passing just beyond their eyes.


        In another cavern, beside the path were little columns of branching stalactites fed from


 dripping columns of stone embedded in the ceiling. They grew like trees with a plethora of


 stately downward sloping branches filled with crystalline needles as if they wanted to be fir trees.

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        From the ends of these branches water dripped and all around them beneath the trees


 covering the floor as if they grew in a field under the sun were delicate crystal flowers with


 twinning crystal patterns refracting the light from their lamps and filling the chamber with a


 dazzling display of ever moving, changing and reflecting rainbows dazzling their eyes.


        Elanor reached down to pluck one.


        “Beware,” Calcarin said, and she stopped. “They appear to you as flowers. But those leaf


 and petal edges and points are sharp as knives. If you touch one, it will cut you.”


        “How can you see me?” she asked. “I mean, you don’t have…”


        “Collocoll see,” Elladan told her. “With their ears and the clacking of their throats. The


 echoes tell them many things your eyes tell you and much more eyes cannot see.”


        In another cave the temperature dropped calamitously.


        Elanor shivered, “Why is it so cold?”


        “We are passing the border of the realm of Ulbandi,” Stygobromus answered.


        “What?!” Alatar cried.


        “I hear you know her,” Calcarin said.




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        “Ulbandi was the consort of Melkor,” Alatar said. “After his fall and imprisonment, her


 grief and rage were so great, in Aman we feared she had gone to Middle-earth not to conquer as


 Melkor had, but to wrack and wreck revenge for the eternal imprisonment of her lover, and


 destroy the world. Instead, she went to Forodwaith, conquered their people and ruled there for


 many years, called by them their White Queen, the eternally frozen Queen of Snow.”


        “In Collocolly we serve King Helvum and Queen Maderma,” Stygobromus said. “But


 Ulbandi brought from the surface the monsters of the ice, the Sasquatch, Yeti, Mandingos,


 goblins, orcs and Trolls. Unknown to surface dwellers, she forsook those lands and has dwelled


 in Under-earth, waging wars against collocoll and conquering many kingdoms. Here she is the


 Queen of Abominations and Nameless Things that gnaw the roots of the Earth beneath our feet,


 the Queen of Great-worms, Wereworms which gnaw the Great-worms, which in turn are


 devoured by Wereflies filled with Weremites; she is the Queen of Parasites and Predation. But


 our legends say when the Elvish twins return to Euthyria, Ulbandi will forsake the lands of


 Under-earth and return to Middle-earth, leaving the citizens of Euthyria alone to live in peace.”


        “How do your legends say we accomplish this?” Elladan asked.


        “They do not,” Calcarin answered.

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        Eldarion thought he’d vastly prefer it if Ulbandi never returned to Middle-earth but he


 wisely said nothing.


        As they neared the cavern exit, the warmer air before them and the colder air behind


 created fierce winds producing ice crystals which joined together in midair before their eyes.


 Some were caught in whirling gusts, forming extraordinary and exquisite branching snowflakes,


 larger and more delicate than any they had ever seen or existed on the surface.


        Elanor saw and pointed out to her companions the windswept ice and crystal patterns on


 the walls with fragile strings of ice growing long, waving dancing ribbons in the wind, rising,


 falling, growing, and breaking spectacularly apart in the light of their lamps filling the


 tumultuous air between the caverns with storms of dancing snow and ice crystals covering their


 clothes and hair and faces as they passed.


        Stygobromus led them out of the cave of blowing ice and crystal snow into a mammoth


 cavern so large the walls immediately rose higher and farther than the bright light of their


 Fëanorian lamps could illuminate.


        “This is the Cave of Khazum-mura,” Calcarin told them. “It is the largest cavern in the


 kingdom and within it lies our cavity of Ferrumequinum, the capital of Collocolly.”

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        “The name sounds like a borrowing from Khuzdûl,” Eldarion noted.


        “It is,” Calcarin said. “Do not all languages borrow from each other, fertilize and cross


 pollinate, and thus grow ever richer with fresh sounds and new ideas?”


        “Well,” Eldarion responded. “That is what they are supposed to do. But some on the


 surface do not understand and resent foreign words entering their language, or hearing of any


 other culture borrowing words from their language, or really anything, for use in another.”


        “Surface dwellers are mad,” Stygobromus noted to Calcarin.


        “We must deafen your ears,” Calcarin told them.


        “What?” Alatar asked alarmed, but then he saw the clay in their hands, “Why?”


        “We are approaching Ferrumequinum where waits the royal palace,” Calcarin answered.


 “Once our people hear you they will come closer to sound you out and they will talk among


 themselves in great excitement. It is very rare when surface dwellers are allowed to venture so


 deeply into Collocolly, and rarer still for them to walk the streets of Ferrumequinum. Most


 collocoll have never heard a surface dweller with their own ears. But very few know Westron, so


 they will speak Collocollese. Unlike your courser tongue, our words are not spoken, but sung.”




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        “Those who have come before you found the songs of the collocoll so enchanting, they


 were too beautiful to bear,” Stygobromus warned. “They were driven mad.”


        Everyone consented and Calcarin and Stygobromus pulled from pouches on their belts


 more of the soft substance which felt like dough. They stopped the ears of everyone in the


 company. All they could now hear was the sound of their own hearts beating and their blood


 rushing past their ears inside their heads.


        Except for Elanor.


        She and Eldarion had again switched Rings. Instead of Oialëhén, the Ring of Light, she


 wore Nengwë, the Ring of Sound. So through the clay she heard every voice of every one of the


 collocoll and their jubilant, joyful and triumphal singing when they heard the footfalls of the


 Elves and they sang in jubilation believing the time of their release had finally come.


        The songs in the streets drew more collocoll from their homes. They emerged from the


 decorated and stone lined entrances of caves that lined the cavern walled streets of


 Ferrumequinum in ever growing numbers, amazed to hear surface dwellers and the Elvish twins


 of legend. Their voices swelled in rhapsodic and euphoric symphonies of singing.




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        It was so heart-breakingly beautiful, Elanor could not stop herself from crying silent and


 beatific tears of transcendent rapture she hid from her friends in fear Eldarion or Alatar would


 ask her to remove the Ring to prevent her going mad.


        But the Ring gave her strength to resist whatever madness befell other surface dwellers


 and all she knew was indescribably radiant ecstasy. It was so much more than the most beautiful


 music she had ever heard, could even imagine hearing or would ever hear again.


        In later years when she tried, she could only faintly remember, not the singing but the


 feelings brought by the songs of the collocoll and they haunted her dreams.


        Often to herself in her own mind, she would try to describe, not the music but these


 feelings, especially later when she wrote down her experiences in the Red Book and she


 struggled to describe them. She could not recall them, nor the music and its too-sweet-for-


 memory and words melodies and harmonies. The only time she could even faintly reimagine the


 echoes of those feelings was when she pressed a conch shell against her ear, which in later years


 she often did on the shores of the earth and closed her eyes, daring to imagine she was once


 again inside those cavern walls lost so long ago, and still with the twins, Eldarion, Calcarin,


 Alatar, Fastred and Theo, listening to the singing of the collocoll.

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        Stygobromus bowed before the thrones of King Helvum and Queen Mederma. Beside


 them stood the Crown Princess Lyra. She turned her ears towards them and clacked curiously.


        Before Stygobromus could speak, Queen Mederma asked, “It’s Lucifugus again, isn’t it?”


        “No my Queen,” he answered. “Not this time.”


        “If I might be allowed to explain, your Majesty?” Calcarin offered.


        The King and Queen consented and Calcarin described their meeting and journey, and


 introduced them to the twins.


        “How do you propose to rid us of Ulbandi?” King Helvum asked.


        “We have no knowledge of this prophesy,” Elladan answered. “Though we do know of


 Ulbandi, we know nothing of her kingdoms here or the creatures she rules in Under-earth.”


        “We only seek your permission to cross your borders so we may return to Imladris,”


 Elrohir added, “And remove the usurper who sits within the halls of our ancestral home.”




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        Alatar stepped forward, “Your Majesty, Ulbandi is one of the Valar who created Middle-


 earth and Under-earth. She is the mightiest being in this world right now. There are none who


 live or are dead that can stand against her and survive, much less prevail.”


        “If you cannot do the thing that has been prophesied,” King Helvum said, “there is a task


 you must perform before I grant my leave for you to pass our walls across Collocolly and pass


 through Euthyria.”


        “If it is within our power to accomplish,” Elladan told him, “we shall.”


        “In the Kingdom of Eidolon live our enemies the Troglodytes. They have created a


 terrible weapon that produces a Great Silence That Devours. Anyone who has heard it has gone


 deaf,” King Helvum explained. “They are threatening to bring the Silence That Devours to


 Collocolly. There is nothing we can do against such an infernal power. As ashamed as I am to


 admit as the King of Collocolly, we cannot stop them. If they come, they will destroy our


 kingdom and our people will die. This we cannot allow. You must go to Eidolon and destroy this


 weapon, whatever it is.”




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        “What if it cannot be destroyed?” Elanor asked, remembering her father’s quest to


 destroy the Ruling Ring and Manus’ tale of the Silence That Devours in Harad. She wondered if


 they were connected.


        “Then you must take it with you when you leave,” King Helvum answered. “Only doing


 this will I grant you leave to cross the cavern walls beyond the borders of Euthyria to the


 entrance to the lands above you seek.”


        “I am certain this is a foolish question,” Alatar said. “But, if we refuse?”


        King Helvum clacked and pointed to the throne room walls. They lifted their lanterns


 casting the light high and wide and they saw battalions of silent collocoll archers holding their


 bows notched with arrows pointed at them, “Then you will die.”




                   *               *              *               *               *




        Calcarin and Stygobromus were forced to stay behind and collocoll soldiers led them to a


 large banquet room. They were fed delicious plates of fish, clams, shrimp, salamanders, crabs,


 many kinds of aromatic mushrooms, and fern-brewed beer.

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        “Why does this feel like the night before an execution?” Theo asked.


        After their feast, they were taken to a small cave where soft lichen grew thick across a


 soft floor of fertile soil. They slept peacefully and awoke at the end of the sleep cycle rested and


 refreshed. They were served a hearty breakfast of roe eggs, tortoise bacon and mushroom bread.


        But outside the cave, their armed collocoll soldier guards never took their ears off them.


 Prepared for their task, they found Calcarin and Stygobromus waiting at the mouth of the cave.


        “Our petitions to become trogloxene have been granted by King Helvum,” Calcarin said.


        “What does that mean?” Fastred asked.


        “They have banished themselves from Collocolly,” Elladan answered. “and tied their


 survival to our success.”


        “Though I could not hope for better companions to guide us through Euthyria,” Eldarion


 asked, “why have you given up your home and jeopardized your lives, my friends?”


        “The thought of leaving our cavities is terrifying for any collocoll,” Calcarin answered.


 “But since I was a child, I have dreamed of hearing the wonders that only exist on the surface,


 which rumored by living in our happy ignorance in Ferrumequinum, we cannot imagine.”




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        “It was not my wish to go,” Stygobromus told them. “But Calcarin is my best friend, and


 has been since we were children. I will not abandon him and allow him to leave our home and


 travel the surface world alone, without a friend of his own kind.”


        Stygobromus led them out of Ferrumequinum with two platoons of collocoll soldiers and


 archers, one ahead and one behind. They traveled across the Cavern of Khazud-marum for three


 hours until Elanor heard the sounds of swiftly running water.


        The shore of a wide, fast running river opened before them and the walls and roof of the


 cavern, like the other shore, lay so far beyond the light of their lamps, it appeared as if nothing


 existed except the black rushing waters before them.


        A tear dripped from Stygobromus’ nose. The ground behind their armed escorts had been


 his only home and was now forever behind him.


        At the shore, if shore it was, there was no sand, loose earth, or rocks, but an almost


 straight line of solid stone cut by the swiftly running waters mere feet below the rim.


        “No collocoll knows where this river begins or how deep it runs,” Calcarin said.


        “Why not?” Fastred asked. “It can’t be that deep.”




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        “No pole or weighted rope has ever found the bottom,” Stygobromus answered. “Our


 best swimmers cannot swim that deep. The few who have tried were lost.”


        He led them down stone steps cut into the stone river walls to a wide and long stone


 platform harboring stone boats hollowed from a single solid stone.


        “How can these float?” Elanor asked.


        “It doesn’t matter what a boat is made of,” Fastred told her, seeing how far down into the


 water the interior of the boats went. “If the skin is watertight, as long as the hull displaces more


 water weight than the weight of the boat, it can be made of stone or even lead. It will still float.”


        They boarded the largest stone ship with both battalions of collocoll guards, who took


 their Fëanorian lamps. Their magic Rings could not hide them from collocoll, and the collocoll


 could simply drop their lanterns overboard to blind them.


        “What is the name of this boat?” Eldarion asked.


        “You give boats names?” Calcarin asked.


        “We do,” Fastred answered. “And I propose we christen this the UKAG Enterprise!”


        “By right of fiat,” Eldarion announced, very pleased with Fastred’s proposal, “The


 UKAG Enterprise it is.”

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        “Where does this river lead?” Alatar asked as the soldiers pushed the boat into the swiftly


 running currents far from shore.


        “The Kingdom of Edhilon,” Stygobromus answered. “And the realms of Ulbandi.”


        As the river grew swifter, it would have been an exhaustive effort to fight the downward


 sweeping currents and get across but Alatar summoned a wind to fill their sails and push them to


 the other side. What little more guidance their ship needed, Fastred expertly supplied, deftly


 navigating the changing currents at the tiller better than any of their collocoll hosts could.


        Everyone except Elanor and Theo were surprised Fastred was the best ship navigator.


        “If the water wasn’t moving so fast,” he remarked, “It’s so wide here I would have


 thought this was a sea instead of a river.”


        The swiftly running river bore them through the cavern for miles and they never saw the


 top, the far wall of the cave or the edge of the far shore. But the side walls of the immense cavern


 finally came into the light of their lamps and the river narrowed. The shores came slowly closer


 until they passed a point where the walls almost converged. Nothing on dry ground could get


 through. The collocoll soldiers stopped the boat, handed them their Fëanorian lamps and got out,


 leaving them with Calcarin and Stygobromus. The soldiers pushed the boat back into the currents

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 and they rode through the churning waters between the narrowing passage. Once through,


 immediately they felt the temperature drop ten degrees.


        “We have left Collocolly and have passed into the cold lands of Eidolon,” Calcarin told


 them. “Keep your ears open and stay vigilant.”


        “My ears are not as good as yours,” Alatar said. “I think it’s time for a little light.”


        “What is ‘light’?” Stygobromus asked.


        “Light is the substance that allows our eyes to touch things far away,” Alatar answered.


 “Akin to how our ears hear, but different.”


        For a moment in the middle of the swiftly moving river, Alatar wove a great


 enchantment, one of the stronger spells he had ever attempted, and a point high in the Heavens


 appeared beautiful white and dazzlingly bright but not so bright it blinded.


        “Has your magic struck a fire?” Calcarin asked.


        “You can feel the heat?” Theo asked.


        The bright white star evaporated much of the moisture around it creating drafts and


 breezes and for the first time ever, clouds formed high above the skies of Collocolly.




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         “Yes,” Calcarin answered. “Low, but strong, and somehow, very comforting. I like this


 ‘light’ of yours, Alatar.”


         “Thank you,” he said concentrating mightily.


         “I understand why you prize it,” Stygobromus added.


         But only the seven with eyes saw the light. They were the first to ever behold Euthyria


 curving far away in the great distance as if they were high atop a mountain on the surface, with


 many rolling hills and deep valleys, and far in the distant were great mountain peaks stretching


 out before them like some unplowed Eden waiting to be tamed, if only the light would stay one


 more day, and another after that, and after that still another…


         “What’s that?” Fastred asked pointing far, far away in the far distance where only now in


 this great Valarin light they could see.


         “I thought those were rocks,” Eldarion said. It was only because he wore Oialëhén he


 could see what to his eyes appeared tiny but distinctive figures moving.


         “Those are Nameless Things,” Elladan told them. “Some are scurrying away on long,


 pole like legs, as large as houses. Others are crawling or writhing, arm and legless, yet fat, like


 worms. They have no faces but are big as dragons. The light is burning them!”

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        “Look!” Eldarion shouted.


        More and more misshapen things began to move across the horizon, until it seemed there


 was no where they could look and not see grotesque figures and they heard the first dirges and


 screams of pain as more and more of them were drawn, if not from seeing the light, for none of


 them had eyes, but by the heat that was infuriating and burning them, drawing them hissing and


 screaming in pain and driving them into a murderous frenzy. Some came running, others


 relentlessly plodding, a great many more were crawling, scurrying faster, urgently and more


 viciously, in greed to feed or in pain to destroy ever faster hurtling themselves at them with


 rending claws and gnashing fangs.


        “Put it out!” Eldarion shouted and the light went out.


        They put out their lamps.


        In the darkness they could hear the thunderous steps in the far distance of the Nameless


 Things slow and diffuse, turning in many directions, confused. Some found each other and the


 sounds of titanic battles rose, shrieks of pain, the breaking of bones and rending of flesh, so very


 many deaths and then feeding, screams of pain and ravenous hunger echoed across the water.




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        For three more hours they flowed downstream in the center of the swiftly moving waters


 and they left it to Calcarin to guide the boat as well as he could which was well enough.


        Sometimes far away, and sometimes seeming much closer than they would have liked, on


 the shores of the riverbank, the baleful wails of sometimes still fighting, sometimes feeding,


 others wounded or dying came the cries of Nameless Things echoing over the water. But far too


 many more were silently hunting, ever hunting, hunting them in the darkness.


        The river widened yet moved faster and they could see the shores tilting as if they were


 running down a long sloping hill. The waters grew swifter and turbulent.


        “We must get to the far shore as quickly as possible,” Stygobromus warned. “The river is


 moving much faster than I have ever heard and if we do not hurry, we will run out of time!”


        “Time before what?” Alatar asked.


        “Before we fall to our deaths over the falls of the walls of Euthyria!” Calcarin shouted.


        Fastred felt his way back to the rudder and helped Calcarin fight the ever accelerating


 river waters. In the far distance they heard the first faint roar of the swiftly approaching falls.


        They would have failed and fallen to their deaths, but Alatar summoned a great wind


 which filled their sails and pushed the boat to the far shore.

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        This shore was broken and uneven, creating harbors as if they were approaching the


 shores of a sea on the surface. The currents slowed, they found a sheltered grotto where they hid


 and moored the boat, and they stepped onto the frigid shores of Eidolon.


        They walked for two hours straight inland from the shore and saw the walls of the cavern


 coming down from the impenetrable shadows higher above their heads than they could see or


 sense. When they reached the wall, Calcarin led them into small tunnels branching out with


 countless other tunnels like the inside of a sponge and the walls were much softer than granite.


        “The Nameless Things will never find us in this maze of caves or hear us coming,”


 Calcarin told them. “The softness masks our clacks and footfalls.”


        “How do you know where we’re going?” Fastred asked.


        “You do not feel the tug of North?” Stygobromus asked.


        They confessed they didn’t, never had, nor knew anyone on the surface who did.


        “Surface dwellers have said collocoll are blind because we do not have eyes,”


 Stygobromus said. “But I would not trade your eyes and all you claim they tell you, which I’m


 not sure I believe. My ears have never failed to guide me whether my throat was tired or my


 hearing dim.”

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        After another hour they emerged from the spongeform tunnels and stepped into a dark


 and even colder cavern. Before them stood the entrance to a small cave sealed by a large stone.


        “Where are we?” Eldarion asked.


        “The entrance of the armory of King Tyraculus,” Calcarin told them.


        Alatar placed the tip of his staff against the stone and spoke a string of stern commands.


 Just like in Bree, the stone cracked, broke and crumbled in less than a minute until nothing was


 left but a huge pile of small rocks and a floating cloud of dust. But the twins had never seen this


 display of Alatar’s power and they were suitably impressed.


        “I regret we were not companions long before this,” Elladan told him.


        “Such power would have been a great help on many days,” Elrohir added.


        They entered the armory, lifted their lanterns and beheld the enormous wealth of gold and


 jewels and gems of the King Tyraculus of Eidolon.


        “There,” Alatar said lifting the blue light of his Fëanorian lamp and pointing.


        Within a sealed display case adorned with many gems lay a smooth and featureless


 golden Ring of Power which bore no stone or device.




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        Alatar looked searched the case but couldn’t find a way to open it. He touched the tip of


 his staff to it, spoke the stern commanding words and waited. Nothing happened.


        “Here,” Theo said throwing a rock at the surface and it shattered with a deafening crash.


        In the distance, a horn blew and great cries of alarm rose throughout the cavity.


        “That was a bad idea,” Theo said. “Wasn’t it?”


        Alatar grabbed the Ring, “Let’s be off.”


        They headed for the door but coming towards them through the spongeform caves they


 had traveled through were collocoll soldiers serving King Tyraculus. They were joined by many


 more clacking and running along both wall of their side of the cavern, surrounded the entrance to


 the armory, and stopped.


        They waited.


        Time passed.


        No one said anything.


        “What are they waiting for?” Fastred asked.




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        The collocoll soldiers parted and a commanding figure approached flanked by two giant


 surface dwellers of monumental and monstrous size, more than twenty-five feet tall and carrying


 heavy clubs of stone in their giant hands longer and larger than horses.


        Their leader came before them dressed in intricately crafted and expansively beautiful yet


 terrifyingly brutal silver-blue-black armor. Death heads were forged on her helmet, belly and


 thighs. Cruel and barbed spikes rose from her shoulders, elbows, hips and knees. She wore a long


 and deadly sword on her belt named Angrist, the Iron Cutter, forged by Telchar. It had cut the


 Silmaril out of the Iron Crown of Morgoth and was still stained with his blood.


        Any stroke that did not kill would infest with vile corruptions far more deadly than any


 poison. Her helm seemed barely able to contain her glowing fury and the power beneath. From


 her shoulders fell a cloak darker than night emanating Unlight. Unspeakable and all-


 encompassing horror, dread and darkness swallowed the light including the light of hope.




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                                            Chapter 7




                                             Ulbandi




        “Here are two collocoll from Ferrumequinum. But you are not from Under-earth,”


 Ulbandi said with eyes as clear as theirs. “Those are Fëanor’s lamps! Who are you?”


        Alatar looked back and saw a passage at the rear of the treasury.


        No one answered.


        “I see a spineless Wizard, two gutless Elves and a very frightened Man-child,” Ulbandi


 said. “The others are less than worms.”


        “You are Ulbandi,” Alatar said. “Ruler of Vipers, Snakes, Scorpions, and the ever


 enchanting Queen of Abominations. In Under-earth you have been practicing your Dark Arts,


 crossbreeding Beasts with Men, using yourself.”

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        “Your voice is known to me since you have spoken,” she said and her eyes glowed red.


 “You should never have left Aman, Alatar the Sad, Alatar the Cold, Alatar the Istari who will


 regret for all Eternity having crossed paths with Ulbandi!”




                   *              *               *              *              *




        For uncounted years before the birth of the Children of Ilúvatar, Ulbandi had fled the


 Valar and hidden in Middle-earth. At first she dwelled in the frozen wastes of Forodwaith, but


 eventually made her way to the cavern halls and cavities of Under-earth.


        There, free at last from her fear of censure by Aman, she began to breed new races of


 Men to bring out their most vile and vicious characteristics. They were not misshapen, slow or


 dullards, but rather faster, stronger, more agile and cunning. Larger and more beautiful than


 surface Men, they were finer warriors and more hateful, the Were-men of Ulbandi’s clans.


        To her twisted heart they were less than children and more than toys, obsessions with


 which she amused herself, inspired to create cruel and barbaric instruments of pain: the screw,


 the first cutting edge, the first blade; she made women bleed and inflated their breasts unlike any

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 other of Ilúvatar’s creations, making them endlessly targeted by Men’s lusts. But ever hating any


 way a man could feel superior to a woman, she removed the stays on feminine desire and made


 women as wonton as men. In Under-earth, she discovered strange hybrid creatures and parasites


 like none she’d seen and gleefully became their Queen, and Queen of all predators and


 Predation. But unlike Morgoth, who could only make lesser copies, because she was a woman,


 she mated with living things and produced new perverted, twisted, hybrid abomination life, since


 life some called it. But that was not enough for the Queen of Abominations. She mated with


 Death and bred new perverted, twisted hybrid forms of necrosis. She crossbred these creatures


 with collocoll breeding milky white undead vampire Man-bats who had no eyes but screamed


 through the night skies the moment before descending on their prey.


        She also crossbred Man-spiders, scorpions and a plethora of other horrors. Too many to


 count, so many she had long forgotten most of them. With her army of monsters too numerous to


 name, Ulbandi conquered all but a few areas of Euthyria. They were only spared because she had


 tired of the sport. Forodwaith remained her tributary province but she had not been to the surface


 in millennia where she had been named the Queen of Ice, the White Queen of the Frozen Wastes.




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        In those days her greatest delight had been igniting dancing lights above the skies and


 while Men gazed up in wonder she taught her daughters to call them from their fires, promising


 love. Beyond the edge of their firelight, those foolish enough to accept the invitations of the


 White Women of the North were never seen alive again.


        Oftimes in the mornings, they were found frozen with ice-bound anguished looks of


 agony fixed forever on their faces. The people of the North knew frozen deaths were caused by


 Ulbandi or her daughters when frozen icicles of tears hung from frozen eyes reaching all the way


 to ground in frozen spirals of eternal anguish.




                *               *              *               *              *




        “Athâraigas ašata Mâchananaškad!” Alatar cried, lifting his staff above his head.


        A great gale drove Ulbandi away and pushed them back into the Treasury.


        “You would use Valarin gifts against a Vala?!” her voice echoed throughout the cavern,


 drowning out the winds, impossibly loud.




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          Her hands glowed and she pointed at Alatar but Eldarion drew Ringil and leaped into the


 doorway. Titanic bolts of blue-white lightning shot from her hands blasting through the air but


 Ringil glowed blue-white drinking the lightning. Eldarion shook with the effort of holding his


 sword before the onslaught of power, his arms straining and shaking but he stood firm, his face


 illuminated blue-white, his features set in grim determination until Ringil had absorbed the sound


 and heat, electricity and power which would otherwise have deafened them.


          “Who are you?!” she demanded of Eldarion, furious and almost disbelieving.


          “My name is unimportant,” he answered. “It is enough to know I am a Man and he is my


 friend, and if I can save my friend by my strength or skill at arms, even at the cost of my own


 life, I shall.”


          “Fool!” she shouted. Her hands turned black and deathly necrotic curses, the blackest


 magic she knew, shot out with ringing force but Eldarion lifted his shield Helkar, deflecting


 some of them and hewing and cutting the rest wherever they tried to break through his defenses.


          He would have failed. It was only his long practiced skill which enabled him to wield


 Ringil effectively enough to cleave the force and power of her death spells until the last fell


 screaming, bleeding and writhing to the floor.

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         “You!” Ulbandi yelled more furious than before. She stepped closer. “If you are too


 ashamed to reveal your name, then put your tiny tail between your cowering legs and tell me


 how a Man can stop the most powerful enchantments of a Vala.”


         “This is Ringil,” he answered, “and the shield Helkar, forged in Valinor and wielded by


 Fingolfin in the Dagor Bragollach before the gates of Angband where he fought alone and almost


 killed your lover Melkor. Cast your most powerful enchantments, Aulë crafted my shield to


 block them, this sword to cleave them and both can absorb or destroy them. But it is this cold


 glittering steel that will do to you what the Valar did to Morgoth: behead you! And I, the Crown


 Prince Eldarion Telcontar of the United Kingdoms of Arnor and Gondor will cast your lifeless


 body into the Void!” He strode forward viciously swinging Ringil two handed over his head with


 the glittering blade singing as it cut the air.


         “You are a fool!” she screamed. “Did you not know? There are Giants in the earth!” She


 ran away between the legs of her slovenly twenty-five foot giants, “Gilim! Nan! Kill him!”


         The giants grinned and their cracked teeth protruded from their mouths in broken growls.


 Their unwashed hair hung in their eyes on their grimy faces and fell to the shoulders of their


 dirty clothes. They lifted their war clubs, big as trees.

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         “Run!” Eldarion shouted leaping back into the armory barely ahead of the clubs.


         They crashed against the entrance deafening those within crushing six feet of stone which


 fell in a pile beneath the lintel.


         With their ears ringing, they weren’t able to hear Alatar screaming at them but they went


 where his staff pointed – through the back door of the armory.


         The giants were too big to get through the cave entrance but Ulbandi summoned hordes


 of worms, wereflies and scorpions slithering, scuddling and swarming across the cave.


         “Run!” Stygobromus yelled stepping into the opening and screaming a torrent of


 shattering clacks which struck the wereflies like a blow scattering them.


         Hundreds of spiders dropped from the roof stinging his head, shoulders and throat and


 silencing his voice. He fell to the floor covered by devouring worms and stinging scorpions.


         “Stygobromus!” Calcarin screamed running back for him.


         “It’s too late!” Elrohir shouted picking Calcarin up and carrying him through the armory


 to the back and into the tunnel far behind the others.




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        Wereflies, spiders, worms and scorpions swarmed after them, Elrohir sprinted through


 the tunnel carrying Calcarin’s crying form. Barely halfway through, the wereflies streamed in


 faster than the fastest elves could run.


        “Hurry!” Eldarion shouted from the other end of the long tunnel but he could see Elrohir


 and Calcarin weren’t going to make it.


        Behind them the roar of a whirlpool of wind sucked the wereflies back, half the spiders


 and slowed the scorpions to a crawl.


        At the silent command of Elladan, Elrohir leaped through the tunnel door assisted by a


 another wind from Alatar who stood with his robes glowing brightly, his staff pressed against the


 stone above the tunnel exit shattering the rocks and the roof of the tunnel collapsed.


        A deafening booming roar and a mountain of falling rubble crushed everything in the


 tunnel under countless tons of stone.


        When the floors, ceiling and walls stopped bouncing and flinging them about, the noise


 subsided and the dust began to settle. Elladan and Eldarion helped Calcarin and Elrohir stand.


        Calcarin could not speak, but his silent tears and sobs streamed from his nose.


        “It was very brave,” Elladan told him. “But there was nothing you could have done.”

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        “He sacrificed himself,” Eldarion told Calcarin. “To save us.”


        Through the walls they heard the faint echoes of hammers, pickaxes, shovels and clubs,


 smashing, moving and clearing the boulders far down on the other end of the long tunnel.


        “I fear it was for nothing,” Calcarin said wiping his nose and pressing his ear against the


 wall, “Ulbandi has set her army to break the boulders and carve through the rocks. They’re


 digging their way through to kill us.”


        “It doesn’t matter,” Alatar told them pointing at the enclosed chamber. “It’s a dead end.”


        “An unfortunate choice of words,” Eldarion observed.


        “Unfortunate perhaps,” Alatar responded, “but accurate.”


        “We have to find a way out,” Eldarion said. “I revealed my identity to Ulbandi. I fear she


 will launch an attack on my family in Minas Tirith seeking vengeance! We must warn them. If


 we do not, too many people will die.”


        “Why did you say your name?” Theo asked.


        “I- I got carried away, caught up in the moment,” he answered. “Wielding Ringil and


 Helkar for the first time in battle and waging war successfully against the most terrible of the


 Valar – it was a bit intoxicating.”

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         “She tricked you,” Elladan said.


         “She tricked me,” Eldarion agreed.


         “But now she’s our enemy,” Theo said. “The most powerful Vala!”


         “I know,” Eldarion said. “I am truly so very sorry. Did I not say in Bree I had no wish to


 ever fall so far afoul of such a powerful woman?”


         “Yep,” Elanor affirmed. “I remember. You did.”


         Eldarion fell back against the wall, “This is exactly what I did not want to happen!”


         Elanor asked Alatar, “Can’t you crumble the stone ahead of us and tunnel a way out?”


         “I am already exhausted,” the wizard said. “I sent my power up as high as I could to put


 as many tons of earth between us as possible. If ever I came close to losing control of my


 abilities, it was just now.”


         “Why did you try so hard?” Theo asked.


         “Ulbandi is the most evil thing that has ever lived in all of Arda!” Alatar replied.


         “How long before you’re rested enough to try again?” Elanor asked.


         He took a deep breath, girded his hips and stood up straight, “I will try now.”




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         He went to other end of the room and pressed his hand against the wall, closed his eyes,


 spoke the words of command, and concentrated. The blue light of their lamps dimmed, his robes


 glinted and shimmered, and the wall glowed.


         They waited.


         No one said anything.


         Minutes passed.


         “Well, my friend?” Eldarion asked.


         He dropped his hand and lowered his staff. The glow faded, the light in his robes went


 out and their lamps brightened, “We are too far underground. Long before we reached another


 cave, if there even is another cave in this direction, I will have fill this space with dirt and granite


 dust and buried us alive.”


         “That’s a cheery thought,” Theo said.


         “What about Ulbandi’s giants?” Elanor asked realizing belatedly most quests failed.


         Calcarin pressed his ear against the wall again, listened, and pulled away, “They are


 working very hard but I hear echoes of their screams. For all their desperate strength, she is




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 whipping them, flaying their backs in her mad belief it will spur them to work harder. But they


 are dying which feeds her fury, and more of them die faster.”


        “I can’t wait ‘till she gets here,” Theo said gloomily.


        “If it comes to that,” Eldarion said, “it will be better for Alatar to give us the mercy of a


 swift burial than surrender to the tortures Ulbandi doubtless plans.”


        “We do not need to worry about either of those,” Calcarin said sniffing the subtle


 warming currents. “The air will soon go bad. We will suffocate long before they get here.”


        “Are we going to die?” Elanor asked. For a moment, she regretted not having listened to


 her father and given him the Ring. Though it would have meant he’d be here instead, which was


 just as unacceptable. She didn’t know what to do.


        “Normally, I would say where there is life there is hope and our concerns must stay


 focused on how we are going to escape,” Alatar said. “But I fear this time, we may not escape.”


        They stood still in the light of their Fëanorian lamps and silently regarded each other.


        “Wait,” Eldarion said. “Fastred has the Turin-stone.”


        “Which means your family can’t find us in their palantíri,” Theo said. “If they had


 happened to have been looking.”

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        “It means,” Alatar said pointing at Fastred, “he can summon Mytikas and the Dodecs.”


        Everybody stared at Fastred.


        “What good will that do?” Fastred asked.


        “It will give us something else to do rather than imagining slow torments at the hand of


 Ulbandi,” Alatar told him.


        He withdrew the chain and opened his mithril locket looking at the Turin-stone, “I don’t


 know how. None of us thought to ask him to show me.”


        “All we have left is a little time,” Alatar said. “We lose nothing by trying.”


        Fastred nodded and pursed his lips. He palmed the locket and withdrew the stone, held it


 in his fingertips, closed his eyes and concentrated.


        Nothing happened.


        He opened one eye and looked at Alatar, “Should I say something?”


        “Why not?” Theo asked looking at Alatar. “It can’t hurt. Right?”


        “Correct,” Alatar responded cautiously, “It can’t.”


        “Is there a spell of some sort that might help?” Eldarion asked.




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        “None I can think of,” Alatar responded. “Fastred, do precisely as Mytikas said. Call his


 name through the Stone.”


        “I guess feeling foolish doesn’t amount to much,” Fastred said looking around at


 everyone and back down at the Turin-stone, “Caught between a rock and a hard place.”


        “So to speak,” Eldarion said wryly.


        “Fastred?” Alatar said catching his eye, “Just – say – ‘Mytikas’.”


        “Mytikas,” Fastred said, uncertainly. But then he felt foolish for having delayed so long


 now that he was actually trying. He closed his eyes, tilted his head back and opened his arms,


 “Oh, mighty Mytikas! Come to me. Heed my call. Mytikas, come to me! It is I, Fastred, son of


 Folcred, of Longcleeves in the Shire, honorary member of the Counselors of the North – ”


        “Who told you that?” Theo asked.


        “Companion of Alatar, the Dark Blue Wizard of Aman – ”


        “It’s just ‘Blue’,” Alatar said.


        “Elladan and Elrohir, twins and elfs – ”


        “We’re Elves,” the twins told him.


        “Elanor of the Shire, the High Queen Arwen’s Maid – ”

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        “I’m a Handmaiden,” Elanor corrected.


        “Théoden, son of Meriadoc, the Master of Brandybuck and the Counselor of the North –”


        “Buckland,” Theo told him. “Deputy Counselor, Fastred – ”


        “Prince Eldarion of Gondor – ”


        “Crown Prince,” Eldarion corrected, “Your future King, and why am I last?”


        “Mytikas come to me! For I am a member of the Fellowship of the King – ”


        “That, is supposed to be a secret!” Eldarion scolded.


        “Come at my call, Mytikas! For I am the Master of the Turin Stone – ”


        “You’re laying it on thick,” Alatar warned.


        “Mytikas! I command you to appear before the Company of the Ring– ”


        “Stop!” Elladan and Elrohir shouted.


        Fastred stopped. He opened his eyes and looked at everyone’s sever expressions, very


 annoyed by his exceedingly poor choices of words. He lowered the Turin-stone and wondered if


 anyone was thinking of walloping him, their expressions were so grim.


        “Look!” Elanor cried pointing at the wall next to Fastred.




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        A glowing red line appeared growing longer and brighter, a white seam ran down the


 center of the first line and the seam grew longer and wider, then three more, then six, then more


 in hexagonal patterns forming steps felling forward out of the wall and creating an ever growing


 open space revealing the cascading array of Escher-like staircases opening into an impossibly


 intricate stonescape of moving, descending, rising, twisting, turning steps appearing and


 disappearing in every direction, and down them strode Mytikas with the purposeful and powerful


 steps of his massive stone feet that were still graceful.


        Mytikas thudded down the hexagonal stairs to the floor and the chamber shook with


 every step. His powerfully pounding footfalls echoed and he walked past them to the back of the


 chamber followed by one, then two, then four more of the Dodecahedrons. But another much


 larger Stone-man, the largest Alatar had ever seen walked down the hexagonal steps and thudded


 with the heaviest clunks shaking the room. This Stone-man’s giant head reached the top of the


 chamber and the worn and many eyed-black surfaces of his great stone body were as weathered


 and pitted as any stone could be.


        “I am Genesis Tor Mons,” the Stone-man said in a booming voice. “The Protolith, Father


 of all Stones, Apex of the Rocks and Peak of Petradons, the High King of the Mountains.”

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        “Welcome, Revered and Risen Genesis,” Alatar said bowing. “Many and great are the


 tales of Genesis the Protolith, Apex of Mons. Your deeds are recorded and praised even in far off


 Valinor. Long have I hoped to meet the Father of Stones. It is an honor to greet you here, in the


 heart of your strength.”


        “Welcome to Euthyria,” Genesis said. “Rare indeed are the servants of the Valar willing


 to tread the pedons, tunnels and cavities of the Gaiaspheres, especially one so learned as Alatar


 the Blue of the Istari. Long have I observed your tutelage in the Gardens of Aman.”


        “Thank you,” Alatar said bowing again. “I wish we had come under more favorable


 circumstances. But we’ve run afoul of the Mad Vala Ulbandi.”


        Genesis smiled, “It expands the crystals of my biotite to think Metamorphs of Euthyria


 may have found an ally in our war against Ulbandi. She is the greatest threat our Earths have


 ever known. If we do not stop her, she will extinguish every fire and shatter every rock until


 nothing remains but frozen dust scattering through endless ice and aether.”


        “How can we help?” Eldarion asked.


        “Your invasion of her armory has prompted her to return to the surface to recruit more


 orcs, goblins, Trolls and Giants. Most of the ones she brought or bred, she tortured and murder

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 for amusement. But first she goes to recruit Men, Hobbits, Dark Elves, Kôr and Dwarves. We


 must not allow her to succeed. Metamorphs are mighty, but we can be overwhelmed by numbers.


 This is Ulbandi’s plan.”


        “What can we do?” Alatar asked.


        “She has accepted the invitation of the King of Gondolin, which she had previously


 spurned,” Genesis answered. “She goes to Glorfindell to meet him, recruit the Kings and Queens


 who are attending his War Council to create an invasion force. You must stop her.”


        “Will you come with us?” Theo asked. “You look much stronger than we little hobbits.”


        “We cannot,” Genesis answered. “The Valar wove enchantments to prevent us from


 coming to the surface. Stone-men are the oldest living things, the first primordial beings in Eä.


 We are not the Children of Ilúvatar the way Elves and Men are, nor even Dwarves, the Children


 of Aulë. The Stone-men of Zirakzigal are a race Ilúvatar created for Ilúvatar. He has had many


 thoughts and sang many creations. We are the children of his earliest song, a deep and strong


 primordial melody. But we are outside the specificity of his Middle-earth creation. We cannot


 come to the surface or the strange air and water will wear Stone-men down like sand in a storm.


 Just once, during the War of Wrath did Manwë suspend the enchantments that bind us beneath

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 the surface, to join their war against Melkor. So great was the strength of the Stone-men fighting


 beneath the Banner of Eönwë, the passing of our Hosts shook the entire Earth. Without our


 strength, not even Eärendil would have succeeded.”


        “We would be delighted to go to Glorfindell and stop Ulbandi,” Elladan told him.


        Genesis smiled, delighted, “Welcome indeed are these tidings.”


        “Can you help us get there ahead of Ulbandi?” Alatar asked.


        “Is there anything we can do for the Stone-men, or Genesis, the Father of Stones?”


 Eldarion asked.


        “We would accept your aid retaking the Stoneries of Asthenḗs from Inaequalis the


 Xenolith,” Genesis told them, “and his army of Igneous and Sediments.”


        “Where are the Stoneries?” Fastred asked.


        “Very deep in the Earth,” Genesis answered. “When two Stones fall in love, they court a


 very long time, sometimes longer than all the ages of Man, and when it is time for their union to


 bear Baby-stones, they dive through all the levels of Gaiaspheria to the Asthenosphere. There


 they meld and merge in hotspots which lasts a very long time, sometimes longer than the Ages of


 Ents and every living thing that has ever lived on the surface. When the Stones emerge from

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 Asthenḗs with their Baby-stones, we teach them the Steps of Stone. The realms of the


 Gaiaspheres and the responsibilities of Stone-men are many times more vast than the realms of


 Middle-earth and Under-earth, combined. We order the elements, keep the lands and seas


 separate, manage the fires within the earth and the migration of Stones throughout the Stone


 Creation Cycle, which requires constant vigilance and often prodigious interventions to keep the


 ever changing conditions of Chaos ordered.”


        “That does sound complex,” Eldarion said. “Where do you believe our efforts would give


 you the greatest benefit?”


        “By drawing the Igneous to the surface,” Genesis answered. “They are the only Stones


 allowed from Under-earth. If enough of them were drawn away from Asthenḗs and the Stoneries,


 it would allow the Metamorphs to take back the Asthenosphere.”


        “I am certain we can find a way to accomplish that,” Eldarion said thoughtfully.


        “Who are you?” Genesis asked.


        Eldarion bowed, “I am the Crown Prince Eldarion, son of the High King Elessar of the


 United Kingdoms of Arnor and Gondor.”




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        “Every night beneath the Earth is a good one!” Genesis said smiling. He turned to Alatar,


 “You have found most worthy companions in your journeys on the surface.”


        “Thank you, your Majesty,” Alatar said. “Not only are the Men of Gondor and Arnor


 faithful allies, the Crown Prince Eldarion has become a friend.”


        “After you have stopped Ulbandi, Prince,” Genesis told Eldarion. “Return to the caverns


 of Under-earth with your father and summon us so we may hold a Council.”


        “Are there any representatives of the Sediments or Igneous who oppose Inaequalis and


 would come?” Eldarion asked.


        “No,” Genesis answered. “Metamorphs and Sediments change and grow, but the ways of


 Igneous are set in Stone. Metamorphs order the world and leave room for all types of Stones, and


 respect for all Ilúvatar’s creations, but Igneous are always selfish, caring only for other Igneous.”


        “Wouldn’t their selfishness destroy the world?” Fastred asked.


        “You were right,” Genesis told Mytikas, “He wise for one with blood. Yes, Fastred son


 of Folcred, if Igneous succeed then one thing and one thing only will exist, the creation of ever


 more Igneous-stones. They will absorb all other elements within their Stone-bodies, transforming


 all Stone-men and every other living thing into Igneous-stones alone.”

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         “What about the Sediments?” Theo asked.


         “Most sediments refuse to understand how much work it takes to maintain the world,”


 Mytikas answered. “Or perhaps they do and simply not care. If it takes work to run the world, the


 world can fall apart. In fact, if it does take work, they’d prefer the world to fall apart. At least the


 Igneous, though abhorrent, have principles behind which they stand, like rocks. But not those


 smirtsfelsdt Sediments. They would allow us to perish rather than lift a stone.”


         “The Sediments do not concern themselves with ordering anything or anyone. Not even


 themselves. They are lazy bums, sort of like the Avari Elves. They just ‘go with the flow,’


 ‘whatever,’ they say, not very ambitious. ‘If things fall into place, they rejoice. If it happens it


 happens. If not, they sleep. ‘Oh well, it wasn’t meant to be,’ say the Sediments.”


         “‘It wasn’t meant to be,’” Genesis snorted contemptuously. “To keep the world rolling


 requires monumental effort. The Sediments are insane.”


         “But not so insane as to refuse the protection of the Metamorphs,” Mytikas added. “Yet,


 they do nothing to help. Only three Sediments in the history of Archany have ever risen above


 their station and taken an active part against the Igneous. But a small band of Sediments do try to


 destroy. Sometimes Igneous, sometimes Metamorphs, but mostly each other. Fortunately, they’re

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 very small, disorganized, and I said before, just lazy. Mostly they don’t care. But never, not once


 has a Metamorph gone against the will of Genesis, King of Stones.”


        “It is our duty to treasure the baby stones and keep the world rolling for them,” Genesis


 said. He opened his heart-stone and pulled out a little six-inch rock. He tapped it twice and it


 unfolded. A baby-stone stood up on her little baby-stone feet. “This is Petralith, my


 granddaughter, daughter of Mytikas, which Mytikas’ wife bore while he was imprisoned by


 Ulbandi. You have reunited her with her father, and she wished to thank you.”


        Petra raised her little arm and waved, including all three finger.


        “Aw, you’re welcome Petra,” Fastred said and he turned to Mytikas, “She’s so cute!”


        Mytikas motioned Fastred over and pulled him around so that he was hidden behind


 Mytikas’s back and they had a whispered exchange.


        Genesis turned to Elanor, “You are the handmaid to the High Queen Arwen. You seem in


 shape and form Ilmarë reborn, who was herself a handmaid of Varda, High Queen of Heaven,


 wife of Manwë, Queen of the Valar. In the War of Wrath, great were the battles of the Valar and


 against the forces of Melkor, of which only the records in the Annuals of the Stones survive,


 deep in the winding twisting halls of Archany. Metamorphs fought, arrayed among the Valarindi.

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        “Our hosts were so large and mighty the mountains rang beneath the pounding of our


 great stone feet, and Ilmarë and Eönwë, were our chiefs. Therefore,” he swung out his arm to


 where Fastred stood, and beckoned.”


        Fastred walked up to Elanor, kneeled, and bowed his head, “Fair Lady Elanor, Handmaid


 to the High Queen Arwen, I’m not worthy to present this gift – ”


        “Fastred.” Mytikas said.


        Fastred looked back. Mytikas raised his great stone shoulders and large stone arms.


 Suddenly, he understood. With what had been quite uncharacteristic of Fastred before, he took


 heart, straightened his shoulders, lifted his eyes to Elanor’s and allowed himself to feel the


 dignity and pride for the choices he had made, the valor he had displayed, and the duties he now


 performed, “I’ve accepted the responsibilities of the Servant of the Servants of the Valar. On


 behalf of them, and me, please accept this gift for all you’ve done for the free peoples of Middle-


 earth against our Enemy, and for the things you have still to do.”


        Mytikas smiled. He looked at Genesis, who nodded in approval.


        Eldarion caught Elanor’s eye and looked down. Caught off guard, she curtsied low,


 bowed her head, and closed her eyes. Eldarion motioned Fastred to go behind her, where he set

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 the mithril filigree over Elanor’s head, smoothing her beautiful long blond hair, and the bright


 white diamond star lay at the top of her brow, dazzling their eyes.


        Alatar smelled the air growing stale, “King Genesis, our human bodies are frail and easily


 unmade in Under-earth. We must escape and return to the surface. Can you get us out?”


        “For many Ages I have searched for my long lost and most loved son, Mytikas,” Genesis


 said, “When he and the Dodecahedrons returned to Megalith in Lithlond, it was one of the


 greatest joys I have ever known. I will aid you however I can. Though many times more vast


 than any of the many surface worlds within the realms of Under-earth, or any of the many realms


 within the Gaiaspheres, when Eru changed the World at the end of the Second Age and removed


 the Undying Lands from Arda, we were given all the lands beneath the surface. Men and Elves


 were given the surface, which we are not permitted to tread without the consent of the Valar, just


 as the Númenóreans were never to set foot on the shores of Valinor. We have learned those


 lessons well observing their foolish choices and will not repeat their errors. But we can take you


 to the mouth of a cave that lies under the city of Glorfindell, just below the surface. But we must


 hurry,” Genesis told them, “Ulbandi has slain her servants and summoned Inaequalis and his


 Igneous troops. We are too few and they are gathering their forces and coming her for you.”

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        “How?” Fastred asked. “The Shroud of Turin stops them from knowing where we are.”


        “They are following the path of the Dodecs,” Genesis told them. “Even the Protolith can


 be crushed in the pressures Ulbandi’s otherworldly spells, or melted by the heat of her fires.”


        Genesis lifted his great arm to Mytikas and the Dodecahedrons. They raised their great


 shoulders, lifted their chests, and a white line divided the center of their bodies. Then two more


 lines, then six, then twelve and their bodies opened like the surface of the wall had opened. A


 series of six-sided stones of ever decreasing height fell one after another out of them forming


 descending six sided steps whose last stone lay even with the floor.


        A great hollow chamber opened within them and Genesis motioned for them to ascend


 the steps and enter the Dodecs.


        “Is it safe?” Elanor asked.


        Behind them, the shattered rubble that had buried the long tunnel began to glow, the


 walls turned red, waves of eat radiated off the stone and the room grew hotter and hotter.


        “The Igneous and Ulbandi are coming!” Alatar shouted. “Into the Dodecs!”


        They climbed the hexagonal steps into their Dodecs with Fastred riding in the place of


 honor inside Mytikas, and Genesis enclosed Petra within his crystal biotite heart-chamber.

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        “Farewell,” Genesis said. “If the fate-stones are kind, we will meet again.”


        The bodies of the other Stone-men closed about them, and for a moment Elanor feared


 she would be crushed. But as if their stone bodies could feel, as soon as the slabs closed snuggly


 against her skin, they stopped. She felt her Stone-man moving, climbing, rising, then tumbling,


 sliding, falling, bouncing. She felt the motions and heard the noises dimly through the insulating


 rock, but she was held snugly and couldn’t feel the smashing or crashing of their journey.


        But her certainty that Inaequalis, the Igneous, Ulbandi and her Nameless Things were


 pursuing and hunting them, gave rise to a great fear, made so much worse for not knowing what


 was happening outside. She heard great howls and cries of pain from Nameless Things, the


 sounds of battle, the smashing of stones against living flesh and her terror grew.


        Then they were falling again, then gliding, floating, climbing, plodding, running, and


 Elanor lost track of time in the darkness and mostly muffled silence of the lumbering body of her


 Dodec, until at last she fell into a bone weary and much needed sleep.


        She awoke with a start. She wasn’t sure how long she’d slept. It was cooler now, though


 her body was covered in sweat. She could taste the air inside her host becoming foul. She began


 to sweat again, not from heat, but from the fear maybe they Stone-men had no way of knowing

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 their tiny and frail human passengers were running out of air. She could be dead before they


 reached their destination or thought to check.


         As this new fear gripped her, the Dodec’s body opened and unfolded as before. Between


 her and the floor, his body came apart in a series of descending six-sided steps, sliding out and


 forming a staircase that ended even with the floor.


         Before her, Alatar stood holding out his hand. She took his hand and walked out of the


 Dodec’s body to the ground.


         She turned and curtsied graciously, “Thank you for saving us and carrying me safely


 through the Escherscape of Archany.”


         He bowed, “You are welcome, Lady Elanor Elestirnë.”


         That surprised her, “What does that mean?”


         “Lady of the Star-brow,” the Stone-man answered. “For like Ilmarin, your brow now


 shines with the light of stars.”


         Elanor blushed deeply and curtsied again, “Thank you.”




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        “You’re welcome Lady,” the Stone-man said opening his three big stone fingers and


 presenting to her in the palm of his stone hand, three small (to him) grey stones. “Please accept


 these gifts as mementos of the living Stone-men of Zirak-Zigil.”


        “Thank you,” Elanor said, picking them up and they filled her small hand. One was round


 with a shallow hole in the center. The second was thin and round, like a stone-stick that fit in the


 stone hole in the first, and the third was hollow. Looking closer, she saw it wasn’t a stone at all,


 but a petrified shell of some small crustacean that had lived at the bottom of an ocean somewhere


 in one of the many Gaiaspheres in the depths of Eutheria, “What are they?”


        “For grinding seeds,” the Stone-man answered.


        Fastred stood before Mytikas, “Thank you for saving us.”


        “The Master of the Stone does not need to thank his servant,” Mytikas told him. “If ever


 you are in the depths of the earth and in need, you have but to speak into the Turin-stone and we


 will aid you. But I must go. Ulbandi and her Nameless Things are blind to you, and though she is


 denied the steps of the Escherscapes, the Igneous can follow our paths. If they find them, they


 will tell Ulbandi where you are. We must double back and lead them away.”




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        Mytikas and the Dodecs drew their hexagonal steps back into their bodies, folded the


 sections of their centers closed, and once more towered twelve feet over the hobbit’s heads. The


 Stone-men turned and strode back up the hexagonal steps the led up to the open wall of the cave


 and the Escherscape of Archany, twisting and turning, closing and unfolding in every direction.


        Mytikas went last. Beyond the wall on a twelve sided platform of stone within Archany,


 one step away from disappearing behind a twisting turning stair, he stopped.


        “Oh, and Fastred?” Mytikas called. He tried to suppress a rumbling in his chest but


 couldn’t stop laughing. He got as much of it out of his system as he could, lifted his great stone


 arm and waved, including all three fingers, “Next time, just say ‘Mytikas.”


        The hexagonal steps outside the portal rose, folded into the wall until the wall closed and


 all that was left were red lines in the smooth solid stone, which dimmed, shrank, one after


 another until the last went out.


        They were inside the mouth of a small cave. The exit was hidden behind a clef in the base


 of a ravine. Outside it was midday. The sun shone warm and bright. The air was fresh and clear


 and clean and Elanor inhaled the sweetest smell of snow fed stream and flower scented mountain


 air she had ever smelled.

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        Before them lay a green valley through which flowed what were only recently the beds of


 mighty rivers, now reduced to trickles, dammed somewhere out of sight. Nestled between the


 dramatic canyon walls over which a great many waterfalls once poured, only modest streams


 dribbled. Between the sprinkling drops lay the many doors and windows of what she had never


 seen but knew must be the Homely Homes of Rivendell. She refused to call it Glorfindell.


        Elladan and Elrohir looked out but the land was terribly changed. Most of the forests and


 trees had been felled. What were once open fields full of wild flowers were now croplands under


 plow. Roads and bridges filled the valley floor connecting the segmented and fenced parcels. A


 small city of hastily assembled and ugly wooden barracks, kitchens, stables, latrines, armories,


 forges, training grounds, and many more buildings; everything a great army of Men could need


 to become a marauding force of conquerors had been built, polluting the land and decimating the


 once pristine and green pastures of what had been one of the fairest places in Middle-earth.


        The twins knew somewhere, Arwen was chained to a wall in a dungeon. The thought


 something might have befallen her filled them with such rage, they longed to use their newly


 acquired weapons with the ferocity they often felt, but rarely expressed.




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        Thanks to Fastred, no one knew they were here. The twins led them out towards the back


 of the house, except Calcarin who trembled and held back.


        “What’s wrong?” Elanor asked.


        He turned away, ashamed to speak his fear. After a moment, he turned his mouth to her


 ear, “Imagine coming to a door in the middle of the day, and beyond it there was an impenetrable


 darkness in which your Sun would never rise again, through which your eyes would never see,


 and you knew you must now and forevermore walk in darkness. Now imagine, not only must


 you step from your homeland of light into darkness forever, but within it lived the most evil and


 powerful demons that had ever existed in the world, the very embodiments of evil who had


 frightened you as a child, from which you had hidden trembling under your blankets, sightless


 and blind. Now you had to step into that darkness and face those very demons in their own lands


 at the peak of their powers. But you, because of your blindness, would forevermore be at the


 lowest ebb of yours. This is where my strange desires to learn new languages and explore new


 lands have led me, and what I must now do.”


        “I’m sorry,” Elanor said. “I never thought what it might be like for you.”




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        “Thank you, Lady Elanor,” Calcarin said. “But this is a choice I made. I must face my


 choice, listen, hear my fears, and transcend them.”


        “That’s true,” Elanor said offering her hand. “But you have friends. So you don’t have to


 listen, hear, and face your fears alone.”


        Calcarin clacked and listened to her hand, taking it in his trembling fingers. A tear fell


 from his nose.


        The others looked at their friend kindly.


        Together, they stepped out of Euthyria into Glorfindell.




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                                            Chapter 8




                                   The Council Of Glorfindel




        Glorfindel sat at the elevated head of four long meeting tables arranged in a square with


 many seated guests in his biggest hall. Beside him sat Thüringel and she silently surveyed the


 others. It was the largest and most powerful gathering of Queens and Kings ever assembled.


        Despite Thüringel’s wearying browbeating and complaining, as if she fancied herself a


 wife the way she nagged and tried to keep him under her thumb. But she was not his better, he


 was hers. This gathering he had brought together proved it, if the Rings he wore did not. He


 exulted in his accomplishment and though she would never admit it, even she was impressed.




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        In addition to many human Queens and Kings, he had gathered the collocoll King


 Tyraculus of Eidolon and Queen Serpentris of Gaiarium. They sat with their guards, clicking and


 clacking and singing in their strange but beautiful collocoll tongue, and listening to each other


 more warily than any the others. Here was the Changling Yhasandaed Imavich, the Queen of


 Wetwang; Daequed son of Blaequed King of Trolls who ruled the Entmoors; and Gothmog, the


 King of Orcs from Mount Gundabad. Mid-table sat the tall and insolent Estel Perheledon of


 Rhûn, the Prince and Progenitor of the Orcelven, who looked about as if he owned the room and


 they were merely guests in his halls to be dismissed on whim. Such insolence. Estel was at war


 with Dominus, the King of Rhûn. Glorfindel had prudently put them on opposite sides knowing


 neither could be trusted to get close to the other. Demius, the wandering King of Pettidwarves,


 Mesic the Pygmy King, Gurulus, King of Gnomes; and the Kings of Bears and Hawks.


        Outside the window closest to Glorfindel’s throne towered the leafless branches of a dead


 tree. The longest branch entered the open window and ended near his throne. On the end of the


 branch perched Percnopter, King of Vultures.


        “I want the head of Gwahir!” Percnopter cawed. “Long have the Eagles taken the best


 hunting grounds. They steal game we kill and leave behind their wastes, and the rotting remains

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 even hyenas will not eat. Their eyries have swelled, protected by Elessar and they depopulate the


 lands of prey. We have had no choice but to scavenge their leavings.”


        “Could you imagine,” Glorfindel said to Thüringel. “Scavenging rotting corpses.”


        “With Gwahir dead, we will do so no more,” Percnopter vowed. “Destroy him, and as the


 Avian King of Air and the High King of all the Skies and Birds, everything that flies will support


 the armies of Glorfindel.”


        “I agree Emperor Glorfindel,” Tevildo the Lord of Cats said sitting halfway down on the


 left side petting his one black cat which the eight white cats fearfully served, “Let the vultures


 rule the air and the cats will rule the streets. Destroy the hounds and everything every cat sees in


 every city in every land will be known to the Emperor of Gondolin.”


         The large eyes on the cats seemed languid, but Glorfindel knew they were watching,


 listening, smelling, and learning everything they could for Tevildo.


        “Destroy the Eagles and there will be no last minute rescues for Elves and Men in this


 War of the Rings,” Percnopter told him. “You will never hear the cry ‘the Eagles are coming’ as


 their armies descend.”


        “I won’t,” Glorfindel told him. “The Eagles will be dead.”

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        “The Eagle are the servants of Manwë,” Thû the Great said, sitting across from Tevildo,


 the Conqueror of the North, ruler of the empire of Dor Daedeloth and the most powerful Warlord


 in all of Middle-earth. “How can you destroy them and not bring his wrath down on us?”


        “I have lived since the Years of the Trees,” Glorfindel answered. “The Valar rarely leave


 Aman, and if they do, it is only after Middle-earth has all been all but destroyed. I will kill the


 Eagles and King Percnopter and his Vulture armies will descend from the skies serving me.”


        Thû claimed his realm stretched from the shores of Forodwaith in the west, across the


 Northern Wastes and the Regions of Everlasting Cold to the Mountains of the East, and down the


 Eastern Seas to the shores of Hildória. If true, his Empire was greater in size than even the lands


 of the Emperor Guan Qubing, making Thû the ruler of the largest Empire in Middle-earth.


        Some even said Thû had extended his empire beyond the Eastern Seas to the Dark and


 South Lands, and to the shores of Kalórmë and its fabled Sun blackened hills. But even if true,


 Glorfindel knew most of that was frozen wastes.


        In Thû’s case, size was not commensurate with power.




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        In the center of the empty floor-space created by the four long tables sat a low dais with


 the single largest egg anyone had ever seen, over three feet tall and weighing over 150 lbs. There


 was no doubt it was a dragon egg. Everyone imagined it was close to hatching.


        But most surprising, in the place of honor opposite him, Glorfindel had given the chair to


 Swahillogûz, the Albino Abomination known as the White Elf of Greater Harad, dressed all in


 white, the Servant of the Silence That Devours.


        Next to Swahillogûz in a flowing robe woven of threads of gold, with a golden staff of


 gold heartwood sat his Councilor, the white haired, black skinned Wizard of Aman, Incánus the


 Gold, who wandered the lands of Northern, Greater, and South Harad.


        On one side of the great meeting room, a large mirror set within the wall reflected the


 open windows, great columns and tapestries, the large round egg, and the faces of the gathering.


        On the other side of the magical mirror lay a secret room created and concealed by the


 power of Elrond, unknown to even Glorfindel. Through the one-way glass, observing those


 seated in the meeting stood Alatar, Eldarion, Calcarin, the twins and the hobbits, shrouded from


 all perception by Fastred’s Turin-stone and Elrond’s and Alatar’s spells.


        “Elrond doesn’t seem to have been very trusting,” Alatar noted.

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        “Trust does not necessitate an absence of caution,” Elladan said. “Nor failing to protect


 your family or abandoning reasonable precautions.”


        “The Rikedons were destroyed and we were forced to flee,” Percnopter told Swahillogûz


 in answer to his question and he turned to Glorfindel. “Elessar’s armies have destroyed your


 allies at Weathertop. They vanished under cover of darkness.”


        “Could they be headed here?” Queen Imavich of Wetwang asked.


        Whispered conversations and cries of concern rose and fell around the table.


        “If they are, it appears you cannot protect yourself from Elessar and Alatar,” Imavich


 said. “How do you expect us to believe you can protect any of us?


        Thüringel narrowed her eyes. She wore her fair female form as not to terrify the


 gathering, but he could sense beneath her calm exterior, her fury raged.


        “Because of these,” Glorfindel answered. He opened his hand and displayed six glinting


 golden Rings of Power set with different burnished black precious gems.


        “Those are the Rings of Sauron,” Incánus observed. “Six of the Nine.”


        “Yes,” Glorfindel affirmed. “They confer great power, to any Ringbearer I choose.”


        The Queens and Kings around the table regarded each other in silence.

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        “What will become of those Ringbearers now that Sauron has been destroyed?” King


 Kaparmál of West Carnen asked, covetously but warily eyeing the Rings.


        “I do not know,” Glorfindel answered. “But I do know, these Rings are the keys to


 power. The power to secure your borders and defeat your enemies. Oh, and incidentally, they


 give the Ringbearers immortality… that is, if you happen to be mortal.”


        No one spoke. The Queens and Kings looked back and forth between Glorfindel, the


 Rings in his hand, and the faces of the others, most of whom were enemies.


        “But what will happen to us in five-hundred years?” King Voljotin asked.


        “I have no idea what I am having for dinner,” Glorfindel answered.


        “He is having us for dinner,” Ivanavich said to Voljotin.


        “We know what will happen,” King Gylslag said. “What would you demand of us in


 return for one these Rings?”


        “Your first born child,” Glorfindel answered. Another silence.


        Imavich turned to her Vizier, “Send for the Crown Prince Eriol – at once.”


        “I spoke in jest,” Glorfindel said. “The Master of these Rings has never demanded a


 price. It would be foolish to do so now. But, if you happen to have an extra son, or daughter…”

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        “We know the price,” Tevildo said, stroking the back of his one black cat.


        “They demand their own price,” Imavich told him.


        “For all I know, nothing will happen,” Glorfindel said. “There is no way to know.”


        “The King of Gondolin must think we who have accepted his invitations are fools,”


 Incánus said. “We know the history and Dark Gifts conferred upon the wearers of the Nine.”


        “Believe what you wish,” Glorfindel said, holding up the Ring on his finger and


 displaying Arien, the Ring of the Eclipsed Black Sun and the Morgul Ring’s shinning black Star


 Sapphire stone, “I would never allow anybody to harm a Ringbearer. Anyone who dares to raise


 a hand against those who wear my Rings will be utterly destroyed.”


        “I believe that already happened during the Battle of the Pelennor Fields,” Incánus said.


 “Didn’t a hobbit break the enchanted protection around the Witch King and the Shield Maid of


 Rohan was able to run him through?”


        “Yes!” Glorfindel cried, his features twisted in fury. “The Master Meriadoc of Buckland,


 I have only recently learned. The first thing the allied kingdoms of this war council will do is


 send a message with a scorched-earth invasion and the utter annihilation of the Shire.”


        In the hidden room behind the mirror, Theo grabs Fastred’s arm in alarm.

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        “If after the destruction of hobbit-kind you will pledge their lands to the Kingdom of


 Baranduin,” the Queen Thylia of Baranduin said. “I will accept one of your Rings and ally


 Baranduin with Gondolin.”


        She held out her hand.


        Glorfindel rose and walked slowly around the table to where she sat. He held up one of


 the Rings for all to see and set it in her trembling hand, “This is Elemmire, the Ring of Wealth.”


        She closed her fist around Morimaitë, the Ring of Treachery, Deceit, Trickery and


 Robbery, opened it and examined the Jet stone polished so bright it nearly glowed.


        Before she could put it on, many of the other Queens and Kings reached out with greedy


 grasping hands. One rose, then another, and then the mass of them surged towards Glorfindel.


        “Stop!” he cried holding up his hands. They froze. “Sit.”


        They hesitated, looked at each other, slowly returned to their seats and sat.


        Thû, Incánus, Swahillogûz and many others had never moved. They sat silently with their


 arms folded and their hands out of sight.


        Glorfindel smiled. He did not need all of them. Only six. Just as before, in the end it was


 so easy. Too easy. He walked around the table keenly aware of the Queens and Kings whose

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 wanton desire for power rose from their trembling faces like the stink of a long unwashed beggar


 with the same ugly stench of desperation.


        It was not a thirst, it was a craving for power and immortality as great, in its small, mortal


 human way, as his own truly great and immortal predatory, ravenous hunger for the Ruling Ring


 had once been. But this long past hunger had grown into the far greater indescribably insatiable


 and all-consuming lust for the Master-ring of Middle-earth.


        Unlike his own, their hunger was not for power over him, and the Queens and Kings


 gathered around the table they did not know, as Glorfindel had feared. Since he wanted power


 over them, he had thought of little else.


        But that’s not what they wanted at all.


        They wanted power to crush their personal enemies, and power over their own lands and


 their kingdom’s ancestral enemies, a few of which were gathered around this same table. They


 preferred not to be involved with other distant lands, so the less they had to deal with Glorfindel


 and western lands, the better. Their ambitions had never had anything to do with him and the


 West, and until the moment he presented and offered these Rings of Power, they never had.




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        Glorfindel walked to King Kaparmál of West Carnen, the next of his carefully pre-


 selected Queens and Kings who had the largest armies and richest lands outside of Thû, or the


 Emperor Guan Qubing, who had not been invited.


        “Hold out your hand,” Glorfindel commanded.


        Kaparmál held out his trembling, grasping, sweat stained hand and accepted from the


 King of Gondolin the largesse of the Emperor of the West in the form of a small yet potent


 golden Ring of Power set with a black polished gem.


        One by one, Glorfindel handed out the other four Rings. The Queens and Kings who now


 held the golden Rings inspected them. One or two hesitated. But the moment Kaparmál put on


 his Ring and vanished, the others did the same.


        Seeing each other disappear, when not one of them had ever seen anybody become


 invisible before, and looking down and failing to see their own invisible hands, they fully


 grasped the terror just the rumor of even just this one ability of their Rings of Power would instill


 in the hearts of their enemies. They also knew there were many more within these Rings, waiting


 to be revealed to them by Glorfindel. A few of the them chuckled, then laughed with glee.


        The others who had not been given Rings watched silently.

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        Glorfindel raised his hands and their laughter died, “Please, remove your Rings for the


 benefit of our other guests, so we may continue.”


        Obediently, all six did as they were told.


        Swahillogûz the White Elf rose to his feet, “It is not fitting the Emperor Glorfindel should


 give so many gifts and receive nothing from this assemblage in return.”


        He waved his hand and one of the warriors of North Harad, who had been standing


 motionless and silent behind him came forward and set a large wooden case on the table.


 Swahillogûz opened it and revealed three black double bladed weapons set in white velvet felt.


        “What are they?” Thû asked.


        Swahillogûz lifted the double bladed sword, “this is a bident.” He set it down and lifted


 the double bladed dagger, “this is a biger.” He replaced it in the case and lifted the handle that


 bore two slender needle blades, “and this is a biletto.”


        “You are too kind,” Glorfindel said, smiling. “But you need not have bothered. I recently


 purchased a great many from Manus Tarqus, an arms dealer of Greater Harad.”


        “What?” Theo whispered to the others in their enchantment hidden room.




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        The open doorways filled with armed Easterners holding bident swords and bigers.


 Frightened, the six Queens and Kings put on their Rings and vanished.


        From behind the hanging tapestries, Nine Nazgûl, Hunters In Grey, holding grey mithril


 bows stepped out, their grey eyes in their grey faces were blank. Already notched against grey


 hithlain strings, grey arrows with black bident arrowheads were aimed at the invisible Queens


 and Kings the Ringwraiths could see half-in half-out of the same shadowy wraith world.


        They loosed their arrows, the needle points found their targets and drove deep. The


 Queens and Kings reappeared screaming and fell to their knees. Their pupils grew grey, lighter,


 then white. Their screams faded to nothing and they stayed on their knees unmoving, silently


 screaming, their golden Rings of Power glinting, the unliving slaves of Glorfindel.


        “Treachery!” Thû shouted. He and everyone else jumped to their feet.


        Percnopter cawed, rose into the air and dove at xxlx the King of Hawks, catching the


 hawks talons in one of his own the hawks head in the other. Percnopter ripped the King of


 Hawks apart, dropped his body and flew out of the open window clutching the hawk king’s


 talons glinting with a golden Ring of Power appearing the moment the King of Hawks had died.




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        The sunlight streaming through every open window dimmed, the images of everyone in


 the room scrambling about grew murky, shadowy, the sounds of everything around them faded,


 diminished, inaudible, and the space contracted and bent to the open door, where Ulbandi stood


 in her blue-black Death’s Head armor, more powerful than the gravity in the floor.


        The only light undiminished came from her murderous gleaming blue-black mail which


 shone brighter. The beams stabbed the eyes of everyone in the room with a cutting pain. Behind


 her strode Anfauglir Queen of Werewolves and Latistha the great ice-winged Balrog Queen.


        Everyone stopped frozen in place, their feet rooted to the floor, held by her power.


        “Well, well, what treachery is this here in Glorfindell?” Ulbandi asked contemptuously.


 “Hail ‘Fair’ High King and Emperor of Gondolin Re-founded.”


        She looked around the table but the Queens and Kings held their heads bowed silent and


 terrified. Anfauglir and Latistha posted themselves at the door above the bodies of the


 Easterlings they had mauled and dismembered. Following them came an old crone with a very


 wrinkled face, weathered bony hands and fingers, long broken dirty black nails, in a long black


 robe and a black blindfold around her eyes pinning her long dirty grey-white hair against her


 head. In her hands she carried a long black staff of scorched black wood.

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        “Oh no,” Alatar whispered. “It’s Leminkkäenin.”


        “Who?” Elanor whispered back. “What’s wrong?”


        “I hate Leminkkäenin,” he whispered, “and she hates me. She is one of my Order, a


 Maier and Istari, Leminkkäenin the Black, a Wizard of Aman.”


        “What’s she doing here?” Theo asked.


        “She was first to Fall after Ulbandi, before even Melkor,” he answered. “She serves as


 Ulbandi’s chief Councilor. She is Evil. Powerful and Dark are her arts. But long ago she passed


 from all who knew her and was forgotten and long thought lost, unknown in any record and even


 memory, to all save the Eldar.”


        “What about that guy in the gold robe?” Fastred asked.


        “Never mind about him,” Alatar said.


        Ulbandi walked around the table, “I gave little thought to your ambitions and few


 conquests on the surface, Emperor Glorfindel, and little value to your accomplishments. A few


 magic Rings. A few minor kingdoms. I gave no thought to what might come. But in this


 gathering, I see such a powerful assemblage of the ‘Masters of Destiny’ which you immediately




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 betrayed while guests under your roof. Such vile treachery. Unspeakable. I had to come. An


 extraordinary accomplishment.”


        Glorfindel had been as uncertain as everyone else but now he lifted his head and smiled


 stroking his long golden hair and exalting in her praise. He had no idea what she was doing here


 but he knew he must be gracious.


        “Thank you, Vala Ulbandi.” He stood and bowed, “I am honored.”


        “Yes, Vala I am,” she said. “You see my little mortal beings, those of you who are


 mortal, for I see a few of my immortal children here as well. I have come to share many secrets


 with you, and to offer you a boon. Valarin secrets and boons. Not the Secret of the Seven


 Heavens, whispered about by Dwarves, Elves and Men since they first awoke, which the wisest


 among you have sought unsuccessfully, watching them wheel high over your heads unattainably,


 their secrets guarded jealously by Varda, never imagined nor revealed.”


        They waited. A few leaned forward, or held their breath.


        “The Secret of the Seven Heavens, is not in the Heavens. The secret is in addition to


 Seven Heavens wheeling unattainably above your heads, there are Seven Earths waiting


 attainably beneath your feet.”

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        Shock filled the faces of everyone in the room, including Glorfindel’s.


        “Below the surface are seven planetary spheres, just as there are seven above, called the


 Gaiaspheres. Each is a world successively larger than the first, separated from the next by great


 earthen folds like titanic arches, lifting one level of a temple above another, by as large a width


 as the skies above this world. Between those skies lies a crust such as the one King Tyranus and


 Queen Serpentris live, who’s own cavern realms are more vastly populated with more orcs,


 gnomes, collocoll, sal-men, beasts, ghouls, ghosts, worms, named and Nameless Things than in


 all the kingdoms of the surface world and the Seven Heavens, combined.”


        “What are these worlds you speak of?” King Tyranus asked, the last they would have


 thought was the first to speak. But he was most surprised by these revelations. The familiar had


 become strange. He was also in the best position to immediately gain from her news.


        “The first is Lithos, ruled by Genesis, the Protolith, the King of Stupidity, Peak of


 Platitudes, who wars with the Igneous and Sediments and I, for mastery of all that lives and dies


 and all that cannot die in most of the worlds of Under-earth. But the rest are uninhabited,


 waiting, like vestal virgins, to be ravaged, or conquered, perhaps by one of you.”


        “Why not rule them yourself?” Imavich asked.

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        “There is nothing to rule,” Ulbandi said. “They are empty. But in Under-earth, where I


 have lived for millennia, I have been creating vast armies of Nameless Things, far mightier than


 dragons, Maier, or Ainur. What I want is to ally with you, populate the Gaiaspheres and when


 our armies have grown full and round, do what only a Vala can do – lead them over the Straight


 Road to destroy the Valar and murder all who live in the Undying Lands so I may give Valinor


 to my allies, you. Once Aman is mine, I will besiege and break the Doors of Night and at long


 last release Melkor, named by some here Morgoth, the father of my child. Together, we will


 ascend the empty thrones of Manwë and Varda and rule all that is.”


        A very long silence ensued. The enormity of what she was proposing was far beyond the


 wildest imaginings of any of but a few here, but did not include Glorfindel or Thüringel.


        “May I speak, Vala Ulbandi?” Thû asked, his head bowed respectfully.


        “Yes,” Ulbandi said, surprised by his daring, and curious.


        “I understand this will be of interest to balrogs, gnomes, dwarves, orcs, and blind


 collocoll who live in caves. But most of us here are creatures of light,” Thû said. “Our people


 need the Sun to grow our food, and her heat and light to live.”




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        “There is a Sun beneath the Earth,” Ulbandi told them. “There are whispered rumors of


 them among your scrolls and records, and hidden in the languages of your own people. The


 Tyrilleala, the daughters of Turion and Thyria, the Tyrannies, who drive their burning chariots


 between the lands of Lithos, Cethyria, Tullares, all the worlds of Gaiaspheria.”


        “If there are Suns between these worlds driven by mighty Vala charioteers as Turion


 drives the chariot of the Sun, what of water?” King Corhynchus of the Sal-men asked.


        “There are oceans in the Gaiaspheres,” Ulbandi answered. “Filtered by the soils of the


 spheres above. The waters in these oceans are free of salt. All of them are fresh and they teem


 with life. Fresh fish and fresh creatures akin to dolphins, seals and whales, for you to make your


 servants, or kill, skin, and eat. These freshwater oceans are smaller than on the surface, so the


 surfaces of Under-earth are far more habitably extensive and vast, and far more fertile than any


 lands on the surface, for they have lain fallow for millennia, waiting for tillers to grow food.”


        “You say there are Suns,” Stupidguy asked. “Are there Moons?”


        “An excellent question,” Ulbandi said. “Because the surface world is struck by the light


 of Tilion, it absorbs his madness, as well as the controlling effects of the planets of the Seven


 Heavens. In Under-earth, skies and oceans are tranquil. The people are not controlled by the

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 Heavens, but free to choose for themselves their destinies. There are no storms. No winter winds,


 no squalls or tornadoes. There are no moons. Women do not bleed. There is only peace.”


        “Methinks, I would like to see this Under-earth,” Imavich said.


        “Are there rains?” idiotbox asked.


        “Yes,” Ulbandi answered. “Except for Lithos, the last of the Gaiaspheres, from Center-


 earth, the fires of Tantalum rise in cones throughout the rest. Some go even to the surface. As in


 Mordor,” Ulbandi turned to Glorfindel and Thüringel. “Is this not true?”


        “It is indeed,” Glorfindel said.


        “In the Gaiaspheres,” Ulbandi told them. “temperate clouds drift through skies and bring


 gentle rains without storms.”


        “This sounds better than the Isle of Gift,” smartguy said. “the lost wonders of Númenor.”


        “The realms of Under-earth are,” Ulbandi affirmed. “It was from my Gaiaspheres the


 Valar stole the lands of Númenor. Just the tiniest part, a single valley they pinched and pushed to


 the surface, and it was more full of diamonds, rubies, emeralds, sapphires, silver, copper, nickel


 and gold than any land except the peaks of the Misty Mountains.” She lifted the heavy mithril


 chain and pendent glittering against her neck set with the largest and most dazzling white and

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 black diamonds they had ever seen. “And mithril. Mithril and diamonds, fields and plains where


 mithril ores rise like trees, and from the skies of Under-earth from erupting volcanos fall


 diamonds like rain. For diamonds are only born in Under-earth in Asthenḗs.”


        “She speaks the truth,” Inaequalis said.


        The others gaped. A few jumped to their feet. They had thought him a statue, or an


 unmoving Guardian Stone, not a living thing that could move and speak.


        “Who are you?” latearriver asked.


        “I am Inaequalis the Xenolith, King of Asthenḗs,” he answered. “I rule the Igneous in


 Perfidy. It is only in my realms the diamonds grow and if I wish, I can stop the flow to surface


 worlds and rinds.”


        Ulbandi fingered the black and white diamonds in her pendent, “Do not trouble the


 mortal Queens and Kings, King Igneous.”


        He bowed, “As you wish Vala Ulbandi.”


        “How do we find the roads to these worlds?” Imavich asked.


        “They sound like paradise,” a queeny king said.




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        “Indeed they are,” Ulbandi said. “Melkor was the earth-wright who forged most of this


 world, and all the worlds beneath are his Masterpiece. He made them the paradises we called


 Eden. They were intended for the Edain. But Eru knew if the Men and Elves awakened to such


 wonders, they would worship us instead of him. This is why he has warred with us since the


 Beginning. But the Children of Melkor awakened early, so great were the wonders awaiting them


 and so eager were their spirits to experience them. But only the first, terribly flawed realm of the


 surface world was finished. So jealous were the Valar, they hurtled meteors and stones and


 struck the surface again and again, poisoning the oceans and forever marring the lands. In


 Valinor, the Ainur and Maiar thought Melkor and I had gone into the Void. But they were


 wrong. We traveled to the Under-earths where we were not disturbed and applying our full


 ripened skill we perfected the Masterpiece of the Seven Under-earths. Which by myself, I have


 only now completed. This is what has brought me to the surface and to you.”


        “Beneath our feet,” Thû told her, “it is said there is only fire and ice.”


        “It was Ilúvatar who lied to the Children of Melkor,” she said. “He told you the worlds


 beneath your feet were full of pain and terror, loneliness and death, because he wished to control


 you. He also lied and said you had no choice. You could fall beneath the surface and experience

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 the pain and loneliness of Under-earth, or you could suffer on the surface, live a short span of


 years in suffering and pain, and then die, to travel beyond the Doors of Night into the Void


 where great wonders wait. He said. Unfortunately, Ilúvatar, the God of Gods, the God of all that


 is, all that was, and all that shall ever be, could not describe these wonders. The omniscient,


 omnipotent God of All could not find any way, not words, visions, or dreams to describe these


 wonders. Perhaps he would in a millennium.” She paused and her words sank in, such was the


 enchanting power of a Vala. “It has now been millennia of millennia. Ilúvatar has failed to find


 the words to describe the wonders he claims he has already created.”


        “He lies!” dupedanddecieved said.


        “He lied then and he lies now,” she told them. “Ever has He lied, to you, to me, to all


 who have ever lived. The wonders of paradise are here now, lying beneath your feet. But cowed


 and living in fear of Ilúvatar, the other Valar stood silent, and the poor duped and deceived


 Fathers and Mothers of Collocoll, Dwarves, Gnomes, Pygmies, Hobbits and Men ‘chose’ the


 ‘Gift’ of Men, to die. Though the Ainur, Elves, Orcs, Stones, Giants, Ents, Huorns, Kôr and


 Inkôr, Balrogs High and low, Dragons, Goblins, Trolls, Spiders, Vampires, Wargs, Werewolves,


 too many Nameless Things to count – none of them die. Yet, you here in this room, do.” She

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 paused, drinking in their riotous emotions, their anger and fury, for ever did she delight in


 creating chaos. “You are forced to pass, unheralded, unmourned and unremembered into the


 Void, in which their lies no Paradise. I know. I have traveled beyond the Doors of Night.”


        Shock again filled the faces of the Queens and Kings. The evidence of so many races


 which were immortal while they weren’t, and the presence of Inaequalis and the collocoll


 Queens and Kings proved everything Ulbandi was saying was true.


        “While all unwilling, the poor duped and deceived Men held their grasping desperate


 hands out and accepted their deaths willingly, just like these Queens and Kings who accepted


 Glorfindel’s Rings here on the floor. You have lived as the slaves of Ilúvatar and Death, his true


 and hidden eternal love. The reason he does all that he does, since the Beginning.”


        The gathered rulers gasped. A few slammed their fists down on the table, outraged


        “The collocoll tried to flee, but Ilúvatar stopped them halfway down. They were not


 allowed to complete their journey and experience Eden in Lithos. They live in the first of the


 rinds and collocoll, like Men above, live lives full of pain and unrewarded toil, full of misery and


 grief, only to die, to the great delight of Ilúvatar, whom you still worship, when it should be clear


 how he has kept you the lowest of the low, for the sport of his love and mistress, Death.”

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        “How do we reach these lands of plenty and escape Ilúvatar and Death?” Gothmog asked.


        “You need my permission,” Ulbandi said, and she smiled. “Only I can show you the


 Doors to these Roads, guide you through the endless mazes of Under-earth, and only I can open


 their borders to the lands of plenty, the Edens waiting right beneath your feet.”


        First one, then another and soon all the great and terrible Queens and King of the surface


 kneeled before her.


        “Please, Empress Ulbandi,” Imavich said. “Tell us what you require in return, and show


 us these lands of plenty.”


        But Gothmog did not kneel, “How do we know we can trust you?”


        “You do not need to trust me,” she told him. “You can come and see. Send your kin. Or


 whomever you trust to report back truthfully the things they have seen, who are brave enough to


 pass through the halls of Under-earth, Collocolly and Eidolon to the lands of Eden, the Lands of


 Plenty, the lands originally intended for the Edain, that the Edain disdained. This is where


 ‘disdain’ comes from, from them. The Edain, the ones who disdain.”




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        Gothmog signaled his guards to leave ahead of him to make it clear he had humbled


 himself before her and he rose to leave, “Thank you Vala Ulbandi, but I will stay here in my


 poor guarded halls.”


        “You are Gothmog, King of Orcs,” she looked deeply into him. “Your corruptions...


 enchanting. Abominations are the inheritors of the Earths, which is where you all come from,


 though before now, you have never known. But you Gothmog, you must be the first to come and


 infest Eden with your magnificent egregiously damaged and twisted strain of Orc.”


        Gothmog looked about fearfully, “Why me?”


        “Because I am the Queen of Abominations,” she answered. “Yet I have never seen so


 great an abomination as you. You are the descendent of the incestuous inter-breedings of not


 only the corrupted Elves who became Orcs, but uncounted generations of incestuous Orcs, kin on


 kin, first cousins, brothers and sisters, father-daughters, mother-sons, you are the father of – ”


        She froze, turned, and for the first time, became fully aware of Estel, “You!”


        “That deformed thing… ” Estel asked… “is my father?”




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        “Yes!” Ulbandi laughed. Her face lit up with a joy it had not held in Ages, “You are his


 son, and the son of Celebrían daughter of Galadriel, Queen of Elves, wife of Elrond, born in


 Númenor, taken prisoner and tormented by this sweet and charming meat.”


        “That I did!” Gothmog cried, his face full of wonder at the far distant memory that sprang


 forth, a dark delight almost forgotten in his mind, “I will never forget her beautiful flesh.”


        Ulbandi’s dark eyes grew darker. She drank in the obscene essence of Estel, the offspring


 of rape, the vile twisted abomination born of violence and pain, “You are the vile corruption of


 uncounted generations of twisted incestuous orcs joined to the purest light of the High Elves.


 You, my Lord.”


        “You are my father,” Estel said to Gothmog, horrified by his twisted deformity.


        “I care not,” Gothmog sneered. “I have too many sons. Too many to count. They all want


 the same thing, my crown. No doubt, you will too. You cannot have it.”


        Ulbandi’s eyes stayed fixed on Estel. She made no secret of her wanton desire, but


 Ulbandi was not to Estel’s liking at all.


        From the moment she walked in, she had boasted, bragged and swaggered like a Man.


 She spoke like a man, demanded like a man, and commanded the attention of everyone in the

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 room like no man Estel had ever known. Even Glorfindel feared, cowered, groveled, begged, and


 now shamelessly courted her attention with pathetic and transparent lies.


        Beholding the horror of these treacherous Queens and King and other creatures whose


 livelihood was horror casting themselves down on their knees, utterly surveille, gibbering like


 the weak frightened Men they were before Ulbandi disgusted him.


        Her power, bending light, pulling gravity, was terrifying. She was nothing like any


 woman he had ever seen, ever taken, ever wanted, or ever would. Not prim or dainty, or demure


 or timid, the kind he took whenever he had a mind to take a woman, which was often, killing


 them with his deadly attentions and lethal lusts, or for a few, turning their screams of terror and


 pain into pleasure because they were that desperate to survive.


        But Ulbandi would not ask. She would take. As only he had taken.


        He did not like the thought of that at all.


        He was instantly and thoroughly repulsed. The thought of trying to couple with her


 terrified and sickened him. He would never allow himself to be on the receiving end of the


 torments he inflicted on women, which is the only thing he could imagine she would do to him.


 But he would have preferred even that, then to have her try to love him. He would cut his own

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 throat before he would ever allow her to try that. He could not have been more horrified if she


 were a bloated dead thing decomposing on the road, hosting colonies of maggots. His skin


 crawled and his mind went white. But his feet were frozen. He stayed, just as the others stayed,


 but his mind was struck dumb. He couldn’t move. When she first entered, he had been terrified


 she would take his Ring. But it was Glorfindel who hated him and tried to kill him. Ulbandi had


 been the one who saved him. Her interests and intentions were clear, but Estel now wished all


 she had wanted was his Ring and he understood the meaning of obscene.


        “I care not for your lands, or titles or power,” Estel told Gothmog. “I only want to


 revenge myself on Arwen and her kin.”


        “You mean the Queen Arwen who is a prisoner in our dungeons?” Thüringel asked.


        “Arwen is here?!” Estel cried. He strained against Ulbandi’s spell and she released


 everyone. He jumped to his feet and drew his sword. His blood lust rose and he turned on


 Gothmog, “You are the reason I was born among the Elves and cast into the wilds to die alone!”


        “Have a care, whelp,” Gothmog said rising from the table and drawing his sword. “I am a


 King. I command legions. With a word, I will decimate and destroy the lands you war over in




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 Rhûn, and all the lands beyond, son or no son. Make one ill-considered move. I will crush you


 and every Orcelven you have ever birthed.”


        “He is your father,” Ulbandi said laughing at the terror and chaos she had unleashed she


 knew would live within their hearts for the rest of their immortal lives, with just her words,


 unintentionally. It was so rich. Too rich. Exactly as she would have wished if she had planned it.


 But she hadn’t. Which made this unlooked for feast or horror all the sweeter. “If any other orc


 had infested Celebrían’s womb your Elvish blood would have overcome the influence of a


 common orc or goblin. So Elrond must have believed, allowing you to be born. But it was no


 regular orc who sired you. No average orc could have produced the wonder of sickness and


 contagion you spread like an infection with your loins. Only the deformed and twisted Gothmog,


 the incestuous offspring of incests beyond count produced the dark corrupted horror of Estel.”


        Estel’s monstrous roar shook the room and he leaped over the table to kill Gothmog.


        This was precisely what Glorfindel had been waiting for. Thüringel had already told


 Glorfindel that Gothmog was Estel’s father, and other than creating more Nazgûl and thereby


 annexing Kingdoms, conquest made easy, it was the reason he had brought these Queens and


 Kings together: to ensnare the only other Ring of Power he had any hope of getting became his.

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        What made this all the sweeter was not just another of his brilliantly conceived, carefully


 orchestrated, and flawlessly executed plans had succeeded in drawing another Ring and put him


 one step closer to eclipsing Vala like Ulbandi, but he hated Estel and the Orcelven even more


 than he loathed Orcs and he always would, despite his deceptive displays and prevarications of


 felicitous goodwill, and his false representations of fair rule.


        Orcs were too stupid to know better. Most of them killed each other before he had a


 chance to help them, if he’d tried. He hadn’t. He didn’t want to. He never would. With every


 mote of every fiber of his being, he yearned to kill them almost as much as he yearned to kill


 balrogs. He wanted all of them dead. He hated orcs as he had always hated orcs, so close in kin


 were they, yet a corruption. There was no way he could ever not hate orcs.


        He drew his sword and launched himself savagely at Estel to intercept him above the egg,


 run him through and take his Ring, “Die you filthy Orc!”


        “Stop!” Ulbandi cried, the light dimmed, gravity bent and everyone froze in mid-motion.


 She stepped over to Estel, “Tell me my sweet abomination what you want, and it shall be done.”




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        Though she was all that stood between him and the death awaiting him on the tip of


 Glorfindel’s sword, so great was his revulsion, Estel, the King of Lies, could not lie and say he


 wanted her, liked her, or could even stand her. He’d kill Glorfindel himself, “Release me.”


        She released everyone again, except Glorfindel.


        Estel launched himself at Glorfindel’s helpless and unmoving frozen form.


        Thüringel stepped between them and grew gigantic, “Come Prince,” she said lightly,


 seeing how greatly Ulbandi prized the Orcelven, picking him up gently in her giant hand, pulling


 his sword away and him away from Glorfindel, “Can’t we all be friends?”


        “Mistress Thüringel,” Ulbandi commanded. “My lovely child, take your lover Glorfindel


 and Prince Estel outside. I wish to speak with these Queens and Kings. When I am done, I will


 speak with you.”


        Thüringel picked Glorfindel up in her other hand and curtsied, “Yes, Vala Ulbandi.”




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                                             Chapter 10




                                 The Fall Of Gondolin Refounded




        When Thüringel shrank enough to duck through the wide double doors and leave with


 Estel and Glorfindel, the twins vanished and left the others in the hidden room behind the mirror.


        It took them much longer than they thought it would to find the dungeons of Glorfindell.


 There were far too many new, ugly and indistinguishable buildings in their once fair and pristine


 valley. They finally did and it was not long before Arwen’s Easterling guards died instantly from


 invisible silent dagger thrusts. They fell noiselessly to the ground. A ring of keys rose as if


 floating. One inserted itself in the heavy iron door, turned the lock, and the door swung open.


        The twins appeared before Arwen. It was one of the greatest surprises and joys of her life.


        “Elrohir!” she whispered with tears in her eyes. “Elladan!”

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        Elrohir put his finger to her lips and Elladan unlocked her shackles.


        “Have they harmed you?” Elrohir whispered.


        “Yes,” she whispered back. “We will speak of this later. I trust you have a plan?”’


        “Meow.”


        Walking in a circle around the cell entrance was Grimalkin, the black Master-cat of


 Telvido. The three of them froze. The cat purred, looked back and forth between them, and ran


 deeper into the dungeon. After a moment’s hesitation, the twins followed.


        “What are you doing?” Arwen asked. “The exit is this way. That’s the wrong direction.”


        “Do you not hear?” Elladan asked.


        “Elladan?” a voice called from deeper in the dungeon.


        The twins vanished.


        A moment later, a floating key opened the door to another cell and a beautiful red haired


 Elvish princess stepped back fearfully from the entrance.


        “Drendelen!” Elladan cried appearing before her.


        “Is it really you?” she asked wide-eyed and afraid, shrinking back in terror.




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        He kneeled before her with one hand over his heart and his other held up to her with his


 palm open.


        She took his hand, he rose and she collapsed in his arms sobbing against his shoulder.




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        In another building in a windowless room, Inaequalis met with Tevildo Lord of Cats,


 “Glorfindel has promised you have a weapon to slay Genesis.”


        “It was a difficult problem,” Tevildo said stroking the fur of one of his white cats, “The


 answer was in the ‘Parma Kuluina’.” Tevildo waited for a reaction. Inaequalis did not react. “It is


 a book written by the Eldar, of the history of Elder Days kept on the island of Tol Eressëa. We


 were fortunate. Had the Parma Kuluina been in Valinor proper, a copy would have never left


 those shores. Fortunately, Gildor took a few books with him to pass the time on the long voyage


 during his return to Middle-earth.” He set the Parma Kuluina on the table before Inaequalis.


        “I do not read human languages,” Inaequalis said.




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        “I wasn’t sure,” Tevildo explained petting his cat. “I didn’t want to deny you the


 opportunity, if you did. But in an effort to be prepared, I took the liberty of finding the pertinent


 passages when Emperor Glorfindel contacted me regarding your needs many months ago. After


 too much effort to bother recounting, and great expense, my feline companions were able to


 track down and we procured this,” he set a black, heavy, jagged wedge-shaped stone down with


 a Stone-man sized handle on the table next to the book.


        “What is it?” Inaequalis asked, seeing it was meant for stabbing but that alone would not


 insure it was capable of harming Genesis.


        “It is a Pyroclastic Xenocrist,” Telvido answered. “Created by Oromë, stolen by Melkor


 and mass produced before the War of Wrath, where a great many Stone-men fell. This one was


 kept by Sauron in the armory of Barad-dûr. It passed through many hands before I finally found


 it, with many escalations in price. If you stab Genesis, it will pierce his body and shatter him


 from the inside out. I trust you brought the diamonds?”


        Inaequalis’ chest chamber opened, he retrieved a pouch and laid it on the table. With his


 cat in his lap, Telvido opened the pouch and poured a generous mound of large glittering


 diamonds onto the tabletop.

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        “Mewlips,” Telvido said to the white cat in his lap, “Go find and tell me where Iruscan


 has wandered off to, and tell him to gather your sisters. We will be leaving soon.” Mewlips


 jumped out of his lap and scurried out the door. Telvido picked up the largest diamond and held


 it up to the lamp where it refracted the light into myriad rainbows and glittered brightly,


 “Glorfindel was right. The diamonds of Asthenḗs are the most beautiful I’ve ever seen.”


        Inaequalis lifted the Xenocrist and it fit between his two fingers and thumb perfectly. He


 raised his arms and laughed great rumbling sounds like breaking rocks. Telvido put the diamonds


 back in the pouch, certain he hoped never to hear a Stone-man laugh again.




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        Thüringel and Glorfindel had returned to the Meeting Room after most of the Queens and


 King had departed without consulting Glorfindel. They sat attentively before Ulbandi who sat in


 Glorfindel’s chair. To their right, the image of Estel stood frozen in the Elostirion-stone and


 Ulbandi often returned her eyes to look at his sneering twisted face.


        “Alatar escaped you?” Glorfindel asked.

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        “Tread carefully, fledgling king,” Ulbandi told him. “Remember whom you address.”


        “Mistress,” Thüringel said. “What are your plans for Lungorthin?”


        Ulbandi’s eyes sparkled, “Though wayward, he is still my son.”


        “Your – ” Glorfindel began but Thüringel put her hand on his mouth.


        “What of Durin VII?” Thüringel asked. “He plots Lungorthin’s downfall.”


        “Prophesy says this Durin shall be the last, and his passing will mark the end of Dwarves


 in Middle-earth,” Ulbandi said. “Lungorthin will triumph over him and all six of the Dwarven


 Queens. If necessary, with my help.”


        “Speaking of Prophesy,” Glorfindel said. “With the end of the Dwarves a certainty with


 the death of Durin, it seems likely the End Times have come. What of the Dagor Braloch?”


        “What of it?” Ulbandi asked.


        “Mistress,” Thüringel said. “I know how you can find the bones of Turin.”


        Ulbandi regarded her gravely, “Speak.”


        “One of the hobbits you met in Eidolon carries a stone from the Shroud of Turin,” she


 told her. “His name is Fastred son of Folcred, of Longcleeves in the Shire.”


        “How did you come by this?” Ulbandi asked.

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        “Inaequalis heard Fastred’s call,” Thüringel told her. “All the Stone-men did.”


        “I shall cleave a thing or two from off that hobbit when next we meet,” Ulbandi said.


 “But today I want to discuss persuading the Prince Estel of Rhûn to return with me to


 Forodwaith, despite his – reservations.”


        “Yes Mistress,” Thüringel said. “We can and will be honored to help and we humbly


 request a boon in return.”


        “Of course child,” Ulbandi said. “Name your price.”


        “It’s not for ourselves we ask,” Thüringel told her. “Our mutual friend King Inaequalis


 has pledged his army to invade Arnor in return for a way to stop the Autono-men, who break the


 Stone-men apart for their unique and precious ores, which can power their mechanical bodies.”


        “What do you know of the war between the Stones and Autono-men?” Glorfindel asked.


        “Long ago Aulë and Oromë plotted revenge against my former servant the Maier Melian,


 blaming her for having unwittingly helped me seduce Melkor,” Ulbandi answered. “They created


 the Autono-men to destroy her and her most faithful servants the Stone-men. But unknown to


 them, one of my spies told me what they were doing and I was able to substitute the ichor they


 intended to use in their King, Nienna’s, with my own.

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        “As a result, Ilúvatar would not infuse them with the Secret Fire. Aule had no choice but


 destroy them and with them all his fea he had poured into them, or reconfigure them with gears


 and springs to be wound by the hands of living being. Though lifeless in the way of living things,


 in many ways they are much wiser than living beings. Their minds are made of gears, sprockets,


 springs, levers, pulleys and traps, and not a single sieve. Nothing they learn escapes them, and


 they ever grow wiser.”


        “But they are powerful in calculation only,” Thüringel interjected.


        “It is true,” Ulbandi affirmed. “In order to escape the need of human slaves, each one of


 them must procure the crystal heart of Stone-man. However, if their King Khalkós were able to


 procure the Girdle of Melian, he alone could power his Autono-men, forever. Free of the need of


 their living slaves to wind them every day, their jealously and hate of living things, but most


 especially magical beings and magic things would drive them wipe them out and create a world


 of never ending self-replicating unliving Autono-men, free of women, magical things, and living


 beings, but filled with endless calculation.”


        “A place I have no doubt,” Glorfindel said playfully to Thüringel, “where you would be


 happiest.”

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        “Laugh if you wish,” Ulbandi said. “The Autono-men would have created that land long


 ago. But as one of their unwitting creators, I have stood against them, caught between them and


 their wars with the Stone-men, and waged a war of my own to conquer Under-earth and rid the


 worlds of the threats of the Autono-men forever.”


        “How goes the war?” Glorfindel asked.


        “I drew Khalkós the King of the Autono-men and Mytikas the Prince of Archany and the


 Cementation of the Decahedrons, their fiercest warriors, to the Treasury of Amon Sûl,” Ulbandi


 answered. “Using the power of the Valar woven into the stones of Weathertop for the power of


 my own spells alone would not suffice, and I imprisoned them in the Treasury of Amon Sûl.”


        “Why not simply crush their king?” Thüringel asked.


        “The Crown of Khalkós, the King of the Autono-men is forged of the same metal as


 Ringil, the sword that nearly killed Morgoth. It can absorb, deflect or cleave any enchantment,


 including my own. Before him and his crown I am powerless. Mytikas and his Dodecs were my


 unwitting agents to crush the Autono-men. I imprisoned them in Amon Sûl, waited for the day


 someone broke the Valarin enchantments and they destroyed each other. But something


 happened which I did not understand until you told me he hobbit Fastred carries a Turin-stone.

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        “He must have set the Stone-men free before releasing Khalkós. Where the King of the


 Autono-men has gone, I do not know. Now, only the Master-stone can destroy the Autono-men


 and Mytikas has returned to Archany. In the Escherscapes of Archany, the Cementation of the


 Dodecahedrons cannot be stopped.”


        “I understand Autono-men can break the Stone-men,” Glorfindel said. But how do Stone-


 men stop Autono-men?”


        “Autono-men do not feel pain,” Ulbandi answered. “But when crushed, their gears and


 springs no longer wind. Though they are not alive, if they cannot be repaired, for them it is death.


 Thus, the Stone-men and Autono-men are perpetual and eternal enemies.”


        Someone, some idiot, released the Stone-men before they released the King of the


 Autono-men and Mytikas, leader of the Cementation of the Dodecahedrons, left the Treasury of


 Amon Sul without crushing Khalkós or even knowing he was there. I am certain he would have,


 not knowing it was me who set him there for that task. If he did, he would have questioned my


 intentions and refused. If he had, Mytikas and the Dodecs would have destroyed Khalkós.




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        Things have gone from worse to worst: the Stone-men have returned in strength to


 Under-earth through the Chthonic Roads of Archany, upon which no being of flesh and blood


 can follow, not even we of the Ainur and Valar.


        Free again in Middle-earth, King Khalkós has found his long imprisoned and dormant


 Autono-men, wound their springs, and revived them. Khalkós alone does not require winding.


 He alone was given a gift by Aulë in yet another failed attempt to imbue one of his creations


 with his own version of Ilúvatar’s Secret Fire. Aulë forged in Khalkós a mind and heart and


 veins, and filled them with the blood from within his own veins. Thus, Khalkos is one of the


 mightiest beings in Middle-earth. He and his Autono-men have returned to their ancient lands


 and human worshipers who revere them as Valar. They believe the Autono-men are mechanical


 Gods of Old returned, and have fallen once more to their worship, for the Autono-men can


 perform deeds well beyond those of Men, crush the enemies of Men, secure their borders, subdue


 rival tribes of Men, exact tribute, and perform feats of strength beyond their strongest warriors,


 while remaining impervious to most human attempts to destroy or even harm them. Thus, their


 worshippers wind the Autono-men daily. If any refuse the bidding of Khalkós, he lifts the largest


 boulders and crushes them under mammoth stones.

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        And ever and anon, Khalkós gathers news and reports of all that has happened in the


 world since I imprisoned him many Ages ago and his mind of cold and inhuman calculation plots


 and plans a way to destroy all magic and magical beings, including you, so the Autono-men can


 inherit Middle-earth.


        magical being and artifact in Arda, and now they are free, and the one group of beings


 that could have defeated them have escaped into the Escherscapes of Archany in which they are


 safe from the wiles and spells of Ulbandi, for not even the Valar can dare the twisting turning


 Otherness of the Stonescapes of the Gaiaspheres.


        “Where is the treasury of Amon Sûl?” Glorfindel asked.


        “Beneath the crumbling remains of Weathertop were they had gathered all the


 armaments, heirlooms and treasures of the Edain and the Númenóreans,” Ulbandi said


 scornfully. “Erestor, may he rot in the Void, was blind to the treasures laying beneath his feet


 and foolishly lost the Palantír. Only a Prince of Fools can stand upon the richest treasury in Arda


 and leave vastly poorer than when he arrived.”


        “What are these artifacts?” Thüringel asked.




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        “It does not matter,” Ulbandi said. “They are gone. Taken by those indistinguishably


 boring twins, more of those unendurably stupid hobbits, that pathetic excuse for a wizard Alatar,


 and the brats of the House of Telcontar.”


        “Alatar!” Glorfindel seethed.


        “I see you’ve met,” Ulbandi said.


        “Why didn’t you stop them?” Thüringel asked.


        “I had set a spell to warn me if my enchantments were broken,” Ulbandi answered. “But


 there is something they possess I do not understand. Some power, or perhaps an artifact, or


 being. It silenced my spells and obstructed my senses. It is like nothing I have ever known.”


        “If Alatar has plundered the Treasury of Aman Sûl,” Thüringel asked, “what can you


 offer us for access to the Master-stone?”


        “I do not need to gather all of Celebrimbor’s Rings to use the Master-stone,” Ulbandi


 answered. “I am Valar. I can use the Master-stone with my own native gifts.”


        “There is a price for access to the Master-Stone,” Thüringel said.


        “I know what you are trying to do, you are trying to keep me from the Master-stone. If


 you don’t give me access I will take if for thought at the moment you and your armies stand

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 between me, I am a Valar, you cannot destroy me and I will raise an army of my own, many


 times more vast and powerful than yours, march to Mordor, destroy you and take for my own the


 Master-Stone.


         “Your life is the price!” Ulbandi screamed. “If you do not give me access to the Stone I


 will take it! At the moment, your armies of balrogs Great and low, Trolls, goblins, orcs, petty-


 dwarves and Men, and all your spells stand between me and the Stone. But if you do not grant


 me this, I will raise an army the likes of which has never been seen from all the realms of Under-


 earth, of unstoppable abominations whose horrors you cannot imagine and I will raid not only


 Mordor and Glorfindell, but all the realms in all the kingdoms of all the races in Middle-earth


 and bring ruin to you all!”


         ‘She is truly the Mad Valar,’ Glorfindel thought, then quickly said out loud, “You don’t


 need to do all that.”


         “As attractive as it sounds,” Thüringel said mischievously and she puuurrred at Ulbandi.




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        “There’s no need for all that. We don’t need to go there, forget the Rings, all we want as


 the Groom-price of the life of Estel is the Silmarilli and the Palantíri to replace the one lost, give


 us those and the Master-stone and all of Middle-earth are yours.”


        “When I acquired the palantíri,” Glorfindel told her, “I acquired a liking for them. As you


 have noted, Alatar has stolen one. But two others were lost in the ice of your northern Kingdom.”


        “I believe you have an affinity for ice,” Thüringel smiled. “No?”


        “Finding them is not hard,” Glorfindel told her. “I found two myself rather easily.”


        “You stole one,” Ulbandi said.


        “Steal is such an unkind word,” Glorfindel said. “As one of the Eldar, I had lawful access


 to the Stones.”


        “I have no interest in Laws, other than breaking them,” she said. “You hadn’t lost the


 Osgiliath-stone to Alatar and the children of Elessar when they defeated your armies at


 Weathertop, they would never have invaded my lands, and I would not be here.”


        “And you would not have met that young Orcelven prince you fancy,” Glorfindel said.


 “Who only Thüringel can give to you.”


        “So you have said,” Ulbandi told her. “Tell me how you propose to accomplish this.”

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        “I have a spell that no other Valar, Maier or Elven-kind possess, not High or low,”


 Thüringel told her. “Which may be off some use.”


        “You have found a way to increase the size of your chest?” Ulbandi asked.


        “I really do need to, don’t I?” Thüringel laughed wickedly. She looked down at her


 opulently wanton breasts. Narrowing her shoulders and letting them fall, she lowered them


 beneath the hem of dress to hide them, as if she was flat chested. Then she sat back, lifted her


 chest, and her breasts swelled to twice their previously enormous size. “But they’ve been


 growing all by themselves. If the path to your womb more traveled, you would have already


 experienced the growth in breasts which every expectant mother does.”


        “You’re pregnant?” Ulbandi asked.


        “We are,” Glorfindel said, draping his arms over Thüringel’s shoulders and kissing the


 top of her head.


        “Who’s the father?” Ulbandi asked.


        Glorfindel’s golden skin darkened, diving past red to a furious bruised purple, “Since


 you’ve been so kind to ask, what we want to set in our child’s nursery to delight our baby’s eyes


 are the missing Silmarilli.”

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        “But those would only be akin to the Sun and Moon,” Ulbandi said. “What of the stars?”


        “What of the stars indeed,” Thüringel said. “For them, we have the Master-Stone.”


        “You would like from me the two long lost Silmarilli, and the two long lost Palantíri –


 four long lost incalculably powerful and beautiful Stones, for larger breasts?” Ulbandi’s chest


 swelled to twice the size of Thüringel’s, “I can do that myself.”


        “Ladies, ladies!” Glorfindel cried, his eyes dancing back and forth between Ulbandi and


 Thüringel’s chests. “There really is no need for all this heavy breathing and sweating and


 throwing out of chests or swelling of breasts!” But Glorfindel was the only one breathing hard


 and sweating. He looked across the room at the wall mounted mirror and admired his own long


 fingers smoothing his long golden blond hair, and he wondered if Ulbandi noticed how bright


 and beautiful it was and how long and fine his fingers were, “As much as I’m enjoying the


 competition. What would you think if Estel and I compared and lengthened our manhoods?”


        “He would never do such a thing,” Ulbandi said.


        “In fact,” Glorfindel countered, “we’ve already discussed it.”


        He gestured and the palantír came to life with Estel’s livid face filling the Stone.




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        “I’d rather do that with you,” Estel said through the palantír, “than be with her! I have


 greater desire to trek to Forodwaith and bore a hole in a glacier than try to couple with that mad


 ancient Vala’s frozen icicle of a – ”


        “Hush,” Thüringel hissed, waving her hand at Glorfindel and the Elostirion-stone. Estel’s


 voice stopped mid-word and his seething face vanished. She turned to Ulbandi, “He’s so


 charming! I see why you like him.”


        “I grow weary of your games,” Ulbandi said. “Tell me what you offer.”


        “What I have,” Thüringel said, as her breasts returned to their normal obscenely overly


 large size, “is the one thing everybody has always wanted that nobody has ever had – the only


 genuine falling-head-over-heals-in-love-with-you-for-all-eternity potion ever created in Arda.”


        “Of course you do,” Ulbandi said. “Or you wouldn’t have been impregnated by the


 feminine beauty of Girlfindel.”


        Glorfindel laughed so hard he clutched his sides and tears rolled down his face. He


 quieted and rose from his chair, went to the door and chuckled to Thüringel, “I’ll leave you to


 finalize our terms for her access to the Master-stone. I’ll be in our chambers sodomizing our


 newest batch of slaves. Join me when you’re done with her. We’ll dismember a few together.”

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        Thüringel laughed, watched him go and told Ulbandi, “You’ve heard our terms.”


        “I agree,” Ulbandi said. “The Palantíri and Silmarilli were created using Valarin arts


 loaned to the Eldar. They have called to me as they call to all Vala since the Children of Ilúvatar


 lost them. I could no more fail to find them than fail to punish anyone who displeased me.”




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        Glorfindel did not go to his bedchambers but instead to a secret meeting room hidden by


 spells of concealment, of which he was a master.


        Waiting for him fearfully and impatiently were Thû, Swahillogûz and Incánus.


        “What has become of the Mad Vala Ulbandi?” Incánus asked.


        “She and Thüringel negotiate,” he answered. “We all have our price. Tell me about the


 Fires of Orthanc. You’ve hinted at them fearfully, yet covetously. A mix I rather like.”


        “We are agreed that if we help you discover the formula for the Fires of Orthanc,”


 Incánus confirmed, “you will give me access to the Master-stone?”


        “We are agreed,” Glorfindel told him.

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        “Very well,” Incánus said. “The so called Fires of Orthanc were refined by Aulë to


 produce two substances: Naphthylminium and Naphthylmite.”


        “Called by some,” Swahillogûz said, “the Fires of Ilúvatar.”


        “This is blasphemy,” Glorfindel said, alarmed. But he checked himself, “What do I care?


 Tell me of Ilúvatar’s Fires.”


        “Like fire, they burn,” Incánus told him. “But sound like thunder, strike like lightning,


 and pummel more powerfully than the most powerful battering rams. The winds of the Fires of


 Orthanc blow everything across the land with more force than the strongest tempests, and not in


 only one direction like other winds. They birth uncountable legions of winds blowing in every


 direction. Nothing that lives and nothing forged by Elves, Men or Dwarves can withstand its


 power. It is whispered the Fires of Orthanc can challenge the Valar and Naphthylminium can


 destroy Númenórean stone. The Tower of Orthanc would fall to us, the black Old City walls of


 Minas Tirith, if we chose. Some say we could destroy the palantíri.”


        “Nothing can destroy a palantír,” Glorfindel said.


        “The Fire of Ilúvatar can,” the Warlord insisted. “Every one of them.”


        “What stops you?” Glorfindel asked.

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        “When Orthanc fell,” Incánus answered, “Saruman’s formula brought from Valinor was


 destroyed by Treebeard and all his equipment was obliterated.”


        “Having been used by so many of Saruman’s servants,” Glorfindel observed, “with a bit


 of guile, flattery, bribery and torture, it seems it would be possible to reconstruct.”


        “So we have done, laboring long,” Thû told him. “We have rediscovered every ingredient


 and recreated every step of the process, confirmed by multiple accounts and sources, save one.”


        Glorfindel leaned forward, “Which one?”


        “The alchemical formula for the creation of the Fires of Orthanc must be purified with


 the wood ash of a tree,” Thû answered. “Otherwise, the substance produced is powerless.”


        “Trees are plentiful,” Glorfindel noted.


        “Not just any tree,” the Warlord said, “The wood ash of only one tree will do.”


        “Which tree?” Glorfindel asked.


        Swahillogûz and Thû looked at each other, and the Warlord went on, “This answer is the


 thing we do not know.”


        “I fail to see the problem,” Glorfindel said. “Try them all.”




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        “We have!” Swahillogûz cried, looking to Incánus and Thû for confirmation. “I believe


 the tree Saruman used must be extinct, fallen to the bottom of the ocean in the Fall of Númenor,


 or purposely destroyed by the Ents in the Fall of Isengard, and now grown only in Valinor, in the


 Gardens of Lorien.”


        “No,” Glorfindel told them. “You haven’t tried them all.”


        “Yes we have!” Thû insisted. “If you knew the lengths we have gone, scouring the forests


 from the shores of Belegaer to the Eastern Sea! We have searched and felled the trees and burned


 the woods in every forest of every land from one end of the world to the other, end to end and – ”


        “You missed one,” Glorfindel told him.


        “Why do you believe we could miss just the right one?” asked Swahillogûz.


        “I do not believe,” Glorfindel said, smiling. “I know. In fact, there are two you missed.”




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        Thüringel entered the moon-lit gardens in an almost sheer gown that generously


 displayed her opulent figure carrying a silver tray with three wine glasses and a full decanter.

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        Estel looked away from the statues and fountains which had not changed since he was


 last here more than an Age ago as a young child and he drank in the lithe beauty of Thüringel.


        She set the tray down on the garden table, “Refreshments?”


        “Where are the others?” he asked, eyeing her hungrily as she poured three glasses.


        “Surely you know how things go with conquerors,” she smiled mischievously, lifting the


 tray to him. “You are one, my Lord. Ever plotting and planning to take over the world.”


        He took one of the glasses and held it up, “To taking over the world.”


        She set the tray down, took one of the others and pouted her lips, “Is that all you want?”


        “No,” he answered, licking his own lips. “I want more.”


        “Then let us drink to more, my Lord,” she said raising her glass. “To all you want.”


        “To all I want,” he said clinking her glass.


        She drank and stepped past him into the gardens.


        He drank, turned to pursue her and came face-to-face with Ulbandi.


        “Good day my Lord,” Ulbandi said picking up the third glass and drinking. “How does


 the wine?”




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        Thüringel had dressed her in a seductively beautiful red shoulder-length gown and


 braided and expertly styled her hair, lifting it off her shoulders and displaying the fine, feminine


 lines of her long neck, bare shoulders, fragile collar bones and opulent breasts.


        “I…” Estel said, drinking in the beauty of her perfect skin and figure.


        Ulbandi’s dark eyes burned and she turned to the statue before them, taking another


 drink, “I am told these gardens have witnessed the meetings of many disparate peoples, who still


 discovered common ground. Is this not true, my Lord?”


        Estel was having problems concentrating. He knew she was Vala and he should not think


 of her desirously, even if respectfully. But his eyes were drawn to her beauty, the beauty of her


 face, her hair, hands, lips, her body…


        He began to sweat. What should he say to such a magnificent woman? What could he


 say? “I… why yes. I actually do remember my adoptive father Elrond telling me something


 about him meeting my mother Celebrían here, among these groves. See that statue carved by the


 Princess Drendelen?”


        Before them set atop a great marble pillar stood one of the Elvish sculptress Drendelen’s


 masterpieces, her magnificent larger than life sculpture, ‘Glorfindel Slaying The Balrog.’

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        “Such grace, such power,” Ulbandi found herself unselfconsciously admiring it, despite


 loathing Glorfindel now even more than before they’d met.


        “I agree,” Estel said thoughtfully. “Though it is not my favorite.”


        Surprised, she turned to him, “Which is your favorite, my Lord?”


        He led her to the back of the gardens. Tucked away in a corner, almost hidden behind a


 grove of trees, upon a pillar of black marble rose one of the masterworks of Drendelen’s


 grandmother, the undisputed Master Elvish sculptress Nerdanel, wife of Lord Fëanor.


        The composition in marble brought by ship from Valinor was of two interlocked figures


 caught in a brutal struggle. Even Drendelen, as overwhelmingly talented as she was, could not


 compete with the Masterworks of her grandmother.


        “My – Lord…” Ulbandi gasped, walking around the magnificent, larger than life marbles


 that seemed even now, 15,000 years after they had been sculpted, as if they were seething with


 malevolence and power. As if the two beings represented were actually living things captured by


 a spell in the moment of terror and malice, frozen in time. As if at any moment they might spring


 to life and complete the grizzly depiction of ‘Ulbandi Slaying Draëd.’




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        “From the moment I saw it, even as a child,” Estel told her, “I knew it was one of the


 most beautiful things I had ever seen, and it would always remain in my heart.”


        “This is one of the most beautiful things I have ever seen,” she said.


        “I had actually thought it as the most beautiful,” Estel said. “Until now.”


        Their eyes locked and Ulbandi, the Mad Vala – felt dizzy butterflies in her stomach.


        “I am thinking of returning home to Forodwaith,” she told him turning away.


        “Forodwaith?” he asked. There was something about Forodwaith… something he was


 thinking of doing there. But he couldn’t remember. He swallowed hard.


        “It is beautiful there,” she said. “The stars reflect so brightly off the snow, as if my citadel


 towers rose higher than the skies, and looked down on the stars.”


        “That sounds… enchanting,” he told her. “But, must you go so… soon?”


        He realized he didn’t want her to leave. But he couldn’t bring himself to demand she stay.


 Not because he feared her power, he did not want to disappoint or displease her. He racked his


 brain for something to do or say to make her stay, or please her before she left.


        “Perhaps, you might like to come one day,” she said taking another sip of wine. “See the


 many wonders of Forodwaith, with your own eyes.”

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                    *             *               *              *               *




        Before the burning flames of the open pits at the center of the Hall of Fire,


 Lemminkäinen the Black and Incánus the Gold stared at each other warily. For several minutes


 they regarded each other in silence.


        “So,” Incánus said. “We have come a long way from the Halls of Mandos. It has been a


 very long time.”


        “Indeed,” Lemminkäinen responded. “You serve Swahillogûz, the Albino Abomination


 of North Harad, it seems.”


        “I am a wanderer,” Incánus said. “I give council to those who wish to benefit from the


 wisdom of one was tutored by the Valar. You serve Vala Ulbandi in Forodwaith.”


        “I do,” she replied.


        “How is it,” Incánus asked, “that she who hates the cold has been content to hide from


 the warmth of her brethren all these many Ages, within those icy realms?”




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        “How is it,” Lemminkäinen replied, “two of the Servants of the Servants of Ilúvatar now


 serve those who oppose Eru, and one serves instead the Servants of the Silence That Devours?”




                   *              *               *                *           *




        The twins reappeared before Alatar, Eldarion, Calcarin and the hobbits.


        “Your mother is safely out of Imladris,” Elrohir told Eldarion.


        Relief poured over his features and he gripped both their hands, “Thank you.”


        “Something has been going on outside,” Alatar told them. “A great many have ridden out


 while you were gone.”


        “We feared for your safety,” Eldarion told them. “You were gone so long.”


        “We saw them,” Elladan said. “Glorfindel sent his newly created Nazgûl King and Queen


 slaves back to their lands to gather their armies. He will use them to invade the West. Ulbandi


 sent the rest back to gather their armies to invade Under-earth. But we cannot concern ourselves


 with any of them. We must get the rest of you to safety first.”


        Crack.

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        A hairline fracture zigzagged across the surface of the dragon egg.


        “Summon Emperor Glorfindel and Queen Thüringel!” the Captain of the Easterling


 guards ordered his lieutenant. “Immediately!”


        “Yes sir!” his lieutenant cried and he ran from the room shouting.


        “We cannot allow a wyrmling to imprint upon Glorfindel,” Alatar said.


        “Nor Thüringel,” Eldarion told them. “Some nestlings grow quickly into dragons.”


        “How long can you hold Ulbandi off?” Elladan asked Alatar.


        “Hold her off?” he asked. “You are speaking of the Power of a Vala as if she were an


 earthly creature. You mean survive against her!”


        “Hush,” Elrohir warned. “I trust your spells, but it does no good to shout.”


        “You last saw Ulbandi when she was an incarnate being in Aman,” Elladan told Alatar.


 “she has clothed herself in earthly flesh in order to exist in Middle-earth. In this form, she only


 possesses a tiny fraction of her power there, and though her malevolent spirit cannot be


 destroyed, her body can be killed. If we can unhouse her fëa, she will not be a threat to us and


 her spirit may even be drawn back to Valinor to face the Judgement of the Valar.”




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        Alatar looked down and sighed, “Since we have the advantage of surprise, and I will be


 striking first… perhaps three minutes. Perhaps less.”


        “What is the soonest she could possibly vanquish you?” Elrohir asked.


        “I must confess,” Alatar told them. “I despise the direction of this conversation. You do


 both understand that, don’t you?”


        “We do,” the twins said softly.


        “I will give you three minutes before I fall,” the wizard said. “No matter what.”


        Eldarion drew Ringil and it glittered with cold light, “Estel is mine.”


        “I will avenge my fallen family against King Tyranus of Eidolon,” Calcarin said drawing


 his bright red sword which gleamed luminously, an unknown mineral or stone.


        Theo drew Sting, “Glorfindel is mine.”


        The twins looked down at him and then back up at Eldarion, about to say something but


 he stopped them with a look and Theo was very grateful for Eldarion’s faith in him.


        “What can we do?” Fastred asked drawing Elanor’s barrow-blade reluctantly and


 uncomfortably. But once in his hands, he steeled himself and swore he would act decisively.




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        “Alatar must strike Ulbandi,” Elladan answered. “to kill. Elladan and I will attack


 Glorfindel and Thüringel. Elanor and Eldarion must pit their Rings and blades against the


 Nazgûl. Calcarin, you appear to know well how to wield your blade. We need every sword. You


 must adapt to our surface world quickly. You and Fastred must do whatever you can to aid


 whomever is in the greatest need.”


        They nodded.


        Elladan and Elrohir looked at each other a moment, as if communicating more than


 anything could with just a look. They closed their eyes and concentrated. Their forms shimmered


 and glowed. Elanor saw on the third fingers of their left hands, their Rings of Power glowed.


        “In the far, far distance,” Calcarin said lifting his head. “From far away in the heights of


 the mountains I hear… the beginning of the faintest roar.”


        “What is it?” Alatar asked.


        Glorfindel and Thüringel ran into the Meeting Room, dismissing and clearing everyone


 else out until they stood alone side-by-side before the dragon egg.


        Crick.


        Another fracture tore across the egg’s white surface.

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        “Oh!” Thüringel cried. “This is so exciting!”


        Crackle.


        Three more zig-zag fractures spread further, connecting to the other two and a baby


 dragon tooth broke through the egg’s surface.


        “Now!” the twins shouted with their great polearms whirling in their hands, driving the


 steel blades through the glass, shattering the great mirror, launching themselves into the room


 and attacking, followed by Eldarion, Alatar, Calcarin and the hobbits.


        Glorfindel and Thüringel turned from the egg and shouted at Alatar, “You!”


        “Athâraigas ašata tulukha Mâchananaškad!” Alatar cried.


        Thüringel was already growing gigantic but a Valarin beam of pure white light flashed


 from his blindingly bright staff and struck her – blasting her growing form through the double


 doors a moment before she had grown too large to fit through them.


        “Die!” Glorfindel screamed, pointing his hands at Alatar.


        Six beams of red light shot out but Eldarion had already stepped between them and he


 deflected the beams with Helcar, struggling to stay standing against the onslaught of power.




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         Nine Hunters In Grey, the Nazgûl stepped out from behind the tapestries with grey


 arrows fitted against their grey bows, but a piercing cry rose from Calcarin’s throat and the


 Nazgûl dropped their bows and arrows cupping their ears in pain.


         The twins bore down on the Nazgûl swinging their polearms and struck two, the elven


 blades shattered and the monsters screamed and fell. But thanks to the enchantments in the


 Elvish wood, their arms were unaffected. They reversed their polearms, struck two more, two


 more fell, they dropped their shattered polearms and drew their swords.


         “Once you were the wisest of the Wise,” Elladan told Glorfindel. “We do not know how


 you Fell from wisdom into folly, but clearly you have Fallen.”


         Glorfindel drew his sword, “Fools! Together you lack half the wit of the stupidest troll.


 Even they know better than to challenge the Emperor Glorfindel in his own home!”


         “This is not your home!” Elrohir shouted, lifting his hands and they shone as bright and


 hot as stars, hotter and brighter than even the fires of Glorfindel, “It is ours!”


         Glorfindel screamed beneath the burning radiance and the undead flesh of the remaining


 Nazgûl caught fire.


         “To arms!” the Easterlings outside shouted. “The Emperor is under attack!”

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        The twins ran to the doors and in the distance the armies of Easterlings approached.


        Glorfindel rose, “You cannot beat me here, or anywhere else. I am protected by


 Prophesy: No man can defeat the one who wears the Ring of the Witch King!”


        “That’s not true,” Theo said. He and Fastred had crept up behind Glorfindel and they


 jumped up and swung their swords, “My father laid the Witch King low in the Pelennor Fields


 and we’re here to do it again!”


        If Theo had remained as silent as Merry had, they might have succeeded. But Glorfindel


 jumped clear of their swings and at the top of his jump he swung his sword striking Fastred, who


 dropped his blade and went tumbling under the tables to strike the dragon egg.


        “Fastred!” Elanor screamed.


        Glorfindel landed off-balance and unintentionally struck Theo with the flat of his blade,


 with much less force. Theo flew backwards, struck the wall, dropped Sting and fell to the


 ground. Groping, he found the pommel of his sword. Grasping it, he rose on unsteady legs.


        “You are the son of the hobbit Meriadoc who hurt us before?” Glorfindel shouted.


        “Ow!” Calcarin cried. He fell to the floor, his hands against his ears, “Make it stop!”


        “Let the son of the one who hurt us atone for the sins of the father!” Glorfindel cried.

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        A brilliant glow and a shriek rose from Arien, the Ring of the Eclipsed Black Sun and it


 was taken up by the other six Rings flaring bright and hot, framed in the darkest shadows


 burning across Glorfindel’s body. Above the rest, the Morgul spirit in his Ring SCREAMED.


        Everyone fell to the ground with their hands on their ears but they couldn’t keep out the


 pain except Eldarion, who took the collocoll dough from his belt and stopped his uncle’s ears.


        Glorfindel stared at Theo, his eyes flared with the hottest fire and Theo was caught in his


 glare, unable to move. Flames leaped like arrows from Glorfindel’s daemonic eyes cutting a line


 through the air straight at the imprisoned eyes of Théoden.


        “Look away!” Alatar screamed.


        But Theo was pinned in the deadly grip of the living fires that lanced across the room and


 struck his eyes. Theo screamed and his body glowed. Fire burned out from his arms and legs,


 back and chest, and then flared from the top of his head. His hands, legs and hairy hobbit feet


 caught fire. His scream merged with the five Rings and surmounting those, the scream of the


 Ring of the Witch King exulting in triumph and revenge. The fires burning Theo’s body grew so


 bright Theo was consumed.




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        The screams of the Rings died, the terrible and deadly brilliance faded and the fire linking


 Glorfindel’s eyes to where Theo’s had been went out. All that remained was his scorched and


 blackened sword belt and scabbard, and Sting, lying on the floor atop a pile of smoking ash.


        “I will find the Master-Ring and bend the Valar to my will!” Glorfindel cried. “I have


 learned the secret: the shortest distance between any two points are the Fire Eyes of Glorfindel!”


        “Theo!” Elanor cried. “No!”


        “Glorfindel!” Elrohir called. “The hobbits have a saying, ‘You should pick on someone


 your own size.’”


        “The true scope of the power of my Rings are revealed! All I required were worthy foes.”


 He turned to Elanor. “Look at me! Come see your death in the Fire Eyes of Glorfindel!”


         “Here we are!” Elladan said standing beside his brother. drawing their Lhang swords,


 they advanced on him. “Not one foe, but two. All the better for you. Try and do to us what you


 have done to our friend!”


        “Or perhaps,” Elrohir said as they split up and closed from opposite directions, “if you


 engage your Fire Eyes to kill one of us, the other will kill you!”




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        “I do not need to hold you in my eyes!” Glorfindel yelled stepping back. “I have only to


 ensnare your eyes, and your lives and Rings of Power will be mine!”


        The twins stopped, shocked.


        “Yes, you simple-twins!” Glorfindel sneered. “I have studied the Lore of the Rings and


 searched for years within the Palantír. I know where the Eleven and Five have laid hidden. I


 claim your Rings and soon the lives of all the Ringbearers and their Rings!”


        Glorfindel locked eyes with Elrohir: two trails of fire lanced across the room but before


 they could strike, Elladan vanished and Elrohir followed. The flames continued, struck the wall


 behind and it burst into flames, setting the House of Glorfindel on fire.


        “What?” Glorfindel cried, his eyes darting around the room, “How can you hide? Even


 before I wore these Rings I could see the wraith world!”


        No answer came.


        “A hobbit trick won’t work on me!” Glorfindel vanished.


        Fire Eyes shot out from where Glorfindel had been standing through the place where


 Elladan had stood and struck the pillar behind. It broke and crashed to the floor.


        “You cannot escape!” Glorfindel shouted.

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        Fire Eyes shot from different places as he leaped around the room invisible. Fire Eyes


 struck arches, tapestries, ceilings and floors. Flames rose and the House of Glorfindel burned.


        “I will incinerate every room, every building, every tree!” Glorfindel screamed.


 “Whatever it takes. I will destroy this entire valley – you will not leave alive!”


        Fire Eyes shot out again and again destroying paintings, tables and chairs.


        “Stop you fool!” Thüringel screamed running in her normal size and hideous true form.


        “You are worse than fools to believe you can hold Rivendell against us,” the voices of


 Elladan and Elrohir echoed through the room coming from everywhere and nowhere. “Not Maia,


 Elves or Vala can hold these mountain valleys, rivers and streams against the Sons of Elrond!”


        A terrible roar such as Elanor had never heard and hoped never to hear again filled her


 ears and she could no longer think, it shook the building so hard it bled into her mind.


        Held in the Misty Mountains by the twins for days, down the dry riverbeds and over


 empty waterfalls came antediluvian floodwaters crashing, battering, slamming down the walls,


 filling the forests and fields and the whole of the valley, surging above the tops of the buildings,


 smashing through the attacking armies of Easterlings, Fallen Elves, petty-dwarves, and Men;




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 crushing the barracks and armories and all their enemies, battering them down the fields, over


 falls, drowning men and beasts, and sweeping everything away.


         The minute before the waters struck, invisible hands had plucked Elanor and Calcarin,


 and carried them high above the canyon walls so fast she thought they must be flying on


 invisible wings. At the top, invisible hands set them down beside Incánus, Eldarion, Arwen,


 Drendelen, and Alatar who was helping Fastred feed the baby dragon the remnants of yolk and


 egg whites from the broken pieces of dragon egg on the ground around him.


         The twins appeared beside them.


         Elanor looked out over the edge and saw far below, the floodwaters carrying everything


 away. Yet still the waters swelled larger and higher and louder and the fear filled her the twins


 had released forces they could no longer control.


         Fastred handed Alatar the satisfied and drowsing baby dragon. Elanor shook in terror


 before the screams of drowning armies and she cried at the horrible loss of life, even for her


 enemies, and for Theo. Fastred took her in his arms and held her, and he cried as hard as she did


 for the loss of his dearest friend.


         They sobbed until exhaustion took her. She collapsed in his arms and knew no more.

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                                            Chapter 11




                                         Secret Meetings




        When Elanor awoke, the sun was setting and the waters which filled the valley were as


 calm as a gently flowing lake. The wreckage of Rivendell, all that remained of the once fair land,


 floated here and there on the surface of the slowly sinking waters. Everything was quiet.


        Fastred rowed across the surface in a boat filled with food he’d collected from the


 floating wreckage. On the prow stood the baby dragon with his wings spread feeling the flow of


 the gentle breezes filling the webbing between the openings in his wings.


        They reached the rocks below the cliff where Elanor waited.


        “What’s its name?” she asked as Fastred stepped ashore carrying a large pouch of food


 with the baby dragon perched on his shoulder.

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        “His name’s Belethor,” Fastred answered, opening the pouch for Eleanor and tossing a


 fresh cut of meat up which Belethor snatched between his jaws and munched down.


        “I like it,” she said stroking Belethor’s back and he arched his head, wings and tail and


 snarled low and long, like a purr, “Hello Belethor. Where did you get the name?”


        “I didn’t,” Fastred said. “He told me his name. He’s very intelligent.”


         At the waterline around the edge of the valley, the surviving Elves, Dwarves and Men


 who had suffered under Glorfindel’s rule and fled before the release of the floodwaters had


 returned. Working together, they began the long and very sad salvage efforts.


        When the last of the floodwaters drained away, the rivers and waterfalls returned to their


 beds, and dry ground emerged. From outside the valley Celendrian, Elboron, Niphredil, Xiang,


 Pingyang, Ælfwine, his sisters, her parents and the rest of the Prince’s Brigades who had


 decimated most of the fleeing armies after the floodwaters struck, joined them.


        They searched the valley end to end but they could not find any trace of Glorfindel,


 Thüringel, Ulbandi, Estel, Inaequalis, the White Elf, Thû, any of the others or their armies.


        Of Theo’s remains, they only found intact the scorched leather of his sword belt and the


 mithril scabbard housing Sting, buried beneath the wreckage of the House of Elrond.

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        Everything else had been swept away.


        In the days that followed, they began exchanging letters by post riders and Sam, Rosie,


 and Elanor were overjoyed to learn Frodo had led his brothers and sisters to safety. Círdan


 assured them no harm would come to their family in the Havens.


        In the days that followed, they were joined by Elves, Hobbits, Dwarves, Ents, Collocoll


 and Men (and women, Elanor noted proudly) from Eriador, Bree, Rohan, Anor, Lothlórien, the


 Shire, Gondor, Ithilien, Dol Amroth, Belfalas, Harad, and many cavities of Collocolly and


 Euthyria. Together, they began the real work of rebuilding Rivendell.


        The Master Meriadoc of Buckland arrived with a large contingent of hobbits and he


 collected Theo’s sword belt, all that was left of his son. He packed it in his saddlebag to take


 back to the Shire.


        It was the saddest day of Elanor’s life, standing beside her parents, Fastred, Alatar,


 Eldarion, Calcarin, Elladan and Elrohir, explaining to Merry why Theo had gone with her,


 Fastred and Alatar to Bree, and everything which had happened to them since.


        There were no words to console the parent who must bury the remains of their child, and


 through his tears, though his grief knew no bounds, Merry gathered his strength, silenced his

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 inconsolable cries, and told Elanor he understood. She and Fastred were blameless. He was


 proud of all the extraordinary things Theo had done and he knew his son would not have wished


 to take anything back, except maybe the part with Glorfindel at the end. He thanked them for


 having been such dear and loving friends and for standing beside him, ever faithful companions.


        Fastred was a wreck, the worst by far of all of them. Merry took what scant consolation


 he could by comforting Fastred, and her father and mother, and accepting the most solemn


 thanks from Eldarion, himself filled with grief at the passing of his dear friend Theo.


        “Though we knew each other a short time as people measure the years of their lives,”


 Eldarion told Merry, “Many times more than the lives of Men I will remember the courage, the


 smiles and the laugher of my friend Theo, who never let me down, or failed to make me smile.”


        “Thank you Prince,” Merry said.


        “Do not thank the Prince,” Eldarion said. “Theo was not a Prince’s friend. He was my


 friend. I real friend. A friend who, however kind, spoke his true mind. He would not lie to me


 because he valued me for myself. Nor would he fail to tell me if he believed I was wrong.”


        “Such friends are worth their weight in gold,” Alatar said.




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        “Such friends are not measured by precious metals or the treasures of the earth, my


 friend,” Eldarion said kindly laying his hand on Alatar’s shoulder, “Such friends are measured by


 the invaluably precious memories they leave behind, the priceless treasures of the heart.”


        “Thank you Eldarion,” Merry said. “That means more to me than you’ll ever know.”


        “No,” Eldarion said. “You are wrong. I do know. I know because these are the things I


 have seen with my own eyes, things Theo and I shared, which my father feels for you. There are


 very few who have ever lived who have done as much for me personally, and fewer still, almost


 no one except you, Sam and those assembled here who have done as much as Théoden


 Brandybuck, son of the Master Meriadoc of Buckland for the betterment of all kingdoms. On


 behalf of King Elessar, I give you his thanks, and the thanks must not be forgotten of your


 personal friend Aragorn, son of Arathorn, and of course the debt which is owed for the life and


 bravery of Théoden son of Meriadoc by the Kingdoms of Arnor and Gondor.”


        Arwen and everyone in her company, and the even those in the Princes Brigades who’d


 only met him once but all had been touched by the valor of Théoden Brandybuck, son of the


 Master Meriadoc of Buckland of the Shire.




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        Arwen hugged her friend she’d known for years and much admired as much as she


 admired any man or woman in all the Kingdoms and Merry knew how extraordinary and rare


 this was for Arwen, who now somehow seemed less remote and detached than he’d remembered.


 Rarely did she praise men. But though seldom, whenever given she was sincere and those around


 her could not help but value her praise all the more for it. Merry felt the fullness of her affection


 for his son, who had ridden to her rescue through many battles, great and unknown dangers,


 saved a Queen and remained a true and faithful companion to her son.


        Still sad, but somehow heartened in the heart of his grief, grateful, brimming with


 appreciation and love, and his memories of his son that warred with his grief and always would,


 Merry and his hobbits and their escort from the King slowly rode out of the valley and back to


 the Shire to have a proper funeral and burial despite the absence of a body.


        Seeing all the hobbits that were their friends, Fastred had been tempted to go back to the


 Shire with Theo’s remains. But he’d come so far, he couldn’t bear the thought of leaving Elanor,


 or quitting on Eldarion, nor leaving unfinished what he’d started.


        Belethor patiently reminded him the only way he could be true to the trust everyone had


 given him was to continue on.

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        Like it or not, he was now part of the histories of Kings, and deeds and wars in distant


 lands. He carried the Stone from the Shroud of Turin, appointed by Lord Círdan to be the


 Guardian of the Turin-stone. For perhaps the first time, he appreciated not only the incredible


 powers and abilities conferred to him by his Turin-stone, but the grievous responsibilities which


 were just as much a burden as a privilege.


        Eldarion and Celendrian and Elerith were generous with their time and affection. They


 consoled him and reminisced, though most of them had known Theo only briefly, he’d made his


 own indelible mark and he would never be forgotten.


        Yes, they told him. Yes indeed, that was the way of it for all of them, for better or worse.


 The worse was they really didn’t have much choice. The better, their companions were the best


 anyone could hope to have, the very best in all the kingdoms, the flower of their generation, and


 their efforts made a difference, protecting, saving and improving the lives of all the free people’s


 in all the free lands to the eventual defeat and destruction of their enemies, and the prosperity of


 their friends, the free people’s, and all future generations.


        One day Elanor noticed Fastred wearing a shirt with odd emblems over his heart and on


 his shoulders, “That’s a new shirt. What are those symbols?”

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        “My Coat of Arms,” he answered.


        “What’s a Coat of Arms?” she asked.


        “You know the way Celendrian and her Brigade wore the emblem of the White Tree and


 Seven Stars, and Elfwine and his Brigade wears a red arrow?” he asked.


        “Yes,” she laughed, “and a red pedicure on his horse. Celendrian wasn’t kidding.”


        “This is my version of those,” he told her. “Or a chief dragon rampant gules.”


        She didn’t understand what he meant but she asked, “What do the runes say above and


 below the pictures?”


        “The top ones mean, ‘By Skill And Valor,’” he answered. “The bottom three mean,


 ‘Ascendant, Transcendent, Eternal’.”


        “Oh, that’s interesting,” she said. “Was this Belethor’s idea?”


        “It was,” Fastred answered. “One of his better ideas.”


        Elanor showed the drawing to Celendrian, “I think Belethor is starting to go to his head.”


        “Ambarónë, Langë, Oialë,” she read. “He’s using Quenya!”


        “Are you sure?” she asked. “Fastred doesn’t know Quenya.”


        “Can I borrow this?” she asked. “I really like it. Where’s Fastred?”

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        While Fastred was designing a Coat of Arms for Celendrian, Elerith asked for one too.


 Soon there was quite a long line of Princes, Kings, Queens and a great many others wanting


 Fastred to design a Coat of Arms for them.


        As Fastred’s designs spread, one day a militiaman from Bree rode in with messages for


 Eldarion and on his shoulder he wore a Coat of Arms in the style Fastred had invented which he


 hadn’t designed or recorded in the book he was keeping for Eldarion. Mayor Mugwort had stolen


 his idea and designed his own Coat of Arms without any input from Fastred, nor had it been


 properly recorded. That night, the Mayor’s office mysteriously burned to the ground.


        The fire could easily have gotten out of hand and consumed much of Bree. But the Bree


 militia had been doing one of their extremely rare (never before recorded) fully staffed night


 training operations when the fire broke out. Even though the Mayor’s office was consumed, the


 militia managed to contain the flames and no other buildings were affected.


        Elessar proclaimed Fastred son of Folcred of Longcleeves in the Shire was now the


 Official Master of Emblems for the Kingdoms; the only person who could authorize, design, and


 record the insignias for officials, princes, Kings or Queens High or low was Fastred.




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        Celendrian and Elerith had insisted on paying him and advised him to charge for every


 design he made. Soon, Fastred was forced to hire an assistant and a banker to keep track of his


 money. To insure the King was heard, Fastred designed a coat of arms for the King’s Heralds so


 people would know they were the officially sanctioned Heralds of the King. Elessar added the


 Master of Heralds to Fastred’s ever growing offices and titles.


        One day Elanor found Sam packing, “Where are you going?”


        “Elessar has summoned your mother and me to Minas Tirith,” he answered. “I want you


 to come with us.”


        “What has Eldarion said?” Elanor asked.


        “This isn’t his decision,” Sam said without the rancor he’d expressed in Bree, “It’s your


 decision. You’re in your two-and-twentieth year now. You’re a young woman and your


 decisions are your own. I’m just hoping the wishes of your father still carry a little weight. If so,


 please say you’ll come. The baby will be born in Minas Tirith. It would mean so much to your


 mother to have you there at the birth of our last child.”


        He wasn’t fighting fair. They both knew it. Her mother would have come herself if it was


 something she wanted that badly.

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        But that didn’t mean Rosie didn’t want her there. Elanor knew she would and she wanted


 to be there, if she could. Rosie would sleep much better and have a better delivery if she went


 with them. But she also wanted to help Eldarion on his Quest.


        She could not do both.


        “I understand much better now, your words to me in Bree,” she told him. “And I love you


 for them. You were right, war is an evil thing. Being attacked, seeing people die… watching


 Theo die – ” she had to stop. Her father understood and waited. “It was the worst thing that’s


 ever happened to me. I knew any of us or all of us could die at any moment. There were many


 time we came close, just as you and mother came close. There were times I was certain we


 would die. We could still die. But I understand it in a different way now. But how I feel hasn’t


 changed. If anything, I feel even more strongly than before this is my duty, and I have to keep


 doing it. I have to stay with Fastred, Eldarion, Celendrian, Alatar and the twins, and see this


 through to the end, whatever end awaits me.”


        “This isn’t like before,” Sam told her. “I don’t know why, but hobbits never died before.


 We could have easily. Frodo and me, we cheated death on our way to Mordor and Mount Doom


 a dozen times. So did Merry and Pippin. Dozens. As for Bilbo, I’ve never bothered to count.

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 There’s no good explanation for it. But it didn’t happen. But here we are at the beginning of what


 is sure to be a longer and even more dangerous war with longer and more deadly journeys and


 battles… and Theo’s already dead.”


        She burst into tears again, remembering seeing him one moment fighting beside them,


 very much alive, and the next pinioned in Glorfindel’s new and terrifying power he’d called his


 Fire Eyes, magic of the darkest, most evil, and most deadly and lethal kind.


        Her father held her. When she had composed herself, she pulled away.


        “I know you’re almost all grown up now and old enough to make your own decisions, but


 won’t you please go with your mother and me to Gondor where we’ll all be safe, and welcome


 the newest addition to our family? Please?”


        “Actually,” Eldarion said coming up behind them, “My father has recalled all three of


 you to Gondor. Pack your things, you leave at once.”


        “There is,” Celendrian said standing in the door with the Princesses Pingyang and Elerith


 beside her. “One important consideration. I’ve spoken to father too, Eldarion, Master Samwise. I


 hope you are not offended, and it does not alarm you, but he agreed I may offer Elanor a role to


 play in this War of the Ring to end all Wars of the Rings.”

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        “Wait one minute,” Sam said. “Elanor is my – ”


        “Father,” Elanor said, taking his hand. “I’m in my two-and-twentieth year. You just said


 so yourself. As much as I love you and want to please you, I will make my own decision.”


        Sam stood face-to-face at last with the inescapable reality: in his heart she would always


 be his little girl but the time had come when he had to trust he and Rosie had done a good


 enough job for her to stand on her own two feet, and make her own decisions.


        He had to let her go.


        “I- I’m sorry Elanor,” he looked at Eldarion and Celendrian. “I know you’re right. I guess


 I just wasn’t ready. Especially now that we’re at war.”


        “I know,” she said letting go of his hand. “And I love you for that. But I was serious


 when I said all those months ago in Bag End that a woman should be given the opportunity to


 contribute if she could and wished. The time is here. It’s what I want.”


        “That doesn’t mean it’s ever going to be easy for your father, but let’s not make this


 harder than it has to be,” he said hugging her and he quickly walked to the door. “Discuss your


 plans with Eldarion and Celendrian. When you make your decision, find me and your mother


 and let us know.”

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        After he’d gone, Elanor asked Celendrian what role she had in mind.


        “We are beginning our hunt for the Master-ring of Middle-earth,” Celendrian told her.


 She turned to her brother, “What are you going to do?”


        “Elessar’s first strike against our Enemies will be in Khazad-dûm,” Eldarion answered.


 “Alatar, Elladan, Elrohir, Legolas, Gimli and I will be joining Durin VII and a great host of


 warrior Dwarves from all seven Dwarven Kingdoms to attack and defeat Lungorthin. Durin


 believes the quickest and safest place Celebrimbor could have sent the Master-ring from Eregion


 was to one of the secret hidden treasuries in Khazad-dûm.”


        “That makes sense,” Elanor said. “Beside the mithril, it would explain why Lungorthin


 risked leading his armies through the heart of the High King’s land and the lands of his allies.”


        “If the Master-ring is in Khazad-dûm,” Eldarion said, clearly very troubled at the thought,


 “we must find it before he does.”


        “How do we know he hasn’t found it already?” Elanor asked.


        “When the Master-ring of Middle-earth is found,” Alatar told her, “everyone will know.”


        “Even if the Master-ring is not in Khazad-dûm,” Eldarion told her, “we must reclaim the


 stolen Palantír of Minis Ithil, and there is at least two Rings of Power there.”

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        “I remember Alatar telling us Lungorthin wore one of Sauron’s corrupted Seven for


 Dwarf Lords,” Elanor said. “Who has the other Ring?”


        “The Balrog Lord who Gandalf slew when Sam and the Fellowship of the Ring traveled


 through Khazad-dûm during the War of the Ring is the same one who slew Durin III,” Eldarion


 answered. “We believe on the inaccessible peak of the Silvertine buried beneath the wreckage of


 Durin’s Tower, on the corpse of the Balrog lies the Dwarven Ring of Durin.”


        “You think the Ring of Durin was one of Celebrimbor’s original six of the Eleven for


 Dwarf Lords?” she asked.


        “It seems most likely,” Eldarion told her. “But it could be one of Sauron’s corrupted


 Seven. As I’ve mentioned before, not all the histories of the Wars of the Rings recorded are


 entirely free of error with so many copiests, translations, and emendations.”


        “Where are the original documents?” she asked.


        “Only clay or stone tablets could have survived these many Ages,” Celendrian told her.


 “Historians and scribes switched to parchment Ages ago and our languages themselves have


 changed repeatedly. Translations of copies of copies of copies are all that remain, I’m afraid.”




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        “In either case,” Alatar said. “We must claim this Ring and search all of Khazad-dûm for


 the Master-ring. If there is someplace it may be hiding Sauron missed, it is in Khazad-dûm.”


        As for the three of us,” Celendrian told Elanor, taking Elerith in with her eyes, “If you’d


 like to join us, we are going hunting for the Master-ring in the Lost Kingdom of Nimrodel.”


        “I remember reading about Nimrodel,” Elanor said. “How she lost her love Amroth. But I


 didn’t know she’d founded a Kingdom.”


        “No one has ever seen it,” Elerith told her. “But many rumors and tales have surfaced


 over the years. Father and his Councilors are almost certain she has.”


        “Searching for a lost Elvish Kingdom sounds a lot less dangerous that going to Khazad-


 dûm,” Elanor said, enchanted by the thought. “Why don’t you think anybody has found


 Nimrodel’s Kingdom before now?”


        “Círdan gave the first of the two Stones from the Shroud of Turin to Nimrodel,”


 Celendrian told her. “It wasn’t until Eldarion discovered Fastred has the other that we had any


 hope of finding her. Only Fastred and his Turin-stone can find the Lost Kingdom of Nimrodel.”


        “Oh bother,” Elanor said.


        “What’s wrong?” Elerith asked. “I thought you liked Fastred.”

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         “I do,” she said. “I always have. It’s just that… well… ever since Belethor came along,


 Fastred’s been acting different.”


         “You’ve been acting different too,” Celendrian told her. “Since finding and learning how


 to use a magic Ring. It’s just growing pains. Elboron and I have had similar problems ourselves.


 If it was meant to be, you’ll work it out.”


         “But you shouldn’t be surprised Fastred has changed and grown during your adventures,”


 Elerith told her.


         “Do you doubt his heart?” Eldarion asked. “Could he be falling prey to an infernal will


 we’ve missed that might lurk inside Belethor?”


         “No,” Elanor answered. “It’s nothing like that. As far as I can ‘see,’” she told them


 holding up her Ring and allowing them to see it. “Fastred and Belethor’s hearts are true.”


         Sam had taken back Sting and left with Rosie for Minas Tirith weeks ago. As soon as the


 forges of Rivendell were restored, in addition to reforging Aeglos for Elrohir, Eldarion had


 Frodo’s Barrow-sword long preserved in the armory of the House of Elrond (after the water was


 pumped out) reforged and in a great ceremony, he knighted Fastred, a decorated and battle


 hardened warrior of the Palace of Anor and dressed him in the silver and grey of the palace.

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        Elanor had to admit, Fastred looked quit dashing now his uniform and barrow-blade and


 of course, he had become quite famous walking around with Belethor on his shoulder.


        For his part, Belethor was very fond of Elanor. He felt certain they were destined to be


 together, and he went out of his way to try and mediate the differences between her and Fastred.


        Eldarion called a council in the ruins of the only great house left standing. In a solemn


 ceremony at the request of Elessar, what had once been the House of Elrond was rechristened the


 Palace of Elendil. In the center of the chamber on top of a high marble pillar they set the


 Elostirion-stone. Another of the seven Palantíri had returned to the service of the King.


        That night they held a dinner to thank the peoples from different lands who had poured


 into Rivendell and worked at rebuilding.


        The next morning, King Elessar called a Council of the King.


        Elanor and the rest of the Fellowship of the King gathered around the palantír. In the


 Tower of Elostirion, Elessar, his councilors, her father and mother and many others gathered


 around the Anor-stone seeing each other through the Stones as if they were in the same room.


        “Now that we have recovered the Elostirion and the Osgiliath Stones and they are safe in


 their new and rightful homes,” Elessar told them, “the plans of our enemies have been revealed

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 by the efforts of the members of this Fellowship. On behalf of the Kingdom, I thank every one of


 you for your efforts, and I mourn with you for our friends who have fallen. Let us bow our heads


 and observe a moment of silence in their honor, while those of us who knew the honored dead


 take a moment to remember them.”


        Elanor had too many fond memories of Theo to count, and while some merely waited in


 respectful silence, she was so overcome with emotion a tear slid down her face.


        “And to you who have the stolen Ithil-stone, and to your allies who seek the long-lost


 Annúminas and Amon Sûl Stones,” Elessar said to whoever might be listening (Lungorthin), “As


 the heir of Isildur, only I and my line are the Lawful Keepers of the Stones. I say to you now: the


 die is cast. We are sworn enemies. Your treacheries will no longer avail you. The only place you


 can challenge us now is openly on the battlefield and you shall not diminish the strength of our


 arms, the sharpness of our spirit or the commitments in our hearts until each and every one of


 you have been brought to justice and paid for your crimes with your lives.”


        “What of Ulbandi?” Alatar asked Elessar through the Stones.


        “When Ulbandi left Rivendell with Estel, they traveled northwest. I found them and have


 followed their progress through the Anor-stone. She has not yet gone in search of the other two.”

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        Elanor had heard Ulbandi promise them to Glorfindel and Thüringel. But Fastred’s


 Turin-stone had shrouded their battle so they couldn’t use the palantíri to discover if Glorfindel,


 Thüringel or any of their other enemies had survived the onslaught of the Twins. Most everyone


 believed they probably had, but if so, no one knew where they had gone. Eldarion had told her he


 believed it was most likely they had fled to Mordor.


        “Though clothed in flesh, Ulbandi is still very powerful. But far from omnipotent. For


 those of you who rightly fear her, but have not heard, the Wizard Alatar and Prince Eldarion


 stood against her in Eidolon and she fled from them. She has joined the many competing parties


 searching for the Rings of Power. We will do all we can to prevent her from finding them and


 becoming more powerful.”


        “In Ithilien we have not been idle,” Prince Faramir said addressing the Council. “In


 addition to having cleansed the Morgul Vale by the order of the King, for the last twenty-two


 years we have been rebuilding the foundation of the Tower Stone, Osgiliath, the River City and


 its great stone bridge, and in the center, the fabled Great Hall, and at the very top, the Fortress


 and the Dome of Stars.”




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        At Elessar’s command, the Eye of the Elostirion-stone went to the nearly completed


 Bridge and Tower of the Stone of Osgiliath, which spanned the River Anduin halfway between


 Minas Tirith and Minas Ithil, north of the Emyn Arnen, where Prince Faramir and Princess


 Éowyn lived and ruled with Elboron and Niphredil, who at the moment were standing beside


 Elanor, Eldarion, Celendrian and the others of their party in Rivendell.


        In the Great Hall were two high thrones set side-by-side, one for the King or his Steward,


 and one for the Prince of Ithilien or his Regent. Harbors and many great ships were moored


 along the great bridge in the river bearing many people, materials and crews. They were busy


 building houses and towers of stone, and the Dome of Stars was complete. In the center of the


 Dome, whose roof was black and painted with ithildin that sparkled like midnight stars, there


 rose a great black marble pillar. Atop the pillar sat the Osgiliath-stone, the greatest of the seven.


        Celendrian turned to Elboron, “I’ve always said you were a sneaky dastard! Now we


 know where you get it from.”


        “Just like the Rohirric, we in Ithilien don’t leave all the fun to you Gondorians!” Elboron


 said and they laughed.


        “How did Glorfindel recover the Osgiliath-stone?” Eldarion asked.

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        “When you were young just before visiting,” Elessar answered. “He made a great show


 of a summer festival at night on the shores of the Anduin with many bright torches. Secretly in


 the darkness, his Easterlings were dredging the Anduin from the ruins of the Dome of Stars to


 the rapids far downstream until he could see the light of their torches reflected through the


 Osgiliath-stone in the Elostirion-stone. This was how they found and secretly raised the Stone.”


        “We are watching all roads in and out of Mordor,” Prince Faramir said. “We will do


 everything we can to prevent anyone from entering or leaving.”


        “Thank you,” Elessar said, smiling. “As you can see, we have appointed Prince Faramir,


 Princess Éowyn, Prince Elboron, and Princess Niphredil as the Keepers of the Osgiliath-stone


 and they will use it for the benefit of the United Kingdoms in the Palace of Ithilien. We learned


 at the Battle of Weathertop, there has been great traffic in mithril out of Khazad-dûm. Using the


 Anor-stone, I have searched the chambers, smithies and halls beneath the Misty Mountains


 where I have personally traveled through and found the halls of Khazad-dûm filling with orcs


 and Cave Trolls. They have reopened the mines beneath Caradhras, Fanuidhol, and Celebdil.


 Beneath Celebdil, Lungorthin has found the rich vein of mithril.” Elessar told them signaling his


 men and they brought in a great assortment of arms and armor.

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         “These weapons were recovered after the Battle of Weathertop from the remains of the


 re-arisen Nazgûl, a new generation of Ringwraiths, dressed as Hunters in Grey,” Elessar told


 them. “They attacked the Fellowship with mithril swords, daggers, axes, spears and mithril


 arrows. They grievously wounded and almost killed our honored hero Samwise Gamgee


 Gardner. He would have perished but for the efforts of Prince Eldarion. I have brought Master


 Samwise and Mistress Rose to the Palace of Anor where they will refrain from future heroics and


 in safety give birth to their next child.”


         The assembled Fellowship cheered and applauded.


         “We cannot sit idly by while Lungorthin holds Khazad-dûm from the Dwarves and arms


 our enemies with mithril weapons. After private congress with King Bard of Dale and Thorin


 Stonehelm, the King of Erebor under the Mountain, we have begun raising armies of Elves,


 Dwarves, Collocoll, Hobbits and Men to invade Khazad-dûm and take back her halls for our


 longtime allies the Longbeards.” Elessar waved and Durin VII the stepped forward from where


 he had been standing around the Palantír of Elostirion in Rivendell. Elanor had heard he’d


 arrived and met with Eldarion and Celendrian but with everything that had been happening, she


 hadn’t had a chance to meet him. “This is Durin the Deathless, the seventh leader of that name.

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 He has begun gathering a great army of Dwarves who are prepared to march on Khazad-dûm and


 take back their ancestral lands just as Elladan and Elrohir have just recently retook their own


 ancestral lands from the Usurper Glorfindel. We have allied with him, and the Men of Gondor,


 Rohan, and Anor are marching with him even as we speak to retake the Dimrill Dale and the


 Endless Stair. I have asked the Prince Eldarion, and his party the wizard Alatar the Blue, my


 Royal Brothers Elladan and Elrohir, Prince Legolas of Greenwood, Gimli son of Glóin, King of


 the Glittering Caves, and Samwise Gamgee Gardner, to join Durin at the West Gate of Moria and


 help them defeat Lungorthin and his evil forces, and retake Khazad-dûm and restore its halls to


 their rightful owners, the Dwarves. The leader of these efforts will be the Heir to the thrones of


 both Erebor and Khazad-dûm, Durin the Deathless, a member of the Fellowship of the King.”


        “I shall lead my people proudly,” Durin said. “Dwarves from all seven Kingdoms are


 coming to Rivendell to join me and our allies.”




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                                             Chapter 12




                                     The Dragons Are Coming




        In the Palace of Anor at the top of the Tower of Elostirion, Elessar and the rest of the


 Council of the King stood gathered around the Palantír of Anor.


        “The time has come for me to share with all of you, Gondor and Arnor’s closest friends


 and allies, the secrets of the histories of the Rings of Power that far too many in the past have


 died to keep secret, including Lord Celebrimbor, the Elven Master-craftsman who created them.


 A few of you have heard rumors or legends, hardly worth repeating or remembering, that


 Celebrimbor began forging golden Rings of Power hundreds of years before Sauron arrived in


 Eregion. But those stories say these earlier Rings were merely ‘essays in the craft,’ lesser,


 trifling, the least of Rings. And though many of them were, there were a few that were not.”

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        “For those of you who like me survived the last War of the Ring, it is important to


 understand we had to keep these secrets, secret,” Faramir said. “Too many people had been


 corrupted by the temptations of power and revealing these secrets would have distracted


 everyone from the crisis of uniting to defeat Sauron and destroy his Ruling Ring. But our


 enemies now sharing these secrets with each other and it is better for you to hear the truth of


 these stories from your King, rather than twisted tales mouthed by our enemies.”


        “Though many have called Sauron ‘The Lord of the Rings,’ in truth, he never conquered


 the Ringbearers who wore the Rings of Power,” Elessar told them. “For all his dreaded abilities,


 neither the Dwarves nor the Elves who wore his Rings fell prey to Sauron control. Some might


 conclude the forces of good and evil were stalemated: Sauron conquered the Nine and the One,


 while the Seven and Three remained unconquerable. But Samwise Gamgee Gardner wore the


 One and never fell under his power. And though Frodo gave into the corrupt desire to claim the


 Ruling Ring, his will was never conquered by Sauron. Not even Gollum, a poor weak creature


 hunting to stay alive and allowing himself one joy, his ‘precious,’ which he wore for centuries,


 but he never became Sauron’s helpless thrall. Which makes Eleven Rings useless to him as tools


 of control or conquest. But that total does not include Celebrimbor’s earlier Rings of which

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 you’ve heard. Though it would serve no purpose to name them or their attributes, there were


 thirty Rings of Power Lord Celebrimbor forged that Sauron never touched or conquered, and


 never had any power over at all. The tally stands at thirty-nine good to eleven evil.”


         Expressions of shock and even dismay rose throughout the rooms and Elessar waited


 until they ran their course and silence filled the halls again.


         “In addition to the fifty Rings of Power, there was a Prophesy,” Elessar said. “Not the


 one you’ve heard of the Dagor Bralloch, but one you have not heard which I can best explain by


 simply reciting the verse of the Lore of the Rings which has remained hidden and known to very


 few who ever lived until today:




                         Thirteen Rings for Enchanted beings that swim, run and fly
                             Eleven for Dwarf and Elven lords wherever they may roam
                         Five for Mortal Warriors destined to die
                             One for the Bright Lord on his Golden Throne
                         In the East of Eregion where the Misty Mountains lie
                             One King will gather them all, one King will unite them
                             One King will lead them against the evil that will smite them
                         In the Land of Mordor, they will triumph… or die




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        “Who is the ‘one King’ who gathers them all?” Pallando asked.


        “The answer to that question is a prophesy no one knows,” Faramir answered. “Because


 these things have come to light now, many Councilors believe it is our High King Elessar.”


        “But it could very well be the Crown Prince Eldarion,” Elessar told them. “It could be


 any King of any land alive today, or one yet to be born. We simply do not know. But it does not


 mean we are going to allow this opportunity to slip away without trying!”


        A great cheer rose up on its own in all three rooms in three different kingdoms where the


 extended Fellowship of the King stood arrayed before the three Palantíri.


        At the Council of King Elessar, where they are joined by Celeborn, Galdor, Hildur,


 Elladan and Elrohir, Legolas, Gimli, Faramir, Éowyn, Imrahil, and a slew of other Dwarves,


 Alatar and Pallando.


        “A new War of the Rings has begun,” Elessar told them. “The campaign at Weathertop


 was only the first of many. Many believe this one will be the War of the Ring to End All Wars of


 the Ring and it will be much larger in scope than all the ones which have gone before. At my


 direction, the free peoples of Middle-earth are rising to meet these threats on all fronts by arming


 our people, training them and gathering the Rings of Power before any other.”

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        “When I learned Théoden Brandybuck, son of the Master Meriadoc of Buckland was


 slain by Glorfindel during the retaking of Rivendell, and Ulbandi the Mad Vala had returned to


 Middle-earth and was traveling north to her ancient fortress in Forodwaith, I immediately


 dispatched Treebeard and squadron of his Ents and Hurons to protect them. They now stand


 guard at the borders of Bree and the Shire. The Shire folk of the Four Farthings and Bree have


 responded in overwhelming numbers and the Thain Peregrin Took of Tookland, the Master


 Meriadoc of Buckland, and HMS Cotton of the Shire have successfully raised a Hobbit


 Homeland Protection Force which patrols the borders of their lands.”


        A heavy pounding outside the door of the throne room rang out in the Palace of Elostirion


 startling everybody and the guard outside the door shouted, “Elessar! My King!!”


        “Unbar the door,” Elessar commanded, which Faramir did.


        The guard ran in, “Minas Tirith is under attack!”


        Elessar ran to one of the open windows and looked beyond the walls of the Rammas


 Echor but saw in the distant fields only farmers working the furlough. The open empty plains of


 Osgiliath lay to the north, the Emyn Arnen to the east, and Ithilien to the south.


        “Where are these attacking enemies?” Elessar asked.

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        “Not down there, my King,” the guard answered pointing to the sky. “From up there!”


        The cry rang out from the tower guards, first one voice, then another, until the entire


 palace was alive with repetitions of the cry: “The Eagles are coming! The Eagles are coming!!”


        In the distance but flying west towards the city, the skies over Gondor were filling with


 hundreds of Eagles, more than anyone could remember seeing except those who had fought in


 the Battle of Morannon before the Gates of Mordor.


        “Gwaihir and his allies would never attack Minas Tirith!” Faramir shouted.


        “The Eagles aren’t,” Elessar said, pointing behind the swiftly streaking eagles, “He is!”


        Beyond the last line of Eagles but on coming like the thunderhead of a terrible storm flew


 a gargantuan red dragon pursuing the Eagles, its booming bellowing so loud it sounded more like


 lightning than the cry of a living creature.


        Elessar pulled a great silver horn from the wall beside the window and blew three


 deafening blasts and many in the room were forced to cover their ears.


        Echoing horn calls rose from the surrounding towers, gate houses and battlements.


 Within minutes, great siege engines rumbled out into the sunlight pulled by teams of horses or


 pushed by laboring palace guards.

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        The rear guard of warrior Eagles turned and attacked the dragon, but the dragon was too


 large and powerful. Any Eagle who flew close enough to claw or bite was batted from the sky by


 the dragon’s powerful wings or tail, or crushed within its rending claws and jaws, torn to pieces.


        Elessar returned to the Anor-stone and focused on the forefront of the flying Eagles.


 Streaking ever closer to Minas Tirith flew Gwahir, Windlord, King of Eagles and the howling


 red dragon dove through the rear guard of Eagles trying to destroy him.


        Now the Eagles were close enough and slashed at his underbelly and hind parts opening


 great rents which bled. The dragon responding by opening his jaws, roaring mightily, and


 breathing fire across the skies, igniting the bodies of hosts of Eagles.


        But one Eagle flew close enough and she slashed the left eye of the dragon, pulling out a


 huge chunk of the dragon’s eye. Black ichor plumed out of the dragon’s mangled socket, the


 monster screamed and its great leathery wings lanced through the Eagles ripping her body to


 shreds. The dragon launched itself in a great arc high above the Eagles, who came closer and


 closer to the city. Horns and alarm bells filled the air from the city below and the people of


 Minas Tirith ran to take cover wherever they could.




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        Soon, the Eagles had passed into the range of the great siege engine of Minas Tirith and


 Elessar blew three more blasts on his great silver horn.


        The guards manning the siege engines had kept them turned towards the dragon and now


 great axe men severed the restraining ropes on the catapults. The engines unwound and launched


 their deadly baskets into the sky.


        Alerted by Elessar’s horn, the Eagles had veered left and right, clear of the path between


 the ground forces and the dragon but the dragon, unheedful of anything except slaying his foe,


 came on and was struck by a deadly barrage of powerfully propelled front-weighted dragon-


 blades and spears. Many of the missiles bounced off the dragon’s hardened scales, but many


 more tore through rough but far less well protected tendons of the dragon’s great, bat-like


 wingspans ripping huge holes from which black blood fell from the sky. The dragon screamed


 another terrible and surprised cry of agony and he was struck again by another hail of darts.


        With a mixed wail of fury and agony, the dragon plummeted from the sky towards the


 city of Minas Tirith beyond the walls of the Palace of Anor, and the fleeing citizens below.


        But the dragon was not yet defeated. Falling, the dragon shook his body and batted his


 wings, hurtling most of the embedded missiles away, spreading his bleeding arms, his damaged

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 wings caught the air and the dragon righted himself, slowing his headlong fall through a long


 curve until he evened off and launched himself back up into the very thick of the Eagles


 breathing fire.


         But his fall had put him squarely within range of most of the city’s siege engines on the


 ground and enginemen manning the onagers cut their ropes and loosed their baskets of deadly


 missiles. The dragon opened his huge slathering jaws, released a terrible cry of fury and breathed


 a final cataclysmic cloud of fire filling the sky with searing, blistering flames. Many of the darts


 and arrows melted and fell back down, but a few of the stouter and thicker spears, now red hot


 and molten made it through and found their mark, striking the dragon and these now red hot


 molten spears burned and drove through the dragon’s scales deep into its body.


         A terrible death knell erupted from the maimed and bleeding throat of the dragon, its


 wings collapsed and again it fell towards the ground far below. But it refused to die alone. The


 dragon searched the skies and its keen eyes found Gwaihir, flying towards the Tower of


 Echthilion. The dragon summoned up all of its fading strength and blew every last ounce of fire


 it had left in a terrible cone of ever spreading fire.




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         Gwaihir tried to dodge but there was no way to escape the streaking blossoming cone of


 flame shooting too quickly for even the King of Eagles and Gwaihir was enveloped in flames.


        The dragon struck the city of Minas Tirith outside the Palace walls crushing homes,


 businesses and too many people in a terrible collision rending wood and stone, and dragon bone.


        The dragon’s final ear-splitting death cry echoed through Minas Tirith and the burning


 body of Gwaihir fell from the sky through clouds of fire.


        Eagles tried to stop Gwaihir’s fall but the flames were too hot and burned their claws and


 wings. Finally, Sorontur, Gwaihir’s sister son, heedless of the pain, dove down and clutched the


 burning tumbling dying body of his Lord and King. Though his own body and wings burned, he


 enfolded them about his king, batting at the flames to snuff them, and finally closing them up


 around Gwahir to smother the flames. Sorontur had broken Gwaihir’s fall but when he closed his


 wings about his King, for the flames were too hot and doing anything else would have doomed


 Gwahir, and their fall resumed. Moments before they struck the hard stone ground outside the


 entrance to the Tower of Elostirion, Sorontur flipped himself beneath his King’s still burning


 body clutching Gwaihir’s burning body to his breast and he took the crushing impact against the


 stone courtyard of the White Tree.

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        Elessar had seen where Gwaihir’s path was taking him and he had run ahead of anyone


 else down the stairs of the Tower of Echthilion so he was the first to arrive before the crushed


 burning bodies of Gwaihir and Sorontur.


        “Water!” Elessar shouted, grabbing a helmet from one of the door guards and filling it


 from the fountain. Sorontur, broken but still living opened his burning wings exposing the


 horribly charred and still burning body of his King, and his own burnt body beneath.


        Elessar poured the water on them and others had already taken up the task, forming a


 helm and water brigade between the fountain and Elessar in ever growing numbers. The King


 and soon others poured helm after helm of water on the Eagles until the flames at last went out.


        “Sorontor, sister-son… my friend…” the broken voice of Gwaihir coughed.


        “I go to the eyrie in the sky, where I will once day welcome you with pride and hope to


 again serve my King.” Sorontor cawed and died.


        “Sorontor!” Gwaihir shouted. But he was gone.


        Elessar kneeled beside Gwaihir and cradled his giant scorched and bleeding head,


 “Gwaihir, it is Elessar, your friend Aragon, my Lord.”




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        “My King,” Gwaihir said opening his eyes, but Elessar saw they were blackened smoking


 scorches which could not see, “I regret…” a shuddering wave of agony engulfed him, “… I do


 no more… than serve as a warning that – the dragons… are… coming.”


        Gwaihir King of the Eagles, the Windlord, died.




                   *               *              *              *               *




        Elessar stood before a high black marble table near the back of the House of Kings, the


 most prominent structure in the Rath Dinen, the city of tombs, carved from the mountain behind


 the Palace of Minas Anor. Set along the walls of the large square chamber were more than


 twenty marble coffins. Each one was engraved with the likeness of the King whose honored


 remains had rested within for centuries. The outer tombs took up little of the space. Five more


 rows of large black empty marble tables filled the center. To the rear, the tables sloped together


 in an arc with one grand but empty platform elevated above the rest at the very back.


        Rosie realized someday, the remains of King Elessar would be laid to rest right there. She


 shuddered at the morbid thought and hoped she would not live to see such a dark day.

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        She couldn’t imagine the heartbreak Arwen, Eldarion, Celendrian and the rest of


 Elessar’s children would feel, nor did she wish to. Then the thought came, unless something


 terrible happened and she died first, she would one day be standing over the tomb of her beloved


 Sam. She pushed the thought away, too terrible to contemplate.


        There were no windows here, and the shadow-enclosed dark chamber was lit by torches,


 set in scones along the walls. Candles had been set on empty slabs to provide sufficient light.


        To reach the tombs, Elessar and those present had entered a long dark hall at the back of


 the sixth level of the Palace. Two solemnly guarded doors were opened for them with great


 ceremony. The first was carved of stone from the mountain itself. But the second, called the Fen


 Hollen, Rosie could not help but notice with astonishment was carved of lebethron and mithril.


        The helmets of the Palace Guards were also mithril and Rosie felt overwhelmed by the


 incalculable wealth of Gondor, in which Faramir, Eldarion, Celendrian and the rest of Elessar


 and Arwen’s children had been born, and before which they seemed to take no notice.


        Elessar had been the most forward pallbearer, and the many wooden poles lifted by


 mourners made the weight of the over-large wooden box, a temporary bier while a proper tomb


 was carved, and the body of Gwaihir which lay within the lightest part of their heavy labor:

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 laying to final rest a King. Passing a second door, the pallbearers descended the Silent Street


 followed by a long line of mourners. It flattened out deep in the heart of the mountain, even with


 the fourth level of the Palace but separated by many tons of stone.


        When they reached the temporary marble platform for Gwaihir and set the coffin down,


 Elessar’s counselors, friends and family stood around him with their heads bowed. Most of those


 who had been invited to this private ceremony were veterans who had fought before the Gates of


 Mordor at the Battle of the Morannon on the day Gwaihir had led his people to their rescue.


        One by one, they took turns recalling the life and many achievements of the great King of


 Eagles with many personal stories of his heroism they had witnessed fighting the Fell Beasts and


 the Nazgûl before whom they themselves were helpless, yet Gwaihir had shown no fear and dove


 down straight at these most terrible of enemies, and his timely attack had saved their lives.


        Following the remembrances, Faramir held a brief ceremony and consigned the fëa of


 Gwaihir to the Halls of Mandos.


        One by one, the mourners left, except for Sam, lingering before the box, the only one.


        Rosie waited beside him.


        “Sam…?” she asked quietly.

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        “He saved my life,” he said softly, his face wet with tears.


        “I know,” she said touching his arm. “I remember you telling me before Frodo wrote


 about it. He and his brother Landroval.”


        “No,” Sam told her. “It was him who carried me. He carried me with Gandalf on his


 back. He may have been after Mr. Frodo, but it was me he grabbed. It was me he carried off the


 volcano and I just stood there doing nothing looking through the window and watched him die!”


        Rosie put her arms around him and he burst into tears again, “I guess knowing there’s


 nothing anyone could have done doesn’t help. I’m sorry.”


        But Sam only held tight to Rosie and sobbed louder.




                   *              *               *              *         *




        The next day, Elessar summoned everyone who had been at the Council when the dragon


 came and killed Gwaihir. Their bearing was solemn but their faces were hard, set with a steely


 resolve that had not been evident two days before. Landroval stood beside him perched on a


 stand which had been set on an elevated platform so his head was even with Elessar’s.

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        “Our Eyries have been destroyed by dragons,” Landroval told them. “Our people are


 dead. We few who made it to Minas Tirith are the last of our tribe, all that remain of a once


 mighty and proud people.”


        “His lieutenants have proclaimed Landroval their new King,” Elessar told the assembly.


        “Such as we are,” Landroval said. “We are the final generation. Most of our women and


 all our nestlings are dead...” Tears filled his eagle eyes and he couldn’t go on.


        “We must avenge this Regicide,” Faramir said. “We must avenge our friend. The Eagles


 have ever been our most stalwart allies. Not just against Mordor, but against all our enemies.”


        “How can we?” Imrahil asked. “If we even could reach the peaks where their eyries


 rested, which we cannot, much less be of assistance in those high and perilous altitudes against


 hordes of dragons, other than sharing the honor of death, it would make no difference, the


 dragons have already done their work and the eyries of the Eagles have been destroyed.”


        “King Elessar,” Landroval said. “Excuse me, I must have words with my captains


 building our final nests among the peaks of Mount Mindolluin.”


        Without waiting for approval, permission or any other type of response, Landroval took


 wing and flew out the window at the top of the Tower of Echthilion.

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        “If I spoke out of turn, forgive me my King,” Imrahil said to Elessar, fearing he had


 offended King Landroval.


        “No need, my friend,” Elessar told him. “Prince Imrahil speaks the truth. Soon enough,


 we will have dragons aplenty to fight before our own doors here in Gondor.”


        Cries of dismay and alarm rose around the room but Elessar raised his hand and silenced


 them, “Long have we been preparing for a day such as this. Dragon spears and lances such as


 you saw, nets and snares and many other things have long been prepared in Gondor in


 anticipation of a day like today. Great stores of many more await the dragons if they should


 return. At my direction, the craftsmen of the city forge and weave more, as many as we can, and


 there are other things we have been doing to prepare for battle against dragons. But the time for


 discussion has passed. I have thought long and hard the last two days, and though every road is


 dark and every course a burden, we must act now with what little time is left or we will abdicate


 all initiative to our enemies, who have been moving and acting long before the first of you


 arrived in Minas Tirith.”


        “What say you, oh High King of the United Kingdoms?” Queen Éowyn asked. “The


 Kingdoms of Ithilien and Rohan stands beside you, to strive and succeed, or fall and die, as one.”

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        “The final War of the Rings has begun,” Elessar answered. “Dark was the day the first


 casualty in this city was an honored ally and a King, who fell to his death before the door of the


 Palace of Anor. My foresight never saw so dark a day as this.”


        The grief and dark irony was etched on Elessar’s face. A moment of silence settled over


 the Council and all remembered again the Fall and death of the King.


        “The time to act is now. With the consent of you here assembled, so many of you


 honored friends who have sacrificed so much over the years and who deserve better than to find


 yourselves again caught up in a terrible war against monstrous evils. Yet I must ask to take up


 arms against our enemies again and aid our allies who are already on the front lines of the war.”


        “High King?” King Éomer asked, and Elessar gave him leave to speak. “We have held


 councils while you attended to the defense of the city and the laying to rest of King Gwaihir. All


 here are agreed: we pledge our lives for you to command. Say, and it will be so.”


        Elessar rose, steady and sure, but emotion nearly broke his voice, “Thank you, my


 brother, my friend. However heavy the burden, or great my grief, I am heartened to have


 companions such as you and so many others here in the room with us. I say these words I must


 say now as our only hope that any who live may one day survive these dark times.”

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        He looked around at the faces of his friends, “I must send you all away. Each and every


 one of you, to fight our enemies and a few of you to find the Rings of Power which are the only


 things that will give us any hope against the overwhelming tide of enemies gathering around our


 lands.” He took Arwen’s hand in his own but looked through the Stone at Eldarion, Celendrian,


 Elerith, Alatar, Elanor, Fastred and their other allies in Rivendell and Osgiliath, “Even those I


 hold most dear, my own children and Elven brothers from their ancestral halls they themselves


 have just re-won where if they stayed, they might survive for a time, but it would be short, and


 perhaps it is not so far away as any of us here would now would wish to believe.”


        “What are your orders, my King?” Faramir asked.


        “The Crown Prince has assembled a host, I can say nothing less than what they are, a host


 of heroes, an assemblage of warriors and Princes, many of them the children of so many of you


 here. They have found, hope against hope, the greatest weapons and Rings of Power ever


 recorded in any of our histories and many that were never recorded. They have agreed to bear the


 greater burden and hope against hope, unite to find the Master-ring of Middle-earth and with or


 without it, defeat the Mad Vala Ulbandi.”




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        Eldarion bowed in the Palace of Elendil and they saw him through the Anor-stone, “It is


 an honor to serve the High King Elessar and people of Middle-earth.”


        “Thank you, Prince Eldarion,” Elessar said. “I am as proud of you as a father as I am a


 King. And I am just as proud of the Princesses Celendrian and Elerith, the assembled Princes of


 the Princes Brigade and the people of our Kingdoms and our ally Kingdoms of Rohan, Hildória,


 Erebor, Lindon and so many others who defended you and the royal family.”


        “Your welcome, father,” Celendrian said. “We will ever strive to be worthy of our people


 and protect them and their lands by standing together united.”


        “As shall we,” Elessar said, turning to those in the same room with him, “We who are


 here must find the traitor Glorfindel and his concubine Thüringel, first and foremost among all


 our many tasks, and they must pay with their lives for all that they have done. It is also only thus


 that we will obtain and unmake their Rings. We believe they have returned to Mordor, to their


 fortress on the plains of Gorgoroth. Prince Faramir and Princess Éowyn will lead the assault


 against Glorfindel and Thüringel.”


        “The Riders of Rohan will ride to aid and fortify them,” Éomer told him.


        “What of our other foes?” Imrahil asked.

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        “Principle among them is the Balrog Lungorthin, who taken Khazad-dûm and plunders


 the mithril ore. That beautiful priceless treasure, Lungorthin has turned into weapons of war,”


 Elessar displayed the mithril swords, daggers, and arrowheads taken from the Nazgûl at


 Weathertop. “As I said before the dragon attacked.”


        Since they have recovered the Palantír from the traitor Glorfindel, Elessar now feels that


 he can undertake the recovery of the Master Stone of Osgiliath and even to recover the two lost


 in the ice of far Fornost, and even too, the two lost Silmarilli, so he sends a group to Dol Amroth


 the aid them in their war against the Pirates of Corsair and to recover one of the Silmarilli, with


 the aid of the Salamander Men and the Cave-men who will help them find the missing Silmaril


 that until now had been thought lost in a cave within the earth.


        Elessar tells them that for the last twenty-two years he has not been idle, though he knew


 that there were many cloaking spells cast about in various lands of Middle-earth which told him


 clearly where the greatest threats to Middle-earth still lived, he, the rightful owner of the Stone


 has been using the Stone for the purpose that no one until now has dared to use it for since the


 time of Elendil, who probably would have used it in this way if he had been granted the time and


 not had to counter the immediate threat of Sauron and his corrupted Rings. Elessar has used the

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 Palantír to look back not just across the leagues but back in time and discovered the long lost


 location of the Silmarilli forged by Feanor. This is the true purpose for which the Valar created


 and sent to Middle-earth the Palantíri: to recover the Silmarilli and return them to their rightful


 owners, the Valar in Aman, aboard what will be the last ship to ever sail from the Grey Havens.


        This is when Celeborn, who is now in the Palace of Anor beside the King, agrees to leave


 Lothlórien and travel to Imladris to hold it again as the last Homely House against the forces of


 Evil which gather in the North and East and are converging on Anor from the North and Gondor


 from the East, and Umbar from the South and of course from the King of Balrogs who instead of


 a tower has built the most terrible Fortress of Mordor and practices such torturous, vile, twisted


 and perverted practices behind its walls that from this point forward, all who have truly dedicated


 themselves in loyalty to the Fellowship of the King are now charged by their King that they


 cannot rest until every abomination that inflicts such monstrous debasements upon anything alive


 must be defeated, destroyed, and utterly wiped from the face of Middle-earth and not just the


 foundations, but every stone within the Fortress of Mordor must be cast down, broken, ground to


 dust and scattered.




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        “I ask you now to rise,” Elessar told them. “And take with me, a united people, the Oath


 of the King.”


        Two days before, Elessar had shown through his palantír to Eldarion, Celendrian, and


 Elerith in Rivendell and Éowyn in the Dome of Stars in Osgiliath the Oath he had composed.


 They had each made a copy, then they and everyone they could get to write had made many


 more. In Rivendell, Osgiliath and in the Tower of Elostirion, as many copies had been made as


 everyone present needed so they could read and make the Oath of the King together


        Now, everyone in the Fellowship of the King rose and stood united, and united they read


 aloud and took the pledge, the Oath of the High King Elessar, “We will not stop to strive against


 the forces arrayed against us until we have defeated every threat to the people of the Earth. Let


 none who may one day live, if there are any who survive the dark days before us and yet live, let


 them not say we who are assembled here today, who to them lived in ancient days, when our feet


 still tread paths through unspoiled forests; let them not say we refused to accept the challenge of


 our day, to take up the gauntlet thrown down on our lands to shatter the lies, deceits and Discords


 of Morgoth meant to divide us, whether raised in dark fortresses high upon the hills or hidden


 deep within the earth or beneath the gently flowing rills: we pledge upon our Honor with our

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 Word that from this day forward our greatest desire is to unite as a single people, to take within


 our hands our bows, take up our clubs and spears and arrowheads and know this was the day we


 mounted our horses and refused to rest or cease our strife against the forces of evil’s might, nor


 shall our swords sleep in our hands until we have driven out and defeated these evils from not


 just our own and our ally’s lands, but from all the lands, from the storm tossed shores of Umbar,


 to the frigid snows of Fornost, to the burning deserts of Harad, to the vast rolling plains of all the


 lands of Hildória and all the lands beyond, known or still unknown, until we stand united in


 freedom and peace, free from all forms of tyranny or oppression, united by the dream of peace, a


 single people who share the gift of peace with all who live, or who may one day yet live. To this,


 this dream, this day I pledge, in the name of the King and all the free peoples in the whole of the


 world, upon my life and honor, this I swear, this, the Oath of the King.”




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